Case 24-01376-CL7     Filed 06/17/24   Entered 06/17/24 18:14:54    Doc 273      Pg. 1 of
                                         162


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 8   Facsimile: (415) 227-0770

 9   Attorneys for secured creditor
     SUB-ZERO GROUP, INC.
10

11                           UNITED STATES BANKRUPTCY COURT

12                           SOUTHERN DISTRICT OF CALIFORNIA

13
     In re                                       Case No. 24-01376-CL7
14
                                                 Chapter 7
15   PIRCH, INC.,
                                                 REQUEST FOR JUDICIAL NOTICE IN
16                                               SUPPORT OF SUB-ZERO GROUP’S
                       Debtor.                   OPPOSITION TO THE CHAPTER 7
17                                               TRUSTEE’S MOTION TO (1) APPROVE
                                                 AUCTION PROCEDURES; AND (2) SELL
18                                               LEASEHOLD INTERESTS AND RELATED
                                                 PERSONAL PROPERTY PURSUANT TO 11
19                                               U.S.C. SECTION 363, FREE AND CLEAR
                                                 OF LIENS, CLAIMS, AND INTERESTS
20
                                                 [Notice of Motion, Motion and Memorandum
21                                               of Points and Authorities, and Declarations of
                                                 Mark Zavras, Kelly Ciulla, Barry Bredvik,
22                                               Mark Marshall, Keene Kohrt and Anthony
                                                 Napolitano concurrently filed.]
23
                                                Hearing:
24                                              Date:        July 1, 2024
                                                Time:        10:30 a.m. PDT
25                                              Place:       U.S. Bankruptcy Court
                                                             Department 1
26                                                           325 West F Street
                                                             San Diego, California 92101
27                                              Judge:       Hon. Christopher B. Latham

28
     BN 83115629v2                               1
Case 24-01376-CL7        Filed 06/17/24     Entered 06/17/24 18:14:54         Doc 273     Pg. 2 of
                                              162


 1   TO THE HONORABLE CHRISTOPHER B. LATHAM, U.S. BANKRUPTCY JUDGE,

 2   THE DEBTOR, THE CHAPTER 7 TRUSTEE, HER COUNSEL AND ALL INTERESTED

 3   PARTIES:

 4           Sub-Zero Group, Inc., a Wisconsin corporation, as successor by merger to Sub-Zero Group

 5   West, Inc., a California corporation, doing business as Sub-Zero Group West (“Sub-Zero”), secured

 6   creditor of Pirch, Inc. (the “Debtor”), respectfully requests that this Court take judicial notice,

 7   pursuant to Rule 201 of the Federal Rules of Evidence, of the following documents in support of

 8   Sub-Zero’s Opposition to the Chapter 7 Trustee’s Motion to (1) Approve Auction Procedures; and

 9   (2) Sell Leasehold Interests and Related Personal Property Purusant to 11 U.S.C. 363, Free and

10   Clear of Liens, Claims, and Interests:

11           1.       The Second Supplemental Declaration filed by Leslie T. Gladstone on
                      May 8, 2024 as Docket No. 59 in the above-captioned bankruptcy case, a
12                    true and complete copy of which was obtained from PACER, is attached
                      hereto as Exhibit 1;
13
             2.       The Bankruptcy Schedules filed by the Debtor on May 3, 2024 as Docket
14
                      No. 48-1 in the above-captioned bankruptcy case, a true and complete copy
15                    of which was obtained from PACER, is attached hereto as Exhibit 2; and

16           3.       The Notice of Non-Consent to Use of Cash Collateral by Secured
                      Creditor Sub Zero Group, Inc. filed by Sub-Zero on June 7, 2024 as
17                    Docket No. 191 in the above-captioned bankruptcy case, a true and
                      complete copy of which obtained from PACER is attached hereto as
18                    Exhibit 3.
19           The above-referenced documents are properly the subject of judicial notice pursuant to
20   Federal Rule of Evidence 201, which provides that a court may take judicial notice of facts “not
21   subject to reasonable dispute in that it is . . . capable of accurate and ready determination by resort
22   to sources whose accuracy cannot reasonably be questioned.” Further, it is generally accepted that
23   a bankruptcy judge may take judicial notice of the bankruptcy court’s records. “It is not error . . .
24   for a court to take judicial notice of related proceedings and records in cases before that court.”
25   State of Florida v. Charley Toppino & Sons, Inc., 514 F.2d 700, 704 (5th Cir. 1975); see also In re
26   Earl, 140 B.R. 728, 730 (Bankr. N.D. Ind. 1992) (finding that judicial notice of four related
27   bankruptcy cases of Debtor was proper).
28
      BN 83115629v2                                     2
         REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF SUB-ZERO’S OPPOSITION TO TRUSTEE’S MOTION TO SELL
      LEASEHOLD INTERESTS AND RELATED PERSONAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, AND INTERESTS
Case 24-01376-CL7       Filed 06/17/24      Entered 06/17/24 18:14:54         Doc 273        Pg. 3 of
                                              162


 1           Additionally, “[a]court may take judicial notice of a document filed in another court ‘not

 2   for the truth of the matters asserted in the other litigation, but rather to establish the fact of such

 3   litigation and related filings.’” Kramer v. Time Warner Inc., 937 F.2d 767, 774 (2d Cir. 1991)

 4   (citing United States ex rel. Geisler v. Walters, 510 F.2d 887, 890 n. 4 (3d Cir. 1975)).

 5           Based on the foregoing, Sub-Zero respectfully requests that this Court take judicial notice

 6   of the documents attached hereto as Exhibits 1 through 3.

 7
      DATED: June 17, 2024                            BUCHALTER, A Professional Corporation
 8
                                                      By:      /s/ Anthony J. Napolitano
 9                                                          ANTHONY J. NAPOLITANO
10                                                          Attorneys for secured creditor
                                                            SUB-ZERO GROUP, INC.
11

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      BN 83115629v2                                     3
         REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF SUB-ZERO’S OPPOSITION TO TRUSTEE’S MOTION TO SELL
      LEASEHOLD INTERESTS AND RELATED PERSONAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, AND INTERESTS
Case 24-01376-CL7   Filed 06/17/24   Entered 06/17/24 18:14:54   Doc 273   Pg. 4 of
                                       162




                        EXHIBIT 1

                                                                      Exhibit 1, Page 4
                              Case
                              Case 24-01376-CL7
                                   24-01376-CL7 Filed
                                                Filed 05/08/24
                                                      06/17/24 Entered
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                                                                       06/17/24 14:57:02
                                                                                18:14:54 Doc
                                                                                         Doc 59
                                                                                             273 Pg.
                                                                                                  Pg.1 5ofof6
                                                                 162



                              1   Leslie T. Gladstone, Esq. (SBN 144615)
                                  Christin A. Batt, Esq. (SBN 222584)
                              2   FINANCIAL LAW GROUP
                                  5656 La Jolla Blvd.
                              3   La Jolla, CA 92037
                              4   Telephone: (858) 454-9887
                                  Facsimile: (858) 454-9596
                              5   E-mail: ChristinB@flgsd.com

                              6   Proposed Attorneys for Leslie T. Gladstone, Chapter 7 Trustee
                              7                             UNITED STATES BANKRUPTCY COURT
                              8
                                                            SOUTHERN DISTRICT OF CALIFORNIA
                              9
                                  In re:                                              Case No.: 24-01376-CL7
                             10
                                  PIRCH, INC.,                                        SECOND SUPPLEMENTAL
                             11
                                                                                      DECLARATION OF LESLIE T.
                             12                                                       GLADSTONE IN SUPPORT OF
                                                 Debtor.                              EMERGENCY MOTION FOR (1)
La Jolla, California 92037




                             13                                                       REJECTION OF UNEXPIRED
 5656 La Jolla Boulevard
 FINANCIAL LAW GROUP




                                                                                      NONRESIDENTIAL REAL PROPERTY
                             14                                                       LEASES AND (2) EXPEDITED
                                                                                      ABANDONMENT OF PERSONAL
                             15
                                                                                      PROPERTY
                             16
                                                                                      Dept:        One (1)
                             17                                                       Honorable Christopher B. Latham
                             18

                             19   I, LESLIE T. GLADSTONE, declare:
                             20            1.    I am the chapter 7 trustee for the bankruptcy estate of Pirch, Inc. (the “Debtor”).
                             21   All the information contained herein is within my personal knowledge, except for those matters
                             22   alleged on information and belief and as to those matters I believe them to be true. If called as a
                             23   witness, I could competently testify thereto.
                             24            2.    I offer this Supplemental Declaration in support of my EMERGENCY Motion
                             25   for (1) Rejection of Unexpired Nonresidential Real Property Leases and (2) Expedited
                             26   Abandonment of Personal Property (the “Motion”). (ECF No. 18) This Supplemental
                             27   Declaration is in furtherance of the Court’s Order, dated May 6, 2024. (ECF No. 54)
                             28   ///

                                  IN RE PIRCH, INC.                               1   GLADSTONE SUPP. DECLARATION RE EMERGENCY
                                  CASE NO. 24-01376-CL7                                      MOTION TO REJECT UNEXPIRED LEASES
                                                                                                                    Exhibit 1, Page 5
                              Case
                              Case 24-01376-CL7
                                   24-01376-CL7 Filed
                                                Filed 05/08/24
                                                      06/17/24 Entered
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                                                                       06/17/24 14:57:02
                                                                                18:14:54 Doc
                                                                                         Doc 59
                                                                                             273 Pg.
                                                                                                  Pg.2 6ofof6
                                                                 162



                              1          3.      I have confirmed that, before commencing this bankruptcy case, the Debtor had

                              2   no personal property at the following locations and had turned over possession of the premises

                              3   to the applicable landlord:

                              4                  (a)      Santa Monica Showroom. Landlord: HORWITZ & HORWITZ, LLC.

                              5                           Premises: 2520 Santa Monica Blvd., Santa Monica, CA 90404.

                              6                  (b)      Perrino Place. Landlord: SOTO & WASHINGTON INDUSTRIAL

                              7                           DEVELOPMENT. Premises: 1625 Perrino Place, Los Angeles, CA

                              8                           90023.

                              9                  (c)      Corporate Office. Landlord: BLUE HAT, LLC. Premises: 2714 Loker

                             10                           Ave. W, Suite 200, Carlsbad, CA 92010.

                             11          4.      I have confirmed that Debtor had no personal property at the following locations

                             12   and I have notified the applicable landlords that the respective leases were rejected as of the
La Jolla, California 92037




                             13   date of the bankruptcy filing.
 5656 La Jolla Boulevard
 FINANCIAL LAW GROUP




                             14                  (a)      Santa Ana. Landlord: CENTERPOINT 2701 HARBOR LLC.

                             15                           Premises: 2701 S. Harbor Blvd., Suite C, Santa Ana, CA 92704.

                             16                  (b)      LDC Showroom. Landlord: LAGUNA DESIGN DUNHILL LLC; DE

                             17                           LAGUNA DESIGN BORROWER LLC. Premises: 23811 Aliso Creek

                             18                           Road, Suite 155 and Suite 159, Laguna Niguel, CA 92677.

                             19          5.      I request entry by the Court of the Order attached hereto as Exhibit 1 and

                             20   incorporated herein.

                             21          I declare under penalty of perjury that the foregoing is true and correct.

                             22          Executed on May 8, 2024, at La Jolla, California.

                             23                                                           /s/ Leslie T. Gladstone
                                                                                        Leslie T. Gladstone
                             24

                             25

                             26

                             27

                             28

                                  IN RE PIRCH, INC.                             2    GLADSTONE SUPP. DECLARATION RE EMERGENCY
                                  CASE NO. 24-01376-CL7                                     MOTION TO REJECT UNEXPIRED LEASES
                                                                                                                      Exhibit 1, Page 6
Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 05/08/24
                        06/17/24 Entered
                                 Entered 05/08/24
                                         06/17/24 14:57:02
                                                  18:14:54 Doc
                                                           Doc 59
                                                               273 Pg.
                                                                    Pg.3 7ofof6
                                   162




                             Exhibit 1




                             Exhibit 1



                                                                    Exhibit 1, Page 7
         Case
         Case 24-01376-CL7
              24-01376-CL7 Filed
                           Filed 05/08/24
                                 06/17/24 Entered
                                          Entered 05/08/24
                                                  06/17/24 14:57:02
                                                           18:14:54 Doc
                                                                    Doc 59
                                                                        273 Pg.
                                                                             Pg.4 8ofof6
CSD 1001A [07/01/18]                        162
Name, Address, Telephone No. & I.D. No.

 Leslie T. Gladstone, Esq. (SBN 144615)
 Christin A. Batt, Esq. (SBN 222584)
 FINANCIAL LAW GROUP
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 Telephone: (858) 454-9887
 Facsimile (858) 454-9596
 Proposed Attorneys for Leslie T. Gladstone, Chapter 7 Trustee

              UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
                 325 West F Street, San Diego, California 92101-6991

 In Re
                                                                                 BANKRUPTCY NO. 24-01376-CL7
 PIRCH, INC.
                                                                                 Date of Hearing:
                                                                                 Time of Hearing:
                                                                                 Name of Judge: CHRISTOPHER B. LATHAM
                                                                       Debtor.


                                                                 ORDER
                                          RE: RETROACTIVE REJECTION OF LEASES



           The court orders as set forth on the continuation pages attached and numbered 2 through 3 with exhibits, if any, for

 a total of 3 pages. Motion/Application Docket Entry No. 18, 54.

 //

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 DATED:
                                                                         Judge, United States Bankruptcy Court




                                                                                                          Exhibit 1, Page 8
        Case
        Case 24-01376-CL7
             24-01376-CL7 Filed
                          Filed 05/08/24
                                06/17/24 Entered
                                         Entered 05/08/24
                                                 06/17/24 14:57:02
                                                          18:14:54 Doc
                                                                   Doc 59
                                                                       273 Pg.
                                                                            Pg.5 9ofof6
                                           162
 CSD 1001A [07/01/18]                                                                      Page 2 of 2

ORDER RE: RETROACTIVE REJECTION OF LEASES
DEBTOR: PIRCH, INC.                                                         CASE NO: 24-01376-CL7


      In furtherance of the Court’s Order on Trustee’s Emergency Motion to Reject Leases (ECF No.
  54) and after consideration of the Trustee’s Second Supplemental Declaration (ECF No. __) and its
  down docket, the Court orders as follows.

  IT IS HEREBY ORDERED
  The Leases identified on the attached Exhibit A are hereby deemed rejected effective as of the
  Petition Date, April 19, 2024. Any claim for rent or rent-related charges may be included as an
  unsecured claim, subject to the restrictions contained in 11 U.S.C. Section 365.

  IT IS SO ORDERED.




CSD 1001A
                                               2
                                                                                    Exhibit 1, Page 9
Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 06/17/24
                        05/08/24 Entered
                                 Entered 06/17/24
                                         05/08/24 18:14:54
                                                  14:57:02 Doc
                                                           Doc 273
                                                               59 Pg.
                                                                   Pg.610
                                                                        of of
                                                                           6
                                   162



                                  EXHIBIT A

             Location              Landlord              Premises Address

 Santa Monica Showroom    HORWITZ & HORWITZ, LLC    2520 Santa Monica Blvd.
                                                    Santa Monica, CA 90404

 Perrino Place            SOTO & WASHINGTON         1625 Perrino Place
                          INDUSTRIAL DEVELOPMENT    Los Angeles, CA 90023

 Corporate OƯice          BLUE HAT, LLC             2714 Loker Ave. W
                                                    Suite 200
                                                    Carlsbad, CA 92010

 Santa Ana                CENTERPOINT 2701 HARBOR   2701 S. Harbor Blvd.
                          LLC                       Suite C
                                                    Santa Ana, CA 92704

 LDC Showroom             LAGUNA DESIGN DUNHILL     23811 Aliso Creek Road
                          LLC; DE LAGUNA DESIGN     Suite 155 and Suite 159
                          BORROWER LLC              Laguna Niguel, CA 92677




                                          3
                                                                    Exhibit 1, Page 10
     Case
     Case24-01376-CL7
          24-01376-CL7 Filed
                        Filed05/08/24
                              06/17/24 Entered
                                       Entered05/08/24
                                               06/17/2414:57:02
                                                        18:14:54 Doc
                                                                 Doc59-1
                                                                     273                              Pg. 11
                                                                                                          1 ofof2
                                          162



1                                                 PROOF OF SERVICE
2            I, Sandra Young, hereby declare as follows:
3            I am employed in the City of La Jolla, County of San Diego, California. I am over the age of 18 years
      and not a party to the within action; and I am employed in the County of San Diego, California, within which
4     county the subject mailing occurred. My business address is 5656 La Jolla Blvd., La Jolla, California 92037.
      On May 8, 2024, I served a true and correct copy of the following document(s):
5
     SECOND SUPPLEMENTAL DECLARATION OF LESLIE T. GLADSTONE IN SUPPORT
6
     OF EMERGENCY MOTION FOR (1) REJECTION OF UNEXPIRED NONRESIDENTIAL
7    REAL PROPERTY LEASES AND (2) EXPEDITED ABANDONMENT OF PERSONAL
     PROPERTY
8
      on the parties in this action as follows:
9
      X       by CM/ECF NOTICE OF ELECTRONIC FILING by causing such document(s) listed above to be
10    served through this Court’s electronic transmission facilities via the Notice of Electronic (NEF) and hyperlink,
      to the parties and/or counsel who are determined this date, May 8, 2024, to be registered CM/ECF Users set
11    forth below as identified on the service list obtained from this Court on the Electronic Mail Notice list.
12
         •   Christin A. Batt, Attorney for Trustee christinb@flgsd.com, sandray@flgsd.com;
13           candic@flgsd.com;leslieg@flgsd.com;andrewl@flgsd.com;janetg@flgsd.com
         •   George B. Blackmar, Special Attorney for UTC Venture LLC gblackmar@bpslaw.net
14       •   K. Todd Curry, Attorney for Debtor tcurry@currylegal.com
         •   Judith A. Descalso, Attorney for Creditors Roger Stadler and Tamara Stadler
15           jad@jdescalso.com, jad_9193@ecf.courtdrive.com;descalso.judithb129618@notify.bestcase.com
         •   Leslie T. Gladstone, Chapter 7 Trustee candic@flgsd.com, christinb@flgsd.com;
16           sandray@flgsd.com;ltg@trustesolutions.net;andrewl@flgsd.com;janetg@flgsd.com
         •   Ivan M. Gold, Attorney for Glendale Mall II Associates, LLC igold@allenmatkins.com
17       •   Eric D. Goldberg, Special Notice Attorney for CSHV Santa Fe Corporate Center LLC
             eric.goldberg@dlapiper.com, eric-goldberg-1103@ecf.pacerpro.com
18       •   James P. Hill, Special Notice Attorney for Redux LLC, Elizabeth A. Ostoich and Mark A. Ostoich
19            HILL@SULLIVANHILL.COM, hawkins@sullivanhill.com; bkstaff@sullivanhill.com;
             vidovich@ecf.inforuptcy.com;hill@ecf.inforuptcy.com;cashman-kramer@sullivanhill.com
20       •   Elsa Monica Horowitz, Special Notice Attorney for TSD Corporation dba Warwick Group, Inc.
             ehorowitz@wrslawyers.com, jlee@wrslawyers.com
21       •   Gregory K. Jones, Special Attorney for Pure Salt Interiors, Inc.    gjones@sycr.com,
             smjohnson@stradlinglaw.com
22       •   Eileen Keusseyan, Special Notice Attorney for Derek Stone; Lauren Stone ek@keosianlaw.com
         •   Dean T. Kirby, Special Notice Attorney for Montbleau & Associates and AIAbbasi Companies
23             dkirby@fsl.law, jwilson@fsl.law
         •   Kerri A Lyman, Special Notice Attorney for American Express Travel Related Services
24           Company, Inc. klyman@steptoe.com, #-FirmPSDocketing@Steptoe.com
25       •   Anthony Napolitano, Special Notice Attorney for Sub-Zero Group, Inc.
             anapolitano@buchalter.com, marias@buchalter.com
26       •   Dana S. Plon, Special Notice Attorney for First Industrial L.P. dplon@sirlinlaw.com
         •   Vincent Renda, Special Notice Attorney for Jacqueline Pierson vr@pinlegal.com,
27           ld@pinlegal.com
         •   Jeffrey David Rubin, Special Attorney for Hutton Development Company/ Alice Park, LLC
28           jeff@barnettrubin.com
         •   Link W. Schrader, Special Notice Attorney for Benito Mora lschrader@schrader-law.com


                                                           1                   IN RE PIRCH, INC., CASE NO. 24-01376-CL7
                                                                                                         Proof of Service
                                                                                                Exhibit 1, Page 11
     Case
     Case24-01376-CL7
          24-01376-CL7 Filed
                        Filed05/08/24
                              06/17/24 Entered
                                       Entered05/08/24
                                               06/17/2414:57:02
                                                        18:14:54 Doc
                                                                 Doc59-1
                                                                     273                                Pg. 12
                                                                                                            2 ofof2
                                          162



1        •   Jennifer R. Tullius, Attorney for First Industrial, L.P.      jtullius@tulliuslaw.com
         •   United States Trustee ustp.region15@usdoj.gov
2        •   Johnny White, Special Notice Attonrey for TSD Corp.      jwhite@wrslawyers.com,
             jlee@wrslawyers.com
3        •   Nahal Zarnighian, Special Notice Attorney for CRC SOCO, LLC zarnighiann@ballardspahr.com,
             carolod@ballardspahr.com
4

5            All other interested parties in this action that are not a registered ECF User are served as follows:

6
              by U.S. FIRST CLASS MAIL SERVICE, POSTAGE PREPAID by placing each document in a
7     sealed, envelope with postage thereon fully prepaid, for collection and mailing at Financial Law Group, La
      Jolla, California, following ordinary business practices and addressed as set forth below. I am familiar with the
8     practice of Financial Law Group for collection for U.S. mail, said practice being that in the ordinary course of
      business, correspondence is picked up at our office the same day as it is placed for collection. I am aware that
9     on motion of the party served, service is presumed invalid if postal cancellation date or postage meter date is
      more than one day after date of deposit for mailing affidavit.
10

11    None
12
             I declare under penalty of perjury under the laws of the United States that the foregoing is true and
13    correct.
14           Executed May 8, 2024, at La Jolla, California.
                                                                        /s/ Sandra Young
15
                                                                        Sandra Young
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                                                            2                   IN RE PIRCH, INC., CASE NO. 24-01376-CL7
                                                                                                          Proof of Service
                                                                                                  Exhibit 1, Page 12
Case 24-01376-CL7   Filed 06/17/24   Entered 06/17/24 18:14:54   Doc 273   Pg. 13 of
                                       162




                         EXHIBIT 2

                                                                      Exhibit 2, Page 13
           Case
           Case 24-01376-CL7
                24-01376-CL7 Filed
                             Filed 06/17/24
                                   05/03/24 Entered
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                                                    05/03/24 18:14:54
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                                                                      Doc 273
                                                                          48 Pg.
                                                                              Pg.114
                                                                                   of of
                                                                                      6
                                              162
CSD 1099 [/2]
Name, Address, Telephone No. & I.D. No.

  CURRY ADVISORS, A Professional Law Corporation
    K. Todd Curry (149360)
  185 West F Street, Ste. 100
  San Diego, California 92101 T: (619) 238-0004 | F: (619) 238-0006

                        UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF CALIFORNIA
                        325 West F Street, San Diego, California 92101-6991


   In Re PIRCH, Inc.                                                                                        Bankruptcy No. 24í01376íCL7

                                                                                      Debtor(s)




                           BALANCE OF SCHEDULES, STATEMENTS, AND/OR CHAPTER 13 PLAN
         Presented are the originals required by CSD 1800 Administrative Procedures [Check one or more boxes as
 appropriate]:

   ~      Schedules A/B – J (Forms 106A/B - J $%*)
   ~      Statement of Financial Affairs for Individuals Filing for Bankruptcy (Form 107 )
   ~      Summary of Your Assets and Liabilities and Certain Statistical Information Schedules (Form 106Sum 6XP)
   □      Chapter 7 Statement of Your Current Monthly Income (Form 122A-1)
   □      Chapter 7 Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Form 122A-1Supp)
   □      Chapter 7 Means Test Calculation (Form 122A-2)
   □      Chapter 11 Statement of Your Current Monthly Income (Form 122B)
   □      Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period (Form 122C-1)
   □      Chapter 13 Calculation of Your Disposable Income (Form 122C-2)
   □      Chapter 13 Plan (CSD1300)
   □      Schedule A/B: Property (Form 106A/B $%)
   □      Schedule C: The Property You Claim as Exempt (Form 106C)
   □      Creditors Who Have Claims Secured by Property (Form 106D ')
   □      Creditors Who Have Unsecured Claims (Form 106E/F ())
   □      Executory Contracts & Unexpired Leases (Form 106G *)
   □      Your Co-Debtors (Form 106H)
   □      Schedule I: Your Income (Form 106I)
   □      Your Expenses (Form 106J)
   □      Expenses for Separate Household of Debtor 2 (Form 106J-2)

 If additional creditors are added at this time, the following are required:
 1.        Electronic media required, see CSD 1007, containing only the added names and addresses (when the Balance of
           Schedules are filed on paper).
 2.        Local Form CSD 1101, Notice to Creditors of This Debtor Added by Amendment or Balance of Schedules. See
           instructions on reverse side.
                                                                      /s/ K. Todd Curry
    Dated: May 3, 2024                                     Signed:
                                                                                              Attorney for Debtor
        I[We] PIRCH, Inc.                                and                                       , the debtor(s), hereby declare
    under penalty of perjury that the information set forth in the balance of schedules and/or chapter 13 plan attached hereto,
    consisting of  pages, and on the creditor matrix, if any, is true and correct.
   Dated: May 3, 2024


                                                  *Debtor                                                               *Joint Debtor
                   *If filed electronically, pursuant to LBR 5005-4(C), the original debtor signature(s) in a scanned format is required.




                                                                                                                              Exhibit 2, Page 14
         Case
         Case 24-01376-CL7
              24-01376-CL7 Filed
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CSD 1099 [12/01/23)
Name, Address, Telephone No. & 1.0. No.

  CURRY ADVISORS, A Professional Law Corporation
   K. Todd Curry (149360)
  185 West F Street, Ste. 100
  San Diego, California 92101 T: (619) 238-0004 I F: (619) 238-0006

                        UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF CALIFORNIA
                        325 West F Street, San Diego, California 92101-6991


                                                                                                             Bankruptcy No. 24-01376-CL7
   In Re PIRCH, Inc.
                                                                                       Debtor(s)




                            BALANCE OF SCHEDULES, STATEMENTS, AND/OR CHAPTER 13 PLAN
         Presented are the originals required by CSD 1800 Administrative Procedures [Check one or more boxes as
 appropriate]:
   ~      Schedules A/B- J (Forms 106A/B - J & 206A/B-G)
   C8]    Statement of Financial Affairs for Individuals Filing for Bankruptcy (Form 107 & 207)
    ~     Summary of Your Assets and Liabilities and Certain Statistical Information Schedules (Form 106Sum & 206Sum)
    D     Chapter 7 Statement ofYrurCurrent Monthly Income (Form 122A-1)
    D     Chapter 7 Statement of Exemption from Presumption of Abuse Under§ 707(b)(2) (Form 122A-1 Supp)
    D     Chapter 7 Means Test Calculation (Form 122A-2)
    D     Chapter 11 Statement of Your Current Monthly Income (Form 122B)
    D     Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period (Form 122C-1)
    D      Chapter 13 Calculation of Your Disposable Income (Form 122C-2)
    0      Chapter 13 Plan (CSD1300)
    D      Schedule A/B: Property (Form 106A/B & 206A/B)
    D      Schedule C: The Property You Claim as Exempt (Form 106C)
    D      Creditors Who Have Claims Secured by Property (Form 106D & 206D)
    0      Creditors Who Have Unsecured Claims (Form 106E/F & 206E/F)
    D      Executory Contracts & Unexpired Leases (Form 106G &206G)
    D      Your Co-Debtors (Form 106H)
    D      Schedule I: Your Income (Form 1061)
    D      Your Expenses (Form 106J)
    D      Expenses for Separate Household of Debtor 2 (Form 106J-2)

  If additional creditors are added at this time, the following are required:
  1.       Electronic media required, see CSD 1007, containing only the added names and addresses (when the Balance of
            Schedules are filed on paper).
  2.        Local FormCSD 1101 , Notice to Creditors of This Debtor Added by Amendment or Balance of Schedules. See
            instructions on reverse side.
     Dated: May 3, 2024                                     Signed: /s/ K. Todd Curry
                                                                                               Attorney for Debtor
         l[We] PIRCH, Inc.                                and _ _ __ _ _ __ ____ , the debtor(s), hereby declare
     under penalty of perjury that the information set forth in the balance of schedules and/or chapter 13 plan attached hereto,
     consisting of 137 pages, and on the creditor matrix, if any, is true and correct.

    Dated: May 3, 2 0 2 4 ~                       ~ -- - --

                                                    *Debtor                                                               *Joint Debtor
                     *If filed electronically, pursuant to LBR 5005-4(C), the original debtor signature(s) in a scanned format is required.




                                                                                                                                 Exhibit 2, Page 15
            Case
            Case 24-01376-CL7
                 24-01376-CL7 Filed
                              Filed 06/17/24
                                    05/03/24 Entered
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CSD 1099 [/]
                                                             INSTRUCTIONS

 1.        Local Form CSD 1101, Notice to Creditors of The Above-Named Debtor Added by Amendment or Balance of
           Schedules, may be used to notify any added entity. When applicable, copies of the following notices must accompany
           the notice: Order for and Notice of Section 341(a) Meeting, Discharge of Debtor, Notice of Order Confirming Plan,
           and Proof of Claim.

 2.        If not filed previously and this is an ECF case, the Declaration Re: Electronic Filing of Petition, Schedules &
           Statements (Local Form CSD 1801) must be filed in accordance with LBR 5005-4(c).

 3.        If this is a Chapter 11 case, each member of any committee appointed must be served this Balance of Schedules.


                                                          PROOF OF SERVICE

           I, whose address appears below, certify:

           That I am, and at all relevant times was, more than 18 years of age;

             I served a true copy of this Balance of Schedules and/or Chapter 13 Plan on the following persons listed below
             via the following method(s):
      1.     To Be Served by the Court via Notice of Electronic Filing (“NEF”):

               Under controlling Local Bankruptcy Rules(s) (“LBR”), the document(s) listed above will be served by the court
      via NEF and hyperlink to the document. On          May 3, 2024        , I checked the CM/ECF docket for this
      bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail Notice
      List to receive NEF transmission at the e-mail address(es) indicated and/or as checked below:
      See Attached Service List.




                   Chapter 7 Trustee:   (included in Attached Service List)


                   For ChDSWHU 7, 11, & 12 cases:                             □   For Chapter 13 cases:


                   UNITED STATES TRUSTEE                                          0,&+$(/.2&+ TRUSTEE
                   ustp.region15@usdoj.gov                                        PNRFK@ch13.sdcoxmail.com


      2.     Served by United States Mail:

              On                                , I served the following person(s) and/or entity(ies) at the last known
      in this bankruptcy case or adversary proceeding by placing accurate copies in a sealed envelope in the United States
      Mail via 1) first class, postage prepaid or 2) certified mail with receipt number, addressed as follows:




                                                                                                             Exhibit 2, Page 16
         Case
         Case 24-01376-CL7
              24-01376-CL7 Filed
                           Filed 06/17/24
                                 05/03/24 Entered
                                          Entered 06/17/24
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CSD 1099 [/2]
   3.    Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mail:

          Under Fed.R.Civ.P.5 and controlling LBR, on                                  , I served the following person(s)
   and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile
   transmission, by overnight delivery, and/or electronic mail as follows:




          I declare under penalty of perjury under the laws of the United States of America that the statements made in this
          proof of service are true and correct.



         Executed on     May 3, 2024                            /s/ K. Todd Curry
                          (Date)                                (Typed Name and Signature)

                                                                185 West F Street, Ste. 100
                                                                (Address)

                                                                San Diego, CA 92101
                                                                (City, State, ZIP Code)




                                                                                                        Exhibit 2, Page 17
Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 06/17/24
                        05/03/24 Entered
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                                         05/03/24 18:14:54
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                                        SERVICE LIST



Christin A. Batt on behalf of Trustee Leslie T. Gladstone
christinb@flgsd.com, sandray@flgsd.com; candic@flgsd.com;
leslieg@flgsd.com;andrewl@flgsd.com;janetg@flgsd.com

George B. Blackmar on behalf of Creditor UTC Venture LLC
gblackmar@bpslaw.net

K. Todd Curry on behalf of Debtor PIRCH, Inc.
tcurry@currylegal.com

Leslie T. Gladstone
candic@flgsd.com, christinb@flgsd.com;
sandray@flgsd.com;ltg@trustesolutions.net;andrewl@flgsd.com;janetg@flgsd.com

Ivan M. Gold on behalf of Creditor GLENDALE MALL II ASSOCIATES LLC
igold@allenmatkins.com

Eric D. Goldberg on behalf of Interested Party CSHV Santa Fe Corporate Center, LLC
eric.goldberg@dlapiper.com, eric-goldberg-1103@ecf.pacerpro.com

James P. Hill on behalf of Creditor Redux, LLC
HILL@SULLIVANHILL.COM, hawkins@sullivanhill.com; bkstaff@sullivanhill.com;
vidovich@ecf.inforuptcy.com;hill@ecf.inforuptcy.com;cashman-kramer@sullivanhill.com

James P. Hill on behalf of Creditor Elizabeth A Ostoich
HILL@SULLIVANHILL.COM, hawkins@sullivanhill.com; bkstaff@sullivanhill.com;
vidovich@ecf.inforuptcy.com;hill@ecf.inforuptcy.com;cashman-kramer@sullivanhill.com

James P. Hill on behalf of Creditor Mark A Ostoich
HILL@SULLIVANHILL.COM, hawkins@sullivanhill.com; bkstaff@sullivanhill.com;
vidovich@ecf.inforuptcy.com;hill@ecf.inforuptcy.com;cashman-kramer@sullivanhill.com

Elsa Monica Horowitz
ehorowitz@wrslawyers.com, jlee@wrslawyers.com

Gregory K. Jones on behalf of Creditor Pure Salt Interiors, Inc.
gjones@sycr.com, smjohnson@stradlinglaw.com

Eileen Keusseyan on behalf of Creditor Derek Stone
ek@keosianlaw.com




                                                                              Exhibit 2, Page 18
Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 06/17/24
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                                         05/03/24 18:14:54
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Eileen Keusseyan on behalf of Creditor Lauren Stone
ek@keosianlaw.com

Dean T. Kirby, Jr. on behalf of Creditor AlAbbasi Companies
dkirby@fsl.law, jwilson@fsl.law

Dean T. Kirby, Jr. on behalf of Creditor Montbleau & Associates
dkirby@fsl.law, jwilson@fsl.law

Kerri A Lyman on behalf of Creditor American Express Travel Related Services Company, Inc.
klyman@steptoe.com, #-FirmPSDocketing@Steptoe.com

Anthony Napolitano on behalf of Creditor Sub-Zero Group, Inc.
anapolitano@buchalter.com, marias@buchalter.com

Dana S. Plon
dplon@sirlinlaw.com

Vincent Renda on behalf of Creditor Jacqueline Pierson
vr@pinlegal.com, ld@pinlegal.com

Jeffrey David Rubin on behalf of Creditor Hutton Development Company / Alice Park, LLC
jeff@barnettrubin.com

Link W. Schrader on behalf of Creditor Benito Mora
lschrader@schrader-law.com

Jennifer R. Tullius on behalf of Creditor First Industrial, L.P.
jtullius@tulliuslaw.com

United States Trustee
ustp.region15@usdoj.gov

Johnny White
jwhite@wrslawyers.com, jlee@wrslawyers.com

Nahal Zarnighian on behalf of Creditor CRC SOCO, LLC
zarnighiann@ballardspahr.com, carolod@ballardspahr.com




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       Case
       Case 24-01376-CL7
            24-01376-CL7 Filed
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                                                                                  of
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 Fill in this information to identify the case and this filing:


 Debtor Name    PIRCH, Inc.
                                        __o_u_t_h_e_r_n______ District ot --"C-'-A
 United States Bankruptcy Court for the:S                                        ___
                                                                              (State)
 Case number (If known):    24-01376-CL7




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the infonnation in the documents checked below and I have a reasonable belief that the information is true and correct:


         liZI Schedule A/B: Assets-Rea/ and Personal Property (Official Form 206A/B)
         !;;a   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         liZI Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         liZI Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         ~ Schedule H: Codebtors (Official Form 206H)
         ~ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          0     Amended Schedule

          0     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


          0     Other document that requires a declaration._ __ _ _ __ _ _ _
                                                                           _ __ _ __ _ __ _                             __   _ __ _ _ _ _ _ __ __




         I declare under penalty of perjury that the foregoing is true and correct.


         Executed on       05/03/2024                       .X /s/ Mekall Kaltenbach
                           MM I 00/YYYY                           Signature of individual signing on behalf of debtor



                                                                  Mekall Kaltenbach
                                                                  Prin1ed name

                                                                  CFO
                                                                  Position or relationship to debtor



 Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors



                                                                                                                                 Exhibit 2, Page 20
              Case
              Case 24-01376-CL7
                   24-01376-CL7 Filed
                                Filed 06/17/24
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 Fill in this information to identify the case:

              PIRCH, Inc.
 'HEWRUQDPH BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                         Southern
 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKHBBBBBBBBBBBBBBBBBBBBBBB               CA
                                                                'LVWULFWRIBBBBBBBB
                                                                                                                   6WDWH 
                           24í01376íCL7
 &DVHQXPEHU ,INQRZQ  BBBBBBBBBBBBBBBBBBBBBBBBB


                                                                                                                                                                                                   &KHFNLIWKLVLVDQ
                                                                                                                                                                                                     DPHQGHGILOLQJ



2IILFLDO)RUP6XP
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                        12/15




Part 1:          Summary of Assets
-----------
 Schedule A/B: Assets–Real and Personal Property 2IILFLDO)RUP$%

     DReal property:
                                                                                                                                                                                                      9,444,504.60
                                                                                                                                                                                                  BBBBBBBBBBBBBBBB
           &RS\OLQHIURPSchedule A/B


     ETotal personal property:
                                                                                                                                                                                                     44,977,985.91
                                                                                                                                                                                                  BBBBBBBBBBBBBBBB
           &RS\OLQH$IURPSchedule A/B

     FTotal of all property:
                                                                                                                                                                                                     54,422,490.51
                                                                                                                                                                                                  BBBBBBBBBBBBBBBB
           &RS\OLQHIURPSchedule A/B




Part 2:          Summary of Liabilities
-----------
 Schedule D: Creditors Who Have Claims Secured by Property 2IILFLDO)RUP'
     &RS\WKHWRWDOGROODUDPRXQWOLVWHGLQ&ROXPQ$Amount of claim,IURPOLQHRISchedule D                                                     87,742,281.46
                                                                                                                                                                                                  BBBBBBBBBBBBBBBB


 Schedule E/F: Creditors Who Have Unsecured Claims 2IILFLDO)RUP()


     DTotal claim amounts of priority unsecured claims:
           &RS\WKHWRWDOFODLPVIURP3DUWIURPOLQHDRISchedule E/F                                    97,372,188.00
                                                                                                                                                                                                  BBBBBBBBBBBBBBBB


     E Total amount of claims of nonpriority amount of unsecured claims:
           &RS\WKHWRWDORIWKHDPRXQWRIFODLPVIURP3DUWIURPOLQHERISchedule E/F
                                                                                                                                                                                                     52,930,554.00
                                                                                                                                                                                                + BBBBBBBBBBBBBBBB



 Total liabilities
                                                                                                                                                                                                    
                                                                                                                                                                                                  BBBBBBBBBBBBBBBB
     /LQHVDE




2IILFLDO)RUP6XP                                     Summary of Assets and Liabilities for Non-Individuals                                                                       Exhibit 2,SDJH
                                                                                                                                                                                                     Page 21
          Case
          Case 24-01376-CL7
               24-01376-CL7 Filed
                            Filed 06/17/24
                                  05/03/24 Entered
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  Fill in this information to identify the case:

                PIRCH, Inc.
  'HEWRUQDPH BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                          Southern
  8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKHBBBBBBBBBBBBBBBBBBBBBBB               CA
                                                                 'LVWULFWRIBBBBBBBB
                                                                             6WDWH 
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  &DVHQXPEHU ,INQRZQ  BBBBBBBBBBBBBBBBBBBBBBBBB                                                                                  &KHFNLIWKLVLVDQ
                                                                                                                                           DPHQGHGILOLQJ


2IILFLDO)RUP$%
Schedule A/B: Assets — Real and Personal Property                                                                                                    12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:    Cash and cash equivalents

 Does the debtor have any cash or cash equivalents?

    1R *RWR3DUW
   ✔ <HV)LOOLQWKHLQIRUPDWLRQEHORZ
   
    All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor’s
                                                                                                                                     interest

 Cash on hand                                                                                                                                       0.00 
                                                                                                                                    BBBBBBBBBBBBBBBBBBBBBB

 Checking, savings, money market, or financial brokerage accounts (Identify all)

   1DPHRILQVWLWXWLRQ EDQNRUEURNHUDJHILUP                7\SHRIDFFRXQW                 /DVWGLJLWVRIDFFRXQWQXPEHU
          6HH$WWDFKPHQW
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB BBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                              349,458.06
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB BBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBB


 Other cash equivalents (Identify all)
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                       BBBBBBBBBBBBBBBBBBBBBB
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                       BBBBBBBBBBBBBBBBBBBBBB

 Total of Part 1                                                                                                                             349,458.06 
                                                                                                                                     BBBBBBBBBBBBBBBBBBBBBB
   $GGOLQHVWKURXJK LQFOXGLQJDPRXQWVRQDQ\DGGLWLRQDOVKHHWV &RS\WKHWRWDOWROLQH



Part 2:    Deposits and prepayments
-------------------
 Does the debtor have any deposits or prepayments?

    1R *RWR3DUW
   ✔ <HV)LOOLQWKHLQIRUPDWLRQEHORZ
   
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
 Deposits, including security deposits and utility deposits

   'HVFULSWLRQLQFOXGLQJQDPHRIKROGHURIGHSRVLW
        See Attachment 2.7
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                              253,153.00
                                                                                                                                     BBBBBBBBBBBBBBBBBBBBBB
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                    BBBBBBBBBBBBBBBBBBBBBBB


  2IILFLDO)RUP$%                                  Schedule A/B: Assets  Real and Personal Property                                     SDJH1
                                                                                                                                  Exhibit 2, Page 22
                Case
                Case 24-01376-CL7
                      24-01376-CL7 Filed      Filed 06/17/24
                                                     05/03/24 Entered
                                                                    Entered 06/17/24
                                                                            05/03/24 18:14:54
                                                                                      17:57:58 Doc         Doc 273
                                                                                                                 48-1 Pg.  Pg.234 of
                                                                                                                                   of
    'HEWRU      PIRCH, Inc.
                                                                        162
                                                                        101
                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                24í01376íCL7
                                                                                   &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                   1DPH




 Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

      'HVFULSWLRQLQFOXGLQJQDPHRIKROGHURISUHSD\PHQW                                                                                   
            See Attachment 2.8
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                 125,219.96
                                                                                                                                              BBBBBBBBBBBBBBBBBBBBBB
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                       BBBBBBBBBBBBBBBBBBBBBBB

 Total of Part 2. 
                                                                                                                                                    378,372.97
                                                                                                                                          BBBBBBBBBBBBBBBBBBBBBB
      $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH



Part 3:         Accounts receivable
-------------
 Does the debtor have any accounts receivable?

          1R *RWR3DUW
          ✔ <HV)LOOLQWKHLQIRUPDWLRQEHORZ
          
                                                                                                                                              Current value of debtor’s
                                                                                                                                              interest
 Accounts receivable

         DGD\VROGRUOHVV BBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                       541,462,23                       85,556.88
                                                                    ± BBBBBBBBBBBBBBBBBBBBBBBBBBB           Î               BBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                                    455,905.35
                                      IDFHDPRXQW                   GRXEWIXORUXQFROOHFWLEOHDFFRXQWV

         E 2YHUGD\VROG       986,017.25
                                      BBBBBBBBBBBBBBBBBBBBBBBBBBB     295,165.78
                                                                    ± BBBBBBBBBBBBBBBBBBBBBBBBBBB           Î                         690,851.47
                                                                                                                                          BBBBBBBBBBBBBBBBBBBBBB
                                       IDFHDPRXQW                  GRXEWIXORUXQFROOHFWLEOHDFFRXQWV


 Total of Part 3
                                                                                                                                          BBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                                  1,146,756.82
          &XUUHQWYDOXHRQOLQHVDE OLQH&RS\WKHWRWDOWROLQH
      

Part 4:         Investments
-------------------
 Does the debtor own any investments?
          ✔ 1R *RWR3DUW
          
          <HV)LOOLQWKHLQIRUPDWLRQEHORZ
                                                                                                                Valuation method              Current value of debtor’s
                                                                                                                used for current value        interest

 Mutual funds or publicly traded stocks not included in Part 1
       1DPHRIIXQGRUVWRFN
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                  BBBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBBBB
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                  BBBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBBBB



 Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture

      1DPHRIHQWLW\                                                                    RIRZQHUVKLS                              
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               BBBBBBBB           BBBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBBBB
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               BBBBBBBB           BBBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBBBB

 Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1
 'HVFULEH                                                                                                                             
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                   BBBBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBBB
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                   BBBBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBBB



 Total of Part 4
                                                                                                                                          BBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                                            0.00
          $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH



    2IILFLDO)RUP$%                                         Schedule A/B: Assets  Real and Personal Property                                      SDJH2
                                                                                                                                     Exhibit 2, Page 23
                 Case
                 Case 24-01376-CL7
                       24-01376-CL7 Filed      Filed 06/17/24
                                                      05/03/24 Entered
                                                                     Entered 06/17/24
                                                                             05/03/24 18:14:54
                                                                                       17:57:58 Doc         Doc 273
                                                                                                                  48-1 Pg.  Pg.245 of
                                                                                                                                    of
    'HEWRU       PIRCH, Inc.
                                                                         162
                                                                         101
                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                24í01376íCL7
                                                                                    &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    1DPH




Part 5:          Inventory, excluding agriculture assets
------------
 Does the debtor own any inventory (excluding agriculture assets)?
           1R *RWR3DUW
           ✔ <HV)LOOLQWKHLQIRUPDWLRQEHORZ
           
            General description                            Date of the last       Net book value of      Valuation method used      Current value of
                                                           physical inventory    debtor's interest      for current value          debtor’s interest
                                                                                   :KHUHDYDLODEOH 
 Raw materials
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBB                              BBBBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB
                                                            00''<<<<
                                                                                  BBBBBBBBBBBBBBBBBB

 Work in progress
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBB                                                         BBBBBBBBBBBBBBBBBBBBBB
                                                                                  BBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB
                                                           00''<<<<

 Finished goods, including goods held for resale
       Appliance/Outdoor/Plumb. Fixs.
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           01/28/2024
                                                           BBBBBBBBBBBBBB          28,612,536.00
                                                                                  BBBBBBBBBBBBBBBBBB    Expected resale 
                                                                                                         BBBBBBBBBBBBBBBBBBBBBB          31,872,959.00 
                                                                                                                                   BBBBBBBBBBBBBBBBBBBBBB
                                                           00''<<<<

 Other inventory or supplies
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBB                                                         BBBBBBBBBBBBBBBBBBBBBB
                                                                                  BBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB
                                                           00''<<<<
      




 Total of Part 5                                                                                                              BBBBBBBBBBBBBBBBBBBBBB
                                                                                  ✔
           $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

 Is any of the property listed in Part 5 perishable?
           
           ✔  1R
            <HV
 Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           
           ✔  1R
            <HV %RRNYDOXHBBBBBBBBBBBBBBB9DOXDWLRQPHWKRGBBBBBBBBBBBBBBBBBBBB&XUUHQWYDOXHBBBBBBBBBBBBBB
 Has any of the property listed in Part 5 been appraised by a professional within the last year?
           ✔  1R
           
            <HV
Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)

 Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
           ✔ 1R *RWR3DUW
           
           <HV)LOOLQWKHLQIRUPDWLRQEHORZ
            General description                                                   Net book value of      Valuation method used      Current value of debtor’s
                                                                                  debtor's interest      for current value          interest
                                                                                   :KHUHDYDLODEOH 
 Crops—either planted or harvested
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB

 Farm animals Examples/LYHVWRFNSRXOWU\IDUPUDLVHGILVK

       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB

 Farm machinery and equipment 2WKHUWKDQWLWOHGPRWRUYHKLFOHV

       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB

 Farm and fishing supplies, chemicals, and feed
      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB

 Other farming and fishing-related property not already listed in Part 6

     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB


    2IILFLDO)RUP$%                                          Schedule A/B: Assets  Real and Personal Property                           SDJH3
                                                                                                                              Exhibit 2, Page 24
           Case
           Case 24-01376-CL7
                 24-01376-CL7 Filed      Filed 06/17/24
                                                05/03/24 Entered
                                                               Entered 06/17/24
                                                                       05/03/24 18:14:54
                                                                                 17:57:58 Doc         Doc 273
                                                                                                            48-1 Pg.  Pg.256 of
                                                                                                                              of
              PIRCH, Inc.                                          162
                                                                   101
'HEWRU     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                            24í01376íCL7
                                                                              &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              1DPH




 Total of Part 6.                                                                                                                          0.00
                                                                                                                              BBBBBBBBBBBBBBBBBBBBBB
    $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

 Is the debtor a member of an agricultural cooperative?

    1R
    <HV,VDQ\RIWKHGHEWRU¶VSURSHUW\VWRUHGDWWKHFRRSHUDWLYH"
       1R
       <HV
 Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    1R
    <HV%RRNYDOXHBBBBBBBBBBBBBBB9DOXDWLRQPHWKRGBBBBBBBBBBBBBBBBBBBB&XUUHQWYDOXHBBBBBBBBBBBBBBBB
 Is a depreciation schedule available for any of the property listed in Part 6?

    1R
    <HV
 Has any of the property listed in Part 6 been appraised by a professional within the last year?

    1R
    <HV

Part 7:     Office furniture, fixtures, and equipment; and collectibles

 Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    1R *RWR3DUW
    ✔ <HV)LOOLQWKHLQIRUPDWLRQEHORZ
    

   General description                                                         Net book value of     Valuation method          Current value of debtor’s
                                                                               debtor's interest     used for current value    interest
                                                                                :KHUHDYDLODEOH 

 Office furniture

    See Attachment 7.39
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBB   Est. Fair Mkt. Val.
                                                                                                     BBBBBBBBBBBBBBBBBBBB               10,300.00 
                                                                                                                              BBBBBBBBBBBBBBBBBBBBBB

 Office fixtures

    See Attachment 7.40
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBB   Est. Fair Mkt. Val.
                                                                                                     BBBBBBBBBBBBBBBBBBBB                   650.00 
                                                                                                                              BBBBBBBBBBBBBBBBBBBBBB

 Office equipment, including all computer equipment and
     communication systems equipment and software
    See Attachment 7.41
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBB   Est. Fair Mkt. Val.
                                                                                                     BBBBBBBBBBBBBBBBBBBB               51,491.21 
                                                                                                                              BBBBBBBBBBBBBBBBBBBBBB

 Collectibles Examples:$QWLTXHVDQGILJXULQHVSDLQWLQJVSULQWVRURWKHU
     DUWZRUNERRNVSLFWXUHVRURWKHUDUWREMHFWVFKLQDDQGFU\VWDOVWDPSFRLQ
     RUEDVHEDOOFDUGFROOHFWLRQVRWKHUFROOHFWLRQVPHPRUDELOLDRUFROOHFWLEOHV
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB

 Total of Part 7. 
                                                                                                                                         62,441.21 
                                                                                                                              BBBBBBBBBBBBBBBBBBBBBB
    $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

 Is a depreciation schedule available for any of the property listed in Part 7?

    1R
    ✔ <HV
    
 Has any of the property listed in Part 7 been appraised by a professional within the last year?
    ✔ 1R
    
    <HV

2IILFLDO)RUP$%                                       Schedule A/B: Assets  Real and Personal Property                             SDJH4
                                                                                                                          Exhibit 2, Page 25
                Case
                Case 24-01376-CL7
                      24-01376-CL7 Filed      Filed 06/17/24
                                                     05/03/24 Entered
                                                                    Entered 06/17/24
                                                                            05/03/24 18:14:54
                                                                                      17:57:58 Doc         Doc 273
                                                                                                                 48-1 Pg.  Pg.267 of
                                                                                                                                   of
     'HEWRU     PIRCH,   Inc.
                                                                        162
                                                                        101
                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                24í01376íCL7
                                                                                   &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                  1DPH




Part
_ . .8:
     .._Machinery,         _ _ _ _ _ _ _ _ _ __
          _ _ equipment, and vehicles

  Does the debtor own or lease any machinery, equipment, or vehicles?

         1R *RWR3DUW
         ✔ <HV)LOOLQWKHLQIRUPDWLRQEHORZ
         

        General description                                                    Net book value of     Valuation method used     Current value of
                                                                               debtor's interest     for current value         debtor’s interest
        ,QFOXGH\HDUPDNHPRGHODQGLGHQWLILFDWLRQQXPEHUV LH9,1
                                                                                :KHUHDYDLODEOH 
        +,1RU1QXPEHU


  Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

             See Attachment 8.47.1
        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBBBBBBBBB    Leased Equip.
                                                                                                      BBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                               0.00 
             See Attachment 8.47.2
        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              4,557.75 
                                                                                BBBBBBBBBBBBBBBB     Est. Fair Mkt. Val.
                                                                                                      BBBBBBBBBBBBBBBBBBBB               6,057.75 
                                                                                                                              BBBBBBBBBBBBBBBBBBBBBB
 
        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB

        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB

  Watercraft, trailers, motors, and related accessories([DPSOHV%RDWV
      WUDLOHUVPRWRUVIORDWLQJKRPHVSHUVRQDOZDWHUFUDIWDQGILVKLQJYHVVHOV

        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         BBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB

        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         BBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB

  Aircraft and accessories

        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         BBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB

        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         BBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB

  Other machinery, fixtures, and equipment (excluding farm
      machinery and equipment)

         See Attachment 8.50
        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            167,433.00 
                                                                                BBBBBBBBBBBBBBBB     Est. Fair Mkt. Val.
                                                                                                      BBBBBBBBBBBBBBBBBBBB              37,440.00 
                                                                                                                              BBBBBBBBBBBBBBBBBBBBBB


  Total of Part 8.
                                                                                                                                         43,497.75 
                                                                                                                              BBBBBBBBBBBBBBBBBBBBBB
         $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH
                                 
  Is a depreciation schedule available for any of the property listed in Part 8?
         ✔  1R
         
          <HV
  Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ 1R
         
          <HV
         




     2IILFLDO)RUP$%                                      Schedule A/B: Assets  Real and Personal Property                       SDJH5
                                                                                                                         Exhibit 2, Page 26
             Case
             Case 24-01376-CL7
                   24-01376-CL7 Filed      Filed 06/17/24
                                                  05/03/24 Entered
                                                                 Entered 06/17/24
                                                                         05/03/24 18:14:54
                                                                                   17:57:58 Doc         Doc 273
                                                                                                              48-1 Pg.  Pg.278 of
                                                                                                                                of
'HEWRU        PIRCH, Inc.                                          162
                                                                     101
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                24í01376íCL7
                                                                                &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 1DPH




Part 9:      Real property

 Does the debtor own or lease any real property?
       1R *RWR3DUW
       ✔ <HV)LOOLQWKHLQIRUPDWLRQEHORZ
       
 Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property              Nature and extent        Net book value of     Valuation method used      Current value of
       ,QFOXGHVWUHHWDGGUHVVRURWKHUGHVFULSWLRQVXFKDV  of debtor’s interest   debtor's interest     for current value         debtor’s interest
       $VVHVVRU3DUFHO1XPEHU $31 DQGW\SHRISURSHUW\ in property             :KHUHDYDLODEOH 
        IRUH[DPSOHDFUHDJHIDFWRU\ZDUHKRXVHDSDUWPHQW
       RURIILFHEXLOGLQJ LIDYDLODEOH
            See Attachment 9.55
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBB      Est. Fair Mkt. Val.
                                                                                                          BBBBBBBBBBBBBBBBBBBB              9,444,504.60
                                                                                                                                     BBBBBBBBBBBBBBBBBBBBB
   
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBB
   
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBB
   
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBB
   
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBB
   
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB          BBBBBBBBBBBBBBBBB     BBBBBBBBBBBBBBB      BBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBB


 Total of Part 9. 
                                                                                                                                            9,444,504.60
                                                                                                                                     BBBBBBBBBBBBBBBBBBBBB
       $GGWKHFXUUHQWYDOXHRQOLQHVWKURXJKDQGHQWULHVIURPDQ\DGGLWLRQDOVKHHWV&RS\WKHWRWDOWROLQH

 Is a depreciation schedule available for any of the property listed in Part 9?
        1R
       ✔  <HV
       
 Has any of the property listed in Part 9 been appraised by a professional within the last year?
        1R
        <HV
Part 10: Intangibles and intellectual property
------------------
 Does the debtor have any interests in intangibles or intellectual property?
       1R *RWR3DUW
       ✔ <HV)LOOLQWKHLQIRUPDWLRQEHORZ
       
   General description                                                             Net book value of     Valuation method           Current value of
                                                                                    debtor's interest     used for current value     debtor’s interest
                                                                                    :KHUHDYDLODEOH 
 Patents, copyrights, trademarks, and trade secrets
        PIRCH Trademarks
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBB   Est. Fair Mkt. Val.
                                                                                                          BBBBBBBBBBBBBBBBBBBBBB                    0.00
                                                                                                                                     BBBBBBBBBBBBBBBBBBBB

 Internet domain names and websites
        PIRCH Domain names, websites
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBB    Est. Fair Mkt. Val.
                                                                                                           BBBBBBBBBBBBBBBBBBBBBB                    0.00
                                                                                                                                      BBBBBBBBBBBBBBBBBBBB

 Licenses, franchises, and royalties
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBB

 Customer lists, mailing lists, or other compilations
        Customer List--Unknown Value
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBBBBBBB                     1.00
                                                                                                                                      BBBBBBBBBBBBBBBBBBBB

 Other intangibles, or intellectual property
        Internal PIRCH Premier Sales System--Unk. Value
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               BBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBB                      1.00
                                                                                                                                     BBBBBBBBBBBBBBBBBBBB
 Goodwill
       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               BBBBBBBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBB                      0.00
                                                                                                                                     BBBBBBBBBBBBBBBBBBBB

 Total of Part 10. 
                                                                                                                                                   2.00
                                                                                                                                     BBBBBBBBBBBBBBBBBBBB
       $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH
         



2IILFLDO)RUP$%                                           Schedule A/B: Assets  Real and Personal Property                              SDJH6
                                                                                                                              Exhibit 2, Page 27
           Case
           Case 24-01376-CL7
                 24-01376-CL7 Filed      Filed 06/17/24
                                                05/03/24 Entered
                                                               Entered 06/17/24
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'HEWRU      PIRCH, Inc.
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                                                                   101
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                24í01376íCL7
                                                                              &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                1DPH




 Do your lists or records include personally identifiable information of customers DVGHILQHGLQ86& $ DQG ?
     1R
    
    ✔ <HV
 Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔ 1R
     <HV
 Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔ 1R
     <HV
Part 11: All other assets

 Does the debtor own any other assets that have not yet been reported on this form?
    ,QFOXGHDOOLQWHUHVWVLQH[HFXWRU\FRQWUDFWVDQGXQH[SLUHGOHDVHVQRWSUHYLRXVO\UHSRUWHGRQWKLVIRUP
     1R *RWR3DUW
    
    ✔ <HV)LOOLQWKHLQIRUPDWLRQEHORZ
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
 Notes receivable
    'HVFULSWLRQ LQFOXGHQDPHRIREOLJRU 
                                                                    
                                                                     BBBBBBBBBBBBBBB ± BBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                              14,931,769.12                   Î                   0.00
                                                                                                                                   BBBBBBBBBBBBBBBBBBBBB
    AMEX Holdback--subject to offset
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                     7RWDOIDFHDPRXQW   GRXEWIXORUXQFROOHFWLEOHDPRXQW

 Tax refunds and unused net operating losses (NOLs)

    'HVFULSWLRQ IRUH[DPSOHIHGHUDOVWDWHORFDO 

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     NOL available per 2022 tax return ($195M); Value based on 25%                                                    2022
                                                                                                         7D[\HDU BBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBB
                                                                                                                                        10,824,498.10
     tax rate and estimated asset values
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                         7D[\HDU BBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBB
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                         7D[\HDU BBBBBBBBBBB    BBBBBBBBBBBBBBBBBBBBB

 Interests in insurance policies or annuities
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                 BBBBBBBBBBBBBBBBBBBBBBB

 Causes of action against third parties (whether or not a lawsuit
    has been filed)
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                 BBBBBBBBBBBBBBBBBBBBBBB
    Nature of claim                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

    Amount requested                   BBBBBBBBBBBBBBBB

 Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims

     Claim against Mission Viejo landlord
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                           300,000.00 
                                                                                                                                   BBBBBBBBBBBBBBBBBBBBBBB

    Nature of claim                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                        Breach of Contract
    Amount requested                       300,000.00
                                       BBBBBBBBBBBBBBBB

 Trusts, equitable or future interests in property

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                  BBBBBBBBBBBBBBBBBBBBB

 Other property of any kind not already listed Examples:6HDVRQWLFNHWV
    FRXQWU\FOXEPHPEHUVKLS

   Country club membership
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                    BBBBBBBBBBBBBBBBBBBBB
                                                                                                                                                    0.00
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                    BBBBBBBBBBBBBBBBBBBBB
 Total of Part 11.
                                                                                                                                       
                                                                                                                                   BBBBBBBBBBBBBBBBBBBBB
    $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

 Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔ 1R
     <HV
2IILFLDO)RUP$%                                        Schedule A/B: Assets  Real and Personal Property                                SDJH7
                                                                                                                               Exhibit 2, Page 28
         Case
         Case 24-01376-CL7
               24-01376-CL7 Filed     Filed 05/03/24
                                              06/17/24 Entered
                                                             Entered 05/03/24
                                                                     06/17/24 17:57:58
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'HEWRU    PIRCH, Inc.                                          162
                                                                 101
           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                24í01376íCL7
                                                                            &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                  1DPH




Part 12:        Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                            Current value of                      Current value
                                                                                                    personal property                     of real property

 Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                     349,458.06
                                                                                                       BBBBBBBBBBBBBBB


 Deposits and prepayments. Copy line 9, Part 2.                                                     BBBBBBBBBBBBBBB
                                                                                                           378,372.97

 Accounts receivable. Copy line 12, Part 3.
                                                                                                         1,146,756.82
                                                                                                       BBBBBBBBBBBBBBB


 Investments. Copy line 17, Part 4.                                                                 BBBBBBBBBBBBBBB
                                                                                                                   0.00

 Inventory. Copy line 23, Part 5.                                                                     
                                                                                                       BBBBBBBBBBBBBBB 

 Farming and fishing-related assets.Copy line 33, Part 6.                                          BBBBBBBBBBBBBBB
                                                                                                                  0.00

 Office furniture, fixtures, and equipment; and collectibles.                                            62,441.21
                                                                                                       BBBBBBBBBBBBBBB
    Copy line 43, Part 7.

 Machinery, equipment, and vehicles. Copy line 51, Part 8.
                                                                                                            43,497.75
                                                                                                       BBBBBBBBBBBBBBB


Real property. Copy line 56, Part 9. .Î             9,444,504.60
                                                                                                                                          BBBBBBBBBBBBBBBB

 Intangibles and intellectual property.Copy line 66, Part 10.                                                 2.00
                                                                                                       BBBBBBBBBBBBBBB


 All other assets. Copy line 78, Part 11.                                                          
                                                                                                  + BBBBBBBBBBBBBBB

Total. $GGOLQHVWKURXJKIRUHDFKFROXPQ.D                     
                                                                                                       BBBBBBBBBBBBBBB                   
                                                                                                                                  + E BBBBBBBBBBBBBBBB


Total of all property on Schedule A/B. /LQHVDE      54,422,490.51 
                                                                                                                                                                 BBBBBBBBBBBBBBBBBB




2IILFLDO)RUP$%                                                    Schedule A/B: Assets  Real and Personal Property                                             SDJH8
                                                                                                                                                        Exhibit 2, Page 29
Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 05/03/24
                        06/17/24 Entered
                                 Entered 05/03/24
                                         06/17/24 17:57:58
                                                  18:14:54 Doc
                                                           Doc 48-1
                                                               273 Pg.
                                                                    Pg. 30
                                                                        11 of
                                                                           of
                                    162
                                    101




               ATTACHMENT 1.3

                                                                Exhibit 2, Page 30
   Case
   Case 24-01376-CL7
        24-01376-CL7 Filed
                     Filed 05/03/24
                           06/17/24 Entered
                                    Entered 05/03/24
                                            06/17/24 17:57:58
                                                     18:14:54 Doc
                                                              Doc 48-1
                                                                  273 Pg.
                                                                       Pg. 31
                                                                           12 of
                                                                              of
                                       162
                                       101

                                                      Part 1.3
Name of institution (bank or brokerage                           Last 4 digits of account    Current value of debtor’s
firm)                                    Type of account         number                     interest
US Bank (formerly Union Bank)            Disbursement Account                          1212                           -
US Bank (formerly Union Bank)            Master Account                                1220                     330,082
US Bank (formerly Union Bank)            Depository Account                            1204                        2,425
US Bank (formerly Union Bank)            Non-ZBA Account                               1089                       16,951
                                                                                                             349,458.06




                                                                                                  Exhibit 2, Page 31
Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 05/03/24
                        06/17/24 Entered
                                 Entered 05/03/24
                                         06/17/24 17:57:58
                                                  18:14:54 Doc
                                                           Doc 48-1
                                                               273 Pg.
                                                                    Pg. 32
                                                                        13 of
                                                                           of
                                    162
                                    101




               ATTACHMENT 2.7

                                                                Exhibit 2, Page 32
   Case
   Case 24-01376-CL7
        24-01376-CL7 Filed
                     Filed 05/03/24
                           06/17/24 Entered
                                    Entered 05/03/24
                                            06/17/24 17:57:58
                                                     18:14:54 Doc
                                                              Doc 48-1
                                                                  273 Pg.
                                                                       Pg. 33
                                                                           14 of
                                                                              of
                                       162
                                       101

                                             Part 2.7
                                                     Current value of
Description, including name of holder of deposit     debtor’s interest
3303 Hyland Avenue, Suite D
Costa Mesa, CA - CRC Realty                                              50,000
202 N. Cedros Ave.
Solana Beach, CA 92075 - JOHN CAVANAUGH                                   7,700
320 South Cedros Avenue, Suite 100
Solana Beach, CA 92075 - Carly Blalock                                    5,500
28341 Marguerite Parkway
Mission Viejo, CA - BTPROP1 LLC                                          58,135
1322 Rocky Point Drive, Unit A
Oceanside, CA - EASTGROUP PROPERTIES IINC                                80,000
77-588 El Duna Court Suite E
Palm Desert, CA 92211 - Grinnell Properties                              11,818
12740 E. Florence Ave.
Santa Fe Springs, CA 90670 - CSHV Santa Fe Corporate
Center LLC                                                               40,000




                                                                                  Exhibit 2, Page 33
Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 05/03/24
                        06/17/24 Entered
                                 Entered 05/03/24
                                         06/17/24 17:57:58
                                                  18:14:54 Doc
                                                           Doc 48-1
                                                               273 Pg.
                                                                    Pg. 34
                                                                        15 of
                                                                           of
                                    162
                                    101




               ATTACHMENT 2.8

                                                                Exhibit 2, Page 34
   Case
   Case 24-01376-CL7
        24-01376-CL7 Filed
                     Filed 05/03/24
                           06/17/24 Entered
                                    Entered 05/03/24
                                            06/17/24 17:57:58
                                                     18:14:54 Doc
                                                              Doc 48-1
                                                                  273 Pg.
                                                                       Pg. 35
                                                                           16 of
                                                                              of
                                       162
                                       101


                                    Part 2.8
                                                       Current value
                                                      of
                                                      debtor’s
Description, including name of holder of prepayment   interest
1322 Rocky Point Drive, Unit A
Oceanside, CA - EASTGROUP PROPERTIES IINC               70,615.64
D&O Insurance 10/1/2023-9/30/2023, Chubb                28,319.21
CP0019136273 - Hartford claim                           26,285.11




                                                                       Exhibit 2, Page 35
Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 05/03/24
                        06/17/24 Entered
                                 Entered 05/03/24
                                         06/17/24 17:57:58
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                                                           Doc 48-1
                                                               273 Pg.
                                                                    Pg. 36
                                                                        17 of
                                                                           of
                                    162
                                    101




             ATTACHMENT 7.39

                                                                Exhibit 2, Page 36
             Case
             Case 24-01376-CL7
                  24-01376-CL7 Filed
                               Filed 05/03/24
                                     06/17/24 Entered
                                              Entered 05/03/24
                                                      06/17/24 17:57:58
                                                               18:14:54 Doc
                                                                        Doc 48-1
                                                                            273 Pg.
                                                                                 Pg. 37
                                                                                     18 of
                                                                                        of
                                                 162
                                                 101

                                                          Part 7.39
                                      Net book value of
                                      debtor's interest       Valuation method         Current value of debtor’s
Office furniture                      (Where available)       used for current value   interest
Rocky Point Office Furniture                                  Estimated Value                                      4,000
UTC Office Furniture                                          Estimated Value                                         500
Mission Viejo Office Furniture                                Estimated Value                                         200
Costa Mesa Office Furniture                                   Estimated Value                                         500
Glendale Office Furniture                                     Estimated Value                                         200
Cedros Office Furniture                                       Estimated Value                                         200
Rancho Mirage Office Furniture                                Estimated Value                                         200
LADC office equipment                                         Estimated Value                                         500
Engineer Office Equipment                                     Estimated Value                                      4,000




                                                                                               Exhibit 2, Page 37
Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 05/03/24
                        06/17/24 Entered
                                 Entered 05/03/24
                                         06/17/24 17:57:58
                                                  18:14:54 Doc
                                                           Doc 48-1
                                                               273 Pg.
                                                                    Pg. 38
                                                                        19 of
                                                                           of
                                    162
                                    101




              ATTACHMENT 7.40

                                                                Exhibit 2, Page 38
          Case
          Case 24-01376-CL7
               24-01376-CL7 Filed
                            Filed 05/03/24
                                  06/17/24 Entered
                                           Entered 05/03/24
                                                   06/17/24 17:57:58
                                                            18:14:54 Doc
                                                                     Doc 48-1
                                                                         273 Pg.
                                                                              Pg. 39
                                                                                  20 of
                                                                                     of
                                              162
                                              101


                                              Part 7.40
                                                                                   Current
                                 Net book value of                                 value of
                                 debtor's interest        Valuation method         debtor’s
Office fixtures                  (Where available)        used for current value   interest
Rocky Point Office                                        Estimate                        150
UTC Office Furniture                                      Estimate                          50
Mission Viejo Office Furniture                            Estimate                          50
Costa Mesa Office Furniture                               Estimate                          50
Glendale Office Furniture                                 Estimate                          50
Cedros Office Furniture                                   Estimate                          50
Rancho Mirage Office Furniture                            Estimate                          50
LADC office equipment                                     Estimate                          50
Engineer Office Equipment                                 Estimate                         150




                                                                                     Exhibit 2, Page 39
Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 05/03/24
                        06/17/24 Entered
                                 Entered 05/03/24
                                         06/17/24 17:57:58
                                                  18:14:54 Doc
                                                           Doc 48-1
                                                               273 Pg.
                                                                    Pg. 40
                                                                        21 of
                                                                           of
                                    162
                                    101




             ATTACHMENT 7.41

                                                                Exhibit 2, Page 40
            Case
            Case 24-01376-CL7
                 24-01376-CL7 Filed
                              Filed 05/03/24
                                    06/17/24 Entered
                                             Entered 05/03/24
                                                     06/17/24 17:57:58
                                                              18:14:54 Doc
                                                                       Doc 48-1
                                                                           273 Pg.
                                                                                Pg. 41
                                                                                    22 of
                                                                                       of
                                                162
                                                101

                                                            Part 7.41



Office equipment, including all computer      Net book value of
equipment and                                 debtor's interest      Valuation method         Current value of debtor’s
communication systems equipment and software (Where available)       used for current value   interest
Computers and licenses and other hardware per
PPE Schedule                                              514,540.81 10% of Book Value                             51,454.08
Crown Castle in each location                                 371.30 10% of Book Value                                 37.13




                                                                                                                      Exhibit 2, Page 41
            Case
            Case 24-01376-CL7
                 24-01376-CL7 Filed
                              Filed 05/03/24
                                    06/17/24 Entered
                                             Entered 05/03/24
                                                     06/17/24 17:57:58
                                                              18:14:54 Doc
                                                                       Doc 48-1
                                                                           273 Pg.
                                                                                Pg. 42
                                                                                    23 of
                                                                                       of
                                                162
                                                101



                                                         2,881.67 Book Value       720.42
                                                        12,682.85 Book Value     3,170.71
LATITUDE5520 CORE I5 11-1145 G716GB 512GB-Serial #: BH06FL3825.41 Book Value       206.35

Cisco Meraki antenna-34781140MA-ANT-3-D5                  2,657.73 Book Value     664.43
LATITUDE5520 CORE I5 11-1145 G716GB 512GB-15.6IN W10P W11PLI880.44 Book Value     220.11
Cisco Meraki Ms225-48Lp L2 Stck Cld-Mngd 48X-
33121131 MS225-48LP-HW                                    2,515.79 Book Value      628.95
Credit                                                   (1,890.39) Book Value    (472.60)
                                                         34,391.58 Book Value    8,597.90
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: 83C7LL3 912.41 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: B3C7LL3 912.41 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: BG97LL3 912.41 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: 36C7LL3 912.41 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: D3C7LL3 912.41 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: B7C7LL3 912.41 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: F7C7LL3 912.41 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: J7C7LL3 912.40 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: D8C7LL3 912.40 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: H2C7LL3 912.40 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: DK97LL3 912.40 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: FH97LL3 912.40 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: C5C7LL3 912.40 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: F8C7LL3 912.40 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: 58C7LL3 912.40 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: HJ97LL3 912.40 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: F3C7LL3 912.40 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: F6C7LL3 912.40 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: B8C7LL3 912.40 Book Value       228.10
LATITUDE 5530 CORE I5 12-1245U16GB 256GB-Serial #: 66C7LL3 912.40 Book Value       228.10
Surface Type Cover Black-Serial #: 000329921454              64.30 Book Value       16.08
Surface Type Cover Black-Serial #: 000516921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 000688921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 000720921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 000733921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 000909921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 000911921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 000974921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 001147921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 001272921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 001290921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 001299921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 002437921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 002478921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 002500921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 002559921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 002600921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 002603921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 002620921454              64.30 Book Value       16.07
Surface Type Cover Black-Serial #: 002622921454              64.30 Book Value       16.07
Surface Pro7+ I5/16/256 Platinum-Serial #: 014474921253     810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 015061921353     810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 015494921353     810.70 Book Value      202.68




                                                                                  Exhibit 2, Page 42
            Case
            Case 24-01376-CL7
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                                    06/17/24 Entered
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                                                                           273 Pg.
                                                                                Pg. 43
                                                                                    24 of
                                                                                       of
                                                162
                                                101

Surface Pro7+ I5/16/256 Platinum-Serial #: 016008921353       810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 016204921353       810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 016887921353       810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 016905921353       810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 016965921353       810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 017055921353       810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 017211921353       810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 015088921353       810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 015227921353       810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 015230921353       810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 015426921353       810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 015454921353       810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 015566921353       810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 015763921353       810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 015800921353       810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 015873921353       810.70 Book Value      202.68
Surface Pro7+ I5/16/256 Platinum-Serial #: 016977921353       810.70 Book Value      202.68
                                                           10,526.67 Book Value    2,631.67
Cisco Meraki Cloud Managed MS125-24P -switch - 24 ports - m 2,875.48 Book Value      718.87
                                                            3,082.71 Book Value      770.68
                                                            4,255.02 Book Value    1,063.76
                                                            2,081.25 Book Value      520.31
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.92 Book
                                                                     #: 1F7MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.92 Book
                                                                     #: 1N5MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.92 Book
                                                                     #: 4N5MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.92 Book
                                                                     #: JK5MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.92 Book
                                                                     #: 9L7MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.92 Book
                                                                     #: 9H5MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.92 Book
                                                                     #: 4J5MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.92 Book
                                                                     #: JB7MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.92 Book
                                                                     #: 4J7MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.92 Book
                                                                     #: 4M5MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.92 Book
                                                                     #: 5F7MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.92 Book
                                                                     #: BM5MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.92 Book
                                                                     #: 6G7MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.92 Book
                                                                     #: 4H5MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.91 Book
                                                                     #: 4S5MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.91 Book
                                                                     #: FG5MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.91 Book
                                                                     #: 2K7MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.91 Book
                                                                     #: 1K7MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.91 Book
                                                                     #: 4D7MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.91 Book
                                                                     #: 9H7MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.91 Book
                                                                     #: BL5MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.91 Book
                                                                     #: 9K5MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.91 Book
                                                                     #: DB7MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.91 Book
                                                                     #: 3L5MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.91 Book
                                                                     #: 2M5MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.91 Book
                                                                     #: FC7MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.91 Book
                                                                     #: 9M5MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.91 Book
                                                                     #: 3C7MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.91 Book
                                                                     #: 1H7MQL3
                                                                           Value     239.98
LATITUDE5520 4C I5 11-1145 G716GB 256GB 15.6IN W10P W11PLIC-Serial
                                                              959.91 Book
                                                                     #: 3D7MQL3
                                                                           Value     239.98
                                                            6,768.33 Book Value    1,692.08
                                                            9,042.02 Book Value    2,260.51
                                                            1,936.94 Book Value      484.24




                                                                                    Exhibit 2, Page 43
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             Case 24-01376-CL7
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                                                                        Doc 48-1
                                                                            273 Pg.
                                                                                 Pg. 44
                                                                                     25 of
                                                                                        of
                                                 162
                                                 101

Power Systems & Supplies, Motorola, AC line cord, 7.5 feet long, groundedthree
                                                                    598.82 Bookwire.
                                                                                 Value
                                                                                     Serial#     149.71
                                                                 1,788.89 Book Value             447.22
                                                                 1,438.89 Book Value             359.72
                                                                14,565.16 Book Value           3,641.29
Mobile Computer, Zebra MC9300, Wireless, Android GMS with Mx,1,376.81
                                                                   IP65/    Book Value           344.20
Mobile Computer, Zebra MC9300, Wireless, Android GMS with Mx,1,533.64
                                                                   IP65 Serial#
                                                                            Book Value           383.41
Mobile Computer, Zebra MC9300, Wireless, Android GMS with Mx,1,533.64
                                                                   IP65 Serial#
                                                                            Book Value           383.41
Mobile Computer, Zebra MC9300, Wireless, Android GMS with Mx,1,533.64
                                                                   IP65 Serial#
                                                                            Book Value           383.41
Mobile Computer, Zebra MC9300, Wireless, Android GMS with Mx,1,533.64
                                                                   IP65 Serial#
                                                                            Book Value           383.41
Mobile Computer, Zebra MC9300, Wireless, Android GMS with Mx,1,533.64
                                                                   IP65 Serial#
                                                                            Book Value           383.41
Mobile Computer, Zebra MC9300, Wireless, Android GMS with Mx,1,533.64
                                                                   IP65 Serial#
                                                                            Book Value           383.41
Mobile Computer, Zebra MC9300, Wireless, Android GMS with Mx,1,533.64
                                                                   IP65 Serial#
                                                                            Book Value           383.41
Mobile Computer, Zebra MC9300, Wireless, Android GMS with Mx,1,533.64
                                                                   IP65 Serial#
                                                                            Book Value           383.41
Mobile Computer, Zebra MC9300, Wireless, Android GMS with Mx,1,533.64
                                                                   IP65 Serial#
                                                                            Book Value           383.41
Mobile Computer, Zebra MC9300, Wireless, Android GMS with Mx,1,533.64
                                                                   IP65 Serial#
                                                                            Book Value           383.41
Mobile Computer, Zebra MC9300, Wireless, Android GMS with Mx,1,533.64
                                                                   IP65 Serial#
                                                                            Book Value           383.41
Mobile Computer, Zebra MC9300, Wireless, Android GMS with Mx,1,533.64
                                                                   IP65 Serial#
                                                                            Book Value           383.41
Mobile Computer, Zebra MC9300, Wireless, Android GMS with Mx,1,533.64
                                                                   IP65 Serial#
                                                                            Book Value           383.41
Mobile Computer, Zebra MC9300, Wireless, Android GMS with Mx,1,533.64
                                                                   IP65 Serial#
                                                                            Book Value           383.41
                                                                 5,929.51 Book Value           1,482.38
Surface Pro7+ I5/16/256 Platinum-Serial #: 002481923153          1,005.37 Book Value             251.34
Surface Pro7+ I5/16/256 Platinum-Serial #: 002665923153          1,005.37 Book Value             251.34
Surface Pro7+ I5/16/256 Platinum-Serial #: 002934923153          1,005.37 Book Value             251.34
Surface Pro7+ I5/16/256 Platinum-Serial #: 002937923153          1,005.37 Book Value             251.34
Surface Pro7+ I5/16/256 Platinum-Serial #: 003025923153          1,005.37 Book Value             251.34
Surface Pro7+ I5/16/256 Platinum-Serial #: 003311923153          1,005.37 Book Value             251.34
Surface Pro7+ I5/16/256 Platinum-Serial #: 003319923153          1,005.37 Book Value             251.34
Surface Pro7+ I5/16/256 Platinum-Serial #: 003367923153          1,005.37 Book Value             251.34
Surface Pro7+ I5/16/256 Platinum-Serial #: 003651923153          1,005.37 Book Value             251.34
Surface Pro7+ I5/16/256 Platinum-Serial #: 003780923153          1,005.35 Book Value             251.34
LATITUDE5520 CORE I5 11-1145 G716GB 512GB                       10,709.55 Book Value           2,677.39
                                                                11,576.28 Book Value           2,894.07
                                                                    988.02 Book Value            247.01
                                                                 7,542.15 Book Value           1,885.54
                                                                 2,366.96 Book Value             591.74
                                                                 2,300.00 Book Value             575.00




                                                                                                Exhibit 2, Page 44
Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 05/03/24
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                                                           Doc 48-1
                                                               273 Pg.
                                                                    Pg. 45
                                                                        26 of
                                                                           of
                                    162
                                    101




            ATTACHMENT 8.47.1

                                                                Exhibit 2, Page 45
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               Case 24-01376-CL7
                    24-01376-CL7 Filed
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                                                                          Doc 48-1
                                                                              273 Pg.
                                                                                   Pg. 46
                                                                                       27 of
                                                                                          of
                                                   162
                                                   101

                                                                        Part 8.47.1
Vendor                              Make    Model              VIN/SN                            Description Year       Owned/Leased
BFG                                 Hyster  R30XM3             H118N07634V                       FORKLIFTS              Leased
BFG                                 Hyster  E50XN                                                FORKLIFTS              Leased
BFG                                 Hyster  E50XN                                                FORKLIFTS              Leased
BFG                                 Hyster  R30XM3             H118N07845V                       FORKLIFTS              Leased
BFG                                 Hyster  E50XN                                                FORKLIFTS              Leased
BFG                                 Hyster  E50XN                                                FORKLIFTS              Leased
JA MITSUI LEASING FFCSI, INC.       LINDE   V15P 5215          C25215Y00323                      Order Pickers          Leased
JA MITSUI LEASING FFCSI, INC.       LINDE   V15P 5215          C25215Y00357                      Order Pickers          Leased
JA MITSUI LEASING FFCSI, INC.       LINDE   V15P 5215          C25215Y00506                      Order Pickers          Leased
JA MITSUI LEASING FFCSI, INC.       Big Joe Lithium ION                               2311100352 Sitdown LXE-44         Leased
JA MITSUI LEASING FFCSI, INC.       Big Joe Lithium ION                               2311100353 Sitdown LXE-44         Leased
JA MITSUI LEASING FFCSI, INC.       Big Joe Lithium ION                               2311100354 Sitdown LXE-44         Leased
JA MITSUI LEASING FFCSI, INC.       Big Joe Lithium ION                               2311100618 Sitdown LXE-44         Leased
JA MITSUI LEASING FFCSI, INC.       Big Joe Lithium ION                               2311100356 Sitdown LXE-44         Leased
JA MITSUI LEASING FFCSI, INC.       Big Joe Lithium ION                                231110359 Sitdown LXE-44         Leased
JA MITSUI LEASING FFCSI, INC.       LINDE   V15P 5215          C25215Y00246                      Order Pickers          Leased
JA MITSUI LEASING FFCSI, INC.       Big Joe Lithium ION                               2311100915 Sitdown LXE-44         Leased
JA MITSUI LEASING FFCSI, INC.       Big Joe Lithium ION                               2311100916 Sitdown LXE-44         Leased
JA MITSUI LEASING FFCSI, INC.       Big Joe Lithium ION                                311100357 Sitdown LXE-44         Leased
De Lage Landen Financial Services   Big Joe J1 Joey                                   2301600422 Order Pickers          Leased
De Lage Landen Financial Services   LINDE   E18-36V            A11346L00034                      Wheel Sit Down         Leased
De Lage Landen Financial Services   Big Joe LXE-44                                    2311300386 Sitdown LXE-44         Leased
De Lage Landen Financial Services   LINDE   V15                C25215Y00444                      Order Pickers          Leased
De Lage Landen Financial Services   Big Joe LXE-44                                    2311300388 Sitdown LXE-44         Leased
De Lage Landen Financial Services   Big Joe LXE-44                                    2311300387 Sitdown LXE-44         Leased
BMO Bank N.A.                       LINDE   V15P 5215          C25215Y00392                      Order Pickers          Leased
BMO Bank N.A.                       LINDE   V15P 5215          C25215Y00504                      Order Pickers          Leased
BMO Bank N.A.                       LINDE   V15P 5215                                            Order Pickers          Leased
BMO Bank N.A.                       LINDE   V15P 5215                                            Order Pickers          Leased
BMO Bank N.A.                       LINDE   E18_346-20         A1Y346L00314                      FORKLIFTS              Leased
BMO Bank N.A.                       LINDE   E18_346-20         A1Y346L00316                      FORKLIFTS              Leased
BMO Bank N.A.                       LINDE   E18_346-20         A1Y346L00331                      FORKLIFTS              Leased
BMO Bank N.A.                       LINDE   E18_346-20         AlY346L00336                      FORKLIFTS              Leased
BMO Bank N.A.                       Big Joe LPE-50_80V                                2311200419 Sit Down               Leased
BMO Bank N.A.                       Big Joe LPE-50_80V                                2311200420 Sit Down               Leased
The Pape Group Inc.                 Hyster  R30XM3             H118N04289S-00                    FORKLIFTS              Leased
The Pape Group Inc.                 Hyster  R30XM3             H118N03949R-00                    FORKLIFTS              Leased
Total Warehouse Inc                 LINDE   E25C_1347          PC103604                          Electric Sit Down 4 Wheel
                                                                                                                        Leased
Total Warehouse Inc                 BOLZONI LS09V6A-48H-48L    2517022-T3                        Carton Clamp           Leased
Total Warehouse Inc                 LINDE   E25C_1347          A11347L00158                      Electric Sit Down 4 Wheel
                                                                                                                        Leased
Total Warehouse Inc                 BOLZONI LS09V6A-48H-48L    PC104119                          Carton Clamp           Leased
Total Warehouse Inc                 LINDE   E25C_1347          A11347L00114                      Electric Sit Down 4 Wheel
                                                                                                                        Leased
Total Warehouse Inc                 LINDE   E25C_1347          A11347L00115                      Electric Sit Down 4 Wheel
                                                                                                                        Leased
Total Warehouse Inc                 LINDE   E18_346-20         A1X346Y00641                      Electric Sit Down 3 Wheel
                                                                                                                        Leased
Total Warehouse Inc                 BOLZONI LS09V6A-48H-48L    PC103104                          Carton Clamp           Leased
Total Warehouse Inc                 LINDE   E25C_1347          A11347L00150                      Electric Sit Down 4 Wheel
                                                                                                                        Leased
Total Warehouse Inc                 BOLZONI LS16V6A-43.3W-48H-48L
                                                               PC104744                          Carton Clamp           Leased
Total Warehouse Inc                 BOLZONI LS16V6A-43.3W-48H-48L
                                                               PC103604                          Carton Clamp           Leased
Total Warehouse Inc                         RU15D-CRS-2A       2517022-T3                        Carton Clamp           Leased
Total Warehouse Inc                 LINDE   V15P_5215          C25215L00014                      Electric Order Picker Leased
Total Warehouse Inc                 LINDE   R17SX_5195         C25195L00245                      Stand Up Reach         Leased
Total Warehouse Inc                 BOLZONI LS09V6A-48H-48L    PC104127                          Carton Clamp           Leased
Total Warehouse Inc                 Big Joe J1HD-210-SP                               2301500278 FORKLIFTS              Leased
Penske                              FREIGHTLINER
                                            24FT SAD MEDIUM 3ALACWDT0FDGL8677
                                                               VAN                               TRUCK             2015 Leased
Penske                              FREIGHTLINER
                                            16FT SAD MEDIUM 3ALACWDT5GDHA5447
                                                               VAN                               TRUCK             2016 Leased
Penske                              FREIGHTLINER
                                            16FT SAD MEDIUM 3ALACWDT7GDHA5448
                                                               VAN                               TRUCK             2016 Leased
Penske                              FREIGHTLINER
                                            16FT SAD MEDIUM 3ALACWDT9GDHA5449
                                                               VAN                               TRUCK             2016 Leased
Penske                              FREIGHTLINER
                                            16FT SAD MEDIUM 3ALACWDT2GDHS4980
                                                               VAN                               TRUCK             2016 Leased
Penske                              FREIGHTLINER
                                            16FT SAD MEDIUM 3ALACWDT4GDHS4981
                                                               VAN                               TRUCK             2016 Leased
Penske                              FREIGHTLINER
                                            24FT SAD MEDIUM 3ALACWDT7GDHS4991
                                                               VAN                               TRUCK             2016 Leased
Penske                              FREIGHTLINER
                                            16FT SAD MEDIUM 3ALACWDT6GDHS4982
                                                               VAN                               TRUCK             2016 Leased
Penske                              FREIGHTLINER
                                            16FT SAD MEDIUM 3ALACWDT8GDHS4983
                                                               VAN                               TRUCK             2016 Leased
Penske                              FREIGHTLINER
                                            16FT SAD MEDIUM 3ALACWDT1GDHS4985
                                                               VAN                               TRUCK             2016 Leased
Penske                              FREIGHTLINER
                                            16FT SAD MEDIUM 3ALACWDT3GDHS4986
                                                               VAN                               TRUCK             2016 Leased




                                                                                                      Exhibit 2, Page 46
         Case
         Case 24-01376-CL7
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                                 06/17/24 Entered
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                                                                    Doc 48-1
                                                                        273 Pg.
                                                                             Pg. 47
                                                                                 28 of
                                                                                    of
                                             162
                                             101

Penske              FREIGHTLINER
                            24FT SAD MEDIUM 3ALACWFCXJDJL0879
                                              VAN                      TRUCK       2018 Leased
Penske              FREIGHTLINER
                            24FT SAD MEDIUM 3ALACWFC8JDJL0881
                                              VAN                      TRUCK       2018 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC9PDUH8581
                                              VAN                      TRUCK       2023 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC0PDUH8582
                                              VAN                      TRUCK       2023 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC2PDUH8583
                                              VAN                      TRUCK       2023 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC4PDUH8584
                                              VAN                      TRUCK       2023 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC6PDUH8585
                                              VAN                      TRUCK       2023 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC8PDUH8586
                                              VAN                      TRUCK       2023 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFCXPDUH8587
                                              VAN                      TRUCK       2023 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC1PDUH8588
                                              VAN                      TRUCK       2023 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC3PDUH8589
                                              VAN                      TRUCK       2023 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFCXPDUH8590
                                              VAN                      TRUCK   2023     Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC7PDUH8577
                                              VAN                      TRUCK       2023 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC9PDUH8578
                                              VAN                      TRUCK       2023 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC0PDUH8579
                                              VAN                      TRUCK       2023 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC7PDUH8580
                                              VAN                      TRUCK       2023 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC9LDMF0970
                                              VAN                      TRUCK       2020 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC0LDMF0971
                                              VAN                      TRUCK       2020 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC2LDMF0972
                                              VAN                      TRUCK       2020 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC4LDMF0973
                                              VAN                      TRUCK       2020 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC6LDMF0974
                                              VAN                      TRUCK       2020 Leased
Penske              FREIGHTLINER
                            16FT SAD MEDIUM 3ALACWFC8LDMF0975
                                              VAN                      TRUCK       2020 Leased
Penske              FREIGHTLINER
                            24FT SAD MEDIUM 3ALACWFC7LDMF2202
                                              VAN                      TRUCK       2020 Leased
Penske              FREIGHTLINER
                            24FT SAD MEDIUM 3ALACWFC9LDMF2203
                                              VAN                      TRUCK       2020 Leased
Penske              FORD MOTOR
                            12FT CSAG LIGHT PANEL                      TRUCK   2021     Leased
Penske              FORD MOTOR
                            12FT CSAG LIGHT PANEL                      TRUCK   2021     Leased
Penske              FORD MOTOR
                            12FT CSAG LIGHT PANEL                      TRUCK   2021     Leased
Penske              FORD MOTOR
                            12FT CSAG LIGHT PANEL                      TRUCK   2021     Leased
Penske              FREIGHTLINER
                            26FT SAD MEDIUM VAN                        TRUCK   2022     Leased
Penske              FREIGHTLINER
                            26FT SAD MEDIUM VAN                        TRUCK   2022     Leased
Penske              FREIGHTLINER
                            26FT SAD MEDIUM VAN                        TRUCK   2022     Leased
Penske              INTERNATIONA
                            26FT SAD MEDIUM VAN                        TRUCK   2022     Leased
Penske              INTERNATIONA
                            26FT SAD MEDIUM VAN                        TRUCK   2022     Leased
Penske              INTERNATIONA
                            26FT SAD MEDIUM VAN                        TRUCK   2022     Leased




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                                                               273 Pg.
                                                                    Pg. 48
                                                                        29 of
                                                                           of
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            ATTACHMENT 8.47.2

                                                                Exhibit 2, Page 48
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  Case 24-01376-CL7
       24-01376-CL7 Filed
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                                                             Doc 48-1
                                                                 273 Pg.
                                                                      Pg. 49
                                                                          30 of
                                                                             of
                                      162
                                      101


                                        Part 8.47.2
Make   Model             VIN/SN              DescriptionYear     Owned/Leased
                                                                          NBV       Value
Ford   Transit Connect   NM0LS6E74E1138011 Vehicle        2014   Owned            0       500
Ford   Transit Connect   NM0LS6E78E1147858 Vehicle        2012   Owned            0       500
Ford   F150              1FTRF12W39KC89356 Vehicle        2009   Owned            0       500
EZGO   EZGO                         5374721 Golf Cart     2020   Owned      4557.75 4557.75
                                                                            4557.75 6057.75




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Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 05/03/24
                        06/17/24 Entered
                                 Entered 05/03/24
                                         06/17/24 17:57:58
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                                                           Doc 48-1
                                                               273 Pg.
                                                                    Pg. 50
                                                                        31 of
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              ATTACHMENT 8.50

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           Case
           Case 24-01376-CL7
                24-01376-CL7 Filed
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                                   06/17/24 Entered
                                            Entered 05/03/24
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                                                                      Doc 48-1
                                                                          273 Pg.
                                                                               Pg. 51
                                                                                   32 of
                                                                                      of
                                               162
                                               101

                                                               Part 8.50
Other machinery, fixtures, and equipment   Net book value of
(excluding farm                            debtor's interest           Valuation method used   Current value of
machinery and equipment)                   (Where available)           for current value       debtor’s interest
Rocky Point Conveyor                                                   25% of purchase price                        1,488
Rocky Point Racking                                            94,722 25% of BV                                    23,681
Rocky Point Docs                                               72,721 10% of BV                                     7,272
LADC Racking                                                         0 Estimate based on age                        5,000




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Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 05/03/24
                        06/17/24 Entered
                                 Entered 05/03/24
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                                                           Doc 48-1
                                                               273 Pg.
                                                                    Pg. 52
                                                                        33 of
                                                                           of
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              ATTACHMENT 9.55

                                                                Exhibit 2, Page 52
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            Case 24-01376-CL7
                 24-01376-CL7 Filed
                              Filed 05/03/24
                                    06/17/24 Entered
                                             Entered 05/03/24
                                                     06/17/24 17:57:58
                                                              18:14:54 Doc
                                                                       Doc 48-1
                                                                           273 Pg.
                                                                                Pg. 53
                                                                                    34 of
                                                                                       of
                                                162
                                                101

                                                                     Part 9.55
Description and location of property
Include street address or other description such as
Assessor Parcel Number (APN), and type of property           Nature and extent         Net book value of
(for example, acreage, factory, warehouse, apartment         of debtor’s interest      debtor's interest   Valuation method used Current value of
or office building), if available.                           in property               (Where available)   for current value     debtor’s interest



                                                             Lease assumption,                            Third Party Sale Price,
3303 Hyland Avenue, Suite D, Costa Mesa, CA Lease - Square   fixed assets/buildouts,                      add back risk premium
Footage of Premises: 20,095                                  and display inventory              2,300,000 for pre bankruptcy          4,000,000.00



                                                             Lease assumption,                            Third Party Sale Price,
28341 Marguerite Parkway, Mission Viejo, CA Lease - Square   fixed assets/buildouts,                      add back risk premium
Footage of Premises: 19,458                                  and display inventory              4,200,000 for pre bankruptcy          2,500,000.00



                                                             Lease assumption,
                                                             fixed assets/buildouts,                      Third Party Sale Price,
2520 Santa Monica Blvd., Santa Monica, California Lease      and display inventory,                       add back risk premium
unfished location - Square Footage of Premises: 19,458       permit obtained                    891044.52 for pre bankruptcy          1,250,000.00



                                                             Lease assumption,                            Third Party Sale Price,
71905 Highway 111, Suites B & C Lease - Square Footage of    fixed assets/buildouts,                      add back risk premium
Premises: 17,283                                             and display inventory              2,600,000 for pre bankruptcy          1,500,000.00
4545 La Jolla Village Drive, Suite E-1
San Diego, CA 92122 Lease - Square Footage of Premises:
23,747                                                       Display inventory                712,419.00 10% of BV of Displays           71,241.90
101 S. Brand Blvd.
Glendale, CA 91210                                           Display inventory                728,707.00 10% of BV of Displays           72,870.70
202 N. Cedros Ave.
Solana Beach, CA 92075                                       Display inventory                     167716 10% of BV of Displays          16,771.60
320 South Cedros Avenue, Suite 100
Solana Beach, CA 92075                                       Display inventory                      74712 45% of BV of Displays          33,620.40




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            Case
            Case 24-01376-CL7
                 24-01376-CL7 Filed
                              Filed 05/03/24
                                    06/17/24 Entered
                                             Entered 05/03/24
                                                     06/17/24 17:57:58
                                                              18:14:54 Doc
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                                                                           273 Pg.
                                                                                Pg. 54
                                                                                    35 of
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  Fill in this information to identify the case:

                PIRCH, Inc.
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  8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH Southern
                                           BBBBBBBBBBBBBBBBBBBBBB'LVWULFWRIBBBBBBBBB
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                                                                                                                                                       DPHQGHGILOLQJ
 2IILFLDO)RUP'
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     1R&KHFNWKLVER[DQGVXEPLWSDJHRIWKLVIRUPWRWKHFRXUWZLWKGHEWRU¶VRWKHUVFKHGXOHV'HEWRUKDVQRWKLQJHOVHWRUHSRUWRQWKLVIRUP
    
    ✔ <HV)LOOLQDOORIWKHLQIRUPDWLRQEHORZ

 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                              Column A                 Column B
  List in alphabetical order all creditors who have secured claims. ,IDFUHGLWRUKDVPRUHWKDQRQH
    VHFXUHGFODLPOLVWWKHFUHGLWRUVHSDUDWHO\IRUHDFKFODLP                                                               Amount of claim        Value of collateral
                                                                                                                              'RQRWGHGXFWWKHYDOXH that supports this
                                                                                                                              RIFROODWHUDO           claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
      See Attachment D
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB BBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBB

    Creditor’s mailing address                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

     ________________________________________________________   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     ________________________________________________________   Describe the lien
                                                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                 1R
                                                                 <HV
    Date debt was incurred          BBBBBBBBBBBBBBBBBB          Is anyone else liable on this claim?

    Last 4 digits of account
                                                                 1R
    number                   _BBBBBBBBBBB
                                                                 <HV)LOORXWSchedule H: Codebtors 2IILFLDO)RUP+ 
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                             &KHFNDOOWKDWDSSO\
     1R                                                        &RQWLQJHQW
     <HV6SHFLI\HDFKFUHGLWRULQFOXGLQJWKLVFUHGLWRU      8QOLTXLGDWHG
             DQGLWVUHODWLYHSULRULW\                          'LVSXWHG
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB BBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBB

    Creditor’s mailing address                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     ________________________________________________________   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     ________________________________________________________   Describe the lien
                                                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                 1R
                                                                 <HV
    Date debt was incurred          BBBBBBBBBBBBBBBBBB          Is anyone else liable on this claim?

    Last 4 digits of account
                                                                 1R
    number                   _BBBBBBBBBBB
                                                                 <HV)LOORXWSchedule H: Codebtors 2IILFLDO)RUP+ 
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                             &KHFNDOOWKDWDSSO\

     1R                                                        &RQWLQJHQW
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             SULRULW\"                                           'LVSXWHG
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                 FUHGLWRUDQGLWVUHODWLYHSULRULW\
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            <HV7KHUHODWLYHSULRULW\RIFUHGLWRUVLV
                 VSHFLILHGRQOLQHVBBBBB

 3. Totalof the dollar amounts from Part 1, Column A, including the amounts from the Additional                                 
                                                                                                                               BBBBBBBBBBBBBBBB
    Page, if any.


   2IILFLDO)RUP'                             Schedule D: Creditors Who Have Claims Secured by Property                                        Page 54   
                                                                                                                                           Exhibit 2,SDJHRIBBB
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             Case 24-01376-CL7
                  24-01376-CL7 Filed
                               Filed 05/03/24
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                                                                                     36 of
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Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                   On which line in Part 1     Last 4 digits of
           Name and address
                                                                                                                                   did you enter the           account number
                                                                                                                                   related creditor?           for this entity
    Denise      Field, 425 Market Street, Suite 2900, San Francisco, CA 94105
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

    (Re:     Sub-zero Group West, Inc.)
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                 /LQHBB
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    Chad     Simon, 230 Park Ave, New York, NY 10169
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

    (Re:    CP Fixtures Holdings, LLC)
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Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 05/03/24
                        06/17/24 Entered
                                 Entered 05/03/24
                                         06/17/24 17:57:58
                                                  18:14:54 Doc
                                                           Doc 48-1
                                                               273 Pg.
                                                                    Pg. 56
                                                                        37 of
                                                                           of
                                    162
                                    101




                 ATTACHMENT D

                                                                Exhibit 2, Page 56
                                                  Case
                                                  Case 24-01376-CL7
                                                       24-01376-CL7 Filed
                                                                    Filed 05/03/24
                                                                          06/17/24 Entered
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                                                                                                             Doc 48-1
                                                                                                                 273 Pg.
                                                                                                                      Pg. 57
                                                                                                                          38 of
                                                                                                                             of
                                                                                      162
                                                                                      101

                                                                                                                                  Schedule D
                                                                                                                                                                                    Date debt was        Last 4 digits of account
Number Creditor's name                                     Creditor's Mailing address 1            Creditor's Mailing address 2        Creditor's Email Address, if known           incurred             number
     2.1 Purcell-Murray, Inc.                              2615 East Belt Line                     Carrollton, TX 75006                receivables@milestonedist.com                            9/5/2024
                                                                                                   Specify each creditor, including
           Do multiple creditors have an interest in the   Specify each creditor, including this   this creditor, and its relative     Describe debtor's property that is subject
           same property?                                  creditor, and its relative priority 1   priority 2                          to a lien                                    Describe the lien
           Yes                                             Purcell-Murray, Inc.                    CP Fixtures Holdings, LLC           All products distributed to debtor           UCC Lien - Security interest in products
                                                                                                                                                                                                            Column A Amount of claim
                                                                                                                                                                                                            Do not deduct the value of   Column B Value of collateral
           Is the creditor an insider or related party?    Is anyone else liable on this claim?    C                                   U                                            D                       collateral                  that supports this claim
           No                                              No                                      NO                                  Yes                                          Yes                                      652,227.27                        1,584,767

                                                                                                                                                                                    Date debt was        Last 4 digits of account
Number Creditor's name                                     Creditor's Mailing address 1            Creditor's Mailing address 2        Creditor's Email Address, if known           incurred             number
     2.2 Electrolux Home Products, Inc.                    Po Box 2638                             Carol Stream, IL 60132              ar.usa.collection@electrolux.com                        1/24/2024
                                                                                                   Specify each creditor, including
           Do multiple creditors have an interest in the   Specify each creditor, including this   this creditor, and its relative     Describe debtor's property that is subject
           same property?                                  creditor, and its relative priority 1   priority 2                          to a lien                                    Describe the lien
           Yes                                             Electrolux Home Products, Inc.          CP Fixtures Holdings, LLC           All products distributed to debtor           UCC Lien - Security interest in products
                                                                                                                                                                                                            Column A Amount of claim
                                                                                                                                                                                                            Do not deduct the value of   Column B Value of collateral
           Is the creditor an insider or related party?    Is anyone else liable on this claim?    C                                   U                                            D                       collateral                  that supports this claim
           No                                              No                                      NO                                  Yes                                          Yes                                      107,152.64                          155,863

                                                                                                                                                                                    Date debt was        Last 4 digits of account
Number Creditor's name                                     Creditor's Mailing address 1            Creditor's Mailing address 2        Creditor's Email Address, if known           incurred             number
     2.3 BSH Home Appliances Corporation                   1901 Main Street, Suite 600             Irvine, CA 92614                    corinna.gomez@bshg.com                                 12/22/2024
                                                                                                   Specify each creditor, including
           Do multiple creditors have an interest in the   Specify each creditor, including this   this creditor, and its relative     Describe debtor's property that is subject
           same property?                                  creditor, and its relative priority 1   priority 2                          to a lien                                    Describe the lien
           Yes                                             BSH Home Appliances Corporation         CP Fixtures Holdings, LLC           All products distributed to debtor           UCC Lien - Security interest in products
                                                                                                                                                                                                            Column A Amount of claim
                                                                                                                                                                                                            Do not deduct the value of   Column B Value of collateral
           Is the creditor an insider or related party?    Is anyone else liable on this claim?    C                                   U                                            D                       collateral                  that supports this claim
           No                                              No                                      NO                                  Yes                                          Yes                                      613,573.63                        1,857,962

                                                                                                                                                                                    Date debt was          Last 4 digits of account
Number     Creditor's name                                 Creditor's Mailing address 1            Creditor's Mailing address 2        Creditor's Email Address, if known           incurred               number

           U.S. Bank Equipment Finance, A Division of
       2.4 U.S. Bank National Association                  1310 MADRID ST STE 100                  MARSHALL, MN 56258-4001          efcustomersupport@usbank.com                              12/30/2024
                                                                                                   Specify each creditor, including
           Do multiple creditors have an interest in the   Specify each creditor, including this   this creditor, and its relative  Describe debtor's property that is subject
           same property?                                  creditor, and its relative priority 1   priority 2                       to a lien                                       Describe the lien
                                                           U.S. Bank Equipment Finance, A
                                                           Division of U.S. Bank National
           Yes                                             Association                             CP Fixtures Holdings, LLC           Copiers, Printers, and fax machines          UCC Lien - Lessee/Lessor
                                                                                                                                                                                                          Column A Amount of claim
                                                                                                                                                                                                          Do not deduct the value of     Column B Value of collateral
           Is the creditor an insider or related party?    Is anyone else liable on this claim?    C                                   U                                            D                     collateral                    that supports this claim




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                                                 Case
                                                 Case 24-01376-CL7
                                                      24-01376-CL7 Filed
                                                                   Filed 05/03/24
                                                                         06/17/24 Entered
                                                                                  Entered 05/03/24
                                                                                          06/17/24 17:57:58
                                                                                                   18:14:54 Doc
                                                                                                            Doc 48-1
                                                                                                                273 Pg.
                                                                                                                     Pg. 58
                                                                                                                         39 of
                                                                                                                            of
                                                                                     162
                                                                                     101



          No                                              No                                      NO                                 Yes                                          Yes                                      23,576.31                           23,576


                                                                                                                                                                                  Date debt was        Last 4 digits of account
Number Creditor's name                                    Creditor's Mailing address 1            Creditor's Mailing address 2       Creditor's Email Address, if known           incurred             number
     2.5 Sub-zero Group West, Inc.                        15570 N. 83rd Way                       Scottsdale, AZ 85260               Mark.Zavras@subzero.com                                 12/1/2023
                                                                                                  Specify each creditor, including
          Do multiple creditors have an interest in the   Specify each creditor, including this   this creditor, and its relative    Describe debtor's property that is subject
          same property?                                  creditor, and its relative priority 1   priority 2                         to a lien                                    Describe the lien
          Yes                                             Sub-zero Group West, Inc.               CP Fixtures Holdings, LLC          All products distributed to debtor           UCC Lien - Security interest in products
                                                                                                                                                                                                          Column A Amount of claim
                                                                                                                                                                                                          Do not deduct the value of   Column B Value of collateral
          Is the creditor an insider or related party?    Is anyone else liable on this claim?    C                                  U                                            D                       collateral                  that supports this claim
          No                                              No                                      NO                                 Yes                                          Yes                                    4,052,619.54                        5,135,290

                                                                                                                                                                                  Date debt was          Last 4 digits of account
Number    Creditor's name                                 Creditor's Mailing address 1            Creditor's Mailing address 2       Creditor's Email Address, if known           incurred               number
                                                          Catterton Partners 599 W. Putnam
      2.6 CP Fixtures Holdings, LLC                       Ave.                                    Greenwich, CT 06839                Derex.Walker@lcatterton.com                             6/29/2020
                                                                                                  Specify each creditor, including
          Do multiple creditors have an interest in the   Specify each creditor, including this   this creditor, and its relative    Describe debtor's property that is subject
          same property?                                  creditor, and its relative priority 1   priority 2                         to a lien                                    Describe the lien
          Yes                                             All others                              CP Fixtures Holdings, LLC          All PIRCH Assets                             Secured interest in all company assets
                                                                                                                                                                                                           Column A Amount of claim
                                                                                                                                                                                                           Do not deduct the value of  Column B Value of collateral
          Is the creditor an insider or related party?    Is anyone else liable on this claim?    C                                  U                                            D                        collateral                 that supports this claim
          No                                              No                                      NO                                 Yes                                          Yes                                   80,927,433.93                       54,422,491

                                                                                                                                                                                  Date debt was        Last 4 digits of account
Number Creditor's name                                    Creditor's Mailing address 1            Creditor's Mailing address 2       Creditor's Email Address, if known           incurred             number
     2.7 Mode Distributing LLC                            4945 E Hunter Ave                       Anaheim, CA 92807-2058             elizabetha@modedistributing.com                         1/25/2024
                                                                                                  Specify each creditor, including
          Do multiple creditors have an interest in the   Specify each creditor, including this   this creditor, and its relative    Describe debtor's property that is subject
          same property?                                  creditor, and its relative priority 1   priority 2                         to a lien                                    Describe the lien
                                                                                                                                     Loan on specific Mode Distribution
          Yes                                             Mode Distributing LLC                   CP Fixtures Holdings, LLC          products                                     Consigment Lien
                                                                                                                                                                                                         Column A Amount of claim
                                                                                                                                                                                                         Do not deduct the value of   Column B Value of collateral
          Is the creditor an insider or related party?    Is anyone else liable on this claim?    C                                  U                                            D                      collateral                  that supports this claim
          No                                              No                                      NO                                 Yes                                          Yes                                      66,906.80                          61,100

                                                                                                                                                                                  Date debt was        Last 4 digits of account
Number Creditor's name                                    Creditor's Mailing address 1            Creditor's Mailing address 2       Creditor's Email Address, if known           incurred             number
     2.8 BFG Corporation                                  2801 Lakeside Dr Ste 212                Bannockburn, IL 60015              mjensen@bylinefinancialgroup.com                        1/20/2021
                                                                                                  Specify each creditor, including
          Do multiple creditors have an interest in the   Specify each creditor, including this   this creditor, and its relative    Describe debtor's property that is subject
          same property?                                  creditor, and its relative priority 1   priority 2                         to a lien                                    Describe the lien
          Yes                                             BFG Corporation                         CP Fixtures Holdings, LLC          Forklifts                                    UCC Lien - Lessee/Lessor




                                                                                                                                                                                                                               Exhibit 2, Page 58
                                                  Case
                                                  Case 24-01376-CL7
                                                       24-01376-CL7 Filed
                                                                    Filed 05/03/24
                                                                          06/17/24 Entered
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                                                                                           06/17/24 17:57:58
                                                                                                    18:14:54 Doc
                                                                                                             Doc 48-1
                                                                                                                 273 Pg.
                                                                                                                      Pg. 59
                                                                                                                          40 of
                                                                                                                             of
                                                                                      162
                                                                                      101

                                                                                                                                                                                                           Column A Amount of claim
                                                                                                                                                                                                           Do not deduct the value of   Column B Value of collateral
           Is the creditor an insider or related party?    Is anyone else liable on this claim?    C                                  U                                            D                       collateral                  that supports this claim
           No                                              No                                      NO                                 Yes                                          Yes                                       92,580.00                          92,580

                                                                                                                                                                                   Date debt was        Last 4 digits of account
Number Creditor's name                                     Creditor's Mailing address 1            Creditor's Mailing address 2       Creditor's Email Address, if known           incurred             number
     2.9 First Financial Holdings, LLC                     750 The City Drive S.                   Orange, CA 92868                   invoice@ffequipmentleasing.com                           6/8/2022
                                                                                                   Specify each creditor, including
           Do multiple creditors have an interest in the   Specify each creditor, including this   this creditor, and its relative    Describe debtor's property that is subject
           same property?                                  creditor, and its relative priority 1   priority 2                         to a lien                                    Describe the lien
           Yes                                             First Financial Holdings, LLC           CP Fixtures Holdings, LLC          Order pickers and sitdowns                   UCC Lien - Lessee/Lessor
                                                                                                                                                                                                         Column A Amount of claim
                                                                                                                                                                                                         Do not deduct the value of  Column B Value of collateral
           Is the creditor an insider or related party?    Is anyone else liable on this claim?    C                                  U                                            D                     collateral                 that supports this claim
           No                                              No                                      NO                                 Yes                                          Yes                                   313,157.86                          313,158

                                                                                                                                                                                   Date debt was           Last 4 digits of account
Number     Creditor's name                                 Creditor's Mailing address 1            Creditor's Mailing address 2       Creditor's Email Address, if known           incurred                number

2.10       De Lage Landen Financial Services               PO BOX 825736                           PHILADELPHIA, PA 19182-5736        eft@leasedirect.com                                       8/1/2022
                                                                                                   Specify each creditor, including
           Do multiple creditors have an interest in the   Specify each creditor, including this   this creditor, and its relative    Describe debtor's property that is subject
           same property?                                  creditor, and its relative priority 1   priority 2                         to a lien                                    Describe the lien
           Yes                                             De Lage Landen Financial Services       CP Fixtures Holdings, LLC          Order pickers and sitdowns                   UCC Lien - Lessee/Lessor
                                                                                                                                                                                                         Column A Amount of claim
                                                                                                                                                                                                         Do not deduct the value of  Column B Value of collateral
           Is the creditor an insider or related party?    Is anyone else liable on this claim?    C                                  U                                            D                     collateral                 that supports this claim
           No                                              No                                      NO                                 Yes                                          Yes                                   148,563.00                          148,563

                                                                                                                                                                                   Date debt was        Last 4 digits of account
Number Creditor's name                                     Creditor's Mailing address 1            Creditor's Mailing address 2       Creditor's Email Address, if known           incurred             number
    2.11 Bank of the West                                  PO BOX 7167                             Pasadena, CA 91109-7167            service1@financial-svcs.com                             10/1/2022
                                                                                                   Specify each creditor, including
           Do multiple creditors have an interest in the   Specify each creditor, including this   this creditor, and its relative    Describe debtor's property that is subject
           same property?                                  creditor, and its relative priority 1   priority 2                         to a lien                                    Describe the lien
           Yes                                             Bank of the West                        CP Fixtures Holdings, LLC          Order pickers and sitdowns                   UCC Lien - Lessee/Lessor
                                                                                                                                                                                                         Column A Amount of claim
                                                                                                                                                                                                         Do not deduct the value of  Column B Value of collateral
           Is the creditor an insider or related party?    Is anyone else liable on this claim?    C                                  U                                            D                     collateral                 that supports this claim
           No                                              No                                      NO                                 Yes                                          Yes                                   355,239.00                          355,239

                                                                                                                                                                                   Date debt was        Last 4 digits of account
Number Creditor's name                                     Creditor's Mailing address 1            Creditor's Mailing address 2       Creditor's Email Address, if known           incurred             number
    2.12 Samsung Electronics America, Inc.                 File 50547                              Los Angeles, CA 90074-0547         luisj@sea.samsung.com                                   2/22/2024
                                                                                                   Specify each creditor, including
           Do multiple creditors have an interest in the   Specify each creditor, including this   this creditor, and its relative    Describe debtor's property that is subject
           same property?                                  creditor, and its relative priority 1   priority 2                         to a lien                                    Describe the lien
           Yes                                             Samsung Electronics America, Inc.       CP Fixtures Holdings, LLC          All products distributed to debtor           UCC Lien - Security interest in products




                                                                                                                                                                                                                                 Exhibit 2, Page 59
                                                  Case
                                                  Case 24-01376-CL7
                                                       24-01376-CL7 Filed
                                                                    Filed 05/03/24
                                                                          06/17/24 Entered
                                                                                   Entered 05/03/24
                                                                                           06/17/24 17:57:58
                                                                                                    18:14:54 Doc
                                                                                                             Doc 48-1
                                                                                                                 273 Pg.
                                                                                                                      Pg. 60
                                                                                                                          41 of
                                                                                                                             of
                                                                                      162
                                                                                      101

                                                                                                                                                                                                         Column A Amount of claim
                                                                                                                                                                                                         Do not deduct the value of     Column B Value of collateral
           Is the creditor an insider or related party?    Is anyone else liable on this claim?    C                                  U                                            D                     collateral                    that supports this claim
           No                                              No                                      NO                                 Yes                                          Yes                    See Fn. 1               -                             894,440

                                                                                                                                                                                   Date debt was        Last 4 digits of account
Number Creditor's name                                     Creditor's Mailing address 1            Creditor's Mailing address 2       Creditor's Email Address, if known           incurred             number
    2.13 Fisher & Paykel Appliances, Inc.                  695 Town CTR Dr #180                    Costa Mesa, CA 92626               sofia.reyes@fisherpaykel.com                            1/31/2024
                                                                                                   Specify each creditor, including
           Do multiple creditors have an interest in the   Specify each creditor, including this   this creditor, and its relative    Describe debtor's property that is subject
           same property?                                  creditor, and its relative priority 1   priority 2                         to a lien                                    Describe the lien
           Yes                                             Fisher & Paykel Appliances, Inc.        CP Fixtures Holdings, LLC          All products distributed to debtor           UCC Lien - Security interest in products
                                                                                                                                                                                                           Column A Amount of claim
                                                                                                                                                                                                           Do not deduct the value of   Column B Value of collateral
           Is the creditor an insider or related party?    Is anyone else liable on this claim?    C                                  U                                            D                       collateral                  that supports this claim
           No                                              No                                      NO                                 Yes                                          Yes                                      211,721.92                          529,811

                                                                                                                                                                                   Date debt was        Last 4 digits of account
Number Creditor's name                                     Creditor's Mailing address 1            Creditor's Mailing address 2       Creditor's Email Address, if known           incurred             number
    2.14 Tristate Distributors, Inc.                       PO Box 3623                             Spokane, WA 99220                  Jsloan@tristatedistributors.com                         12/7/2024
                                                                                                   Specify each creditor, including
           Do multiple creditors have an interest in the   Specify each creditor, including this   this creditor, and its relative    Describe debtor's property that is subject
           same property?                                  creditor, and its relative priority 1   priority 2                         to a lien                                    Describe the lien
                                                                                                                                      Loan on specific Tri State Distribution
           Yes                                             Tristate Distributors, Inc.             CP Fixtures Holdings, LLC          products                                     UCC Lien - Security interest in products
                                                                                                                                                                                                           Column A Amount of claim
                                                                                                                                                                                                           Do not deduct the value of   Column B Value of collateral
           Is the creditor an insider or related party?    Is anyone else liable on this claim?    C                                  U                                            D                       collateral                  that supports this claim
           No                                              No                                      NO                                 Yes                                          Yes                                       40,881.67                          38,255

                                                                                                                                                                                   Date debt was        Last 4 digits of account
Number Creditor's name                                     Creditor's Mailing address 1            Creditor's Mailing address 2       Creditor's Email Address, if known           incurred             number
    2.15 Graff Faucets Co                                  3701 W Burnham St Ste B                 Milwaukee, WI 53215-2056           jeff.ostermeyer@meridiangrp.com                         1/16/2024
                                                                                                   Specify each creditor, including
           Do multiple creditors have an interest in the   Specify each creditor, including this   this creditor, and its relative    Describe debtor's property that is subject
           same property?                                  creditor, and its relative priority 1   priority 2                         to a lien                                    Describe the lien
           Yes                                             Graff Faucets Co                        CP Fixtures Holdings, LLC          Displays products                            Consigment Agreement
                                                                                                                                                                                                         Column A Amount of claim
                                                                                                                                                                                                         Do not deduct the value of   Column B Value of collateral
           Is the creditor an insider or related party?    Is anyone else liable on this claim?    C                                  U                                            D                     collateral                  that supports this claim
           No                                              No                                      NO                                 Yes                                          Yes                                     72,692.89                          72,693

                                                                                                                                                                                   Date debt was         Last 4 digits of account
Number Creditor's name                                     Creditor's Mailing address 1            Creditor's Mailing address 2       Creditor's Email Address, if known           incurred              number
    2.16 Woodstone                                         1801 W. Bakerview Rd.                   Bellingham, WA 98226               chrisw@luxuryrepsinc.com
                                                                                                   Specify each creditor, including
           Do multiple creditors have an interest in the   Specify each creditor, including this   this creditor, and its relative    Describe debtor's property that is subject
           same property?                                  creditor, and its relative priority 1   priority 2                         to a lien                                    Describe the lien
           Yes                                             Woodstone                               CP Fixtures Holdings, LLC          Displays products                            Consigment Agreement




                                                                                                                                                                                                                               Exhibit 2, Page 60
                                       Case
                                       Case 24-01376-CL7
                                            24-01376-CL7 Filed
                                                         Filed 05/03/24
                                                               06/17/24 Entered
                                                                        Entered 05/03/24
                                                                                06/17/24 17:57:58
                                                                                         18:14:54 Doc
                                                                                                  Doc 48-1
                                                                                                      273 Pg.
                                                                                                           Pg. 61
                                                                                                               42 of
                                                                                                                  of
                                                                           162
                                                                           101

                                                                                                                           Column A Amount of claim
                                                                                                                           Do not deduct the value of   Column B Value of collateral
Is the creditor an insider or related party?   Is anyone else liable on this claim?   C    U                  D            collateral                  that supports this claim
No                                             No                                     NO   Yes                Yes                            63,955.00                          63,955




        Note 1: Debtor believes the secured claim of Samsung Electronics (#2.12) is fully covered by a letter of credit.




                                                                                                                                               Exhibit 2, Page 61
              Case
              Case 24-01376-CL7
                   24-01376-CL7 Filed
                                Filed 05/03/24
                                      06/17/24 Entered
                                               Entered 05/03/24
                                                       06/17/24 17:57:58
                                                                18:14:54 Doc
                                                                         Doc 48-1
                                                                             273 Pg.
                                                                                  Pg. 62
                                                                                      43 of
                                                                                         of
                                                  162
                                                  101
   Fill in this information to identify the case:

   'HEWRU           PIRCH, Inc.
                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                            Southern
   8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH BBBBBBBBBBBBBBBBBBBBBB              CA
                                                                   'LVWULFWRIBBBBBBBBBB
                                                                                                 6WDWH 
                 24í01376íCL7
   &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    ,INQRZQ 

                                                                                                                                                      &KHFNLIWKLVLVDQ
                                                                                                                                                         DPHQGHGILOLQJ
  2IILFLDO)RUP()
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:          List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? 6HH86& 
     1R*RWR3DUW
    
    ✔ <HV*RWROLQH

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. ,IWKHGHEWRUKDVPRUHWKDQ
    FUHGLWRUVZLWKSULRULW\XQVHFXUHGFODLPVILOORXWDQGDWWDFKWKH$GGLWLRQDO3DJHRI3DUW

                                                                                                                         Total claim                 Priority amount
2.1 Priority creditor’s name and mailing address                           As of the petition filing date, the claim is: BBBBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBB
    See    Attachment E
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB Check all that apply
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB  &RQWLQJHQW
                                                                         8QOLTXLGDWHG
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                          'LVSXWHG
    Date or dates debt was incurred                                        Basis for the claim:
                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

    Last 4 digits of account                                               Is the claim subject to offset?
    number      BBBBBBBBBBBB                                            1R
                                                                            <HV
    SpecifyCode subsection of PRIORITY unsecured
    claim: 86& D  BBBBB


2.2 Priority creditor’s name and mailing address                           As of the petition filing date, the claim is: BBBBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBB
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB   Check all that apply
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                            &RQWLQJHQW
                                                                            8QOLTXLGDWHG
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                             'LVSXWHG
    Date or dates debt was incurred                                        Basis for the claim:
                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

    Last 4 digits of account                                               Is the claim subject to offset?
    number      BBBBBBBBBBBB                                            1R
                                                                            <HV
    SpecifyCode subsection of PRIORITY unsecured
    claim: 86& D  BBBBB


2.3 Priority creditor’s name and mailing address                           As of the petition filing date, the claim is: BBBBBBBBBBBBBBBBBBBBBB   BBBBBBBBBBBBBBBBB
     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB   Check all that apply
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                            &RQWLQJHQW
                                                                            8QOLTXLGDWHG
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                             'LVSXWHG
    Date or dates debt was incurred                                        Basis for the claim:
                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

    Last 4 digits of account                                               Is the claim subject to offset?
    number      BBBBBBBBBBBB                                            1R
                                                                            <HV
    SpecifyCode subsection of PRIORITY unsecured
    claim: 86& D  BBBBB




  2IILFLDO)RUP()                                        Schedule E/F: Creditors Who Have Unsecured Claims                              Exhibit 2,SDJHRI
                                                                                                                                                          Page 62
            Case
            Case 24-01376-CL7
                    24-01376-CL7 Filed   Filed 05/03/24
                                                 06/17/24 Entered
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  'HEWRU      PIRCH, Inc.                                          162
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              1DPH
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                                                                               &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditorswith nonpriority unsecured claims. ,IWKHGHEWRUKDVPRUHWKDQFUHGLWRUVZLWKQRQSULRULW\
    XQVHFXUHGFODLPVILOORXWDQGDWWDFKWKH$GGLWLRQDO3DJHRI3DUW
                                                                                                                              Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    See Attachment F
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                   &RQWLQJHQW
                                                                   8QOLTXLGDWHG
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB  'LVSXWHG

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                           Basis for the claim:BBBBBBBBBBBBBBBBBBBBBBBB

    Date or dates debt was incurred            BBBBBBBBBBBBBBBBBBB         Is the claim subject to offset?
                                                                            1R
    Last 4 digits of account number            BBBBBBBBBBBB              <HV
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                   &RQWLQJHQW
                                                                   8QOLTXLGDWHG
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB  'LVSXWHG

    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                           Basis for the claim:BBBBBBBBBBBBBBBBBBBBBBBB

    Date or dates debt was incurred            BBBBBBBBBBBBBBBBBBB         Is the claim subject to offset?
                                                                            1R
    Last 4 digits of account number            BBBBBBBBBBBB              <HV
3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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                                                                           Basis for the claim:BBBBBBBBBBBBBBBBBBBBBBBB

    Date or dates debt was incurred            BBBBBBBBBBBBBBBBBBB         Is the claim subject to offset?
                                                                            1R
    Last 4 digits of account number            BBBBBBBBBBBB              <HV
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                            &RQWLQJHQW
                                                                            8QOLTXLGDWHG
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    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                           Basis for the claim:BBBBBBBBBBBBBBBBBBBBBBBB

    Date or dates debt was incurred            BBBBBBBBBBBBBBBBBBB         Is the claim subject to offset?
                                                                            1R
    Last 4 digits of account number            BBBBBBBBBBBB              <HV
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                            &RQWLQJHQW
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                            8QOLTXLGDWHG
                                                                            'LVSXWHG
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                           Basis for the claim:BBBBBBBBBBBBBBBBBBBBBBBB

    Date or dates debt was incurred            BBBBBBBBBBBBBBBBBBB         Is the claim subject to offset?
                                                                            1R
    Last 4 digits of account number            BBBBBBBBBBBB              <HV
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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                                                                   8QOLTXLGDWHG
                                                                   'LVSXWHG
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                           Basis for the claim:BBBBBBBBBBBBBBBBBBBBBBBB

    Date or dates debt was incurred            BBBBBBBBBBBBBBBBBBB         Is the claim subject to offset?
                                                                            1R
    Last 4 digits of account number            BBBBBBBBBBBB              <HV


   2IILFLDO)RUP()                          Schedule E/F: Creditors Who Have Unsecured Claims                                          SDJHRI
                                                                                                                                 Exhibit 2, Page  63
           Case
           Case 24-01376-CL7
                   24-01376-CL7 Filed   Filed 05/03/24
                                                06/17/24 Entered
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              PIRCH,
             1DPH
                       Inc.                                                                          24í01376íCL7
                                                                              &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                           Total of claim amounts



D Total claims from Part 1                                                                  D                      97,372,188.00
                                                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBB




E Total claims from Part 2                                                                  E   +                 52,930,554.00
                                                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBB




F Total of Parts 1 and 2
                                                                                               F                    150,302,742.00
                                                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
    /LQHVDE F




  2IILFLDO)RUP()                     Schedule E/F: Creditors Who Have Unsecured Claims                Exhibit 2, Page 64
                                                                                                                            SDJHBBRIBBB
Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 05/03/24
                        06/17/24 Entered
                                 Entered 05/03/24
                                         06/17/24 17:57:58
                                                  18:14:54 Doc
                                                           Doc 48-1
                                                               273 Pg.
                                                                    Pg. 65
                                                                        46 of
                                                                           of
                                    162
                                    101




                 ATTACHMENT E

                                                                Exhibit 2, Page 65
                       Case
                       Case 24-01376-CL7
                            24-01376-CL7 Filed Filed 05/03/24
                                                     06/17/24 Entered
                                                              Entered 05/03/24    06/17/24 17:57:58
                                                                                           18:14:54 Doc  Doc 48-1  273 Pg.
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                                                              Schedule E/F Part 1
Priority creditor's Name        Address line 1                      162
                                                                    101
                                                               Address line 2                C U  D Priority Code
                                                                                                                Basis   Total Claim Priority Amount
TROY ZIMMERMAN                                 1809 N Palm Canyon Dr. D                  Palm Springs, CA 92262             x   x   A7   Customer Deposit   778,805   3,350
Patterson Custom Homes                         15 Corporate Plaza Dr Ste 150             Newport Beach, CA 92660-7940       x   x   A7   Customer Deposit   592,029   3,350
Pure Salt Interior Designs                     881 W 16th St                             Newport Beach, CA 92663-2801               A7   Customer Deposit   513,959   3,350
Lisa Lopez                                     2806 The Strand                           Hermosa Beach, CA 90254            x   x   A7   Customer Deposit   446,524   3,350
Forte                                          3451 W Martin Ste C                       Las Vegas, NV 89118-3867           x   x   A7   Customer Deposit   456,819   3,350
Hampel Construction, Inc.                      PO Box 9084                               Rancho Santa Fe, CA 92067-4084     x   x   A7   Customer Deposit   230,479   3,350
ELYSSA CONTARDO INTERIOR DESIGN                72171 Hwy 111 #201                        Palm Desert, CA 92260              x   x   A7   Customer Deposit   329,398   3,350
Lindye Galloway Design                         389 Mira Loma Pl                          Costa Mesa, CA 92627-4625                  A7   Customer Deposit   314,912   3,350
MALLIS WORKSHOP                                708 Crestmoore Pl                         Venice, CA 90291-4817              x   x   A7   Customer Deposit   304,427   3,350
Warwick Group                                  8800 Venice Blvd #315                     Los Angeles, CA 90043              x   x   A7   Customer Deposit   440,648   3,350
James V. Coane + Associates                    30 N Raymond Ave Ste 611                  Pasadena, CA 91103-4452            x   x   A7   Customer Deposit   282,419   3,350
Hutton Development Company                     18607 Mesa Drive                          Villa Park, CA 92861                       A7   Customer Deposit   173,162   3,350
Jeremy and Bronte Ricks                        335 Patty Ln                              Encinitas, CA 92024-1629           x   x   A7   Customer Deposit   270,794   3,350
Charles Smith Enterprises LLC                  9445 Charles Smith Ave                    Rancho Cucamonga, CA 91730                 A7   Customer Deposit   253,001   3,350
Lombardi Construction                          240 S Sepulveda Blvd Ste 202              Manhattan Beach, CA 90266-6852     x   x   A7   Customer Deposit   234,532   3,350
Crown Haus LLC                                 9971 Highcliff Dr                         North Tustin, CA 92705-1544                A7   Customer Deposit   237,391   3,350
Legacy Custom Homes                            3990 Westerly Pl Ste 150                  Newport Beach, CA 92660-2304               A7   Customer Deposit   233,138   3,350
JADEN AND SON CONSTRUCTION, INC                10568 APPLE LANE                          ALTA LOMA, CA 91737                x   x   A7   Customer Deposit   220,474   3,350
Burkhart Brothers Construction                 130 McCormick Ave Ste 107                 Costa Mesa, CA 92626-3316          x   x   A7   Customer Deposit   209,109   3,350
ANR Industries                                 10537 Santa Monica Blvd Ste 240 Ste 240   Los Angeles, CA 90025-4952         x   x   A7   Customer Deposit   200,820   3,350
REDUX Liz Ostoich                              1813 E Balboa Blvd                        Newport Beach, CA 92661-1404               A7   Customer Deposit   191,282   3,350
Corbin Reeves Construction- Olson Lido
Project                                        925 Via Lido Soud                         Newport Beach, CA 92663-5534       x   x   A7   Customer Deposit   186,767   3,350
Ashley Samuelian                               10 Vista de San Clemente                  Laguna Beach, CA 92651                     A7   Customer Deposit   203,748   3,350
AJ Engineering and Construction                4554 Ellenita Ave                         Tarzana, CA 91356                  x   x   A7   Customer Deposit   184,484   3,350
Karen Drogin                                   6361 Hartley Drive                        La Jolla, CA 92037                         A7   Customer Deposit   184,331   3,350
Jeff & Wendy Smith                             930 Bay Cir                               Coronado, CA 92118-2302                    A7   Customer Deposit   182,990   3,350
KD Development                                 4641 Ingraham Street                      San Diego, CA 92109                x   x   A7   Customer Deposit   179,662   3,350
Jenn Feldman Design                            1537 Pontius Ave                          Los Angeles, CA 90025-3305         x   x   A7   Customer Deposit   247,223   3,350
DESIGN SQUARED                                 13240 EVENING CREEK DR N                  San Diego, CA 92128                        A7   Customer Deposit   176,200   3,350
Cosmas and Kelli Lykos                         24 Scenic Blf                             Newport Beach, CA 92657-2103       x   x   A7   Customer Deposit   175,531   3,350
B Management Services, Inc.                    2881 E La Cresta Avenue                   Anaheim, CA 92806                  x   x   A7   Customer Deposit   173,125   3,350
Payton Addison - Bill Joiner | 25 Blue Heron -
LC                                             1444 S Coast Hwy                          Laguna Beach, CA 92651-3159                A7   Customer Deposit   171,332   3,350
Brian Foster Designs                           42222 Rancho Las Palmas Dr Unit 1573      Rancho Mirage, CA 92270-4291       x   x   A7   Customer Deposit   242,303   3,350
Gallo Builders, Inc.                           2471 Riviera Dr                           Laguna Beach, CA 92651-1013                A7   Customer Deposit   166,240   3,350
GLR PROPERTIES                                 6600 E. BAYSHORE WALK                     LONG BEACH, CA 90803                       A7   Customer Deposit   163,339   3,350
Prime Time Coastal Development                 17772 E. 17th Street #112                 Tustin, CA 92780                           A7   Customer Deposit   162,431   3,350
Mike Boone                                     303 Broadway St Ste 104-PMB               Laguna Beach, CA 92651-1816                A7   Customer Deposit   161,876   3,350
ELIZABETH RAWJEE                               1494 Moraga Dr                            Los Angeles, CA 90049-1648         x   x   A7   Customer Deposit   161,205   3,350
Debi Sacchi-Bolen                              8 Yorkshire                               Newport Beach, CA 92660                    A7   Customer Deposit   158,694   3,350
Dugally Oberfeld                               484 S San Vicente Blvd                    Los Angeles, CA 90048-4107                 A7   Customer Deposit   157,910   3,350
Patrick Choi Construction, Inc.                811 Calle de Arboles                      Redondo Beach, CA 90277            x   x   A7   Customer Deposit   157,702   3,350
Driftwood Design and Build                     4289 Vinton Ave.                          Culver City, CA 90232                      A7   Customer Deposit   207,462   3,350
JAMES AND KELCI BAI                            10 TAI HANG ROAD TAI HANG HONG KONG       Glendale, CA HONG KONG             x   x   A7   Customer Deposit   156,701   3,350
DOBKIN CONSTRUCTION                            5401 W Pico Blvd                          Los Angeles, CA 90019-3946                 A7   Customer Deposit   156,247   3,350
Sheri Bienstock                                106 South Pointsettia Place               Los Angeles, CA 90036                      A7   Customer Deposit   144,282   3,350
John Wooden Interiors                          1371 glenneyre st                         Laguna Beach, ca 92651                     A7   Customer Deposit   140,584   3,350
Liz & Keith Katkin                             2500 Marino Dr                            Newport Beach, CA 92663-5629               A7   Customer Deposit   142,175   3,350
Gabrielle Dhillon                              1 Upper Vintage                           Laguna Niguel, CA 92677-9202               A7   Customer Deposit   138,766   3,350
BFST LLC.                                      11628 Santa Monica Blvd Ste 204           Los Angeles, CA 90025-2951         x   x   A7   Customer Deposit   138,376   3,350
Design Studio West                             4250 Morena Blvd Ste C                    San Diego, CA 92117-4333           x   x   A7   Customer Deposit   137,436   3,350
QualCraft Construction Inc                     752 C Avenue #C                           Coronado, CA 92118                 x   x   A7   Customer Deposit   137,217   3,350
James David Custom Homes                       15375 Barranca Pkwy Ste G102              Irvine, CA 92618-2208              x   x   A7   Customer Deposit   136,787   3,350
JIM HASKETT                                    6162 FORESTER DR                          huntington beach, ca 92648                 A7   Customer Deposit   136,334   3,350
Huma Sulaiman                                  22 Emerald Glen                           Laguna Niguel, Ca 92677            x   x   A7   Customer Deposit   135,482   3,350
PERSDevelopment                                101 S Robertson Blvd Ste 201              Los Angeles, CA 90048-3209         x   x   A7   Customer Deposit   134,800   3,350
Michael Roy                                    4674 59th St                              San Diego, CA 92115-3830           x   x   A7   Customer Deposit   167,601   3,350
Joshua Smith Interior Design                   208 Lower Hollow Rd                       Dorset, VT 05251                   x   x   A7   Customer Deposit   131,916   3,350

South Harlow Interiors - Melissa Vassiliades 3640 Garrison Street                        San Diego, CA 92106                        A7   Customer Deposit   131,473   3,350
Malini Thadani                               1321 Cornish Dr                             Cardiff, CA 92007-2414             x   x   A7   Customer Deposit   131,249   3,350
Pridemark Contractors - 11 Waves End
Project -                                    19 Coral Cay                                Newport Coast, CA 92657                    A7   Customer Deposit   129,778   3,350
Lecia Hass                                   17116 El Mirador                            Rancho Santa Fe, ca 92067                  A7   Customer Deposit   128,056   3,350
Jonathan Hatch Jasmine Von                   400 Aderno Way                              Pacific Palisades, CA 90272-3371           A7   Customer Deposit   125,973   3,350
Luis Fuentes                                 2854 Gate Ten Pl                            Chula Vista, CA 91914-2637                 A7   Customer Deposit   125,536   3,350
Myrna & George Ponce                         2934 Estancia                               San Clemente, CA 92673             x   x   A7   Customer Deposit   125,030   3,350
Elena Zaretsky                               2215 Arbutus St                             Newport Beach, CA 92660-4139       x   x   A7   Customer Deposit   124,982   3,350

Gil Berkovich Interiors - Tamara Stadler     8129 Via Luna                               Rancho Santa Fe, CA 92067          x   x   A7   Customer Deposit   123,561   3,350
Scott Gilbertson                             989 Cliff Drive                             Laguna Beach, CA 92651                     A7   Customer Deposit   123,486   3,350

United Contractors, Inc. - Burke Residence   3185 Airway Ave Ste D1                      Costa Mesa, CA 92626-4601                  A7   Customer Deposit   123,080   3,350
Paige Thomas                                 4223 Middlesex Dr                           San Diego, CA 92116                        A7   Customer Deposit   122,668   3,350
JAY'S PLUMBING SERVICE                       2099 PAMA LN                                LAS VEGAS, NV 89119                        A7   Customer Deposit   118,602   3,350
GOLDEN INTERIOR DESIGN                       PO Box 315                                  La Quinta, CA 92247-0315                   A7   Customer Deposit   121,358   3,350

JOHN ANDREWS GROUP - SHILPA & KAPIL          222 MARGUERITA AVENUE                       SANTA MONICA, CA 90402                     A7   Customer Deposit   116,777   3,350
Truc and Jim D Lambright                     1702 Colgate Cir                            La Jolla, CA 92037                         A7   Customer Deposit   116,607   3,350
SIDG Design                                  20741 Vista del Sol                         Yorba Linda, CA 92886-3101                 A7   Customer Deposit   116,410   3,350
STRUCTURE HOME                               21860 Burbank Blvd Ste 110                  Woodland Hills, CA 91367-6492              A7   Customer Deposit   116,335   3,350
The Appliance Hub                            1676 Monterey Hwy                           San Jose, CA 95112-6112                    A7   Customer Deposit   119,463   3,350
Anita and Sanjay Ayer                        53 Anacapa Ln                               Aliso Viejo, CA 92656              x   x   A7   Customer Deposit   136,582   3,350
RIGO'S CONSTRUCTION INC                      12616 Foothill Blvd                         Sylmar, CA 91342-5311                      A7   Customer Deposit   109,307   3,350
Western Pacific                              2865 E Coast Hwy Ste 340                    Corona del Mar, CA 92625-2258      x   x   A7   Customer Deposit   115,102   3,350
Dana Blower Design, INC.                     220 Newport Center Dr                       Newport Beach, CA 92660-7506               A7   Customer Deposit   115,009   3,350
Kennedy Cole Interior Design                 7501 Slater Ave Ste C                       Huntington Beach, CA 92647-7755            A7   Customer Deposit   114,962   3,350
Liza Bakhoum                                 830 Singingwood Dr                          Arcadia, CA 91006                  x   x   A7   Customer Deposit   114,796   3,350
Payton Addison Inc                           1444 S Coast Hwy                            Laguna Beach, CA 92651-3159        x   x   A7   Customer Deposit   114,249   3,350
Through The Garden Gate                      830 E Whittier Blvd                         La Habra, CA 90631-3933                    A7   Customer Deposit   113,999   3,350
Rosee Voigtlander                            355 14th St                                 Del Mar, CA 92014-2557             x   x   A7   Customer Deposit   113,488   3,350
R & R Construction                           234 Venture St                              San Marcos, CA 92078-4399                  A7   Customer Deposit   113,069   3,350
Jarrett Interiors                            28862 Oak Ridge Rd.                         Highland, CA 92346                         A7   Customer Deposit   112,696   3,350

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                    Case
                    Case 24-01376-CL7
                         24-01376-CL7 Filed              Filed 05/03/24
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Corbin Reeves Construction -
Zheng/Firstline              245 Fischer Avenue Suite A1                      162
                                                                              101
                                                                        Costa Mesa, CA 92626                A7   Customer Deposit   112,498                     3,350
Dagan Design & Construction - Gould      368 Holmwood Ln                      Solana Beach, CA 92075-1275                     A7   Customer Deposit   111,576   3,350
Charco Design & Build                    11585 Sorrento Valley Rd Ste 104     San Diego, CA 92121-1310                x   x   A7   Customer Deposit   133,750   3,350
Benito Mora                              1333 w hyland ave                    costa mesa, CA 92626                            A7   Customer Deposit   111,451   3,350
Cree Design                              10 San Remo                          San Clemente, CA 92673                  x   x   A7   Customer Deposit   117,722   3,350
LUDINGTON CONSTRUCTION INC.              41-750 RANCHO LAS PALMAS SUITE L-2   RANCHO MIRAGE, CA 92270                         A7   Customer Deposit   111,138   3,350
LAURA WYATT                              1117 Dulzura Dr                      Santa Barbara, CA 93108-1925            x   x   A7   Customer Deposit   175,847   3,350
Greg Agee Homes                          18163 Via De Fortuna                 Rancho Santa Fe, CA 92067               x   x   A7   Customer Deposit   110,811   3,350
NWGC, Inc.                               171 Pier Ave #117                    Santa Monica, CA 90405                          A7   Customer Deposit   110,255   3,350
Ted and Marsha Dobson                    433 Harbor Island                    Newport Beach, CA 92660                         A7   Customer Deposit   109,620   3,350
California West Communities              5927 Priestly Dr #110                Carlsbad, CA 92008                              A7   Customer Deposit   116,198   3,350
Tony Valentine Construction              567 San Nicolas Drive, Suite 130     Newport Beach, CA 92660                 x   x   A7   Customer Deposit   113,456   3,350
STUDIO BEROSSO LTD                       620 San Lorenzo St.                  Santa Monica, CA 90402                  x   x   A7   Customer Deposit   106,538   3,350
KH S&S Contractors                       5109 E La Palma Ave                  Anaheim, CA 92807-2060                          A7   Customer Deposit   120,043   3,350
Dupuis Design Corporation                32 Calle Ameno                       San Clemente, CA 92672                          A7   Customer Deposit    98,036   3,350
Meram Building                           8127 La Mesa Blvd Ste C              La Mesa, CA 91942-6490                          A7   Customer Deposit   105,944   3,350
Brian Summerfield                        350 Vista Baya                       Costa Mesa, ca 92660                            A7   Customer Deposit   104,641   3,350
Gorjana Reidel                           2980 Zurich Ct                       Laguna Beach, CA 92651-2052             x   x   A7   Customer Deposit   104,628   3,350
Pam Buie                                 14123 Dalia Drive                    Rancho Santa Fe, CA 92067                       A7   Customer Deposit   104,191   3,350
Robbie Presson                           83 Bridges Lane                      Mammoth Lakes, CA 93546                         A7   Customer Deposit   103,670   3,350
KC Design Group LLC                      1108 Via Nogales                     Palos Verdes Estates, CA 90274                  A7   Customer Deposit   102,830   3,350
Brent Loomis                             92 Monarch Bay Dr                    Dana Point, CA 92629-3429                       A7   Customer Deposit   102,711   3,350
SANDCASTLE HOMES                         625 2nd St                           Coronado, CA 92118-1205                         A7   Customer Deposit   134,591   3,350
Ali & Mehrnaz Gorgi                      5 Sawgrass                           Coto De Caza, CA 92679                  x   x   A7   Customer Deposit   102,042   3,350
Enrique & Claudia Gandara                2872 Gate 3                          San Diego, CA 91913                             A7   Customer Deposit   102,270   3,350
Carl Parmer                              74615 Wren Dr                        Indian Wells, CA 92210-7363             x   x   A7   Customer Deposit   101,488   3,350
Battres Construction                     3202 W Warner Ave                    Santa Ana, CA 92704-5315                        A7   Customer Deposit   101,185   3,350
Weeks & Falcone Construction, Inc.       716 Diamond St                       Laguna Beach, CA 92651-3408                     A7   Customer Deposit   102,709   3,350
Molly Kindelt Interior Designs           3801 John Street                     San Diego, CA 92106                             A7   Customer Deposit   100,848   3,350
Farnsworth Builders                      4943 McConnell Ave Ste E             Los Angeles, CA 90066-6700                      A7   Customer Deposit   100,114   3,350
TIM LALLY                                24 Serna                             Rancho Santa Margarita, CA 92688-2741           A7   Customer Deposit   100,000   3,350
Jennifer Bartusick                       3047 Ocean Blvd                      Corona del Mar, CA 92625-3202           x   x   A7   Customer Deposit   102,338   3,350
DW JOHNSTON                              1445 N Sunrise Suite 203             Palm Springs, CA 92262                  x   x   A7   Customer Deposit   215,254   3,350
Formworx Design + Build Inc.             547 S. Marengo                       Pasadena, CA 91101                              A7   Customer Deposit   103,276   3,350
Adam Robinson                            127 Lomas Santa Fe Dr                Solana Beach, CA 92075-1279                     A7   Customer Deposit    99,268   3,350
923 1st Street MB, LLC                   4100 Del Rey Ave                     Marina del Rey, CA 90292-5604                   A7   Customer Deposit    98,942   3,350
Randy & Helen Fanous                     2901 Setting Sun Drive               Corona del Mar, CA 92625                x   x   A7   Customer Deposit    98,531   3,350
Fruciano Development                     1513 Heather Ln                      Riverside, CA 92504-5516                x   x   A7   Customer Deposit    98,435   3,350
M. Elle Design                           871 Via De La Paz                    Pacific Palisades, CA 90272                     A7   Customer Deposit    98,433   3,350
Terra Bella Landscape Development        PO Box 9192                          Rancho Santa Fe, CA 92067-4192          x   x   A7   Customer Deposit    97,775   3,350

Dugally Oberfeld - 4533 Perham Project   4533 Perham Rd                       Corona del Mar, CA 92625-3123                   A7   Customer Deposit    97,532   3,350
JEANNE STERNE INTERIORS                  113 Villa Hermosa Ct                 Solana Beach, CA 92075-2532             x   x   A7   Customer Deposit    76,079   3,350
DLS Investment                           3802 Main St Ste 10                  Chula Vista, CA 91911-6248                      A7   Customer Deposit    97,326   3,350
Roya Horriat                             3 Santa Barbara Pl                   Laguna Niguel, CA 92677                 x   x   A7   Customer Deposit    95,260   3,350
Naz Khodayari                            17368 W Sunset Blvd                  Pacific Palisades, CA 90272-4132        x   x   A7   Customer Deposit    96,116   3,350
Lauren Delzer                            1627 Port Barmouth                   Newport Beach, CA 92660                 x   x   A7   Customer Deposit    95,103   3,350
Brittney & Sam Moshe                     3441 Ashley Park Drive               Jamul, CA 91935                         x   x   A7   Customer Deposit    94,842   3,350
Mark Benezra                             71200 N Thunderbird Ter              Rancho Mirage, CA 92270-3523                    A7   Customer Deposit    94,764   3,350
Jonathan Espy                            1578 S. Murray Canyon Drive          Palm Springs, CA 92264                          A7   Customer Deposit   112,772   3,350
Shauna & Jason Ianni                     3648 Carlsbad Blvd.                  Vista, CA 92084                                 A7   Customer Deposit    93,912   3,350
Murray Lampert Construction              2878 Camino del Rio S Ste 160        San Diego, CA 92108-3844                x   x   A7   Customer Deposit    93,560   3,350
Marcia and Luiz Pimenta                  14006 Crest Way                      Del Mar, CA 92014                               A7   Customer Deposit   110,667   3,350
Cameron Jones                            1533 Antigua Way                     Newport Beach, CA 92660                         A7   Customer Deposit    92,702   3,350
Zach Hanan                               4222 Rancho los palmas Drive #1853   Rancho Mirage, Ca 92270                 x   x   A7   Customer Deposit    91,739   3,350
Halo Interior Design                     3743 E Casselle Ave                  Orange, CA 92869-5344                   x   x   A7   Customer Deposit    91,533   3,350
Worksmart Design                         7000 Arizona Ave                     Los Angeles, Ca 90045                   x   x   A7   Customer Deposit    91,549   3,350
STOKER CONSTRUCTION                      56471 29 Palms Hwy                   Yucca Valley, CA 92284-5236                     A7   Customer Deposit   101,717   3,350
Ian & Laura Ballinger                    7625 E Silver Dollar Ln              Anaheim, CA 92808-1330                          A7   Customer Deposit   113,091   3,350
Toby Reece                               6701 Morning Tide Dr                 Huntington Beach, CA 92648-2608                 A7   Customer Deposit    91,165   3,350
Coastal Dwelling Design Co               1110 1st Street                      Coronado, CA 92118-1407                 x   x   A7   Customer Deposit   132,311   3,350
Stephan Mulvey                           6930 Sandtrack Rd #185               Riverside, CA 92056                     x   x   A7   Customer Deposit    92,829   3,350
Beth Vidal                               645 30th St                          Hermosa Beach, CA 90254-2212                    A7   Customer Deposit    90,684   3,350
Helen Homet                              654 Catalina Rd                      Fullerton, CA 92835                     x   x   A7   Customer Deposit    90,546   3,350
Phyllis & Ben Berkley                    4145 Cortona Court                   Yorba Linda, CA 92886                   x   x   A7   Customer Deposit    90,565   3,350
Ronald Barone                            31 Coronado Pointe                   Laguna Niguel, CA 92677                         A7   Customer Deposit    90,308   3,350
Dan & Tammy Gannon                       11284 Amberdale Dr                   Tustin, CA 92782-4329                   x   x   A7   Customer Deposit    90,186   3,350
A. Naber Design - Erica Harris           255 S Nardo Ave                      Solana Beach, CA 92075-2022             x   x   A7   Customer Deposit    90,037   3,350
Juniper & 7th                            329 E. 7th Ave                       Escondido, CA 92025                             A7   Customer Deposit    90,195   3,350

Legacy development and construction inc. 4059 Cortez way                      Spring Valley, CA 91977                         A7   Customer Deposit    89,134   3,350
papenhausen c                            10390 Quail canyon place             El Cajon, CA 92021                      x   x   A7   Customer Deposit    98,088   3,350
Tarek Mahdi                              105 8th St                           Newport Beach, CA 92661-1142                    A7   Customer Deposit    88,454   3,350
Scott & Nicola Rowe                      8 Fremont Lane                       Coto de Caza, CA 92679                  x   x   A7   Customer Deposit    88,387   3,350
Meram Construction - Patrick Kachi       3059 Wentworth Ct                    Jamul, CA 91935                                 A7   Customer Deposit    88,139   3,350
Tarra Vizenor Interior Design            27637 Ynez Road                      Temecula, CA 92951                      x   x   A7   Customer Deposit   144,111   3,350
Celina & Brian McKernan                  130 Sierra Vista Drive               Redlands, CA 92373                      x   x   A7   Customer Deposit    87,828   3,350
Vanrooy Design                           149 City Place Drive                 Santa Ana, CA 92705                     x   x   A7   Customer Deposit    98,436   3,350
REZA & MIRIAM NASROLLAHY                 24961 PALMILLA DRIVE                 CALABASAS, CA 91302                             A7   Customer Deposit    86,758   3,350
JOHN ANDREWS GROUP ARCHITECTS            425 MARGUERITA AVENUE                SANTA MONICA, CA 90402                  x   x   A7   Customer Deposit    98,734   3,350
RJ Design Build                          29 Sage Crk                          Irvine, CA 92603-0413                           A7   Customer Deposit    86,560   3,350
Alex Pilmer                              6 Vista del Sol                      Laguna Beach, CA 92651-6746                     A7   Customer Deposit    86,451   3,350
BRIAN CURRY & JESS SWANN                 6317 Las Colinas                     RANCHO SANTA FE, CA 92067               x   x   A7   Customer Deposit    86,242   3,350
F.P. Journe C/O: Michael Lawson          8606 W. Sunset Blvd                  West Hollywood, CA 90069                        A7   Customer Deposit    86,056   3,350
L&R                                      55 Baker Street                      London WIU 8 EW, ENGLAND NEED                   A7   Customer Deposit   105,415   3,350
Sunset Plaza Investor                    3131 Antelo Rd                       Los Angeles, CA 90077-1603                      A7   Customer Deposit    85,763   3,350
Todd Halbrook                            114 Boulder Pass                     Irvine, CA 92602-1842                   x   x   A7   Customer Deposit    85,569   3,350
Dacotah Studio                           1746 W ADAMS BLVD                    Los Angeles, CA 90018                   x   x   A7   Customer Deposit    85,441   3,350
TW Construction - Barefoot 23/2318 Ocean
Front                                    2318 Ocean Front                     Del Mar, CA 92014                               A7   Customer Deposit   147,749   3,350
Michael Jowdy                            7777 Center Ave Suite# 120           Huntington Beach, CA 92647                      A7   Customer Deposit    85,488   3,350
Tallie and George Dennis                 249 LongFellow ave                   Hermosa Beach, CA 90254                         A7   Customer Deposit    81,947   3,350
Linda Knauer                             144 N Grand Ave                      Pasadena, CA 91103-3514                 x   x   A7   Customer Deposit    84,895   3,350
Ash Patel                                2218 Indian Creek rd                 Diamond Bar, CA 91765                           A7   Customer Deposit    84,749   3,350
David Gewolb                             393 Lautner Lane                     Palm Springs, CA 92264                  x   x   A7   Customer Deposit    84,530   3,350

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                     Case 24-01376-CL7
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Construction by De Mill Inc   543 Country Club                  Simi Valley, CA 93065                A7   Customer Deposit    84,305                              3,350
Josh Gruenberg                541 Silvergate Ave                      162
                                                                      101
                                                                San Diego, CA 92106-3329             A7   Customer Deposit    84,159                              3,350
Beacham Construction                          405 Via del Norte                   La Jolla, CA 92037-6751                       A7   Customer Deposit    83,783   3,350
Mark Sopp                                     7543 Plein Aire                     San Diego, CA 92127-3806              x   x   A7   Customer Deposit    83,529   3,350
Katherine and Steven Elms                     355 Via De Norte                    La Jolla, CA 92037                            A7   Customer Deposit   104,879   3,350
Susan Olsavsky                                49628 Hidden Valley Trl N           Indian Wells, CA 92210-7031                   A7   Customer Deposit    83,138   3,350
John Gray                                     1875 Tandem Way                     Norco, CA 92860                       x   x   A7   Customer Deposit    83,106   3,350
Tom Tooma                                     109 Emerald Bay                     Laguna Beach, CA 92651-1282                   A7   Customer Deposit    83,018   3,350
Will & Fotsch Architects - Jennifer & Randy
Minnier                                       1780 La Jolla Rancho Road           La Jolla, CA 92037                    x   x   A7   Customer Deposit   183,944   3,350
MCGUINESS CONSTRUCTION - ZAMIR                5409 CASTLE HILL DR.                SAN DIEGO, CA 92109                   x   x   A7   Customer Deposit    80,793   3,350
Marco Moreno                                  7940 Costebelle Way                 La Jolla, CA 92037-3515                       A7   Customer Deposit    82,712   3,350
brandon blaylock                              5088 Pacifica Drive                 San Diego, CA 92109                   x   x   A7   Customer Deposit    82,618   3,350
Julie Borsack                                 33561 Brigantine Dr                 Dana Point, CA 92629-4443             x   x   A7   Customer Deposit    82,452   3,350

Hanley Construction - Zable Residence         465 Hidden Pine Lane                Del Mar, Ca 92014                     x   x   A7   Customer Deposit    82,436   3,350
Ammar Al-Ali (Jeffrey Maynard client)         27 Shoreline Dr                     Dana Point, CA 92629-2726                     A7   Customer Deposit    81,947   3,350
Chloe Remmert & Chris Panelli                 25745 Dillon Rd                     Laguna Hills, CA 92653-5871                   A7   Customer Deposit    81,902   3,350
Kush residence                                1077 Klish Way                      Del Mar, CA 92014                             A7   Customer Deposit    84,839   3,350
John Samulski                                 5464 Windward Ave                   Long Beach, CA 90814-1963             x   x   A7   Customer Deposit    78,451   3,350
Jay and Ryan Swansson                         Caminito Saucito                    RSF, CA 92067                                 A7   Customer Deposit    81,136   3,350
Pete Hill Construction Company - Robin Dr
Project                                       9230 Robin Dr                       Los Angeles, CA 90069                         A7   Customer Deposit    80,565   3,350
Courtney Carter                               4730 Avion Way                      San Diego, CA 92115-1004              x   x   A7   Customer Deposit    85,654   3,350
Whit and Erin Batchelor                       800 Aleppo St                       Newport Beach, CA 92660-4123          x   x   A7   Customer Deposit    80,363   3,350
Shari & Ralph Cimmarusti                      8 Middleridge LN Soutch             Rolling Hills, Ca 90274                       A7   Customer Deposit    80,250   3,350
Amy & Chuck Spielman                          484 Prospect St                     La Jolla, CA 92037-4711               x   x   A7   Customer Deposit    80,201   3,350
Steve & Lori Doty                             5508 E The Toledo                   Long Beach, CA 90803-3936                     A7   Customer Deposit    79,863   3,350
Daniel Geiger Architect                       330 13th St Apt 1110                San Diego, CA 92101-4755                      A7   Customer Deposit    86,870   3,350
Corbin Reeves Construction - Miller
Residence                                     245 Fischer Ave Ste A1              Costa Mesa, CA 92626                          A7   Customer Deposit    79,327   3,350
Angela Rhodes                                 5607 Appaloosa Trail                McCall, ID 83638                              A7   Customer Deposit    79,285   3,350
Jen Samson Design                             2914 Mountain View Dr               Laguna Beach, CA 92651-2021                   A7   Customer Deposit    79,269   3,350
MLA General Contractor - Donny Lucy           3626 Harmony Hill                   Fallbrook, CA 92028                           A7   Customer Deposit    79,129   3,350
Stephen Ures                                  3711 Jackdaw St                     San Diego, CA 92103                   x   x   A7   Customer Deposit    78,805   3,350
ROBERT & MARJIE KARGMAN                       500 S MUIRFIELD RD                  LOS ANGELES, CA 90020                         A7   Customer Deposit    78,548   3,350
Andrea Parsek                                 1324 San Joaquin Plaza              Newport Beach, CA 92660                       A7   Customer Deposit   120,290   3,350

Alicia Calhoon Architect and Interior Design 13353 Grandvia Pt                    San Diego, CA 92130-1028              x   x   A7   Customer Deposit    78,285   3,350
Blake Foster                                 4 Cape Woodbury                      Newport Beach, CA 92660-8405          x   x   A7   Customer Deposit    78,015   3,350
Heather Laird                                3732 Piconderoga St                  San Diego, CA 92117                           A7   Customer Deposit    77,540   3,350
Sahar Kiani                                  14 Whalers Blf                       Newport Coast, CA 92657-2136          x   x   A7   Customer Deposit   141,541   3,350
CHPT Construction - Roberts Project          PO BOX 3027                          Rancho Santa Fe, CA 92067                     A7   Customer Deposit    77,062   3,350
Cole Davis Construction - Scoggin
Residence                                    729 Neptune Ave                      Encinitas, CA 92024                           A7   Customer Deposit    77,911   3,350
Shoreline Construction, Inc                  2340 S El Camino Real Ste 18         San Clemente, CA 92672-3257           x   x   A7   Customer Deposit    76,912   3,350
Rachel Lee                                   2769 Wagon Trail Lane                Diamond Bar, CA 91763                         A7   Customer Deposit    75,805   3,350
Nina Patel                                   11612 Las Luces                      Santa Ana, CA 92705-3175              x   x   A7   Customer Deposit    75,590   3,350
Nesrine Interiors                            17447 Half Moon Ct                   Riverside, CA 92503-7055                      A7   Customer Deposit    37,634   3,350
CHPT Construction - Ben and Karen
Roberts                                      8080 High Time Ridge                 San Diego, CA 92127                   x   x   A7   Customer Deposit    75,418   3,350
Kristy Nardini Interiors - Judy Land         Via De La Valle                      Solana Beach, CA 92065                x   x   A7   Customer Deposit    75,226   3,350
SEA & PINE                                   13923 Boquita Dr                     Del Mar, CA 92014                             A7   Customer Deposit    76,919   3,350
Kerry Joyce                                  2900 Rowena Ave                      Los Angeles, CA 90039                 x   x   A7   Customer Deposit    74,856   3,350
DENISE WILSTEIN-MARGOLIN                     101 Ocean Ave Unit Kona 4            Santa Monica, CA 90402-1405                   A7   Customer Deposit    74,684   3,350
Kerri Sonenshine                             1986 Port Edward Cir                 Newport Beach, CA 92660-6729          x   x   A7   Customer Deposit    74,662   3,350
JENNIFER VAN GALDER                          5680 Chelsea Ave                     La Jolla, CA 92037-7513               x   x   A7   Customer Deposit   136,560   3,350
GINA ROSENFELD                               139 S. Nardo Ave                     Solana Beach, CA 92075                        A7   Customer Deposit    37,198   3,350
CORY BENNETT DESIGN                          537 El Modena Ave                    Newport Beach, CA 92663-5114          x   x   A7   Customer Deposit    74,180   3,350
Studio Christophers - White                  939 Coast Blvd Unit 11D              La Jolla, CA 92037                            A7   Customer Deposit    74,005   3,350
Blackband Design                             3198 Airport Loop Suite E            Costa Mesa, CA 92626                  x   x   A7   Customer Deposit    73,943   3,350
Royal Home Remodels                          PO Box 1396                          La Jolla, CA 92038                            A7   Customer Deposit    73,931   3,350
Yessenia Eugenio                             399 S. Haskell Dr                    El Centro, CA 92243                           A7   Customer Deposit    73,916   3,350
Andy Friedman                                7106 W Oceanfront                    Newport Beach, CA 92663-1725                  A7   Customer Deposit    73,859   3,350
MHW Design                                   4871 Hartwick St                     Los Angeles, CA 90041-2222            x   x   A7   Customer Deposit    89,212   3,350
ANX - Aaron Neubert Architects               2814 Rowena Ave Ste 1                Los Angeles, CA 90039-2068                    A7   Customer Deposit    73,484   3,350
Cioffi Architects                            500 S. Palm Canyon Dr. #306          Palm Springs, CA 92264                x   x   A7   Customer Deposit    73,285   3,350
david and debra youssefi                     6607 avenida de las pescas           la jolla, CA 92037                    x   x   A7   Customer Deposit    73,501   3,350
Toni & Karl Graeber                          508 Via Bodega                       Palos Verdes Estates, CA 90274-1133           A7   Customer Deposit    36,553   3,350
Yanling Zhang                                36 Paradise Cv                       Laguna Niguel, CA 92677-4254                  A7   Customer Deposit    36,527   3,350
Accentric Interiors Inc.                     14382 Bethany Ave                    Chino, CA 91710                               A7   Customer Deposit    72,914   3,350
Lotus Builders                               3239 Deronda Drive                   Los Angeles, CA 90068                 x   x   A7   Customer Deposit    73,549   3,350
Kelly & Laurie Burt                          23 Breakers Isle                     Dana Point, CA 92629-4214                     A7   Customer Deposit    72,769   3,350
Tinez American                               15650 Devonshire St #102             Granada Hills, CA 91344               x   x   A7   Customer Deposit    72,608   3,350
Carly Blalock Interiors                      348 S. CEDROS AVE #H                 SOLANA BEACH, CA 92075                        A7   Customer Deposit    72,369   3,350
Stephanie MacDonald                          84 S La Senda Dr                     Laguna Beach, CA 92651-6736           x   x   A7   Customer Deposit   138,646   3,350
Steven & Stephanie Flagg                     855 Rosalind Rd                      Pasadena, CA 91108-1123                       A7   Customer Deposit    72,270   3,350
Denise Morrison Interiors                    5985 South Grainger Court (Lot 71)   Harrison, ID 83833                    x   x   A7   Customer Deposit    71,981   3,350
Taylor & Taylor                              4267 W Avenue 42                     Los Angeles, CA 90065-4705                    A7   Customer Deposit    71,839   3,350
REIS CONTRACTING - 707 North Canon
Drive                                        707 North Canon Drive                Beverly Hills, CA 90210                       A7   Customer Deposit    71,582   3,350
John & Carolyn Apostolides                   17494 Los Morros                     Rancho Santa Fe, Ca 92067             x   x   A7   Customer Deposit    71,574   3,350
Jason Zenk                                   2820 Bayview Dr                      Corona del Mar, CA 92625-3203         x   x   A7   Customer Deposit   151,333   3,350
DianaLee & Robert Dupree                     8257 Rees St                         Playa del Rey, CA 90293-7823          x   x   A7   Customer Deposit    71,312   3,350
Patterson - 2508 Marino                      2508 Marino                          Newport Beach, CA 92663               x   x   A7   Customer Deposit    71,239   3,350
Karen Scott                                  52980 Latrobe Ln                     La Quinta, CA 92253-7368              x   x   A7   Customer Deposit    70,962   3,350
Gapp Construction, Inc.                      PO Box 9411                          Laguna Beach, CA 92652-7405                   A7   Customer Deposit    70,817   3,350
Mark Design Co.                              3303 Harbor Blvd Ste K9              Costa Mesa, CA 92626-1525                     A7   Customer Deposit    98,899   3,350
Leslie and Warren Kneeshaw                   692 Rimini Rd                        Del Mar, CA 92014-2638                        A7   Customer Deposit    70,794   3,350
Richard Moriarty                             20462 SW Birch St                    Newport Beach, CA 92660-1726                  A7   Customer Deposit    70,768   3,350
Greg Agee Homes - Colin Black                20455 Elfin Forest Rd                Escondido, CA 92029-4604                      A7   Customer Deposit   203,946   3,350
805 Interiors                                32107 Lindero Canyon Rd Ste 237      Westlake Village, CA 91361-4208               A7   Customer Deposit    70,509   3,350
Justin & Theresa Cox                         10920 Red Cedar Drive                San DIego, CA 92131                   x   x   A7   Customer Deposit    80,511   3,350
Anthony Ogundipe                             32031 Isthmus View Drive             Rancho Palos Verdes, CA 90272         x   x   A7   Customer Deposit    70,000   3,350
Sean Reilly                                  28182 Modjeska Canyon Road           Silverado, CA 92676                           A7   Customer Deposit    70,000   3,350
JENNIFER LEWIS                               710 East Avenue                      Coronado, CA 92118                            A7   Customer Deposit    69,884   3,350

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                     Case 24-01376-CL7
                          24-01376-CL7 Filed
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Courtney Svajian                           16135 Valle de Oro
                                                      Rancho Santa Fe, CA 92067    x x    A7   Customer Deposit    69,582                                                3,350
Mark Paullin                               1211 Kona Dr    162
                                                           101
                                                      Compton, CA 90220-5406       x x    A7   Customer Deposit    69,204                                                3,350
Kia Shakoori                               119 Via Mentone                                   Newport Beach, CA 92663-4916      x   x   A7   Customer Deposit    69,143   3,350
Dagan Design & Construction - Bergland
Residence                                  1106 2nd St PMB 262                               Encinitas, CA 92024-5008                  A7   Customer Deposit    69,116   3,350
Marrokal Design & Remodeling - Ellis/30417
Via Maria Elena                            30417 Via Maria Elena                             Bonsall, CA 92003                         A7   Customer Deposit    83,865   3,350
Peter Sherk                                212 Hazel Dr                                      Corona del Mar, CA 92625-3059             A7   Customer Deposit   135,172   3,350
Lyn Sisson-Talbert                         4538 Westchester Drive                            Woodland Hills, CA 91364          x   x   A7   Customer Deposit    94,881   3,350
David & Natasa Burnett                     5542 Candlelight Drive                            La Jolla, CA 92037                        A7   Customer Deposit    68,689   3,350
Elan and Amberlie Zekster                  4424 VIA PINZO                                    Palos Verdes Estates, CA 90247    x   x   A7   Customer Deposit    67,838   3,350
Tish Bakkers                               20370 Bickford Dr                                 Walnut, CA 91789-3556                     A7   Customer Deposit    67,592   3,350
Chris Hanhila                              946 B Ave                                         Coronado, CA 92118                x   x   A7   Customer Deposit    67,462   3,350
MCGLINN RESIDENCE                          3975 HAINES ST                                    SAN DIEGO, CA 92109               x   x   A7   Customer Deposit    67,452   3,350
Carson and Carolyn Whiting                 1152 Albion Street                                San Diego, CA 92106               x   x   A7   Customer Deposit    67,438   3,350
Ethan & Elizabeth Epstein                  519 Orlena                                        Long Beach, CA 90814              x   x   A7   Customer Deposit    67,412   3,350
Nathan McNair                              29 Via Alcamo                                     San Clamente, CA 92673            x   x   A7   Customer Deposit    67,374   3,350
Bianca & Nick Sementilli - FINANCED
ORDER                                      1021 S Weymouth Ave                               San Pedro, CA 90732-3741                  A7   Customer Deposit    67,296   3,350
Rescom Builds                              73443 Boxthorn Ln.                                Palm Desert, CA 92260                     A7   Customer Deposit    67,207   3,350
Marrokal Design & Remodeling - Pat & Lori
Mendes                                     873 Avocado Place                                 Del Mar, CA 92014                 x   x   A7   Customer Deposit    66,611   3,350

Shannon Weller Design - Laura Bruncati       509 Pacific Avenue                              Solana Beach, CA 92075            x   x   A7   Customer Deposit    67,215   3,350
Lisa Clark                                   6277 Camino de la Costa                         La Jolla, CA 92037-6524                   A7   Customer Deposit    67,078   3,350
Raj & Sushma Prasad                          2100 Hercules Dr                                Los Angeles, CA 90046-2017        x   x   A7   Customer Deposit    66,997   3,350
Nicole Smith Interiors                       27111 Aliso Creek Rd Suite #170                 Aliso Viego, CA 92656                     A7   Customer Deposit    66,962   3,350
Momo design Group                            2030 Mar Azul Way                               Carlsbad, CA 92009-6722                   A7   Customer Deposit    66,848   3,350
Ella Karabedian (Camill Sayadeh)             19010 Ashurst Ln                                Tarzana, CA 91356-5825                    A7   Customer Deposit    66,360   3,350

Coordinadora de Importaciones de la Baja     2215 Paseo de las Americas Suite 25             San Diego, CA 92154                       A7   Customer Deposit    66,276   3,350
Neven Zeremski                               73380 Agave Ln                                  Palm Desert, CA 92260-6653        x   x   A7   Customer Deposit    66,213   3,350
Patterson Custom Homes - WOOD 203
DRIFTWOOD                                    15 Corporate Plaza Dr Ste 150                   Newport Beach, CA 92660           x   x   A7   Customer Deposit    61,677   3,350
DANIEL KLEIN                                 6342 Mulholland Hwy                             Los Angeles, CA 90068-1648                A7   Customer Deposit    65,810   3,350
Emily Farnham Architecture                   2566 IVANHOE DR                                 LOS ANGELES, CA 90039             x   x   A7   Customer Deposit    39,084   3,350
Fidel Gutierrez                              1770 Avenida Del Mundo                          Coronado, CA 92118                x   x   A7   Customer Deposit    65,146   3,350
Joe Donati Construction                      840 East West Dr                                Murphys, CA 95247                 x   x   A7   Customer Deposit    64,962   3,350
HOMEKEEP BUILDERS                            286 Cecil Pl                                    Costa Mesa, CA 92627-1817         x   x   A7   Customer Deposit    64,864   3,350
GD Construction                              5637 Tulane St                                  San Diego, CA 92122-3217                  A7   Customer Deposit    64,763   3,350
Andrea Revy                                  55380 Medallist Dr Pga West                     La Quinta, CA 92253-7696                  A7   Customer Deposit    65,680   3,350
GUILLERMO WAISBURD                           790 La Canada St                                La Jolla, CA 92037-6724                   A7   Customer Deposit    64,500   3,350
Tom Mitchell                                 2631 Waverly Drive                              Newport Beach, CA 92663                   A7   Customer Deposit    64,397   3,350
Chanelle Grace Interior Design               19221 Delaware St                               Huntington Beach, CA 92648                A7   Customer Deposit    64,233   3,350
Huma Qureshi                                 1137 N West Moreland Unit 17                    Los Angeles, CA 90029             x   x   A7   Customer Deposit    64,124   3,350
Inna Yakubov                                 701 North Camden Dr.                            Beverly Hills, CA 90210                   A7   Customer Deposit    64,120   3,350
Rebecca Rudy                                 215 Redlands St                                 Redlands, CA 92374                        A7   Customer Deposit    64,018   3,350
Atlas International Incorporated             5555 McFadden Avenue                            Huntington Beach, CA 92649                A7   Customer Deposit    64,018   3,350
Royal Home Remodels - Cohenour/6308
Avenida Cresta                               6308 Avenida Cresta                             La Jolla, CA 92037-6512                   A7   Customer Deposit    63,967   3,350
Mini Interiors                               1100 Essex Lane                                 Newport Beach, CA 92660           x   x   A7   Customer Deposit    63,760   3,350
Lisa Bell Design                             1727 Virazon Drive                              La Habra Heights, CA 90631                A7   Customer Deposit    63,688   3,350
Rob and Candace Cohen                        1604 Starling Ct                                Carlsbad, CA 92011-5019                   A7   Customer Deposit    63,635   3,350
Pridemark Contractors                        54 Tesla                                        Irvine, CA 92618                          A7   Customer Deposit    63,142   3,350
Lyn and Steve Pulver                         200 Alta Vista Way                              Laguna Beach, CA 92651            x   x   A7   Customer Deposit    63,007   3,350
Janis Ashford                                5024 New Ranch Rd                               El Cajon, CA 92020-8156           x   x   A7   Customer Deposit    62,938   3,350
Mohamed Elshehawy                            7832 Phlox St                                   Downey, Ca 90241                          A7   Customer Deposit    62,886   3,350
Sabrina Jansen Designs                       1101.5 North Bay Front                          Newport Beach, CA 92662                   A7   Customer Deposit    62,879   3,350
Paul Walker                                  2523 Altamar Dr                                 Laguna Beach, CA 92651-1034               A7   Customer Deposit    62,488   3,350
Melissa Irani                                231 Monarch Bay Dr                              Dana Point, CA 92629-3436         x   x   A7   Customer Deposit    62,425   3,350
Robert Polo                                  426 Magnolia Ave                                Glendale, CA 91204-2406                   A7   Customer Deposit    62,317   3,350
Katherine Johnson                            580 Covington Place                             Pasadena, CA 91105                x   x   A7   Customer Deposit    62,186   3,350
BUILDERS FIRM GROUP                          4780 MOUNT HELIX DR                             LA MESA, CA 91941                 x   x   A7   Customer Deposit    62,172   3,350
Joanna Nazi                                  7325 Calle Conifera                             Carlsbad, CA 92009                        A7   Customer Deposit    62,011   3,350

The Wright Company General contractor        PO Box 3187                                     La Jolla, CA 92038-3187                   A7   Customer Deposit    62,002   3,350
John Erck                                    123 44th Street                                 Newport Beach, CA 92663                   A7   Customer Deposit    61,851   3,350
MWC Commercial                               331 Calle Pescador                              San Clemente, Ca 92672                    A7   Customer Deposit    61,627   3,350
Dennine Giles                                75607 Via Cortona                               Indian Wells, CA 92210-7815               A7   Customer Deposit   102,724   3,350
ZAVEN SARGSYAN                               1056 Newby St                                   Glendale, CA 91201-2207                   A7   Customer Deposit    61,316   3,350
Julie and Jay Lee                            4434 Chevy Chase Dr.                            La Cananda, CA 91011              x   x   A7   Customer Deposit    61,052   3,350
dasMOD                                       1144 N Coast Highway 101                        Encinitas, CA 92024-1421          x   x   A7   Customer Deposit   132,818   3,350
KPRS Construction Services, Inc.             2850 Saturn St                                  Brea, CA 92821-1701               x   x   A7   Customer Deposit    60,906   3,350
Chris Woodburn Interiors                     35 Cumberland Lane                              Aliso Viejo, CA 92656                     A7   Customer Deposit    60,834   3,350
Costa Installations Inc                      1835 Whittier Ave Ste A1                        Costa Mesa, CA 92627-4574         x   x   A7   Customer Deposit    60,822   3,350
Dwabi.llc                                    2531 Tequestra                                  Tustin, CA 92782-1156             x   x   A7   Customer Deposit    60,811   3,350
Scott Brody                                  6135 Eaglecrest Dr                              Huntington Beach, CA 92648-5549   x   x   A7   Customer Deposit    60,594   3,350
Kurt Hoffmayer                               1244 Alexandria Drive                           San Diego, CA 92107                       A7   Customer Deposit    60,352   3,350
Margaret Baird Int. Design Studio-Jennifer
Brown                                        2082 Via Casa Alta                              La Jolla, Ca 92037                        A7   Customer Deposit    59,624   3,350
Jeff Troyer, AIA                             3523 Beverly Ridge Dr                           Sherman Oaks, CA 91423-4504               A7   Customer Deposit    60,250   3,350
Patterson - 2515 Bluewater                   15 Corporate Plaza Drive Suite 150              Newport Beach, CA 92660           x   x   A7   Customer Deposit    60,086   3,350
Corbin Reeves Construction - Shelly
Residence                                    245 Fischer Ave Ste A1                          Costa Mesa, CA 92626              x   x   A7   Customer Deposit    59,422   3,350
Machelle Cardenas                            5514 La Jolla Blvd Ste A Attn Brian Robertson   La Jolla, CA 92037-7611                   A7   Customer Deposit    59,632   3,350
True Home Builders                           14 Hughes Ste B204                              Irvine, CA 92618                  x   x   A7   Customer Deposit    59,625   3,350
John Arnold Garcia, INC.                     395 2nd Street                                  Laguna Beach, CA 92651            x   x   A7   Customer Deposit    59,572   3,350
Payton Addison - Bill Joiner                 25 Blue Heron                                   Irvine, CA 92603-0306                     A7   Customer Deposit   124,529   3,350
Josh Silva                                   8175 E Kaiser Blvd Ste 204                      Anaheim, CA 92808-2214            x   x   A7   Customer Deposit    59,240   3,350
PINGKHO Construction                         1321 OAKWOOD DR                                 ARCADIA, CA 91006                         A7   Customer Deposit    59,034   3,350
David Nielson                                44 Ritz Cove Dr                                 Dana Point, CA 92629              x   x   A7   Customer Deposit    59,000   3,350
Nikki & Eric Bostwick                        775 Laguna Canyon Road                          Laguna Beach, Ca 92651                    A7   Customer Deposit    58,948   3,350
TYLER & TORI CALL                            26562 SADDLEHORN LANE                           LAGUNA HILLS, CA 92653            x   x   A7   Customer Deposit    58,946   3,350
Tamar Arminak Vick Touzjian                  1740 Cielito Drive                              Glendale, CA 91207                        A7   Customer Deposit    58,853   3,350
SARAH CHAPMAN                                5917 Sagebrush Rd                               La Jolla, CA 92037-7040           x   x   A7   Customer Deposit    58,754   3,350


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                     Case 24-01376-CL7
                          24-01376-CL7 Filed
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Junocante Properties, LLC - Narlinger
Project                                                    162
                                                           101
                                          165 Monarch Bay Drive
                                                      Dana Point, CA 92629                A7   Customer Deposit    58,705                                                         3,350
Mark Berry                                3878 Pine Blvd                                             South Lake Tahoe, CA 96150                 A7   Customer Deposit    58,695   3,350
Bill Coll                                 751 Dove Run Circle                                        Palm Desert, Ca 92211              x   x   A7   Customer Deposit    29,327   3,350
Haldi Construction                        650 Lower Springs Rd                                       Fallbrook, CA 92028-8189           x   x   A7   Customer Deposit    58,592   3,350
IRENA SAAKOVA                             3401 Lee Pkwy                                              Dallas, TX 75219-5210                      A7   Customer Deposit    58,357   3,350
Hiro Kinoshita                            21 Ocean Heights Dr.                                       Newport Coast, CA 92657                    A7   Customer Deposit    58,262   3,350
Daniel Duhaime                            844 Cortez St                                              Corona del Mar, CA 92625           x   x   A7   Customer Deposit    58,212   3,350
Mariana Ley                               n/a                                                        San Diego, CA 92122                x   x   A7   Customer Deposit    58,194   3,350
Valle Reinis Builders- VRB                11661 San Vicente Blvd Ste 302                             Los Angeles, CA 90049-5111         x   x   A7   Customer Deposit    58,131   3,350
CHPT Construction - Murphy Project        PO Box 3027                                                Rancho Santa Fe, CA 92067-3027             A7   Customer Deposit    78,513   3,350
Blythe Interiors - Daniela Geraghty       15575 Rising River Pl S                                    San Diego, CA 92127-5104                   A7   Customer Deposit    58,103   3,350
MATT & JILL STEWART                       46 San Simeon                                              Laguna Niguel, CA 92677-7950       x   x   A7   Customer Deposit    58,052   3,350
Todd & Diane Royal                        2543 Via Dieguenos                                         Alpine, CA 91901-3632                      A7   Customer Deposit    58,050   3,350
Marrokal Design & Remodel - Brian Marsh &
Ron Cole                                  3819 John Street                                           San Diego, CA 92106                        A7   Customer Deposit    58,043   3,350
CANAVAN GROUP                             74923 Us Highway 111 PMB 102                               Indian Wells, CA 92210-7134                A7   Customer Deposit    58,000   3,350
Philly Montbleau                          210 Gibson Pt                                              Solana Beach, CA 92075-4200                A7   Customer Deposit    57,872   3,350
Chris Bledsoe                             495 Arroyo Chico                                           Laguna Beach, CA 92651-2541                A7   Customer Deposit    57,860   3,350
Lantern Hills Construction                10675 W Pico Blvd                                          Los Angeles, CA 90064                      A7   Customer Deposit    57,739   3,350
Giovanni Baldan                           8206 Via Panacea                                           San Diego, CA 92129-2233                   A7   Customer Deposit    57,680   3,350
Rhonda Creeden                            SIENA VISTA COURT (OFF VICTORY DR.) 4 SIENTA VISTA COURT   RANCHO MIRAGE, CA 92270            x   x   A7   Customer Deposit    57,659   3,350
Johnny & Nancy Brown                      310 13th St.                                               Huntington Beach, CA 92648         x   x   A7   Customer Deposit    49,925   3,350
Bob, Sheryl and Eva Scarano               7427 Draper ave                                            La Jolla, CA 92037                         A7   Customer Deposit    57,510   3,350
Z Nafe                                    39 Echo Gln                                                Irvine, CA 92603-0421              x   x   A7   Customer Deposit    57,335   3,350
Priti Hansji                              1600 S Harbor Blvd Anaheim Desert Inn                      Anaheim, CA 92802-2314             x   x   A7   Customer Deposit    57,331   3,350
Shirley Slee Real Estate & Design         1805 Canyon Place                                          Carlsbad, CA 92008                 x   x   A7   Customer Deposit    57,288   3,350
STUDIOBYECLECTICGOODS                     3303 Hyland Ave                                            Costa Mesa, CA 92626-4164                  A7   Customer Deposit    57,205   3,350
Walter Wendt                              5961 Kearny Villa Rd                                       San Diego, CA 92123-1004           x   x   A7   Customer Deposit    57,161   3,350
J Squires Interior Design                 720 1/2 Goldenrod Ave                                      Corona del Mar, CA 92625                   A7   Customer Deposit    57,154   3,350
Tim and Cheryl Ecker                      9361 Gateshead Dr                                          Huntington Beach, CA 92646-8443    x   x   A7   Customer Deposit    57,137   3,350
Mariam Firouzi                            29161 Aloma Ave                                            Laguna Niguel, CA 92677            x   x   A7   Customer Deposit    57,132   3,350
NICOLE GREEN DESIGN HOUSE                 7 ORAUGE BLOSSOM CIRCLE                                    LADERA RANCH, CA 92694                     A7   Customer Deposit    57,042   3,350
Bercow-O'Byrne                            14753 Oxnard St                                            Van Nuys, CA 91411-3122            x   x   A7   Customer Deposit    56,992   3,350
Steve Dickler                             2700 Ocean Blvd                                            Corona Del Mar, CA 92625                   A7   Customer Deposit    56,983   3,350
Jeff & Lisa Black                         7957 Camino De Arriba                                      Rancho Santa Fe, CA 92091          x   x   A7   Customer Deposit    70,521   3,350
Jeremy & Brandy Born                      23 Canada Oaks                                             Coto de Caza, CA 92679-4937                A7   Customer Deposit    57,116   3,350
Wendy Miller                              3250 Grey Hawk Court                                       Carlsbad, CA 92037                         A7   Customer Deposit    56,858   3,350
Dro Hartooni                              2461 Allajay Pl                                            Glendale, CA 91208                         A7   Customer Deposit    66,530   3,350
Yang Shao                                 2201 W Live Oak Dr                                         Los Angeles, CA 90068                      A7   Customer Deposit    56,710   3,350
Marrokal Design & Remodeling - Rice       Toyon Rd                                                   San Diego, CA 92115                        A7   Customer Deposit    56,623   3,350
Donna Chen                                45 Woodcliff Lake Rd                                       Saddle River, NJ 07458-3116                A7   Customer Deposit    56,561   3,350
Westminster Design Studio                 715 El Camino Del Teatro                                   La Jolla, CA 92037                 x   x   A7   Customer Deposit    56,362   3,350
Kimberly Umansky                          650 Country Club Ln                                        Coronado, CA 92118-2036            x   x   A7   Customer Deposit    56,332   3,350
Christy Tuverson                          52 Via Alcamo                                              San Clemente, CA 92673-7043        x   x   A7   Customer Deposit    56,319   3,350
Robert & Chrystal Meyer                   7917 Entrada De Luz East                                   San Diego, CA 92127                        A7   Customer Deposit    56,303   3,350
Page Haralambos                           250 Avenida Vista del Oceano                               San Clemente, CA 92672-4547        x   x   A7   Customer Deposit    56,262   3,350
Jen & Burke Fisher                        785 Bangor St                                              San Diego, CA 92106-2951                   A7   Customer Deposit    56,227   3,350
Susanna Hakobyan                          1484 Whitefield Rd                                         Pasadena, CA 91104                         A7   Customer Deposit    56,198   3,350
Dani/Hakon Bergheim                       25 Coronado Pointe                                         Laguna Niguel, CA 92677                    A7   Customer Deposit    56,153   3,350
One West Studio                           833 Dover Drive #27A                                       Newport Beach, CA 92660            x   x   A7   Customer Deposit    56,133   3,350
HVN Design                                42800 Brown St                                             Murietta, CA 92562                         A7   Customer Deposit    56,128   3,350
Kevin & Bich Nguyen                       2101 N Heliotrope Dr                                       Santa Ana, CA 92706-2541                   A7   Customer Deposit    55,889   3,350
Celia and Rob Joshi                       37 Clouds Point                                            Irvine, CA 92603                   x   x   A7   Customer Deposit    55,688   3,350
Boswell Construction- 134 S Windsor       17071 Ventura Blvd Ste 201                                 Encino 91316, CA 91316             x   x   A7   Customer Deposit   106,256   3,350
Cooper Gwaltney                           628 Malabar Drive                                          Corona Del Mar, CA 92625                   A7   Customer Deposit   123,756   3,350
Anora Abramova                            3115 Chadney Dr                                            Glendale, CA 91206-1004                    A7   Customer Deposit    55,333   3,350
Stasia and Damian Mate                    4 Dartmoor                                                 Coto de Caza, CA 92679-4903                A7   Customer Deposit    98,787   3,350
Kat Rose Simon                            1041 North Cornonado st.                                   Los Angeles, Ca 90026              x   x   A7   Customer Deposit   154,712   3,350
Samantha & Joe Scharff                    1385 El Mirador Dr.                                        Pasadena, CA 91103                 x   x   A7   Customer Deposit    55,157   3,350
Rose Moloian                              2101 Rimcrest Dr                                           Glendale, CA 91207                 x   x   A7   Customer Deposit    55,147   3,350
Claudio Ghersinich                        80820 Vista Bonita Trl                                     La Quinta, CA 92253-7524           x   x   A7   Customer Deposit    55,135   3,350
STEVEN E. STILWELL CONSTRUCTION           1474 Palisades Dr                                          Pacific Palisades, CA 90272-2160   x   x   A7   Customer Deposit    55,000   3,350
Gus Guerrero                              27792 Hidden Trail Road                                    Laguna Hills, CA 92693             x   x   A7   Customer Deposit    54,999   3,350
Sonya Derbonne Interior Design            35041 Camino Capistrano                                    Dana Point, CA 92624-1725          x   x   A7   Customer Deposit    54,945   3,350
ERS Partners LP                           231 W Foothill Blvd                                        Glendora, CA 91741                 x   x   A7   Customer Deposit    54,795   3,350
Marmol Radziner AIA                       12210 Nebraska Ave                                         Los Angeles, CA 90025-3620                 A7   Customer Deposit    54,930   3,350
Gary & Mimi Werntz                        5264 Los Hermosos Way                                      Los Angeles, CA 90027-1031                 A7   Customer Deposit    54,375   3,350
Kristan Le                                30620 Jedediah Smith Rd                                    Temecula, CA 92592-2626                    A7   Customer Deposit    54,336   3,350

Greg Agee Homes - Kris and Dennis Zook        14386 Twisted Branch Road                              Poway, CA 92064                            A7   Customer Deposit    54,334   3,350
Jacob Qin                                     28 W La Sierra Dr                                      Arcadia, CA 91007-4019             x   x   A7   Customer Deposit    54,289   3,350
Choate Designs                                24361 La Cresta Dr                                     Dana Point, CA 92629-2528                  A7   Customer Deposit    54,232   3,350
Dan Slape Debbie Benson                       53595 Avenida Vallejo                                  La Quinta, CA 92253-3555                   A7   Customer Deposit    54,211   3,350
Cindy Lynch Design                            10835 Turnleaf Ln                                      Tustin, CA 92782-4342              x   x   A7   Customer Deposit    51,493   3,350
Patterson - 1616 W Oceanfront                 15 Corporate Plaza Drive Suite 150                     Newport Beach, CA 92660            x   x   A7   Customer Deposit    54,052   3,350
The Interior Design Group                     3183F Airway Ave Ste 121                               Costa Mesa, CA 92626-4618                  A7   Customer Deposit    54,047   3,350
Vanmar Capital                                3609 W MacArthur Blvd # suite 811                      Santa Ana, CA 92704                        A7   Customer Deposit    53,840   3,350
Khung Van Phuong                              10362 Calle Madero                                     Fountain Valley, CA 92708          x   x   A7   Customer Deposit    53,788   3,350
Rattigan Construction, Inc                    11549 Dilling St                                       Studio City, CA 91604-3019                 A7   Customer Deposit    53,778   3,350
Amy Weber                                     108 S McCadden Pl.                                     Los Angeles, CA 90004              x   x   A7   Customer Deposit    53,777   3,350
Alex Adler                                    2574 Caminito Muirfield                                La Jolla, CA 92037-5848                    A7   Customer Deposit    53,465   3,350
Nicole & Jude Trapp                           6346 Silent Harbor Dr                                  Huntington Beach, CA 92648-2678    x   x   A7   Customer Deposit    53,434   3,350
Kellie Lenahan                                1758 Prince St                                         Fallbrook, CA 92028-4353           x   x   A7   Customer Deposit    53,156   3,350
Mike Jovanovic                                4774 Alonzo Ave                                        Encino, CA 91316-3604              x   x   A7   Customer Deposit    57,510   3,350

JJ Mullen General Building Contractor, Inc.   PO Box 2425                                            Rancho Santa Fe, CA 92067-2425             A7   Customer Deposit    53,004   3,350
Theresa Carey                                 34191 Blue Lantern St                                  Dana Point, CA 92629-2504                  A7   Customer Deposit    52,948   3,350
FINDLEY J. Gleiberman Design                  1621 N. Vulcan Avenue                                  Encinitas, CA 92024                        A7   Customer Deposit    52,945   3,350
A. Naber Design - Sven Simon                  15816 Via Del Alba                                     Rancho Santa Fe, CA 92067          x   x   A7   Customer Deposit    52,853   3,350
Cheryl and Craig Stewart                      72 St Malo Beach                                       Oceanside, CA 92054                        A7   Customer Deposit    52,834   3,350
Design Solutions | Chacon Residence           4545 LaJolla Village Dr , Ste E-1                      La Jolla, CA 92122                         A7   Customer Deposit   181,293   3,350
Jon & Liza Thompson                           12 Rue Cezanne                                         Coto de Caza, CA 92679-8505        x   x   A7   Customer Deposit    52,801   3,350
Jim Conrad Architect                          30831 Via Chico                                        Laguna Niguel, CA 92677                    A7   Customer Deposit    52,737   3,350
LFD Design - Stephanie Tsukada                13273 Courtland Ter                                    San Diego, CA 92130-1823                   A7   Customer Deposit    52,727   3,350
Igo Bakhchyan                                 3810 Ranch Top Rd                                      Pasadena, CA 91107-1317                    A7   Customer Deposit    52,548   3,350

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                     Case 24-01376-CL7
                          24-01376-CL7 Filed        Filed 05/03/24
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KENT SNYDER GENERAL           2226 Port Aberdeen Pl                Newport Beach, CA 92660-5409         A7   Customer Deposit    52,503                                 3,350
Studio Stratton               7527 Girard Ave                             162
                                                                          101
                                                                   La Jolla, CA 92037             x x   A7   Customer Deposit    52,487                                 3,350
Francisco & Cristina Esquer                2751 St. Laurent Pl                             La Jolla, CA 92037                         A7   Customer Deposit    52,275   3,350
Shain Development                          832 Las Lomas Ave                               Pacific Palisades, CA 90272-2428           A7   Customer Deposit    52,241   3,350
Farrah Alyase                              977 Avenida Del Oceano                          El Cajun, CA 92019                 x   x   A7   Customer Deposit    52,226   3,350
Violette Mirhan                            250 Poppy Ave                                   Corona del Mar, CA 92625-3022      x   x   A7   Customer Deposit    52,216   3,350
Kevin Meehan                               10771 Oregon Ave                                Culver City, CA 90232                      A7   Customer Deposit    52,076   3,350
Rodeo Homes, Inc.                          PO Box 7206                                     Newport Beach, CA 92658-7206               A7   Customer Deposit    52,070   3,350
John Manus                                 4941 Oahu Drive                                 Huntington Beach, CA 92649         x   x   A7   Customer Deposit    52,056   3,350
welby construction management              4422 Glacier Ave Ste C                          San Diego, CA 92120-3318           x   x   A7   Customer Deposit    52,040   3,350
Robert Teroganesyan                        200 North Maryland #200                         Glendale, CA 91206                 x   x   A7   Customer Deposit    51,999   3,350
Linette Dai Design                         5353 E 2nd St Ste 203                           Long Beach, CA 90803-5300                  A7   Customer Deposit   106,999   3,350
Karen & Phil Sirianni                      213 25th St                                     Newport Beach, CA 92663            x   x   A7   Customer Deposit    51,940   3,350
Billy & Kelly Ballard                      261 E Ave                                       Coronado, CA 92118-1322            x   x   A7   Customer Deposit    51,851   3,350
Brian Ghielmetti                           10525 Wilkins Ave                               Los Angeles, CA 90024-6031                 A7   Customer Deposit    51,840   3,350
Edward Olliges                             24 Ritz Cove Dr                                 Dana Point, CA 92629-4226          x   x   A7   Customer Deposit    51,812   3,350
Kathy Draper                               1001 Genter St Unit 10F                         La Jolla, CA 92037-5527                    A7   Customer Deposit    51,691   3,350
Toni Katcherian                            33932 Crystal Lantern St                        Dana Point, CA 92629-2475          x   x   A7   Customer Deposit    51,679   3,350
Crawford Custom Homes                      245 Fischer Avenue, Suite B1                    Costa Mesa, CA 92626                       A7   Customer Deposit    55,437   3,350
SSW Mechanical Inc.                        PO Box 3160                                     Palm Springs, CA 92263-3160                A7   Customer Deposit    51,560   3,350
Ryan Aukerman                              1842 Windsor Ln                                 Santa Ana, CA 92705-3446                   A7   Customer Deposit    51,500   3,350
QualCraft Construction Inc - Watson
Project                                    16488 Falcon Height Road                        Ramona, CA 92065                           A7   Customer Deposit    51,471   3,350
Minerva and Roberto Wlaz                   2840 Bayside walk                               San Diego, CA 92109                        A7   Customer Deposit    51,446   3,350
Bethany Grace                              11 Pavona                                       Newport Beach, CA 92657-1218       x   x   A7   Customer Deposit    51,182   3,350
Powers Construction                        Powers Construction 74-866 Lennon Place Ste C   Palm Desert, CA 92260                      A7   Customer Deposit    51,147   3,350
Advantage Design Partners - Kailas
Residence                                  1252 Ladera Linda                               Del Mar, CA 92014-3944             x   x   A7   Customer Deposit    51,081   3,350
Steven Kemper                              1611 New Crest Ct                               Carlsbad, CA 92011-4080            x   x   A7   Customer Deposit    51,071   3,350
Savvy Interiors                            971 Lomas Santa Fe Dr Ste C                     Solana Beach, CA 92075-2146        x   x   A7   Customer Deposit    53,119   3,350
Keri Michelle Interiors - Paul & Sarah
Thompson                                   890 Tucana Drive                                San Marcos, CA 92078               x   x   A7   Customer Deposit    50,976   3,350
B Farm Design                              281 Corsair Way                                 Seal Beach, CA 90740               x   x   A7   Customer Deposit    50,952   3,350
Thomas Nunez                               1205 Bluff Rd                                   Montebello, Ca 90640                       A7   Customer Deposit    50,528   3,350
Hovey and Mary Ellen Kemp                  7316 Monte Vista                                La Jolla, CA 92037                         A7   Customer Deposit    50,472   3,350
Studio Matsalla                            2387 Newport Ave                                Cardiff, CA 92007                          A7   Customer Deposit    50,407   3,350
Jacqueline Aslanyan                        3137 Hollyburne Ct.                             Glendale, CA 91206                         A7   Customer Deposit    50,359   3,350
Andres Castro                              44890 Via Renaissance                           Temecula, CA 92590                 x   x   A7   Customer Deposit    50,307   3,350
Pat's Painting                             24952 Southport St                              Laguna Hills, CA 92653             x   x   A7   Customer Deposit    50,305   3,350
Blackbriar                                 9255 Sunset #1000                               West Hollywood, CA 90059                   A7   Customer Deposit    50,244   3,350
Insert Design                              245 Fischer Ave Ste A8A                         Costa Mesa, CA 92626-4554                  A7   Customer Deposit    50,206   3,350
Cristina Oday                              1712 Court Manleigh Cir                         Newport, CA 92660                          A7   Customer Deposit    50,204   3,350
Barclay Butera Interiors                   1745 Westcliff Drive                            Newport Beach, CA 92660                    A7   Customer Deposit    50,171   3,350
DC Builders                                1251 SE 232nd Ave                               Damascus, OR 97089                         A7   Customer Deposit    50,043   3,350
Talin Saokisov                             2100 Rimcrest Dr                                Glendale, CA 91207-1057                    A7   Customer Deposit    50,000   3,350
Silverstrand Construction - Geoffrey &
Amanada Shelton                            3230 Del Paso Ave                               San Diego, CA 92120                        A7   Customer Deposit    49,999   3,350
FREEMANS CONSTRUCTION                      PO Box 2576                                     Ramona, CA 92065-0944                      A7   Customer Deposit    49,964   3,350
Tom & Shelley Melvin                       21621 Placerita Canyon Rd                       Newhall, CA 91321-1204             x   x   A7   Customer Deposit    49,963   3,350
Tim Daly                                   2961 1st Ave                                    San Diego, CA 92103-5906           x   x   A7   Customer Deposit    49,884   3,350
Mandy White                                5514 W 78th St                                  Los Angeles, CA 90045-3302                 A7   Customer Deposit    49,835   3,350
Jantz Construction - Monty Moran           7348 Vista Del Mar Ave                          La Jolla, CA 92037                         A7   Customer Deposit    49,736   3,350
JESSE HOUSTON                              1467 Hidden Mesa Trl                            El Cajon, CA 92019-3801                    A7   Customer Deposit    49,716   3,350
Tilo Martin                                1272 Bienveneda Ave                             Pacific Palisades, CA 90272        x   x   A7   Customer Deposit    49,713   3,350
Shields Construction                       75306 Palm Shadow Dr                            Indian Wells, CA 92210             x   x   A7   Customer Deposit   112,662   3,350
Sherwood Kypreos                           3245 CASITAS AVE. #108                          LOS ANGELES, CA 90039                      A7   Customer Deposit    82,811   3,350
MARIE TANTILLO                             17 BRIDINGTON                                   LAGUNA NIGEL, CA 92677             x   x   A7   Customer Deposit    49,577   3,350
Oregon Trail Remodeling                    7908 Corte Penca                                Carlsbad, CA 92009                         A7   Customer Deposit    49,521   3,350
DF Tuttle                                  238 S Hudson Ave                                Los Angeles, CA 90004-1036                 A7   Customer Deposit    49,435   3,350
Sabah Alhamed                              1405 Height Bluff Dr                            Newport Beach, CA 92660            x   x   A7   Customer Deposit    49,346   3,350
ALFA MADE                                  16800 Aston Street | Suite 275                  Irvine, CA 92606                   x   x   A7   Customer Deposit    49,331   3,350
Terry Johnson                              9255 Doheny Rd. #2906                           Los Angeles, CA 90069              x   x   A7   Customer Deposit    49,249   3,350
Gina B & Company, Inc.                     23811 Aliso Creek Rd Ste 136                    Laguna Niguel, CA 92677-3942               A7   Customer Deposit    49,205   3,350
Michelle Kangas                            38 Calle Ameno                                  San Clemente, CA 92672                     A7   Customer Deposit    49,142   3,350
kikiandwillydesigns.biz                    1001 Street                                     hhsh, ca 90000                             A7   Customer Deposit    49,086   3,350
Sass Construction and Design               5094 Seashell Pl                                San Diego, CA 92130-3217                   A7   Customer Deposit    50,810   3,350
Alex & Roslyn Borges                       20902 Calle Celeste                             Lake Forest, CA 92630              x   x   A7   Customer Deposit    48,919   3,350

Barbara Lee Grigsby Design Associates, Inc. 6105 Paseo Delicias, Suite 2 PO Box 558        Rancho Santa Fe, CA 92067-0558             A7   Customer Deposit   216,963   3,350
Sipovac Construction Inc.                   72651 Theodora Ln                              Palm Desert, CA 92260-6563                 A7   Customer Deposit    48,606   3,350
MARTIN BAGGOTT                              1156 Tamarisk Rd                               Palm Springs, CA 92262-5831                A7   Customer Deposit    48,601   3,350
Agda Shelley                                PO BOX 7294                                    RANCHO SANTA FE, CA 92067          x   x   A7   Customer Deposit    48,549   3,350
CYNTHIA EVANS                               7 Merano                                       Laguna Niguel, CA 92677-8606       x   x   A7   Customer Deposit    48,548   3,350
Pretty-Smart Design                         2730 E 4th St                                  Long Beach, CA 90814-1227                  A7   Customer Deposit    48,458   3,350
Melissa Morgan Designs                      1210 Park Newport #201                         Newport Beach, CA 92660            x   x   A7   Customer Deposit    53,241   3,350
M Prevost Design - Chandra Bishop           334 Mesa Way                                   La Jolla, CA 92037                         A7   Customer Deposit    48,326   3,350
Monica Zaragoza                             2860 Gate 8                                    Chula Vista, CA 91914                      A7   Customer Deposit    48,280   3,350
GEORGE & SARANYA-BALA SAFFOURI              470 W 8th St                                   Claremont, CA 91711-4208                   A7   Customer Deposit    48,244   3,350
Emily Stelling                              306 South Whitestone Drive                     Anaheim, CA 92807                  x   x   A7   Customer Deposit    48,219   3,350
Royal Home Remodels - 545 Avenida
Primavera                                   545 Avenida Primavera                          Del Mar, CA 92014-2454                     A7   Customer Deposit    48,154   3,350
Setess                                      31726 4th Ave                                  Laguna Beach, CA 92651-6969                A7   Customer Deposit    48,091   3,350
Tara Lawrence Design                        3730 La Canada Rd                              Fallbrook, CA 92028-8350           x   x   A7   Customer Deposit    48,032   3,350
Vitarelli Construction                      140 S Bayfront                                 Newport Beach, CA 92662                    A7   Customer Deposit    48,000   3,350
Melissa Nichols                             17120 Woodson View Ln                          Ramona, CA 92065                           A7   Customer Deposit    47,984   3,350
Everett Hernandez Jr.                       2325 Penrose st.                               San Diego, CA 92110                        A7   Customer Deposit    47,730   3,350
Sarin Tavlian                               1860 Linda Vista Ave                           Pasadena, CA 91103                         A7   Customer Deposit    47,693   3,350
Alison Interiors                            1345 Encinitas Blvd Suite 812                  Encinitas, CA 92024                x   x   A7   Customer Deposit    47,683   3,350
Dana Battista Interior Design               134 Mead Ave                                   Greenwich, CT 06830                        A7   Customer Deposit    47,679   3,350
Tibbitts Interiors                          9 Meadowgrass                                  Irvine, CA 92604                   x   x   A7   Customer Deposit    47,503   3,350
TREVESSA TERRILE                            2661 VICTORIA DRIVE                            LAGUNA BEACH, CA 92651                     A7   Customer Deposit    47,413   3,350
HITESH PATEL                                11168 Horizon Way                              Tustin, CA 92782-4337                      A7   Customer Deposit    47,386   3,350
Redline Custom Cont. - Alissa & Tim
Knickerbocker                               1343 W Muirlands Drive                         La Jolla, CA 92037                         A7   Customer Deposit    47,250   3,350
JZA Architecture                            4043 Irving Pl Suite B                         Culver City, CA 90232              x   x   A7   Customer Deposit    47,212   3,350
Angela Manakides                            2924 Catalpa St                                Newport Beach, CA 92660                    A7   Customer Deposit    46,942   3,350

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                     Case 24-01376-CL7
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ALEXANDRA MEYN                1660 Brahms Rd                 Cardiff by the Sea, CA 92007-2302         A7   Customer Deposit    46,815                        3,350
Nicky Kaplan Interiors        123 This Street                      162
                                                                   101
                                                             San Diego, CA 92014                       A7   Customer Deposit    46,807                        3,350
Blythe Interiors                             9445 Farnham St Ste 102          San Diego, CA 92123-1399              x   x   A7   Customer Deposit    46,742   3,350
Kim Gatto Interior Design                    3183 Seabury St                  Carlsbad, CA 92010-7037               x   x   A7   Customer Deposit    73,262   3,350
Durborow Construction                        3419 Via Lido #118               Newport Beach, CA 92663                       A7   Customer Deposit    46,722   3,350
JESSIE HOECK                                 2227 RANCH VIEW TERRACE          ENCINITAS, CA 92024                           A7   Customer Deposit    46,684   3,350
PLUSH ENVIORNMENTS                           123 PIRCH ST                     SAN DIEGO, CA 92122                           A7   Customer Deposit    46,658   3,350
Mike McCuen                                  259 Vista Marina                 San Clemente, Ca 92672                        A7   Customer Deposit    46,657   3,350
Eric Serras                                  11022 Muirfield Dr.              Rancho Mirage, CA 92770                       A7   Customer Deposit    46,645   3,350
John Resnick                                 4205 Clearview Dr                Carlsbad, CA 92008-3632                       A7   Customer Deposit    46,524   3,350
Marc Morris                                  126 N Wynstone Dr                North Barrington, IL 60010-6944       x   x   A7   Customer Deposit    46,436   3,350
Justin Kellenberger                          PO Box 1393                      Santa Barbara, CA 93102-1393                  A7   Customer Deposit    46,454   3,350
Andrew Mason                                 1401 West Bay Ave                Newport Beach, CA 92661               x   x   A7   Customer Deposit    46,356   3,350
Bob Briggs                                   7980 Redwood Ave                 Fontana, CA 92336-1638                        A7   Customer Deposit    46,276   3,350
DEBBI MELMAN                                 44 MIRADA                        RANCHO MIRAGE, CA 92270               x   x   A7   Customer Deposit    46,262   3,350
Hadas Skupsky                                17 Bascom Street                 Irvine, CA 92612                              A7   Customer Deposit    46,123   3,350
Raili Ca Design                              213 39th St                      Newport Beach, CA 92663-2902          x   x   A7   Customer Deposit    58,479   3,350
Sessemo                                      6721 Elysian Ct                  Eastvale, CA 92880-3741                       A7   Customer Deposit    46,152   3,350
Desert West, Inc                             73670 Buckboard Trl              Palm Desert, CA 92260-6624            x   x   A7   Customer Deposit    48,024   3,350
Erik Guzman Bryan Buerhing                   11135 Blix St                    Toluca Lake, CA 91602-1235            x   x   A7   Customer Deposit    45,951   3,350
HENRY PARDI INC.                             123 Pirch St                     San Diego, CA 92116                           A7   Customer Deposit    47,196   3,350
Megan Prichard                               4827 Dorchester                  Corona del Mar, CA 92625              x   x   A7   Customer Deposit    45,692   3,350
Ship Shape Coastal Interiors                 1014 9th St                      Coronado, CA 92118-2504                       A7   Customer Deposit    45,632   3,350
Monica Wade                                  4032 Via Pavion                  Palos Verdes Estates, CA 90274-1457           A7   Customer Deposit    45,542   3,350
Dagan Design & Construction - Dean
Residence                                    4432 North Ln                    Del Mar, CA 92014-4130                        A7   Customer Deposit    45,429   3,350
Debbie Booth                                 8 Yellow Brick Rd                Rancho Palos Verdes, CA 90275-1770            A7   Customer Deposit    45,309   3,350
DAN REITZ                                    876 VAN DYKE DR                  LAGUNA BEACH, CA 92651                        A7   Customer Deposit    45,301   3,350
Deborah Weitz                                19 Seabluff                      Newport Beach, CA 92660-9103                  A7   Customer Deposit    45,275   3,350
Marrokal Design & Remodeling - Dan &
Cynthia Kronemyer                            13236 Caminito Mendiola          San Diego, CA 92130-6962                      A7   Customer Deposit    45,165   3,350
Lily Sharp                                   606 View Dr                      Burbank, CA 91501                     x   x   A7   Customer Deposit    45,076   3,350

M Prevost Design - Michael & Carolyn Kelly   334 Mesa Way                     La Jolla, CA 92037                            A7   Customer Deposit    45,028   3,350
Modernize                                    308 E 18th St                    Costa Mesa, CA 92627-3103                     A7   Customer Deposit    45,002   3,350
Aysia Boyd - CHRGEBACK HOLD                  1035 Leece Dr                    Costa Mesa, Ca 92627                          A7   Customer Deposit    44,881   3,350
Terrell & Leah Burnett                       14722 Old Creek Rd               San Diego, CA 92131                           A7   Customer Deposit    44,814   3,350
Steve Estey                                  2869 India Street                San Diego, Ca 92103                   x   x   A7   Customer Deposit    44,785   3,350
Phantom Construction                         18625 SE 400th St                Enumclaw, WA 98022-8948               x   x   A7   Customer Deposit    58,465   3,350
AGK Design - Erick Esparza                   7556 Fay Ave Ste B               La Jolla, CA 92037-4829                       A7   Customer Deposit    99,667   3,350
Lucy Kaloustian                              2912 Carob St                    Newport Beach, CA 92660-3213          x   x   A7   Customer Deposit    44,640   3,350
Archipelago Development - Hacienda
Amanecer                                     4728 El Aspecto                  Rancho Santa Fe, CA 92067                     A7   Customer Deposit    44,545   3,350
Albert Bui                                   17943 Contador Dr.               Rowland Heights, CA 91748             x   x   A7   Customer Deposit    44,545   3,350
Abbie Drummond                               50495 Heather Glen               La Quinta, CA 92253                   x   x   A7   Customer Deposit    44,516   3,350
Vitruvius Design                             786 Division Rd Ste 101          Park City, UT 84098-6379              x   x   A7   Customer Deposit    44,454   3,350
Melissa Willis                               9 Portuguese Bend Rd             Rolling Hills, CA 90274-5072          x   x   A7   Customer Deposit   131,561   3,350
GK Design - Hannah Seibert                   1635 Gregory St                  San Diego, ca 92102                   x   x   A7   Customer Deposit    44,335   3,350
TOM & NANCY THOMPSON                         47 SIENA                         Laguna Niguel, Ca 92677                       A7   Customer Deposit    44,334   3,350
Brian Murphy                                 1908 Paxton way                  Encinitas, CA 92024                   x   x   A7   Customer Deposit    44,321   3,350
Blake & Kristen Hardin                       20462 Kenworth Cir               Huntington Beach, CA 92646            x   x   A7   Customer Deposit    44,239   3,350

Amala Raj Interiors - Lal & Maria Narayan    1722 Lahoud Dr                   Cardiff by the Sea, CA 92007-1135     x   x   A7   Customer Deposit    44,166   3,350
Mullen Design Co - Maya Marx                 624 San Mario Dr                 Solana Beach, CA 92075                        A7   Customer Deposit    44,041   3,350
Nova Drywall Systems Inc                     3195 Red Hill Ave Ste B          Costa Mesa, CA 92626-3430                     A7   Customer Deposit    44,024   3,350
GENE KU                                      1963 COURT EDWARD PLACE          NEWPORT BEACH, CA 92660                       A7   Customer Deposit    44,003   3,350
Nasrin & Bijan Khosravi                      11 Seabreeze Terrace             Dana Point, Ca 92629                          A7   Customer Deposit    43,973   3,350
ANI ANDRIASSIAN                              2408 FRANCES AVE                 LA CRESCENTA, CA 91214                        A7   Customer Deposit    43,873   3,350
Steigerwald-Dougherty Inc                    427 S Cedros Ave Ste 202         Solana Beach, CA 92075-1969                   A7   Customer Deposit    43,301   3,350
Anjula Gupta                                 340 Hazel Dr                     Corona del Mar, CA 92625-3031                 A7   Customer Deposit    43,835   3,350
Kit Newman                                   201 Ocean Ave Unit 1809P         Santa Monica, CA 90402-1455           x   x   A7   Customer Deposit    43,732   3,350
Michelle Andre                               555 E Walnut Ave                 Glendora, CA 91741-3565                       A7   Customer Deposit    43,673   3,350
Jennifer Morgen                              166 Barlock Ave                  Los Angeles, CA 90049                 x   x   A7   Customer Deposit    46,265   3,350
Ron Tremblay Design                          710 Beloit Ave                   Los Angeles, CA 90049-3412            x   x   A7   Customer Deposit    53,213   3,350
Greg Badalian                                78 Linda Isle                    Newport Beach, CA 92660-7208          x   x   A7   Customer Deposit    43,546   3,350

South Harlow Interiors - Megan Comfoltey     1231 Fleetridge Dr               San Diego, CA 92106                   x   x   A7   Customer Deposit    43,529   3,350
Savvy Interiors - Schlehuber Project         3935 Skyline Rd                  Carlsbad, CA 92008-2746               x   x   A7   Customer Deposit    43,477   3,350
Katherine He                                 1330 Rodeo Rd                    Arcadia, CA 91006                     x   x   A7   Customer Deposit    43,476   3,350
Linda & Tony Scaletta                        need                             Glendale, CA 91201                            A7   Customer Deposit    43,438   3,350
ROD FERRONATO                                2010 Pioneer Ave                 Fullerton, CA 92831                           A7   Customer Deposit    43,429   3,350
Balboa Bay Club                              100 Roadrunner                   Irvine, CA 92603-0160                         A7   Customer Deposit    43,326   3,350
Steve & Karen Rosenblatt                     7 Vista Lesina                   Newport Beach, CA 92657               x   x   A7   Customer Deposit    43,324   3,350
Lois Mastrocola                              29881 Hiddenwood                 Laguna Niguel, CA 92677-1940                  A7   Customer Deposit    43,291   3,350
Tidal Interiors                              5759B La Jolla Blvd              La Jolla, CA 92037-7302               x   x   A7   Customer Deposit    47,132   3,350
Bradley White                                4472 Granger Street              San Diego, CA 92107                           A7   Customer Deposit    43,057   3,350
Patrick Choi Construction, Inc. - 650
Williams Ln                                  650 Williams Ln                  Beverly Hills, CA 90210-1931                  A7   Customer Deposit    42,890   3,350
Nicole Schwartz                              5 Hampshire Ct                   Newport Beach, CA 92660-4933          x   x   A7   Customer Deposit    42,882   3,350
Jacqueline Pierson                           3056 Sumac Rd                    Fallbrook, CA 92028-8705                      A7   Customer Deposit    42,705   3,350
Jennifer Cupo                                31832 Via Puntero                San Juan Capistrano, CA 92675         x   x   A7   Customer Deposit    42,634   3,350
Joseph Farah Katy Chahine                    1031 S Bundy Dr                  Los Angeles, CA 90049-5845                    A7   Customer Deposit    42,621   3,350
HAL ALAMEDDINE                               6 Alessandria                    Newport Coast, CA 92657-1619          x   x   A7   Customer Deposit    42,561   3,350
Percuratore LLC                              16072 Via Viajera                Rancho Santa Fe, CA 92091-4327                A7   Customer Deposit   129,629   3,350
Deborah Rosen                                8560 Avenida de las Ondas        La Jolla, CA 92037-3027               x   x   A7   Customer Deposit    61,751   3,350
David & Karen Palm                           216 S Citrus Ave #358            San Diego, CA 92014                   x   x   A7   Customer Deposit    42,515   3,350
Pete Hill Construction Company - 29042
Cliffside D                                  29042 Cliffside Drive            Malibu, CA 90265                              A7   Customer Deposit    83,028   3,350
Weeks Design                                 2600 Bayside Dr                  Corona del Mar, CA 92625-2932         x   x   A7   Customer Deposit    46,392   3,350
Chad & Cari Thiel                            2500 Via Marina                  Newport Beach, CA 92660-3632          x   x   A7   Customer Deposit    42,325   3,350
JOSEPH RODRIGUES INTERIORS                   26331 Eva St                     Laguna Hills, CA 92656-3108           x   x   A7   Customer Deposit    42,287   3,350
Amber Interiors                              23501 Park Sorrento blv, #204    Calabasas, Ca 91302                   x   x   A7   Customer Deposit    64,841   3,350
John & Anne Borsini                          1262 Ketner Blvd. Unit # 3102    San Diego, CA 92101                           A7   Customer Deposit    42,216   3,350
YEPRUI BOYADZHYAN                            10888 La Tuna Canyon Rd Unit F   Sun Valley, CA 91352                          A7   Customer Deposit    42,142   3,350
Daniel Cho                                   2950 Anacapa Pl                  Fullerton, CA 92835                   x   x   A7   Customer Deposit    42,096   3,350
LAURA PARSKY                                 1411 Virginia Way                La Jolla, CA 92037-3809               x   x   A7   Customer Deposit    42,035   3,350

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                    Case 24-01376-CL7
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Charlie M Design             2610 Saxon Dr                Los Angeles, CA 90065-5132          A7   Customer Deposit    41,975                          3,350
Belle and Ryan McBride       501 Acacia                         162
                                                                101
                                                          Corona del Mar, CA 92625     x x    A7   Customer Deposit    54,551                          3,350
RDM General Contractors                 250 Baker St Ste 300            Costa Mesa, CA 92626-4577                    A7   Customer Deposit    62,018   3,350
Hilary Hale Interiors                   1752 Las Brisas Dr              Santa Ana, CA 92705-3116                     A7   Customer Deposit    41,740   3,350
Dianne Norton                           441 Summit St                   Englewood Cliffs, NJ 07632-1715              A7   Customer Deposit    41,726   3,350
Drop Cloth Interiors                    1228 Camino del Mar             Del Mar, CA 92014-2506                       A7   Customer Deposit    41,532   3,350
You You & Andrew Brothers               443 So Oakland Ave #5           Pasadena, Ca 91101                   x   x   A7   Customer Deposit    41,395   3,350
Ashley Balaker                          2825 Chillon Way                Laguna Beach, CA 92651               x   x   A7   Customer Deposit    41,439   3,350
R.EV Design                             6551 Alcove Ave                 North Hollywood, CA 91606-1106               A7   Customer Deposit    41,420   3,350
Black Star Building and Design          1714 Temple Street              Los Angeles, CA 90026                        A7   Customer Deposit    41,414   3,350
Eric & Dana Snyder                      2316 Redlands Dr                Newport Beach, CA 92660-3434                 A7   Customer Deposit    41,375   3,350
Hannouche architects                    20250 SW Acacia Street #145     Newport Beach, CA 92660                      A7   Customer Deposit    41,279   3,350
Rose & Mike Reilly                      16888 Saint Andrews Dr          Poway, CA 92064-1135                 x   x   A7   Customer Deposit    41,245   3,350
Monique Zaragoza                        3726 Montith Dr                 View Park, CA 90043                          A7   Customer Deposit    41,196   3,350
Mullen Design Co - Elizabeth Dufresne   1456 Santa Marta Ct             Solana Beach, CA 92075-1621                  A7   Customer Deposit    41,055   3,350
Keefer Construction Unlimited, LLC      6171 Jared Court                Woodland Hills, Ca 91367                     A7   Customer Deposit    40,980   3,350
Reed Stoecker                           1921 Port Bristol Circle        Newport Beach, CA 92660                      A7   Customer Deposit    40,961   3,350
JACKIE VEMULAPALLI                      42314 Gold Cup Ln               Murrieta, CA 92562-7415              x   x   A7   Customer Deposit    40,959   3,350
michael ponsoll                         1319 diamond st                 san diego, ca 92109                  x   x   A7   Customer Deposit    40,919   3,350
Gleb and Kristina Lvovich               104 Paseo De La Serenata        San Clemente, CA 92672               x   x   A7   Customer Deposit    82,392   3,350
Alejandra Villasenor                    57 Aruba Bnd                    Coronado, CA 92118                           A7   Customer Deposit    40,802   3,350
Stefanie Taft                           24481 Viejas Grade Road         Descanso, CA 91916                   x   x   A7   Customer Deposit    40,784   3,350
Garrett & Brittany Futrell              1957 Sanderling Cir             Costa Mesa, CA 92626-4735            x   x   A7   Customer Deposit    40,759   3,350
Debbie Qasawadish                       2147 Dehesa Rd                  El Cajon, CA 92019                           A7   Customer Deposit    40,721   3,350
Adrian Ferreira                         1175 Misty Creek Ct             Chula Vista, CA 91913                        A7   Customer Deposit    41,982   3,350
Green Wish Concept                      3103 W Central Ave              Santa Ana, CA 92704-5302                     A7   Customer Deposit    40,252   3,350
Emma Farley                             2742 Bordeaux Ave               La Jolla, CA 92037-2030              x   x   A7   Customer Deposit    40,247   3,350
Bozhena Fisher                          47 Renata                       Newport Beach, CA 92657-1211                 A7   Customer Deposit    40,233   3,350
MEHRAN LEILABI                          1 Polk St Unit 1407             San Francisco, CA 94102-5255         x   x   A7   Customer Deposit    40,223   3,350
Lilach Vrobel                           206 Via Nord                    Newport Beach, CA 92663              x   x   A7   Customer Deposit    40,051   3,350
Atmospheres- CHRGBACK HOLD -
Christopher Hildebrant                  6398 Clubhouse Dr               Rancho Santa Fe, Ca 92069                    A7   Customer Deposit    32,895   3,350
Carrie Chesnut                          1060 California St              Encinitas, CA 92024-6815                     A7   Customer Deposit    40,027   3,350
Liz Santamaria                          2956 W Evans Rd                 San Diego, CA 92106                  x   x   A7   Customer Deposit    40,022   3,350
The Restore Agency                      1205 Coast Blvd                 La Jolla, CA 92037                           A7   Customer Deposit    52,916   3,350
Chase & Grace Wickersham                2600 Wavecrest Dr               Corona del Mar, CA 92625-1324                A7   Customer Deposit    39,930   3,350
Avi Siboni                              4312 Agnes Ave                  Studio City, CA 91604-1701           x   x   A7   Customer Deposit    39,904   3,350
Mullen Design Co - Tara Sporrer         7687 Circulo Sequoia            Carlasbad, CA 92009                  x   x   A7   Customer Deposit    39,682   3,350
Brad Burton                             2513 Vista                      manhattan beach, ca 90266            x   x   A7   Customer Deposit    44,751   3,350
Mel Meagher                             1071 Stratford Dr               Encinitas, CA 92024-5118             x   x   A7   Customer Deposit    39,722   3,350
St. Clair Partners                      1445 Glenneyre St.              Laguna Beach, CA 92651               x   x   A7   Customer Deposit    39,702   3,350
Jeff & Julie Witous                     P.O. Box 1757                   Rancho Santa Fe, CA 92067            x   x   A7   Customer Deposit    39,689   3,350
Silverstone Group OC                    26062 Waterwheel pl             Laguna Hills, Ca 92653                       A7   Customer Deposit    39,658   3,350
Robinson Reese - Construction /
Development                             2505 W Coast Hwy Ste 202        Newport Beach, CA 92663-4750                 A7   Customer Deposit    39,630   3,350
Steve Moir                              269 S Beverly Dr                Beverly Hills, CA 90212-3807                 A7   Customer Deposit    39,611   3,350
Doug Buescher                           5309 Valle Vista                La Mesa, CA 91941                            A7   Customer Deposit    39,595   3,350
Thair Marcus                            2932 Greystone Ct               Jamul, CA 91935-1543                         A7   Customer Deposit    39,593   3,350
JEFFREY INTERIORS                       8 Harris Ct Ste A5              Monterey, CA 93940-5797                      A7   Customer Deposit    53,387   3,350
Sevanna & Narbeh Bandary                4527 Ethel Ave                  Studio City, CA 91604                        A7   Customer Deposit    39,574   3,350
Tony & Carol Guida                      27541 Silver Creek Dr           San Juan Capistrano, CA 92675-1530           A7   Customer Deposit    39,566   3,350
Chris Riggins Construction              3111 2nd Ave. Suite 6           Corona Del Mar, CA 92625             x   x   A7   Customer Deposit    39,345   3,350
FRANK MONZON                            5326 HYDE ST                    LOS ANGELES, CA 90032                x   x   A7   Customer Deposit    39,313   3,350
Howley Design Build                     4700 Mascot St                  Los Angeles, CA 90019-5707                   A7   Customer Deposit    39,306   3,350
Jim Nutty                               54855 Southern Hls              La Quinta, CA 92253-5633                     A7   Customer Deposit    39,268   3,350
Jason Kornberg                          2605 ELLENTOWN ROAD             LA JOLLA, CA 92037                           A7   Customer Deposit    43,870   3,350
TOM & MARC HALLER / GLADSTONE           1411 HILLVIEW COVE              PALM SPRINGS, CA 92264               x   x   A7   Customer Deposit    39,148   3,350
Live Interiors                          2534 Summit Gln                 Escondido, CA 92026-3826                     A7   Customer Deposit    39,147   3,350
Ry & Erica Monson                       32012 Paseo de Hermosa          San Juan Capistrano, CA 92675                A7   Customer Deposit    39,044   3,350
Erika Goe                               1737 Centella Pl                Newport Beach, CA 92660-3726                 A7   Customer Deposit    38,789   3,350
Deb Harris                              4252 Helix Del Sur              La Mesa, CA 91941                    x   x   A7   Customer Deposit    38,954   3,350
five design studio                      1055 South Coast Highway 101    Encinitas, CA 92024                          A7   Customer Deposit    38,862   3,350
Bill and Megan Eves                     3750 Dudley street              San Diego, CA 92106                          A7   Customer Deposit   123,357   3,350
Kelley Purnell                          1060 Avondale Rd                San Marino, CA 91108-1134            x   x   A7   Customer Deposit    38,837   3,350
Mark Fudge                              617 Broadway Unit 1244          Sonoma, CA 95476                             A7   Customer Deposit    38,765   3,350
PATTI & BRET HARDIN                     10222 Niagara Dr                Huntington Beach, CA 92646-4918              A7   Customer Deposit    38,464   3,350
CAROLINA HONG                           2521 LAUGHLIN AVE.              LA CRESCENTA, CA 91214               x   x   A7   Customer Deposit    38,447   3,350
Lynsey Greive Interior Design           28970 Newport Rd                Temecula, CA 92591-5589                      A7   Customer Deposit    38,447   3,350
Alli and Brett Longenecker              19731 Slayback Lane             Huntington Beach, CA 92646                   A7   Customer Deposit    87,326   3,350
JOSE REYES                              6546 Morningside Dr             Huntington Beach, CA 92648-6106              A7   Customer Deposit    38,350   3,350
Hyfa Inc.                               1400 East Katella Ave. #221     Orange, CA 92867                     x   x   A7   Customer Deposit    38,329   3,350
Julie Scarpella                         8569 El Paseo Grande            La Jolla, Ca 92037                           A7   Customer Deposit    38,326   3,350
Dwellular LLC: Ritzy Room               167 N Martel Ave                Los Angeles, CA 90036                x   x   A7   Customer Deposit    38,308   3,350
Sandy Kobeissi                          701 Forest Green Dr             La Canada, CA 91011-4202                     A7   Customer Deposit    38,302   3,350
Christine Alvarado                      5622 Rutgers Rd                 La Jolla, CA 92037-7826              x   x   A7   Customer Deposit    38,267   3,350
Kristen & Scott Miller                  5778 Theta Pl                   San Diego, CA 92120-4644             x   x   A7   Customer Deposit    41,806   3,350
Keli Wozniak                            5665 Linea del Cielo            Rancho Santa Fe, CA 92067            x   x   A7   Customer Deposit    37,964   3,350
Heather Docherty                        15 UPPER BLACKWATER CANYON RD   Rolling Hills, CA 90274                      A7   Customer Deposit    37,963   3,350
AMANDA NESBITT                          2536 Canyon Dr                  Los Angeles, CA 90068-2416                   A7   Customer Deposit    37,952   3,350
Hunter Construction, Design &
Management Inc                          63 Via Pico Plaza SUITE# 213    San Clemente, CA 92672                       A7   Customer Deposit    37,949   3,350
Jorge Guevara                           72 Hillcrest Ln                 Newport Beach, CA 92660-5226         x   x   A7   Customer Deposit   151,814   3,350
Neelesh Ullal                           5117 Steinbeck Ct               Carlsbad, CA 92008-4616              x   x   A7   Customer Deposit   101,263   3,350
WINTRI                                  546 E Edna Pl                   Covina, CA 91723-1310                x   x   A7   Customer Deposit    37,842   3,350
Stephanie Chapin                        32 bethany                      laguna nigel, CA 92677                       A7   Customer Deposit    37,649   3,350
Hazel Wallace                           2164 Corte Anacapa              Chula Vista, CA 91914-4468           x   x   A7   Customer Deposit    37,574   3,350
Flairhunter, LLC                        1437 Old Ranch Rd               Park City, UT 84098-6527                     A7   Customer Deposit    37,560   3,350
Lisa Ann Lydon                          6251 Morningside Dr             Huntington Beach, CA 92648-6103      x   x   A7   Customer Deposit    37,510   3,350
Menghan Xu                              17732 Corinthian Dr             Encino, CA 91316-3703                        A7   Customer Deposit    37,504   3,350
John Baker                              15807 The River Trail           Rancho Santa Fe, CA 92067                    A7   Customer Deposit    37,465   3,350
Vasey Residence                         15 Amber Sky Dr                 Rancho Palos Verdes, CA 90275-5024           A7   Customer Deposit    37,429   3,350
Shiva Shahrokni                         31852 Apuesto Way               Coto de Caza, CA 92679-3618          x   x   A7   Customer Deposit    37,385   3,350
DAVID & ROXANNE OCHOA                   4832 Converse St                Los Angeles, CA 90032-2115           x   x   A7   Customer Deposit    37,243   3,350
Lori & Gene Taubman                     1817 Westridge                  Los Angeles, Ca 90049                        A7   Customer Deposit    37,223   3,350
Darcy & Mike Moore                      286 D Ave                       Lake Oswego, OR 97034-2360                   A7   Customer Deposit    37,212   3,350
SHIALICE SPATIAL DESIGN                 4030 N Figueroa St              Los Angeles, CA 90065-3041           x   x   A7   Customer Deposit    37,029   3,350

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                     Case 24-01376-CL7
                          24-01376-CL7 Filed                Filed 05/03/24
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                                                                                                                                         55 of of
Natalie Hoss                  2118 Via Teca                                San Clemente, CA 92673-5647   x x   A7   Customer Deposit    37,016               3,350
Mamta Patel                   1100 Wilshire Blvd Unit #2111                      162
                                                                                 101
                                                                           Los Angeles, CA 90017               A7   Customer Deposit    37,008               3,350
ATHENA RUNNER                           1035 Sagebrush Rd                    Carlsbad, CA 92011-3974               x   x   A7   Customer Deposit    36,989   3,350
SERI DESIGN                             10511 TERRACE VIEW                   SANTA ANA, CA 92705                           A7   Customer Deposit    36,978   3,350
Cyril Group Design                      3640 Eugene Pl                       San Diego, CA 92116-1931                      A7   Customer Deposit    36,937   3,350
Duncan Custom Homes                     PO Box 721107                        San Diego, CA 92172                   x   x   A7   Customer Deposit   151,960   3,350
C2@WORK                                 325 ANITA DR                         PASADENA, CA 91105                            A7   Customer Deposit    36,779   3,350
Mia Lee                                 6332 Quail Run St                    San Diego, CA 92130-5746              x   x   A7   Customer Deposit    36,720   3,350
Dagan Design & Construction             1106 2nd St #262                     Encinitas, CA 92024                   x   x   A7   Customer Deposit    37,685   3,350
Darren Nguyen                           16541 Channel Lane                   Huntington Beach, CA 92649                    A7   Customer Deposit    36,652   3,350
Jason Sheng                             606 Lovell Pl                        Fullerton, CA 92835                           A7   Customer Deposit    36,604   3,350
Jessica Ward                            9351 Loma St                         Villa Park, CA 92861-2831                     A7   Customer Deposit    36,604   3,350
Nielsen Development                     Greenfield Drive                     El Cajon, CA 92019                            A7   Customer Deposit    36,552   3,350
Dalia Daujotyte                         13080 Caminito Mar Villa             Del Mar, CA 92014-3608                        A7   Customer Deposit    36,552   3,350
Adam Arakelian                          5150 E Copa de Oro Drive             Anaheim, CA 92807                     x   x   A7   Customer Deposit    66,637   3,350
Rebecca Foster Design Mohr Project      3600 Elm Ave                         Manhattan Beach, CA 90266-3608                A7   Customer Deposit    18,237   3,350
Salt + Willow Interior Design Studio    210 W Avenida De Los Lobos Marinos   San Clemente, CA 92672                        A7   Customer Deposit    36,430   3,350
23rd St Kelly Shepard Designs           3600 Stewart Ave                     Los Angeles, CA 90063                         A7   Customer Deposit    36,331   3,350
Andrea 760-473-7039                     802 Arden Dr                         Encinitas, CA 92024-4507                      A7   Customer Deposit    36,317   3,350
Steven & Katherine Kruis                650 Columbia St Unit 410             San Diego, CA 92101-6739              x   x   A7   Customer Deposit    39,071   3,350
DONA CHOI                               4735 Angeles Crest Hwy               La Canada, CA 91011-2303              x   x   A7   Customer Deposit    36,162   3,350
Nikki Moyer                             620 Saltgrass Ave                    Carlsbad, CA 92011-3254               x   x   A7   Customer Deposit    36,124   3,350
Krystal Morgens                         1030 S Oakland Ave                   Pasadena, CA 91106-4337               x   x   A7   Customer Deposit    35,948   3,350
BRICK & MORTAR REAL ESTATE              5482 WILSHIRE BLVD #1540             LOS ANGELES, CA 90036                         A7   Customer Deposit    36,030   3,350
A. Naber Design - Ramsey Project        427 Canyon Dr,                       Solana Beach, CA 92075                x   x   A7   Customer Deposit    36,022   3,350
GK Design Group - Malcolm               1461 Calle Altura                    La Jolla, CA 92037-7802                       A7   Customer Deposit    36,013   3,350
Jantz Construction - Granados           537 N Granados Ave                   Solana Beach, CA 92075-1216                   A7   Customer Deposit    35,924   3,350
Frost/Chaddock Developers, LLC          9142920 West Knoll Dr.               West Hollywood, CA 90069                      A7   Customer Deposit    35,873   3,350
Andrea Kazar                            367 W I St                           Encinitas, CA 92024-5025              x   x   A7   Customer Deposit    35,812   3,350
Ramesh Patel                            11348 Belladonna Way                 San Diego, CA 92131                           A7   Customer Deposit    35,658   3,350
RJ MURPHY CONSTRUCTION                  6781 DEFIANCE DR                     HUNTINGTON BEACH, CA 92647            x   x   A7   Customer Deposit   113,337   3,350
Sharleen Tan                            913 E Maple St                       Glendale, CA 91205                            A7   Customer Deposit    35,429   3,350
ALFA IDG                                16800 Aston #275                     Irvine, CA 92606                              A7   Customer Deposit    35,359   3,350
Jenson Turner                           PO Box 12219                         Zephyr Cove, NV 89448-4219                    A7   Customer Deposit    46,594   3,350
Shelly Sheppard                         1518 Vivian Lane                     Newport Beach, CA 92660               x   x   A7   Customer Deposit    35,344   3,350
CAMILA GIBBS                            333 Dawson St                        Los Angeles, CA 90026-5513                    A7   Customer Deposit    35,221   3,350
BRIAN BYRD                              2754 Mallard Dr                      Costa Mesa, CA 92626-4773                     A7   Customer Deposit    35,185   3,350
Yvonne and Eddy Lau                     1000 Oneonta Dr                      Los Angeles, Ca 90065                         A7   Customer Deposit    35,159   3,350
JW Contracting Inc.                     314 Evening Canyon                   Newport Beach, CA 92625                       A7   Customer Deposit    35,144   3,350
Paige Elise Interiors                   3186 Airway Ave Ste H                Costa Mesa, CA 92626-4650             x   x   A7   Customer Deposit    35,053   3,350
Jenna & Nick Orzano                     1950 Port Townsend Cir               Newport Beach, CA 92660-6607          x   x   A7   Customer Deposit    35,021   3,350
Land Lab                                702 Wrelton Dr                       San Diego, CA 92109-1060                      A7   Customer Deposit    35,000   3,350
BOSWELL CONSTRUCTION                    17071 Ventura Blvd Ste 201           Encino, CA 91316-4133                         A7   Customer Deposit    34,974   3,350
Jennifer Rizzo                          24607 Jacarte Drive                  Murrieta, CA 92562                            A7   Customer Deposit    34,881   3,350
Park Lane Projects                      9440 Santa Monica Blvd Ste 620       Beverly Hills, CA 90210-4608                  A7   Customer Deposit    34,873   3,350
CARA SOLOMON                            3441 Grand View Blvd                 Los Angeles, CA 90066-1938                    A7   Customer Deposit    34,864   3,350
Cathy Barnes                            640 N Granados Ave                   Solana Beach, CA 92075-1219                   A7   Customer Deposit    37,951   3,350
Monica Andrade                          2016 Hanscom Dr.                     South Pasadena, CA 91030              x   x   A7   Customer Deposit    34,807   3,350
Elizabeth Priester                      1311 Ozone Ave                       Snata Monica, CA 90405                x   x   A7   Customer Deposit    34,803   3,350
LHK Interiors                           5156 Vista Miguel Dr                 La Canada, CA 91011                   x   x   A7   Customer Deposit    34,794   3,350
ARASH TOUSKI                            25152 STAGELINE DR                   LAGUNA HILLS, CA 92653                x   x   A7   Customer Deposit    34,769   3,350
Richard Ajabi                           1521 Riverside Drive                 Glendale, CA 91201                    x   x   A7   Customer Deposit    36,266   3,350
GREGORY & LAUREN BOTTA                  933 AVENIDA DE SAN CLEMENTE          ENCINITAS, CA 92024                           A7   Customer Deposit    34,693   3,350
MOINFAR ENTERPRISES                     4533 Roxbury Rd                      Corona del Mar, CA 92625-3126         x   x   A7   Customer Deposit    34,629   3,350
Savvy Interiors - Schirmacher Project   14780 Via Mantora                    San Diego, Ca 92127                   x   x   A7   Customer Deposit    36,882   3,350
Ina Homes                               1734 N. Verdugo Road #27             Glendale, CA 91208                    x   x   A7   Customer Deposit    44,606   3,350
San Francisco Paintsource, INC.         150 Pennsylvania Ave                 San Francisco, CA 94107-2525          x   x   A7   Customer Deposit    34,574   3,350
Earline Arnott                          4770 Panorama Dr                     San Diego, CA 92116-1239                      A7   Customer Deposit    67,721   3,350
Joseph & Jan Cobert                     1419 Warner Ave                      Los Angeles, CA 90024-6027            x   x   A7   Customer Deposit    34,448   3,350
Triple T Construction                   1822 E Route 66 # 251                Glendora, CA 91740-3801                       A7   Customer Deposit    34,435   3,350
Sadri & Marie Rose Akin                 5290 Carlsbad Blvd                   Carlsbad, CA 92008-4306                       A7   Customer Deposit    34,417   3,350
Molly Barnes                            1818 Port Barmouth                   Newport Beach, CA 92660               x   x   A7   Customer Deposit    34,369   3,350
Caroline Davenport                      45860 Hopi Rd                        Indian Wells, CA 92210-8909           x   x   A7   Customer Deposit    34,317   3,350
RJW                                     4030 Longridge Ave                   Sherman Oaks, CA 91423-4926                   A7   Customer Deposit    34,223   3,350
Brian Tastor & Chenin Harbison          1568 Triton St                       Carlsbad, CA 92011-4078                       A7   Customer Deposit    34,220   3,350
Tina Chen                               14 Skycrest,                         Newport Coast, CA 92657                       A7   Customer Deposit    34,199   3,350
R J Tanner Construction                 939 Oak St                           Costa Mesa, Ca 92627                          A7   Customer Deposit    34,188   3,350
Tiana Rae Designs                       1137 N West Moreland Unit 17         Los Angeles, CA 90029                 x   x   A7   Customer Deposit    34,167   3,350
Yashar residence                        221 18th St                          Santa Monica, CA 90402-2403                   A7   Customer Deposit    54,434   3,350
Pat & Barb Fallon                       15 Denham Ct                         Hillsborough, CA 94010-6109                   A7   Customer Deposit    34,088   3,350
DUPLICATE Key Vision Interiors. Inc     2550 Via Tejon Ste 3L                Palos Verdes Estates, CA 90274-6809           A7   Customer Deposit    34,047   3,350
MDM Builders                            5798 Honors Dr                       San Diego, CA 92122-4140              x   x   A7   Customer Deposit    37,278   3,350
Janel and Jeff Yoshida                  19342 Beckonridge Lane               Huntington Beach, CA 92648            x   x   A7   Customer Deposit    34,044   3,350
Angeles Contractor, Inc                 783 Phillips Dr                      City of Industry, CA 91748                    A7   Customer Deposit    33,994   3,350
Madeleine Galardo                       1942 Port Claridge Pl                Newport Beach, CA 92660-6612                  A7   Customer Deposit    33,936   3,350
SENTENO CONSTRUCTION & DESIGN           11011 Ranger Dr                      Los Alamitos, CA 90720-2646                   A7   Customer Deposit    33,915   3,350
Li, Jeff                                2680 S Bonnie Beach Pl               Vernon, CA 90058                              A7   Customer Deposit    33,894   3,350
Argam Amirkhanian                       18951 Granada Cir                    Porter Ranch, CA 91326-1505           x   x   A7   Customer Deposit    33,870   3,350
Design 4 Corners                        5315 Avenida Encinas Suite 230       Carlsbad, CA 92008                    x   x   A7   Customer Deposit    33,866   3,350
Saghi Maleki                            2391 Mesa Dr                         Newport Beach, CA 92660-0720          x   x   A7   Customer Deposit    33,829   3,350
Model Home Inc - Tim Miranda            18441 Via Ambiente                   Rancho Santa Fe, CA 92067                     A7   Customer Deposit    33,827   3,350
DESIGN HUTCH                            947 N. La Cienega Blvd. Unit K       West Hollywood, CA 90069              x   x   A7   Customer Deposit    33,804   3,350
Wing Home Interiors                     10072 Cutty Sark Dr                  Huntington Beach, CA 92646-4302               A7   Customer Deposit   109,399   3,350
Matt Obrien and Daniel De La Cruz       708 Kettner Blvd                     San Diego, CA 92101-5922              x   x   A7   Customer Deposit    33,678   3,350
ENDEAVOR DEVELOPMENT
INTERNATIONAL                           13240 EVENING CREEK DR N             San Diego, CA 92128                   x   x   A7   Customer Deposit    33,652   3,350
Arthur Chalekian                        291 W Kenneth Rd                     Glendale, CA 91202-1455                       A7   Customer Deposit    33,620   3,350
Richard & Ellen Pacheco                 1494 Glenneyre St                    Laguna Beach, CA 92654                        A7   Customer Deposit    33,512   3,350
Brian Scoggin                           29610 Valle Olvera                   Temecula, CA 92591-1635                       A7   Customer Deposit    33,436   3,350
Robbie Interiors                        6399 Calle Del Alcazar               Rancho Santa Fe, CA 92067                     A7   Customer Deposit    33,435   3,350
Connie Hill                             54215 Cananero Cr.                   La Quinta, CA 92253                   x   x   A7   Customer Deposit    33,338   3,350
DAVE & LISA RUTAN                       2735 LLAMA CT                        CARLSBAD, CA 92009                            A7   Customer Deposit    33,323   3,350
Michael Futch                           1205 Pacific Highway Unit 2606       San Diego, Ca 92101                           A7   Customer Deposit    33,180   3,350
AUDREY LEE                              359 Pasqual Ave                      San Gabriel, CA 91775-2754            x   x   A7   Customer Deposit    33,168   3,350
1700 Port Manleigh                      1700 Port Manleigh                   Newport Beach, CA 92660               x   x   A7   Customer Deposit    33,155   3,350
Sarah & Joey Sabella                    4243 Farmdale Ave                    Studio City, CA 91604-2939                    A7   Customer Deposit    33,152   3,350

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                    Case 24-01376-CL7
                         24-01376-CL7 Filed    Filed 05/03/24
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Designs & Details            43 Thorn Creek St                Henderson, NV 89011-3783            A7   Customer Deposit    32,960                       3,350
Sergio Barrios               7945 Purple Sage                       162
                                                                    101
                                                              San Diego, CA 92127-3612     x x    A7   Customer Deposit    32,925                       3,350
Colega                                 4334 Sepulveda Blvd #303          Culver City, CA 90230                        A7   Customer Deposit    32,826   3,350
J Gleiberman Design                    267 Sharp Place                   Encinitas, CA 92024                  x   x   A7   Customer Deposit    32,495   3,350
Mark and Kim Spano                     3133s Barona Rd                   Palm Springs, Ca 92264               x   x   A7   Customer Deposit    24,068   3,350
Architectural Arts                     26582 Via California              Capistrano Beach, Ca 92624                   A7   Customer Deposit    32,622   3,350
KNM DESIGN BUILD                       7930 Chatfield Ave #B             Whittier, CA 90606                           A7   Customer Deposit    50,172   3,350
Junocante Properties, LLC              25 Brookline                      Aliso Viejo, CA 92656                x   x   A7   Customer Deposit    32,533   3,350
David Brown                            456 Flores De Oro                 Rancho Santa Fe, CA 92067                    A7   Customer Deposit    32,268   3,350
Ruben Marquez Interior Design          need                              need, CA 91016                       x   x   A7   Customer Deposit    46,832   3,350
Edward and Kathleen Hayes              30 Coronado Pointe                Laguna Niguel, CA 92677                      A7   Customer Deposit    32,449   3,350
Michele Grossfeld                      19407 Redwing St                  Tarzana, CA 91356                            A7   Customer Deposit    32,449   3,350
VICTOR PEREZ                           2285 Michael Faraday Dr Ste 8     San Diego, CA 92154-7926                     A7   Customer Deposit    32,402   3,350
Dat Nguyen                             9372 Darrow Dr                    Huntington Beach, CA 92646-7232      x   x   A7   Customer Deposit    32,350   3,350
Sean Lorenzini                         3020 Meyerloa Ln                  Pasadena, CA 91107                   x   x   A7   Customer Deposit    32,308   3,350
Allison Dietrich                       3939 Lake Circle Dr               Fallbrook, CA 92028-7881                     A7   Customer Deposit    32,266   3,350
Rucker Muth Corporation                74130 Country Club Dr Ste 101     Palm Desert, CA 92260-1687           x   x   A7   Customer Deposit    32,106   3,350
Hiebsch Custom Homes                   3 Ritz Cove Dr                    Dana Point, CA 92629-4225                    A7   Customer Deposit    32,103   3,350
Rhonda Greenstein                      2600 S Kings Rd E                 Palm Springs, CA 92264-9424                  A7   Customer Deposit    33,463   3,350
Amanda Smothers                        704 Sonrisa St                    Solana Beach, CA 92075               x   x   A7   Customer Deposit    31,987   3,350
Brian Claypool                         1180 Linda Vista Ave              Pasadena, CA 91103-2362                      A7   Customer Deposit    31,946   3,350
Ramin Tabibzadeh                       12 Andiamo                        Newport Coast, CA 92657                      A7   Customer Deposit    31,929   3,350
Daniela & Bernard Derriman             1947 San Pasqual St               Pasadena, CA 91107-5104              x   x   A7   Customer Deposit    31,925   3,350
Vivian Lu                              1710 S Eulicid Ave                San Marino, CA 91108                         A7   Customer Deposit    31,868   3,350
Jeff and Sarah Mielke                  7104 Belden St                    San Diego, CA 92111-4231                     A7   Customer Deposit    31,826   3,350
Molly Fryman                           31922 Paseo Monte Vis             San Juan Capistrano, CA 92675-3415   x   x   A7   Customer Deposit    31,815   3,350
alyce and tom vessey                   175 G Ave                         Coronado, CA 92118-1215              x   x   A7   Customer Deposit    31,784   3,350
Maleia Jones                           16 Via Buen Corazon               San Clemente, CA 92673-7022                  A7   Customer Deposit    31,739   3,350
anne shapiro                           1817 Petra Dr                     San Diego, CA 92104-5741             x   x   A7   Customer Deposit    34,385   3,350
Jose Antonio Flores Young Choi         2181 E Chevy Chase Dr             Glendale, CA 91206-1733                      A7   Customer Deposit    57,345   3,350
Amy Cassell Atelier, LLC               2836 N Greenview Ave              Chicago, IL 60657                            A7   Customer Deposit    55,078   3,350
Bita Interior Design                   13640 Old El Camino Real          San Diego, CA 92130-3087                     A7   Customer Deposit    31,582   3,350
Samaneh Omid                           1265 Journeys End Rd.             La Canada Flintridge, CA 91011               A7   Customer Deposit    31,472   3,350
Coral Bath & Design                    2999 E Ocean Blvd Unit 190        Long Beach, CA 90803-2545                    A7   Customer Deposit    59,261   3,350
Zhilbert Babakhanyan                   5045 Rosemont Ave                 La Crescenta, CA 91214-2128          x   x   A7   Customer Deposit    31,410   3,350
jenny heu                              1467 La Jolla Rancho Rd           La Jolla, CA 92037-7436                      A7   Customer Deposit    31,410   3,350
Bev Dahl                               820 Palaro Dr.                    Encinitas, Ca 92024                          A7   Customer Deposit    31,331   3,350
Skyrud Designs Inc                     2356 Garfield Rd                  San Diego, CA 92110-2333             x   x   A7   Customer Deposit    31,095   3,350
Kayson Construction                    1 Trapani                         Laguna Niguel, CA 92677                      A7   Customer Deposit    31,253   3,350
LANNEN CONSTRUCTION INC.               5841 Airdrome St                  Los Angeles, CA 90019-4907           x   x   A7   Customer Deposit    31,767   3,350
Caroline Isagholian                    2619 Willowhaven Dr               La Crescenta, CA 91214-1452                  A7   Customer Deposit    31,211   3,350
Patrick Zillis                         3 Strand Beach Dr                 Dana Point, CA 92629                         A7   Customer Deposit    31,202   3,350
Cia Barron                             3137 Redwood                      San Diego, CA 92104                          A7   Customer Deposit    31,195   3,350
Ingenuity Builders                     1112 Montana Ave Ste 442          Santa Monica, CA 90403-1652                  A7   Customer Deposit    31,190   3,350
Bill & Maria Patris                    10739 Juniper Park Ln             San Diego, CA 92121                          A7   Customer Deposit    31,111   3,350
Lee Morcus                             1717 Chapparal Rd                 Redlands, CA 92373-7265              x   x   A7   Customer Deposit    31,092   3,350
Jerry Chen                             2336 Tubbs Dr                     Tustin, CA 92782-3385                        A7   Customer Deposit    31,077   3,350
Pam Levine                             4123 Stansbury Ave                Sherman Oaks, CA 91423-4621                  A7   Customer Deposit    31,044   3,350
CORSINI STARK ARCHITECT                2841 AVENEL ST                    LOS ANGELES, CA 90039                x   x   A7   Customer Deposit    30,964   3,350
AGK Design - Casey Armstrong           1431 Rodeo Dr                     La Jolla, CA 92037-7440                      A7   Customer Deposit    55,516   3,350
Ya Zhou                                12 Horizon                        Newport Coast, CA 92657                      A7   Customer Deposit    30,913   3,350
Lori Streeter                          11045 Valley Lights Dr            El Cajon, CA 92020                           A7   Customer Deposit    30,877   3,350
Scott & Sudar Alagarsamy               2484 Alto Cerro Cir               San Diego, CA 92109                  x   x   A7   Customer Deposit    30,873   3,350
Frances Quinones                       2792 Camphor Ct                   Chula Vista, CA 91914-2654           x   x   A7   Customer Deposit    30,850   3,350
Molly Britt Design                     2742 Circle Drive                 Newport Beach, CA 92663                      A7   Customer Deposit    30,838   3,350
Meram Constuction                      312 Highland Ave Ste 200          El Cajon, CA 92020-5218                      A7   Customer Deposit    30,804   3,350
Lauren Gaines                          6411 S Holt Ave                   Los Angeles, CA 90056-2207                   A7   Customer Deposit    30,799   3,350
Vahag & Alina Harutyunyan              10513 Helendale Ave               Tugunga, CA 91042                            A7   Customer Deposit    30,792   3,350
RJ Tanner Construction                 893 OAK ST                        COSTA MESA, CA 92627                         A7   Customer Deposit    30,773   3,350
Leslie & Joe Michaels                  7224 El Fuerte St                 Carlsbad, CA 92009-6516                      A7   Customer Deposit    30,761   3,350
Megan Demuth                           3317 Freeman Street               San Diego, CA 92106                  x   x   A7   Customer Deposit    30,756   3,350
Kathleen Trinh                         12257 Valleyheart Dr.             Los Angeles, CA 91604                x   x   A7   Customer Deposit    30,758   3,350
Toni Marie Designs                     4624 South Ln                     Del Mar, CA 92014-4141                       A7   Customer Deposit    31,638   3,350
Fatma Barakal                          1830 Avanida del mundo unit 602   Coronado, ca 92118                           A7   Customer Deposit    30,679   3,350
Eric Taylor                            2717 Elderoak Rd                  Thousand Oaks, CA 91361-5063                 A7   Customer Deposit    30,640   3,350
Tracy Lynn Studio - Beckmann Project   5410 Calumet Ave                  La Jolla, CA 92037                   x   x   A7   Customer Deposit    34,639   3,350
Shant & Emelia Mardigian               646 Church Canyon Pl              Altadena, CA 91001-3874                      A7   Customer Deposit    30,562   3,350
YOLANDA GOMEZ                          1123 W Chevy Chase Dr             Anaheim, CA 92801-2150                       A7   Customer Deposit    30,551   3,350
Annette & Jeremy Thurman               58 Via Sonnsa                     San Clemente, CA 92673               x   x   A7   Customer Deposit   107,872   3,350
Two Black Sheep Design                 3330 Russell St                   San Diego, CA 92106-1813                     A7   Customer Deposit    30,525   3,350
Thomas FOU                             31 Valley Terrace                 Irvine, CA 92603                     x   x   A7   Customer Deposit    30,512   3,350
JOSEPH SARLES                          2737 Angus St                     Los Angeles, CA 90039-2610                   A7   Customer Deposit    30,498   3,350

Dominic McKellar and Nakissa Gradert   7755 Camino de ariba              Rancho Santa Fe, CA 92067            x   x   A7   Customer Deposit    30,504   3,350
Judi Reynolds                          1562 Camino Del Mar Unit 652      Del Mar, CA 92014                            A7   Customer Deposit    30,457   3,350
Hope Horner                            6245 W 78th St                    Westchester, CA 90045-2903                   A7   Customer Deposit    30,443   3,350
Melanie Currie                         4251 S Bronson Ave                Los Angeles, CA 90008                        A7   Customer Deposit    30,398   3,350
JUDITH RUBINS DESIGN                   1188 Coldwater Canyon Dr          Beverly Hills, CA 90210-2403         x   x   A7   Customer Deposit    30,336   3,350
Athan Ranglas                          800 The Mark Ln #3003             San Diego, CA 92101                  x   x   A7   Customer Deposit    35,119   3,350
Dean Soll                              16 Lehigh Ct                      Rancho Mirage, CA 92270-3710                 A7   Customer Deposit    30,134   3,350
Alex Zalkin                            4802 Vista de la Tierra           Del Mar, CA 92014-4221                       A7   Customer Deposit    30,089   3,350
Kari You                               8 Arboles                         Irvine, CA 92612-2602                x   x   A7   Customer Deposit    30,065   3,350
Martha Larsson                         3225 Rida St                      Pasadena, CA 91107                           A7   Customer Deposit    30,015   3,350
Rick & Tracy Cortez                    3048 N North Coolidge Ave         Los Angeles, CA 90039-3414                   A7   Customer Deposit    30,000   3,350
Alex Barragan                          2902 Gate Thirteen Pl             Chula Vista, CA 91914-2640           x   x   A7   Customer Deposit    30,000   3,350
John Curci                             5 Beacon Bay                      Newport Beach, CA 92660-7217         x   x   A7   Customer Deposit    29,928   3,350
DEL POZZO DESIGN STUDIO                3666 Carmel View Rd               San Diego, CA 92130-2561             x   x   A7   Customer Deposit    29,882   3,350
Richard Read Interiors                 2927 Canyon Cir S                 Palm Springs, CA 92264-0433          x   x   A7   Customer Deposit    29,877   3,350
Monica Noonan                          1238 Via Mil Cumbres              Solana Beach, CA 92075-1727          x   x   A7   Customer Deposit    29,754   3,350
Rodney Lubeznik                        37440 Palm View Rd                Rancho Mirage, CA 92270-2431                 A7   Customer Deposit    29,723   3,350
P.O.L. Inc.                            31553 Crystal Sands Dr            Laguna Niguel, CA 92677-2756                 A7   Customer Deposit    29,642   3,350
Mike Dowling                           260 D Avenue                      Coronado, CA 92118                   x   x   A7   Customer Deposit    29,616   3,350
Oakhurst Builders                      663 Valley Avenue # 300           Solana Beach, CA 92075                       A7   Customer Deposit    29,597   3,350
JENNIFER & CANARD BARNES               3917 Olympiad Dr                  View Park, CA 90043-1131             x   x   A7   Customer Deposit    29,573   3,350
Tracy & Jeff McEvoy                    8048 Sadring Ave                  West Hills, CA 91304-3539                    A7   Customer Deposit    29,573   3,350
Joann Krupp                            812 Gardenia Way                  Corona del Mar, CA 92625-1544        x   x   A7   Customer Deposit    29,568   3,350

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                     Case 24-01376-CL7
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                                                                                                                           57 of of
Michele Nelson                420 Bonair St                La Jolla, CA 92037-5912        x x    A7   Customer Deposit    29,861                            3,350
Dave and Terri Donnelly       717 Balboa                          162
                                                                  101
                                                           Laguna Beach, CA 92651         x x    A7   Customer Deposit    29,437                            3,350
Thomas Eich                                   1100 S La Verne Way           Palm Springs, CA 92264-9252           x   x   A7   Customer Deposit    29,408   3,350

QualCraft Construction Inc - Danielle Allen   417 B Ave                     Coronado, CA 92118-1818                       A7   Customer Deposit    29,381   3,350
Crystal Maginnes                              715 S Crown Pointe Dr         Anaheim, CA 92807-4777                x   x   A7   Customer Deposit    29,296   3,350
KV Interiors                                  14431 Ventura Blvd. #132      Sherman Oaks, CA 91423                x   x   A7   Customer Deposit    64,753   3,350
COASTAL COLLECTIVE                            1135 BONITA DR UNIT #A        Encinitas, CA 92024-3851              x   x   A7   Customer Deposit    58,951   3,350
Henry & Pam Wang                              15127 Los Altos Dr            Hacienda Heights, CA 91745-5115       x   x   A7   Customer Deposit    29,176   3,350
Lawrence Zisman                               4193 Arden Way                San Diego, CA 92103                   x   x   A7   Customer Deposit    29,087   3,350
Roselle Hay                                   1629 White Oak St.            Costa Mesa, CA 92626                  x   x   A7   Customer Deposit    29,081   3,350
Melea Morris                                  10873 Garland Dr              Culver City, CA 90232                         A7   Customer Deposit    29,047   3,350
MERU CONSTRUCTION INC                         816 SAN CARLOS DR.            NEWBURY PARK, CA 91320                x   x   A7   Customer Deposit    66,597   3,350
Wendy Gillfillan                              1507 Sylvia Lane              Newport Beach, CA 92660                       A7   Customer Deposit    28,974   3,350
Crystal Ryu                                   7825 W 83rd St                Playa del Rey, CA 90293-7920                  A7   Customer Deposit    28,967   3,350
Kate Pollock                                  529 Pacific Ave               Solana Beach, CA 92075                        A7   Customer Deposit    28,894   3,350

Richard Williams Design & Construction    347 Quincy Ave                    Long Beach, CA 90814-3060                     A7   Customer Deposit    34,774   3,350
Dyjak Design Build                        645 Glemont Drive                 Solana Beach, CA 92075                        A7   Customer Deposit    28,861   3,350
Jenna Ly                                  2201 Jose Way                     Fullerton, CA 92835-3302                      A7   Customer Deposit    28,828   3,350
Shay Mushet                               16988 Rendezvous Cir              San Diego, CA 92127-7052              x   x   A7   Customer Deposit    28,710   3,350
Kelly Huarte                              10795 Turnleaf Ln                 Tustin, CA 92782-4350                 x   x   A7   Customer Deposit    65,680   3,350
Brown Brothers Construction & Associates,
Inc                                       332 Forest Ave Ste 26             Laguna Beach, CA 92651-2125           x   x   A7   Customer Deposit   167,761   3,350
BNS Design Group                          12590 Manifesto Pl                San Diego, CA 92130-2241                      A7   Customer Deposit    28,637   3,350
Anet Prusalian                            2557 Flintridge Dr                Glendale, CA 91206-1034                       A7   Customer Deposit    46,797   3,350
Ampersand-Living                          867 Marigold Court                Carlsbad, CA 92011                            A7   Customer Deposit    28,521   3,350
Acanthus Designs                          po bOX                            Rancho Santa Fe, CA 92067             x   x   A7   Customer Deposit    28,467   3,350
Scott Giles                               28112 Haria                       Mission Viejo, CA 92692-1431          x   x   A7   Customer Deposit    28,443   3,350
Steve Sill                                2621 Bulrush Ln                   Naples, FL 34105-3026                         A7   Customer Deposit    28,439   3,350
Mike Yang                                 4601 Dundee Dr                    Los Angeles, CA 90027-1215                    A7   Customer Deposit    28,360   3,350
Sublime Abode Design                      821 Bellis St                     Newport Beach, CA 92660                       A7   Customer Deposit    28,311   3,350
JJR Contruction LLC                       25177 Gentian Ave                 Moreno Valley, Ca 92551                       A7   Customer Deposit    28,284   3,350
A. Naber Design - Mark and Yesenia
Grossman                                  3221 Eichenlaub St                San Diego, CA 92117-4421              x   x   A7   Customer Deposit    28,236   3,350
Tyler & Lindsay Neuhausen                 27 Via Canero                     San Clemente, CA 92673                x   x   A7   Customer Deposit    28,214   3,350
KP Design Studio                          4748 Iverness Court               Carlsbad, CA 92010                            A7   Customer Deposit    29,720   3,350
Marla Sanders                             923 Marguerite Ln                 Carlsbad, CA 92011-3950                       A7   Customer Deposit    28,165   3,350
Guille Hoefel                             1113 Archer St                    San Diego, CA 92109-1226                      A7   Customer Deposit    28,131   3,350
Noreen Morioka Nicole Jacek               1125 Palms Blvd                   Venice, CA 90291-3524                         A7   Customer Deposit    28,127   3,350
Connie and Andy Tseng                     404 S Craig Ave                   Pasadena, CA 91107                    x   x   A7   Customer Deposit    52,762   3,350
Shue- Ping Sun & Richard Nason            5026 Castle Rd                    La Canada Flintridge, CA 91011-1310   x   x   A7   Customer Deposit    28,059   3,350
Rachel Foullon                            2262 Duane Street                 Los Angeles, CA 90039                         A7   Customer Deposit    28,050   3,350
Sarah Bassett                             2545 33rd St.                     San Diego, Ca 92104                   x   x   A7   Customer Deposit    28,008   3,350
Garden Studio Design                      1943 Port Ramsgate Pl             Newport Beach, CA 92660-5304          x   x   A7   Customer Deposit    27,950   3,350
Nancy Patch Designs                       11 coronado point                 newport beach, ca 92677                       A7   Customer Deposit    27,915   3,350
Grace Blu Interior Design                 151 Kalmus Dr Ste H11             Costa Mesa, CA 92626-5971             x   x   A7   Customer Deposit    27,913   3,350
Tim, Amy and Mimi Soudan                  1720 Avenida del mundo unit 708   Coronado, CA 92118                            A7   Customer Deposit    27,856   3,350
Gary & Barbara Pazornik                   16262 Sundancer Ln                Huntington Beach, CA 92649            x   x   A7   Customer Deposit    25,216   3,350
Christy Van De Sande                      31382 Monterey St                 Laguna Beach, CA 92651-6945           x   x   A7   Customer Deposit    27,822   3,350
Susan Butler                              1659 Via Del Rey                  South Pasadena, CA 91030                      A7   Customer Deposit    27,794   3,350
Bekah Watters                             4545 Lajolla Village Drive        San Diego, CA 92122                           A7   Customer Deposit    27,790   3,350
Clark Neuhoff                             904 S Bay Front                   Newport Beach, CA 92662                       A7   Customer Deposit    27,734   3,350
Kern & Co                                 130 S Cedros Ave Ste 100          Solana Beach, CA 92075-1954           x   x   A7   Customer Deposit    27,686   3,350
Ryan & Taylor Inman                       3238 Villanova Ave                San Diego, CA 92122                           A7   Customer Deposit    27,574   3,350
HALFORD & HEATHER FAIRCHILD               3983 Shedd Ter                    Culver City, CA 90232-3014                    A7   Customer Deposit    27,563   3,350
Mandy K. Design Co                        1218 California Street Unit 1     Huntington Beach, CA 92648                    A7   Customer Deposit    27,515   3,350
Noah Nattell                              1906 Escarpa Dr                   Los Angeles, CA 90041                         A7   Customer Deposit    35,550   3,350
MARTHA MULHOLLAND RESIDENTIAL
INTERIORS                                 4541 ROUNDHOP DRIVE               LOS ANGELES, CA 90065                         A7   Customer Deposit    27,377   3,350
Colette Luesebrink Design                 1632 Galaxy Dr                    Newport Beach, CA 92660-4348                  A7   Customer Deposit    27,369   3,350
Jani Nomad                                60 Tennis Villas Dr               Dana Point, CA 92629-4139                     A7   Customer Deposit    27,365   3,350
Shannon & Mike Carvalho                   3935 Del Mar Avenue               San Diego, CA 92107                   x   x   A7   Customer Deposit    30,911   3,350
Patricia Penzo                            17 Rockrose Way                   Irvine, CA 92612-2136                 x   x   A7   Customer Deposit    27,310   3,350
McGuiness Construction Inc.               17451 Highlander Rd               Ramona, CA 92065-6968                         A7   Customer Deposit    27,258   3,350
HOD Haus Of Design                        575 Anton Blvd Ste 1050           Costa Mesa, CA 92626-7045                     A7   Customer Deposit    27,235   3,350
Dana Enany                                162 California St                 Arcadia, CA 91006-3676                        A7   Customer Deposit    27,225   3,350
Casa Arte Group                           175 Monarch Bay Dr                Dana Point, CA 92629-3431                     A7   Customer Deposit    27,195   3,350
Monique Owen                              929 Highview Ave                  Manhattan Beach, CA 90266-5812        x   x   A7   Customer Deposit    27,114   3,350
Laura Puentes                             249 Calle Esmarca                 San Clemente, CA 92672-3104                   A7   Customer Deposit    27,076   3,350
Cynthia and Paul Murnane                  11802 Cherry Street               Los Alamitos, CA 90720                x   x   A7   Customer Deposit    27,068   3,350
DAVID ZUCK                                PO Box 1022                       Palm Springs, CA 92263-1022           x   x   A7   Customer Deposit    27,060   3,350
Gary Mihalik                              1685 Ridgemore Dr                 Palm Springs, CA 92264-9620                   A7   Customer Deposit    26,975   3,350
Kingsbarn Realty Capital                  1645 Village Center Circle        Las Vegas, NV 89134                           A7   Customer Deposit    26,975   3,350
Naomi Lee                                 329 1st St                        Manhattan beach, CA 90266                     A7   Customer Deposit    26,961   3,350
Keren Hilger                              5714 Waverly Ave                  La Jolla, CA 92037-7335                       A7   Customer Deposit    26,937   3,350
Jessica and Alex Guerrero                 1020 Atlee Dr                     La Canada, CA 91011                           A7   Customer Deposit    26,907   3,350
Todd Greene                               8010 E Highway 41                 Paso Robles, CA 93446                         A7   Customer Deposit    26,863   3,350
Niko Sasso                                10221 Avenida Magnifica           San Diego, CA 92131-1447                      A7   Customer Deposit    26,866   3,350
Bere Giannini                             175 Main Street 2nd Floor         Pawtucket, RI 02860                   x   x   A7   Customer Deposit    27,020   3,350
Cindy Hsu and James Lin                   903 14th St                       Santa Monica, CA 90403-3102           x   x   A7   Customer Deposit    26,819   3,350
Karen Scagliotti                          47 Sarteano                       Newport Coast, CA 92657               x   x   A7   Customer Deposit    26,775   3,350
Jesse Salzman                             11951 Wallingsford Rd             Los Alamitos, Ca 90720                x   x   A7   Customer Deposit    26,772   3,350
Janet Huang                               8 Still Water                     Newport Coast, CA 92657-1642                  A7   Customer Deposit    26,768   3,350
Iman Bar                                  209 Via Koron                     Newport Beach, CA 92663                       A7   Customer Deposit    26,726   3,350
Lori Honeyman                             2707 Mackinnon Ranch Rd           Cardiff, CA 92007-2208                        A7   Customer Deposit    30,111   3,350
Charles Niles JR                          25175 Jim Bridger Rd              Hidden Hills, CA 91302-1182                   A7   Customer Deposit    26,663   3,350
Kelly & Andrew Ricker                     13141 Sandhurst Pl                Santa Ana, CA 92705-2136                      A7   Customer Deposit    26,657   3,350
Prestige Cabinets                         650 S. Grand Ave. Ste. 106        Santa Ana, CA 92705                           A7   Customer Deposit    26,624   3,350
LCI CONSTRUXION                           9423 Healy Trl                    Chatsworth, CA 91311-7027                     A7   Customer Deposit    26,595   3,350
Sana Mansour                              1761 Layne Pl                     El Cajon, CA 92019-4265                       A7   Customer Deposit    26,575   3,350
Iman Alami                                16131 Royal Oak Rd                Encino, CA 91436                              A7   Customer Deposit    26,551   3,350
Jake Wilson                               234 Palmer Street                 Costa Mesa, CA 92627                          A7   Customer Deposit    26,564   3,350
Neek LLC                                  260 Santa Isabel Ave              Costa Mesa, CA 92627-1562                     A7   Customer Deposit    26,500   3,350
ANKE & MICHAEL HANKEM                     144 Loma Ln                       San Clemente, CA 92672-4721                   A7   Customer Deposit    26,466   3,350


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                     Case 24-01376-CL7
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COAT Design & Remodel - Baarstad
Residence                     PO BOX 1461                      162
                                                               101
                                                         Carlsbad, CA 92028                  A7   Customer Deposit    26,432                                    3,350
Brendan & Bronte Murphy                      1335 28th St                         San Diego, CA 92102                          A7   Customer Deposit   26,364   3,350
Interior Designs By Monique Brown            601 Avenida Sevilla Unit H           Laguna Woods, CA 92637-4553          x   x   A7   Customer Deposit   26,357   3,350
Elizabeth Parker                             307 Colleen place                    Costa mesa, CA 92627                         A7   Customer Deposit   26,350   3,350
Utah Lot 1 Dancing Sun                       260 Newport Center Dr                Newport Beach, CA 92660-7520         x   x   A7   Customer Deposit   26,337   3,350
Vivian Schoug                                4602 Park Mirasol                    Calabasas, CA 91302                          A7   Customer Deposit   26,303   3,350

Rebecca Foster Design - Sea Skiff Project    677 19th St                          Manhattan Beach, CA 90266-2508       x   x   A7   Customer Deposit   26,285   3,350
Jin Ser Park                                 4400 Woodleigh Ln                    La Canada, CA 91011-3541                     A7   Customer Deposit   26,277   3,350
Allito Design Studio                         1233 TOURNALINE ST                   SAN DIEGO, CA 92109                          A7   Customer Deposit   26,219   3,350
Jessica Johnson                              122 West Avenido Cordova             San Clemente, CA 92672               x   x   A7   Customer Deposit   26,173   3,350
Jim & Perry Salvito-Norton                   805 Puente Dr                        Santa Barbara, CA 93110-2032                 A7   Customer Deposit   26,168   3,350
Clark and Leslie Rorbach                     2861 Ocean Front Walk                San Diego, CA 92109-8152                     A7   Customer Deposit   26,148   3,350
PETER SUN                                    5850 SAGEBRUSH RD                    LA JOLLA, CA 92037                   x   x   A7   Customer Deposit   26,115   3,350
Shanon Kramer                                21841 Harborbreeze Ln                Huntington Beach, CA 92646                   A7   Customer Deposit   26,070   3,350
TERI & TONY BALLARD                          2455 SANTA ANA AVE                   Costa Mesa, Ca 92627                         A7   Customer Deposit   26,020   3,350
Stef & Michael Wong                          12502 Singing Wood Dr                North Tustin, CA 92705-3466                  A7   Customer Deposit   32,802   3,350
JRM Construction Inc.                        10282 Trask Ave Suite #C             Garden Grove, Ca 92843                       A7   Customer Deposit   25,875   3,350
Ashan & Sam Leslie                           2489 Tuscany Heights Dr              Palm Springs, CA 92262-2733                  A7   Customer Deposit   25,843   3,350
Cliff Martinez                               2400 Summit to Summit Parkway        Topanga, CA 90290                            A7   Customer Deposit   25,840   3,350
GEORGIA TAPERT HOWE DESIGN                   555 S Norton Ave                     Los Angeles, CA 90020-4610                   A7   Customer Deposit   29,630   3,350
ALISTAIR BELTON                              417 1/2 Fernleaf Ave                 Corona del Mar, CA 92625-2189                A7   Customer Deposit   25,790   3,350
Tim and Susan Epp                            4512 Wayne Rd                        Corona del Mar, CA 92625                     A7   Customer Deposit   25,760   3,350
Manya Khrobyan                               983 Calle Amable                     Glendale, CA 91208                           A7   Customer Deposit   25,708   3,350
Jim and Shauna Watson                        7570 Cabrillo Ave                    La Jolla, CA 92037-5205                      A7   Customer Deposit   25,655   3,350
Gregg Balis                                  38 Belmonte Dr                       Palm Desert, CA 92211                x   x   A7   Customer Deposit   25,624   3,350
Nicholson Companies                          1 Corporate Plaza Dr Ste 110         Newport Beach, CA 92660-7924         x   x   A7   Customer Deposit   25,622   3,350
Megan & Scott Freitas                        4565 Saddle Mountain Ct              San Diego, CA 92130-2452             x   x   A7   Customer Deposit   25,533   3,350
John & Marcia Fenn                           20150 Avenida de Arboles             Murrieta, CA 92562-8878                      A7   Customer Deposit   25,531   3,350
TRACI MCGOWAN                                7550 EAVS AVE                        LA JOLLA, CA 92037                   x   x   A7   Customer Deposit   25,427   3,350
Zack Savitz                                  3922 Melbourne Ave                   Los Angeles, CA 90027-4638                   A7   Customer Deposit   25,400   3,350
Kiumars Arzani                               19563 Rosita Ave                     Tarzana, CA 91356                            A7   Customer Deposit   25,393   3,350
GLC & Matasco Enterprises Inc.               P.O. Box 11388                       Newport Beach, CA 92658              x   x   A7   Customer Deposit   25,342   3,350
Natlie Burch Jennie Kress                    2025 Meadow Valley Ter               Los Angeles, CA 90039-3533           x   x   A7   Customer Deposit   25,333   3,350
Ted & Roxana Herrick                         611 Lido Park Dr Unit 5D             Newport Beach, CA 92663                      A7   Customer Deposit   25,326   3,350
KAZONI CONSTRUCTION                          8212 Kingfisher Dr                   Huntington Beach, CA 92646-5535      x   x   A7   Customer Deposit   25,322   3,350
Behina Baher                                 2 Turtle Bay Drive                   Newport Beach, CA 92660                      A7   Customer Deposit   25,302   3,350
Tamara Achauer                               69 Rivo Alto Canal                   Long Beach, CA 90803-4040                    A7   Customer Deposit   25,116   3,350
Preston McLewee                              1627 Anita Ln                        Newport Beach, CA 92660-4803                 A7   Customer Deposit   25,112   3,350

MAT TRUJILLO DESIGN & CONSTRUCTION           948 E STOKER STREET                  GLENDALE, CA 91207                           A7   Customer Deposit   25,058   3,350
Ted Bose                                     80980 Vista Galope Trl               La Quinta, CA 92253-7523                     A7   Customer Deposit   24,983   3,350
Coast to Coast Home Solutions                4726 Oceanridge DR                   Huntington Beach, CA 92649           x   x   A7   Customer Deposit   24,957   3,350
Dan Tran                                     23 Woodlyn Lane                      Bradbury, CA 91008                   x   x   A7   Customer Deposit   24,873   3,350
PAIGE PIERCE DESIGN, LLC                     131 S. BARRINGTON PLACE STE. 250     LOS ANGELES, CA 90049                x   x   A7   Customer Deposit   24,833   3,350
Blu Peak Group                               3280 Veterans Blvd Suite 230         Fargo, ND 58104                              A7   Customer Deposit   24,827   3,350
Jeanne Carlin                                2733 Starbird Dr                     Costa Mesa, CA 92626-4800                    A7   Customer Deposit   24,784   3,350
Steve Meuchel Construction                   10400 Keokuk Ave                     Chatsworth, CA 91311                         A7   Customer Deposit   15,978   3,350

M Prevost Design - Patrick & Camille Wilson 3176 Sitio Sendero                    Carlsbad, CA 92009-6095                      A7   Customer Deposit   12,367   3,350
Will & Fotsch Architects - Evan & Yvette
Toma                                        1298 Prospect St                      La Jolla, CA 92037-3632              x   x   A7   Customer Deposit   24,724   3,350
PATTERSON CUSTOM HOMES - 319 VIA
LIDO SOUD                                   15 Corporate Plaza Dr Ste 150         Newport Beach, CA 92660              x   x   A7   Customer Deposit   47,345   3,350
Mark Stangl Construction                    824 San Luis Rey Ave                  Coronado, CA 92118-2344                      A7   Customer Deposit   24,663   3,350
Pat & Stacey Roth                           6 Brentwood                           Coto De Caza, CA 92679                       A7   Customer Deposit   24,616   3,350

Alldredge Builders Inc - Torrey Van Benten   559 E Ave                            Coronado, ca 92118                           A7   Customer Deposit   24,598   3,350
Aleta Cannon                                 31632 Jewel Ave                      Laguna Beach, CA 92651-8268          x   x   A7   Customer Deposit   24,503   3,350
Felicia Ferrari                              388 N Kenter Ave                     Los Angeles, CA 90049-2338                   A7   Customer Deposit   24,500   3,350
Lauren Sherman                               704 Midori Ct                        Solana Beach, CA 92075-1282                  A7   Customer Deposit   24,408   3,350
Daivd Reese                                  5730 Briarcliff Rd                   Los Angeles, Ca 90068                        A7   Customer Deposit   24,378   3,350
Moso Design Inc.                             3711 Lankershim Blvd                 Los Angeles, CA 90068-1219           x   x   A7   Customer Deposit   24,326   3,350
Tyler Development                            1932 Cotner Ave                      Los Angeles, CA 90025-5602                   A7   Customer Deposit   24,290   3,350
ZAKA BUILD STUDIO INC.                       111 Broadway Ste 101                 Oakland, CA 94607-3730                       A7   Customer Deposit   24,175   3,350
Maryam Samini J.D.                           2137 Aralia St                       Newport Beach, CA 92660-4131                 A7   Customer Deposit   24,150   3,350
Jessica Combs                                316 Cabrillo Rd                      Arcadia, CA 91007-6241               x   x   A7   Customer Deposit   24,129   3,350
Orange Innovation                            15122 Starboard St                   Garden Grove, CA 92843               x   x   A7   Customer Deposit   24,113   3,350
Alexis Manfer, Inc.                          28701 Paseo Miraloma                 San Juan Capistrano, CA 92675-5502           A7   Customer Deposit   24,088   3,350
Bibi Fell                                    9317 Fostoria Ct                     San Diego, CA 92127-2614             x   x   A7   Customer Deposit   24,066   3,350
The True House - Jon & Maria Lucas           16953 New Rochelle Way #64           San Diego, CA 92127                  x   x   A7   Customer Deposit   24,035   3,350
LAMMY LIN                                    2120 SAN PASQUAL ST                  PASADENA, CA 91107                           A7   Customer Deposit   26,635   3,350
Desmond Acosta                               1570 S Calle de Maria                Palm Springs, CA 92264-8504          x   x   A7   Customer Deposit   23,957   3,350
Kevin Hilderman                              3590 Camino Arena                    Carlsbad, CA 92009-9507                      A7   Customer Deposit   23,935   3,350
Boulevard Home Interiors                     30851 Marbella Corte                 San Juan Capistrano, CA 92675-1794           A7   Customer Deposit   23,934   3,350
Sahar Abassi                                 33811 Valle Road                     San Juan Capistrano, CA 92675                A7   Customer Deposit   23,910   3,350
Alice Xiao                                   5279 Coastal Sage Trl                San Diego, CA 92130-5072             x   x   A7   Customer Deposit   23,867   3,350
Grounded Lanscape Architect                  6667 Duck Pond Ln                    San Diego, CA 92130-6827                     A7   Customer Deposit   23,847   3,350
Raphael and Christine Eskenazi               15279 Carretera Dr                   Whittier, CA 90605                           A7   Customer Deposit   23,726   3,350
AESTHETIX INTERIOR DESIGN LLC                8023 Beverly Blvd Suite1 #1156       LOS ANGELES, CA 90048                        A7   Customer Deposit   23,810   3,350
Rick/Ruth Glick                              29843 Red Mountain Dr                Valley Center, CA 92082-4730                 A7   Customer Deposit   23,717   3,350
Lizette Martinez Sarah Ayers                 1899 Lucretia Ave                    Los Angeles, Ca 90026                x   x   A7   Customer Deposit   23,700   3,350
Lizzie & Matt Logelin                        1231 Iverness Dr.                    La Canada, Ca 91011                          A7   Customer Deposit   23,660   3,350
Stephanie Van Daele                          2807 Blue Water Dr                   Corona del Mar, CA 92625-1304        x   x   A7   Customer Deposit   23,631   3,350
Chetna Pathak                                8471 Sugarman Dr                     La Jolla, CA 92037                   x   x   A7   Customer Deposit   23,627   3,350
Michael and Melissa Tralla                   1550 Cheswick crt                    El Cajon, CA 92020                           A7   Customer Deposit   23,568   3,350
Fineline Woodworks                           9321 Molokai Dr                      Huntington Beach, CA 92646-8337              A7   Customer Deposit   23,558   3,350
Letter Four Design Build                     12822 Washington Blvd                Los Angeles, CA 90066                        A7   Customer Deposit   49,836   3,350
Anais Rodgers                                1754 N Avenue 53                     Los Angeles, CA 90042-1102                   A7   Customer Deposit   23,447   3,350
McCormick & Wright Interiors - Deirdra
Price                                        1760 Avenida Del Mundo, #1604-1605   Coronado, CA 92118                   x   x   A7   Customer Deposit   45,008   3,350
THE WORKHOUSE WORLDWIDE                      9950 Jefferson Blvd Ste 3            Culver City, CA 90232-3531                   A7   Customer Deposit   23,320   3,350
Becky Mezzino                                6505 Paseo Delicias PO Box 838       Rancho Santa Fe, CA 92067            x   x   A7   Customer Deposit   55,213   3,350
Larry Raab                                   163 Norfolk Dr                       Cardiff by the Sea, CA 92007-2033            A7   Customer Deposit   23,280   3,350
Leilani Woodson                              5371 E El Parque St                  Long Beach, CA 90815-4248                    A7   Customer Deposit   23,275   3,350

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                    Case 24-01376-CL7
                         24-01376-CL7 Filed    Filed 05/03/24
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                                                                                                                             59 of of
Wolf Hunter LLC              4653 White Oak Pl                Encino, CA 91316-4336         x x    A7   Customer Deposit    23,253                                               3,350
Dani Nisim                   2604 Claygate Ct                       162
                                                                    101
                                                              Los Angeles, Ca 90077                A7   Customer Deposit    23,250                                               3,350
Caliber Construction & Remodeling -
Skinner                                  4328 Goldfinch St                                         San Diego, CA 92103-1315                    A7   Customer Deposit    23,203   3,350
Karin and Gary Eastham                   16875 Via Los Farolito                                    Rancho Santa fe, CA 92067           x   x   A7   Customer Deposit    23,070   3,350
Miriamco Medical llc.                    1830 Ave. Del Mundo #611                                  Coronado, CA 92118                  x   x   A7   Customer Deposit    23,044   3,350
Mary Krieger                             932 Crocus Cir                                            Costa Mesa, CA 92626                        A7   Customer Deposit    23,042   3,350
Richard Holz, INC.                       520 S Sepulveda Blvd Ste 407 C/O Matt Boyd 310-617-5440   Los Angeles, CA 90049-3547                  A7   Customer Deposit    23,042   3,350
Horist Construction                      3330 Kashiwa Street                                       Torrance, CA 90505                          A7   Customer Deposit    27,391   3,350
Wendy + Harlan Spinner                   16120 Woodvale Rd.                                        Encino, CA 91436                            A7   Customer Deposit    23,013   3,350
allan and mary miller                    4417 Huerfano Ave                                         San Diego, CA 92117-3519                    A7   Customer Deposit    23,012   3,350
Adam and Lori Saitman                    42 Vista del Sol                                          Laguna Beach, CA 92651-6722         x   x   A7   Customer Deposit    58,079   3,350
James & Ashley Forman                    25182 Mustang Dr                                          Laguna Hills, CA 92653-5745         x   x   A7   Customer Deposit    22,902   3,350
Erin Kelly                               4559 Saratoga Ave.                                        San Diego, Ca 92107                         A7   Customer Deposit    47,514   3,350
Molly Ephraim                            14790 Round Valley Dr.                                    Sherman Oaks, CA 91403                      A7   Customer Deposit    22,780   3,350
Nicholas Lawrence Design                 82540 Airport Blvd                                        Thermal, CA 92274                           A7   Customer Deposit    22,766   3,350
Four by Four Const Whale Watch           8490 Whale Watch way                                      La Jolla, CA 92037                          A7   Customer Deposit    22,757   3,350
Nena Brogan                              116 Diamond Dr                                            Newport Beach, CA 92662                     A7   Customer Deposit    22,728   3,350
Emily Wohlgemuth                         1987 Irvine Ave                                           Costa Mesa, CA 92627-2378           x   x   A7   Customer Deposit    22,687   3,350
Elise Crevier                            513 W Terrace St                                          Altadena, CA 91001                          A7   Customer Deposit    22,685   3,350
Eric & Danielle Conner                   5514 La Jolla Blvd Ste A                                  La Jolla, CA 92037-7611                     A7   Customer Deposit    29,461   3,350
Patty Freeman Design                     718 Calle Monserrat                                       San Clemente, CA 92672              x   x   A7   Customer Deposit    24,052   3,350
Paula Bower                              28 Midsummer                                              Newport Coast, CA 92657-2127                A7   Customer Deposit    22,610   3,350
Blythe Interiors - Rory Brening          730 Emerald Court                                         San Diego, CA 92109                 x   x   A7   Customer Deposit    22,569   3,350
Nadia Conard                             5846 Eldergardens St                                      San Diego, CA 92120-3728                    A7   Customer Deposit    22,534   3,350
Dave & Stacey Schack                     3173 Marwick Ave                                          Long Beach, CA 90808-3610                   A7   Customer Deposit    22,524   3,350
Michael Saylor                           2365 Orange Ave                                           Costa Mesa, CA 92627                        A7   Customer Deposit    22,488   3,350
Felicia Bell                             1330 Orange Ave Ste 190                                   Coronado, CA 92118-3904             x   x   A7   Customer Deposit    22,464   3,350
Creative Building Specialties            PO Box 1940                                               Oceanside, CA 92051-1940                    A7   Customer Deposit   109,524   3,350
Christa Perry                            1863 Camanito Quintero                                    La Jolla, CA 92037                  x   x   A7   Customer Deposit    22,336   3,350
Cez Michelle Tan Bryan Tan Choco         21069 Sandpiper St                                        Walnut, CA 91789                    x   x   A7   Customer Deposit    23,618   3,350
Sue Moss                                 6988 Santa Fe Canyon Pl                                   San Diego, CA 92129                 x   x   A7   Customer Deposit    22,278   3,350
Mullen Design Co - Stefen and Kathy
Boehme                                   1904 Circle Park Ln                                       Encinitas, CA 92024-1928                    A7   Customer Deposit    22,278   3,350
Emma Zhong                               25 Belmonte                                               Irvine, CA 92620                            A7   Customer Deposit    22,261   3,350
Ani Zaghikian                            1623 Camino de Villas                                     Burbank, CA 91501-1107                      A7   Customer Deposit    22,150   3,350
Laurel Vanderhook                        901 Kings Road                                            Newport Beach, CA 92660             x   x   A7   Customer Deposit    22,078   3,350
Bryan Perraud                            1006 Somerset Ln.                                         Newport Beach, CA 92660                     A7   Customer Deposit    22,055   3,350
Julie Powers                             1104 Sandcastle Drive                                     Corona del Mar, CA 92625            x   x   A7   Customer Deposit    22,026   3,350
Francesca and Brian Boget                64298 Silver Star Ave                                     Desert Hot Springs, CA 92240-7700   x   x   A7   Customer Deposit    21,873   3,350
James McIntyre Interior Design LP        6615 N Scottsdale Road #109                               Scottsdale, Az 85250                        A7   Customer Deposit    21,869   3,350
Carolyne Ferguson Design                 Po Box 5490                                               Montecito, Ca 93150                 x   x   A7   Customer Deposit    72,100   3,350
Bill Jordan                              10853 Galvin St.                                          Culver City, CA 90210                       A7   Customer Deposit    21,860   3,350
Hello Home Interior Design               4373 Canterbury Drive                                     La Mesa, CA 91941                           A7   Customer Deposit    21,793   3,350
Armen Grigorian                          1625 Camulos Ave                                          Glendale, CA 91208-2408                     A7   Customer Deposit    21,781   3,350
Dabble Design                            7646 Primavera Way                                        Carlsbad, CA 92009-8236                     A7   Customer Deposit    43,146   3,350
ALT Design Studio                        9942 Voyager Cir                                          Huntington Beach, CA 92646-6527     x   x   A7   Customer Deposit    21,736   3,350
Amanda Murphy                            6590 Avenida Mirola                                       La Jolla, CA 92027                          A7   Customer Deposit    21,726   3,350
DANIELA VERBENA                          14439 GLORIETTA DR                                        SHERMAN OAKS, CA 91423                      A7   Customer Deposit    21,595   3,350
John Gilbert                             620 N Rose Ave                                            Palm Springs, CA 92262-4137                 A7   Customer Deposit    21,514   3,350
JOHN CHEUNG                              5383 Kalein Dr                                            Culver City, CA 90230-5308          x   x   A7   Customer Deposit    13,488   3,350
Susie Rivadeneyra Interior Design        221 Calle Serena                                          San Clemente, CA 92672-4323         x   x   A7   Customer Deposit    21,509   3,350
Nettle Creek Interiors                   1364 Cassins                                              Carlsbad, CA 92011                  x   x   A7   Customer Deposit    21,500   3,350
David Stewart                            16228 Camino Arriba                                       Ramona, Ca 92065                            A7   Customer Deposit    21,481   3,350
VM Enterprises                           3791 Vista Pt                                             Bonita, CA 91902-1100                       A7   Customer Deposit    21,438   3,350
Talin Sarkisov                           2100 Rimcrest Dr                                          Glendale, CA 91207-1057                     A7   Customer Deposit    21,425   3,350
Carlos Garcia                            3019 Asbury St                                            Los Angeles, CA 90065               x   x   A7   Customer Deposit    21,420   3,350
Brad and Carol McNealy                   1223 Emerald Bay                                          Laguna Beach, CA 92651              x   x   A7   Customer Deposit    21,308   3,350
Michelle Hay                             1629 White Oak St                                         Costa Mesa, CA 92626-3724           x   x   A7   Customer Deposit    21,231   3,350
Antonia Bowermaster                      6722 Lawn Haven Dr                                        Huntington Beach, CA 92648                  A7   Customer Deposit    21,216   3,350
Colleen Saftler                          12722 Halkirk street                                      Studio City, CA 91604                       A7   Customer Deposit    21,200   3,350
Ehsan Nasery                             6497 Calle del Alcaczar                                   Rancho Santa Fe, CA 92067           x   x   A7   Customer Deposit    21,182   3,350
Christine Hacobian                       3105 Elvido Dr                                            Los Angeles, CA 90049-1109          x   x   A7   Customer Deposit    21,152   3,350
Cory Kingston Designs                    1220 23rd St                                              Manhattan Beach, CA 90266                   A7   Customer Deposit   117,276   3,350
RICHARD VAN METER                        33 DRACKERT LN                                            LASDERA RANCH, CA 92694                     A7   Customer Deposit    21,034   3,350
Michael Pak                              1243 North Common Wealth Ave.                             Los Angeles, CA 90029               x   x   A7   Customer Deposit    21,000   3,350
May & Rafi Mazor                         5195 Chelterham Terrace                                   San Diego, CA 92130                 x   x   A7   Customer Deposit    21,000   3,350
Dania Wareh                              9900 Moon River                                           Fountain Valley, Ca 92708           x   x   A7   Customer Deposit    20,999   3,350
Peter Schnugg                            359 Sea Ln                                                La Jolla, CA 92037-4948             x   x   A7   Customer Deposit    20,930   3,350
John Razzano                             401 E Bay St                                              Costa Mesa, CA 92627                x   x   A7   Customer Deposit    20,929   3,350
Melissa Sauve                            2049 E Glenoaks Blvd                                      Glendale, CA 91206-2911             x   x   A7   Customer Deposit    20,906   3,350
Jin O'Grady                              2655 Basswood St                                          Newport Beach, CA 92660-4107                A7   Customer Deposit    20,902   3,350

Pence Building Ent. - 1439 Neptune Ave   1439 Neptune Ave                                          Encinitas, CA 92024-1434                    A7   Customer Deposit    20,860   3,350
Waterpointe                              3500 East Pacific Coast Highway Suite 110                 Newport Beach, CA 92662                     A7   Customer Deposit    20,836   3,350
Dave Breazeale                           26872 Estanciero Dr                                       Mission Viejo, CA 92691-5501        x   x   A7   Customer Deposit    20,836   3,350
Katie & Peter Giffin                     10886 Creekbridge Pl                                      San Diego, CA 92128-5101                    A7   Customer Deposit    20,814   3,350
Jodi & Nikki Coffman                     126 23rd St                                               Costa Mesa, CA 92626                        A7   Customer Deposit    20,763   3,350
MICHAEL & NANCY BUSHELL                  5410 La Jolla Blvd Unit A303                              La Jolla, CA 92037                  x   x   A7   Customer Deposit    20,716   3,350
MARTHA CHRISTIE                          623 Valley Grove Lane                                     Escondido, CA 92025                         A7   Customer Deposit    20,685   3,350
HAUS OF DESIGN HOD LLC                   120 VIRGINIA PL #201                                      COSTA MESA, CA 92627                        A7   Customer Deposit    20,671   3,350
John & Lucinda Rhoades                   2720 W Canyon Ave                                         San Diego, CA 92123-4682            x   x   A7   Customer Deposit    20,631   3,350
Sunil Sreerama                           5821 Laramie Ave                                          Woodland Hills, CA 91367-5527               A7   Customer Deposit    20,611   3,350
Tim & Erin Goodell                       108 Via Havre                                             Newport Beach, CA 92663-4905                A7   Customer Deposit    20,588   3,350
EHC INC                                  15853 Monte St C107                                       Sylmar, CA 91342                    x   x   A7   Customer Deposit    20,563   3,350
Will & Fotsch Architects - Nancy
Clementino                               975 Nob Ave.                                              Del Mar, CA 92014                           A7   Customer Deposit    20,555   3,350
Brixton Builders - Quiet Pl Project      113 Quiet Place                                           Irvine, CA 92602                            A7   Customer Deposit    20,555   3,350
FK Interior Design                       4355 Coronet Dr                                           Encino, CA 91316-4324               x   x   A7   Customer Deposit    20,553   3,350
M & M INTERIORS                          17722 Chatsworth St                                       Granada Hills, CA 91344-5603                A7   Customer Deposit    20,520   3,350
Nancy Ennis                              214 Via Alegre                                            San Clemente, CA 92672-3614                 A7   Customer Deposit    20,455   3,350
JACOBO LANIADO CATTAN                    5702 Meadows del Mar                                      San Diego, CA 92130-4868                    A7   Customer Deposit    20,453   3,350
Michael & Gabriela Flanders              30 Paseo Alba                                             San Clemente, CA 92672              x   x   A7   Customer Deposit    20,389   3,350
Landscape Artistry Inc                   1155 Camino Del Mar #555                                  Del Mar, CA 92014                   x   x   A7   Customer Deposit    20,323   3,350
Matt Berlin                              3708 Elliott Street                                       San Diego, CA 92106                 x   x   A7   Customer Deposit    20,320   3,350
JOHN PAUL TURNER                         73574 El Hasson Cir                                       Palm Desert, CA 92260-5850                  A7   Customer Deposit    20,310   3,350

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                    Case 24-01376-CL7
                         24-01376-CL7 Filed     Filed 05/03/24
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Anna & George Hasbun         459 Juniper Dr.                   Pasadena, Ca 91105                  A7   Customer Deposit    20,286                                          3,350
Russ Vanderbiesen            4667 Telescope Ave                      162
                                                                     101
                                                               Carlsbad, CA 92008-3766      x x    A7   Customer Deposit    20,216                                          3,350
Peter Polos                              1 Hermitage Lane                                       Newport Beach, CA 92660                   A7   Customer Deposit    20,198   3,350
Nami Van Elk                             145 Lowell Ave                                         Sierra Madre, CA 91024            x   x   A7   Customer Deposit    51,261   3,350
RON SAWYER CONSTRUCTION                  78525 Avenue 41                                        Bermuda Dunes, CA 92201           x   x   A7   Customer Deposit    98,474   3,350
Sea Creative Studio                      1347 North Sedwick, Unit PH                            Chicago, IL 60610                 x   x   A7   Customer Deposit    20,005   3,350
EOS Architecture                         7542 Fay Ave                                           La Jolla, CA 92037-4854                   A7   Customer Deposit    20,000   3,350
VILLA BLANCA HOMES, INC.                 1734 HAYNES LN                                         REDONDO BEACH, CA 90278                   A7   Customer Deposit    20,000   3,350
Joanne Miller                            21091 Indio Cir                                        Huntington Beach, Ca 92646                A7   Customer Deposit    20,000   3,350
Natalie Capra                            1433 Laveta Ter                                        Los Angeles, CA 90026-3323        x   x   A7   Customer Deposit    20,000   3,350
Joan Rubin                               18211 Via De Sueno                                     Rancho Santa Fe, CA 92067                 A7   Customer Deposit    20,000   3,350
Larry & Janice Lesser                    27415 Trabuco Cir                                      Mission Viejo, CA 92692-1939              A7   Customer Deposit    10,000   3,350
Amy Fitzpatrick                          2495 Riviera Dr                                        Laguna Beach, CA 92651-1013               A7   Customer Deposit    19,969   3,350
Jennifer Farnham                         15633 Rising River Pl N                                San Diego, CA 92127-5100          x   x   A7   Customer Deposit    19,940   3,350
ARTECH CONSTRUCTION                      1159 ONEONTA DRIVE                                     BEVERLY HILLS, CA 90210                   A7   Customer Deposit    19,886   3,350
KEITH LAURER                             42 Bahama Bnd                                          Coronado, CA 92118-3219                   A7   Customer Deposit    19,878   3,350
R.J. and Kelly Sommerdyke                720 Iris Avenue                                        Corona del Mar, CA 92625          x   x   A7   Customer Deposit    19,863   3,350
Amy & Betim Berisha                      16391 Magellan Lane                                    Huntington Beach, CA 92647                A7   Customer Deposit    19,841   3,350
Karen MathiesenBrown Design              555 no. El Camino Real # A394                          San Clemente, CA 92694            x   x   A7   Customer Deposit    19,810   3,350
Clint McKinnon                           1457 Calle Marbella                                    Oceanside, CA 92056                       A7   Customer Deposit    19,775   3,350
Studio McGee                             13707 S 200 W Ste 600 Brittany Baiza@Studiomcgee Com   Draper, UT 84020-2442                     A7   Customer Deposit    18,749   3,350
Shun Nagasaka Designs                    4720 Druid St                                          Los Angeles, CA 90032-3250                A7   Customer Deposit    19,703   3,350
Alarife Realty LLC                       657 Margarita Ave, Coronado                            Coronado, CA 92118                x   x   A7   Customer Deposit    96,558   3,350
Marrokal Design & Remodeling - Kai &
Raelene Wissinger                        9474 Kearny Villa Rd Ste 205                           San Diego, CA 92126-4597          x   x   A7   Customer Deposit    19,599   3,350
PETE & Mimi TASIOPOULOS                  500 Catalina Rd                                        Fullerton, CA 92835-2419                  A7   Customer Deposit    19,529   3,350
Becky White                              78691 Deacon Dr E                                      La Quinta, CA 92253-7315                  A7   Customer Deposit    19,466   3,350
Jillian Gordon                           23311 Via Dorado                                       Coto de Caza, CA 92679-3922               A7   Customer Deposit    19,456   3,350

Chad & Cari Peets - 76 Golden Eagle Project 76 Golden Eagle                                     Irvine, CA 92603-0309                     A7   Customer Deposit    19,455   3,350
San Marino Homes                            2460 Cumberland Rd.                                 San Marino, CA 91108                      A7   Customer Deposit    19,374   3,350
Sarah Perez                                 3076 Glenhurst Ave                                  Los Angeles, CA 90039                     A7   Customer Deposit    19,362   3,350
Carole Markstein                            PO Box 354                                          Rancho Santa Fe, CA 92067-0354            A7   Customer Deposit    19,349   3,350
Liz & Jason Kim                             11141 Wickford Dr                                   Santa Ana, CA 92705-2363                  A7   Customer Deposit    19,340   3,350
Maggie Hunt                                 14788 Via Mantova                                   San Diego, CA 92127-3816                  A7   Customer Deposit    19,297   3,350
Tali Thomas                                 7264 Canyon Glen Ct                                 San Diego, CA 92129-2248                  A7   Customer Deposit    19,252   3,350
Bennett Peji Design                         7770 Regents Rd Suite 113-348                       San Diego, ca 92122               x   x   A7   Customer Deposit    19,230   3,350
Benjy + Ellen Grinberg                      11432 Aqua Vista St                                 Studio City, CA 91604-2966                A7   Customer Deposit    19,215   3,350
Andrea Bruley, INCD                         278 Beach St                                        Laguna Beach, CA 92651-2105       x   x   A7   Customer Deposit    32,892   3,350
Bojaz Development LLC                       49 Echo Glen                                        Irvine, Ca 92603                  x   x   A7   Customer Deposit    19,209   3,350
Red Rock Developers                         10067 Grandview Dr                                  La Mesa, CA 91941-6837                    A7   Customer Deposit    19,172   3,350
June Design Company - Cardiff Project       2107 Edinburg Ave                                   Cardiff, CA 92007-1804                    A7   Customer Deposit    19,154   3,350
William Benbassat                           2244 Weybridge Ln                                   Los Angeles, CA 90077-1342                A7   Customer Deposit    33,691   3,350
Teresa Butler                               13151 Caminito Mendiola                             San Diego, CA 92130                       A7   Customer Deposit    19,090   3,350
Venkatesh Inti                              3027 Hartman Way                                    San Diego, Ca 92117                       A7   Customer Deposit    19,086   3,350
Design Twenty 7                             889 Braewood Cort                                   South Pasadena, CA 91030                  A7   Customer Deposit    19,043   3,350
GAY & BOB GIARRATANO                        1099 FIRST STREET, #407                             SAN DIEGO, CA 92118                       A7   Customer Deposit    19,027   3,350
Tyler Underwood                             2810 Shenandoah Dr                                  Chula Vista, CA 91914-2648                A7   Customer Deposit    19,020   3,350
Ivan & Emily Salzedo                        5242 Cromwell Court                                 San Diego, Ca 92116                       A7   Customer Deposit    19,000   3,350
Ron Kassab                                  801 Seacoast Dr                                     Imperial Beach, CA 91932-1802     x   x   A7   Customer Deposit   133,340   3,350
Celine Finnerty                             2105 Colina Vista Way                               Costa Mesa, CA 92627-1873                 A7   Customer Deposit    18,953   3,350
Leslie Wheaton                              509 1/2 Orchid Ave                                  Corona del Mar, CA 92625-2471             A7   Customer Deposit    18,880   3,350
Carly Dobson                                346 62nd St                                         Newport Beach, CA 92663-1902      x   x   A7   Customer Deposit    18,847   3,350
Susan Trieb                                 1099 First Street #408                              Coronado, CA 92118                        A7   Customer Deposit    18,785   3,350
CATHY CHIEN                                 2243 Silver Ridge Ave                               Los Angeles, CA 90039-3641                A7   Customer Deposit    18,776   3,350
Juan Gallardo                               8515 Lindante Drive                                 Whittier, CA 90603                        A7   Customer Deposit    18,754   3,350
Kathleen Hutton Klein                       1 Park Pl                                           Newport Beach, CA 92663-4738              A7   Customer Deposit    18,745   3,350
POPPY INTERIORS                             TIFFANIE HSU 4217 Cumberland Ave                    Los Angeles, CA 90027-1519                A7   Customer Deposit    18,727   3,350
Diana Grajeda                               908 N Olive Ave                                     Alhambra, CA 91801-1345                   A7   Customer Deposit    18,700   3,350
Pacific Edge Builders                       1360 Rosecrans St                                   San Diego, CA 92106-2639          x   x   A7   Customer Deposit    28,342   3,350
Peter Lunny                                 177 Obsidian Loop North                             Palm Springs, CA 92264            x   x   A7   Customer Deposit    18,678   3,350
Sabra Ackerman                              3720 Blue Key                                       Corona Del Mar, CA 92625                  A7   Customer Deposit    18,665   3,350

Eco Minded Solutions - Shelley Neiman    3650 Front St                                          San Diego, CA 92103-4005                  A7   Customer Deposit    18,644   3,350
Tara Devlin                              5424 Soledad Rd                                        La Jolla, CA 92037-7042                   A7   Customer Deposit    18,635   3,350
hien nguyen                              9861 toucan cir                                        fountain valley, ca 92708                 A7   Customer Deposit    18,628   3,350
Lisa Guerra                              223 21st St                                            Huntington Beach, CA 92648-3915   x   x   A7   Customer Deposit    18,624   3,350
Maryam Sokhan Sanj                       23347 Ridge Line Rd                                    Diamond Bar, CA 91765-3004        x   x   A7   Customer Deposit    18,263   3,350
Jay Soni                                 11 Point Loma Drive                                    Corona del Mar, CA 92625          x   x   A7   Customer Deposit    44,981   3,350
Jason and Heidi Prather                  6547 Paseo Delicias                                    RSF, CA 92067                             A7   Customer Deposit    18,581   3,350
Doris Shen                               10591 Oakbend Dr                                       San Diego, CA 92131-2370                  A7   Customer Deposit     9,277   3,350
TriCal Construction                      4100 Del Rey Ave                                       Marina del Rey, CA 90292-5604             A7   Customer Deposit    18,513   3,350
DVT Remodel                              4612 4th St                                            La Mesa, CA 91941-5591                    A7   Customer Deposit    18,361   3,350
Legacy Interior Design, LLC              19800 MacArthur Blvd                                   Irvine, CA 92612-2421                     A7   Customer Deposit    18,333   3,350
Doreen Hutton Interior Design            5382 Greenwillow Ln                                    San Diego, CA 92130-6841          x   x   A7   Customer Deposit    18,326   3,350
Piedad & Javier Neri                     1412 Sunset Meadow Cir.                                Walnut, CA 91789                          A7   Customer Deposit    18,309   3,350
Lee Design Group - John Chau             10050 El Granito Ave                                   La Mesa, CA 91941-4313                    A7   Customer Deposit    18,166   3,350
Smith Brothers                           444 south cedros ave. #170                             Solana Beach, CA 92075                    A7   Customer Deposit    28,346   3,350
George Grout                             111 Research                                           Lake Forest CA, CA 92630                  A7   Customer Deposit    18,127   3,350
Sunil Patel                              17 Skyridge                                            Newport Coast, CA 92657-1815              A7   Customer Deposit    18,088   3,350
Patty Ashen                              272 Rochester st                                       Costa Mesa, CA 92627              x   x   A7   Customer Deposit    18,000   3,350
Salt and Stone Interiors                 734 Legion                                             Laguna Beach, CA 92651            x   x   A7   Customer Deposit    48,129   3,350
Robin Phillips                           16928 Simple Melody Lane                               San Diego, CA 92127               x   x   A7   Customer Deposit    17,837   3,350
Karen Bachofer                           4205 Madison Ave                                       San Diego, CA 92116                       A7   Customer Deposit    17,790   3,350
Pinnacle Custom Homes, California        26 Deep Sea                                            Newport Coast, CA 92657-2155              A7   Customer Deposit   123,672   3,350
Don Henely                               615 Wrelton Dr                                         La Jolla, CA 92037-7950           x   x   A7   Customer Deposit    17,661   3,350
Sandy Zarcades                           1900 Seadrift                                          Corona del Mar, CA 92625                  A7   Customer Deposit    17,661   3,350
Benjamin and Jennie Sacal                1780 AVENIDA DEL MUNDO UNIT 608                        CORONADO, CA 92118                        A7   Customer Deposit    17,643   3,350
STEVE BRANCONIER                         525 EL MIRADOR                                         FULLERTON, CA 92835               x   x   A7   Customer Deposit    17,625   3,350
Vadim and Ani Sahakian                   1310 J Lee Cir                                         Glendale, CA 91208-1730           x   x   A7   Customer Deposit    17,618   3,350
Deirdre Doherty Interiors, Inc.          451 N Norton Ave                                       Los Angeles, CA 90004-1519                A7   Customer Deposit    18,795   3,350
Daniel J Chenin Ltd.                     6785 S. Eastern Ave Ste 9                              Las Vegas, NV 89119               x   x   A7   Customer Deposit    17,485   3,350
Adam & Angelina MacDonald                71 Panorama                                            Coto de Caza, CA 92679-5361       x   x   A7   Customer Deposit    17,478   3,350
Anna Rode Design                         11971 Bajada Rd                                        San Diego, CA 92128                       A7   Customer Deposit    99,505   3,350
Makkan Design                            8175 E Kaiser Blvd Ste 202                             Anaheim, CA 92808-2214            x   x   A7   Customer Deposit    17,421   3,350
Heather Senner                           37 Sprucewood                                          Aliso Viejo, CA 92656-2117        x   x   A7   Customer Deposit    17,411   3,350

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                     Case 24-01376-CL7
                          24-01376-CL7 Filed   Filed 05/03/24
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Cindi Mullane                 123 Grandview St                Encinitas, Ca 92024                  A7   Customer Deposit    17,409                               3,350
Steelberg, Christina          2742 Circle Dr                        162
                                                                    101
                                                              Newport Beach, CA 92663              A7   Customer Deposit    17,339                               3,350
LIsa Moskowitz                              1210 LLano                               San Clemente, CA 92673                    A7   Customer Deposit    17,300   3,350
Precision Builders                          4721 Huron Ave                           San Diego, CA 92117-6210          x   x   A7   Customer Deposit    17,251   3,350
Nenu Singh                                  17237 Reflections Cir                    San Diego, CA 92127-7004                  A7   Customer Deposit    17,239   3,350
Jane & Michael Urman                        2420 Via Mero                            San Clemente, CA 92673-3903       x   x   A7   Customer Deposit    17,231   3,350
Mary Pagliarulo                             552 E Avenue                             Coronado, ca 92118                        A7   Customer Deposit    17,115   3,350
Mehul Patel                                 30507 Rhone Rancho                       Palos Verdes, CA 90275                    A7   Customer Deposit    17,082   3,350
Rebecca Foster Design - Sistos Project      665 17th St                              Manhattan Beach, CA 90266-4808    x   x   A7   Customer Deposit    17,072   3,350
Jeff & Korynne Wright                       74125 Quail Lakes Dr                     Indian Wells, CA 92210                    A7   Customer Deposit    17,052   3,350
Soo Jin Kim                                 4852 La Canada Blvd                      La Canada, CA 91011-2200          x   x   A7   Customer Deposit    17,034   3,350

Bryan Design Group - Todd and Mignon Hilts 14704 Via Mantova                         San Diego, CA 92127-3815          x   x   A7   Customer Deposit    23,851   3,350
Alec and Diana Faer                        21046 Carob Ln                            Mission Viejo, CA 92691-6627              A7   Customer Deposit    17,011   3,350
David Hobbins & Jane Pinckard              711 Superba Ave                           Venice, CA 90291-3868             x   x   A7   Customer Deposit    47,458   3,350

Marrokal Design & Remodeling - Kirk Drost   3100 Monroe St                           Carlsbad, CA 92008-1134                   A7   Customer Deposit    30,812   3,350
Bassma Moshe                                3124 Ashley Park Wy                      Jamul, CA 91935                   x   x   A7   Customer Deposit    16,919   3,350
Rich Castellano                             526 Sierra Vista                         Pasadena, CA 91107                        A7   Customer Deposit    16,842   3,350
Rick Bonnet                                 633 Big Canyon DR E                      Palm Springs, Ca 92264                    A7   Customer Deposit    16,813   3,350
Anna Coskunian                              1439 N. Columbus Ave                     Glendale, CA 91202                x   x   A7   Customer Deposit    16,809   3,350
Danusia Jacobs                              13460 Glencliff Way                      San Diego, CA 92130-1330          x   x   A7   Customer Deposit    16,756   3,350
Anna Shlafman                               14060 Valley Vista Blvd                  Sherman Oaks, Ca 91423                    A7   Customer Deposit    16,752   3,350
Jessica Jones Design Group                  2450 N. Heliotrope Dr.                   Santa Ana, CA 92706                       A7   Customer Deposit    16,707   3,350
KATHY LEGRAND                               513 Orchid Ave                           Corona del Mar, CA 92625-2424     x   x   A7   Customer Deposit    16,701   3,350
Charles Schlaff                             1709 Palau Pl                            Costa Mesa, CA 92626-3621         x   x   A7   Customer Deposit    16,698   3,350
Leslie Small                                2458 Chislehurst Dr                      Los Angeles, CA 90027                     A7   Customer Deposit    16,688   3,350
Brian Shaw                                  13852 Dall Ln                            North Tustin, CA 92705-2630               A7   Customer Deposit    16,684   3,350
Kaminskiy Design & Remodeling - Monica
Gill                                        1747 Swallowtail Rd                      Encinitas, CA 92024-1262                  A7   Customer Deposit    16,673   3,350
Julie Datnow                                8717 Cliffridge Ave                      La Jolla, CA 92037-2115           x   x   A7   Customer Deposit     8,329   3,350
Tanya Malk                                  5518 Candlelight Dr                      La Jolla, CA 92037-7711           x   x   A7   Customer Deposit    17,600   3,350
Lisa Goldberg                               1851 Bel Air Terrace                     Encinitas, CA 92024               x   x   A7   Customer Deposit    16,616   3,350
Chris Widera                                2275 Marks Dr                            Tustin, CA 92782-1176                     A7   Customer Deposit    16,592   3,350
AGAPEH ALLAHVERDI                           2536 MAYFIELD AVENUE                     MONTROSE, CA 91020                        A7   Customer Deposit    16,586   3,350
Jocelyn Scott                               5251 La Glorieta                         Rancho Santa Fe, CA 92067                 A7   Customer Deposit    16,529   3,350
Marrokal Design & Remodel - Hossain         8440 Via Rancho Cielo                    Rancho Santa Fe, CA 92067                 A7   Customer Deposit    16,516   3,350
Munsch Homes                                6030 El Tordo Suite D                    Rancho Santa Fe, CA 92067         x   x   A7   Customer Deposit   108,754   3,350
Chris Chang                                 2210 Hill St                             Santa Monica, CA 90405-5008       x   x   A7   Customer Deposit    16,471   3,350
Travis Harski                               653 Ross St                              Costa Mesa, CA 92627-3411                 A7   Customer Deposit    16,471   3,350
Susan and Ray Boyajian                      382 Saddlehorn Trl The Lakes Cc          Palm Desert, CA 92211-3295                A7   Customer Deposit    16,459   3,350
Stel Builders - Jeff & Andi Burbank         2594 Royal Saint James Dr                El Cajon, CA 92019-4415                   A7   Customer Deposit    16,454   3,350
Sanchez and Son Cabinet                     31 Agostino Rd,                          San Gabriel, Ca 91`776            x   x   A7   Customer Deposit    40,803   3,350
Jack Brown                                  79 Eagle St Apt 3L                       Brooklyn, NY 11222-6612                   A7   Customer Deposit    16,408   3,350
John Alioto                                 3614 Carleton street                     San Diego, CA 92106                       A7   Customer Deposit    20,606   3,350
Gaspar Ureta                                4600 E Coachlight Ln                     Tucson, AZ 85718-6934                     A7   Customer Deposit    16,369   3,350
Melissa Hickey                              14043 Durango Dr                         Del Mar, CA 92014-2948                    A7   Customer Deposit    16,362   3,350
Idalina Melo                                985 Begonia Ave                          Costa Mesa, CA 92626                      A7   Customer Deposit    16,299   3,350
Brownlee Residence                          1730 Avenida del mundo #907              Coronado, CA 92118                        A7   Customer Deposit    16,258   3,350
Margaret Baird Int. Design Studio - Perry
Project                                     7920 Dixie Lane                          San Diego, CA 92127                       A7   Customer Deposit    16,214   3,350
Alex and Mike Hamner                        4284 Skyline Road                        Carlsbad, CA 92008                        A7   Customer Deposit    16,178   3,350
Lillian Nadhir                              7967 La Jolla Scenic Dr N                La Jolla, CA 92037-3527           x   x   A7   Customer Deposit    16,178   3,350
Bothwell Company                            7660 Fay Ave # H406                      La Jolla, CA 92037-0021                   A7   Customer Deposit     5,041   3,350
Irvin Enterprises, LLC                      70 Paseo Vista                           San Clemente, CA 92673-6508       x   x   A7   Customer Deposit    16,108   3,350
Willow Designs by Bridget                   1700 Aviara Pkwy Ste 131651              Carlsbad, CA 92011-5129                   A7   Customer Deposit    16,076   3,350
Rose Militante                              2216 E White Lantern Ln                  Orange, CA 92867-1718                     A7   Customer Deposit    16,054   3,350
Zorawar & Priya Noor                        124 W. Yale Loop                         Irvine, CA 92604                  x   x   A7   Customer Deposit    17,336   3,350
Barbara Bowman                              3251 Laguna Canyon Rd Ste I2             Laguna Beach, CA 92651            x   x   A7   Customer Deposit    15,974   3,350
Eric Cheung                                 4765 Edgartown Dr                        Huntington Beach, CA 92649-6436           A7   Customer Deposit    15,935   3,350
Chris Brahms                                6952 Jackson Dr                          San Diego, CA 92119-3005          x   x   A7   Customer Deposit    15,935   3,350
Leanne Shih                                 5326 Foxhound Way                        San Diego, CA 92130               x   x   A7   Customer Deposit    15,935   3,350
Shanthan Gangupantula                       27855 Scrrenplay Pl                      Valencia, CA 91381-2011           x   x   A7   Customer Deposit    15,884   3,350
OAC Consulting                              554 Stratford Dr                         Encinitas, CA 92024-4544                  A7   Customer Deposit    15,880   3,350
Mark Klingsporn                             213 Marguerite Avenue                    Corona Del Mar, CA 92625                  A7   Customer Deposit    30,831   3,350
South Harlow Interiors - Matt & Sarah
Mahoney                                     5514 La Jolla Blvd                       La Jolla, CA 92037-7611                   A7   Customer Deposit    15,803   3,350
Tomaro Custom Homes, Inc                    2617 N Sepulveda Blvd Ste 100            Manhattan Beach, CA 90266-2738            A7   Customer Deposit    15,793   3,350
Christopher Witt and Bethany Karl           10 East Roseland                         La Jolla, CA 92037                        A7   Customer Deposit    18,860   3,350
Geraldine Lusker                            122 Velazquez                            San Clemente, CA 92672                    A7   Customer Deposit    15,716   3,350
Serendipity Design                          12861 Abra Pl                            San Diego, CA 92128-2330          x   x   A7   Customer Deposit    15,654   3,350
Mary Treisman                               520 11th St                              Santa Monica, CA 90402-2902               A7   Customer Deposit    15,590   3,350
Angelo Cosma                                20871 Charwood Ln                        Huntington Beach, CA 92646                A7   Customer Deposit    15,609   3,350
THE KITCHEN LADY                            32141 ALIPAZ STREET #H                   SAN JUAN CAPISTRANO, CA 92675             A7   Customer Deposit    15,600   3,350
Michael Brant-Zawadzki                      329 Dartmoor St                          Laguna Beach, CA 92651-1428               A7   Customer Deposit    15,593   3,350
Beverly Noonan                              1045 Cerro Largo Dr                      Solana Beach, CA 92075-1712               A7   Customer Deposit    15,573   3,350
Victoria Pagonis                            7741 Orangewood Ave                      Stanton, CA 90680-3509                    A7   Customer Deposit    15,562   3,350
Fred Lopez                                  162 Palencia                             Irvine, CA 92618-0899                     A7   Customer Deposit    28,730   3,350
Gillian Design                              5187 Nagle Ave                           Van Nuys, CA 91423                        A7   Customer Deposit    15,538   3,350
Helen Cashman                               4 Dunes Blf                              Newport Coast, CA 92657-2134              A7   Customer Deposit    15,531   3,350
Kim Grogan                                  1092 Evergreen St                        San Diego, CA 92106-2455                  A7   Customer Deposit    15,531   3,350
KEN & LINDSEY SAIN                          1233                                     MISSION VIEJO, CA 92679                   A7   Customer Deposit    15,524   3,350
Moe Ahmadi                                  6568 Balzac Cir                          Riverside, CA 92506-5364          x   x   A7   Customer Deposit    15,522   3,350
Jessica Manning                             4095 Lomaland Dr                         San Diego, CA 92106-2880          x   x   A7   Customer Deposit    15,514   3,350
Colab House                                 927 1/2 N Harper Ave                     West Hollywood, CA 90046-6805             A7   Customer Deposit    15,514   3,350
Kelly McCary                                1325 Pacific Hwy unit 405                San Diego, CA 92101                       A7   Customer Deposit    15,510   3,350
David Oh                                    497 Royce St                             Altadena, CA 91001-5214                   A7   Customer Deposit    15,509   3,350
Laura Clifford                              23 Samantha Dr                           Lafayette, CA 94549-4106                  A7   Customer Deposit    15,503   3,350
MRH Interiors                               1219 Hunter Street San Diego, CA 92103   San Diego, CA 92116               x   x   A7   Customer Deposit    15,481   3,350
C + P Architects                            3400 Airport Ave STE# 90                 Santa Monica, CA 90405            x   x   A7   Customer Deposit    15,459   3,350
Nicki Lange                                 120 Avenida Aragon                       San Clemente, CA 92672            x   x   A7   Customer Deposit    15,433   3,350
HOWARD HSIEH                                3810 SHADOW GROVE ROAD                   PASADENA, CA 91107                        A7   Customer Deposit    15,432   3,350
Peter Juel                                  11623 Dona Alicia Place,                 Studio City, CA 91604                     A7   Customer Deposit    15,417   3,350
La Costa Builders                           665 Requeza St                           Encinitas, CA 92024-3704          x   x   A7   Customer Deposit   105,443   3,350
Cargo Baja                                  2340 Marconi Ct                          San Diego, CA 92154-7241                  A7   Customer Deposit    15,379   3,350
Mike Damore                                 24042 Olivera Dr                         Mission Viejo, CA 92691-4112              A7   Customer Deposit    15,369   3,350

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                          24-01376-CL7 Filed       Filed 05/03/24
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                                                                                                                                 62 of of
Pam Childress                 1948 Port Laurent Pl                Newport Beach, CA 92660-7117         A7   Customer Deposit    15,368                      3,350
Jason and Wendy Richmond      1352 Holmby Ave                           162
                                                                        101
                                                                  Los Angeles, CA 90024-5112           A7   Customer Deposit    15,277                      3,350
Patricia Washington                         11 Corn Flower St                 Coto de Caza, CA 92679-5229                  A7   Customer Deposit   15,262   3,350
Sunrise Company                             300 Eagle Dance Circle            Palm Desert, CA 92211                        A7   Customer Deposit   15,219   3,350
Construction Wonders                        1001 Pine St                      Coronado, CA 92118-2418                      A7   Customer Deposit   42,463   3,350
Steve Poehlein Architecture                 811 North Mission Road            Palm Springs, Ca 92264               x   x   A7   Customer Deposit   11,096   3,350
Yoni Goldberg                               1533 Anita Ln                     Newport Beach, CA 92660-4802                 A7   Customer Deposit   15,176   3,350
Duende Design                               PO Box 927                        La Quinta, CA 92247-0927                     A7   Customer Deposit   15,163   3,350
Maestro Construction Inc                    20651 GOLDEN SPRINGS DR #345      Diamond Bar, CA 91789                        A7   Customer Deposit   15,110   3,350
Larry Armstrong                             27 Marana                         San Clemente, CA 92673-2730                  A7   Customer Deposit   15,076   3,350
Travis & Cailey Gabler                      7831 Henefer Ave                  Los Angeles, CA 90045-1142                   A7   Customer Deposit   15,031   3,350
Wrensted Interiors, LLC                     4425 Atlantic Ave Suite B12       Long Beach, CA 90807                         A7   Customer Deposit   15,000   3,350
Olivia Luce                                 31801 Isle Royal Dr               Laguna Niguel, CA 92677-2827                 A7   Customer Deposit   14,999   3,350
Johnny Li                                   113 Pastel                        Irvine, CA 92618                             A7   Customer Deposit   14,967   3,350
Michael and Suzanne Schoen                  3808 Topside Ln                   Corona del Mar, CA 92625-1626                A7   Customer Deposit   14,948   3,350
Jill Jones                                  1357 Cerritos Dr                  Laguna Beach, CA 92651-2816          x   x   A7   Customer Deposit   14,916   3,350
Studio H Design Group                       1202 KETTNER BLVD #103            SAN DIEGO, CA 92101                  x   x   A7   Customer Deposit   87,578   3,350
Sherry Calhoun                              1115 Alameda Blvd                 Coronado, CA 92118-2708              x   x   A7   Customer Deposit   14,881   3,350
Mindy Gold                                  939 Coast Blvd Unit 10G           La Jolla, CA 92037-4119                      A7   Customer Deposit   14,878   3,350
Collin Weitzman                             1155 Arden Dr                     Encinitas, CA 92024-5105             x   x   A7   Customer Deposit   14,840   3,350
Gary Leck                                   14228 Caminito Vistana            San Diego, CA 92130                          A7   Customer Deposit   16,777   3,350
Abbey Wagner                                321 Avenue E                      Redondo Beach, CA 90277                      A7   Customer Deposit   14,803   3,350
Premier Construction                        73950 Dinah Shore Dr #306         Palm Desert, Ca 92211                        A7   Customer Deposit   14,797   3,350
Kerry Fields                                5285 Via Primaria                 Yorba Linda, CA 92886-4588                   A7   Customer Deposit   14,783   3,350
Julie Rubash                                2152 6th Ave                      San Diego, CA 92101-2105             x   x   A7   Customer Deposit   14,739   3,350
Joseph Donohue                              27 Portalon Ct                    Ladera Ranch, CA 92694                       A7   Customer Deposit   14,737   3,350
Market Studio Interiors                     536 W Hill Ave                    Fullerton, CA 92832-2732                     A7   Customer Deposit   14,736   3,350
James Busby                                 111 E Bay Front                   Newport Beach, CA 92662-1315                 A7   Customer Deposit   14,723   3,350
Amy Farrell                                 11 Bellflower St                  Ladera Ranch, CA 92694                       A7   Customer Deposit   16,073   3,350
Leland Construction                         1421 W Lewis St                   San Diego, CA 92103-1711                     A7   Customer Deposit   15,050   3,350
Sue Burgess                                 17555 Caminito De Los Escoses     Rancho Santa Fe, CA 92067                    A7   Customer Deposit   14,696   3,350
Custodio Aguilar                            16636 Artesian Trl                San Diego, CA 92127-2101                     A7   Customer Deposit   14,670   3,350

Marla Kozinczuk Architecture + Design       3408 Hollydale Dr # 3410          Los Angeles, CA 90039-2115                   A7   Customer Deposit   14,636   3,350
Tim Martin                                  145 San Remo Rd                   Carmel, CA 93923-9763                x   x   A7   Customer Deposit    7,316   3,350
Jonathan Spaulding                          99 Plaza de las Flores            San Juan Capistrano, CA 92675-1757   x   x   A7   Customer Deposit   60,745   3,350
Churchill Design - Gary & Laura Lee Smith
Project                                     900 Almond Place                  Newport Beach, CA 92660              x   x   A7   Customer Deposit   14,597   3,350
Marcia Ross & Jeff Kaufman                  11532 Chiquita St                 Studio City, CA 91604-2914           x   x   A7   Customer Deposit   14,545   3,350
Drake Construction                          7422 Mountjoy Drive               Huntington Beach, CA 92648                   A7   Customer Deposit   14,543   3,350
Rockwell Interiors                          127 Lomas Santa Fe Dr             Solana Beach, CA 92075-1279                  A7   Customer Deposit   14,611   3,350
Kamron and Faaraz Aghevli                   2325 Chapman Rd                   La Crescenta, CA 91214-3014                  A7   Customer Deposit   14,526   3,350
Chris Blay                                  256 Rancho Santa Fe Drive         Encintas, CA 92024                   x   x   A7   Customer Deposit   14,523   3,350
Alex Bahouth                                359 Haight St                     San Francisco, CA 94102-6128                 A7   Customer Deposit   14,514   3,350
Opulent Design Build                        9471 Irvine Center Dr Suite 150   Irvine, CA 92618                             A7   Customer Deposit   14,500   3,350
Pacific Rim Construction Inc                44 Royal Tern Ln                  Aliso Viejo, CA 92656-1213                   A7   Customer Deposit   14,484   3,350
Ryan Kastner & Karen Christman              3231 Hill St.                     San Diego, Ca 92106                          A7   Customer Deposit   44,520   3,350
AIL COLLECTIVE                              1001 Avenida Pico Suit C260       San Clemente, Ca 92673                       A7   Customer Deposit   26,359   3,350
ACCESS SERVICES GROUP -                     4535 COPPER SAGE ST               LAS VEGAS, NV 89115                          A7   Customer Deposit   14,450   3,350
JI Building Concepts Inc                    11117 Sylvan St                   North Hollywood, CA 91606-3713               A7   Customer Deposit   14,438   3,350
YOUNG PARK                                  4310 Shepherds Ln                 La Canada, CA 91011-3132             x   x   A7   Customer Deposit   14,410   3,350
Anne Lynch                                  1418 Torrey Pines Rd              La Jolla, CA 92037-3729                      A7   Customer Deposit   14,373   3,350
Mytili Bala                                 5181 College Gardens Court        San Diego, CA 92115                  x   x   A7   Customer Deposit   14,370   3,350
Elizabeth O'Connor                          13391 Heston Pl                   San Diego, CA 92130-1229             x   x   A7   Customer Deposit   14,364   3,350
Randy Clark and Tom Maddox                  7257 Dunemere dr                  La Jolla, CA 92037                           A7   Customer Deposit   14,351   3,350
Debbie Podlas                               47 Sunlight                       Irvine, CA 92603                             A7   Customer Deposit   14,327   3,350
Giselle Perezblas                           202 North Cedros Ave              Solana Beach, CA 92075                       A7   Customer Deposit   14,319   3,350
Deepa Menon                                 11202 Corte Belleza               San Diego, ca 92130                          A7   Customer Deposit   14,277   3,350
Kevin Kelter                                16562 Graham Place                Huntington Beach, CA 92649           x   x   A7   Customer Deposit   14,276   3,350
Alexander Au                                8244 Rose Quartz Cir              San Diego, CA 92126-1075             x   x   A7   Customer Deposit   14,276   3,350
Ali & Darya Tabatabai                       22691 Pineridge                   Mission Viejo, CA 92692                      A7   Customer Deposit   14,256   3,350
Steve Waszak                                1239 Topanga Dr                   San Marcos, CA 92069-7401                    A7   Customer Deposit   14,249   3,350
Sydney Blount                               4591 Northridge Drive             Los Angeles, CA 90043                        A7   Customer Deposit   29,018   3,350
Vega Interior Designer                      4545 La Jolla Village Dr Ste E1   San Diego, CA 92122-1672                     A7   Customer Deposit   14,238   3,350
Ron & Georgina Troxell                      725 Avocado                       Corona Del Mar, CA 92625             x   x   A7   Customer Deposit   14,200   3,350
Norman Fogwell                              29 Ritz Cove                      Dana Point, Ca 92677                         A7   Customer Deposit   14,173   3,350
PAULA MALCANGIO                             12650 TREEHILL PLACE              POWAY, CA 92064                              A7   Customer Deposit   14,144   3,350
SBM Management                              3458 Colonial Ave.                Los Angeles, CA 90066                        A7   Customer Deposit   14,109   3,350
Ben Schor                                   brand blvd                        Los Angeles, CA 90054                        A7   Customer Deposit   14,098   3,350
Jim Dunford                                 1986 Linwood St                   San Diego, CA 92110-2136                     A7   Customer Deposit   14,045   3,350
Marta Avran Juhasz                          540 South Coast Highway Ste 106   Laguna Beach, CA 92651                       A7   Customer Deposit   14,006   3,350
Whisk Services                              530 West Commonwealth Ave.        Fullerton, CA 92832                          A7   Customer Deposit   13,997   3,350
Sanford Builders - Vivaldi Project          820 Orpheus Avenue #2             Encinitas, CA 92024                          A7   Customer Deposit   13,975   3,350
JACKIE NG                                   6411 E Bixby Hill Rd              Long Beach, CA 90815-4707                    A7   Customer Deposit   13,965   3,350
Maria Harrington                            23 Wyoming                        Irvine, CA 92606                             A7   Customer Deposit   13,945   3,350
Rob Blackwell                               227 Hillcrest Drive               Encinitas, Ca 92024                  x   x   A7   Customer Deposit   13,938   3,350
Kishani Perera Interior Design              5482 Wilshire Blvd #1552          Los Angeles, CA 90036                x   x   A7   Customer Deposit   13,928   3,350
Chip Ginsburg                               12162 Manley st                   Garden Grove, CA 92845                       A7   Customer Deposit   13,917   3,350
McCarthy Building Companies, Inc.           20401 SW Birch St                 Newport Beach, CA 92660-1795                 A7   Customer Deposit   13,914   3,350
Blake Tagmyer                               1200 Molara Lane                  Encinitas, CA 92024                          A7   Customer Deposit   13,904   3,350
Suzy & Dan McInerny                         463 Jasmine St                    Laguna Beach, CA 92651-1615                  A7   Customer Deposit   13,900   3,350
Sungsoo Kim                                 810 Rancho Cin                    Fullerton, Ca 92835                          A7   Customer Deposit   13,894   3,350
DON & DEBRA SMITH                           538 C Ave                         Coronado, CA 92118-1825                      A7   Customer Deposit   13,894   3,350
MELISSA GALICOT                             6930 Country Club Dr              La Jolla, CA 92037-5607                      A7   Customer Deposit    6,941   3,350
Brijesh Patel                               2031 Skyline Dr                   Fullerton, CA 92831-2067             x   x   A7   Customer Deposit   22,361   3,350
David & Michelle Samuelson                  2716 Mackinnon Ranch Rd           Cardiff, Ca 92007                            A7   Customer Deposit   13,835   3,350
Swathy & Madhu Reddy                        16 Mendel Ct                      Irvine, CA 92617-4039                x   x   A7   Customer Deposit   13,833   3,350
Vida Escandar                               7660 Rosewood Ave                 Los Angeles, CA 90036-1707           x   x   A7   Customer Deposit   13,830   3,350
KRIS BOWERS                                 316 Glenullen Dr                  Pasadena, CA 91105-2100              x   x   A7   Customer Deposit   13,830   3,350
Tony Kedzo                                  32351 Azores Rd                   Dana Point, CA 92626-4164            x   x   A7   Customer Deposit   13,823   3,350
LEVER LA                                    721 Lark Ct                       Los Angeles, CA 90065-4003                   A7   Customer Deposit   13,795   3,350
Diego Vazquez                               1780 Avenida del Mundo            Coronado, CA 92118-3057              x   x   A7   Customer Deposit   13,762   3,350
SAM MOBASSALY                               16602 Somerset Ln                 Huntington Beach, CA 92649-2836              A7   Customer Deposit   13,736   3,350
LUXE Lifestyle Design                       5398 Camino Jasmine               Bonsall, CA 92003                            A7   Customer Deposit   13,735   3,350
JENNIFER TROYAN JOHN ORDWAY                 6658 Golfcrest Dr                 San Diego, CA 92119-2417             x   x   A7   Customer Deposit   13,724   3,350
Ursula Ster                                 1500 Curtis Avenue                Manhattan Beac, CA 90266                     A7   Customer Deposit   13,718   3,350

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                      Case 24-01376-CL7
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                                                                                                                                    63 of of
Sister's Design & Development  616 31st St                         Manhattan Beach, CA 90266-3420         A7   Customer Deposit    29,978                  3,350
Naomi Barksdale                425 San Gorgonio St.                      162
                                                                         101
                                                                   San Diego, CA 92106              x x   A7   Customer Deposit    13,702                  3,350
Brett Long                                42 Blue Anchor Cay Road            Coronado, CA 92118                           A7   Customer Deposit   14,424   3,350
Celeste Chong-Cerrillo                    1620 Santa Rosa Ave                Glendale, CA 91208                           A7   Customer Deposit   13,676   3,350
Tracy Cui                                 9 Whiteshore                       Newport Coast, CA 92657                      A7   Customer Deposit   51,832   3,350
Carolyn Baum                              25681 White Sands St               Dana Point, CA 92629-1524                    A7   Customer Deposit   18,651   3,350
Ashley & Bryan Nguyen                     104 Nest Pine                      Irvine, CA 92602                             A7   Customer Deposit   13,617   3,350
Leslie Holden                             2505 Novato Place                  Palos Verdes Estates, Ca 90274               A7   Customer Deposit   13,613   3,350
Intimate Living Interiors - Stewart
Residence                                 6949 The Preserve Way              San Diego, CA 92130                          A7   Customer Deposit   13,588   3,350
BERNICE & BENJAMIN TRAN                   49 Monterey Pine Dr                Newport Coast, CA 92657-1526                 A7   Customer Deposit   13,588   3,350
Nazanin Benyamini                         1825 San Ysidro Dr                 Beverly Hills, CA 90210-1518                 A7   Customer Deposit   13,535   3,350
Tracie and Derek Hanson                   76112 Via Chianti Toscana          Indian Wells, CA 92210-7804          x   x   A7   Customer Deposit   90,728   3,350

Sanford Builders - Margarita Residence   3452 Calle Margarita                Encinitas, CA 92024-6670                     A7   Customer Deposit   13,518   3,350
Michell Bartlett                         26931 quevedo lyn                   mission viejo, ca 92691                      A7   Customer Deposit   13,463   3,350
Mike Gregoire                            6421 Mimilus PO Box 1349            Rancho Santa Fe, CA 92067-1349               A7   Customer Deposit   13,452   3,350
Shala Tabassi                            811 N Holmby Ave                    Los Angeles, CA 90024                        A7   Customer Deposit   13,445   3,350
Kaminskiy Design & Remodeling - Duranceu
Project                                  2396 Worldtrade Drive Suite 108     San Diego, CA 92128                          A7   Customer Deposit   13,411   3,350
Turner Interior Design                   1090 E. SIERRA WAY                  Palm Springs, CA 92264               x   x   A7   Customer Deposit   13,410   3,350
Royal Home Remodels - Joseph & Machelle
Cardenas                                 6715 Neptune Place                  La Jolla, Ca 92037                   x   x   A7   Customer Deposit   13,400   3,350

Kevin Palmer-Oasis Vacation Interiors     251 E Ocotillo Ave                 Palm Springs, CA 92264-8427                  A7   Customer Deposit   13,360   3,350
Christian Residence                       497 N Cedros Ave                   Solana Beach, CA 92075-4204                  A7   Customer Deposit   13,326   3,350
Brian Webster                             20882 Shell Harbor Circle          Huntington Beach, CA 92646                   A7   Customer Deposit   13,256   3,350
Bryan Ballard                             107 Santa Ana Ln                   San Clemente, CA 92672-5348                  A7   Customer Deposit   13,219   3,350
Mark & Mary Curry                         1035 Van Dyke Dr                   Laguna Beach, CA 92651-3458          x   x   A7   Customer Deposit    6,591   3,350
Boyd Suemnick                             5864 Owens Dr                      Carlsbad, CA 92009                   x   x   A7   Customer Deposit   13,181   3,350
Roger Frey                                3595 Front St                      San Diego, Ca 92103                          A7   Customer Deposit   13,168   3,350
Davis Bay, LLC.                           11 La Senda Pl                     Laguna Beach, CA 92651-6738          x   x   A7   Customer Deposit   19,636   3,350
Evencia Leite                             2182 March Place                   San Diego, CA 92110                          A7   Customer Deposit   12,016   3,350
Douglas Greene                            520 De Anza Drive                  Corona Del Mar, CA 92625                     A7   Customer Deposit   13,080   3,350
Brian Goad                                1240 Molara Lane                   Encinitas, CA 92024                  x   x   A7   Customer Deposit   13,069   3,350
Ana Lopez                                 17969 Montague Ct                  Granada Hills, CA 91344-1945                 A7   Customer Deposit   13,062   3,350
Wendy Allen                               2558 Yale Place                    Costa Mesa, CA 92626                         A7   Customer Deposit   13,060   3,350
JB Pacific                                11633 Sorrento Valley Rd Ste 103   San Diego, CA 92121-1039                     A7   Customer Deposit   13,059   3,350
Bryan Design Group - Risse Residence      3580 Stetson Ave                   San Diego, CA 92122-2915             x   x   A7   Customer Deposit   13,052   3,350
Gianna and Scott Warner                   1960 Port Laurent Pl               Newport Beach, CA 92660-7117         x   x   A7   Customer Deposit   13,040   3,350
Linda Klosterman                          6729 Oleander Way                  Carlsbad, CA 92011-3328              x   x   A7   Customer Deposit   38,035   3,350
Bryan Hertz                               9437 Mount Israel Rd               Escondido, CA 92029-8004             x   x   A7   Customer Deposit   13,000   3,350
Chase Horner                              6467 W 77th St                     Los Angeles, CA 90045-1158                   A7   Customer Deposit   12,991   3,350
South Harlow Interiors - Wendy Jones      12717 Monterey Cypress Way         San Diego, CA 92130-2426                     A7   Customer Deposit   12,986   3,350
Gail Hodel                                32792 David Cir                    Dana Point, CA 92629-1058                    A7   Customer Deposit   12,981   3,350
La Casa Azul Design                       2094 S Coast Hwy Ste 3C            Laguna Beach, CA 92651-3678                  A7   Customer Deposit   38,559   3,350
Michelle Kent                             1434 Santiago Dr                   Newport Beach, CA 92660-4946                 A7   Customer Deposit   12,968   3,350
Stephanie Bonebright                      5119 Canterbury Dr                 San Diego, CA 92116-2003                     A7   Customer Deposit   12,959   3,350
Laurie & Glenn Brumage                    925 Via Conca D'oro                Vista, CA 92084                              A7   Customer Deposit   12,946   3,350
Carlos Benitez                            2529 Coyote Ridge Terrace          Chula Vista, CA 91915                x   x   A7   Customer Deposit   12,284   3,350
Popix Designs - Point Loma Project        316 Glencrest Dr                   Solana Beach, CA 92075-1407          x   x   A7   Customer Deposit   29,772   3,350
JOE WONG                                  18055 LEMONGRASS AVE               YORBA LINDA, CA 92886                        A7   Customer Deposit   12,867   3,350
John Schultz                              24761 Rancho Santa Teresa Dr       Ramona, CA 92065-6352                        A7   Customer Deposit   12,834   3,350
Kari and Matt Lipson                      1411 Charmel Court                 Pacific Palisades, CA 90272                  A7   Customer Deposit   12,832   3,350
David Hill                                1156 E Cactus Rd                   Palm Springs, CA 92264-8405                  A7   Customer Deposit   12,831   3,350
HANLE INTERIORS                           2001 LEWARD LANE                   NEWPORT BEACH, CA 92660              x   x   A7   Customer Deposit   12,830   3,350
JACOB REYNOSO                             4545 la jolla village drive        Rosarito, B.C. 23407                         A7   Customer Deposit   12,827   3,350
Leanne Jones                              1815 Calle De Los Alamos           San Clemente, CA 92672                       A7   Customer Deposit   12,805   3,350
John Devir                                508 Via Lido Nord                  Newport Beach, CA 92663              x   x   A7   Customer Deposit   12,800   3,350
Steve Lichtman                            4133 Holly Knoll Dr                Los Angeles, CA 90027-3221                   A7   Customer Deposit   12,766   3,350
KIMBERLY OKAZAKI                          1744 Eucalyptus Ave.               Encinitas, CA 92024                  x   x   A7   Customer Deposit   12,759   3,350
Leela Gill                                2325 Eucalyptus Ave.               Escondido, CA 92029                          A7   Customer Deposit   12,749   3,350
Kristin Windes                            28522 Camino La Ronda              San Juan Capistrano, CA 92675-5806   x   x   A7   Customer Deposit   12,747   3,350
Walter Rasic                              35215 Beach Rd                     Capistrano Beach, CA 92624-1706              A7   Customer Deposit   12,739   3,350

M Prevost Design - Colleen & Mark Southern 270 N EL CAMINO REAL #F462        ENCINITAS, CA 92024                          A7   Customer Deposit   12,707   3,350
Margie Backaus                             362 W Via Sol                     Palm Springs, CA 92262-4280                  A7   Customer Deposit   12,695   3,350
ANNMARIE PLENGE                            380 Woodley Rd                    Montecito, CA 93108-2004                     A7   Customer Deposit   12,677   3,350
Marcella Romero                            1815 Clark Glen Circle Unit A     Santa Ana, CA 92706                          A7   Customer Deposit   12,668   3,350
Rose Stewart                               349 I/2 Dublin dr                 Cardiff, Ca 92007                    x   x   A7   Customer Deposit    6,327   3,350
Jeff & Gai Nightingale                     1027 Bayside Cv                   Newport Beach, CA 92660-7426                 A7   Customer Deposit   12,627   3,350
KendyLane Design                           3985 Burma Spur                   Fallbrook, CA 92028-9153                     A7   Customer Deposit   12,616   3,350
Isles Interiors                            367 Old Newport Blvd              Newport Beach, CA 92663-4120                 A7   Customer Deposit   12,609   3,350
Aaron Creurer                              588 S. Vista Oro                  Palm Springs, CA 92264               x   x   A7   Customer Deposit   48,042   3,350
Steve Vanderstyne                          2549 Burgener blvd                San Diego, CA 92110                  x   x   A7   Customer Deposit   12,601   3,350
Christina Schwindt                         629 Vista Bonita                  Newport Beach, CA 92660-4537                 A7   Customer Deposit   12,548   3,350
Shawna Biel Interior Design                4433 Hermosa Way                  San Diego, CA 92103                          A7   Customer Deposit   12,525   3,350
Andy Hock                                  5 Fox Hole Rd                     Ladera Ranch, CA 92694-1503                  A7   Customer Deposit   12,502   3,350
Angelo Antoci                              16991 S Pacific Ave               Sunset Beach, CA 90742-2067                  A7   Customer Deposit   12,461   3,350
Diego Pastor                               1325 Pacific Hwy Unit 110         San Diego, CA 92101-2580                     A7   Customer Deposit   12,461   3,350
Kelly Mangano                              35 Clay Spring Rd                 Cohasset, MA 02025-1631                      A7   Customer Deposit   12,447   3,350
Naylor Construction, Inc.                  2033 San Elijo Ave #252           Cardiff, Ca 92007                            A7   Customer Deposit   12,812   3,350
Old World Designs                          2 Cavalier                        Laguna Niguel, CA 92801                      A7   Customer Deposit   12,437   3,350
Cindy LeBauer                              16304 Mandalay Drive.             Encino, CA 91436                             A7   Customer Deposit   12,421   3,350
Creative Interior Designs                  16780 Espola Rd                   Poway, CA 92064-1640                         A7   Customer Deposit   13,476   3,350
Janey Mason                                2825 Avenida Valera               Carlsbad, CA 92009-7100                      A7   Customer Deposit   12,337   3,350
Mishka & Courtney Bier                     7004 W 85th St                    Los Angeles, CA 90045                x   x   A7   Customer Deposit   12,316   3,350
Brenda & Jim Ross                          21307 Andalucia Ln                Huntington Beach, CA 92648                   A7   Customer Deposit   12,314   3,350
GREEN GUYS CONSTRUCTION                    555 N. Commercial Road Ste 6      Palm Springs, Ca 92262               x   x   A7   Customer Deposit   12,306   3,350
Border House LLC                           1415 San Elijo Avenue             Cardiff, CA 92007                            A7   Customer Deposit   12,263   3,350
Pixel Investment Property Inc.             441 Marietta Dr                   San Francisco, CA 94127-1819                 A7   Customer Deposit   12,263   3,350
Mo Pourarbab                               8 Marble Creek Ln                 Coto de Caza, CA 92679-5146          x   x   A7   Customer Deposit   12,236   3,350
Alejandro Gaxiola                          Las Conchas 2622 Fracc            Los Alamos, Sinaloa 80100                    A7   Customer Deposit   12,227   3,350
Mark & Crystal Taylor                      3412 Ibis St                      San Diego, CA 92103-3832                     A7   Customer Deposit   12,213   3,350
Cecilia Van Damm                           7421 La Mantanza                  San Diego, CA 92127-3636             x   x   A7   Customer Deposit   65,978   3,350
Caroline Sofonio                           72375 Morningstar Rd              Rancho Mirage, CA 92270-4058         x   x   A7   Customer Deposit   12,185   3,350

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                    Case 24-01376-CL7
                         24-01376-CL7 Filed   Filed 05/03/24
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                                                                                                                           64 of of
Paul Song                    116 ColdWater                   Irvine, CA 92602                    A7   Customer Deposit     6,089                               3,350
NIGHT PALM STUDIO            2296 Hidalgo Ave                       162
                                                                    101
                                                             Los Angeles, CA 90039-3651          A7   Customer Deposit    12,146                               3,350
Julia Liu                                   1580 E Glenoaks Blvd                Glendale, CA 91206                            A7   Customer Deposit   12,129   3,350
Noelle Interiors                            815 Manhattan Ave                   Manhattan Beach, CA 90266-5557                A7   Customer Deposit   12,117   3,350
Sol Interiors                               143 Hollyleaf Way                   Corona, CA 92881                      x   x   A7   Customer Deposit   12,113   3,350
Syed Hussain                                103 W Foothill Blvd                 Arcadia, CA 91006-2341                        A7   Customer Deposit   12,050   3,350
CHRIS MORSE                                 1 COTA CT GATE CODE #4524           ALISO VIEJO, CA 92656                 x   x   A7   Customer Deposit   12,034   3,350
TERESA PASQUALE                             900 E BALBOA BLVD                   NEWPORT BEACH, CA 92661                       A7   Customer Deposit   12,000   3,350

South Harlow Interiors - Natalie Ilarraza   5354 Chelsea St                     La Jolla, CA 92037-7912                       A7   Customer Deposit   11,990   3,350
Juliana Garcia-Delgado                      3772 Pringle St                     San Diego, CA 92103-2708                      A7   Customer Deposit   11,931   3,350
Cindy Truman-Busche                         17041 Lowell Cir                    Huntington Beach, CA 92649-4212               A7   Customer Deposit   11,926   3,350
Sebastian Luparia                           14974 Calle Privada                 Rancho Santa Fe, CA 92067                     A7   Customer Deposit   11,925   3,350
Marrokal Design & Remodeling - Danielle &
Alex Blackhall                              711 Temple St                       San Diego, CA 92106                           A7   Customer Deposit   11,906   3,350
Cynthia Blais                               5337 Avenida Maravillas             Rancho Sante Fe, CA 92067                     A7   Customer Deposit   11,899   3,350
Rowene Diaz                                 6628 E Laguna Ct                    Orange, CA 92867-6415                 x   x   A7   Customer Deposit   11,876   3,350
Moments with Karen                          16438 Nichole Ridge Road            San Diego, CA 92127                   x   x   A7   Customer Deposit   11,861   3,350
Jimmy Ying                                  7766 Camino Sin Puente              Rancho Santa Fe, CA 92067                     A7   Customer Deposit   11,853   3,350
Benette and Dave Pauluzzi                   7 Currents                          Newport Coast, CA 92657-2159                  A7   Customer Deposit   11,848   3,350
Torrey Pines Landscape Co                   5560 Eastgate Mall                  San Diego, CA 92121-2806                      A7   Customer Deposit   11,813   3,350
Simon Projects                              290 E Verdugo Avenue Suite 202      Burbank, CA 91502                             A7   Customer Deposit   11,822   3,350
McRae Lambert & Dunn                        12 Via Loma                         Laguna Niguel, CA 92677-5148                  A7   Customer Deposit   11,810   3,350
Frandy Laster                               21 Broken Arrow St                  Ladera Ranch, CA 92694-1543                   A7   Customer Deposit   11,788   3,350
Ryan Krientiz                               2020 Norwalk Ave                    Los Angeles, CA 90041-2726                    A7   Customer Deposit   11,776   3,350
Lili Blue                                   23871 Pinafore Cir                  Laguna Niguel, CA 92677-1733          x   x   A7   Customer Deposit   11,775   3,350
Coastal Interiors                           2429 W Coast HWY STE 209            Newport Beach, CA 92663               x   x   A7   Customer Deposit   11,775   3,350
M Prevost Design - Brooke & Zach
Hammond                                     3370 Brant Street                   San Diego, CA 92103                           A7   Customer Deposit   11,771   3,350
Reiko Nishihara                             13142 Aclare St                     Cerritos, CA 90703-1322                       A7   Customer Deposit    5,865   3,350
Gogo Rothbart                               2933 Beachwood Dr.                  Los Angeles, CA 90068                 x   x   A7   Customer Deposit   22,019   3,350
LMO                                         12831 Western Ave. Ste D            Garden Grove, Ca 92841                        A7   Customer Deposit   11,702   3,350
Amalis Pourarian                            17150 Circa del sur                 RSF, CA 92067                         x   x   A7   Customer Deposit   19,818   3,350
james schnauer                              925 Sheldon St                      El Segundo, CA 90245-2451                     A7   Customer Deposit   11,684   3,350
Kristen & Shaun McCartin                    34012 Selva Rd #16                  Dana Point, CA 92629                          A7   Customer Deposit   11,678   3,350
Georgina Topper                             2219 E Chevy Chase Dr               Glendale, CA 91206-1808                       A7   Customer Deposit    5,818   3,350
Eric and Juliette Kiehle                    10 Cape Danbury                     Newport Beach, CA 92660-8407          x   x   A7   Customer Deposit   11,633   3,350
Susan Gertmenian                            180 S Lake Ave Suite 405            Pasadena, CA 91101                    x   x   A7   Customer Deposit   11,607   3,350
Tom Grunow Construction                     1121 Torrey Pines Rd                La Jolla, CA 92037-4527                       A7   Customer Deposit   11,604   3,350
Kate Smee                                   5232 Great Meadow Dr                San Diego, CA 92130-6960                      A7   Customer Deposit   11,585   3,350
Key Vision Interiors                        2550 Via Tejon Ste 3L               Palos Verdes Estates, CA 90274-6809           A7   Customer Deposit   11,547   3,350

COAT Design & Remodel - Glenn Residence PO BOX 1461                             Carlsbad, CA 92028                            A7   Customer Deposit   25,159   3,350
Bass Interior Design                    405 Belvue Ln                           Newport Beach, CA 92661-1507                  A7   Customer Deposit   11,538   3,350
ProPacific Builders Inc. - Carly Jones  1727 Legaye Dr.                         Cardiff by the Sea, CA 92007                  A7   Customer Deposit   13,422   3,350
Joe Badalian                            16835 Algonquin St # 338                Huntington Beach, CA 92649-3810       x   x   A7   Customer Deposit    5,741   3,350
JENINE & SAMER HABBAS                   49 Pacific Mist                         Newport Beach, CA 92657               x   x   A7   Customer Deposit   11,479   3,350
South Coast Pools                       8821 Lucia Ave                          Whittier, CA 90605-2045                       A7   Customer Deposit   11,459   3,350
Julie Laughton                          28885 Woodspring Cir                    Trabuco Canyon, CA 92679-1021                 A7   Customer Deposit   11,455   3,350
Oscar Plotnik                           5312 Ruette de Mer                      San Diego, CA 92130-2870                      A7   Customer Deposit   29,241   3,350
Liliana Lovell                          5627 Bellevue Ave                       La Jolla, CA 92037-7526                       A7   Customer Deposit   11,419   3,350

Mullen Design Co - Amy and Adam Colling     1019 Summer Holly Lane              Encinitas, CA 92024                           A7   Customer Deposit   11,355   3,350
HOLLYWOOD INTERNATIONAL ART
COMMUNICATION CO                            603 Chatham Pl                      La Canada Flintridge, CA 91011        x   x   A7   Customer Deposit   34,817   3,350
Eco Minded Solutions - Putzke/5537 Castle
Hills Dr                                    5537 Castle Hills Dr                La Jolla, CA 92037-7146                       A7   Customer Deposit   15,066   3,350
Leap of Faith, LLC                          990 N. Hill St                      Los Angeles, CA 90012                         A7   Customer Deposit   11,239   3,350
heidi alonzo                                29 Chimney Ln                       Ladera Ranch, CA 92694-0500                   A7   Customer Deposit   35,864   3,350
Jocelyn & Don Weiss                         UNIT 1007                           Coronado, CA 92118                    x   x   A7   Customer Deposit   11,213   3,350
Yvonne Anaya                                3633 Indiana St                     San Diego, CA 92103-4662                      A7   Customer Deposit   11,204   3,350
Rick Dennis                                 5511 Via Dianza                     Yorba Linda, CA 92887-2529                    A7   Customer Deposit   11,200   3,350
Ashwini and Michael Wolkowitz               11224 Orville St                    Culver City, CA 90230                 x   x   A7   Customer Deposit   11,197   3,350
Sam Daoud                                   14044 Rancho Santa Fe Lakes Drive   Rancho Santa Fe, Ca 92067             x   x   A7   Customer Deposit   11,192   3,350
Joe Simrell                                 15 Rue Cezzanine                    Coto de Caza, CA 92679                        A7   Customer Deposit   11,181   3,350
Elizabeth & Jeff Dawson                     1231 Hermes Ave                     Encinitas, CA 92024-1609              x   x   A7   Customer Deposit    5,585   3,350
Marcie Hoch                                 31482 Isle Vista                    Laguna Niguel, Ca 92677                       A7   Customer Deposit   11,141   3,350
Inna Levin                                  320 S Willaman Dr Ph 1 PH 1         Los Angeles, CA 90048-3377                    A7   Customer Deposit   11,116   3,350
Schematic Design                            420 Hermosa Pl                      South Pasadena, CA 91030-1610                 A7   Customer Deposit   11,103   3,350
Dan & Larry Ranum & Martin                  1 Cornell Dr                        Rancho Mirage, CA 92270                       A7   Customer Deposit   11,103   3,350
Mary Radia                                  4 Canyon Crk                        Rancho Mirage, CA 92270-2639                  A7   Customer Deposit   11,085   3,350
Marla & Tom Belbel                          1003 Summer Holly Lane              Encinitas, CA 92024                           A7   Customer Deposit   11,081   3,350
Teri and Stephen Jensen                     13672 Yellowstone Dr                North Tustin, CA 92705-2658                   A7   Customer Deposit   10,983   3,350
LISA BOSHNACK                               31538 WEST ST                       LAGUNA BEACH, CA 92651                        A7   Customer Deposit   10,980   3,350
Casey Zilionis                              2671 Canyon South Drive             Pam Springs, CA 92264                         A7   Customer Deposit   10,965   3,350
Marina Goffredo                             2915 Carta Taza                     San Clemente, CA 92673-3814                   A7   Customer Deposit   10,939   3,350
Fernando Sarthou                            40555 E Thunderbird Ter             Rancho Mirage, CA 92270-3532                  A7   Customer Deposit   10,910   3,350
DARSHANA KNEEBONE                           2228 Penrose St                     San Diego, CA 92110-2351                      A7   Customer Deposit   10,892   3,350
Lori and David Parris                       3031 Cardiff Ave                    Los Angeles, CA 90034                 x   x   A7   Customer Deposit   51,330   3,350
Michelle White                              1903 N Screenland Dr                Burbank, CA 91505-1442                        A7   Customer Deposit   10,830   3,350
John Dallas                                 5933 Briercrest Ave.                Lakewood, CA 90713                            A7   Customer Deposit   10,803   3,350
Vicky Tucker                                748 Ronica Way                      Fallbrook, CA 92028-3632                      A7   Customer Deposit   10,778   3,350
Sari Awalt                                  213 Elmira Ave                      Huntington Beach, CA 92648-4920       x   x   A7   Customer Deposit   10,744   3,350
Exude Luxury Group                          2896 Avella Circle                  San Diego, CA 92108                   x   x   A7   Customer Deposit   10,716   3,350
Christine Masuzumi                          9622 Chevy Chase Dr.                Huntington Beach, CA 92646                    A7   Customer Deposit    8,945   3,350
Steffen Construction & Design               1008 Saxony Rd,                     Encinitas, CA 92024                           A7   Customer Deposit   10,646   3,350
Cheri Wheeler                               1407 Santiago Dr                    Newport Beach, CA 92660-4947                  A7   Customer Deposit   10,633   3,350
Keith Albrandt                              5024 Via Playa Los Santos           San Diego, CA 92124-1553              x   x   A7   Customer Deposit    8,685   3,350
Greg & Jennie Christy                       23021 Bouquet Canyon                Mission Viejo, CA 92692               x   x   A7   Customer Deposit   10,590   3,350
Kenny Yu                                    PO Box 1735                         Temple City, CA 91780-7735                    A7   Customer Deposit   10,564   3,350
Connie McKeever                             10482 Boulder Creek Rd              Descanso, CA 91916                            A7   Customer Deposit   10,560   3,350
Arya Nakhjavani                             34 Sea Terrace                      Newport Coast, CA 92657                       A7   Customer Deposit   10,548   3,350
Sierra Sullivan Interiors                   28512 Via Primavera                 San Juan Capistrano, CA 92675-5513    x   x   A7   Customer Deposit   10,526   3,350
2724 Ocean LLC                              3857 Birch St Unit 530              Newport Beach, CA 92660-2616                  A7   Customer Deposit   10,485   3,350
Shannon Weller Design                       13545 Portofino Dr                  Del Mar, CA 92014-3513                x   x   A7   Customer Deposit    5,241   3,350
Elisabeth Little                            221 Morning Canyon Rd               Corona del Mar, CA 92625-2641                 A7   Customer Deposit   10,471   3,350

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                     Case 24-01376-CL7
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Mike & Karen Cate             1253 Lynnmere Dr                    Thousand Oaks, CA 91360-1946         A7   Customer Deposit    10,449                        3,350
Barclay Butera (Newport)      1745 Westcliff Drive                     162
                                                                       101
                                                                  Newport Beach, CA 92660              A7   Customer Deposit    10,270                        3,350
Keri Michelle Interiors - Kelly & Jeremy
Salmon                                     7276 Circulo Papayo                    Carlsbad, CA 92009-8698           x   x   A7   Customer Deposit    10,269   3,350
ALAN & JAMIE KWIATEK                       707 View Dr                            Burbank, CA 91501-1662            x   x   A7   Customer Deposit    10,388   3,350
Carmen Bridge                              9092 Bermuda Dr                        Huntington Beach, CA 92646-7813           A7   Customer Deposit    10,383   3,350
Cameron and Tasha Tringale                 167 Monarch Bay Drive                  Dana Point, CA 92629                      A7   Customer Deposit    10,380   3,350
Don & Paula Ruhland                        5021 E Copa de Oro Dr                  Anaheim, CA 92807-3641                    A7   Customer Deposit    10,368   3,350
Nabil Sadik                                388 Conestoga Rd                       San Dimas, CA 91763                       A7   Customer Deposit    10,357   3,350
Gerard Williams                            1833 Fallen Leaf Ln                    Los Altos, CA 94024-6219          x   x   A7   Customer Deposit    10,318   3,350
Joseph Natale                              615 Crescent Ln                        Vista, CA 92084-7033                      A7   Customer Deposit    10,274   3,350
Eric Erickson                              2625 Canyon Springs Dr                 Palm Springs, Ca 92264            x   x   A7   Customer Deposit    10,265   3,350
JEFFREY KHTEIAN INTERIORS                  824 Ridgecrest St                      Monterey Park, CA 91754-3710      x   x   A7   Customer Deposit    10,256   3,350
David Simon                                3316 The Strand                        Manhattan Beach, CA 90266-3843    x   x   A7   Customer Deposit    10,255   3,350
THOMAS TOWNE REAVEY, INC.                  3627 Almeria St                        San Pedro, CA 90731-6409                  A7   Customer Deposit    31,131   3,350
Dave & Sherry Drewry                       462 16th Pl                            Costa Mesa, CA 92627-3219                 A7   Customer Deposit    10,206   3,350
OMAIR SHARIF                               80 Glen Summer Rd                      Pasadena, CA 91105-1417                   A7   Customer Deposit    10,196   3,350
Aria Designs, INC                          247 Forest Ave Ste C                   Laguna Beach, CA 92651-2159               A7   Customer Deposit    10,189   3,350
Linda & Felix Liu                          3333 Barhite St                        Pasadena, CA 91107-1256                   A7   Customer Deposit    10,113   3,350
Heather Moore                              2491 Lindsay Lane                      Los Angeles, CA 90039                     A7   Customer Deposit    10,109   3,350
Desiree Wulff                              6642 Electric Ave                      La Jolla, CA 92037-6049           x   x   A7   Customer Deposit    10,107   3,350
Josh Stude                                 106 Via Sonoma                         San Clemente, CA 92673                    A7   Customer Deposit    10,107   3,350
JY Design Interiors - Michelle Duran       271 Via Sarasan                        Encinitas, CA 92024                       A7   Customer Deposit    10,095   3,350
Betty Koren                                2500 N Palm Canyon Dr                  Palm Springs, CA 92262-1868       x   x   A7   Customer Deposit    13,440   3,350
Sam & Angie Mascareno                      UNIT 1730/609 1730 Avenida del mundo   Coronado, CA 92118                x   x   A7   Customer Deposit    10,088   3,350
Lisa McDennon Design                       384 Forest Ave #22A                    Laguna Beach, CA 92651            x   x   A7   Customer Deposit    10,085   3,350
Cindy Bridges Designs                      1834 Avenida Sevilla                   Oceanside, CA 92056-6214                  A7   Customer Deposit    10,103   3,350
Rancho Pacific Builders                    1314 Windsor Rd                        Cardiff, CA 92007-1347            x   x   A7   Customer Deposit    10,031   3,350
Tracy Scott                                11197 Martingale Way                   Alta Loma, CA 91737-1820          x   x   A7   Customer Deposit    10,011   3,350
Precision Electric                         2361 La Mirada                         Vista, CA 92081                           A7   Customer Deposit    10,008   3,350
Bonnie Flamm                               56 Belcourt Dr                         Newport Beach, CA 92660-4213              A7   Customer Deposit    10,007   3,350
Deborah Weiss-Calamar                      5360 Caminito Exquisito                San Diego, CA 92130-2863          x   x   A7   Customer Deposit    10,006   3,350
Rona Heifetz                               608 N Rexford Dr                       Beverly Hills, CA 90210-3312              A7   Customer Deposit    10,000   3,350
Rick Meaglia                               123 34th St                            Hermosa Beach, CA 90254-2013              A7   Customer Deposit    10,000   3,350
Ram & Sunitha Reddy                        2 Pinnacle Pt.                         Newport Coast, CA 92657                   A7   Customer Deposit    10,000   3,350
Nelly & Kamran Rabhani                     2318 Canyonback Road                   Los Angeles, CA 90049                     A7   Customer Deposit    10,000   3,350
ARMANDO CORREA                             27201 Comba                            Mission Viejo, CA 92692-3205              A7   Customer Deposit    10,000   3,350
Shant & Jenny Apekian                      3333 HOLLY DR                          SACRAMENTO, CA 95864                      A7   Customer Deposit    10,000   3,350
Renegade Real Estate Solutions             1228 Marian Ln                         Newport Beach, CA 92660-4818              A7   Customer Deposit    10,000   3,350
Julie Levin                                4985 Rancho Verde Trl                  San Diego, CA 92130-5241                  A7   Customer Deposit     9,998   3,350
Tiffany Buchanan                           4 Thomas Rd                            Ladera Ranch, CA 92694-1544               A7   Customer Deposit     9,965   3,350
Robin Eisman Interior Design               13310 Viaduct Fortezza Unit 4          San Diego, CA 92129                       A7   Customer Deposit     6,868   3,350
Richard Nolan                              46345 Bradshaw Trl                     La Quinta, CA 92253-2351                  A7   Customer Deposit     9,948   3,350
KEYSTONE DCS II                            1200 Newport Center Dr Ste 180         Newport Beach, CA 92660-0931              A7   Customer Deposit    12,514   3,350
Mary Rhorer                                3049 Java Rd                           Costa Mesa, CA 92626-3552                 A7   Customer Deposit     9,922   3,350
Juhi Luthra                                13695 Winstanley Way                   San Diego, CA 92130                       A7   Customer Deposit     9,910   3,350
Andy Nguyen                                9850 Skylar                            Fountain Valley, CA 92708                 A7   Customer Deposit     9,893   3,350
Don & Teresa Rizzo                         4230 Rous St                           San Diego, CA 92122                       A7   Customer Deposit     9,864   3,350
Fort Hill Construction                     12711 Ventura Blvd Suite #390          Studio City, CA 91604                     A7   Customer Deposit     9,847   3,350
DEBBIE LOHRMAN                             11245 VERDUGO RD                       MURRIETA, CA 92656                        A7   Customer Deposit     9,843   3,350
Mullen Design Co - Barbara and Andrew
Gilmore                                    903 Morning Sun Dr                     Encinitas, CA 92024-1958          x   x   A7   Customer Deposit     9,840   3,350
Judy Ranciglio                             9310 Vervain St                        San Diego, CA 92129-3570          x   x   A7   Customer Deposit     9,823   3,350
Cathy Payne                                366 Andrew Ave                         Encinitas, Ca 92024                       A7   Customer Deposit     9,811   3,350
ALLEN & SANDRA REIBMAN                     4879 HART DR                           SAN DIEGO, CA 92116                       A7   Customer Deposit     9,792   3,350
Steph Scire                                4278 Sea View Ln                       Los Angeles, CA 93023             x   x   A7   Customer Deposit     9,750   3,350
Jerry McPeters                             7315 Remley Pl                         La Jolla, CA 92037-5631           x   x   A7   Customer Deposit     9,743   3,350
JCID - Mariani Residence                   883 Capri Rd                           Encinitas, CA 92024-1212                  A7   Customer Deposit     9,733   3,350
Debonne Construction Inc                   433 W Allen Ave Ste 118                San Dimas, CA 91773-4725                  A7   Customer Deposit   141,884   3,350
Bianca Mossman                             12 Pinehurst Ln                        Newport Beach, CA 92660-5229      x   x   A7   Customer Deposit     9,725   3,350

Parkwest Bicycle Casino Attn: Gloria Kim   888 Bicycle Casino Dr                  Bell Gardens, CA 90201-7617               A7   Customer Deposit     9,707   3,350
Jonathan & Patricia Nadler                 1110 N. Virgil Ave #208                Los Feliz, CA 90029                       A7   Customer Deposit     9,700   3,350
DORITY ROOFING & SOLAR                     2106 Sunset Drive                      Pacific Grove, CA 93950                   A7   Customer Deposit     9,697   3,350
Jennifer and Dan Brown                     345 N Brighton St                      Burbank, CA 91506-2103                    A7   Customer Deposit     9,696   3,350
Heather & Michael Cato                     4256 Calle Mar de Ballenas             San Diego, CA 92130-2645          x   x   A7   Customer Deposit     9,680   3,350
Bijan Malaklou                             9933 Sunset Ave                        La Mesa, CA 91941-4355                    A7   Customer Deposit     9,660   3,350
Jay Laessi                                 3024 Calle Sonora Unit D               Laguna Woods, CA 92637-8849               A7   Customer Deposit     9,622   3,350
MIKE & KAREN YOUNG                         21 KINGSTON COURT                      CORONADO, CA 92118                        A7   Customer Deposit     9,621   3,350
Judy Oh                                    1065 S Wilton Pl                       Los Angeles, CA 90019-3539                A7   Customer Deposit     9,620   3,350
Dagan Design & Construction - Birchby
Casita                                     1106 2nd St Suite #262                 Encinitas, CA 92024                       A7   Customer Deposit     9,584   3,350
Tiffany Chi Dan Kim                        1980 Laurel Canyon Blvd                Los Angeles, CA 90046-2062                A7   Customer Deposit    10,667   3,350
Pat Harmetz                                5298 Greenwillow Ln                    San Diego, CA 92130-2891                  A7   Customer Deposit     9,536   3,350
Sandy and Bryan Hoklotubbe                 30831 Palmetto Place                   Laguna Niguel, CA 92677                   A7   Customer Deposit     9,530   3,350
Natalie Kirkpatrick                        22362 Wallingford Ln                   Huntington Beach, CA 92646-8454           A7   Customer Deposit     9,520   3,350
CAROLINA BALL                              9340 Dowdy Dr                          San Diego, CA 92126-9502                  A7   Customer Deposit     9,500   3,350
Archit Jain                                2547 Kelton Ave                        Los Angeles, CA 90064                     A7   Customer Deposit     9,466   3,350
Scott Bourquin                             16835 Algonquin St # 427 427           Huntington Beach, CA 92649-3810           A7   Customer Deposit     9,424   3,350
TESS INTERIORS                             6250 CANOGA AVE #257                   WOODLAND HILLS, CA 91367                  A7   Customer Deposit     9,422   3,350
Basile Studio                              840 11th Ave                           San Diego, CA 92101-6506                  A7   Customer Deposit     9,421   3,350
Michael & Krista Moore                     25351 Westborne Dr                     Dana Point, CA 92629                      A7   Customer Deposit     9,415   3,350
Charles Borromeo                           100 Chalaka Pl Bighorn Country Club    Palm Desert, CA 92260-7307                A7   Customer Deposit     9,339   3,350
Dave Noonan                                1255 Trieste Drive                     San Diego, CA 92107                       A7   Customer Deposit     9,337   3,350
JANE FERRARA                               24031 Via Bayona                       Mission Viejo, CA 92691-3623      x   x   A7   Customer Deposit     9,336   3,350
FUSE STAINLESS LLC                         5985 Hauck St. Suite #103              Las Vegas, NV 89118                       A7   Customer Deposit     9,335   3,350
Kirk Shuldberg                             13035 Via Grimaldi                     Del Mar, CA 92014                         A7   Customer Deposit     9,344   3,350
Greg Zarelli                               9 La Cerra Cir                         Rancho Mirage, CA 92270-3808              A7   Customer Deposit     9,277   3,350
Scott & Tamara Price                       1150 N Everett St                      Glendale, CA 91207                        A7   Customer Deposit     9,272   3,350
TIM CARR                                   755 W 17th St                          Costa Mesa, CA 92627-4326                 A7   Customer Deposit     9,242   3,350
Lucy Penido                                625 Rim Rd                             Pasadena, CA 91107-2124                   A7   Customer Deposit     9,226   3,350
Kelly Ferm                                 1300 Rodeo Rd                          Arcadia, CA 91006                         A7   Customer Deposit     9,224   3,350
QualCraft Construction Inc - Cadwell
Project                                    8 Sixpence Way                         San Diego, CA 92118                       A7   Customer Deposit     9,197   3,350
Rachel Barrett                             1959 N New Hampshire Ave               Los Angeles, CA 90027-1818                A7   Customer Deposit     9,177   3,350
CC Zippert Design                          1869 Montiflora Ave                    Los Angeles, CA 90041-2016        x   x   A7   Customer Deposit    56,843   3,350

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                      Case 24-01376-CL7
                           24-01376-CL7 Filed                Filed 05/03/24
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Solomon Interior Design Inc.   143 South Cedros Ave Suite C-101             Solana Beach, CA 92075              A7   Customer Deposit     9,167                 3,350
Legacy Quality Homes           43500 Corte Rialto                                162
                                                                                 101
                                                                            Temecula, CA 92592-3062             A7   Customer Deposit     9,146                 3,350
Brown Design Group - AR HOLD                 26 E Gutierrez Street                   Santa Barbara, CA 93101                   A7   Customer Deposit    9,129   3,350
David Henschel                               1821 3rd St                             Manhattan Beach, CA 90266                 A7   Customer Deposit    9,121   3,350
Shaheena and Joey Patierno                   965 Junipero Dr                         Costa Mesa, CA 92626-5827         x   x   A7   Customer Deposit    9,102   3,350
Gileta Design LLC                            8211 Blackburn Avenue, #1               Los Angeles, CA 90048             x   x   A7   Customer Deposit    9,047   3,350
Ryan and Danielle Hodge                      1908 Dover Dr                           Newport Beach, CA 92660-4420              A7   Customer Deposit   34,490   3,350
Jay Rho                                      1565 Pegfair Estates Dr                 Pasadena, CA 91103-1933                   A7   Customer Deposit    8,992   3,350
Steven Cheroske Design                       471 E Tahquitz Canyon Way Ste 225       Palm Springs, CA 92262-6620               A7   Customer Deposit    8,989   3,350
Tyler Brost                                  71905 HWY 111 Suite B                   Rancho Mirage, CA 92270                   A7   Customer Deposit    8,988   3,350
YVONNE BENNETT                               32489 Cassino Ct                        Temecula, CA 92592-4336           x   x   A7   Customer Deposit    7,343   3,350
Fern & Ross Bloom                            105 Waterford Cir                       Rancho Mirage, CA 92270-3100              A7   Customer Deposit    8,968   3,350
Matt Bemis                                   776 Terraine Ave                        Long Beach, CA 90804-4407                 A7   Customer Deposit    8,920   3,350
Susie Friedberg                              614 Walden Dr                           Beverly Hills, CA 90210-3109              A7   Customer Deposit    8,911   3,350
Jaymeson Davis                               7057 Rancho La Cima Dr.                 Rancho Santa Fe, CA 92067         x   x   A7   Customer Deposit    8,903   3,350
Diane Kim                                    606 Lovell Place Unit A                 Fullerton, CA 92835                       A7   Customer Deposit    8,885   3,350
Rex Hibbs                                    11246 Montaubon Way                     San Diego, CA 92131-3686                  A7   Customer Deposit   34,170   3,350
Daryl Crone                                  116 31st Street                         Newport Beach, CA 92663           x   x   A7   Customer Deposit    8,872   3,350
Tony and Danielle Andrews                    6641 Morning Tide Dr                    Huntington Beach, CA 92648-2606   x   x   A7   Customer Deposit    8,865   3,350
Kaminskiy Design & Remodeling - Gill
Project                                      1747 Swallowtail Rd                     Encinitas, CA 92024-1262                  A7   Customer Deposit    8,824   3,350
Scott Hutcheon                               2885 Rounsevel Ter                      Laguna Beach, CA 92651                    A7   Customer Deposit    8,822   3,350
Daniely Design Group Inc.                    12036 Susan Dr                          Granada Hills, CA 91344-2643              A7   Customer Deposit    8,800   3,350
Alison & Bill Wight                          32655 Caspian Sea                       Dana Point, CA 92629              x   x   A7   Customer Deposit    8,797   3,350
Carmen Skipworth                             7478 Avenida de Palais                  Carlsbad, CA 92009-6941                   A7   Customer Deposit    8,775   3,350
Primrose Designs                             2240 Encinitas Boulevard Suite D #522   Encinitas, CA 92024                       A7   Customer Deposit    9,224   3,350
Melissa Scott                                25314 Hugo Road                         Laguna Niguel, Ca 92677                   A7   Customer Deposit    8,744   3,350
Sedrak Ekimyan                               1447 Valley View Rd                     Glendale, CA 91202                x   x   A7   Customer Deposit    8,719   3,350
Peter Adamiak                                1830 Avenida del Mundo, Unit #1704      Coronado, CA 92118-3003                   A7   Customer Deposit    8,632   3,350
JTM Interiors LLC                            6693 Charter Oak Pl                     San Jose, CA 95120-2021           x   x   A7   Customer Deposit    8,611   3,350
Patton Fine Homes                            221 Belvedere St.                       La Jolla, Ca 92037                        A7   Customer Deposit    8,607   3,350
Sabrina & Diego Diquinzio                    1077 Barsby St                          Vista, CA 92084-2663                      A7   Customer Deposit    8,603   3,350
Nancy Jastremski                             6315 Via Dos Villas #9798               Rancho Santa Fe, CA 92067         x   x   A7   Customer Deposit    8,563   3,350
Chrystal Marnell                             34345 Camino El Molino                  Capistrano Beach, CA 92624        x   x   A7   Customer Deposit    8,560   3,350
Roger B. Bennett-Architect                   3873 Grandview Blvd                     Los Angeles, CA 90066                     A7   Customer Deposit    8,532   3,350
Greg & Janet Boger                           901 Center St.                          El Segundo, Ca 90245              x   x   A7   Customer Deposit    8,487   3,350
Kenny Garrett                                977 S Riverside Dr                      Palm Springs, CA 92264-0631       x   x   A7   Customer Deposit    8,412   3,350
Donna Torgerson                              190 Leatherwood dr.                     Winchester, TN 37398                      A7   Customer Deposit   22,620   3,350
Kevin Kelley                                 6832 Bar Harbor Ln                      Huntington Beach, CA 92648-2602   x   x   A7   Customer Deposit   50,612   3,350
Elizabeth Diaz                               141 orange ave unit 202                 coronado, CA 92118                        A7   Customer Deposit    8,290   3,350
Amy Sklar Design                             4343 San Rafael Ave                     Los Angeles, CA 90042                     A7   Customer Deposit    8,271   3,350
Sharon and Jeremy Gerstman                   12424 Laurel Terrace Dr                 Studio City, CA 91604-2401        x   x   A7   Customer Deposit    8,268   3,350
Paige Inman                                  2217 Via Cerritos                       Palos Verde Estates, Ca 90274             A7   Customer Deposit    8,254   3,350
Tidal Interiors - Joseph & Machelle
Cardenas                                     6715 Neptune Pl                         La Jolla, Ca 92037                x   x   A7   Customer Deposit   12,416   3,350
Taalman Architecture                         2902 Rowena Ave                         Los Angeles, CA 90039                     A7   Customer Deposit    8,243   3,350
Mike Miller                                  1330 pepper villa dr                    El Cajon, CA 92021                x   x   A7   Customer Deposit    8,227   3,350
Cristina and Martin Lyster                   3438 Fay Ave                            Culver City, CA 90232-7436                A7   Customer Deposit   18,519   3,350
Judith McClure                               2764 Caminito Eldorado                  Del Mar, CA 92014-3821            x   x   A7   Customer Deposit    8,213   3,350
Bernd Brust                                  18170 Lago Vista                        Rancho Santa Fe, CA 92067                 A7   Customer Deposit    8,217   3,350
Liz and Rhys Marsh                           10980 Verano                            Los Angeles, CA 90077                     A7   Customer Deposit    8,181   3,350
Richard Chambers                             423 Avenida Granada, #42                San Clemente, CA 92672                    A7   Customer Deposit    8,181   3,350
Ferrugio Design + Associates                 13911 Old Harbor Lane #107              Marina Del Rey, CA 90292                  A7   Customer Deposit    8,174   3,350
Candice Montevideo Design                    6 Vista Sole                            Monarch Beach, CA 92629           x   x   A7   Customer Deposit    8,172   3,350
David Dobkin                                 2 Picasso Ct                            Rancho Mirage, CA 92270-2730              A7   Customer Deposit    8,164   3,350
LUZ MARIA FRANCO                             1354 J Lee Cir                          Glendale, CA 91208-1730           x   x   A7   Customer Deposit    8,161   3,350
Sarah Shetter                                606 N Larchmont Blvd. # 320             Los Angeles, CA 90004             x   x   A7   Customer Deposit    8,146   3,350
Ashley Marie Interiors                       2120 Santa Ana Ave #F                   Costa Mesa, CA 92626              x   x   A7   Customer Deposit    8,224   3,350
Jack Adamonis Construction                   3132 Airway Ave                         Costa Mesa, CA 92626-4610         x   x   A7   Customer Deposit    8,042   3,350
Sereke Tekeste                               4324 E. Townsend Ave                    Orange, Ca 92867                          A7   Customer Deposit    8,096   3,350
Diane Chun                                   425 Woodfield                           LaCanada, CA 91011                x   x   A7   Customer Deposit    8,062   3,350
Matthew Jollie                               1570 Chatsworth Blvd                    San Diego, CA 92107               x   x   A7   Customer Deposit    8,044   3,350
Color Surface                                360 Hillcrest St                        El Segundo, CA 90245                      A7   Customer Deposit    8,012   3,350
Ralph Johnson                                7141 Arroyo Grande                      San Diego, CA 92129                       A7   Customer Deposit    8,004   3,350
Pete & Gretchen Pelletier                    3125 Montesano Rd                       Escondido, CA 92029-7302          x   x   A7   Customer Deposit    8,003   3,350
Sam Landsman                                 8 Lewis Lane                            Mercer Island, Ca 98040           x   x   A7   Customer Deposit    7,980   3,350
WILLIAM WIRSHING                             1390 El Mirador Dr                      Pasadena, CA 91103-2724                   A7   Customer Deposit    7,967   3,350
Scan Ventures LLC                            1048 Irvine Ave #307                    Newport Beach, CA 92660           x   x   A7   Customer Deposit    7,965   3,350
David Kanani                                 95 Via Onda                             San Clemente, CA 92673                    A7   Customer Deposit    7,092   3,350
KATHY ROTH                                   25502 Nellie Gail Rd                    Laguna Hills, CA 92653-6122               A7   Customer Deposit    7,938   3,350
Al Frink                                     1 pinacle point                         newport coast, ca 92657                   A7   Customer Deposit    7,924   3,350
Mario Marovic                                3334 East Pacific Coast Highway, #418   Corona del Mar, CA 92625          x   x   A7   Customer Deposit    7,897   3,350
Mike Bogle Construction                      301 Zogata Way                          Arroyo Grande, CA 93420                   A7   Customer Deposit    7,796   3,350
WOLFF URBAN MANAGEMENT                       11828 LA GRANGE                         LOS ANGELES, CA 90025                     A7   Customer Deposit    7,766   3,350
LISA SAPON                                   616 1/2 BEGONIA AVE                     CORONA DEL MAR, CA 92625          x   x   A7   Customer Deposit    7,760   3,350
Andrew Goth                                  821 Country Club Ln                     Coronado, CA 92118-2410           x   x   A7   Customer Deposit    7,755   3,350
Lovick Design                                11339 Burnham St                        Los Angeles, CA 90049-3421        x   x   A7   Customer Deposit    7,736   3,350

ProPacific Builders Inc. - Lindsay Shrader   2413 El Bosque Ave                      Carlsbad, CA 92009                        A7   Customer Deposit   37,153   3,350
Cheryl Tyson                                 92 Circle Ct                            Mission Viejo, CA 92692-5947      x   x   A7   Customer Deposit    7,707   3,350
Susan & Steve Connor                         2228 33rd St                            San Diego, CA 92104-5605                  A7   Customer Deposit    7,697   3,350
Sandy Wong                                   6602 Trinette Ave                       Garden Grove, CA 92845-2249               A7   Customer Deposit    7,673   3,350
Jamie Alexandre                              4465 Vision Dr APT 2                    San Diego, ca 92121                       A7   Customer Deposit    7,672   3,350
DO NOT USE - SEE ACCT # MSOJN7               2 Villeneuve                            Newport Coast, CA 92657-1023              A7   Customer Deposit    6,755   3,350
Principle Design and Construction            34 Miners Trl                           Irvine, CA 92620-2626             x   x   A7   Customer Deposit    7,642   3,350
Erik Kidd                                    7346 Grebe Dr                           Carlsbad, CA 92011-4867           x   x   A7   Customer Deposit    7,627   3,350
Anita & Tony Garnier                         74382 Desert Tenaja Trail               Indian Wells, CA 92210                    A7   Customer Deposit    7,619   3,350
Monique Risdon                               26412 Bodega Ln                         Mission Viejo, CA 92691           x   x   A7   Customer Deposit    7,613   3,350
ROD STONE                                    464 PROSPECT STREET, #604               LA JOLLA, CA 92037                        A7   Customer Deposit    7,545   3,350
Sera Ramadan                                 4558 Sunnycrest Dr                      Los angeles, CA 90065                     A7   Customer Deposit    7,541   3,350
Anuj and Mari Chock                          2721 6th St Unit 110                    Santa Monica, CA 90405                    A7   Customer Deposit    7,513   3,350
La Jolla Investment LLC                      1250 Cave St, Unit #1                   La Jolla, CA 92037-3647                   A7   Customer Deposit   27,909   3,350

SAN DIEGO INTERIOR DESIGN GROUP LLC          8775 Aero Dr Ste 138                    San Diego, CA 92123-1779          x   x   A7   Customer Deposit    7,495   3,350
Yvonne Vaucher                               607 Fern Gln                            La Jolla, CA 92037-5419                   A7   Customer Deposit    7,494   3,350
Araksy Avakian                               1366 Greenmont Dr                       Glendale, CA 91208-1726                   A7   Customer Deposit    7,473   3,350

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                     Case 24-01376-CL7
                          24-01376-CL7 Filed          Filed 05/03/24
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Mike Kirtland                 19172 La Pradera                       Yorba Linda, CA 92886-2742           A7   Customer Deposit     7,449                                         3,350
Susan Mason                   4087 Carmel Springs Way                      162
                                                                           101
                                                                     San Diego, CA 92130-2275      x x    A7   Customer Deposit     7,448                                         3,350
Luis Orama                                  33 San Raphael                                         Dana Point, CA 92629-4042             x   x   A7   Customer Deposit    7,430   3,350
Jeff Brunswig                               1224 N Foxton Cir                                      Anaheim, CA 92807-2409                        A7   Customer Deposit    7,377   3,350
Nilesh Makwana                              20465 Rance Dr.                                        Walnut, CA 91789                              A7   Customer Deposit    7,364   3,350
Soco Structures                             34145 Pacific Coast Hwy PMB 122                        Dana Point, CA 92629-2808                     A7   Customer Deposit    7,358   3,350
Kelly Nutt Design                           700 Carnation Ave Ste A                                Corona del Mar, CA 92625-2061                 A7   Customer Deposit    7,341   3,350
Cali Coastal Home                           2924 Emerson St Ste 207                                San Diego, CA 92106-2795                      A7   Customer Deposit    7,340   3,350
525 Wesmount Drive LLC                      525 Westmount Dr                                       West Hollywood, CA 90048-2005                 A7   Customer Deposit    7,339   3,350
Major Spaces LLC                            1966 Vestal Ave                                        Los Angeles, CA 90026-1842                    A7   Customer Deposit   16,859   3,350
Nina & Ben Verhulst                         101 South Brand                                        Los Angeles, Ca 91021                         A7   Customer Deposit    7,319   3,350
Karen Lawton                                285 Grande Way #704                                    Naples, Fl 34110                              A7   Customer Deposit    7,313   3,350
Bloum LLC.                                  13875 Old Camino El Real                               San Diego, CA 92130                           A7   Customer Deposit    7,312   3,350
Sam Abuturkia                               935 Genter St Unit 303                                 La Jolla, CA 92037-5519                       A7   Customer Deposit    7,307   3,350
Ronald and Sophia Chung                     16122 Veterans Way                                     Tustin, CA 92782-2831                         A7   Customer Deposit    7,302   3,350
Corinne Votaw                               2164 Skylar Pl                                         Tustin, CA 92782-2840                         A7   Customer Deposit    7,302   3,350
Nazeli Design                               655 N. Central #1700                                   Glendale, CA 91203                            A7   Customer Deposit    7,286   3,350
MLA General Contractors, Inc - Tait
Residence                                   2204 Via Tiempo                                        Cardiff, CA 92007                             A7   Customer Deposit    7,255   3,350
Leon Cielak                                 2420 Torrey Pines Rd #A-204                            La Jolla, CA 92037                    x   x   A7   Customer Deposit    7,251   3,350
NATHANIEL GROUILLE                          396 E. MARIPOSA ST.                                    ALTA DENA, CA 91001                           A7   Customer Deposit    7,249   3,350
Linda Lin                                   19468 Canter Lane                                      Walnut, CA 91789                              A7   Customer Deposit    7,248   3,350
Patrick Lakey                               2301 N Gower St                                        Los Angeles, CA 90068-2242                    A7   Customer Deposit    7,237   3,350
Susan Thiel Design Build                    24040 Camino De Avion, Suite A213                      Monarch Beach, CA 92629                       A7   Customer Deposit    7,205   3,350
Laura & Nick Astor                          4645 Ethel Ave                                         Sherman Oaks, CA 91423-3312                   A7   Customer Deposit    7,196   3,350
Peter Laux                                  3111 4th Street #301                                   Santa Monica, CA 90405                        A7   Customer Deposit    7,173   3,350
Victoria Perry Design INC                   3650 Maria Ln                                          Carlsbad, CA 92008-2777                       A7   Customer Deposit    7,163   3,350
Dutton Architects                           1505 Clearview Ln                                      Santa Ana, CA 92705-1501                      A7   Customer Deposit    7,162   3,350
Hannah Kim                                  3339 Moore                                             Los Angeles, CA 90066                         A7   Customer Deposit    7,156   3,350
Luxe Studio Design                          927 Calle Negocio Ste F                                San Clemente, CA 92673-6222           x   x   A7   Customer Deposit    7,853   3,350
Maui Partners                               PO Box 890                                             Rancho Santa Fe, CA 92067-0890                A7   Customer Deposit    7,143   3,350
LS Design Studio - Meghan Resnikoff         337 North Barington Ave                                Los Angeles, CA 90049                         A7   Customer Deposit    7,064   3,350
Natasha Minasian Interiors                  3168 Watermarke Pl                                     Irvine, CA 92612-5614                 x   x   A7   Customer Deposit    7,028   3,350
JR International Group LLC                  Paseo Los Cabos 150 Loc to Loc 5 & 6 Plaza Las Velas   San Jose del Cabo, B.C.S. 23406       x   x   A7   Customer Deposit   17,485   3,350
Shilpa Shah                                 751 La Portada                                         South Pasadena, CA 91030                      A7   Customer Deposit    7,010   3,350
Brooke Butler                               5600 Tuxedo Terrace                                    Los Angeles, CA 90068                 x   x   A7   Customer Deposit    6,984   3,350
Erik Haenchen                               135 E City Place Dr                                    Santa Ana, CA 92705-6010                      A7   Customer Deposit    6,972   3,350
Dana Construction & Development Inc -
Baron                                       315 S Coast Highway 101 Ste U53                        Encinitas, CA 92024                           A7   Customer Deposit    6,975   3,350
Sue Smith                                   1205 Pacific HWY Unit 2303                             San Diego, CA 92101                           A7   Customer Deposit    6,947   3,350
Heather Costin                              19075 Fairmont Ln                                      Huntington Beach, CA 92648-6124       x   x   A7   Customer Deposit    6,924   3,350
Natalie Taormina                            1736 Gardena Ave                                       Glendale, CA 91204-2907                       A7   Customer Deposit    6,921   3,350
Matthew Letcher                             14 Faircliff Ct                                        Glendale, CA 91206-1723               x   x   A7   Customer Deposit    6,908   3,350
Josh Bider                                  462 S El Camino Dr                                     Beverely Hills, CA 90212              x   x   A7   Customer Deposit    6,411   3,350
Zach Levine                                 5286 Coastal Sage Trl                                  San Diego, CA 92130-5072                      A7   Customer Deposit    6,902   3,350
Jesus Lizaran                               1241 Solita Rd                                         Pasadena, CA 91103-2453                       A7   Customer Deposit    6,897   3,350
Walter Frome                                59653 Almeria                                          La Quinta, CA 92253-8296                      A7   Customer Deposit    6,897   3,350
Tyler Penna and Charlotte Rudd              26440 Via California Unit b                            Dana Point, CA 92624                          A7   Customer Deposit    6,892   3,350
AL Design Services                          1490 Sunset Plaza Dr                                   Los Angeles, CA 90069-1342                    A7   Customer Deposit    6,865   3,350
John "Jay" Anderson                         5911 S Garth Ave                                       Los Angeles, CA 90056-1513                    A7   Customer Deposit    6,857   3,350
Rhon Development                            1908 Via Estudillo                                     Palos Verdes Estates, CA 90274-1910           A7   Customer Deposit    6,857   3,350
LS Quality Construction Inc.                2965 Union St                                          San Diego, CA 92103-6033              x   x   A7   Customer Deposit    6,805   3,350
By Nour Design                              7265 Dean Martin Dr #100                               Las Vegas, NV 89118                           A7   Customer Deposit    8,902   3,350
Charlene Foley                              22312 Shadow Ridge                                     Mission Viejo, CA 92692                       A7   Customer Deposit    6,793   3,350
Trish & Lesa Hachten-Kaleikau               20672 Lavonne Lane                                     Huntington Beach, CA 92646                    A7   Customer Deposit   19,278   3,350
Nadine Kureghian                            736 Cavanagh Rd                                        Glendale, CA 91207-1412               x   x   A7   Customer Deposit    6,774   3,350
Hedi Madani                                 2268 El Amigo Rd                                       Del Mar, CA 92014-3028                x   x   A7   Customer Deposit    6,773   3,350
Peter and Tricia Stoller                    1330 Ethel St                                          Glendale, CA 91207-1826                       A7   Customer Deposit    6,771   3,350
Dantor Martinez Construction                74120 El Paseo Unit 3                                  Palm Desert, CA 92260                         A7   Customer Deposit    5,577   3,350
Steven Weindling                            3144 Cerros Redondos                                   Rancho Santa Fe, CA 92067             x   x   A7   Customer Deposit    6,766   3,350
John & Liz Kirkowski                        310 Driftwood Rd                                       Corona del Mar, CA 92625-2634         x   x   A7   Customer Deposit   54,331   3,350

Eco Minded Solutions - Brigitte Alexander   8445 Camino Santa Fe ste 201                           San Diego, CA 92121                           A7   Customer Deposit    6,722   3,350
Demetri Brizolis                            PO Box 9357                                            Rancho Santa Fe, CA 92067-4357        x   x   A7   Customer Deposit    8,880   3,350
Ryan Hulett                                 5572 Candlelight Dr                                    La Jolla, CA 92037-7711               x   x   A7   Customer Deposit    3,350   3,350
Morgan Miller                               53 Augusta                                             Coto de Caza, CA 92679-4829           x   x   A7   Customer Deposit    6,687   3,350
Kitchen Expo                                7458 La Jolla Blvd                                     La Jolla, CA 92037                            A7   Customer Deposit    6,666   3,350
Kait Sullivan                               7844 Doug Hill Ct                                      San Diego, CA 92127-2501              x   x   A7   Customer Deposit    6,666   3,350
Green Dot Public Schools                    1149 S Hill St Ste 600                                 Los Angeles, CA 90015-2895                    A7   Customer Deposit    6,640   3,350
John Prosen                                 71270 Oasis Trail                                      Palm Desert, CA 92260                 x   x   A7   Customer Deposit    6,637   3,350
Daniel Hoekstra                             23487 Silverwood St                                    Murrieta, CA 92562-3442               x   x   A7   Customer Deposit   10,611   3,350
CHPT Construction - David Lenny             7657 Road to Singapore                                 San Diego, CA 92127                   x   x   A7   Customer Deposit    6,623   3,350
JOANNE YAMAMOTO DESIGN                      540 21ST ST                                            MAHATTAN BEACH, CA 90266                      A7   Customer Deposit    6,614   3,350
Dick & Diane Sherick                        7 Andromela Isle                                       Ladera Ranch, CA 92694                        A7   Customer Deposit    6,591   3,350
RANDY & CHRISTY LABRUM                      630 W Monterey Rd                                      Corona, CA 92882-4256                         A7   Customer Deposit    6,575   3,350
BRYAN & KAYLA CHARNEY                       1874 Rhodes Dr                                         Costa Mesa, CA 92626-4761             x   x   A7   Customer Deposit    6,554   3,350
Steve White                                 28572 Big Springs Rd                                   Trabuco Canyon, CA 92679-1143                 A7   Customer Deposit    6,548   3,350
Jaclyn Kurzawa                              8 Hammond Rd                                           Ladera Ranch, CA 92694-1415                   A7   Customer Deposit      776     776
II-d                                        728 Del Corro Pl                                       Chula Vista, CA 91910                         A7   Customer Deposit   45,650   3,350
Jon Cullum                                  18 Calle Akelia                                        San Clemente, CA 92673                        A7   Customer Deposit    6,525   3,350
SLAYMAN DESIGN ASSOCIATES, INC.             2094 S Coast Hwy Ste 3                                 Laguna Beach, CA 92651-3678           x   x   A7   Customer Deposit    6,514   3,350
DbaC Construction                           101 Shipyard Way Ste A                                 Newport Beach, CA 92663-4447                  A7   Customer Deposit    6,506   3,350
John Hill                                   201 Calle Potranca                                     San Clemente, CA 92672-4552                   A7   Customer Deposit    6,501   3,350
JENNIFER KROPKO                             6515 POCO LAGO                                         RANCHO SANTA FE, CA 92067                     A7   Customer Deposit    6,517   3,350
Eric Jackson                                1907 Galatea Ter                                       Corona del Mar, CA 92625-1815                 A7   Customer Deposit    3,247   3,247
Larry and Carol Solters                     1240 India St Unit 2306                                San Diego, CA 92101-8555                      A7   Customer Deposit    3,226   3,226
David Weinman                               12879 Via Latina                                       Del Mar, CA 92014-3729                        A7   Customer Deposit    6,449   3,350
Christiano Homes                            729 W 16th St Ste C4                                   Costa Mesa, CA 92627-4316                     A7   Customer Deposit    6,176   3,350
Passione, Inc.                              16441 Scientific Ste 150                               Irvine, CA 92618-4369                 x   x   A7   Customer Deposit    6,402   3,350
Kim Pyo                                     The Global Punch, Inc. / 711 Grand Ave. #1             Carlsbad, CA 92008                            A7   Customer Deposit   15,279   3,350
Gloria Russell                              57330 Peninsula Ln                                     La Quinta, CA 92253-6901                      A7   Customer Deposit    6,392   3,350
ATX LUXURY BUILDERS LLC                     1820 ASHBY AVE                                         AUSTIN, TX 78704                      x   x   A7   Customer Deposit   19,053   3,350
RICHARD STAHL                               1985 Port Ramsgate Pl                                  Newport Beach, CA 92660-5304                  A7   Customer Deposit    6,371   3,350
Stephanie Cancellieri                       20 Gleneagles Dr                                       Newport Beach, CA 92660-4296                  A7   Customer Deposit    6,363   3,350
Erin Sander Design                          8427 Ridpath Dr                                        Los Angeles, CA 90046-7711            x   x   A7   Customer Deposit    5,820   3,350
Jayne Rhee                                  2115 Arbutus St                                        Newport Beach, CA 92660-4137                  A7   Customer Deposit    6,332   3,350

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                     Case 24-01376-CL7
                          24-01376-CL7 Filed    Filed 05/03/24
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Rob Weir                      1845 Lodgepole Rd                San Marcos, CA 92078-5409     x x    A7   Customer Deposit    38,510                            3,350
Ralene Stevens                1613 Haydn Dr                          162
                                                                     101
                                                               Cardiff, CA 92007-2303               A7   Customer Deposit     6,323                            3,350
Martha Kerstner                        207 Crystal Ave                         Newport Beach, CA 92662               x   x   A7   Customer Deposit     6,318   3,350
Dane Shota                             3943 Humboldt Dr                        Huntington Beach, CA 92649-2127               A7   Customer Deposit     6,302   3,350
Rick Siem                              133 Avenida Princesa                    San Clemente, CA 92672                        A7   Customer Deposit     6,285   3,350
Amanda Verdugo Design                  2390 Rutgers Dr                         Costa Mesa, CA 92626-6330             x   x   A7   Customer Deposit     6,260   3,350
Laura Roberts Interiors                306 E Tamarack Ave                      Inglewood, CA 90301-2717                      A7   Customer Deposit     6,241   3,350
Rost Architects                        8855 Research Dr                        Irvine, CA 92618-4236                 x   x   A7   Customer Deposit     6,215   3,350
Razook & Brenda Audish                 4101 Ponce de Leon Dr                   La Mesa, CA 91941                             A7   Customer Deposit     6,172   3,350
Adam & Beth Taich                      6698 Via Dos Valles                     Rancho Santa Fe, Ca 92067                     A7   Customer Deposit     6,161   3,350
CHRIS & TODD RICHTER & DAVIS           31941 10th Ave                          Laguna Beach, CA 92651-6837                   A7   Customer Deposit     6,158   3,350
Michael Kunz                           1134 La Mirada St                       Laguna Beach, CA 92651                        A7   Customer Deposit     6,149   3,350
Studio Keros                           362 Jasmine St                          Laguna Beach, CA 92651-1614                   A7   Customer Deposit     6,148   3,350
Elia Surran                            16711 Los Morros                        Rancho Santa Fe, Ca 92067                     A7   Customer Deposit     6,062   3,350
CONQST                                 20391 Bayview Ave                       Newport Beach, CA 92660                       A7   Customer Deposit     6,142   3,350
Katy Homeyer                           44249 Corfu Ct                          Palm Desert, CA 92260-8536            x   x   A7   Customer Deposit     6,126   3,350
Steve Lee                              23 Amador                               Newport Coast, CA 92657-1225          x   x   A7   Customer Deposit     6,116   3,350
Keech Properties                       1170 Ramona St                          Palo Alto, CA 94301-2445                      A7   Customer Deposit     6,116   3,350
John Zhao                              8 Fairway Pt                            Newport Beach, CA 92657-1721                  A7   Customer Deposit     6,105   3,350
Katie & Bryan Hill                     3633 Sage Canyon Dr                     Encinitas, CA 92024-7918                      A7   Customer Deposit     6,102   3,350
Arise Interiors                        814 Morena Blvd. #207                   SAN DIEGO, CA 92110                   x   x   A7   Customer Deposit    40,836   3,350
Keith Schofield                        2237 Panorama Ter                       Los Angeles, CA 90039-3542                    A7   Customer Deposit     6,076   3,350
CONRAD MEYER                           16862 Bolero                            Huntington Harbor, Ca 92649                   A7   Customer Deposit     6,060   3,350
Coryn Madley                           4243 Sutro Ave                          Los Angeles, CA 90008                 x   x   A7   Customer Deposit     6,060   3,350
AUDREY MC CARTHY                       1235 Adair St                           San Marino, CA 91108-1806             x   x   A7   Customer Deposit     6,057   3,350
Larry Michaels                         1932 E Deere Ave Ste 220                Santa Ana, Ca 92705                   x   x   A7   Customer Deposit     6,054   3,350
mark and georgia phares                3105 Homer St                           San Diego, CA 92106                           A7   Customer Deposit     6,054   3,350
Jane Kim                               606 Lovell Place                        Fullerton, CA 92835                           A7   Customer Deposit     6,051   3,350
Corey Reeser                           3700 W. Ave 40                          Los Angeles, CA 90065                         A7   Customer Deposit     6,048   3,350
Nicole Kvarda                          16977 Reposa Alta                       rancho Santa fe, Ca 92067             x   x   A7   Customer Deposit     6,042   3,350
Taryn Oneill                           5452 Windward Ave                       Long Beach, CA 90814-1961             x   x   A7   Customer Deposit     6,006   3,350
Tony Darouiche                         6154 Soledad Mountain Rd                La Jolla, CA 92037-7016                       A7   Customer Deposit     5,998   3,350
Stel Builders - Jesse & Louise Unger   4016 Gros Ventre Ave                    San Diego, CA 92117-4640              x   x   A7   Customer Deposit     5,983   3,350
Chris Barrett Design                   73580 Minzah Way                        Palm Desert, CA 92260-5858                    A7   Customer Deposit     5,981   3,350
Atefeh & Shawn Nikoukary               1088 Olive Crest Dr                     Encinitas, CA 92024-6829              x   x   A7   Customer Deposit     5,973   3,350
Robin Roy Design                       21862 Herencia                          Mission Viejo, Ca 92692                       A7   Customer Deposit     5,972   3,350
Teresa Zorbas                          11204 Walking Fern Cove                 San Diego, CA 92131                   x   x   A7   Customer Deposit     6,826   3,350
Davita Greenwald                       3 Avenida Fortuna                       San Clemente, CA 92673-3252           x   x   A7   Customer Deposit     5,945   3,350
Andrew & Katherine Krause              1725 Oak Ave.                           Manhattan Beach, CA 90266             x   x   A7   Customer Deposit     5,944   3,350
Ventana Design Group                   10836 Garland Dr                        Culver City, CA 90232-3755                    A7   Customer Deposit     5,942   3,350
Kelly Smith                            26533 Love Ln                           Ramona, Ca 92065                              A7   Customer Deposit     5,940   3,350
Brian & Susan Kim                      2929 Cimmaron Ln                        Fullerton, CA 92835-3145                      A7   Customer Deposit     5,913   3,350
Field X studio                         2033 San Elijo #643                     Cardiff by The Sea, CA 92007                  A7   Customer Deposit     5,893   3,350
ISABEL ZIPPEL                          24282 LOS SERRANOS DRIVE                LAGUNA NIGUEL, CA 92677                       A7   Customer Deposit     5,882   3,350
McInerney & Associates                 932 Court Way                           San Diego, CA 92103-1313                      A7   Customer Deposit     5,879   3,350
Del Mar Restoration                    PO Box 2646                             Del Mar, CA 92014-5646                        A7   Customer Deposit     5,877   3,350
Louis Laz                              7365 Remley Place                       La Jolla, CA 92037                    x   x   A7   Customer Deposit     5,876   3,350
Mary Mansfield                         13670 Calais Dr                         Del Mar, CA 92014                     x   x   A7   Customer Deposit     2,924   2,924
AY Investment Group                    18740 Oxnard St. Ste 304                Tarzana, CA 91356                     x   x   A7   Customer Deposit     9,595   3,350
Alexie Sorenson                        6900 Bruce Ct                           La Mesa, CA 91942-5812                        A7   Customer Deposit     5,819   3,350
Dene Feldman and Koko Bakchajian       2249 Kenilworth Ave.                    Los Angeles, CA 90039                         A7   Customer Deposit     5,817   3,350
Rendong Wu                             31031 Via Peralta                       Coto de Caza, CA 92679-3612           x   x   A7   Customer Deposit     5,791   3,350
shaudi larkin                          1741 A Stockton St                      San Francisco, ca 94133                       A7   Customer Deposit     5,769   3,350
Saleem Erakat                          22431 Ridgebrook                        Mission Viejo, CA 92692                       A7   Customer Deposit     5,765   3,350
Ying Buechler                          1343 Cassins St                         Carlsbad, CA 92011-4857                       A7   Customer Deposit     5,753   3,350
Larry & Vika Brough                    1138 Devonshire Dr                      Encinitas, CA 92024                           A7   Customer Deposit     5,744   3,350
Carley Pennington                      10611 Acacia St                         Rancho Cucamonga, CA 91730-5410               A7   Customer Deposit     5,734   3,350
Amanda Huynh                           10332 Crawford Canyon Rd                North Tustin, CA 92705-1412                   A7   Customer Deposit     5,727   3,350
Kathy Hoffman                          1918 Tahuna Terrace                     Corona Del Mar, CA 92625                      A7   Customer Deposit     5,715   3,350
Craig & Tina Burnett                   8898 Talca Ct.                          San Diego, CA 92129                   x   x   A7   Customer Deposit     5,708   3,350
Dan & Katie Sullivan                   11058 Twinleaf Way                      San Diego, CA 92131-3644                      A7   Customer Deposit     5,701   3,350
Christine Vroom Interiors              920 Marco PL                            VENICE BEACH, CA 90291                        A7   Customer Deposit     5,689   3,350
Matthew Lundgren                       3940 7th Ave Unit 210 Unit 210          San Diego, CA 92103-3287              x   x   A7   Customer Deposit     5,678   3,350
Robert Simons                          737 E Ferndale Ave                      Orange, CA 92865                              A7   Customer Deposit     5,676   3,350
Rachel Stanhoff                        3400 Cutting Horse Road                 Norco, CA 92860                               A7   Customer Deposit     5,671   3,350
Alden Minor Interior Design            17010 Wilkie Ave                        Torrance, CA 90504-2824               x   x   A7   Customer Deposit     5,638   3,350
Mark Casas                             27021 La Paja Lane                      Mission Viejo, Ca 92691               x   x   A7   Customer Deposit     5,631   3,350
Vanguard Contracting Inc.              23 Corporate Plaza Suite 150            Newport Beach, CA 92660                       A7   Customer Deposit     5,628   3,350
Christine Farguson                     1233 Wentworth Ave                      Pasadena, CA 91106-4447                       A7   Customer Deposit     5,625   3,350
Otis Webb Studio                       16845 E. Avenue of the Fountains #107   Fountain Hills, AZ 85268                      A7   Customer Deposit     5,623   3,350
Margaret Carpenter                     1440 Forest Knoll Dr                    Oak Park, CA 91377-4714                       A7   Customer Deposit     5,602   3,350
Susan Mitnick Design Studio            843 N Laurel Ave                        Los Angeles, CA 90046-6907            x   x   A7   Customer Deposit     5,596   3,350
Kristina Ter-minasyan                  931 Vista Del Valle                     La Canada, CA 91011                           A7   Customer Deposit     5,586   3,350
Tidal Interiors - Mikey Scarpella      1683 Calle Leticia                      La Jolla, CA 92037-7124                       A7   Customer Deposit     5,553   3,350
Lee Mankiewicz                         1802 Marine St                          Santa Monica, CA 90405                        A7   Customer Deposit     5,539   3,350
Karen Jakobi                           11155 Horizon Way                       Tustin, CA 92782                              A7   Customer Deposit     1,938   1,938
Beth Fiedorek                          1164 Buelah ave.                        Los Angeles, Ca 90063                         A7   Customer Deposit     5,533   3,350
Studio r                               1401 19th Street                        Manhattan Beach, Ca 90266                     A7   Customer Deposit     5,529   3,350
Rich Keys                              1551 La Loma Dr                         Santa Ana, CA 92705-3030              x   x   A7   Customer Deposit     5,514   3,350
Bruce Peters                           49200 Sunrose Ln                        Palm Desert, CA 92260-6718                    A7   Customer Deposit    15,752   3,350
Aaron Duncan-Schwartz                  3131 Laurel Ave unit 12                 Fullerton, Ca 92835                           A7   Customer Deposit     5,496   3,350
NCInDesign - Harshda Prasad            1233 Highbluff Ave                      San Marcos, CA 92078-1051                     A7   Customer Deposit     5,467   3,350
Kathleen Jewell                        10881 Orange Park Blvd                  Orange, CA 92869                              A7   Customer Deposit     5,462   3,350
RGR development                        123 xyz                                 San Diego, CA 92130                   x   x   A7   Customer Deposit     5,451   3,350
Mary Swanson                           367 Pacific Avenue                      Solana Beach, CA 92075                x   x   A7   Customer Deposit     5,451   3,350
Lydia Tracy                            1405 Via Montemar                       Palos Verdes Estates, CA 90274-1806           A7   Customer Deposit     5,449   3,350
Everyday Elegance Design               509 Via Florida                         San Clemente, CA 92672-2457                   A7   Customer Deposit     5,448   3,350
CHRISTOPHER GARCIA                     3075 Bonita Woods Dr                    Bonita, CA 91902-2020                 x   x   A7   Customer Deposit     5,429   3,350
Ross Zuercher                          602 Crest Dr                            Encinitas, CA 92024-4124                      A7   Customer Deposit     5,420   3,350
RICK FAHMIE (KITCHEN EXPO)             Hightime Ridge                          Rancho Sante Fe, CA 92067                     A7   Customer Deposit     5,411   3,350
Kim Consani                            5 Cape Andover                          Newport Beach, CA 92660               x   x   A7   Customer Deposit     5,401   3,350
Bondurant Construction                 2474 Valley Mill Rd                     El Cajon, CA 92020                            A7   Customer Deposit     5,388   3,350
Padmaja Battiprolu                     12713 Cloud Break Avenue                San Diego, CA 92129                           A7   Customer Deposit     5,386   3,350
Candice Kislack                        1006 G Ave                              Coronado, CA 92118-2702                       A7   Customer Deposit     5,385   3,350
Kelly Wearstler                        760 N LA Cienega Blvd                   Los Angeles, CA 90069-5204                    A7   Customer Deposit     5,366   3,350
HPA Inc.                               84 Royal Saint Georges Way              Rancho Mirage, CA 92270               x   x   A7   Customer Deposit   177,035   3,350

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                    Case 24-01376-CL7
                         24-01376-CL7 Filed         Filed 05/03/24
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                                                                                                                                  69 of of
PHIL AND AMAL GRAVES         19185 Via Cuesta                      Ramona, CA 92065-5816         x x    A7   Customer Deposit     5,307                        3,350
Jenny Oliver                 414 Camino De La Costa                       162
                                                                          101
                                                                   La Jolla, CA 92037                   A7   Customer Deposit     5,303                        3,350
Kristin Arnold                             2868 Via Conquistador                 Carlsbad, CA 92009-3017              x   x   A7   Customer Deposit    5,295   3,350
Armen Abramian                             1540 Wabasso Way                      Glendale, CA 91208                           A7   Customer Deposit    5,282   3,350
Erin Lavelle                               321 Santa Ana Ave                     Newport Beach, CA 92663-4123                 A7   Customer Deposit    5,273   3,350
Sunny Kang                                 4954 Firenza Dr                       Cypress, CA 90630                            A7   Customer Deposit    5,253   3,350
McCarthy Cook & Co Inc                     575 Anton Blvd # 350                  Costa Mesa, CA 92626                         A7   Customer Deposit    5,246   3,350
Kim Palmer Designs                         160 W Poplar Ave                      San Mateo, CA 94402-1152                     A7   Customer Deposit    5,239   3,350
Danl Plyler                                27 Needle Grass                       Irvine, CA 92603-0428                        A7   Customer Deposit    5,233   3,350
OUTLINE STUDIOS                            1734 N Fuller Ave Apt 106             Los Angeles, CA 90046-3032                   A7   Customer Deposit    5,229   3,350
Tracy Gale                                 73410 Bursera Way                     Palm Desert, CA 92260-5714                   A7   Customer Deposit    5,588   3,350
Sara Witham                                2064 Mandarin Drive                   Costa Mesa, CA 92626                         A7   Customer Deposit    5,224   3,350
TATIANA THORPE                             533 Meridian Ter                      Los Angeles, CA 90042-2117                   A7   Customer Deposit    5,222   3,350
Barbara Wright                             233 W Crestview Dr                    Palm Springs, CA 92264-8969                  A7   Customer Deposit    5,212   3,350
SIOBHAN BURKE                              2227 Lyric Ave                        Los Angeles, CA 90027-4751                   A7   Customer Deposit    5,200   3,350
Lili Gaggenau                              1234 Home Street                      Mission Viejo, CA 92692                      A7   Customer Deposit    5,194   3,350
Roberto Tarriba                            6667 Caminito Lindrick                La Jolla, CA 92037                           A7   Customer Deposit    5,162   3,350
Raymond Palisoc                            522 WEST KENNTEH RD                   Glendale, CA 91020                           A7   Customer Deposit    4,509   3,350
David Benjamin                             2001 E Camino Parocela Unit J70       Palm Springs, CA 92264-8281          x   x   A7   Customer Deposit    9,608   3,350
Kathy Clark                                22008 Parvan Dr.                      Santa Clarita, CA 91350                      A7   Customer Deposit    5,150   3,350
JF Construction                            3215 Sandy Place                      Calsbad, CA 92008                    x   x   A7   Customer Deposit    5,149   3,350
George And Roann Turk                      441 Via Lido Nord                     Newport Beach, CA 92663-4941                 A7   Customer Deposit    5,139   3,350
Angela & Jason Tatman                      417 Warwick Ave                       Cardiff, CA 92007                            A7   Customer Deposit    5,137   3,350
Ruth & Richard Antonorsi                   6652 AVENIDA LA REINA                 LA JOLLA, CA 92037                           A7   Customer Deposit    5,135   3,350
Ken & Kara Manqueros                       14566 Via Bergamo                     San Diego, CA 92127                          A7   Customer Deposit    5,130   3,350
lisa rines                                 9662 RAVENS CROFT                     TUSTIN, CA 92705                             A7   Customer Deposit    5,125   3,350
Daniel & Tamlyn Blinkof                    1141 Cordova ave.                     Glendale, Ca 91207                           A7   Customer Deposit    5,112   3,350
Oksana Nilova                              515 N Willowspring Dr                 Encinitas, CA 92024-1915                     A7   Customer Deposit    2,550   2,550
Kathleen Lindemann                         518 Southbridge Ct                    Encinitas, CA 92024-1539             x   x   A7   Customer Deposit    5,100   3,350
SANCTUARY DESIGN                           120 Tustin Ave Ste C #102             Newport Beach, CA 92663              x   x   A7   Customer Deposit    5,082   3,350
John & Kathleen Smith                      7762 Pendon Ct                        Carlsbad, CA 92009-8027                      A7   Customer Deposit    5,082   3,350
Mandy Cheng Design                         514 N Commonwealth Ave                Los Angeles, CA 90004-2303                   A7   Customer Deposit    5,081   3,350
Elsa Tatevossian                           345 Blythe Rd                         La Canada, CA 91011-3510                     A7   Customer Deposit    5,054   3,350
Dara and David Hyde                        3871 Revere Ave                       Los Angeles, CA 90039                x   x   A7   Customer Deposit    5,051   3,350
Evan Epstein                               217 Amherst Rd                        Costa Mesa, CA 92626-6465                    A7   Customer Deposit    5,040   3,350

Rose Lake Design - Anderson Residence      1710 La Tierra Ct                     San Marcos, CA 92078-4611                    A7   Customer Deposit    5,039   3,350
ALINA SUHOSTAVSKAIA                        7134 Matilija Ave                     Van Nuys, CA 91405-3333                      A7   Customer Deposit    5,037   3,350
ANNA FOX                                   3846 Breton Ln                        Yorba Linda, CA 92886                        A7   Customer Deposit    5,009   3,350
Kristen Collins                            2909 Ocean Ave                        Venice, CA 90291-4663                        A7   Customer Deposit    5,001   3,350
Mike Kelly                                 4618 Placidia Ave                     Toluca Lake, CA 91602                        A7   Customer Deposit    5,000   3,350
GROUND UP BUILDERS                         1178 Sonoma Dr                        Altadena, CA 91001-3150                      A7   Customer Deposit    5,000   3,350
Raimund Brendel                            11 Stanford Dr                        Rancho Mirage, CA 92270-3732                 A7   Customer Deposit    4,977   3,350
Bill & Cathy Wafford                       14534 Las Haciendas                   San Diego, CA 92127-2502             x   x   A7   Customer Deposit    4,967   3,350
Amy & Greg Albertyn                        31381 Old San Juan Rd                 San Juan Capistrano, CA 92675-2406           A7   Customer Deposit    4,962   3,350
Jerry Glasson                              4634 Rancho Reposo                    Del Mar, CA 92014-4201               x   x   A7   Customer Deposit    4,956   3,350
Heather Bland Interiors                    312 Ruby Ave                          Newport Beach, CA 92662-1130                 A7   Customer Deposit    4,945   3,350
FDK Design                                 11890 Cypress Valley Dr               San Diego, CA 92131-3761             x   x   A7   Customer Deposit    4,913   3,350
Sean and Leyla Hoffman                     1952 Vestal Ave                       Los Angeles, CA 90026-1842           x   x   A7   Customer Deposit    5,384   3,350
Kristin Lomauro Interior Design            2922 Evergreen St                     San Diego, CA 92106-1405                     A7   Customer Deposit    4,895   3,350
Archie Dunham                              19 Pacific Ridge Place                Dana Point, CA 92629                         A7   Customer Deposit    4,887   3,350
MARIO PACHECO                              47 Long View Rd                       Coto de Caza, CA 92679-5219          x   x   A7   Customer Deposit    4,884   3,350
Joan Warren-Grady                          7938 Ivanhoe Ave                      La Jolla, CA 92037-4569                      A7   Customer Deposit    4,460   3,350
Mae Design Studio                          4545 La Jolla Village Dr Ste E1       San Diego, CA 92122-1672                     A7   Customer Deposit    4,864   3,350
Thomson Enterprises Inc.                   4545 LaJolla Village Dr , Ste E-1     La Jolla, CA 92122                   x   x   A7   Customer Deposit    4,859   3,350
Kaminskiy Design & Remod. - Carrie
Duranceau                                  7920 Mirasol Dr                       San Diego, CA 92128                          A7   Customer Deposit    4,848   3,350
Stone Grove Landscape Architects           200 N Cedros Ave                      Solana Beach, CA 92075-1254                  A7   Customer Deposit    4,013   3,350
Amelia Lima                                4597 Vista de La Patria               Del Mar, CA 92014-4151               x   x   A7   Customer Deposit    4,836   3,350
Adriana Beischl                            316 W 64th St                         Inglewood, CA 90302-1128                     A7   Customer Deposit    4,817   3,350
Josh Meek                                  539 Fullerton Ave                     Newport Beach, CA 92663              x   x   A7   Customer Deposit    4,815   3,350
Garden Communities                         9110 Judicial Dr                      San Diego, CA 92122-6711             x   x   A7   Customer Deposit   88,320   3,350
Julio & Kseniya Alejanero                  26961 Windsor Dr                      San Juan Capistrano, CA 92675-1445           A7   Customer Deposit    4,789   3,350
Union and Park                             363 Arjuna Court                      Encinitas, CA 92024                          A7   Customer Deposit    4,781   3,350
WESTCO DRUGS INC                           1923 Erin Way                         Glendale, CA 91206-1007                      A7   Customer Deposit   44,578   3,350
McCullough Design Development              16935 W Beranardo Rd. #195            San Diego, CA 92127                      x   A7   Customer Deposit    4,750   3,350
Maria Del Carmen Fimbres                   2695 Customhouse Ct                   San Diego, CA 92154-7617                     A7   Customer Deposit    4,748   3,350
Sunburst Capital, LLC                      2650 Jamacha Rd Suite 147 P.M.B 102   El Cajon, CA 92019                           A7   Customer Deposit    4,743   3,350
Cody klatt                                 11908 Avenida Marcella                El Cajon, CA 92019-4064              x   x   A7   Customer Deposit    2,368   2,368
Elegant Appointments                       2601 Boulder Oaks Ln                  Alpine, CA 91901-3692                        A7   Customer Deposit    4,723   3,350
Hafizah Shahryar & Ann Walker              1132 Tellem Dr                        Pacific Palisades, CA 90272                  A7   Customer Deposit    4,753   3,350
Lyndsey Torp                               2576 Fairway Dr                       Costa Mesa, CA 92627-1312            x   x   A7   Customer Deposit    7,825   3,350
Chirag & Naiya Mehta                       360 E Randolph #3604/05               Chicago, IL 60601                            A7   Customer Deposit    4,693   3,350
Val Mellon                                 23976 Broadhorn Drive                 Laguna Niguel, Ca 92677                      A7   Customer Deposit    4,692   3,350
Greg Agee Homes                            130 S Cedros Ave Ste 200              Solana Beach, CA 92075-1954                  A7   Customer Deposit    9,525   3,350
Lizeth Rodriguez                           484 Smokey Circle                     Chula Vista, CA 91910                        A7   Customer Deposit    4,703   3,350
Mary Kay Perrio                            3536 Seashore Ave                     Greenbank, WA 98253-9743             x   x   A7   Customer Deposit    2,327   2,327

ProPacific Builders Inc. - Surette Residence 11265 Vereda Mar de Corazon         San Diego, CA 92130-2694             x   x   A7   Customer Deposit    4,649   3,350
Kindred Design House - Casey and Austin
Swanson                                      6657 Camino del Rey                 Bonsall, CA 92003-4602                       A7   Customer Deposit    4,643   3,350
Vi Design                                    1515 E Katella Ave                  Anaheim, CA 92805-6680                       A7   Customer Deposit    4,003   3,350
Tom Hulick                                   500 N Baldwin Ave                   Sierra Madre, CA 91024                       A7   Customer Deposit    4,626   3,350
FRANCES PENA                                 411 S Mountain Glen Rd              Anaheim, CA 92807-3502                       A7   Customer Deposit    4,621   3,350
Michael Poloukhine Architect                 3489 Maplewood Ave                  Los Angeles, CA 90066-2254                   A7   Customer Deposit    4,499   3,350
Brian Smith                                  64721 Sunflower rd                  Joshua Tree, CA 92252                        A7   Customer Deposit    4,603   3,350
Lauren Cynkar & Steven Willford              18335 Clifftop Way                  Malibu, CA 90265                             A7   Customer Deposit    4,600   3,350
Erin Escobar                                 1306 Dover Dr                       Newport Brach, CA 92660                      A7   Customer Deposit    4,600   3,350
Oricon Design & Build, Inc                   2109 S Wright St Ste A              Santa Ana, CA 92705-5322             x   x   A7   Customer Deposit    4,596   3,350
Paul Lavoie Interior Design                  495 E Santiago Way                  Palm Springs, CA 92264-9435          x   x   A7   Customer Deposit    4,589   3,350
Pete Hill Construction Company Inc.          4626 Albuquerque St Ste 200         San Diego, CA 92109-3858                     A7   Customer Deposit    2,053   2,053
Handcrafted Construction                     5408 Sepulveda Blvd                 Culver City, CA 90230-5512           x   x   A7   Customer Deposit    4,573   3,350
TW Construction                              PO Box 861                          La Jolla, CA 92038-0861              x   x   A7   Customer Deposit    4,572   3,350
David Berkson                                1271 Sunset Grove Rd                Fallbrook, Ca 92028                          A7   Customer Deposit    3,897   3,350
Amanda Chenery                               511 Pierpont Dr                     Costa Mesa, Ca 92626                 x   x   A7   Customer Deposit    4,516   3,350
Steve Yurosek                                508 Goldenrod Ave                   Corona del Mar, CA 92625-2141                A7   Customer Deposit    4,514   3,350

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                    Case 24-01376-CL7
                         24-01376-CL7 Filed      Filed 05/03/24
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Dalzell Group                262 Via del Cerrito                Encinitas, CA 92024-4310      x x    A7   Customer Deposit     5,512                         3,350
Jorene Lopez                 6875 Outpost Rd                          162
                                                                      101
                                                                Joshua Tree, Ca 92252                A7   Customer Deposit     4,508                         3,350
Lauren Talley-Reyes                       2623 Soderblom Ave                   San Diego, CA 92122                  x   x   A7   Customer Deposit    4,507   3,350
Diana Tomei Design                        4 Colonial Dr.                       Newport Beach, CA 92660                      A7   Customer Deposit    4,484   3,350
Gerry Mendelson                           10214 Larvin ave unit 7              Chatsworth, ca 91311                         A7   Customer Deposit    4,484   3,350
Mark Hendrick                             736 4th St                           Encinitas, CA 92024-3407             x   x   A7   Customer Deposit   14,408   3,350
Richard Della Penna                       700 Front St #2003                   San Diego, CA 92101                  x   x   A7   Customer Deposit    4,451   3,350
Kris Roulo                                38830 Kilimanjaro                    Palm Desert, Ca 92211                        A7   Customer Deposit    4,441   3,350
Roya Esmaili                              3087 Deep Canyon Dr                  Beverly Hills, CA 90210-1011         x   x   A7   Customer Deposit    4,421   3,350
HIREN PATEL                               16619 Brahms Pl                      Cerritos, CA 90703-1368                      A7   Customer Deposit    4,410   3,350
Gevorg Vardanyan                          8143 Hazeltine Ave                   Panorama City, CA 91402-5335                 A7   Customer Deposit    4,400   3,350
Andaz Building Group                      216 W Marquita                       San Clemente, CA 92672-5157                  A7   Customer Deposit    4,392   3,350
CUMBRE AMIGO'S LLC                        PO Box 675686                        Rancho Santa Fe, CA 92067-5686               A7   Customer Deposit    4,366   3,350
Joel & Jasmina Calderon                   1027 Goldenrod Ave                   Corona del Mar, CA 92625-1506                A7   Customer Deposit    4,345   3,350
Nik Mirchev                               2112 Roscomare Rd                    Los Angeles, CA 90077                        A7   Customer Deposit   11,963   3,350
Reuben Cahn                               27275 Calle Anejo                    Capistrano Beach, CA 92624-1829              A7   Customer Deposit    4,335   3,350
Petra Nguyen                              1139 La Sombra Drive                 San Marcos, CA 92078                         A7   Customer Deposit    4,397   3,350
Chris Blackburn                           19965 Winners Circle                 Yorba Linda, CA 92886                        A7   Customer Deposit    4,309   3,350
Selma Kent                                20 Linda Isle                        Newport Beach, CA 92660              x   x   A7   Customer Deposit    4,289   3,350
Cutler Lott                               228 Monarch Bay Dr                   Dana Point, CA 92629-3435                    A7   Customer Deposit    4,283   3,350
Ziccardi Designs                          PO Box 9948                          Newport Beach, CA 92658-1948         x   x   A7   Customer Deposit    4,275   3,350
Elisa Kinsman                             23 Belmont                           Newport Beach, CA 92660-6732                 A7   Customer Deposit    4,275   3,350
MJPB Properties USA, INC.                 35242 Vista de Todo                  Capistrano Beach, CA 92624-1847              A7   Customer Deposit    4,269   3,350
Kirstin Watson                            1999 Port Nelson Pl                  Newport Beach, CA 92660-6619         x   x   A7   Customer Deposit    4,238   3,350
The Art Department Inc                    5701 Briarcliff Rd                   Los Angeles, CA 90068-3632           x   x   A7   Customer Deposit    4,212   3,350
Chuck Heard                               55088 Laurel Vly                     La Quinta, CA 92253-4646                     A7   Customer Deposit    4,211   3,350
Navid Tehrani                             19281 Sierra Cadiz Rd.               Irvine, CA 92603                             A7   Customer Deposit    4,210   3,350
Libby & Jim Kelm                          6177 Greenwood Pl                    Rancho Cucamonga, CA 91739-9120              A7   Customer Deposit    4,204   3,350
Nathan Click                              1623 N Ogden Dr                      West Hollywood, CA 90046-2603                A7   Customer Deposit    4,192   3,350
Michael Loggia                            2578 Verbena Dr                      Los Angeles, CA 90068-3017                   A7   Customer Deposit    4,188   3,350
KIM FERRANTE                              5530 BEAUMONT AVENUE                 LA JOLLA, CA 92037                           A7   Customer Deposit    4,187   3,350
Zadfar Designs                            12421 Mystic Ln                      Santa Ana, Ca 92705                          A7   Customer Deposit    4,152   3,350
CYNTHIA REHO                              40 Parremo                           Mission Viejo, CA 92692-5120                 A7   Customer Deposit    4,149   3,350
Design 21                                 2915 Red Hill Ave B201h              Costa Mesa, CA 92626-5916                    A7   Customer Deposit    4,139   3,350
Ashley Clark                              8636 Ruette Monte Carlo              La Jolla, CA 92037-2014                      A7   Customer Deposit    4,137   3,350
JOSHUA SACCO                              55083 REDWOOD DR                     SPRINGVILLE, CA 93265                        A7   Customer Deposit    4,105   3,350
Sean & Karen Butland                      5771 La Jolla Hermosa Ave            La Jolla, CA 92037-7330                      A7   Customer Deposit    4,104   3,350
Fullen Enany Design Group, Inc.           31742 Coast Hwy                      Laguna Beach, CA 92651-6974                  A7   Customer Deposit    4,090   3,350
Jenny Farrell                             398 Vista Baya                       Newport Beach, CA 92660-3634         x   x   A7   Customer Deposit    4,083   3,350
R DOUGLAS CONSTRUCTION INC                3318 Carnation Ave                   Ramona, CA 92065-3643                x   x   A7   Customer Deposit    4,076   3,350
Nexus Construction Services               1 MacArthur Pl Ste 250               Santa Ana, CA 92707-5927                     A7   Customer Deposit    4,075   3,350
Advantage Design Partners - Catherine
Garrigan                                  5905 Lago Lindo                      Rancho Santa Fe, Ca 92067                    A7   Customer Deposit    4,129   3,350
David Lane                                234 Iris Ave                         Corona del Mar, CA 92625-3226                A7   Customer Deposit    4,063   3,350
Michelle Hite                             29562 Via Valverde                   Laguna Niguel, CA 92677                      A7   Customer Deposit    4,061   3,350
Shahrouz Golshani                         1200 Benedict Canyon Dr              Beverly Hills, CA 90210                      A7   Customer Deposit   26,994   3,350
Lippert Construction                      PO Box 5477                          La Quinta, CA 92248-5477                     A7   Customer Deposit    4,051   3,350
Farschad Birdjandi                        5412 Thunderbird Ln                  La Jolla, CA 92037-7056                      A7   Customer Deposit    4,042   3,350
Build Custom Homes, INC                   5737 Kanan Rd # 547                  Agoura Hills, CA 91301-1601                  A7   Customer Deposit    4,038   3,350
Matt and Kayla Collins                    44 Blue Heron                        Irvine, CA 92603-0307                        A7   Customer Deposit    4,035   3,350
ANNE MARIE BOSERUP                        59 OLD COURSE DR.                    NEWPORT BEACH, CA 92660                      A7   Customer Deposit    5,536   3,350
Christopher Hobson                        20452 Bayview Ave                    Newport Beach, CA 92660-0710                 A7   Customer Deposit    4,016   3,350
EDB Construction Management               1232 N KINGS RD #305                 WEST HOLLYWOOD, CA 90069                     A7   Customer Deposit    4,007   3,350
Matzinger Construction                    PO Box 2555                          Rancho Santa Fe, CA 92067-2555               A7   Customer Deposit    6,221   3,350
The Kitchen Factory                       12610 Ventura Blvd                   Studio City, CA 91604-2508                   A7   Customer Deposit    3,983   3,350
SVETLANA SMOLSKAYA                        11751 PRIMEROSE CR                   POTER RANCH, CA 91326                        A7   Customer Deposit    3,982   3,350
Terry Hong                                2 Channel Vis                        Newport Beach, CA 92657-1807         x   x   A7   Customer Deposit    3,974   3,350
Laura Black                               40 Clancy Ln. South                  Rancho Mirage, Ca 92270                      A7   Customer Deposit    3,973   3,350

David Gabay General Building Contractor   31726 Rancho Viejo Rd Ste 108        San Juan Capistrano, CA 92675-2723           A7   Customer Deposit   10,029   3,350
Marcel & Dan Chambers                     628 N Rios Ave                       Solana Beach, CA 92075-1248                  A7   Customer Deposit    4,100   3,350
Jeff Foxx                                 240 Coast Blvd Unit 3A               La Jolla, CA 92037-4669              x   x   A7   Customer Deposit    3,964   3,350
Brian Lenihan                             70070 Frank Sinatra Dr Bungalow #4   Rancho Mirage, CA 92270                      A7   Customer Deposit    3,963   3,350
SOL QUINTANA DESIGN                       5134 CONSTITUTION RD                 SAN DIEGO, CA 92117                  x   x   A7   Customer Deposit   38,314   3,350
Jenny Hochberg                            1237 Inspiration Dr                  La Jolla, CA 92037-6809              x   x   A7   Customer Deposit    3,922   3,350
Farhood Design Build                      8222 Vickens St #112                 San Diego, Ca 92111                          A7   Customer Deposit   11,026   3,350
Shannon Mohr                              19781 Scenic Bay Lane                Huntington Beach, CA 92648                   A7   Customer Deposit    3,899   3,350
FUNKEY EAST DESIGN                        1555 Riviera Dr                      Pasadena, CA 91107-1663                      A7   Customer Deposit    3,893   3,350
Lesny Real Estate Inc                     521 Daniel Freeman Circle            Inglewood, CA 90301                          A7   Customer Deposit    3,869   3,350
Chris Hopkins                             3464 Rowena Ave                      Los Angeles, CA 90027-2209                   A7   Customer Deposit    3,866   3,350
Shane & Darci Murphy                      20242 Sunshine Dr                    Huntington Beach, CA 92646-5240              A7   Customer Deposit    3,853   3,350
Flagg Coastal Homes - Gray/1118 Loma
Lane                                      1125 Loma Ave                        Coronado, CA 92118-2835                      A7   Customer Deposit    3,845   3,350
Jennifer Bollert                          17396 Via Recanto                    Rancho Santa Fe, CA 92067                    A7   Customer Deposit    3,838   3,350
Carmelle Jensen                           400 E. Capitol Park Ave # 301        Salt lake City, UT 84103                     A7   Customer Deposit    3,832   3,350
John Lustyan                              176 Via Sandra                       Thousand Oaks, CA 91320-6887                 A7   Customer Deposit    3,826   3,350
Angel Garcia CHAREBACK HOLD               4476 Kansas Street                   San Digeo, CA 92116                          A7   Customer Deposit    6,141   3,350
Blythe Interiors - Lindsay Mitton         1750 Kettner Blvd. Unit # 411        San Diego, CA 92101                  x   x   A7   Customer Deposit    3,811   3,350
Erica Johnson                             3112 Malaga Street                   San Diego, CA 92110                  x   x   A7   Customer Deposit    3,786   3,350
AMEER & JASMIN ELKORDY                    5935 Playa Vista Dr Apt 114          Playa Vista, CA 90094-2131                   A7   Customer Deposit    3,775   3,350
Grewal Development                        16576 S Fowler Ave                   Selma, CA 93662                              A7   Customer Deposit    3,761   3,350

Metro Development- 24341 Rolling View Rd 24341 Rolling View Rd                 Hidden Hills, CA 91302                       A7   Customer Deposit    3,751   3,350
Kim Iseley / Grade                       820 Gardenia Way                      Corona Del Mar, Ca 92625                     A7   Customer Deposit    3,723   3,350
PANOS KESHISHIAN                         15731 Hesby St                        Encino, CA 91436-1532                        A7   Customer Deposit    3,718   3,350
Melisa Coletto                           28496 La Pradera                      Laguna Niguel, CA 92677-4426         x   x   A7   Customer Deposit    3,702   3,350
Wholesale Express Inc                    8684 AVENIDA DE LA FUENTE SUITE 7     SAN DIEGO, CA 92154                          A7   Customer Deposit    3,716   3,350
Jorge and Karla Zapatel                  6547 Caminito Catalan                 La Jolla, CA 92037-5846                      A7   Customer Deposit    3,689   3,350
NINA EX DESIGN                           2004 Pinehurst Rd                     Los Angeles, CA 90068-3732                   A7   Customer Deposit    3,681   3,350
Ferreira Interior Design                 Caminito Joven                        San Diego, CA 92131                          A7   Customer Deposit    3,674   3,350
Windvest Corp                            3288 Adams Ave #16840                 San Diego, CA 92176-                 x   x   A7   Customer Deposit    3,673   3,350
Giulia Newton                            6 Kepler                              Irvine, CA 92603-3798                        A7   Customer Deposit    3,660   3,350
Karl Shamban                             449 22nd St                           Santa Monica, CA 90402               x   x   A7   Customer Deposit    3,659   3,350
Linda Simmons                            28672 Silverton Drive                 Laguna Niguel, CA 92677              x   x   A7   Customer Deposit    3,653   3,350
Jeff Defelice                            1076 Vista Sol                        Palm Springs, CA 92262-1260          x   x   A7   Customer Deposit    3,639   3,350
Nicole Michelle Designs                  4366 E La Palma Ave                   Anaheim, CA 92807-1806                       A7   Customer Deposit    3,630   3,350

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                     Case 24-01376-CL7
                          24-01376-CL7 Filed                Filed 05/03/24
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John tree                     6415 Primero izquierdo #898                  rancho santa fe, ca 92067             A7   Customer Deposit     3,626                 3,350
SMART AND HANDY               10055 Slater Avenue Suite 260                     162
                                                                                101
                                                                           Fountain Valley, CA 92708             A7   Customer Deposit     2,305                 2,305
Thad Martin                                  207 Bay Hill Dr                      Newport Beach, CA 92660                       A7   Customer Deposit    3,616   3,350
Renee Rodda                                  10221 Camden Cir.                    Villa Park, CA 92861                          A7   Customer Deposit    3,608   3,350
Lisa Merage                                  5 Oceancrest                         Newport Coast, CA 92657-1802                  A7   Customer Deposit    3,589   3,350
LSB Design                                   425 S Granados Ave                   Solana Beach, CA 92075-2014                   A7   Customer Deposit    3,584   3,350
Laura Brophy Interiors                       701 Avocado Ave                      Corona del Mar, CA 92625-1938                 A7   Customer Deposit    3,743   3,350
Lourdes Frost                                28452 Via Mambrino                   San Juan Capistrano, CA 92675                 A7   Customer Deposit    3,545   3,350
AY Investor Group, LLC                       18740 Oxnard St Ste 304              Tarzana, CA 91356-5926                x   x   A7   Customer Deposit    3,538   3,350
Amber and Bob Tonks                          6162 LA Pintura Dr                   La Jolla, CA 92037-6935                       A7   Customer Deposit    3,527   3,350
Farah Kataf                                  7 Coronado Pointe                    Laguna Niguel, CA 92677-5541                  A7   Customer Deposit    3,525   3,350
John Ghianni                                 123 xyz                              La Mesa, CA 92111                             A7   Customer Deposit    3,513   3,350
Tanya To Designs                             23 Small Grove                       Irvine, CA 92618                              A7   Customer Deposit    3,503   3,350
Natalie Spiro                                1928 Mission Ave                     San Diego, CA 92116                           A7   Customer Deposit    3,500   3,350
Ray Ramage                                   521 Glenmont Dr                      Solana Beach, CA 92075-1312                   A7   Customer Deposit    3,490   3,350
Monica Bartolini                             7 Cavalier                           Laguna Niguel, CA 92677-2776          x   x   A7   Customer Deposit    3,470   3,350
Jerem Johnson                                7657 Sitio Algodon                   Carlsbad, CA 92009-8973                       A7   Customer Deposit    3,470   3,350
Matthew Haydinger                            15915 Via Pato                       Rancho Santa Fe, CA 92067                     A7   Customer Deposit    3,463   3,350
Rick & Camilla Ripoli                        77656 Via Venito                     Indian Wells, CA 92210                        A7   Customer Deposit    3,463   3,350
Judy Colich                                  2116 Paseo del Mar                   Palos Verdes Estates, CA 90274-2613           A7   Customer Deposit    3,489   3,350
David Jacobsen Building Company              80753 Via Pessaro                    La Quinta, CA 92253-7587                      A7   Customer Deposit    5,104   3,350
J Clinton Walters Design                     3602 Elliot street                   San Diego, CA 92106                           A7   Customer Deposit    9,139   3,350
ANNA & MIKE FREITAS                          4557 DEL MONTE AVENUE                SAN DIEGO, CA 92107                   x   x   A7   Customer Deposit   35,559   3,350
Elizabeth Ang                                8861 Knottingham Pl                  La Jolla, Ca 92037                            A7   Customer Deposit      861     861
Marshall Interiors                           530 K St Unit 514 514                San Diego, CA 92101-7061                      A7   Customer Deposit    3,438   3,350
Pam & Bryan Snyder                           5406 Shannon Ridge Ln                San Diego, CA 92130-4807                      A7   Customer Deposit    3,432   3,350
Paul Lilly                                   80215 Via Tesoro                     La Quinta, CA 92253-9062                      A7   Customer Deposit    3,430   3,350
Emilia Borrelli                              960 Baja Street                      Laguna Beach, CA 92651                        A7   Customer Deposit    3,426   3,350
Jim and Autumn Haefner                       31021 Via Colinas                    Coto de Caza, CA 92679                        A7   Customer Deposit    3,416   3,350
Ruz Architects                               1234 TBD                             Los Angeles, CA 90049                         A7   Customer Deposit    3,404   3,350
Courtney Ochi                                2686 Matera Ln                       San Diego, CA 92108-6736                      A7   Customer Deposit    3,401   3,350
Pete Hill Construction Company Inc. - Old
Prospect                                     74391 Old Prospector Trl             Palm Desert, CA 92260-5622                    A7   Customer Deposit    3,396   3,350
Cathy Asciutto                               425 8th St                           Del Mar, CA 92014-2816                        A7   Customer Deposit    3,394   3,350
Cohesion Design                              332 N 13th St                        Grover Beach, CA 93433-1838                   A7   Customer Deposit    3,388   3,350
M. Prevost Design - Misha Moore              4544 Euclid Avenue                   San Diego, ca 92115                   x   x   A7   Customer Deposit    3,381   3,350
WHISKEY & WOOL STUDIO                        1613 CHELSEA ROAD #970               SAN MARINO, CA 91108                          A7   Customer Deposit    3,369   3,350
Sunset West Developmet - Pure Salon          2741 Valley Creek Drive              Chula Vista, CA 91914                         A7   Customer Deposit    2,863   2,863
INHANCE CONSTRUCTION                         7257 BEVERLY BLVD, SUITE #205        LOS ANGELES, CA 90036                         A7   Customer Deposit    3,358   3,350
ERIC KAHN                                    3651 Meier St                        Los Angeles, CA 90066-3611                    A7   Customer Deposit    3,352   3,350
Lesley Holmes                                2120 Rockledge Rd                    Los Angeles, CA 90068-3136            x   x   A7   Customer Deposit    3,341   3,341
Chad Reynolds                                4086 Georgia Street #2               San Diego, CA 92103                   x   x   A7   Customer Deposit    3,339   3,339
Elliot LaPlante                              1319 Las Flores Dr                   Los Angeles, CA 90041-1619                    A7   Customer Deposit    3,333   3,333
Alicia Byassee                               2005 Via Vina                        San Clemente, CA 92673                        A7   Customer Deposit    3,302   3,302
NEW HORIZON CONSTRUCTION                     9304 ALISO VIEJO                     ALISO VIEJO, CA 92556                         A7   Customer Deposit    3,296   3,296
Holly Badger                                 23321 Cobblefield                    Mission Viejo, CA 92692               x   x   A7   Customer Deposit    3,296   3,296
1227 Berkshire Lane                          1227 Berkshire Lane                  Newport Beach, CA 92660               x   x   A7   Customer Deposit    3,295   3,295
Cinta Burgos and David Ring                  3363 Riviera dr.                     San Diego, CA 92109                           A7   Customer Deposit    3,279   3,279
Tracy Keys                                   460 Shadow Ln                        Laguna Beach, CA 92651-3149                   A7   Customer Deposit    3,273   3,273
Alan & Lauren Kacura                         3420 Corte Aciano                    Carlsbad, CA 92009-8697                       A7   Customer Deposit    3,272   3,272
Shawna Carlini                               327 Viejo Street                     Laguna Beach, CA 92651                        A7   Customer Deposit    3,255   3,255
Nancy and Jay Schulman                       1615 E Bay Ave                       Newport Beach, CA 92661-1430                  A7   Customer Deposit    3,245   3,245
Mimi Shin Design                             942 Indiana Avenue                   Venice, Ca 90291                      x   x   A7   Customer Deposit    3,231   3,231
ERNIE BALL CO.                               50475 Vista Montana Rd               La Quinta, CA 92253-7547                      A7   Customer Deposit    3,228   3,228
Dana Gaskell                                 3368 Rubio Crest Dr                  Altadena, CA 91001-1528                       A7   Customer Deposit    3,222   3,222
Erin and Joel Maynes                         4042 Jackson Ave                     Culver City, CA 90232                 x   x   A7   Customer Deposit   29,492   3,350
SHARA STADLER                                10120 Crestview Hts                  La Mesa, CA 91941-6831                        A7   Customer Deposit    3,205   3,205
Optima Real Estate Development               17945 Sky Park Cir. Suite D          Irvine, Ca 92614                              A7   Customer Deposit    3,201   3,201
Mirabella Design Build                       5156 Gordon Ln                       San Diego, CA 92109-1301                      A7   Customer Deposit    3,192   3,192
Jill & Michael Rabin                         4123 Woodman Ave                     Sherman Oaks, CA 91423-4331                   A7   Customer Deposit    3,189   3,189

South Harlow Interiors - Heather Olson       5540 Bellevue Ave                    La Jolla, CA 92037-7626               x   x   A7   Customer Deposit    3,184   3,184
Kevin Fathi                                  25626 Stratford Pl                   Laguna Hills, CA 92653-7509                   A7   Customer Deposit    3,182   3,182
Lara Sweet                                   26911 Windsor Dr                     San Juan Capistrano, CA 92675-1444            A7   Customer Deposit    3,181   3,181

Mullen Design Co - Vishal and Megan Amin     1636 Corte Orchidia                  Carlsbad, CA 92011-4063                       A7   Customer Deposit    1,881   1,881
Azar Avdebilchi                              10350 WIlshire Blvd. #1501           Los Angeles, CA 90024                         A7   Customer Deposit    3,174   3,174
RYAN ALLEN                                   27571 Silver Creek Dr                San Juan Capistrano, CA 92675                 A7   Customer Deposit    3,159   3,159
RC Construction                              3080 Madison St                      Carlsbad, CA 92008-2310               x   x   A7   Customer Deposit    3,154   3,154
Alvin Tan                                    58 Henson                            Irvine, Ca 92620                              A7   Customer Deposit    3,127   3,127
Aimee Hada                                   2255 Auto Centre Dr                  Glendora, CA 91740-6721                       A7   Customer Deposit    3,126   3,126
Anne Rae Design                              2801 B. Street 94                    San Diego, CA 92102                           A7   Customer Deposit    3,120   3,120
Ingy Salib                                   10 Kelly Lane                        Ladera Ranch, CA 92694                        A7   Customer Deposit    5,119   3,350
Don Avila                                    20181 Imperial Cove Ln               Huntington Beach, CA 92646-4500               A7   Customer Deposit    3,107   3,107
Dominic Dufresne                             9261 Golondrina Dr                   La Mesa, CA 91941                     x   x   A7   Customer Deposit    3,092   3,092
Alan Do                                      971 N Cheyenne St                    Orange, CA 92869                      x   x   A7   Customer Deposit    3,086   3,086
North Point Builders                         318 6th St W                         Whitefish, MT 59937                           A7   Customer Deposit    3,070   3,070
Alex Roloff                                  11918 Avenida Consentido             San Diego, CA 92128-3243                      A7   Customer Deposit    3,068   3,068
Gary London                                  1184 Santa Barbara St                San Diego, CA 92107                           A7   Customer Deposit    3,063   3,063
Georgia Archer Anthony Dominici              4207 Cromwell Ave                    Los Angeles, CA 90027-1355                    A7   Customer Deposit    3,057   3,057
Mike & Michelle Barth                        46620 Quail Run Drive                Indian Wells, CA 92210                        A7   Customer Deposit    3,051   3,051
D S Meta Construction, corp.                 3591 Thor ave.                       Los Alamitos, CA 90720                        A7   Customer Deposit    3,047   3,047
Gilbert Ramirez                              19641 Quiet Bay Ln                   Huntington Beach, CA 92648-2613               A7   Customer Deposit    3,039   3,039
Astleford Interiors- Jeffrey and Mary Beth
Brown                                        477 S Cleveland St Unit 104          Oceanside, CA 92054-4083                      A7   Customer Deposit    3,033   3,033
Tarsus                                       15440 Laguna Canyon Road Suite 150   Irvine, CA 92618                              A7   Customer Deposit    3,010   3,010
Corey Brown Decor                            3813 Ocana Ave                       Long Beach, CA 90808-2056                     A7   Customer Deposit    3,008   3,008
DRP INTERNATIONAL DESIGN GROUP               5450 El Cielito                      Rancho Santa Fe, CA 92067                     A7   Customer Deposit    3,001   3,001
Yoyo Li                                      3282 Gilbert Dr                      Huntington Beach, CA 92649                    A7   Customer Deposit    4,581   3,350
Debbie and Michael Stein                     10282 Kalua Dr                       Sunland, CA 91040-1515                        A7   Customer Deposit    2,983   2,983
JENNICE & STEVEN CERRINA                     306 Amethyst                         Newport Beach, CA 92662                       A7   Customer Deposit    2,979   2,979
Aileen Tahmasian                             1452 Thompson Ave                    Glendale, CA 91201-1228                       A7   Customer Deposit    2,976   2,976
Novastar Construction Corporation            10141 Westminster Ave Ste 203        Garden Grove, CA 92843-4789           x   x   A7   Customer Deposit    2,975   2,975
patti cardosa                                3719 Milan St                        San Diego, CA 92107-3711                      A7   Customer Deposit    2,974   2,974
Penelope Dudek                               609 Canyon Pl                        Solana Beach, CA 92075-1348           x   x   A7   Customer Deposit    2,973   2,973
Josh Hoover                                  16792 Baruna Ln                      Huntington Beach, CA 92649-3018       x   x   A7   Customer Deposit    2,960   2,960

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                    Case 24-01376-CL7
                         24-01376-CL7 Filed        Filed 05/03/24
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CHRISTY DUBAR                6741 Shire Cir                       Huntington Beach, CA 92648-1500         A7   Customer Deposit     2,949                     2,949
Chad Kuehn                   1292 Banbury Cross Rd                      162
                                                                        101
                                                                  Santa Ana, CA 92705-3070                A7   Customer Deposit     2,945                     2,945
Leslie Kareckas                         3815 Glenfeliz Blvd                  Los Angeles, CA 90039                   x   x   A7   Customer Deposit    2,943   2,943
Bob & Kathy Cudney                      11 N. La Senda                       Laguna Beach, CA 92651                          A7   Customer Deposit    2,939   2,939
Marisa Kosters - Acct #1                203 La Barranca Dr                   Solana Beach, CA 92075-1715                     A7   Customer Deposit   17,902   3,350
Prest, Vuksic, Greenwood
Architects/Interiors                    445310 San Pablo Avenue Suite 200    Palm Desert, Ca 92260                           A7   Customer Deposit    2,889   2,889
CVGC Construction                       20 Johnar                            Rancho Mirage, CA 92270                         A7   Customer Deposit    2,887   2,887
Andy Oh                                 929 Stone Canyon Rd                  Los Angeles, CA 90077-2913                      A7   Customer Deposit    2,881   2,881
Lindsay Mitnick                         13906 Mira Montana Dr                Del Mar, CA 92014-3114                          A7   Customer Deposit    2,878   2,878
Maura Barr                              27632 San Blas                       Mission Viejo, CA 92692-1244            x   x   A7   Customer Deposit    2,872   2,872
Brook Bellus                            1525 Faraday Ave Ste 250 Suite 250   Carlsbad, CA 92008-7373                         A7   Customer Deposit    1,434   1,434
Matthew Avital                          1839 Preuss Rd                       Los Angeles, CA 90035-4313                      A7   Customer Deposit    2,860   2,860
POGANY ARCHITECTURE                     6375 NORTH FIGUEROA                  LOS ANGELES, CA 90042                           A7   Customer Deposit    2,847   2,847
MaryAnne and Ted Pintar                 7342 Remley Pl                       La Jolla, CA 92037-5631                         A7   Customer Deposit    3,108   3,108
Janice Merkel                           6324 Greenhaven Drive                Carlsbad, CA 92009                              A7   Customer Deposit    2,837   2,837
Denise Rubino                           470 Holmwood Ln                      Solana Beach, CA 92075-1277                     A7   Customer Deposit    2,837   2,837
Ben Ren                                 15136 Touraine Way                   Irvine, CA 92604-3173                           A7   Customer Deposit    2,833   2,833
Leading Road Design                     19737 Napa Street                    Winnetka, CA 91306                      x   x   A7   Customer Deposit    2,822   2,822
Atmospheres Interior Design - Ward      107 Via De La Valle                  Solana Beach, Ca 92075                          A7   Customer Deposit    2,816   2,816
Karine Shatoian                         1200 Valley View Road #203           Glendale, CA 91202                              A7   Customer Deposit    2,815   2,815
Marc Flood                              25 Via Conocido                      San Clemente, CA 92673                  x   x   A7   Customer Deposit    2,811   2,811
M.Cush Design                           20 Calle Vista del Sol               San Clemente, CA 92673-6913                     A7   Customer Deposit    2,810   2,810
Manuel Camacho                          1269 Opal Ct                         Calexico, CA 92231-4052                         A7   Customer Deposit    2,809   2,809
Deborah Day                             421 Santa Helena                     Solana Beach, CA 92075-1511                     A7   Customer Deposit    2,807   2,807
DENISE Cully                            15 Ronsard                           Newport Beach, CA 92657-0114                    A7   Customer Deposit   13,432   3,350
Kerry & Linda Judd                      234 Dolphin Cove Ct                  Del Mar, CA 92014-3234                          A7   Customer Deposit    2,800   2,800
Terri Briones                           25 Reata                             Rancho Santa Margarita, CA 92688-3037           A7   Customer Deposit    2,800   2,800
Lori Gallagher                          1068 Wiegand St.                     Encinitas, CA 92024                             A7   Customer Deposit    1,379   1,379
Marrokal Design & Remodeling - Luba
Khomskaya                               531 Palomar Ave                      La Jolla, CA 92037                              A7   Customer Deposit    2,796   2,796
Joyce Nelson                            148 N Mine Canyon Rd Unit G          Orange, CA 92869-5805                   x   x   A7   Customer Deposit    2,789   2,789
Nadieh Khoshamooz                       11546 Keisha Cv                      San Diego, CA 92126-6604                x   x   A7   Customer Deposit    2,785   2,785
JOANNE KRAUSE                           7930 Forrestal Rd                    San Diego, CA 92120-1712                        A7   Customer Deposit    2,784   2,784
Ravi Ghataode                           16500 Aston Ste A                    Irvine, CA 92606-4833                           A7   Customer Deposit    2,781   2,781
M. Prevost Design - Joren Coleman       4554 Euclid Ave                      San Diego, CA 92115-3223                x   x   A7   Customer Deposit    2,765   2,765
Ellen MacLean                           441 Retaheim Way                     San Diego, CA 92037                             A7   Customer Deposit    2,764   2,764
Kathleen Frachon                        4431 Ampudia St                      San Diego, CA 92103-1025                x   x   A7   Customer Deposit    2,764   2,764
Vivanne Ressler                         5736 La Jolla Corona Dr              La Jolla, CA 92037-7442                         A7   Customer Deposit    2,754   2,754
Mason & Tara Vavere                     2283 La Playa Dr S                   Costa Mesa, CA 92627-1788               x   x   A7   Customer Deposit   17,747   3,350
JY Design Interiors - Sergie Magdalin   16360 Via Del Alba                   Rancho Santa Fe, Ca 92067                       A7   Customer Deposit    2,747   2,747
Kat Bingaman                            10 Hidden Oaks                       Coto de Caza, CA 92679-4948                     A7   Customer Deposit    2,739   2,739
Trevor Smith                            2307 N Riverside Dr                  Santa Ana, CA 92706-1648                        A7   Customer Deposit    2,735   2,735
Mikell & Jessika Vargas                 17822 Tacoma Cir                     Villa Park, CA 92861-6362                       A7   Customer Deposit    2,733   2,733
MARKIE PRICE                            1955 N Catalina St                   Los Angeles, CA 90027-1803                      A7   Customer Deposit    2,733   2,733
Venessa Christiansen                    12625 Indianapolis St                Los Angeles, CA 90066-1513                      A7   Customer Deposit    2,729   2,729
Dave & Laurette Pilkerton               1001 Millenium Ct                    Ramona, CA 92065                        x   x   A7   Customer Deposit    2,722   2,722
Kristen Villopoto                       2301 Santiago Drive                  Newport Beach, CA 92660                         A7   Customer Deposit    2,702   2,702
Marie Cascone                           526 # Stratford Court                Delmar, CA 92014                                A7   Customer Deposit    2,694   2,694
Kalin Van Lyons                         5550 Grosvenor Blvd #107             Los Angeles, CA 90066-6999                      A7   Customer Deposit    2,693   2,693
Jan Frieder                             132 6th St                           Del Mar, CA 92014-2709                          A7   Customer Deposit    2,674   2,674
Dan & Amy Moore                         16792 Edgewater Ln                   Huntington Beach, CA 92649-3074                 A7   Customer Deposit    2,666   2,666
Alice Casper                            15520 Sleepy Creek Road              El Cajun, CA 92021                      x   x   A7   Customer Deposit    2,661   2,661
Diane Reed                              25302 Derbyhill Drive                Laguna Hills, CA 92653                          A7   Customer Deposit   10,513   3,350
Alan Ferguson                           5135 Alzeda Dr                       La Mesa, CA 91941-5724                          A7   Customer Deposit    2,658   2,658
John Gebhardt                           27572 Gable Street                   Dana Point, CA 92624                            A7   Customer Deposit    2,656   2,656
EBS Interiors                           61 Via Regalo                        San Clemente, CA 92673-7031             x   x   A7   Customer Deposit    2,639   2,639
Brick House USA                         937 Newhall Street                   Costa Mesa, CA 92627                            A7   Customer Deposit    2,634   2,634
Victoria Tomicich                       3839 Via Escuda                      La Mesa, CA 91941-7315                  x   x   A7   Customer Deposit    2,628   2,628
Michael Marvisi                         1060 Woodland Dr                     Beverly Hills, CA 90210-2936                    A7   Customer Deposit    2,626   2,626
Michele Hughes Design                   535 Madeline Dr                      Pasadena, CA 91105                              A7   Customer Deposit    2,621   2,621
Victor & Andreana Pena                  11619 Freeman Ave                    Hawthorne, CA 90250-2425                        A7   Customer Deposit      353     353
Maribell & Brandon Rodriguez            24138 Arch St.                       New Hall, Ca 91321                              A7   Customer Deposit    8,751   3,350
Jaimee Vercelli                         3592 Los Hermanos Rd                 Fallbrook, CA 92028-9043                        A7   Customer Deposit    2,586   2,586
Scott and Shyanne Bianchi               32781 Sentinel Dr                    Trabuco Canyon, CA 92679-4302                   A7   Customer Deposit    2,582   2,582
Cliff Hsu                               2722 Carlton Pl                      Rowland Heights, CA 91748-4948                  A7   Customer Deposit    4,119   3,350
Piller residence                        5656 Chelsea Ave                     La Jolla, CA 92037-7513                         A7   Customer Deposit    2,572   2,572
Amer Hajjawi                            25052 Salford St                     Laguna Hills, CA 92653-4913                     A7   Customer Deposit    2,572   2,572
Blue Canopy Design                      14271 Jeffrey Rd PMB 461             Irvine, CA 92620-3405                   x   x   A7   Customer Deposit    2,570   2,570
Kitchens on Montana                     3800 Via Palomino                    Palos Verdes Estates, CA 90274-1451             A7   Customer Deposit    2,566   2,566
C1H1 Home and Design                    19201 South Reyes ave                Compton, CA 90221                               A7   Customer Deposit    2,566   2,566
Jaime Macias                            3141 Roberts Ave                     Culver City, CA 90232                           A7   Customer Deposit   20,626   3,350
Antonio Ranzolin                        47 Spoon Ln                          Coto de Caza, CA 92679-4925                     A7   Customer Deposit    2,558   2,558
Marissa Zajack Creative                 114 S Norton Ave                     Los Angeles, Ca 90004                           A7   Customer Deposit    2,547   2,547
Kaylin Tober                            2305 Calle Las Palmas                San Clemente, Ca 92672                          A7   Customer Deposit    2,540   2,540
STREGAN GROUP                           5739 KANAN ROAD #255                 AGOURA HILLS, CA 91301                  x   x   A7   Customer Deposit   41,534   3,350
Julie and John Forester - CHRAGEBACK
HOLD                                    3664 Maria Ln                        Carlsbad, CA 92008-2777                         A7   Customer Deposit    2,427   2,427
Jan Simon                               121 27th St                          Del Mar, CA 92014-2017                          A7   Customer Deposit    2,522   2,522
Driftwood Interiors Co. LLC             35 Calle Camaron                     San Clemente, CA 92673                          A7   Customer Deposit    2,519   2,519
Frank Szczesniak                        73456 Joshua Tree Street             Palm Desert, CA 92260                           A7   Customer Deposit    2,512   2,512
Arun Mittal                             615 Lemon st                         menlo park, ca 94025                            A7   Customer Deposit    2,505   2,505
DANIELLE RORICK                         1235 CHATEAU MONTELENA               BONSALL, CA 92003                       x   x   A7   Customer Deposit    2,503   2,503
Melinda Topete Manny Valenzuch          2002 Kelton Ave                      Los Angeles, CA 90025-5704                      A7   Customer Deposit    2,500   2,500
Anaissa Cortes                          13228 Valle Verde Ter                Poway, CA 92064-1619                    x   x   A7   Customer Deposit    2,495   2,495
Karen Reynolds                          2886 Penman                          Tustin, CA 92782-3328                           A7   Customer Deposit    2,488   2,488
AMI Design & Associates                 42845 Jolle Ct                       Temecula, CA 92592-7123                 x   x   A7   Customer Deposit    2,484   2,484
Frank & Sandra Granados                 17312 Lobdell Lane                   Silverado, CA 92676                             A7   Customer Deposit    2,481   2,481

KERSTIN PAULSON JONATHAN LADNER         2009 WILBUR AVE                      SAN DIEGO, CA 92109                             A7   Customer Deposit    2,477   2,477
Lisane Basquiat                         2027 Alga Road                       Carlsbad, CA 92009                              A7   Customer Deposit    4,116   3,350
Jessica Husami                          12372 Foster Rd                      Rossmoor, CA 90720                      x   x   A7   Customer Deposit    2,468   2,468
Noemi Grabiel                           7 Sundown Dr.                        Trabuco Canyon, CA 92679                        A7   Customer Deposit    6,101   3,350
Mike Ibe                                4655 Executive Drive Suite 830       San Diego, CA 92121                             A7   Customer Deposit    2,451   2,451
Dana McNeill Weiner                     132 Emerald Bay                      Laguna Beach, CA 92651-1209             x   x   A7   Customer Deposit    2,447   2,447
Jeff Harms                              1965 Sheridan Ave                    San Diego, CA 92103-1637                        A7   Customer Deposit    5,484   3,350

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                     Case 24-01376-CL7
                          24-01376-CL7 Filed    Filed 05/03/24
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Daniel & Jocelyn Caldwell     3880 Westhave dr.                Carlsbad, CA 92008                  A7   Customer Deposit    10,038                           3,350
Diana Garcia                  5811 Rockhurst Ct                      162
                                                                     101
                                                               San Diego, CA 92120                 A7   Customer Deposit     2,408                           2,408
li Tai                                        1453 Heritage Ln                     Encinitas, CA 92024-2381                 A7   Customer Deposit    2,405   2,405
Beth Westfall                                 5612 West Carnelian Dr               Coeur D Alena, ID 83814                  A7   Customer Deposit    2,403   2,403

Rebecca Foster Design - Phillips Project      677 19th St                          Manhattan Beach, CA 90266-2508   x   x   A7   Customer Deposit    2,399   2,399
Daleet Spector Design                         634 23rd St                          Santa Monica, CA 90402-3130              A7   Customer Deposit    2,395   2,395
Jeremy Adell                                  3918 Fairway Ave                     Studio City, CA 91604-2305       x   x   A7   Customer Deposit    2,380   2,380
Michelle Raymond                              33551 Windjammer dr.                 Dana Point, CA 92629             x   x   A7   Customer Deposit    2,378   2,378
Katja Mathiasen                               1510 Highland Drive                  Solana Beach, CA 92075                   A7   Customer Deposit    2,375   2,375
Coastline Construction                        8770 Clubhouse Blvd.                 Dessert Hot Springs, CA 92440            A7   Customer Deposit    2,371   2,371
Vida Tyme Rodriguez                           992 Bittersweet St                   Escondido, CA 92026-1122                 A7   Customer Deposit    2,370   2,370
Marrokal Design & Remodeling - Brett &
Annie Spivey                                  1853 San Pablo Drive                 San Marcos, CA 92078                     A7   Customer Deposit    2,364   2,364
Viviana Sanchez                               5961 La Jolla Scenic Dr S            La Jolla, CA 92037-7817                  A7   Customer Deposit    2,358   2,358
Greg Techiryan                                20151 Via Medici                     Porter Ranch, CA 91326-4045              A7   Customer Deposit    2,354   2,354
G3 development                                80515 Via Talavera                   La Quinta, CA 92253-9008                 A7   Customer Deposit    2,350   2,350
STUDIO SKARA                                  2284 Hidalgo Ave                     Los Angeles, CA 90039-3651               A7   Customer Deposit    2,322   2,322
Lamb and Lion Design                          1456 Waterloo St Los Angeles         Los Angeles, CA 90026-2302               A7   Customer Deposit    2,321   2,321
Nancy Bourn                                   11 Ocean Crest                       Newport Beach, CA 92657                  A7   Customer Deposit    2,313   2,313
MARIANA VAN ZELLER                            1727 N Dillon St                     Los Angeles, CA 90026-1113               A7   Customer Deposit    2,308   2,308
Agrem OC                                      25 Shell Bch                         Newport Coast, CA 92657-2151             A7   Customer Deposit    2,303   2,303
Mark Hannah                                   PO Box 3                             Solana Beach, CA 92075                   A7   Customer Deposit    1,149   1,149
Kristy Kropat Interior Design - Rodenberger
Residence                                     2729 29th St                         San Diego, CA 92104-4908                 A7   Customer Deposit    2,282   2,282
Zack Herman                                   14258 Palisades Drive                San Diego, CA 92122              x   x   A7   Customer Deposit    2,280   2,280
Christina Ewing                               125 Via Havre                        Newport Beach, CA 92663-4943             A7   Customer Deposit    2,278   2,278

8500 Burton Way LLC. (Caruso Affiliated)      889 Americana Way                    Glendale, CA 91210-1555                  A7   Customer Deposit    2,271   2,271
DESPINA CRASSA                                2721 Sandpiper Dr                    Costa Mesa, CA 92626-4737                A7   Customer Deposit    2,256   2,256
Massoud Ghaemi                                56 Modena                            Irvine, CA 92618-0104                    A7   Customer Deposit    2,242   2,242
Karin Bock                                    46 Coral Reef                        Newport Coast, CA 92657-1904             A7   Customer Deposit    2,230   2,230
Ricardo and Ana Alvarez                       255 B Avenue                         Coronado, CA 92118                       A7   Customer Deposit    1,659   1,659
Alex Viola                                    105 Bumblebee                        Irvine, CA 92618                 x   x   A7   Customer Deposit    2,223   2,223
Tony Angelotti                                70470 Tamarisk Ln                    Rancho Mirage, CA 92270-2445     x   x   A7   Customer Deposit    2,219   2,219
Vigen Khojayan                                3460 Country Club Dr                 Glendale, CA 91208-1154                  A7   Customer Deposit    2,218   2,218
Curt & Mandy Fry                              4015 Calle Isabella                  San Clemente, CA 92672-4532              A7   Customer Deposit    2,210   2,210
Gwynn Thomas                                  803 Amiford Dr                       San Diego, CA 92107-4205         x   x   A7   Customer Deposit    1,105   1,105
Jason Sadowe                                  26 Benevolo Dr                       Henderson, NV 89011-3145                 A7   Customer Deposit    1,251   1,251
DINAH ENG                                     4326 Babcock Ave., Unit# 203         Studio City, CA 91604                    A7   Customer Deposit    1,095   1,095
Monica Meacham                                720 Iris Ave #2                      Corona Del Mar, CA 92625         x   x   A7   Customer Deposit   34,322   3,350
Cameron Dobbs                                 26576 Granvia Dr                     Mission Viejo, CA 92691-5156             A7   Customer Deposit    2,184   2,184
SMITH STRUCTURES INC                          221 S Ola Vista Ste 201              San Clemente, CA 92672-4103              A7   Customer Deposit   37,916   3,350
Lori Gentile Design                           1105 Crest Drive                     Encinitas, CA 92024                      A7   Customer Deposit    2,181   2,181
Bob & Ann Fallone                             7341 Corte Tomillo                   Carlsbad, CA 92009-8961          x   x   A7   Customer Deposit    2,179   2,179
Nadia Daood                                   3474 Ashley Park Dr                  Jamul, CA 91935-1535                     A7   Customer Deposit    2,174   2,174
Kevin Lee                                     200 Anita Dr                         Pasadena, CA 91105-1318          x   x   A7   Customer Deposit    2,169   2,169
Amy Parfrey                                   3 Cambria Dr                         Corona del Mar, CA 92625-1004            A7   Customer Deposit    2,168   2,168
Josh Brown Design Inc                         611 North Bronson Ave. Loft Four     Los Angeles, CA 90004            x   x   A7   Customer Deposit    2,165   2,165
Marco Garcia                                  4545 La Jolla Village Dr             San Diego, CA 92122-1241                 A7   Customer Deposit    2,162   2,162
CHRISTOPHER ANGELL                            858 Hymettus Ave                     Encinitas, CA 92024-2149                 A7   Customer Deposit    2,154   2,154
Julie and Jon Siems                           31852 Via Patito                     Trabucco Canyon, Ca 92679                A7   Customer Deposit    2,147   2,147
Alison Talle                                  11489 Holly Fern Ct                  San Diego, CA 92131-3739                 A7   Customer Deposit    2,143   2,143
Donald Larson                                 4665 Caminito San Sebastian          Del Mar, Ca 92014                x   x   A7   Customer Deposit    2,140   2,140
ANNIE & JERRY DORNOFF                         13125 ROSE ST                        CERRITOS, CA 90703                       A7   Customer Deposit    2,135   2,135
Margaret Baird Int. Design Studio- Ron
Saathoff                                      3726 Southernwood Way                San Diego, CA 92106                      A7   Customer Deposit    2,134   2,134
Danielle Tocco                                6 Tango Ln                           Ladera Ranch, CA 92694-1370      x   x   A7   Customer Deposit    2,128   2,128
Debi Barkley                                  47295 Crystal Loop                   Indian Wells, Ca 92210                   A7   Customer Deposit    2,127   2,127
Robert Fitzgerald                             14 Wellington Ct                     Newport Beach, CA 92660-6833             A7   Customer Deposit    2,123   2,123
Troy & Jeanie Roe                             2518 Wavecrest Dr                    Corona del Mar, CA 92625-1323            A7   Customer Deposit    2,121   2,121
Ashley Porter                                 27425 North Bay Road                 Lake Arrowhead, CA 92352                 A7   Customer Deposit    2,117   2,117
Court Whisman Interior Design                 284 Desert Lakes Drive               Palm Springs, CA 92264                   A7   Customer Deposit    7,265   3,350
PAM WETTERER                                  3941 Alicia Dr                       San Diego, CA 92107-2624         x   x   A7   Customer Deposit    2,112   2,112
Bruce Beck                                    24622 Santa Clara Ave                Dana Point, CA 92629-3026                A7   Customer Deposit      169     169
Sugey Fernandez                               80241 Villa Tesoro                   La Quinta, CA 92253                      A7   Customer Deposit    2,096   2,096
Carola Gomez-Ibarra                           5378 Renaissance Ave                 San Diego, CA 92122-5632                 A7   Customer Deposit    2,085   2,085
Kathy Cardinal                                19316 sawgrass lane                  Huntington Beach, Ca 92648               A7   Customer Deposit    2,084   2,084
McKinna Yachts of S Californa Inc             34 Gleneagles Drive                  Newport Beach, CA 92660                  A7   Customer Deposit    2,082   2,082
Gary Levinson                                 3298 Tiger Tail Ln                   Palm Springs, CA 92264                   A7   Customer Deposit    2,080   2,080
Venetia Marshall                              31 Morning Wood Dr                   Laguna Niguel, CA 92677-2859             A7   Customer Deposit    2,080   2,080
Patty Sullivan                                5 Via Veneta                         Rancho Palos Verdes, CA 90275            A7   Customer Deposit    2,079   2,079
Cristiana Skoby                               5707 La Jolla Hermosa Ave            La Jolla, CA 92037                       A7   Customer Deposit    2,072   2,072
Ryan Donnelly                                 Temp                                 Del Mar, Ca 92014                x   x   A7   Customer Deposit    2,066   2,066
RICHARD GOTT                                  21 Glastonbury Pl                    Laguna Niguel, CA 92677-5311             A7   Customer Deposit    2,064   2,064
Eugene Brown                                  297 Ridge Rd                         Palm Springs, CA 92264-8979      x   x   A7   Customer Deposit    2,059   2,059
Tom Garrett                                   1101 Dove St Ste 100                 Newport Beach, CA 92660-2802     x   x   A7   Customer Deposit    1,023   1,023
Kevin Ricker                                  72870 Halco Dunes way                Rancho Mirage, CA 92270                  A7   Customer Deposit    2,044   2,044
South Harlow Interiors                        5514 La Jolla Blvd                   La Jolla, CA 92037-7611          x   x   A7   Customer Deposit    2,032   2,032
Rusty Pulliam                                 15 Pelican Vista Dr                  Newport Coast, CA 92657-1811             A7   Customer Deposit    2,029   2,029
Annette Lee                                   1428 Imperial Dr                     Glendale, CA 91207-1267                  A7   Customer Deposit    2,028   2,028
Gordana Golubovic Design                      4273 Holly Knoll Dr                  Los Angeles, CA 90027-3223               A7   Customer Deposit    2,013   2,013
SAMUEL RICKLESS                               2276 Hickory St                      San Diego, CA 92103-1154                 A7   Customer Deposit    2,011   2,011

M Prevost Design - Melissa & Brandon Miller 10945 Elderwood Rd                     San Diego, CA 92131                      A7   Customer Deposit    2,007   2,007
Alex Knoll                                  530 S. Hewitt #553                     Los Angles, CA 90013             x   x   A7   Customer Deposit    2,000   2,000
Amala Raj InteriorsLD                       5429 Barclay Ave                       San Diego, CA 92120-2839         x   x   A7   Customer Deposit    1,997   1,997
Intimate Living Interiors                   143 S. Cedros Ave. Ste. C-203          Solana Beach, Ca 92075                   A7   Customer Deposit    1,995   1,995
Eileen Morgan                               1021 S Weymouth Ave                    San Pedro, CA 90732-3741                 A7   Customer Deposit    1,992   1,992
Ronald Scott                                6175 Capri Dr                          San Diego, CA 92120-4648         x   x   A7   Customer Deposit    3,926   3,350
George Najarian                             1819 Deermont Rd                       Glendale, CA 91207-1027                  A7   Customer Deposit    1,983   1,983
Shelley Ziff                                1001 Genter St Unit 10D                La Jolla, CA 92037-5527                  A7   Customer Deposit    4,127   3,350
Leslie Hanway                               13650 Marina Pointe Dr                 Marina del Rey, CA 90292-9285            A7   Customer Deposit    1,966   1,966
John Gurney                                 67865 Foothill Rd                      Cathedral City, CA 92234-2436            A7   Customer Deposit   28,356   3,350
Steve Turcotte                              3947 Caminito Del Mar Surf             San Diego, Ca 92180                      A7   Customer Deposit    1,964   1,964
Four by Four Construction                   1055 Torrey Pines Rd Ste 201 LOT #18   La Jolla, CA 92037-4431                  A7   Customer Deposit    1,962   1,962

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                      Case 24-01376-CL7
                           24-01376-CL7 Filed
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M Prevost Design - Bronte and Brendan
Murphy                         1335 28th St                      162
                                                                 101
                                                           San Diego, CA 92102          x x    A7   Customer Deposit     1,960                                     1,960
Vicky Booth                                   46 Via Burrone                      Newport Coast, CA 92657                         A7   Customer Deposit    1,949   1,949
Jay & Barbara Gross                           3646 Copley Ave                     San Diego, CA 92116-2246                        A7   Customer Deposit    1,944   1,944
Elda Yamin                                    16640 Parthenia St                  North Hills, CA 91343-4607                      A7   Customer Deposit    1,939   1,939
Prentice Construction                         7323 El Fuerte St                   Carlsbad, CA 92009-6410                 x   x   A7   Customer Deposit    1,938   1,938
Matthew Durschlag                             4635 Terraza Mar Marvelosa          San Diego, CA 92130                             A7   Customer Deposit    2,364   2,364
Marc Jaffe                                    2270 Via Lucia                      La Jolla, CA 92037-6945                 x   x   A7   Customer Deposit    1,927   1,927
Min Yoo                                       61 Ruby Hill                        Irvine, CA 92602                                A7   Customer Deposit    1,924   1,924
Kelly Operations Group                        853 Camino del Mar                  Del Mar, CA 92014-2804                          A7   Customer Deposit    2,619   2,619
AHA Design                                    2086 BALMER DRIVE                   LOS ANGELES, CA 90039                   x   x   A7   Customer Deposit    1,915   1,915
Mathew Isho                                   6604 Muirlands Dr                   La Jolla, CA 92037-6313                         A7   Customer Deposit    1,906   1,906
Mike & Mina Canning                           14022 Condesa Dr                    Del Mar, CA 92014-3017                          A7   Customer Deposit    1,890   1,890
Bella Shaar                                   5126 Greencrest Road                La Canada Flintridge, CA 91011                  A7   Customer Deposit    1,889   1,889
Chris Collins                                 16045 Rancho Vallencia Dr.          Rancho Santa Fe, CA 92067                       A7   Customer Deposit    1,878   1,878
Jana Insogna                                  7657 Road to Singapore              San Diego, CA 92127                             A7   Customer Deposit    1,871   1,871
Renee Dutton                                  2525 Raeburn Dr                     Riverside, Ca 92506                             A7   Customer Deposit    1,863   1,863
Erin Brown                                    PO Box 1279                         Pebble Beach, CA 93953-1279                     A7   Customer Deposit    2,153   2,153
RJ King                                       2537 Bamboo St                      Newport Beach, CA 92660-4104            x   x   A7   Customer Deposit    1,838   1,838
Alexis McCandless                             6001 La Jolla Scenic Dr South       La Joilla, CA 92037                             A7   Customer Deposit    1,831   1,831
KOREN OWENS INTERIOR DESIGN                   1950 N St Andrews Pl                Los Angeles, CA 90068-3602                      A7   Customer Deposit    1,825   1,825
Olivia Cerra                                  639 Ezee St                         Encinitas, CA 92024-2717                        A7   Customer Deposit    1,822   1,822
Cindy Olmstead                                3027 Homer St                       San Diego, CA 92106-1424                        A7   Customer Deposit    1,819   1,819
Elias Adam                                    163 S. Lincoln St.                  Orange, CA 92866                                A7   Customer Deposit    1,815   1,815
Lorena Pulichino Design                       1726 Manhattan Beach Blvd Ste C     Manhattan Beach, CA 90266-6223                  A7   Customer Deposit    1,808   1,808
Michael Kennedy                               2944 Bending Elbow Dr.              Borrego Springs, Ca 92004                       A7   Customer Deposit    1,807   1,807
Jessica Levens                                305 La Veta Ave                     Encinitas, CA 92024-2509                        A7   Customer Deposit    1,807   1,807
Brad Sandman                                  2736 Teresita St                    San Diego, CA 92104-5255                x   x   A7   Customer Deposit    1,806   1,806
Gina Peiris                                   5791 Cape Jewels Trail              San Diego, CA 92130                             A7   Customer Deposit    1,794   1,794
Valice Peyton                                 10 Spanish Bay                      NEWPORT BEACH, CA 92660                         A7   Customer Deposit    1,790   1,790
Parastou Shilian                              827 22nd St                         Santa Monica, CA 90403-2008             x   x   A7   Customer Deposit    1,785   1,785
Janet Cruzan                                  450 Serpentine Dr                   Del Mar, CA 92014-2439                          A7   Customer Deposit    1,777   1,777
Carrie Goulding                               2850 Via Amapola                    San Clemente, CA 92673-3118                     A7   Customer Deposit    1,774   1,774
Antonio Bella Casa                            322 Old Newport Blvd                Newport Beach, CA 92663-4121                    A7   Customer Deposit    1,727   1,727
James and Yukyung Snider                      596 Entrada Dr                      Santa Monica, CA 90402-1346                     A7   Customer Deposit    1,693   1,693
Mica Polanco                                  1006 Calle Escarpada                Bonita, CA 91902-2402                           A7   Customer Deposit    1,753   1,753
Lou Myers                                     1966 Port Cardigan Pl               Newport Beach, CA 92660-5346                    A7   Customer Deposit    1,753   1,753
Modro and Company Builders, Inc.              5192 Bolsa Ave Unit# 1              Huntington Beach, CA 92649                      A7   Customer Deposit   37,836   3,350
Jonathan Devera                               11688 Calle Simpson                 El Cajon, CA 92019-4013                         A7   Customer Deposit    1,748   1,748
ARCOR, INC.                                   3830 Valley Centre Dr Ste 705-131   San Diego, CA 92130-3320                        A7   Customer Deposit    1,737   1,737
Judy Johnson                                  223 Calle Campesino                 San Clemente, CA 92672-4554                     A7   Customer Deposit    1,734   1,734
Kuzco Lighting                                29 Enchanted                        Irvine, CA 92620-2807                           A7   Customer Deposit    1,734   1,734
Keith Niedringhaus                            515 Pecan Ave                       Huntington Beach, CA 92648-4622                 A7   Customer Deposit    1,730   1,730
Landmark Custom Landscape                     45 Shield                           Irvine, CA 92618-5212                           A7   Customer Deposit    4,489   3,350
Kim Catanzarite                               354 Hazel Dr                        Corona del Mar, CA 92625-3031                   A7   Customer Deposit    1,726   1,726
Elevated Building Group                       2436 W Coast Hwy Ste 207            Newport Beach, CA 92663-4473            x   x   A7   Customer Deposit    1,723   1,723
D Shipp Corporation                           1160 N Pacific Coast Hwy            Laguna Beach, CA 92651-1373             x   x   A7   Customer Deposit    1,720   1,720
Fenton, Casey and Martin                      1370 West Muirlands dr.             La Jolla, CA 92037                              A7   Customer Deposit    1,732   1,732
MaryLois & Steven Kuhn                        31251 Paseo Crucero                 San Juan Capistrano, CA 92675-5399              A7   Customer Deposit    1,710   1,710
Justine Ringlien                              74917 South Coast Dr                Indian Wells, Ca 92210                          A7   Customer Deposit    1,709   1,709
Grey Eagle Vici Amo                           1501 India Street #103-60           San Diego, CA 92101                             A7   Customer Deposit    1,705   1,705
John & Christine Murphy                       7872 Rio Senda                      Rancho Santa Fe, Ca 92067                       A7   Customer Deposit    1,705   1,705
Austin & Ella Schwartz                        6732 Auburn Dr                      Huntington Beach, CA 92647-4065                 A7   Customer Deposit      852     852
Jeff & Sabrina Nelson                         7660 H Fay Ave #328                 La Jolla, CA 92037                              A7   Customer Deposit    1,701   1,701
Julie Laughton 4 Secret Cove                  4 Secret Cv                         Newport Coast, CA 92657-2107                    A7   Customer Deposit    1,695   1,695
Carolyn Bernstein Nick Grad                   225 Lorraine Blvd                   Los Angeles, CA 90004                           A7   Customer Deposit    1,686   1,686
CAT DEAKINS                                   8409 Yucca Trl                      Los Angeles, CA 90046-1957                      A7   Customer Deposit    1,685   1,685
Tony & Christine Sciarrino                    865 3rd St                          Manhattan Beach, CA 90266                       A7   Customer Deposit    1,683   1,683
Maria de Rosario Garcia Guerra                18220 Via De Fortuna                Rancho Santa Fe, CA 92067                       A7   Customer Deposit    1,679   1,679
WOLF KNORINGER ARCHITECT                      1716 Deloz Ave                      Los Angeles, CA 90027-4616                      A7   Customer Deposit    1,679   1,679
Yana Shaginian                                905 Bonnybrook Ter                  Glendale, CA 91207-1527                         A7   Customer Deposit    1,678   1,678
Flock Architecture                            4453 Camrose Ave                    San Diego, CA 92122-3044                        A7   Customer Deposit    1,901   1,901
Gemini Babla                                  15990 Avenida Calma                 Rancho Santa Fe, Ca 92091                       A7   Customer Deposit    1,665   1,665
Max & Candace Swango                          159 Dumond Drive                    Laguna Beach, CA 92651                  x   x   A7   Customer Deposit   13,874   3,350
Val Itskovich                                 26 Orangegrove                      Irvine, CA 92604-4616                           A7   Customer Deposit    1,661   1,661
Lindsay Lawrence                              723 Cameo Highlands Dr              Corona del Mar, CA 92625-2704                   A7   Customer Deposit    1,660   1,660

Dyjak Design Build - Astrid & Hudson Hale     268 La Veta Ave.                    Encinitas, CA 92024                             A7   Customer Deposit    1,641   1,641
Michael Berman Limited                        7215 Beverly Blvd                   Los Angeles, CA 90036-2536                      A7   Customer Deposit    1,638   1,638
Steve & Jeanna Brown                          837 Manzanita Dr                    Laguna Beach, CA 92651-1959                     A7   Customer Deposit    1,636   1,636
Nawar & Sara Nona                             3557 Tara Way                       Jamul, CA 91935-1653                            A7   Customer Deposit    1,632   1,632
Anita & Mike Williams                         23931 Plant Ave                     Mission Viejo, CA 92691-3723                    A7   Customer Deposit    1,627   1,627
Lisa Stern                                    16 Sapphire Ln                      Rancho Mirage, CA 92270-8006            x   x   A7   Customer Deposit    1,624   1,624
Paula Standley                                372 Mellow Ln                       La Canada, CA 91011-2749                        A7   Customer Deposit    1,601   1,601
Greg & Trang Gordon                           30 Monrovia                         Irvine, CA 92602-0925                           A7   Customer Deposit    1,600   1,600
GREGG & SCOTT EGGINTON                        123 HAY ST                          PALM DESERT, CA 92210                           A7   Customer Deposit    1,599   1,599
Jenny Draper                                  44 Grassy Knoll Ln                  Rancho Santa Margarita, CA 92688-5568           A7   Customer Deposit    1,598   1,598
HAIG YOUREDJIAN                               4217 Navajo St.                     Toluca Lake, CA 91602                           A7   Customer Deposit    1,595   1,595
Sangeeta Guha                                 5608 Abalone Pl                     La Jolla, CA 92037-7501                         A7   Customer Deposit    1,585   1,585
Rebecca & Brian Craft                         38 Whitman Ct                       Irvine, CA 92617-4059                           A7   Customer Deposit    1,585   1,585
Natalie Kotin                                 297 E Las Flores Dr                 Altadena, CA 91001                              A7   Customer Deposit    1,583   1,583
Christy Campbell                              1048 Lighthouse Rd                  Carlsbad, CA 92011-3410                         A7   Customer Deposit    1,580   1,580
Art Ashai                                     23910 Narbonne Avenue Suite 103     Lomita, CA 90717                                A7   Customer Deposit    1,579   1,579
Lifot Faith                                   843 West 15th Newport Beach         Newport Beach, Ca 92663                         A7   Customer Deposit    1,577   1,577
Tracy Cole                                    175 Sunset Terrace                  Laguna Beach, CA 92651                          A7   Customer Deposit    1,576   1,576

Intimate Living Interiors - Bradley Project   143 S Cedros Ave Ste C203           Solana Beach, CA 92075-1998                     A7   Customer Deposit    1,575   1,575
Celeste Rind                                  488 E Via Altamira                  Palm Springs, CA 92262-6043                     A7   Customer Deposit    1,575   1,575
Dave Sykes                                    2016 Ocean Front                    Del Mar, CA 92014                       x   x   A7   Customer Deposit    1,574   1,574
Sara Besharti/ Arash Kohanteb                 120 Roma Ct                         Marina del Rey, CA 90292-5967                   A7   Customer Deposit    1,573   1,573
BROOKE TAYLOR                                 3586 Mountain View Ave              Los Angeles, CA 90066-1922                      A7   Customer Deposit    1,568   1,568
MASA STUDIO                                   1112 S San Julian St                Los Angeles, CA 90015                           A7   Customer Deposit    1,559   1,559
DR Sunshine Properties                        8405 El Paseo Grande                La Jolla, CA 92037-3014                         A7   Customer Deposit    1,558   1,558
Glenda Aleman                                 3102 El Sebo Ave                    Hacienda Heights, CA 91745-6130                 A7   Customer Deposit    1,555   1,555
Jay Zhu                                       3809 S Main St                      Santa Ana, CA 92707                     x   x   A7   Customer Deposit   20,643   3,350
Redwood West                                  220 Newport Center Drive, 11-557    Newport Beach, CA 92660                         A7   Customer Deposit    1,533   1,533

                                                                                                                                             Exhibit 2, Page 93
                     Case
                     Case 24-01376-CL7
                          24-01376-CL7 Filed        Filed 05/03/24
                                                          06/17/24 Entered
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                                                                                                                273 Pg.       Pg. 94
                                                                                                                                  75 of of
Nicole Macey                  29496 Vista Plaza Dr.                Laguna Niguel, CA 92677       x x    A7   Customer Deposit     1,532                                  1,532
NICK ALSTON                   3816 BAYSIDE WALK                         162
                                                                        101
                                                                   SAN DIEGO, CA 92109                  A7   Customer Deposit     1,532                                  1,532
Stephen and Susan Novak                      240 16th Street                               Seal Beach, CA 90740                 x   x   A7   Customer Deposit    1,528   1,528
Taron Valentin                               8514 Calmada Ave                              Whittier, CA 90605-1521              x   x   A7   Customer Deposit    1,518   1,518
Kelsey Soriano                               3032 Clark Ave                                Long Beach, CA 90808-1715                    A7   Customer Deposit    1,610   1,610
ABE TARAKY                                   1955 El Sereno Ave                            Pasadena, CA 91103-1611              x   x   A7   Customer Deposit    1,507   1,507
Beverly Sperling                             17388 Sunset Ridge Cir                        Granada Hills, CA 91344-2242                 A7   Customer Deposit    1,505   1,505
SY IVERSON                                   1480 Broadway Unit 2525                       San Diego, CA 92101-5737                     A7   Customer Deposit    1,505   1,505
Jeff Kelley                                  1717 Coast Blvd                               Del Mar, CA 92014-2140               x   x   A7   Customer Deposit    1,503   1,503
Rosella McDaniel                             1230 Catalina Blvd                            San Diego, CA 92107                          A7   Customer Deposit    1,502   1,502
Jeff Brenner                                 1575 hazelwood ave                            Los Angeles, ca 90041                        A7   Customer Deposit    1,502   1,502
Linda & Martin Baker                         15822 Dundalk Ln                              Huntington Beach, CA 92647-3120              A7   Customer Deposit    1,490   1,490
Rick and Sue Sander                          13760 Pine Needles Dr                         Del Mar, CA 92104                            A7   Customer Deposit    1,487   1,487
olivia hu                                    8161 Santaluz Village Grn S                   San Diego, CA 92127-2518                     A7   Customer Deposit    1,485   1,485
Richard Heyman                               1625 Summitridge Dr                           Beverly Hills, CA 90210                      A7   Customer Deposit   70,862   3,350
COAT Design & Remodel - Mirasola
Residence                                    417 Oceanview Terrace                         Encinitas, CA 92024                          A7   Customer Deposit    1,480   1,480
J. Anderson Studio                           7906 Santa Monica Blvd #211 door code #2020   West Hollywood, CA 90046                     A7   Customer Deposit    1,480   1,480
Farrah & Mike Voll                           5848 Arboles St                               San Diego, CA 92120-3722                     A7   Customer Deposit    1,475   1,475
Mason London Design                          10335 Margate St                              North Hollywood, CA 91601                    A7   Customer Deposit    1,466   1,466
John Heisse                                  74326 Desert Arroyo Trl                       Indian Wells, CA 92210-7065                  A7   Customer Deposit    1,466   1,466
Elise Hartman                                18722 Jockey Cir                              Huntington Beach, CA 92648-1508      x   x   A7   Customer Deposit    1,465   1,465
Kenna Florie                                 1528 Orange Avenue, Unit A                    Costa Mesa, CA 92627                         A7   Customer Deposit    1,464   1,464
Lauren Hasson                                7392 Trade Street                             San Diego, CA 92130                          A7   Customer Deposit    1,463   1,463
Jose & Ann Plascencia                        4578 Round Top Dr                             Los Angeles, CA 90065-4930                   A7   Customer Deposit    1,461   1,461
COAT Design & Remodel - McDermott
Residence                                    17401 Circa Del Norte                         Rancho Santa Fe, CA 92067                    A7   Customer Deposit    1,477   1,477
Bill Schaff                                  3480 Newridge Dr                              Rancho Palos Verdes, CA 90275-6305           A7   Customer Deposit    1,454   1,454
Rebecca Gibson                               4268 Witherby St                              San Diego, CA 92103-1131                     A7   Customer Deposit    1,445   1,445
Ryong Cho                                    18479 Calle La Serra                          Rancho Santa Fe, CA 92091                    A7   Customer Deposit    1,443   1,443
Jim Wolcott                                  245 Cajon St                                  Laguna Beach, CA 92651-1335                  A7   Customer Deposit    1,442   1,442

South Harlow Interiors - Negar Shahbaz       6404 Avenida Manana                           La Jolla, CA 92037                           A7   Customer Deposit    1,439   1,439
Jacky Nguyen                                 48 Trade Wind                                 Tustin, CA 92782                             A7   Customer Deposit    1,439   1,439
Bobby Alvarez                                1635 W Farlington St                          West Covina, CA 91790-3359                   A7   Customer Deposit   24,401   3,350
MFIC Management                              2455 190th St                                 Redondo Beach, CA 90278-5334                 A7   Customer Deposit    1,443   1,443
Suzy Westphal                                15364 La Planadaras                           Rancho Santa Fe, CA 92067            x   x   A7   Customer Deposit    1,435   1,435
SKD Studios                                  3415 Newport Blvd                             Newport Beach, CA 92663-3817                 A7   Customer Deposit    1,433   1,433
Hank Dominguez                               1349 Mallard Ct                               Carlsbad, CA 92011-4879                      A7   Customer Deposit    1,432   1,432
Peggy Brooks                                 4545                                          SD, CA 92122                                 A7   Customer Deposit    1,427   1,427
Alan Holtschneider                           874 Tia Juana St                              Laguna Beach, CA 92651               x   x   A7   Customer Deposit    1,426   1,426

Aerie Unit 5 - Tony Valentine Construction   187 Carnation Ave                             Corona del Mar, CA 92625-2806                A7   Customer Deposit    1,423   1,423
Gil Esquivel                                 10312 Newville Ave.                           Downey, Ca 90241                             A7   Customer Deposit    1,423   1,423
Alicia Downing                               1048 Irvine Ave PMB 559                       Newport Beach, CA 92660              x   x   A7   Customer Deposit    1,422   1,422
Mark Higgins                                 115 Jade Ave                                  Newport Beach, CA 92662-1321                 A7   Customer Deposit    1,398   1,398
Rob Brunner                                  607 36Th Street                               Newport Beach, CA 92663                      A7   Customer Deposit    1,395   1,395
American Dream Home                          2215 Brindis                                  Newport Beach, CA 92660-6602                 A7   Customer Deposit    1,395   1,395
Jack Schneider                               80535 Via Terracina                           La Quinta, CA 92253-9017                     A7   Customer Deposit    1,391   1,391
Dellegatte Development                       9447 Danbury St                               Cypress, CA 90630-2848                       A7   Customer Deposit    1,389   1,389
Diana, Jaime, Mateo Navarro                  711 E. Claremont Street                       Pasadena, CA 91104                           A7   Customer Deposit    1,400   1,400
Karen & Milo Sweet                           216 Calle Roca Vista                          San Clemente, CA 92672                       A7   Customer Deposit    1,387   1,387
Amit Ghia                                    182 S Shadow Pines Rd                         Orange, CA 92869-6566                        A7   Customer Deposit    4,982   3,350
Malone Brothers Inc.                         11293 Atchison Way                            Valley Center, CA 92082-4705         x   x   A7   Customer Deposit    1,377   1,377
Sangeetha Reddy                              20 Ashwood                                    Irvine, CA 92604-3311                        A7   Customer Deposit    1,376   1,376
LAURA FINLEY                                 20 Kamalii Ct                                 Newport Beach, CA 92663-2355                 A7   Customer Deposit    1,375   1,375
Travis Wallgren                              607 Avenue H                                  Boulder City, NV 89005-2725                  A7   Customer Deposit    1,375   1,375
Jennifer Morrissey                           1450 La Jolla Rancho Rd                       La Jolla, CA 92037-7434                      A7   Customer Deposit    1,372   1,372
Gio & Lani LoCoco                            2705 Columbia St                              San Diego, CA 92103                          A7   Customer Deposit    1,358   1,358
Natalie Levy                                 2558 Hutton Dr                                Beverly Hills, CA 90210-1212                 A7   Customer Deposit   24,391   3,350
EVERBRIGHT REAL ESTATE                       3452 E FOOTHIL BLVD #1125                     PASADENA, CA 91107                           A7   Customer Deposit    1,226   1,226
TOWNSGATE CONSTRUCTION                       22 Calle Mandarina                            San Clemente, CA 92673-3263          x   x   A7   Customer Deposit    1,350   1,350
Julie Stadlbauer                             33651 Windjammer Dr.                          Dana Point, CA 92629                         A7   Customer Deposit    1,349   1,349
MARK & SANDI KLINDT                          10954 Ramsgate Dr                             Santee, CA 92071-2823                x   x   A7   Customer Deposit    1,346   1,346
Atsuko Gee                                   1670 Knollwood Dr Molly Purnell Desinger      Pasadena, CA 91103-1906                      A7   Customer Deposit      899     899
Mary Becker                                  19561 Ditmar Ln                               Huntington Beach, CA 92646-3109              A7   Customer Deposit    1,338   1,338
Jessica Choi                                 11 Sail View Ave                              Rancho Palos Verdes, CA 90275-5706           A7   Customer Deposit    1,322   1,322
Gene Howell                                  1170 East Paseo El Mirador                    Palm Springs, CA 92262                       A7   Customer Deposit    1,321   1,321
Ali Altaha                                   22601 Summerfield                             Mission Viejo, CA 92692              x   x   A7   Customer Deposit    1,317   1,317
KAZ Design Group                             3323 Hyland Ave Ste A                         Costa Mesa, CA 92626-1547                    A7   Customer Deposit    1,314   1,314
Jennifer Esparza                             5112 Audrey Dr                                Huntington Beach, CA 92649-2405              A7   Customer Deposit    1,312   1,312
Churchill Design - Schulmann Project         2720 East Coast Hwy #200                      Corona del Mar, CA 92625                     A7   Customer Deposit    1,309   1,309
Mijin Lee-Brown                              20452 Milano Ct                               Yorba Linda, CA 92886                        A7   Customer Deposit    1,298   1,298
Matt & Stacy Root                            PO Box 8894                                   Rancho Santa Fe, CA 92067-8894               A7   Customer Deposit    1,292   1,292
Craig Lindholm                               5913 Hersholt Ave.                            Lakewood, CA 90712                           A7   Customer Deposit    1,284   1,284
Tori Levy                                    3575 Multiview Dr                             Los Angeles, CA 90068-1221                   A7   Customer Deposit    1,280   1,280
Debbie Dahl Interiors                        17811 Alfawn Cir                              Huntington Beach, CA 92649-4801              A7   Customer Deposit    1,280   1,280
Dave & Anita Henry                           1155 S Grand Ave Unit 102                     Los Angeles, CA 90015                        A7   Customer Deposit    1,279   1,279
John Dempsey                                 2778 Wright Ln                                Los Angeles, CA 90068-1871           x   x   A7   Customer Deposit    1,277   1,277
Le Dimora                                    13470 Highlands Pl                            San Diego, CA 92130                          A7   Customer Deposit    1,274   1,274
Staci Jimenez                                2571 Crooked Trail Rd                         Chula Vista, CA 91914-4142                   A7   Customer Deposit    1,271   1,271
MIKE DILLEY                                  2320 2nd Ave                                  Corona del Mar, CA 92625-2054                A7   Customer Deposit    1,259   1,259
DEVITIS CONSTRUCTION                         4335 VAN NUYS BLVD #297                       SHERMAN OAKS, CA 91403                       A7   Customer Deposit    1,256   1,256
Jane and Kyle Sorrells                       49680 Cherokee Ct                             Aguanga, CA 92536-9370                       A7   Customer Deposit    1,256   1,256
Kathy & Pat Whalen                           1848 Port Ashley Pl                           Newport Beach, CA 92660-5336                 A7   Customer Deposit    1,254   1,254
May & Tom Miura                              910 Camino Ibiza                              San Clemente, CA 92672-6034                  A7   Customer Deposit    1,253   1,253
Angeli Poonsaengsathit                       16841 Marinabay Dr                            Huntington Beach, CA 92649-2913              A7   Customer Deposit    1,252   1,252
KC Dorame                                    15701 Collins Ave Unit 4701                   Sunny Isles Beach, FL 33160-5434             A7   Customer Deposit    1,251   1,251
Scott Morrow                                 4537 La Orilla                                Rancho Santa Fe, CA 92067            x   x   A7   Customer Deposit    1,249   1,249
Marianne Langolf                             82 Avenida Lirio Blanco                       Rancho Mirage, CA 92270-4146                 A7   Customer Deposit    1,248   1,248
Olva Khoury                                  7749 Calle Bresca                             Rancho Cucamonga, CA 91730                   A7   Customer Deposit    1,247   1,247
Jeff Lee                                     11 South 3rd St. Unit 505                     El Hambra, CA 91801                          A7   Customer Deposit    1,247   1,247
Matthew Agee Construction Inc.               339 Rancho Santa Fe Rd                        Encinitas, CA 92024-6426                     A7   Customer Deposit    1,232   1,232
Larry Wingard                                471 Prospect Cir                              South Pasadena, CA 91030-1749                A7   Customer Deposit    1,226   1,226
Baydaa Somo                                  1129 Avenida del Oceano                       El Cajon, CA 92019                           A7   Customer Deposit    1,211   1,211


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                     Case
                      Case 24-01376-CL7
                                    24-01376-CL7 Filed   Filed 05/03/24
                                                               06/17/24 Entered
                                                                        Entered 05/03/24   06/17/24 17:57:58
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                                                                                                                                       76 of of
Walls Design Co. - Michael & Kevan Lyons 736 Doris Drive                      162
                                                                              101
                                                                        Encinitas, CA 92024                  A7   Customer Deposit     1,210                      1,210
Harry Rady                                     5734 Dolphin Pl                         La Jolla, CA 92037-7519                   A7   Customer Deposit    1,209   1,209
Scott Fujimoto                                 19 Paso Robles                          Irvine, CA 92602-1011                     A7   Customer Deposit    1,206   1,206
Mary Grant                                     7450 Vista Rancho Ct                    Rancho Santa Fe, CA 92067                 A7   Customer Deposit    1,205   1,205

N. Bruno Builder Inc. - Stayley/2443 7th St.   2443 7th St                             Encinitas, CA 92024-6506                  A7   Customer Deposit   15,762   3,350
Anne Sneed Architectural Interiors             4757 Sun Valley Rd                      Del Mar, CA 92014-4224                    A7   Customer Deposit    1,201   1,201
Premier Construction & Remodel Inc.            73950 Dinah Shore Dr Ste 306            Palm Desert, CA 92211-0830                A7   Customer Deposit    1,994   1,994
Judy Rodvold Steiner                           35 Mt. Holyoke                          Rancho Mirage, Ca 92270                   A7   Customer Deposit    1,195   1,195
Maison Trouvaille                              865 Comstock Ave                        Los Angeles, CA 90024-2572                A7   Customer Deposit    1,189   1,189
Sean Loghman                                   1820 Geneva Circle                      San Marcos, CA 92078              x   x   A7   Customer Deposit    1,184   1,184
Kathryn K Manthei                              74711 Dillon Road #390                  Desert Hot Springs, CA 92241              A7   Customer Deposit    1,183   1,183
John Gilmer Architect                          2024 S Tulare Dr                        Palm Springs, CA 92264-9233               A7   Customer Deposit    1,171   1,171
Nicky & Sam Afifi                              385 W Cedar St                          San Diego, CA 92101-2658                  A7   Customer Deposit    1,166   1,166
Mike & Andrea Mehringer                        4642 Calle Mar de Armonia               San Diego, CA 92130-2689                  A7   Customer Deposit    1,165   1,165
Sean & Nicole Hibbs                            1276 Devonshire Dr                      San Diego, CA 92107-4006                  A7   Customer Deposit    1,163   1,163
Jason Smith                                    2015 Escarpa Dr                         Los Angeles, CA 90041                     A7   Customer Deposit    1,162   1,162
Bryan Design Group - Marcia Bryan              10650 Treena St Ste 212                 San Diego, CA 92131-2437                  A7   Customer Deposit    1,160   1,160
Christopher James Interiors (Contractor
Pricing)                                       1408 E Bell Ave                         Anaheim, CA 92805-5942            x   x   A7   Customer Deposit    1,153   1,153
CALLI & MILES MCGANN                           3 Christopher St                        Ladera Ranch, CA 92694-1527               A7   Customer Deposit    1,151   1,151
Megan Young                                    5531 Linda Rosa Ave                     La Jolla, CA 92037                x   x   A7   Customer Deposit    1,148   1,148
Mariam Grace Design Inc.                       1754 N Kenmore Ave #301                 Los Angeles, CA 90027-4045        x   x   A7   Customer Deposit    1,147   1,147
Barbara Beck Design                            41 Calle Akelia                         San Clemente, CA 92673-7038               A7   Customer Deposit    1,147   1,147
Peter Panenka                                  23 Rainbow Rdg                          Irvine, CA 92603-3728                     A7   Customer Deposit      568     568
Barbara Lee                                    2309 Century hill                       Los Angeles, CA 90067                     A7   Customer Deposit    1,135   1,135

Rebecca Foster Design - Frome Project          18 University Street                    Healdsburg, CA 95448              x   x   A7   Customer Deposit    1,146   1,146
Claudia Villalba                               6259 East Metz St                       Long Beach, CA 90808                      A7   Customer Deposit    1,129   1,129
Rich & Lori Manor                              26101 Red Corral Rd                     Laguna Hills, CA 92653                    A7   Customer Deposit    4,573   3,350
Nordic Restoration                             32772 Sail Way                          Dana Point, CA 92629-1216                 A7   Customer Deposit    1,121   1,121
Shannon Hyland                                 143 Columbia Dr                         Rancho Mirage, CA 92270-3112              A7   Customer Deposit    2,935   2,935
Angie Tang                                     881 Ridgecrest St                       Monterey Park, CA 91754-3754              A7   Customer Deposit    1,117   1,117
Diane & Kevin Rogers                           2725 Hilltop Drive                      Newport Beach, CA 92660                   A7   Customer Deposit    1,116   1,116
Van Zee Design                                 816 Electric Ave                        Seal Beach, CA 90740-6314                 A7   Customer Deposit   11,502   3,350
Mark Bailey                                    621 Riverside Dr. #232                  Parker, AZ 85344                          A7   Customer Deposit    1,112   1,112
ETCO Homes                                     8447 Wilshire Blvd Ste 400              Beverly Hills, CA 90211-3209              A7   Customer Deposit    1,109   1,109
Laurie & John Blatt                            52440 Del Gato Dr                       La Quinta, CA 92253-7319          x   x   A7   Customer Deposit    1,101   1,101
Christina Goetting                             276 Broadway                            Costa Mesa, CA 92627                      A7   Customer Deposit    1,100   1,100
Mark Samuels                                   840 Greenridge Dr                       La Canada, CA 91011               x   x   A7   Customer Deposit   97,077   3,350
MICHAEL BASSO                                  2351 AZURE AVE                          NEWPORT BEACH, CA 92660                   A7   Customer Deposit    1,100   1,100
Carole Assil                                   5124 Oxley Pl                           Westlake Village, CA 91362-4741           A7   Customer Deposit    1,094   1,094
Carmen Rich                                    1122 Fleetridge Drive                   San Diego, CA 92106                       A7   Customer Deposit    1,076   1,076
Hyper Object Industries                        1027 North Orange Drive                 Los Angeles, CA 90038                     A7   Customer Deposit    1,076   1,076
PAM & STUART PECK                              25 Portmarnoch Ct                       Coto de Caza, CA 92679-5105       x   x   A7   Customer Deposit    1,068   1,068
bravo construction                             13072 Nina Pl                           Garden Grove, CA 92843-1304               A7   Customer Deposit    1,066   1,066
Mcustomdesigns                                 45600 Cielito Drive                     Indian Wells, Ca 92210                    A7   Customer Deposit    1,055   1,055
Susan Hennenfent                               5774 Brittany Forrest Ln                San Diego, CA 92130-4827                  A7   Customer Deposit    1,054   1,054
Karen Mayo                                     31242 Pedro St                          Laguna Beach, CA 92651-6948       x   x   A7   Customer Deposit    7,503   3,350
Renee & Norman Ghazal                          3010 Calle Allejandro                   Jamul, CA 91935-3109                      A7   Customer Deposit    1,046   1,046
CHRISTINE OCHOA                                1326 N. WHITNALL HIGHWAY                BURBANK, CA 91505                         A7   Customer Deposit    1,046   1,046
Home Five Design                               24720 Golden Oak Lane                   Newhall, CA 91321                         A7   Customer Deposit    1,045   1,045
Katherine Malkin                               30 Evening Star Dr                      Rancho Mirage, CA 92270-3463              A7   Customer Deposit    1,037   1,037
Jill & Rick Reynolds                           890 Coronado Ave                        Coronado, CA 92118                        A7   Customer Deposit    1,036   1,036
Chad Biggins                                   4028 Sunswept Drive                     Studio City, CA 91604                     A7   Customer Deposit    1,035   1,035
Deborah Briskin                                2764 Colby Ave                          Los Angeles, CA 90064-3816        x   x   A7   Customer Deposit   27,190   3,350
Gary & Laura Pollock                           61 Dartmouth Dr                         Rancho Mirage, Ca 92270                   A7   Customer Deposit    1,035   1,035
Kingstruction                                  249 Highway 101 #326                    Solana Beach, CA 92075                    A7   Customer Deposit    1,030   1,030
Renu Aggarwal                                  20 Elizabeth Lane                       Irvine, CA 92602                  x   x   A7   Customer Deposit    1,030   1,030
Gabriela Escobar-Ulloa                         28482 Munera                            Mission Viejo, CA 92692                   A7   Customer Deposit    1,026   1,026
TEK Systems Corp., Raul Flores                 1100 W. Town & Country Rd. Suite 1250   Orange, CA 92868                          A7   Customer Deposit    5,137   3,350
Anna Lira & Amirian Vache - ACCOUNT
HOLD - BAL DUE                                 2946 Graceland Way                      Glendale, CA 91206-1331                   A7   Customer Deposit    1,016   1,016
Karamia Designs                                1426 N Laurel Ave                       West Hollywood, CA 90046-3980     x   x   A7   Customer Deposit    1,015   1,015
Bobby Dean                                     1322 Rocky Point Dr                     Oceanside, CA 92056-5868                  A7   Customer Deposit    1,012   1,012
PHYLLIS & ARTHUR TISDALE                       4411 Myrtle Ave                         Long Beach, CA 90807-2439                 A7   Customer Deposit    1,007   1,007
Tamara Tsamoudakis                             445 Walnut Pl                           Costa Mesa, CA 92627-2335                 A7   Customer Deposit      946     946
A. Naber Design                                1636 Debann Road                        Cardiff,, Ca 92007                x   x   A7   Customer Deposit    1,004   1,004
Marcelo Kertesz                                612 Lucylle Ln                          Encinitas, CA 92024-6529                  A7   Customer Deposit    1,003   1,003
Cheryl Hill Oakes                              217 Rivo Alto Canal                     Long Beach, CA 90803                      A7   Customer Deposit    1,001   1,001
BRIAN & MICHELLE LEAR                          24206 Gingerwood Pl                     Diamond Bar, CA 91765-4507                A7   Customer Deposit    1,000   1,000
Bobby Dadvar                                   11 Splendore Dr                         Newport Coast, CA 92657-1525              A7   Customer Deposit      998     998
SAMMIE TABRIZI                                 16830 ADLON ROAD                        ENCINO, CA 91436                          A7   Customer Deposit      995     995
Beki Designs                                   1531 Santa Sabina Ct                    Solana Beach, CA 92075-1625               A7   Customer Deposit      994     994
Hamro Construction                             751 Lazy Circle Dr                      Vista, CA 92081-6745              x   x   A7   Customer Deposit      985     985
Mike Brawner                                   1315 Diamond Head Dr                    Encinitas, CA 92024-4004                  A7   Customer Deposit      982     982
Chuck & Suzanne Harrison                       18022 Darmel Pl                         North Tustin, CA 92705-1916               A7   Customer Deposit      981     981
Jimmy and Jamie Schoolfield                    722 Rosecrans Ave                       Manhattan Beach, CA 90266-3451            A7   Customer Deposit      912     912
Lecia Davis                                    11 La Senda Pl                          Laguna Beach, CA 92651-6738               A7   Customer Deposit    1,251   1,251
MARK & KATHY FACKLER                           7372 Eads Ave                           La Jolla, CA 92037-5034                   A7   Customer Deposit      968     968
DAG DESIGN GROUP                               333 E Amado Rd                          Palm Springs, CA 92263-7001       x   x   A7   Customer Deposit      964     964
Bobby Awadalla                                 1013 Grove Ln                           Newport Beach, CA 92660-5642              A7   Customer Deposit      964     964
Ali Cote Interiors                             167 Marcheta Street                     Encinitas, CA 92024-2009                  A7   Customer Deposit      963     963
Maria Abolfathi                                24 Yellowwood Way                       Irvine, Ca 92612                          A7   Customer Deposit      963     963
Ron Hoefer                                     522 Fountain Dr                         Palm Springs, CA 92262-0471               A7   Customer Deposit      944     944
Suzy Shuster                                   9477 Lloydcrest Dr                      Beverly Hills, CA 90210                   A7   Customer Deposit      942     942
Amisha Desai                                   13785 Quinton Rd                        San Diego, ca 92129               x   x   A7   Customer Deposit      939     939
Griselda Gomez                                 21743 Rose Canyon Lane                  Santa Clarita, CA 91390           x   x   A7   Customer Deposit      939     939
Ilya Veyts                                     4240 Fulton Ave #110                    Studio City, CA 91604                     A7   Customer Deposit      930     930
CHRIS KIMURA                                   2328 CAMBRIDGE AVE                      CARDIFF, CA 92007                 x   x   A7   Customer Deposit      925     925
Judy & Ray Marquez                             9 Morro Bay                             Irvine, CA 92602-1083                     A7   Customer Deposit      925     925
John Charles                                   529 Pomona Ave                          Coronado, CA 92118-1941           x   x   A7   Customer Deposit      923     923
COAT Design & Remodel- Henssler
Residence                                      PO Box 1461                             Carlsbad, CA 92018-1461           x   x   A7   Customer Deposit      915     915
Kamran Abdo                                    2 Via Sienna                            Dana Point, CA 92629                      A7   Customer Deposit    1,001   1,001

                                                                                                                                            Exhibit 2, Page 95
                   Case
                   Case 24-01376-CL7
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IRMA CARDENAS ART           8354 VIA DORA                RANCHO SANTA FE, CA 92067           A7   Customer Deposit      910                                     910
Brett Crawford              5420 Bloch St                      162
                                                               101
                                                         San Diego, CA 92122-4010     x x    A7   Customer Deposit      901                                     901
Anahid Artsvelian                      3836 San Augustine Drive              Glendale, CA 91206                              A7   Customer Deposit      898     898
Craig Shular                           PO BOX 2134                           Rancho Santa Fe, CA 92067                       A7   Customer Deposit      894     894
Arsen Duryan                           6116 Goodland AV                      North Hollywwod, CA 91606                       A7   Customer Deposit      892     892
Charlene Palmer                        34062 Bedford Ln                      Dana Point, CA 92629                            A7   Customer Deposit      886     886
Pacific Interior Design                302 Washington St #446                San Diego, CA 92103                             A7   Customer Deposit      884     884
Lesley Jewett                          140 Irvine Cove Plc                   Laguna Bach, Ca 92651                           A7   Customer Deposit      883     883
Mimi Swenson                           2025 Via Sinalda                      La Jolla, CA 92037-6949                 x   x   A7   Customer Deposit      880     880
Steve & Erika O'Brien                  2207 Port Harwick Place               Newport Beach, CA 92660                         A7   Customer Deposit      877     877
Popix Designs - Alyse Mousette         11 Buccaneer St. Suite #2             Marina Del Ray, CA 90292                        A7   Customer Deposit      875     875
LAURA STEMMER                          3726 Glenalbyn Dr                     Los Angeles, CA 90065-2517                      A7   Customer Deposit      872     872
Rita Gindi                             4777 Live Oak Canyon Rd               La Verne, CA 91750                              A7   Customer Deposit      872     872
Bret Davis                             27784 Somerset Ln                     San Juan Capistrano, CA 92675-5402              A7   Customer Deposit      870     870
Jennifer Beith                         11 Juniper                            Lake Forest, CA 92630                           A7   Customer Deposit      867     867
Angie Lebidine                         16356 Streamwood Ct                   San Diego, CA 92127                     x   x   A7   Customer Deposit      866     866
JEFF & KATIE GABLE                     38 Grassy Knoll Ln                    Rancho Santa Margarita, CA 92688-5568           A7   Customer Deposit      862     862
Coppel                                 2089 Harvest Rd B-169                 San Diego, CA 92154                             A7   Customer Deposit      857     857
Al Delgadillo                          6975 Spyglass Lane                    Rancho Santa Fe, CA 92067                       A7   Customer Deposit      852     852
Clare Sturtevant Interior Design       P.O. Box 5005-63                      Rancho Santa Fe, CA 92067               x   x   A7   Customer Deposit   21,402   3,350
Lesa Paboojian                         52465 Via Castile                     La Quinta, CA 92253                             A7   Customer Deposit      844     844
Noelle Valdivia                        2414 N Kenmore Ave                    Los Angeles, CA 90027                           A7   Customer Deposit      841     841
Kris Simon                             6654 Las Arboledas                    Rancho Santa Fe, CA 92067               x   x   A7   Customer Deposit      840     840
DIANA LANDS DESIGN                     136 Beloit Ave                        Los Angeles, CA 90049-3008                      A7   Customer Deposit      914     914
Anne & Brian Busacca                   6516 Mount Shasta Dr                  Bakersfield, CA 93309-2443                      A7   Customer Deposit      839     839
William's Wood Works Inc               2911 S. Main St Ste D                 Santa Ana, CA 92707                             A7   Customer Deposit      837     837
Terry & Scott Whittle                  10850 Wilshire Blvd #300              Los Angeles, CA 90024                           A7   Customer Deposit      417     417
Level 7 Design & Build                 173 Westlake Dr                       Palm Springs, CA 92264-5502                     A7   Customer Deposit      831     831
Dora Brigham Interiors                 2915 Red Hill Ave Suite B 201 B       Costa Mesa, CA 92626-5916                       A7   Customer Deposit   14,914   3,350
Kian Ghadimi                           252 Mayflower Dr                      Newport Beach, CA 92660-6164                    A7   Customer Deposit      829     829
Steve Smith                            6617 Hollyleaf Ct                     Carlsbad, CA 92011-4068                         A7   Customer Deposit      307     307
Marie's family Farm llc                6124 El Camino del norte              RSF, CA 92067                                   A7   Customer Deposit      824     824
Mitch Katz                             1126 Stradella Rd                     Los Angeles, CA 90077-2610              x   x   A7   Customer Deposit      810     810
Michelle Defeo                         72825 Willow street                   Palm Desert, Ca 92260                           A7   Customer Deposit      809     809
Louise Neyer Interiors                 73-725 El Paseo Ste 23E               Palm Desert, CA 92260                           A7   Customer Deposit   15,623   3,350
Bob Penner                             3890 Noble Dr #1703                   San Diego, CA 92122                             A7   Customer Deposit      808     808
Kara Olson                             3422 Tony Dr                          San Diego, CA 92122-2305                        A7   Customer Deposit      805     805
Lee Gittleman                          4705 Sea Shore Dr                     Newport Beach, Ca 92663                         A7   Customer Deposit    2,832   2,832
Donald Leeper                          2705 Via Arboleda                     San Clemente, CA 92672                          A7   Customer Deposit      799     799
Carol McMahon Interior Design          22 Ali Ln                             Ladera Ranch, CA 92694-1460                     A7   Customer Deposit      799     799
Luke Pidgeon & Kate Scherer            2525 Duarte Way                       Laguna Beach, CA 92651-4006                     A7   Customer Deposit      797     797
Beltran Construction - Freeman         3569 Bluff Ct                         Carlsbad, CA 92010-7060                         A7   Customer Deposit      794     794
Neva Bradley                           1155 Muirlands Vista Way              La Jolla, CA 92037                              A7   Customer Deposit      790     790
Mullen Design Co - Suzanne Anderson    883 Orion Way                         San Marcos, CA 92078                            A7   Customer Deposit      788     788
Specialty Home Improvement - Amy and
Bob Pearl                              562 SHASTA DRIVE                      Encinitas, CA 92024                             A7   Customer Deposit      783     783
Ernesto DeLaRosa                       24252 Via Aquara Ave                  Laguna Niguel, CA 92677                 x   x   A7   Customer Deposit      777     777
IMC Properties                         545 Mount Holyoke Ave                 Pacific Palisades, CA 90272                     A7   Customer Deposit      771     771
Poppy Design Jennifer Michelsen        16728 Calle Hermosa                   San Diego, CA 92127                     x   x   A7   Customer Deposit      766     766
JBA                                    A                                     San Diego, CA 92109                             A7   Customer Deposit      765     765
Zoldano Interiors                      33841 Colegio Dr Apt B                Dana Point, CA 92629-5374                       A7   Customer Deposit      764     764
KYDA MCDONAGH                          25632 EASTWIND DRIVE                  DANA POINT, CA 92629                    x   x   A7   Customer Deposit      759     759
Karelly Sanchez                        812 Sandy Ct                          Encinitas, CA 92024-2244                        A7   Customer Deposit      758     758
ROBINSON BROWN DESIGN                  5637 Ls Jolla Blvd                    La Jolla, CA 92037                              A7   Customer Deposit      747     747
Stephen Weinger                        5285 La Cresenta                      Yorba Linda, CA 92887                           A7   Customer Deposit    1,733   1,733
Cabinets OC                            1940 corpprate way                    Anaheim, ca 9280`1                              A7   Customer Deposit      741     741
Craig Simon                            13 Lagunita Dr                        Laguna Beach, CA 92651-4237             x   x   A7   Customer Deposit      738     738
Martire Custom Homes                   354 E May St                          Elmhurst, IL 60126-3659                         A7   Customer Deposit      738     738
Joanne Verde                           8 Marsh Creek                         Laguna Niguel, ca 92677                         A7   Customer Deposit      736     736
Bilancia Interiors                     2907 Shelter Island Dr                San Diego, CA 92106                             A7   Customer Deposit      735     735
Riley Lanham                           2205 Ocean Front Walk                 Venice, CA 90291-4316                           A7   Customer Deposit      734     734
Kevork George Dulgeryan                1011 W Mountain St                    Glendale, CA 91202                              A7   Customer Deposit      733     733
KC Kim                                 12432 Del Vino Ct                     San Diego, CA 92130-6833                        A7   Customer Deposit      732     732
Poppy Design - Hilary & Mark Loretta   6502 Via Vista Canada                 Rancho Santa Fe, CA 92067                       A7   Customer Deposit      731     731
Proteus Homes - John Grieco            2085 Via Ladeta                       La Jolla, CA 92037                              A7   Customer Deposit      728     728
Dave Powers Construction               74 Malaga Cove Plaza #14              Palos Verdes Estates, ca 90274                  A7   Customer Deposit      728     728
Joe & Shella Salvo                     20352 S.W. Cypress Street             Newport Beach, CA 92660                 x   x   A7   Customer Deposit      728     728
ChristopherHill Development            14105 Biscayne Pl                     Poway, CA 92064                                 A7   Customer Deposit      726     726
OWIU Design                            4949 Terracita Ln                     La Cañada Flintridge, CA 92011                  A7   Customer Deposit      724     724
RICHARD HARRIS                         24721 Jessica Pl                      Laguna Niguel, CA 92677-6037            x   x   A7   Customer Deposit      722     722
Marisa Kosters - Acct #2               203 La Barranca Dr                    Solana Beach, CA 92075-1715                     A7   Customer Deposit      720     720
SANDRA & ANNALISA CRACCHIOLO           919 Dale Ct                           San Marcos, CA 92069-2116                       A7   Customer Deposit      703     703
Jim & Nancy Ruprecht                   114 Via Lido                          Newport Beach, CA 92663                         A7   Customer Deposit      703     703
Inspired Interiors - Amy McAweeney     5335 Chelsea St                       La Jolla, CA 92037                              A7   Customer Deposit      703     703
Briana Zaldivar Ruff                   541 Silvergate Ave                    San Diego, CA 92106-3329                        A7   Customer Deposit      698     698
Kelly Zimmerman                        1813 S La Paloma                      Palm Springs, CA 92264-9250             x   x   A7   Customer Deposit      697     697
Hill Construction Company              4626 Albuquerque St # 200 2nd Floor   San Diego, CA 92109                             A7   Customer Deposit      695     695
RAC Inc.                               85 Bell Canyon Road                   Bell Canyon, CA 91307                           A7   Customer Deposit      689     689
LUCIA FELIX                            3025 Beyer Blvd Ste E-101             San Diego, CA 92154-3432                        A7   Customer Deposit      685     685
Marty & Beata Beck                     128 N June St                         Los Angeles, CA 90004-1040                      A7   Customer Deposit      680     680
Carol Lovato                           7540 E Country Side Rd                Anaheim, CA 92808-1381                          A7   Customer Deposit      679     679
Brad Eells                             845 14th Street                       Hermosa Beach, CA 90254                         A7   Customer Deposit      678     678
Joe Rowland                            197 W Via Lola Unit 20                Palm Springs, CA 92262-4348                     A7   Customer Deposit      676     676
Anne Sneed - Mack                      4954 Rancho del Mar Trl               San Diego, CA 92130-5214                        A7   Customer Deposit   18,777   3,350
DM Interior Designs                    19081 Tanglewood Ln                   Huntington Beach, CA 92648-6663                 A7   Customer Deposit      671     671
Rochele & Dave Doehr                   10654 Vista Del Agua Way              San Diego, CA 92121                             A7   Customer Deposit      662     662
Mark Sullivan                          2100 Elm Ave                          Manhattan Beach, CA 90266-2807                  A7   Customer Deposit      661     661
Ant Anstead                            3161 Red Hill Ave                     Costa Mesa, CA 92626-3419                       A7   Customer Deposit      660     660
Debbie & Steve Greinke                 16441 Malden Cir                      Huntington Beach, CA 92649                      A7   Customer Deposit      660     660
Laurcon Development                    772 Jamacha rd. #220                  El Cajon, CA 92019                              A7   Customer Deposit    1,566   1,566
Teri Hoops                             587 Elkhorn Mountain Rd               Durango, CO 81301-3802                          A7   Customer Deposit      658     658
Demshur Res                            21 Strand Beach Dr                    Dana Point, CA 92629-2755                       A7   Customer Deposit      657     657
Lennie Roman                           6591 Lenore Ave,                      Garden Grove, CA 92845                          A7   Customer Deposit      656     656
Kristin Wagner                         31921 Via Granada                     San Juan Capistrano, CA 92675                   A7   Customer Deposit      655     655
Yek Huang                              143 BOZEMAN                           Irvine, CA 92602                                A7   Customer Deposit      652     652
Albert Lin                             26732 Via La Jolla                    San Juan Capistrano, CA 92675-8501              A7   Customer Deposit      645     645

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                     Case 24-01376-CL7
                          24-01376-CL7 Filed                Filed 05/03/24
                                                                  06/17/24 Entered
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CHRIS ELKIN                   11702 Foster Rd                              Los Alamitos, CA 90720-4228          A7   Customer Deposit      642                   642
Eyoh                          1050 Calle Cordillera Ste 102                      162
                                                                                 101
                                                                           San Clemente, CA 92673-6240          A7   Customer Deposit      638                   638
Nichoel Queally                            23182 Fairfield                     Mission Viejo, CA 92692-6600            x   x   A7   Customer Deposit     632     632
Sudi Yazdi                                 1304 Manzanita                      Manhattan Beach, CA 90266                       A7   Customer Deposit     630     630
Marrokal Design & Remodeling - Tom &
Megan Gibbings                             9474 Kearny Villa Rd Ste 205        San Diego, CA 92126-4597                        A7   Customer Deposit      629     629
Oscar Zagala                               11002 Sweetwater Ct                 Chatsworth, CA 91311-1954                       A7   Customer Deposit      627     627
TED IZEN                                   23280 Blue Bird Dr                  Calabasas, CA 91302-1871                        A7   Customer Deposit      627     627
NANCY & TOM THOMPSON                       47 Siena                            Laguna Niguel, CA 92677-8626            x   x   A7   Customer Deposit      625     625
Marion Scire                               703 Tico Rd                         Ojai, CA 93023                                  A7   Customer Deposit      625     625
Mary Lischke                               1805 La Jolla Rancho Rd             La Jolla, CA 92037-7850                         A7   Customer Deposit      621     621
Carolyn Greenslate                         7501 High Ave                       La Jolla, CA 92037-5214                         A7   Customer Deposit      620     620
Vardges Vardanyan                          1329 Virgina Ave                    Glendale, Ca 91202                      x   x   A7   Customer Deposit      615     615
ELEMENTAL DESIGN INC.                      3038 Hillcrest Dr                   Los Angeles, CA 90016-4101                      A7   Customer Deposit      224     224
PrimeCo                                    30345 Via Maria Elena               Bonsall, CA 92003-6208                          A7   Customer Deposit      612     612
Faith and Mark Seyler                      5381 Christal Ave                   Garden Grove, Ca 92845                          A7   Customer Deposit      610     610
Wei Zhang                                  1260 Wentworth Ave                  Pasadena, CA 91106-4448                         A7   Customer Deposit      669     669
Rick Schlesinger                           79062 Tom Fazio Ln S                La Quinta, CA 92253-8029                        A7   Customer Deposit    5,378   3,350
Kevin Welker                               25461 Barents                       Laguna Hills, CA 92653                  x   x   A7   Customer Deposit      600     600
Gloria Glaeser                             8828 Hollywood Hills Rd             Los Angeles, CA 90046                           A7   Customer Deposit      661     661
Melanie Funsten                            1942 Port Chelsea Pl                Newport Beach, CA 92660-5348                    A7   Customer Deposit      593     593
Carol Chua                                 32052 Sunset Ave                    Laguna Beach, CA 92651-6832                     A7   Customer Deposit      589     589
Wendi Young Design                         4101 Birch Street Suite 200         Newport Beach, CA 92660                         A7   Customer Deposit      585     585
Bill Flake                                 919 Morse St                        Oceanside, CA 92054-5938                x   x   A7   Customer Deposit      584     584
Doug & Jill Wetton                         1331 Santanella Terrance            Corona del Mar, CA 92625                        A7   Customer Deposit      579     579
Bryan Design Group - Jodie Pierce          10650 Treena St Ste 212             San Diego, CA 92131-2437                        A7   Customer Deposit      579     579
Janet Moore                                2663 Saint Tropez Pl                La Jolla, CA 92037-3541                         A7   Customer Deposit      579     579
Andrea Porter                              74656 Fairway Dr                    Palm Desert, CA 92260-4573                      A7   Customer Deposit      578     578
Jodi Tudor                                 72944 Tamarisk St                   Palm Desert, ca 92260                           A7   Customer Deposit      578     578
Jeff Neumann                               1017 Calle de Lepanto               Escondido, CA 92025-7678                        A7   Customer Deposit      578     578
Providence Babic                           11908 Calle Trucksess               El Cajon, CA 92019-4007                         A7   Customer Deposit      658     658
DESIGN WAVE                                2 Country Glen Rd                   Fallbrook, CA 92028-9231                        A7   Customer Deposit      574     574
J.R. Daley Custom Homes                    6410 LA VALLE PLATEADA              RSF, CA 92067                                   A7   Customer Deposit      573     573
Kathryn Calise                             2500 6th Avenue TH104               San Diego, CA 92103                             A7   Customer Deposit      573     573
Astleford Interiors, Inc                   4968 Marin Dr                       Oceanside, CA 92056-5485                        A7   Customer Deposit      569     569
Darron Anderson                            704 Little John Ln                  Houston, TX 77024-3608                          A7   Customer Deposit      561     561
Cloherty, Chris                            1955 Port Cardigan                  Newport Beach, CA 92660                         A7   Customer Deposit      558     558
Interior Consultants                       33761 Windjammer Dr                 Dana Point, CA 92629-4470                       A7   Customer Deposit      553     553

Suzanne and Dana Goldstein Greenwald       2617 Caynon South                   Palm Springs, Ca 92264                          A7   Customer Deposit     549     549
Aaron Rosenzweig                           3211 Piragua Street                 Carlsbad, CA 92009                              A7   Customer Deposit     544     544
Catherine Wiley Interior Design            3419 Via Lido # 156                 Newport Beach, CA 92663                         A7   Customer Deposit     544     544
M2 Design Group                            32262 Azores Rd                     Dana Point, CA 92629-3603               x   x   A7   Customer Deposit     537     537
Olympia Medina                             21035 Carob Ln                      Mission Viejo, CA 92691-6626                    A7   Customer Deposit     536     536
Julie Mumma                                513 Dragon Gate Ct                  Henderson, NV 89012-7279                x   x   A7   Customer Deposit     533     533
Lisa Michaels                              13998 Recuerdo Drive                Del Mar, CA 92014                               A7   Customer Deposit     520     520
blackoakcompanies                          2435 Poinsettia Drive               San Diego, CA 92106                             A7   Customer Deposit     517     517
Barbara Manalis                            31618 Jewel Ave                     Laguna Beach, CA 92651-8267                     A7   Customer Deposit     515     515
Mike & Shan Emanuelli                      18120 Marilla St                    Northridge, CA 91325-1710                       A7   Customer Deposit     515     515
NUNE SIMONIAN                              3131 Chadney Dr                     Glendale, CA 91206-1004                         A7   Customer Deposit     513     513
Sharon Brouha                              1319 Beryl St                       San Diego, CA 92109-2102                        A7   Customer Deposit     522     522
Ryan Stueber                               24292 Ontario Ln                    Lake Forest, CA 92630                           A7   Customer Deposit     508     508
Cornerstone Company                        PO. 92586                           Pasedena, CA 91109                              A7   Customer Deposit     508     508
Eileen Lundquist                           13576 Lavender Way                  San Diego, CA 92130-5652                        A7   Customer Deposit     504     504
Frank & Carol Huang                        1400 Old Mill Road                  San Marino, CA 91108                            A7   Customer Deposit     498     498
Melinda Decker                             1360 Knoll Rd                       Redlands, CA 92373-7033                         A7   Customer Deposit     502     502
Richard Walker                             6919 Via Estrada                    La Jolla, CA 92037                              A7   Customer Deposit     500     500
Maurine Beinbrink                          23 Catspaw Cape                     Coronado, CA 92118                              A7   Customer Deposit     500     500
Susie Fronek                               4086 Rainwood Ave                   Yorba Linda, CA 92886-3194                      A7   Customer Deposit     499     499
Carl Nolet                                 2937 Jordanelle View Dr             Park City, UT 84060-7933                        A7   Customer Deposit     496     496
Elizabeth Aaron Interior Design - Denise
Scott                                      7920 Corte Penca                    Carlsbad, CA 92009-9527                         A7   Customer Deposit      490     490
Eric & Sylvia Houser                       3 Seabreeze Ter                     Dana Point, CA 92629-2727                       A7   Customer Deposit      489     489
Claudia Kim                                102 Aspect                          Irvine, CA 92618-1428                           A7   Customer Deposit      485     485
Fortis Development Group, Inc.             1416 Belfast Drive                  Los Angeles, CA 90069                           A7   Customer Deposit      483     483
Sharon Neiman                              4 Wickford Lane                     Ladera Ranch, CA 92694                          A7   Customer Deposit      480     480
Epic Stone                                 3100 W Central Ave                  Santa Ana, CA 92704                             A7   Customer Deposit      480     480
Smart Studio Design                        1 San Luis Obispo St                Ladera Ranch, CA 92694                          A7   Customer Deposit      478     478
Gia Rigoli                                 1981 N Old Patagonia Rd             Nogales, AZ 85621                               A7   Customer Deposit      475     475
Robert Fernandez Construction, Inc         205 TOPAZ                           NEWPORT BEACH, CA 92662                 x   x   A7   Customer Deposit      473     473
Catlin Choate                              114 Via Orvieto                     Newport Beach, CA 92663-4923                    A7   Customer Deposit      473     473
Michael Hofstettler                        1044 Monte Verde                    Palm Springs, CA 92264                          A7   Customer Deposit      465     465
Trevor Romleski                            72660 Desert View Dr                Palm Desert, CA 92260                           A7   Customer Deposit      462     462
PACIFIC EDGE REAL ESTATE                   1048 N Curson Ave                   West Hollywood, CA 90046-6403                   A7   Customer Deposit      461     461
DAVID & WENDY BENKERT                      29 Canyon Rdg                       Irvine, CA 92603-3409                           A7   Customer Deposit      461     461
John Booth                                 161 N. Vista St                     Los Angeles, CA 90036                           A7   Customer Deposit      459     459
Sandy Davis Interiors                      31192 Oakmont Place                 Laguna Niguel, CA 92677                         A7   Customer Deposit   14,828   3,350
Stephen Easley                             645 Front St                        San Diego, CA 92101-7054                        A7   Customer Deposit      453     453
RCL Construction                           4633 Olive Hill Rd                  Fallbrook, CA 92028-8789                        A7   Customer Deposit      450     450
MATT & HEATHER SEYBERT                     8442 NORFOLK DR                     Huntington Beach, CA 92646                      A7   Customer Deposit      447     447
Black Diamond Construction                 8885 Rio San Diego Dr Suite 130     San Diego, CA 92108-1624                        A7   Customer Deposit      444     444
Carmen Hearn                               33840 Paseo Eternidad               San Juan Capistrano, CA 92675                   A7   Customer Deposit      442     442
Audrey Leevan                              10777 Wilshire Blvd #207            Los Angeles, CA 90024                           A7   Customer Deposit      442     442
AGK Design - Louis & Erin Scotti           6305 Mimulous                       Rancho Santa Fe, CA 92067                       A7   Customer Deposit      440     440
Arteko                                     2323 Avenida Costa Este Suite 100   San Diego, CA 92154                             A7   Customer Deposit      440     440
Rob Cashell                                16896 Via Los Farolitos             Rancho Santa Fe, CA 92067                       A7   Customer Deposit      433     433
Megan Stone                                28990 N White Feather Lane #162     Scottsdale, AZ 85262                            A7   Customer Deposit      216     216
Jill Del Cid                               56 Pine Valley Dr                   Rancho Mirage, CA 92270-1606                    A7   Customer Deposit      432     432
Bruce Kirk                                 3065 Arroyo Seco                    Palm Springs, CA 92264                          A7   Customer Deposit      432     432
Kathy Alix                                 5655 Bloch St                       San Diego, CA 92122-4013                        A7   Customer Deposit      430     430
Shahram Rejvani                            9 Tierra Montanosa                  Rancho Santa Margarita, CA 92688-3373           A7   Customer Deposit      430     430
CB Mountain Modern LLC                     PO Box 488                          Crested Butte, CO 81224                 x   x   A7   Customer Deposit      428     428
Kim Liwanag                                5311 Brightfield Cir                Huntington Beach, CA 92649-3698                 A7   Customer Deposit      427     427
Alicia Gonzalez Interiors                  6 Blue Horizon                      Laguna Niguel, CA 92677-4248                    A7   Customer Deposit      427     427
Amy Conzelman                              3814 Calle de las Focas             San Clemente, CA 92672-4538                     A7   Customer Deposit    4,654   3,350
Charles Barnes                             110 Lakeside Dr                     Buena Park, CA 90621-1666                       A7   Customer Deposit      424     424

                                                                                                                                          Exhibit 2, Page 97
                     Case
                     Case 24-01376-CL7
                          24-01376-CL7 Filed                Filed 05/03/24
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KYLE NELSON                   888 San Clemente Drive Suite 260             Newport Beach, CA 92660              A7   Customer Deposit      424                 424
Tracy Munchoff                42 Crooked Stick Dr                              162
                                                                               101
                                                                           Newport Beach, CA 92660-4284         A7   Customer Deposit      421                 421
Armen Ghadimian                              11851 Presilla Road               Camarillo, CA 93012                          A7   Customer Deposit      417     417
IT House Inc.                                2902 Rowena Ave                   Los Angeles, CA 90039-2042                   A7   Customer Deposit      415     415
Martin & Kelly Metz                          429 S Bentley Ave                 Los Angeles, CA 90049-3512                   A7   Customer Deposit      906     906
Kevin McCarthy                               16 Cruisers Blf                   Newport Coast, CA 92657-2137                 A7   Customer Deposit      412     412
Kim Helgeson                                 2724 Tiara St                     VALLEY VILLAGE, Ca 91607                     A7   Customer Deposit      411     411
Aimee Bracht                                 6535 Avenida Del Paraiso          Carlsbad, CA 92009                   x   x   A7   Customer Deposit      407     407
Mike Willard                                 711 Linda Vista Ave               Pasadena, CA 91103-2770                      A7   Customer Deposit      407     407
Mola Builders                                21370 Andalucia Ln                Huntington Beach, CA 92648-5744              A7   Customer Deposit      407     407
Eileen and George Moreno                     1551 N Columbus Ave               Glendale, CA 91202-1202                      A7   Customer Deposit      406     406
Tom Boulet                                   4623 Burnet Ave                   Sherman Oaks, CA 91403-2411                  A7   Customer Deposit       17      17
Stephanie Moore                              3208 Burdeck Dr                   Oakland, CA 94602-2615                       A7   Customer Deposit      404     404
Liz Yost                                     1956 Vista Caudal                 Newport Beach, CA 92660-3913                 A7   Customer Deposit      401     401
KCC Design + Build                           2260 S Centinela Ave Ste 150      Los Angeles, CA 90064-1007                   A7   Customer Deposit      400     400
Tanner and Yumi Boles                        921 Carhart Ave                   Fullerton, CA 92833                          A7   Customer Deposit      400     400
Susann Thomas                                995 Bayside Cv                    Newport Beach, CA 92660-7421                 A7   Customer Deposit      400     400
Gary & Alison Bailey                         16307 Santa Cristobal St          San Diego, CA 92127-3304                     A7   Customer Deposit      400     400
Robert & Susan Walker                        219 Turf View Dr                  Solana Beach, CA 92075-2316                  A7   Customer Deposit      399     399
Anita Gabrielian                             1721 Hiawatha Dr                  Glendale, CA 91208-2617                      A7   Customer Deposit      399     399
Caroline Cochener                            8070 La Jolla Shores Drive #512   La Jolla, CA 92037                           A7   Customer Deposit      399     399
Elizabeth Kapust                             69850 Highway 111 Unit 2 Unit 2   Rancho Mirage, CA 92270-2851                 A7   Customer Deposit      399     399
CATHY VELLONAKIS                             63385 Rockingchair Road           JOSHUA TREE, CA 92252                        A7   Customer Deposit    1,222   1,222
Brooke Dulien                                2343 Las Colinas                  Los Angeles, CA 90041                        A7   Customer Deposit      399     399
Alexandra Kinander                           1530 Burgundy Rd                  Encinitas, CA 92024-1205                     A7   Customer Deposit      399     399
DTLA Design                                  3833 Dublin Ave                   Los Angeles, CA 90008-1920           x   x   A7   Customer Deposit      641     641
Glen Howie                                   3804 Calle La Quinta              San Clemente, CA 92673                       A7   Customer Deposit      397     397
Maggy Corngold                               461 16th Pl                       Costa Mesa, CA 92627-3216                    A7   Customer Deposit      396     396
Josh & Cassidi Hansen                        5675 Lord Cecil St                San Diego, CA 92122-3110                     A7   Customer Deposit      395     395
Kirk Paulsen                                 9880 Irvine Center Dr             Irvine, Ca 92618                             A7   Customer Deposit      395     395
MAVIDA ENGINEERING LLC                       25 PACIFICA APT 5241              IRVINE, CA 92618                             A7   Customer Deposit      395     395
Robert Gardinier                             1156 Noria Street                 Laguna Beach, CA 92651                       A7   Customer Deposit      395     395
Monarch Development                          347 Monarch Bay Dr                Dana Point, CA 92629-3408                    A7   Customer Deposit      394     394
Mona Halum                                   55600 Pebble Beach dr             La Quinta, Ca 92253                          A7   Customer Deposit      393     393
Jacki Rhodes                                 4 Weldon Hts                      Ladera Ranch, CA 92694               x   x   A7   Customer Deposit      393     393
Heath Britt                                  470 E Sonora Rd                   Palm Springs, CA 92264-8482                  A7   Customer Deposit      392     392
Nona Interior Designers                      445 Marine View Ave Ste 115       Del Mar, CA 92014-3951                       A7   Customer Deposit      390     390
Kevin Doud                                   24412 Santa Clara Avenue          Dana Point, CA 92629                         A7   Customer Deposit      381     381
DAVE WILLIAMS PLBG & ELECT., INC.            75140 Saint Charles Pl            Palm Desert, CA 92211-9044           x   x   A7   Customer Deposit      379     379
Esplanade                                    23820 Hawthorne Blvd Ste 100      Torrance, CA 90505-5926                      A7   Customer Deposit      378     378
Ranya and Sean Adams                         2071 Casa Grande St               Pasadena, CA 91104-4102                      A7   Customer Deposit      336     336
Vicki and Walter Blass                       152 Emerald Bay                   Laguna Beach, CA 92651-1209                  A7   Customer Deposit      374     374
Upper Blackwater Canyon, LLC                 32040 Cape Point Dr               Rancho Palos Verdes, CA 90275-4556           A7   Customer Deposit      371     371
Barnes & Thornburg                           2029 Century Park East #200N      Los Angeles, CA 90067                        A7   Customer Deposit      364     364
Select Builders Now                          3714 Maritime Way PO Box 2104     Del Mar, CA 92014-1404                       A7   Customer Deposit      364     364
Clay Shinn                                   950 Country Club Lane             Coronado, CA 92118                           A7   Customer Deposit      363     363
Brooks West                                  633 Lido Park Dr Apt E3           Newport Beach, CA 92663-4412                 A7   Customer Deposit      360     360
Michael Frey                                 9641 Heather Rd                   Beverly Hills, CA 90210-1757                 A7   Customer Deposit      358     358
DAVID MORETON                                71175 W Thunderbird Ter           Rancho Mirage, CA 92270-3501                 A7   Customer Deposit      179     179
Simply Nordic Interior Designs               14967 Rancho Real                 Del Mar, CA 92014-4213               x   x   A7   Customer Deposit    7,510   3,350
Kristina Shopping                            5025 La Dorna St                  San Diego, CA 92115-1502                     A7   Customer Deposit      373     373
Dalila Flores                                13721 Bora Dr                     Santa Fe, CA 90670                           A7   Customer Deposit      333     333
Debbie Ohanian                               562 Caruso Ave                    Glendale, CA 91206                           A7   Customer Deposit      350     350
Alfredo Aguilar                              6341 Calle Pabana                 San Diego, Ca 92139                          A7   Customer Deposit      348     348
Alan Brodkin                                 34336 Cove Lantern                Dana Point, CA 92629-2870                    A7   Customer Deposit      347     347
Brent Taravella                              4129 Motor Ave                    Culver City, CA 90232-3414                   A7   Customer Deposit      341     341
JCID - Craig Tabor                           923 Bluejack Raod                 Encinitas, CA 92024                  x   x   A7   Customer Deposit      339     339
Poppy Design - Joelle & James Moore          16740 Calle Montana               San Diego, CA 92127                  x   x   A7   Customer Deposit   19,568   3,350
Paul Bemis                                   8 Granvill St                     Ladera Ranch, CA 92694                       A7   Customer Deposit      336     336
Penwal Industries Inc.                       1108 W Bay Ave                    Newport Beach, CA 92661-1017                 A7   Customer Deposit      335     335
Bob & Jeanne Moore                           151 Carob Way                     Coronado, CA 92118                           A7   Customer Deposit      332     332
TEMPLE CONSTRUCTION                          699 S Indian Trl                  Palm Springs, CA 92264-7624                  A7   Customer Deposit    1,137   1,137
Sheri Worth Interior Concepts                2069 Vista del Oro                Newport Beach, CA 92660-3929                 A7   Customer Deposit      329     329
Ruth Serrato                                 4030 Darwin Ave                   San Diego, CA 92154                          A7   Customer Deposit      329     329
Jim DeBoard                                  8 Hammond Rd                      Ladera Ranch, CA 92694                       A7   Customer Deposit      329     329
Max Seagal                                   381 Flint Ave                     Long Beach, CA 90814-3207                    A7   Customer Deposit      329     329
Olivia Wolfe                                 5206 Los Bonitos Way              Los Angeles, CA 90027-1008                   A7   Customer Deposit      329     329
David Markham                                4545 Towne Centre Ct              San Diego, CA 92121-1900                     A7   Customer Deposit      329     329
Mary Carr                                    2401 Terraza Place                Fullerton, CA 92835                          A7   Customer Deposit      329     329
Pablo Castelo                                2915 Woodford Dr                  La Jolla, CA 92037-3545                      A7   Customer Deposit      329     329
Lilit Nalbandyan                             1851 Tamerlane Dr                 Glendale, CA 91208-2625                      A7   Customer Deposit    3,003   3,003
Amy Rosten Design                            309 Canal St                      Newport Beach, CA 92663-1801                 A7   Customer Deposit      328     328
Roselia De La Torre                          4712 E 2nd St Ste 535             Long Beach, CA 90803-5309                    A7   Customer Deposit      328     328
DeJager Design, Inc                          4040 MacArthur Blvd Ste 350       Newport Beach, CA 92660-2557                 A7   Customer Deposit      395     395
Marinel Casiano                              19752 Oceanaire Cir               Huntington Beach, CA 92648-3020              A7   Customer Deposit      320     320
RD Keast                                     1155 Katella St                   Laguna Beach, CA 92651-3521                  A7   Customer Deposit      314     314
IAN SPISZMAN                                 3016 Edmonton Rd                  Glendale, CA 91206-1321                      A7   Customer Deposit      305     305
Charlie Noonan Homes                         118 South Cedros Ave              Solana Beach, Ca 92075                       A7   Customer Deposit      304     304
MG Lifetime Construction                     30455 Roadrunner Rdg              Valley Center, CA 92082-4969                 A7   Customer Deposit      307     307
GDC Construction - Cindy Rosenthal           1510 Virginia Way                 La Jolla, CA 92037                           A7   Customer Deposit      299     299
Kim Krotts                                   1115 Emerald Bay                  Laguna Beach, CA 92651                       A7   Customer Deposit    1,054   1,054
Maggie Flornes                               1613 Sunset Ridge Dr              Laguna Beach, CA 92651-1241                  A7   Customer Deposit      298     298
Highline Construction & Renovation           4240 Hillside Dr                  Carlsbad, CA 92008-3613                      A7   Customer Deposit      298     298
Dominica Fusaro                              359 Rochester St                  Costa Mesa, CA 92627-3113                    A7   Customer Deposit      296     296
Pete Hill Construction Company Inc. - Kolb
Project                                      11181 Stardust Dr                 Las Vegas, NV 89135                          A7   Customer Deposit     293     293
Jennell Presnell                             42709 Turqueries Ave              Palm Desert, CA 92211-8608                   A7   Customer Deposit     163     163
Gerry Pyle                                   17450 Jasmine Dr                  Yorba Linda, CA 92886-4873                   A7   Customer Deposit     291     291
Karen Smith                                  26925 Falling Leaf Dr             Laguna Hills, CA 92653                       A7   Customer Deposit     286     286
Joan Berger                                  74265 Desert Rose Ln.             Indian Well, CA 92210                        A7   Customer Deposit     286     286
Hou Sheng Ko                                 114 Parkwood                      Irvine, CA 92620                             A7   Customer Deposit     283     283
Brendan O'Farrell                            5 Wyeth St                        Ladera Ranch, CA 92694-0300                  A7   Customer Deposit     282     282
Ana Delia Cazares                            1810 Avenida Del Mundo Unit 403   Coronado, CA 92118                           A7   Customer Deposit     282     282
Pam Gaffen                                   5960 Cornerstone Ct W Ste 100     San Diego, CA 92121                          A7   Customer Deposit     281     281
Project M Plus                               2898 Rowena AVE                   Los Angeles, Ca 90039                        A7   Customer Deposit     271     271
Jill Smith                                   2422 S Sierra Madre               Palm Springs, CA 92264-0440          x   x   A7   Customer Deposit     277     277

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                     Case 24-01376-CL7
                          24-01376-CL7 Filed  Filed 05/03/24
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Bothof Brothers Construction Inc
                              1604 Summit Ln                 Escondido, CA 92025                   A7   Customer Deposit      277                                       277
Marengo Coastal Developement  7724 Girard Ave                       162
                                                                    101
                                                             La Jolla, CA 92037-4424               A7   Customer Deposit      149                                       149

M Prevost Design - Casey & Vito San Filippo   12081 Ferncrest Pl                      San Diego, CA 92128                             A7   Customer Deposit     273     273
Lorton Michell custom homes cash              621A A Ave                              Coronado, CA 92118-2204                         A7   Customer Deposit     272     272
Kathy Harris                                  29 Cherry Hills Dr.                     Coto de Caza, CA 92679                          A7   Customer Deposit     271     271
Mike & Linda Bannan                           address address                         San Diego, CA 92075                             A7   Customer Deposit     270     270
Brynn Barge                                   1341 Descanso Dr                        La Canada Flintridge, CA 91011-3150             A7   Customer Deposit     270     270
Charisse Spada                                122 25th St                             Newport Beach, CA 92663-3404                    A7   Customer Deposit     269     269
Sean Vandenboss                               8205 E Serene Ridge Ln                  Anaheim, CA 92808-2531                          A7   Customer Deposit     268     268
Alaina krystek-abad                           2211 zabyn st                           oceanside, ca 92054                             A7   Customer Deposit     268     268
Elvis Martinez                                418 West Chino Canyon Road              Palm Springs, Ca 92262                          A7   Customer Deposit     267     267
Hope White                                    9 Mirador                               Irvine, CA 92612-2977                           A7   Customer Deposit     265     265
Halcyon Trade Building Co. Inc.               190 Santa Fe Dr                         Encinitas, CA 92024-5101                x   x   A7   Customer Deposit     264     264
Sharon Joyce                                  14204 Caminito Vistana                  San Diego, CA 92130-3723                        A7   Customer Deposit     263     263
Talia Cohanim                                 10750 Wilshire Blv. #701                Los Angeles, CA 90024                           A7   Customer Deposit     262     262
Terri Eyer                                    746 G Ave                               Coronado, CA 92118-2132                         A7   Customer Deposit     129     129
Suad Elias                                    23812 Dasya Circle                      Dana Point, CA 92629                            A7   Customer Deposit     256     256
Steve Teh                                     7 Campamento                            Rancho Santa Margarita, CA 92688-3141           A7   Customer Deposit     251     251
Rebecca Foster Design;USE FOR PREMIER
POINTS ONLY                                   2711 N Sepulveda #302                   Manhattan Beach, CA 90266                       A7   Customer Deposit      251     251
PHOENIX PHYTHIAN                              10282 MEREDITH DR                       HUNTINGTON BEACH, CA 92646                      A7   Customer Deposit      249     249
Sarah Solis Design Studio                     28240 Agoura Rd Ste 100 suite 100       Agoura, CA 91301-2468                           A7   Customer Deposit      249     249
GENERATIONS FINISH CARPENTRY                  2941 Grace Ln                           Costa Mesa, CA 92626-4125                       A7   Customer Deposit      249     249
Kathy Dalecio                                 3 Milton                                Rancho Mirage, CA 92270                         A7   Customer Deposit      249     249
Donna Portaro                                 11640 Picturesque Dr                    Studio City, CA 91604                           A7   Customer Deposit      249     249
Cyndy Naibert                                 1952 Goldboro St                        San Diego, CA 92110-1351                        A7   Customer Deposit      349     349
Yvonne Boyer                                  1043 Sagebrush Rd                       Carlsbad, ca 92011                              A7   Customer Deposit      249     249
JAMES PENROSE                                 254 LA VIDA RD                          APTOS, CA 95003                         x   x   A7   Customer Deposit   33,756   3,350
Sam Graciano and Vin Villano                  969 Coast Blvd S                        La Jolla, CA 92037-4107                         A7   Customer Deposit      246     246
Chris Pierce                                  5417 Valerio Trl                        San Diego, CA 92130-1423                        A7   Customer Deposit      244     244
Josh & Melissa Dow                            16656 N Woodson Dr                      Ramona, CA 92065-6835                           A7   Customer Deposit      241     241
Intimate Living Interiors - Gillies           2048 Ocean Front                        Del Mar, CA 92014-2130                          A7   Customer Deposit      239     239
Marilyn MacNiven-Young                        517 1/2 Marigold Ave                    Corona del Mar, CA 92625-2457                   A7   Customer Deposit      238     238
Lucian Stoica                                 1841 Port Carlow Pl                     Newport Beach, CA 92660-6602                    A7   Customer Deposit    2,316   2,316
David Close Homes, Inc.                       711 W 17th St Ste E12 Att David Close   Costa Mesa, CA 92627-4353                       A7   Customer Deposit      235     235
Invicta Design Group LLC                      2907 Humboldt St                        Los Angeles, CA 90031-1828                      A7   Customer Deposit      233     233
Lynda Ludeman & Co LLC                        47185 Desert Rose Ln                    Indian Wells, CA 92210                          A7   Customer Deposit      233     233
Barbara Wall                                  201 Via Orvieto                         Newport Beach, CA 92663-4924            x   x   A7   Customer Deposit      229     229
Mariano Denevares                             665 San Rodolfo Dr Suit 124 Pnb 128     Solana Beach, CA 92075-2047                     A7   Customer Deposit      227     227
Brad Brainard                                 4100 N. Highway 132                     Enid, OK 73703                                  A7   Customer Deposit    5,520   3,350
Lavish Home Decor                             31105 Rancho Viejo Rd Ste C4            San Juan Capistrano, CA 92675-1717              A7   Customer Deposit      225     225
Hovik Avakian                                 3548 La Crescenta Ave                   Glendale, CA 91208-1102                         A7   Customer Deposit      224     224
Roque Venegas                                 16327 Aurora Crest Dr                   Whittier, CA 90605-1369                         A7   Customer Deposit      223     223
Tien Ha                                       3108 Country Club Dr                    Costa Mesa, CA 92626-2342                       A7   Customer Deposit      222     222
PETER LITTELL                                 858 25th St                             Santa Monica, CA 90403-2108             x   x   A7   Customer Deposit      221     221
Doug and Wendy Lindroth                       57908 Salida del Sol                    La Quinta, CA 92253-8183                        A7   Customer Deposit      221     221
Brion Design                                  1832 Crystal Ridge Way                  Vista, CA 92081-5458                            A7   Customer Deposit      221     221
Emily Wada                                    308 San Juan Way                        La Canada, CA 91011-2734                        A7   Customer Deposit      218     218
Candyce Miles                                 5315 La Glorieta                        Rancho Santa Fe, CA 92067                       A7   Customer Deposit      218     218
Bob Simons                                    1095 W 25th St                          Upland, CA 91784                                A7   Customer Deposit      217     217
Michelle Yaralian                             1215 N Everett St                       Glendale, Ca 91207                              A7   Customer Deposit      214     214
Mayumi Kuttler                                33321 Cove Island Pl                    Dana Point, CA 92629-1552                       A7   Customer Deposit      213     213
Stephanie Mardaresco                          2392 Redlands Dr                        Newport Beach, CA 92660                         A7   Customer Deposit      211     211
Renate Ackermann                              PO BOX 8187                             NEWPORT BEACH, CA 92658                         A7   Customer Deposit      210     210
Edward Bacot Scott                            8811 Alden Dr Ste 6                     Los Angeles, CA 90048-3045                      A7   Customer Deposit      207     207
Joseph Dohn                                   P.O. Box 9736                           Rancho Santa Fe, CA 92067                       A7   Customer Deposit    3,231   3,231
Monika Mehran                                 5384 Foxhound Way                       San Diego, CA 92130-4835                x   x   A7   Customer Deposit      206     206
Albino Construction, Inc.                     12568 W Washington Blvd Ste 200         Los Angeles, CA 90066-5521                      A7   Customer Deposit      205     205
Gem Picket LLC                                3334 East Coast Highway #294            Corona Del Mar, CA 92625                        A7   Customer Deposit      205     205
Kristin Murdock                               2559 Quidde Ave                         San Diego, CA 92122-4044                        A7   Customer Deposit      205     205
Sophia Liu                                    80 Spacial                              Irvine, CA 92618                                A7   Customer Deposit      204     204
Adam Schepps                                  3112 Via de Caballo                     Encinitas, CA 92024                             A7   Customer Deposit      531     531
Paul Kramer                                   21071 Placerita Canyon Rd               Santa Clarita, CA 91321-1924                    A7   Customer Deposit      200     200
Eurico Lacerda                                1532 Virginia Way                       La Jolla, CA 92037-3836                         A7   Customer Deposit      200     200
Monica Munoz                                  3020 Shasta Circlel South               Los Angeles, CA 90065                           A7   Customer Deposit      200     200

ADRIENNE KRAVCHUK INTERIOR DESIGN             7728 Lake Tahoe Ave                     SAN DIEGO, CA 92119                             A7   Customer Deposit     199     199
Denisa Vreeling                               120 Acacia Way                          Coronado, CA 92118-2421                         A7   Customer Deposit     199     199
Patterson Lumber: Innovative Kitchen
Renovations                                   100 E STREET ST                         El Centro, CA 95363                             A7   Customer Deposit      199     199
Daniel Swartz                                 Sonora Road                             Rancho Mirage, Ca 92270                         A7   Customer Deposit      199     199
Matt & Michelle Antonelli                     6854 Monte Vista Ct                     Eastvale, CA 92880-9107                         A7   Customer Deposit      199     199
Amanda Aguayo                                 27250 Via Marcia                        Santa Clarita, CA 91350-1539                    A7   Customer Deposit      199     199
Dan Boaz                                      310 Apolena Avenue                      Balboa Island, CA 92662                         A7   Customer Deposit      197     197
Angela and Steve Cartt                        7228 Monte Vista Ave                    La Jolla, CA 92037-4959                         A7   Customer Deposit      196     196
Jason Barry                                   16986 Circa Del Sur                     Rancho Santa Fe, CA 92067                       A7   Customer Deposit      194     194
VICKI SCOTT                                   28355 Chat Dr                           Laguna Niguel, CA 92677-1384                    A7   Customer Deposit      193     193
Mario Fernandez                               2816 Via De Caballo Blanco              Bonita, Ca 91902                                A7   Customer Deposit      189     189
David Contreras                               1792 Titus St                           San Diego, CA 92110-1955                        A7   Customer Deposit      189     189
DAVID SORENSON                                2631 Sea View Ave                       Corona Del Mar, CA 92625                        A7   Customer Deposit      189     189
Tamara Palmer Interior Designs                603 N. Coast Hwy 101 Suite J            Solana Beach, Ca 92075                          A7   Customer Deposit    3,821   3,350
A WEEKEND PLUMBER                             5731 Palmer Way Ste C                   Carlsbad, CA 92010-7247                 x   x   A7   Customer Deposit      184     184
Alan Limon                                    2466 JONATHA                            LAKE FOREST, CA 92630                           A7   Customer Deposit      183     183
Dada Ngo                                      9383 Poinsettia Ave                     Newport Beach, CA 92660                         A7   Customer Deposit      182     182
Robert Cresswell                              1111 S Victoria Ave                     Los Angeles, CA 90019-3154                      A7   Customer Deposit      179     179
Maxi Spina                                    1623 Avalon St                          Los Angeles, Ca 90026-1815                      A7   Customer Deposit      179     179
Karen Huber                                   675 Buena Vista Way                     Laguna Beach, CA 92651-2603                     A7   Customer Deposit      179     179
Sharon Karpin                                 74104 Desert Tenaja Trail               Indian Wells, CA 92210                          A7   Customer Deposit      179     179
Lorie & Gary Pena                             11730 Eucalyptus Hills Drive            Lakeside, CA 92040                              A7   Customer Deposit      179     179
Allison Flashman                              1102 N Norman Pl                        Los Angeles, CA 90049-1539                      A7   Customer Deposit      179     179
Rocky & Magan Goyal                           11845 Tierra del Sur                    San Diego, CA 92130-2905                        A7   Customer Deposit      179     179
Roger Mecca                                   28521 Breckenridge Dr                   Laguna Niguel, CA 92677-1440                    A7   Customer Deposit      179     179
Nicole Dolinsky                               4951 Concan Crt.                        San Diego, Ca 92130                             A7   Customer Deposit      179     179
Lezlie Gunn                                   4501 Brighton Rd                        Corona Del Mar, CA 92625                        A7   Customer Deposit      179     179
Mike Ponder                                   1233 Bayside Drive                      Corona Del Mar, CA 92625                        A7   Customer Deposit      179     179

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                    Case 24-01376-CL7
                         24-01376-CL7 Filed      Filed 06/17/24
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Jason Amoss                  13716 Rosecroft Way                 San Diego, CA 92130                 A7   Customer Deposit      179                            179
Tim Connell                  21656 Vintage Way                         162
                                                                       101
                                                                 Lake Forest, CA 92630-5759          A7   Customer Deposit      179                            179
Samantha Stone                              5516 Avenida Maravillas             Rancho Santa Fe, CA 92067                    A7   Customer Deposit     179     179
Tina Arutyunyan                             1960 MAGINN DR                      Glendale, Ca 91202                           A7   Customer Deposit     179     179
Anne Marie Gunderman                        611 Sierra St                       El Segundo, CA 90245-3127                    A7   Customer Deposit     179     179
GABRIELLE NIEBLA                            PO Box 412182                       LOS ANGELES, CA 90041                        A7   Customer Deposit     178     178
Roam Design Builders                        2811 Elm St                         Los Angeles, CA 90065-1911           x   x   A7   Customer Deposit     177     177
Trisha Wilbrand                             6991 Goldstone Rd                   Carlsbad, CA 92009-1711                      A7   Customer Deposit     175     175
George & Serina Lingurar                    16423 Limerick St.                  Riverside, Ca 92503                          A7   Customer Deposit     172     172
Weiran Gao                                  57 Cardamine                        Irvine, CA 92602-1859                        A7   Customer Deposit     171     171
Scott & McKenna Aston                       2040 Paloma Drive                   Costa Mesa, CA 92627                         A7   Customer Deposit     171     171
Ken & Joan Cohn                             1313 E Balboa Blvd                  Newport Beach, CA 92661-1421                 A7   Customer Deposit     200     200
ANUSH MOVSESIAN                             515 Via Providencia                 Burbank, CA 91501-1658                       A7   Customer Deposit     170     170
STRUCTWELL CONSTRUCTION                     8280 Clairemont Mesa Blvd Ste 128   San Diego, CA 92111-1708                     A7   Customer Deposit     187     187
Ryan Ashley                                 64 Oakmont Ave                      San Rafael, CA 94901-1237                    A7   Customer Deposit     168     168
james meyers                                711 barbara ave                     solana beach, ca 92075                       A7   Customer Deposit     172     172
NATALIE DARR                                405 21ST ST                         HUNTINGTON BEACH, CA 92648                   A7   Customer Deposit     167     167
Harte Brownlee & Associates                 962 Glenneyre Street                Laguna Beach, CA 92651                       A7   Customer Deposit     166     166
Bill Menninger                              2641 Circle Dr                      Newport Beach, CA 92663-5616                 A7   Customer Deposit     163     163
Janet Hudson                                5121 Del Mar Mesa Rd                San Diego, Ca 92130                          A7   Customer Deposit     162     162
Justin Becker Orla Becker                   12340 Hartsook St                   Valley Village, CA 91607-3053                A7   Customer Deposit     162     162
Lucy Green                                  7523 E Autumn Hill Way              Orange, CA 92869-4517                        A7   Customer Deposit     162     162
CORA DESIGN GROUP                           12430 Hazeltine Dr                  Tustin, CA 92782-1138                        A7   Customer Deposit     161     161
J. Scott Benson                             165 6th Ave Unit 3004               San Diego, CA 92101-7068                     A7   Customer Deposit     161     161
RANDAL'S PLUMBING                           75175 MERLE DRIVE, STE. 300         PALM DESERT, CA 92211                        A7   Customer Deposit     160     160
Sharlene Miyazaki                           401 Meadowview Dr                   La Canada, CA 91011-2815                     A7   Customer Deposit     158     158
SCOTT DEYOUNG                               4427 W Coast Hwy                    Newport Beach, CA 92663-2614                 A7   Customer Deposit     156     156
Bryan Design Group - Steve and Michele
Fisher                                      11288 Sherrard Way                  San Diego, CA 92131                          A7   Customer Deposit      154     154
Jeanette Leon                               81500 Industrial Pl                 Indio, CA 92201-2189                         A7   Customer Deposit      153     153
Lauren's Design Studio                      12911 Villa Rose Dr                 Santa Ana, Ca 92705                          A7   Customer Deposit      152     152
Araz Ghazarian                              1100 Balboa Ave                     Laguna Beach, CA 92651-3840                  A7   Customer Deposit      149     149
Brett Hensler                               1550 Loma Dr Apt D                  Hermosa Beach, CA 90254-2930                 A7   Customer Deposit   30,509   3,350
Mary Lou & Greg Weiler                      31061 Corte Aurora                  San Juan Capistrano, CA 92675-5541           A7   Customer Deposit      144     144
Marilin Posca                               425 Los Altos Ave                   Long Beach, CA 90814-1934                    A7   Customer Deposit      143     143
Rudy Marquez                                5 Gavina                            Dana Point, CA 92629                         A7   Customer Deposit      142     142

Hanley Construction - John & Diane Prchal   12892 Camino Ramillette             San Diego, CA 92128                          A7   Customer Deposit      141     141
John & Rosie Pla                            6702 Camino Cresta                  San Clemente, CA 92673-7103                  A7   Customer Deposit      140     140
Frann Setzer                                12752 Jordan Ridge Ct               San Diego, CA 92130-2748                     A7   Customer Deposit      139     139
JF Designs                                  368 Wimbleton Dr                    Rancho Mirage, CA 92270                      A7   Customer Deposit      138     138
Carrie Clifford                             219 N Norton Ave                    Los Angeles, CA 90004-3914                   A7   Customer Deposit      136     136
Sona Gasparian                              848 Amherst Dr                      Burbank, CA 91502                            A7   Customer Deposit      134     134
Jill Money                                  22 Chatham Court                    Newport Beach, CA 92660                      A7   Customer Deposit      133     133
John & Caroline MacFarlane                  55 64th place                       Long Beach, CA 90803                         A7   Customer Deposit      129     129
Michele Dremmer                             3722 Woodcliff Rd                   Sherman Oaks, CA 91403-5050                  A7   Customer Deposit      129     129
Bleu Home Décor                             615 Lido Park Dr                    Newport Beach, CA 92663-4429                 A7   Customer Deposit      128     128
Akins Homes                                 163 Emerald Bay                     Laguna Beach, CA 92651-1254          x   x   A7   Customer Deposit      126     126
Steve Davis                                 74420 Quail Lakes Drive             Indian Wells, Ca 92210                       A7   Customer Deposit      125     125
Gary Zohman                                 10406 Vernon Ln                     Tustin, CA 92782-1423                        A7   Customer Deposit      125     125
Michael Horta                               3736 Oak Hill Ave                   Los Angeles, CA 90032-1445                   A7   Customer Deposit      123     123
Terry Robert                                1675 Mountain View Ln               Chino Hills, CA 91709-2388                   A7   Customer Deposit      123     123
Angela Chang                                20460 Via Celestina                 Yorba Linda, CA 92887-3145                   A7   Customer Deposit    6,315   3,350
Chanel Zimmerman                            8375 Bristol Ridge Ln               San Diego, CA 92127-4122                     A7   Customer Deposit      112     112
Kelsey Chase                                6204 Beaumont Ave                   La Jolla, CA 92037                           A7   Customer Deposit      110     110
Roger Holbrook                              17 Loam                             Trabuco Canyon, CA 92679-5225                A7   Customer Deposit      107     107
Betty Wilson                                117 S Windsor Blvd                  Los Angeles, CA 90004                        A7   Customer Deposit      106     106
Lindy Gaylord                               22 Lakeview Cr.                     Palm Springs, CA 92264                       A7   Customer Deposit      105     105
Tricia Seaman                               2258 Avenida Soledad                Fullerton, CA 92833-1315                     A7   Customer Deposit      105     105
Paul Edlund                                 312 E Escoba Dr                     Palm Springs, CA 92264                       A7   Customer Deposit      102     102
Dan & Robyn Stewart                         212 Del Cabo                        San Clemente, CA 92673-3211                  A7   Customer Deposit      100     100
Toni & Ryan Dampier                         811 Coronado Ave                    Coronado, CA 92118                           A7   Customer Deposit       99      99
Heritage West                               238 N Cedros Ave, #201              Solana Beach, CA 92075-1333                  A7   Customer Deposit       33      33
Hilton Builders                             425 31st St                         Newport Beach, CA 92663-3803                 A7   Customer Deposit       97      97
Desert Home Design                          71439 Halgar Rd                     Rancho Mirage, CA 92270-4233                 A7   Customer Deposit    2,053   2,053
Christine Harris ID                         742 Banyan Ct                       San Marcos, CA 92069-1954                    A7   Customer Deposit       97      97
SK DESIGN SOLUTIONS                         PO Box 7173                         Rancho Santa Fe, CA 92067-7173               A7   Customer Deposit      249     249
Quality First Woodworks, Inc.               1264 N Lakeview Ave                 Anaheim, CA 92807-1831                       A7   Customer Deposit   16,095   3,350
Melissa Kuhn                                26591 Via La Jolla                  San Juan Capistrano, CA 92675-5195           A7   Customer Deposit       93      93
Krista Bates                                33842 Calle de Bonanza              San Juan Capistrano, CA 92675-5023           A7   Customer Deposit       92      92
alireza moghbeli                            16863 Abundante St                  San Diego, CA 92127-3325             x   x   A7   Customer Deposit       92      92
Tibor Juhasz                                112 Via Mimosa                      San Clemente, CA 92672-2468                  A7   Customer Deposit       91      91
Murray Lobel                                4633 Fairfield Dr                   Corona del Mar, CA 92625-3110                A7   Customer Deposit       89      89
Eileen Lewis                                117 Newton Dr                       Burlingame, CA 94010-5928                    A7   Customer Deposit       87      87
Esteban Interiors                           3903 Alameda Pl                     San Diego, CA 92103-1613                     A7   Customer Deposit       86      86
Steve Weibel                                465 Plaza Estival                   San Clemente, CA 92672-3532                  A7   Customer Deposit       86      86
Janice Quazi                                521 Warwick Ave                     Cardiff, CA 92007-1659                       A7   Customer Deposit       85      85
Ray Renaud                                  67634 S Laguna Dr                   Cathedral City, CA 92234-7497                A7   Customer Deposit       84      84
Jewels Williams Designs                     1834 E Fernrock St                  Carson, CA 90746                             A7   Customer Deposit       84      84
DORON KOCHAVI                               738 Berkshire Ave                   La Canada, CA 91011-3426                     A7   Customer Deposit       83      83
Hanover Builders Inc                        141 Duesenberg Dr Ste 6             Westlake Village, CA 91362-3471              A7   Customer Deposit    3,510   3,350
Janna Jacobi Designs                        209 CALLE POTRANCA                  SAN CLEMENTE, CA 92672                       A7   Customer Deposit       82      82
View Site Development LLC                   10800 Burbank Blvd                  North Hollywood, CA 91601                    A7   Customer Deposit       80      80
Optimal Plumbing                            25422 Trabuco Rd Ste 105233         Lake Forest, CA 92630-2791                   A7   Customer Deposit       78      78
Cheryl Mishek                               70481 Placerville Rd                Rancho Mirage, Ca 92270                      A7   Customer Deposit       78      78
Michael Ofstedahl                           5752 Valley Oak Drive               Los Angeles, CA 90068                        A7   Customer Deposit       77      77
Ed Cartaya                                  39815 De Portola Road               Temecula, CA 92592                           A7   Customer Deposit      491     491
Roxy Levan                                  713 Marguerite Ave                  Corona del Mar, CA 92625-2343                A7   Customer Deposit       76      76
Numi Home                                   16780 Livorno Dr                    Pacific Palisades, CA 90272-3256             A7   Customer Deposit    1,921   1,921
Hannah Tringham                             12 Glastonbury Pl                   Laguna Niguel, CA 92677-5310                 A7   Customer Deposit      396     396
Somesh Sharma                               24 Spyglass Cir.                    Rancho Mirage, CA 92270                      A7   Customer Deposit       73      73
Victor Felix                                2531 Soderblom Ave                  San Diego, CA 92122-4034                     A7   Customer Deposit       73      73
NANCY AVALOS                                7072 Paddlewheel Dr                 Eastvale, CA 91752-1463                      A7   Customer Deposit       69      69
Mac Hashemian                               12 Midsummer                        Newport Beach, CA 92657-2127                 A7   Customer Deposit       68      68
Daniel Parnell                              314 Wisconsin Ave                   Long Beach, CA 90814-2236                    A7   Customer Deposit       67      67
Jacqueline Adame                            3209 Carol Dr                       Fullerton, CA 92833-2903                     A7   Customer Deposit       65      65

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                     Case 24-01376-CL7
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Mullen Design Co - Kristin and Matt Scord 26062 El Prado St                      162
                                                                                 101
                                                                            Laguna Hills, CA 92653               A7   Customer Deposit      60                 60
MIKE PETERSON                              16782 Santa Fe Knolls Ln           San Diego, CA 92127-7043                     A7   Customer Deposit       59      59
Celia Somers & Chuck Weissfeld             305 Arnaz Dr. #302                 Los Angeles, CA 90048                x   x   A7   Customer Deposit       57      57
Pacific Communities                        1000 Dove St Ste 300 Suite 300     Newport Beach, CA 92660-2850                 A7   Customer Deposit       56      56
Todd & Paula Cohen                         827 Temple St                      San Diego, CA 92106                          A7   Customer Deposit       54      54
BEVERLY HILLS ONE/LADC GROUP INC           8383 Wilshire Blvd Ste 830         Beverly Hills, CA 90211-2445                 A7   Customer Deposit       53      53
Johnson, Finch and McClure Construction,
Inc.                                       9749 Cactus St                     Lakeside, CA 92040-4117                      A7   Customer Deposit        52      52
Scott & Diane Adams                        464 Prospect #401                  La Jolla, CA 92037                           A7   Customer Deposit        52      52
Nadeem Golshan                             2647 Fallsview Rd.                 San Marcos, CA 92078                         A7   Customer Deposit        50      50
Carl Pallini LLC                           3929 PRINGLE ST                    San Diego, CA 92103                          A7   Customer Deposit        49      49
Lori Ramsay Design                         2702 Socorro Ln                    Carlsbad, CA 92009-4333                      A7   Customer Deposit        49      49
Meredith Kaplan                            209 Via Colorin                    Palos Verdes Estates, CA 90274               A7   Customer Deposit        48      48
Erick McCreight                            1181 Bennington Dr.                North Tustin, CA 92705                       A7   Customer Deposit        48      48
Stacy Hughes                               2 Wild Rose Pl                     Aliso Viejo, CA 92656-7058                   A7   Customer Deposit        47      47
David & Barbara Spelbring                  3551 Paraiso Way                   La Crescenta, CA 91214-1114                  A7   Customer Deposit        44      44
John Giandelone                            627 Big Canyon Dr E                Palm Springs, CA 92264-7481          x   x   A7   Customer Deposit        43      43
JC Dyer Co - Weiss Residence               1540 S Coast Hwy Ste 205           Laguna Beach, CA 92651-3260                  A7   Customer Deposit        43      43
Sue Capelli                                1280 Anacapa Way                   Laguna Beach, CA 92651-1903                  A7   Customer Deposit        42      42
Todd Staley                                2527 BUNYA ST.                     Newport Beach, CA 92660              x   x   A7   Customer Deposit        41      41
DANIEL G MACBETH GC                        37 Parkcrest                       Newport Coast, CA 92657-1097                 A7   Customer Deposit        36      36
Jason Klang                                29893 Calle Colina                 Cathedral City, CA 92234                     A7   Customer Deposit        36      36
Rikki MacBarron                            1506 Serenade Ter                  Corona del Mar, CA 92625-1752                A7   Customer Deposit        36      36
ES Interior Design                         67565 Peineta Rd                   Cathedral City, CA 92234-5577                A7   Customer Deposit        52      52
Claire Seibly                              PO Box 9589                        Newport Beach, Ca 92658                      A7   Customer Deposit        31      31
Alex Caldwell                              12345 Mapleview St. #1             Lakeside, CA 92040                           A7   Customer Deposit        29      29
Hanley Construction                        993 Lomas Santa Fe Dr Ste A        Solana Beach, CA 92075-2135                  A7   Customer Deposit        27      27
Kimberly Snyder                            10 Pelican Point Dr                Newport Coast, CA 92657-2006                 A7   Customer Deposit     3,520   3,350
Michael & Gayle Manning                    31661 Via Quixote                  San Juan Capistrano, CA 92675-3388           A7   Customer Deposit        24      24
USA General Contractors                    1965 Mount Olympus Dr              Los Angeles, CA 90046-2038                   A7   Customer Deposit        20      20
1201 Ohio Ave LLC                          19900 MacArthur Blvd Ste 960       Irvine, CA 92612-8407                        A7   Customer Deposit        19      19
anne shauh                                 5452 foxhound way                  san diego, ca 92130                          A7   Customer Deposit        17      17
Dinny Beringer                             1139 Noria St                      Laguna Beach, CA 92651                       A7   Customer Deposit        17      17
Bill Dyer                                  2 Calle Angelitos                  San Clemente, CA 92673-6911                  A7   Customer Deposit        16      16
Natalie Jamgocyan                          417 S VERDUGO ROAD                 GLENDALE, CA 91205                           A7   Customer Deposit        14      14
Megan Lewis                                68888 Risueno Rd                   Cathedral City, CA 92234-3800                A7   Customer Deposit        14      14
Christie York                              1566 Willow Wood Cir               Orange, CA 92869-1009                        A7   Customer Deposit        18      18
Christian Clayton                          1642 Vista Luna                    San Clemente, CA 92673-3660                  A7   Customer Deposit         8       8
Rubik Babakanian                           14 Fern Cyn                        Laguna Niguel, CA 92677-1002                 A7   Customer Deposit     7,140   3,350
Shaun Kalnasy                              18796 PASADERO Dr                  Tarzana, Ca 91356                            A7   Customer Deposit         0       0
Kelli Trachtman                            5 Cherry Hills Ln                  Newport Beach, CA 92660-5118                 A7   Customer Deposit         0       0
Robin Wherritt                             584 Sturtevant Dr                  Sierra Madre, Ca 91024                       A7   Customer Deposit         0       0
TERESA FREY                                4346 PIEDMONT ST                   SAN DIEGO, CA 92107                          A7   Customer Deposit         0       0
Jessica Arnold                             1601 Indus Street                  Newport Beach, CA 92660                      A7   Customer Deposit         0       0
Trunk Laguna                               1278 Glenneyre #448                Laguna Beach, CA 92651                       A7   Customer Deposit         0       0
Courtney Childress                         416 W Hillsdale St                 Inglewood, CA 90302                          A7   Customer Deposit         0       0
Dave Phelps                                32 Via Santa Maria                 San Clemente, CA 92672-9417                  A7   Customer Deposit         0       0
Rich & Priscilla Balikian                  16871 Circa Del Sur                Rancho Santa Fe, CA 92067                    A7   Customer Deposit         0       0
Aida Bogosian                              4300 Rhodes Ave                    Studio City, CA 91604-1633                   A7   Customer Deposit         0       0
300 West Merito LLC LLC                    300 W Merito Pl                    Palm Springs, CA 92262-5629                  A7   Customer Deposit     5,649   3,350
A.R.T.design                               20 Miners trail                    Irvine, CA 92620                             A7   Customer Deposit    38,378   3,350
AARON ALLRED                               9 Strand Beach Dr                  Dana Point, CA 92629-2755                    A7   Customer Deposit   167,262   3,350
Aaron Anderson- Martha Krasne              406 9th Ave Ste 210                San Diego, CA 92101-7277                     A7   Customer Deposit    15,331   3,350
Acacia + Spruce                            1682 Greenwood Pl                  Escondido, CA 92029-4238                     A7   Customer Deposit    16,386   3,350
Acme House Company                         750 N Palm Canyon Dr               Palm Springs, CA 92262-5511          x   x   A7   Customer Deposit       605     605
Adam Lezack                                3997 Stonebridge Court             Rancho Santa Fe, CA 92091                    A7   Customer Deposit        29      29
Adrienne Garoyan                           27736 Torija                       Mission Viejo, CA 92691                      A7   Customer Deposit       240     240
AGK Design - Jake & Kyndra Leach           2677 Brookmead Lane                La Jolla, CA 92037                           A7   Customer Deposit   237,724   3,350
Alan Wallock                               2187 Newcastle Avenue, Suite 202   Cardiff, CA 92007                            A7   Customer Deposit     4,739   3,350
Alenush & Arman Bernardi                   31532 West St                      Laguna Beach, CA 92651-6917                  A7   Customer Deposit     1,499   1,499
Alex Brook                                 16205 VIA DEL ALBA                 Rancho Santa Fe, CA 92067                    A7   Customer Deposit     2,754   2,754
Alex Wong                                  34 Asiloma Rd                      Laguna Niguel, CA 92677                      A7   Customer Deposit     2,190   2,190
Alexandra Becket Design                    2344 Kenilworth Ave.               LOS ANGELES, CA 90039                        A7   Customer Deposit     8,473   3,350
Alfonso Fonseca                            71905 Highway 111                  Rancho Mirage, CA 92270-4800                 A7   Customer Deposit    34,668   3,350
Alison Amegatcher                          2632 Highview Ave                  Altadena, CA 91001                           A7   Customer Deposit       493     493
Allen & Clare Mcclafferty                  20511 Suburbia Ln                  Huntington Beach, CA 92646-5449              A7   Customer Deposit       521     521
Allen Galsgaard                            72995 Willow St                    Palm Desert, CA 92260-5725                   A7   Customer Deposit       380     380
Allison Luo                                4855 Linea Del Cielo               Rancho Santa Fe, CA 92067                    A7   Customer Deposit    32,146   3,350
Alyssa O'Book                              409 Lomita St                      El Segundo, CA 90245                         A7   Customer Deposit    28,522   3,350
Amanda Fates                               6501 Avenida Manana                La Jolla, Ca 92037                           A7   Customer Deposit    10,774   3,350
Amanda Frye                                12714 Hilltop Dr                   Redlands, CA 92373-7520                      A7   Customer Deposit       830     830
Amy Steinhoff                              1121 Cerro Largo Dr                Solana Beach, CA 92075-1713          x   x   A7   Customer Deposit     1,772   1,772
Ana Hanks                                  15997 El Soneto Dr                 Whittier, CA 90603-1448                      A7   Customer Deposit     2,855   2,855
Anchor Field Construction - Tim Osta       2015 Edinburg Ave                  Cardiff, CA 92007                            A7   Customer Deposit    27,387   3,350
ANDRE & VALENCIA SCOTT                     16 Crivelli Aisle                  Irvine, CA 92606-8352                        A7   Customer Deposit     4,138   3,350
andrea greenwood                           3308 Corte Cadiz                   Carlsbad, CA 92009                   x   x   A7   Customer Deposit    21,182   3,350
Andrei Dinu                                3859 Latrobe St.                   Los Angeles, CA 90031                        A7   Customer Deposit    23,200   3,350
Andrew Muller                              1519 S Spaulding Avenue            Los Angeles, CA 90019                        A7   Customer Deposit    11,769   3,350
ANDY LAZARUS                               1111 Indiana Ave                   Venice, CA 90291-2824                        A7   Customer Deposit    57,292   3,350
Angela Chong                               5496 Coach Ln                      San Diego, CA 92130-3745                     A7   Customer Deposit     2,171   2,171
Ani Vartanian                              1927 Calafia St                    Glendale, CA 91208-2305                      A7   Customer Deposit       100     100
Anita Anand                                11 Gavina                          Dana Point, CA 92629-4112                    A7   Customer Deposit     4,632   3,350
Anne Fritzgerald                           700 Bison Ave                      Newport Beach, CA 92660-3207                 A7   Customer Deposit     5,041   3,350
Anne Spellman                              127 Amethyst Ave                   Newport Beach, CA 92662-1239                 A7   Customer Deposit     4,816   3,350
ANTONIO & TIFFANY GONZALEZ                 6375 Tiburon Ter                   Yorba Linda, CA 92886-6558                   A7   Customer Deposit     5,571   3,350
Antonym                                    2214 1/2 W 239th St                Torrance, CA 90501                           A7   Customer Deposit     1,690   1,690
Appliance Store Discount                   8824 Shirley Ave Ste 12A           Northridge, CA 91324-3497                    A7   Customer Deposit    26,450   3,350
Armando Gil                                PO Box 430349                      San Ysidro, CA 92143-0349                    A7   Customer Deposit    13,984   3,350
Arpal Wybourn                              4739 Terrace Dr                    San Diego, CA 92116-2515                     A7   Customer Deposit     1,924   1,924
ASHLEY TAYLOR                              420 Northcliff Rd                  Pasadena, CA 91107-6528                      A7   Customer Deposit       179     179
AUDREY SMITH                               3184 Buckingham Rd                 Glendale, CA 91206-1405              x   x   A7   Customer Deposit     3,967   3,350
Bambi Cahilly                              18350 GEORGE BLVD                  VICTORVILLE, CA 92394                        A7   Customer Deposit     1,454   1,454
Barbara Brumet                             4248 View Pl                       San Diego, CA 92115-6332             x   x   A7   Customer Deposit     9,657   3,350
Barbara Hoenecke                           12852 Via Nestore                  Del Mar, CA 92014-3814                       A7   Customer Deposit       489     489
Bayview Builders                           49 Orinda Way #445                 Orinda, CA 94563                     x   x   A7   Customer Deposit     5,711   3,350

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                     Case 24-01376-CL7
                          24-01376-CL7 Filed    Filed 06/17/24
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Beatriz Martinez              25035 Meadowbrook                 Mission Viejo, CA 92692-2840         A7   Customer Deposit       354                        354
Belle Tuckerman               5 Saint Maxime                          162
                                                                      101
                                                                Laguna Niguel, CA 92677-5403         A7   Customer Deposit    18,610                      3,350
BEN BACAL                                 9329 Warbler Way                    Los Angeles, CA 90069-1136                A7   Customer Deposit       185     185
Bernartz                                  5307 Dahlia Dr                      Los Angeles, CA 90041-1408                A7   Customer Deposit     8,485   3,350
Beta Ealy                                 4122 E Vermont St                   Long Beach, CA 90814-2845                 A7   Customer Deposit     1,299   1,299
Beth Ullem                                30631 Hunt Club Drive               San Juan Capistrano, CA 92675     x   x   A7   Customer Deposit     1,937   1,937
Bethany & Chad Ensz                       4372 Calle Mejillones               San Diego, CA 92130                       A7   Customer Deposit    21,231   3,350
BEVERLY KALTENBACH                        12 Via Terracaleta                  Coto de Caza, CA 92679-4016               A7   Customer Deposit    13,299   3,350
Bill Beckwith                             70175 Pinyon Crest Dr               Mountain Center, CA 92561-3757    x   x   A7   Customer Deposit    29,328   3,350
bill d'argis                              1742 Lone Tree Rd.                  Chula Vista, CA 91913                     A7   Customer Deposit    16,394   3,350
Blythe Interiors - Alex and Ricky Chyla   3340 53rd Street                    San Diego, CA 92105                       A7   Customer Deposit    13,265   3,350
Bob & Marie Birmingham                    346 Vista Baya                      Costa Mesa, CA 92627-1808                 A7   Customer Deposit     2,817   2,817
Bonnie Pearlman                           898 Fire Dance Lane                 Palm Desert, Ca 92211                     A7   Customer Deposit    33,741   3,350
Booker Builders                           2240 Encinitas Blvd Ste D PMB 547   Encinitas, CA 92024-4345                  A7   Customer Deposit     9,281   3,350
Brad Nielsen                              2670 Waverly Dr                     Newport Beach, CA 92663-5638              A7   Customer Deposit     1,229   1,229
Brandon Soelberg                          520 Stern Way                       Carlsbad, CA 92011-5425                   A7   Customer Deposit     4,511   3,350
Bret Fernandes                            27311 Westridge Ln                  Laguna Hills, CA 92653-5890               A7   Customer Deposit       924     924
Brian & Desaray Sessions                  16313 Coastal Ct                    Bakersfield, CA 93314             x   x   A7   Customer Deposit       491     491
Brian & Tiffany Buchanan                  12 Becker Dr                        Ladera Ranch, CA 92694-1428               A7   Customer Deposit     4,093   3,350
brian heinz                               15105 Jenell St                     Poway, CA 92064-2615                      A7   Customer Deposit       906     906
Brian Henriquez                           23356 Via Ronda                     Mission Viejo, CA 92691-2231              A7   Customer Deposit        88      88
Brian Moaddeli                            16578 Via Lago Azul                 Rancho Santa Fe, CA 92067                 A7   Customer Deposit    31,223   3,350
Brian Verburg                             7102 Tierras Altas                  San Clemente, CA 92673                    A7   Customer Deposit    14,605   3,350
Brooke Lawson                             1848 Port Sheffield Place           Newport Beach, CA 92660                   A7   Customer Deposit       449     449
Brooke Wagner Design                      2823 E Coast Hwy                    Corona del Mar, CA 92625-2201     x   x   A7   Customer Deposit    28,817   3,350
Bruce Mackenzie                           35 Via villena                      San Clemente, CA 92672                    A7   Customer Deposit     1,164   1,164
Cabinet City                              688 Panorama Ln                     La Puente, CA 91744-6078                  A7   Customer Deposit       704     704
Camellia Fard                             9270 Kinglet                        Los Angeles, CA 90069             x   x   A7   Customer Deposit       998     998
Carla Whitman Design                      179 E 1th Street Suite 203          Costa Mesa, CA 92627                      A7   Customer Deposit    24,771   3,350
Carla Williams                            1306 Foothill Dr                    West Covina, CA 91791-3773                A7   Customer Deposit     6,518   3,350
Carol Caito                               10 Vermillion Cliffs                Aliso Viejo, CA 92656                     A7   Customer Deposit     5,635   3,350
Carol Cho                                 10351 Rue Finisterre                San Diego, CA 92131-2247          x   x   A7   Customer Deposit    18,476   3,350
Carol Honda                               2974 Caminito Bello                 La Jolla, CA 92037-2212                   A7   Customer Deposit     1,110   1,110
Carol Penhollow                           3610 5th Ave                        Corona Del Mar, CA 92625                  A7   Customer Deposit        42      42
Carol Pouliot                             13852 Northcrest Lane               Poway, CA 92064                           A7   Customer Deposit     2,495   2,495
Cary Kaplan                               7 Pinewood Cir                      Rancho Mirage, CA 92270-1489      x   x   A7   Customer Deposit     3,381   3,350
Cas & Susie Sermak                        3821 Skyline Rd                     Carlsbad, CA 92008                        A7   Customer Deposit    33,038   3,350
Catherine Dorum                           1155 Lark Song Ln                   Encinitas, CA 92024-6826                  A7   Customer Deposit    24,496   3,350
Cathy Lyn Brooks                          16525 Tropez Ln                     Huntington Beach, CA 92649-1873           A7   Customer Deposit        15      15
CCH Design                                25872 Appian Way                    Mission Viejo, CA 92691-4704              A7   Customer Deposit       144     144
Chad Buckmaster                           3119 Circa de Tierra                Encinitas, CA 92024-6906                  A7   Customer Deposit     3,780   3,350
Charles Gedge                             747 Bayview Pl                      Laguna Beach, CA 92651-2601               A7   Customer Deposit     5,488   3,350
Chelley Correa                            14574 TYLER RD                      VALLEY CENTER, CA 92082                   A7   Customer Deposit    15,682   3,350
Chris & Mary Mumford                      14850 Encendido                     San Diego, CA 92127-3811                  A7   Customer Deposit     1,705   1,705
Chris and Amy Scruton                     25215 Fairgreen                     Mission Viejo, CA 92692-2881      x   x   A7   Customer Deposit    14,724   3,350
Chris and Britiny Cecil                   524 W. 19th Street                  Santa Ana, CA 92706                       A7   Customer Deposit     8,476   3,350
Chris Gluck                               3521 Union street                   San Diego, CA 92103               x   x   A7   Customer Deposit    13,381   3,350
Christine & Bob Canty                     7362 Emerson Ave                    Westminster, CA 92683-6108                A7   Customer Deposit     3,048   3,048
Christine Wang                            1508 Coban RD                       La Habra Heights, CA 90631                A7   Customer Deposit    36,432   3,350
Christo Botev                             832 E Cedar Ave                     Burbank, CA 91501-1526            x   x   A7   Customer Deposit     1,015   1,015
Christopher Tower                         1435 Pacific Ave                    Laguna Beach, CA 92651-1928               A7   Customer Deposit    26,586   3,350
CINDY HORNER DESIGNS                      2016 VIA VINA                       SAN CLEMENTE, CA 92673            x   x   A7   Customer Deposit    16,329   3,350
CLEAR STORY CONSTRUCTION                  1237 Muirlands Vista Way            La Jolla, CA 92037-6212           x   x   A7   Customer Deposit    26,109   3,350
COAT Design & Remodel - Koeppen
Residence                                 PO BOX 1461                         Carlsbad, CA 92028                        A7   Customer Deposit    11,970   3,350
COLLEEN TOLEDO                            9 LA CANADA                         LOS ANGELES, CA 92602                     A7   Customer Deposit       960     960
Collom Construction Inc.                  10714 Louisa Dr.                    La Mesa, Ca 91941                 x   x   A7   Customer Deposit    10,770   3,350
COMMUNE DESIGN                            2504 W. 7TH ST. #A                  LOS ANGELES, CA 90057                     A7   Customer Deposit    10,791   3,350
Connie & Steve Sourapas                   P.O. BOX 8102                       Rancho Santa Fe, CA 92067                 A7   Customer Deposit       610     610
Connie Tracy                              23 Lansdale Ct                      Ladera Ranch, CA 92694-0322       x   x   A7   Customer Deposit     9,674   3,350
Conor & Ellie McDade                      1802 El Camino del Teatro           La Jolla, CA 92037-6342                   A7   Customer Deposit   182,604   3,350
Coram Design Center                       3800 Foothill Suite B               Glendale, CA 91214                        A7   Customer Deposit        31      31
Craig & Diana McCallister                 14 Harbor Is                        Newport Beach, CA 92660-7201      x   x   A7   Customer Deposit    12,009   3,350
Craig & Leesa Walker                      1131 Glenview Drive                 Fullerton, CA 92835                       A7   Customer Deposit     1,344   1,344
CT Designs                                1750 Kettner Blvd Unit 401          San Diego, CA 92101-2549                  A7   Customer Deposit     1,430   1,430
Cynthia Marks - Interiors                 2701 Airport Ave Ste 201            Santa Monica, CA 90405-6105       x   x   A7   Customer Deposit     5,398   3,350
Dalia Amigos LLC                          PO Box 675686                       Rancho Santa Fe, CA 92067-5686            A7   Customer Deposit    73,000   3,350
Damon & Kelly Maletta                     31755 Coast Hwy Unit 210            Laguna Beach, CA 92651-7006       x   x   A7   Customer Deposit    22,650   3,350
Dan Rooke                                 28785 Sea Ranch Way                 Malibu, CA 90265-4217                     A7   Customer Deposit     4,410   3,350
Danica Ezor                               14 Blue Horizon                     Laguna Niguel, CA 92677                   A7   Customer Deposit       481     481
Daniel & Connie DiCesare                  25232 La Cresta Dr.                 Dana Point, CA 92629              x   x   A7   Customer Deposit    41,731   3,350
Daniel Kreutel                            338 E River Ave                     Orange, CA 92866-2714                     A7   Customer Deposit    11,430   3,350
Danielle McCarthy                         520 Redlands Ave                    Newport Beach, CA 92663-4809              A7   Customer Deposit    64,163   3,350
Darlene Downs                             333 West Paso De Cristobal          San Clemente, CA 92672                    A7   Customer Deposit     3,928   3,350
Dave & Judy Saunders                      4 Carrera Place                     Rancho Mirage, CA 92270                   A7   Customer Deposit       509     509
Dave Curtis                               330 W 11th street apt#709           Los Angeles, CA 90015                     A7   Customer Deposit     6,120   3,350
David & Heather Tuck                      27521 Silver Creek Dr.              San Juan Capistrano, Ca 92675             A7   Customer Deposit    17,626   3,350
david ahn                                 550 Front St Unit 3102              San Diego, CA 92101-7106          x   x   A7   Customer Deposit    30,914   3,350
David Banks                               27 Alta Vista                       Rancho Mirage, CA 92270-2928              A7   Customer Deposit     1,026   1,026
David Bergen                              1275 Rubenstein Ave                 Cardiff, CA 92007-2409                    A7   Customer Deposit     1,924   1,924
DAVID NIELSEN                             222 W MARIPOSA                      SAN CLEMNETE, CA 92672                    A7   Customer Deposit    14,703   3,350
David Selig                               421 Dahlia Ave                      Corona del Mar, CA 92625-2847             A7   Customer Deposit    42,417   3,350
David Treiger                             1771 Oriole Dr                      Costa Mesa, CA 92626              x   x   A7   Customer Deposit       489     489
David White                               15 Catalina Vista Rd                Ladera Ranch, CA 92694-1570               A7   Customer Deposit     1,295   1,295
Dawn and Kerry Provence                   126 Avenida San Fernanado           San Clemente, Ca 92672                    A7   Customer Deposit    17,137   3,350
Dawn Longer                               18112 Avenida Orilla                Rancho Santa Fe, CA 92067         x   x   A7   Customer Deposit    14,541   3,350
Debara Watanabe                           18656 Via Varese                    Rancho Santa Fe, CA 92091-0295            A7   Customer Deposit     5,332   3,350
Debi Fisher                               13009 Brixton Pl                    San Diego, CA 92130-1325          x   x   A7   Customer Deposit     1,049   1,049
Deborah McCoy                             25 Carmel Bay Dr                    Corona del Mar, CA 92625-1006     x   x   A7   Customer Deposit    21,201   3,350
Dee Dee Love                              2693 Larkin Pl                      San Diego, CA 92123                       A7   Customer Deposit    33,167   3,350
Dee Force                                 6404 West Oceanfront                Newport Beach, CA 92663                   A7   Customer Deposit    54,354   3,350
Del Mar Restoration Wilson ADU            545 Rimini Road 545 Rimini Roa      Del Mar, CA 92014                         A7   Customer Deposit    17,303   3,350
Denise Dahlseid                           2616 Rosecrans St                   San Diego, CA 92106-1334                  A7   Customer Deposit         0       0
Denise Luckman                            72435 Morningstar Rd                Rancho Mirage, CA 92270-4047      x   x   A7   Customer Deposit       323     323
DENNIS COKER                              416 14th St                         Huntington Beach, CA 92648-4220           A7   Customer Deposit     9,821   3,350
Diane & Robert Robertson                  1325 Pacific Hwy Unit 2505          San Diego, CA 92101-2593                  A7   Customer Deposit    15,057   3,350

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                    Case 24-01376-CL7
                         24-01376-CL7 Filed     Filed 06/17/24
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Diane Contreras              650 Requesa Street                 Encinitas, CA 92024                 A7   Customer Deposit    31,307                        3,350
Dick Burkett                 2325 Casitas Way                         162
                                                                      101
                                                                Palm Springs, CA 92264-8219   x x   A7   Customer Deposit     2,316                        2,316
Dina Folkman                               3337 Alabama Cir                Costa Mesa, CA 92626                          A7   Customer Deposit     2,979   2,979
Dixon & Connie Fish                        976 Ridge Heights Dr            Fallbrook, CA 92028-3664                      A7   Customer Deposit     1,727   1,727
Dolores & Tassos Paphites                  39 Monarch Bay Dr               Dana Point, CA 92629-3458                     A7   Customer Deposit    13,282   3,350

Don Edge Const - Stuckleman Residence      1136 LUNETA DR,                 Del Mar, CA 92014                     x   x   A7   Customer Deposit    40,961   3,350
Don Glowacz Custom Builders                16835 ALGONGUIN STREET #371     Huntington Beach, ca 92649                    A7   Customer Deposit    35,322   3,350
Donna Kelley                               2426 Capitan Ave                San Diego, CA 92104                           A7   Customer Deposit       171     171
Doug & Flor Krahn                          857 W Crescent Ave              Redlands, CA 92373-6752               x   x   A7   Customer Deposit    65,185   3,350
Drew Silver                                3803 Dove St                    San Diego, CA 92103-2953                      A7   Customer Deposit    15,324   3,350
DUPLICATE Bissonette Interiors             26971 Magnolia Ct               Laguna Hills, CA 92653                        A7   Customer Deposit     2,284   2,284
Eco Minded Solution - Jennifer Astl        320 East Circle Court           Solana Beach, CA 92075                        A7   Customer Deposit    19,579   3,350
Eco Minded Solutions - Hernandez /3540
Talbot St.                                 3650 Front St                   San Diego, CA 92103                   x   x   A7   Customer Deposit    51,715   3,350
ECOSTAR PLUMBING                           2654 Foothill Drive             Vista, CA 92084                       x   x   A7   Customer Deposit     5,361   3,350
EDUARDO FRISCHWASSER                       1 OBRY DRIVE                    Scarsdale, NY 10583                   x   x   A7   Customer Deposit    41,616   3,350
Edward Ito                                 3830 E Rolling Green Ln         Orange, CA 92867                              A7   Customer Deposit     8,940   3,350
Edward Marquette                           3158 Via Loma Vis               Escondido, CA 92029-7216                      A7   Customer Deposit     7,691   3,350
Elisabeth Averick                          3362 Madera Ave                 Los Angeles, CA 90039-2127                    A7   Customer Deposit    24,867   3,350
Elizabeth Aaron Interior Design - Dunham
Project                                    2397 Sentinel Ln                San Marcos, CA 92078-2136                     A7   Customer Deposit    38,403   3,350
Ellen and Chuck Perliter                   231 S Anita Ave                 Los Angeles, CA 90049                         A7   Customer Deposit    45,792   3,350
Engstrom Construction                      46393 Blackhawk Dr              Indian Wells, CA 92210-9001                   A7   Customer Deposit     5,892   3,350
EOC development LLC                        1871 Highland Oaks Dr           Arcadia, CA 91006                             A7   Customer Deposit    31,365   3,350
Erik Simonsen                              3116 Via La Selva               Palos Verdes Estates, CA 90274-1050           A7   Customer Deposit    66,175   3,350
Erin Forbes                                3670 8th Ave                    San Diego, CA 92103-4320                      A7   Customer Deposit     5,827   3,350
Erwin Sandan                               14566 Luna Media                San Diego, CA 92127-3604              x   x   A7   Customer Deposit    22,088   3,350
Estee Copans                               15015 Sutton St                 Sherman Oaks, CA 91403-4021                   A7   Customer Deposit     1,143   1,143
Eunnie Hur                                 3044 Bern Dr                    Laguna Beach, CA 92651-2004                   A7   Customer Deposit       230     230
Eva Akopian                                361 Myrtle St Unit 303          Glendale, CA 91203-2207                       A7   Customer Deposit     1,502   1,502
Fanny Zhou                                 6343 E West View Dr             Orange, CA 92869-4308                         A7   Customer Deposit     7,003   3,350
Farnoosh Tabesh                            3195 Dona Mema Pl               Studio City, CA 91604                         A7   Customer Deposit       921     921
Folio                                      722 Genevieve Street, Suite E   Solana Beach, CA 92075                        A7   Customer Deposit    12,131   3,350
Frank & Judy Yohannan                      1256 Sombria Lane               Pebble Beach, CA 93953                        A7   Customer Deposit     5,743   3,350
FRANK CURRY                                81200 Avenue 49                 Indio, CA 92201-8409                          A7   Customer Deposit       628     628
Frank Messano                              23071 Tiagua                    Mission Viejo, CA 92692-1434                  A7   Customer Deposit       550     550
Gagan & Chad Naeger                        5028 Commonwealth ave           La Canada, CA 91011                           A7   Customer Deposit    38,787   3,350
Gayle Gajusramsay                          3035 Goldenrod Ln               Palm Springs, CA 92264-0299           x   x   A7   Customer Deposit     4,329   3,350
Georgeanna Parks Design                    3592 Mount Vernon Dr.           Los Angeles, CA 90008                         A7   Customer Deposit    12,395   3,350
Gerard Bartz                               8780 Central Ave Ste A          Montclair, CA 91763-5103                      A7   Customer Deposit       199     199
Gigi Kramer                                20321 Colonial Cir              Huntington Beach, ca 92646            x   x   A7   Customer Deposit       913     913
Gila Silver                                3368 Caminito Luna Nueva        Del Mar, CA 92014-3959                x   x   A7   Customer Deposit     3,458   3,350
Gina Carney                                21 Coral Blue St                Ladera Ranch, CA 92694-1555           x   x   A7   Customer Deposit     1,654   1,654
Gini Sedlak                                PO Box 3342                     Lake Arrowhead, CA 92352-3342                 A7   Customer Deposit       158     158
Gloria Hu                                  7551 Country Hill Ln            Anaheim, CA 92808-1384                x   x   A7   Customer Deposit    34,864   3,350
Greg Von Herzen                            7787 Margerum Ave #233          San Diego, CA 92120                           A7   Customer Deposit     1,487   1,487
Gustavo Ortega                             11113 Santillana Loop           Laredo, TX 78045-2818                         A7   Customer Deposit     1,753   1,753
Harlan Thompson                            2855 Freeborn Way               El Cajon, CA 92020-2616                       A7   Customer Deposit       208     208
Harriet Schuman                            14014 Rue D Antibes             Del Mar, CA 92014-3040                x   x   A7   Customer Deposit       961     961
HARRISON WANG                              216 SUTTERS MILL                IRVINE, CA 92602                              A7   Customer Deposit    14,248   3,350
Hathaway Loftus                            5464 Hillcrest Dr               Los Angeles, CA 90043                         A7   Customer Deposit    16,578   3,350
Helen Pescatello                           5 Limoges                       Newport Coast, CA 92657-1004                  A7   Customer Deposit     1,535   1,535
Herb Schoening Interior Design             3200 6th Ave. #209              San Diego, Ca 92103                           A7   Customer Deposit    14,339   3,350

House of Hive Design Co - Ang/Seitzman     5443 Fremontia Ln               San Diego, CA 92115-1007                      A7   Customer Deposit    50,910   3,350
HUB OF THE HOUSE by Carla                  9540 Lania Ln                   Beverly Hills, CA 90210-1742                  A7   Customer Deposit     1,952   1,952
Hunter Construction Inc.                   25682 Chrisanta drive           Mission Viejo, CA 92691               x   x   A7   Customer Deposit    40,761   3,350
Ignacio Arvizu                             4545 La Jolla Vllg Dr           San Diego, CA 92122                           A7   Customer Deposit       665     665
INARC                                      2205 5th Ave                    Los Angeles, CA 90018-1120            x   x   A7   Customer Deposit     2,861   2,861
INSIDE STORY                               1480 BROADWAY #2525             SAN DIEGO, CA 92101                           A7   Customer Deposit    24,014   3,350
Inspirations Interior Designs Inc          24432 Kings Vw                  Laguna Niguel, CA 92677-7800                  A7   Customer Deposit        44      44
Interior Space Design                      7646 Girard Ave                 La Jolla, CA 92037-4420                       A7   Customer Deposit     9,359   3,350
Interiors By O'Donnel                      19512 Pompano Lane #101         Huntington Beach, CA 92648                    A7   Customer Deposit       253     253
IS Architecture                            5649 La Jolla Blvd              La Jolla, CA 92037                            A7   Customer Deposit     2,474   2,474
Isam Hasenin                               112 Headwaters                  Irvine, CA 92602-1902                         A7   Customer Deposit       807     807
J. Graydon Coghlan                         4740 Rancho del Mar Trl         San Diego, CA 92130-5210                      A7   Customer Deposit       286     286
James Parker                               725 J Ave                       Coronado, CA 92118                            A7   Customer Deposit   144,837   3,350
Jamie Scelzi                               79517 Liga                      Laquinta, Ca 92253                            A7   Customer Deposit     4,844   3,350
Jan Gordon                                 74612 Desert Arroyo Trail       Indian Wells, CA 92210                        A7   Customer Deposit       310     310
Jane Zhuang                                5041 Scholarship                Irvine, CA 92612-5695                         A7   Customer Deposit    13,894   3,350
Janice Markley                             6 Rue Chantilly                 Newport Beach, CA 92660-5903                  A7   Customer Deposit    12,508   3,350
Jasmin & Tom Niederberger                  71621 Mirage Rd                 Rancho Mirage, CA 92270                       A7   Customer Deposit     2,084   2,084
Jasmine Karayan                            239 Camino Del Sol              South Pasadena, CA 91030                      A7   Customer Deposit    15,730   3,350
Javier Moran                               3049 Yucon Ave                  Costa Mesa, CA 92626                          A7   Customer Deposit    30,376   3,350
Javier Rubio                               5161 Bransford Dr               La Palma, CA 90623-1119                       A7   Customer Deposit     2,519   2,519
JC WILDING & COMPANY                       4113 ASHTON STREET              SAN DIEGO, CA 92110                           A7   Customer Deposit       517     517
Jeff and Shelly Davis                      113 Netas Ct                    Palm Desert, CA 92260-7332                    A7   Customer Deposit     9,842   3,350
Jeff Kutter                                19 Pinewood                     Trabuco Canyon, CA 92679                      A7   Customer Deposit       224     224
Jeff Murray                                215 Esplanade                   San Clemente, CA 92672-5423                   A7   Customer Deposit    12,525   3,350
Jeffrey Nielsen                            1861 E Miraloma Ave             Placentia, CA 92870-6707                      A7   Customer Deposit     2,747   2,747
Jenn Cornelius                             6842 Scenic Bay Dr              Huntington Beach, CA 92648            x   x   A7   Customer Deposit    46,428   3,350
JENNIFER CASSELL                           5427 LA CRESTENTA               RANCHO SANTE FE, CA 92067                     A7   Customer Deposit     2,756   2,756
Jennifer Herring Interiors                 28 High Blf                     Laguna Niguel, CA 92677-4257                  A7   Customer Deposit    11,334   3,350
Jennifer Stitz                             700 West E Street Unit 2003     San Diego, CA 92101                           A7   Customer Deposit        16      16
Jensen Construction                        1409 Foothill Blvd. #204        La Canada, Ca 91011                           A7   Customer Deposit     1,586   1,586
JERRIT DEEPHOUSE                           9 Blackswan                     Irvine, CA 92604-4505                         A7   Customer Deposit     2,225   2,225
Jesse Jambe                                2985 Avenida Simi               Simi Valley, CA 93063-1575            x   x   A7   Customer Deposit    26,132   3,350
Jessica Bremner Interior Design            71905 HWY 111                   Rancho Mirage, CA 92270               x   x   A7   Customer Deposit     2,512   2,512
Jessica Goff                               5445 Candlelight Dr             La Jolla, CA 92037                    x   x   A7   Customer Deposit     6,713   3,350
Jessica Springer                           34 Calle Viviana                San Clemente, CA 92673                        A7   Customer Deposit        28      28
Jessica Valentino                          19553 Keswick St                Reseda, CA 91335-2316                         A7   Customer Deposit       930     930
Jewel Edson                                726 W Solana Cir                Solana Beach, CA 92075-2358                   A7   Customer Deposit     6,473   3,350
JH2 Architects                             413 1/2 Jasmine Ave             Corona del Mar, CA 92625-4202                 A7   Customer Deposit     5,516   3,350
Ji Park                                    1707 CLEAR CREEK Dr             Fullerton, CA 92833                   x   x   A7   Customer Deposit    60,633   3,350
jill Morgan                                17484 El Vuelo Street           Rancho Santa Fe, CA 92067                     A7   Customer Deposit     5,402   3,350

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                    Case 24-01376-CL7
                         24-01376-CL7 Filed Filed 06/17/24
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Jim Reeder                   4 Corte Rivera                 San Clemente, CA 92673-6861         A7   Customer Deposit      645                                               645
JLC Architecture - Sandra and Scott                               162
                                                                  101
Freiwald                                  1350 Rubenstein Ave                                 Cardiff by the Sea, CA 92007-2404           A7   Customer Deposit    43,913   3,350
joanna Speed                              1958 S Barona Rd                                    Palm Springs, CA 92264-4858                 A7   Customer Deposit       809     809
Joe Bremseth                              8613 Lynx Rd                                        San Diego, CA 92126-1828            x   x   A7   Customer Deposit     3,699   3,350
Joe Fix                                   434 Longfellow Ave                                  Hermosa Beach, CA 90254-2118                A7   Customer Deposit     9,928   3,350
Joe Kessel                                27571 Jaquita Pl                                    Laguna Niguel, CA 92677-6046                A7   Customer Deposit       387     387
John Brooks                               17957 Piazza San Carlo                              Yorba Linda, CA 92886-2873                  A7   Customer Deposit     1,188   1,188
John Greene                               79521 Morning Glory Ct                              La Quinta, CA 92253                         A7   Customer Deposit       878     878
John Kang                                 15 Rolling Hls                                      Trabuco Canyon, CA 92679-4811               A7   Customer Deposit       187     187
John McCulley Designs                     2129 La Amatista Rd.                                Delmar, CA 92104                            A7   Customer Deposit    50,436   3,350
JOHN MCGUIRE                              253 Rees St                                         Playa del Rey, CA 90293-7743                A7   Customer Deposit    22,907   3,350
John Pohlig                               30 Marble Sands                                     Newport Beach, CA 92660-9100                A7   Customer Deposit    15,262   3,350
John Welker                               11 Augusta                                          Coto de Caza, CA 92679-4829                 A7   Customer Deposit        65      65
John Word                                 621 Lido Park Drive                                 Newport Beach, CA 92663                     A7   Customer Deposit     2,699   2,699
Johnson + Fernandez Interior Design       17762 Cowan                                         Irvine, CA 92614                            A7   Customer Deposit     8,239   3,350
Joli G Interiors and Design               6683 Halite Pl                                      Carlsbad, CA 92009-1738                     A7   Customer Deposit       517     517
Jonathan Chow                             51 Eclipse                                          Lake Forest, CA 92630                       A7   Customer Deposit       545     545
Joni Wait                                 3726 Hillview Way                                   Oceanside, CA 92056-5416            x   x   A7   Customer Deposit    14,461   3,350
Joni Wilson                               77975 Lago Dr                                       La Quinta, CA 92253-2710                    A7   Customer Deposit     2,488   2,488
Jordan Williams                           5671 Tamres Dr                                      San Diego, CA 92111-4654                    A7   Customer Deposit    18,175   3,350
Jose & Ty Cordova                         19132 Owen Way                                      Cerritos, CA 90703                          A7   Customer Deposit    40,227   3,350
JOSE VILLAREAL                            2609 E Chevy Chase Dr                               Glendale, CA 91206-1817                     A7   Customer Deposit     1,228   1,228
Joseph Choi                               841 Madera Pl                                       Fullerton, CA 92835-2443                    A7   Customer Deposit    38,500   3,350
Joseph Desloge                            683 E Mesquite Ave                                  Palm Springs, CA 92264-8412                 A7   Customer Deposit    19,444   3,350
Josephus Van Engelen                      54 Plateau                                          Aliso Viejo, CA 92656-8026                  A7   Customer Deposit       727     727
Josh Parker                               1707 Candlestick Ln                                 Newport Beach, CA 92660-4316                A7   Customer Deposit     5,991   3,350
Joshua Wong                               5630 Scripps St                                     San Diego, CA 92122-3208                    A7   Customer Deposit       209     209
JP & Stacey Katz                          3514 Surfview Ln                                    Corona Del Mar, CA 92625                    A7   Customer Deposit    16,267   3,350
JTID INC                                  12232 W Sunset Blvd                                 Los Angeles, CA 90049-4014                  A7   Customer Deposit       182     182
Julia Kelley                              126 W Lomita Ave                                    Glendale, CA 91204-1713                     A7   Customer Deposit     1,150   1,150
Julie Min                                 8032 Entrada de Luz W                               San Diego, CA 92127-2513                    A7   Customer Deposit    13,915   3,350
Julie Putnam                              7906 Vista Palma                                    Carlsbad, CA 92009-2910             x   x   A7   Customer Deposit     3,021   3,021
Julie Zhou                                19521 Sierra Canon Rd                               Irvine, CA 92603-3802                       A7   Customer Deposit    52,729   3,350

JY Design Interiors - Shutman Residence   732 N Coast Highway 101 Ste A                       Encinitas, CA 92024                 x   x   A7   Customer Deposit    17,719   3,350
Kalyn Burer                               2471 Oxford Ave                                     Cardiff, CA 92007-2130              x   x   A7   Customer Deposit     4,475   3,350
KAREN ZHANG                               1935 Maverick ln                                    Santa Ana, CA 92705                         A7   Customer Deposit     4,760   3,350
Kasey Moore                               14904 Jay Tee Ct.                                   San Diego, CA 92127                 x   x   A7   Customer Deposit     1,315   1,315
Kathryn and Rolland Jenkins               245 Argonne Ave                                     Long Beach, CA 90803-1739                   A7   Customer Deposit       352     352
Kathryn Montoya-Andrews                   310 Turtle Bay Ln                                   Costa Mesa, CA 92627-6551                   A7   Customer Deposit    25,314   3,350
Kathy Snow                                1975 Calle Madrigal                                 La Jolla, CA 92037-6408             x   x   A7   Customer Deposit     1,928   1,928
Katie Vaughters & Grant Sunderland        1946 Myra Ave                                       Los Angeles, CA 90027-3226                  A7   Customer Deposit    30,810   3,350
Kayla Mignacca                            7660 Fay Ave la jolla 92027                         La Jolla, CA 92037                          A7   Customer Deposit       694     694
KAZEM BAKER                               135 VIA MARINA                                      MARINA DEL REY, CA 90292                    A7   Customer Deposit       221     221
KC Custom Remodeling                      1205 Pacific Hwy #2301                              San Diego, CA 92101                         A7   Customer Deposit    34,086   3,350
Keith Reid                                8733 Tillage Lane                                   San Diego, CA 92127                         A7   Customer Deposit    25,406   3,350
Keith Willerman                           11278 Vereda Mar de Corazon                         San Diego, CA 92130-2693                    A7   Customer Deposit       978     978
Kelly Hur                                 11 Redbird                                          Irvine, CA 92603-0303                       A7   Customer Deposit     5,235   3,350
Ken Polk                                  15010 Paso del Sol                                  Del Mar, CA 92014-4117                      A7   Customer Deposit     5,236   3,350
Ken Taff                                  2434 Briar Glen Road                                Acton, CA 93510                             A7   Customer Deposit     1,505   1,505
Keri Michelle Interiors                   1137 La Sombra Drive                                San Marcos, CA 92078                        A7   Customer Deposit     2,699   2,699
Kevin & Patricia Bohm                     12 Anacapri                                         Laguna Niguel, CA 92677-8629                A7   Customer Deposit    13,452   3,350
Kevin Gruidl                              5930 Waverly Ave                                    La Jolla, CA 92037-7339                     A7   Customer Deposit    33,535   3,350
Kevin McCabe                              520 N Cherokee Ave                                  Los Angeles, CA 90004-1007                  A7   Customer Deposit     2,561   2,561
Kevin Winters                             38907 W Scio Rd                                     Scio, OR 97374-9587                         A7   Customer Deposit    33,909   3,350
Kim Kitaen                                25302 Stageline Dr                                  Laguna Hills, CA 92653-5853         x   x   A7   Customer Deposit    41,358   3,350
Kim Moore                                 3326 Fenelon St.                                    San Diego, Ca 92106                         A7   Customer Deposit    12,090   3,350
Kimberly Bukewihge                        26 Craftsbury Pl                                    Ladera Ranch, CA 92694-0841                 A7   Customer Deposit     5,482   3,350
Kimberly Riker                            2327 Port Carlisle Pl                               Newport Beach, CA 92660             x   x   A7   Customer Deposit     2,369   2,369
Kitchens Design & Interiors               21052 Laguna Canyon Rd B                            Laguna Beach, CA 92651-1146                 A7   Customer Deposit    21,114   3,350
KK Design Concepts                        23811 Aliso Creek Rd Ste 101B                       Laguna Niguel, CA 92677-3905                A7   Customer Deposit    29,454   3,350
Kris Kroc                                 6971 The Preserve Way                               San Diego, CA 92130-6856            x   x   A7   Customer Deposit    85,512   3,350
Kristi Knudsen                            21362 Vista Estate Dr                               Lake Forest, CA 92630               x   x   A7   Customer Deposit     1,241   1,241
Kristica Kolyouthapong                    23121 Bouquet Canyon                                Mission Viejo, CA 92692                     A7   Customer Deposit       567     567
Kristin Hadley                            45028 Vine Cliff St                                 Temecula, CA 92592-5514             x   x   A7   Customer Deposit     1,545   1,545
Kyle Doan Construction Inc                PO Box 8826                                         Rancho Santa Fe, CA 92067-8826              A7   Customer Deposit   121,289   3,350
Kym Morrison                              16395 Wimbledon Ln                                  Huntington Beach, CA 92649-2188             A7   Customer Deposit    16,461   3,350
Lani Asato                                806 Crest Drive                                     Encinitas, CA 92024                         A7   Customer Deposit     1,740   1,740
Larry Drynan                              43381 Chapelton Dr                                  Bermuda Dunes, CA 92203-1563                A7   Customer Deposit       954     954
LAURA TEEL                                25355 HUGO ROAD                                     LAGUNA NIGUEL, CA 92677                     A7   Customer Deposit        74      74
Lauren Berger                             4425 Cromwell Ave                                   Los Angeles, CA 90027-1249                  A7   Customer Deposit       722     722
Laurie Steichen Design                    10061 Riverside Dr. #368                            Toluca Lake, CA 91602                       A7   Customer Deposit       595     595
Liam Perry                                336 Encinitas Blvd Ste 240                          Encinitas, CA 92024-8707                    A7   Customer Deposit    14,200   3,350
LIANA KARAPETYAN                          601 E Mountain St                                   Glendale, CA 91207-1423                     A7   Customer Deposit       759     759
Linda & Kevin Rosen                       3033 The Strand                                     Hermosa Beach, CA 90254             x   x   A7   Customer Deposit     9,466   3,350
linda medina IIDA- Karen Lynch            4957 Kensington Dr                                  San Diego, CA 92116-2311                    A7   Customer Deposit     9,055   3,350
Linda Quindt                              123 TBD                                             Solana Beach, CA 92075              x   x   A7   Customer Deposit     2,877   2,877
Lindi Nicol                               808 Midori Ct                                       Solana Beach, CA 92075-1291                 A7   Customer Deposit     6,281   3,350
Lindsey Gregory                           3804 Altura Ave                                     La Crescenta, CA 91214-2301                 A7   Customer Deposit       969     969
Lisa Butterbrodt                          4730 Rancho del Mar Trl                             San Diego, CA 92130-5210                    A7   Customer Deposit    74,245   3,350
Lisa Jabara                               5407 Sea Shore Dr                                   Newport Beach, CA 92663             x   x   A7   Customer Deposit     7,763   3,350
Lisa Kopp                                 3 Canyon View dr. Wilson Arch                       La Sal, UT 84530                    x   x   A7   Customer Deposit     2,493   2,493
Lisa Skonieczny Design                    7792 Lorenzo Dr                                     Huntington Beach, CA 92648-5330             A7   Customer Deposit       452     452
Lita Eells                                18055 Punta Del Norte                               Rancho Santa Fe, CA 92067                   A7   Customer Deposit     2,229   2,229
Lori Brenckman                            446 Santa Helena                                    Solana Beach, CA 92075                      A7   Customer Deposit        36      36
Lori Gentile - Backus Idaho               233 Mary Moody Lane                                 Sagle, ID 83660                             A7   Customer Deposit    49,958   3,350
Lorraine Careaga                          8232 3rd St                                         Downey, CA 90241-3721                       A7   Customer Deposit    59,040   3,350
Lorrie Losse                              6829 Citrine dr                                     Carlsbad, CA 92008                          A7   Customer Deposit    13,597   3,350
Lorrie Turner                             5487 Kathryn Ave                                    Sherman Oaks, CA 91401                      A7   Customer Deposit     4,879   3,350
Lou Claggett                              601 Michael Place                                   Newport Beach, CA 92663             x   x   A7   Customer Deposit    82,363   3,350
Lynda Gardiner-Bergman                    46685 Quail Run Dr                                  Indian Wells, CA 92210-9082                 A7   Customer Deposit     6,754   3,350
LYNN BOOTH                                75355 Morningstar Dr Bills Number Is 630-699-3598   Indian Wells, CA 92210-7310         x   x   A7   Customer Deposit    27,356   3,350
Lynn Oberg Design                         3031 Kellogg St                                     San Diego, CA 92106-3454            x   x   A7   Customer Deposit     1,945   1,945
Lynn Traver Interiors                     7 Catspaw Cpe                                       Coronado, CA 92118                          A7   Customer Deposit    11,507   3,350
Madonna Hagan                             2129 Bulrush Ln                                     Cardiff, CA 92007-1407              x   x   A7   Customer Deposit    21,052   3,350

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                    Case 24-01376-CL7
                         24-01376-CL7 Filed Filed 06/17/24
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                                                                                                                         86 of of
MAGGIE NAFSO                 9355 LAVELL ST                 LA MESA, CA 91941                  A7   Customer Deposit     1,018                              1,018
Mamiko Otsubo                349 Mission Rd                      162
                                                                 101
                                                            Glendale, CA 91205-3327            A7   Customer Deposit       508                                508
Marc Fanticola                             1422 Edinger Ave Ste 150          Tustin, CA 92780-6299                        A7   Customer Deposit    11,940   3,350
Marc Hoffman                               2355 Hillview Dr                  Laguna Beach, CA 92651-2212                  A7   Customer Deposit     2,693   2,693
Marge Katleman                             2267 San Juan Rd                  San Diego, CA 92103-1114                     A7   Customer Deposit     1,010   1,010
Maria and Clint Lawrence                   2671 Anchor Ave                   Los Angeles, CA 90064                        A7   Customer Deposit    32,959   3,350
Maria Barry                                18388 Calle La Serra              Rancho Santa Fe, CA 92091-0114               A7   Customer Deposit     1,927   1,927
Maria Scherber                             196 Cameray Hts                   Laguna Niguel, CA 92677-9217         x   x   A7   Customer Deposit       223     223
Marianne and Matt Cox                      370 Patterson Dr                  Monrovia, CA 91016-1652                      A7   Customer Deposit     7,450   3,350
Marika Olson                               102 Corsica Dr                    Newport Beach, CA 92660              x   x   A7   Customer Deposit       627     627
Marilyn Ryder                              8115 E Bailey Way                 Anaheim, CA 92808-2514                       A7   Customer Deposit     6,657   3,350
Marjorie Hansen-Shaevitz                   2671 Greentree Ln                 La Jolla, CA 92037-1148                      A7   Customer Deposit       399     399
Mark & Bhadra Gordon                       4624 Dorchester Rd                Corona Del Mar, CA 92625                     A7   Customer Deposit     3,882   3,350
Mark & Jenny Rittenbaum                    376 Serpentine Dr.                Delmar, CA 92014                     x   x   A7   Customer Deposit    18,008   3,350
Mark and Chris McVay                       5737 Waverly Ave                  La Jolla, CA 92037-7336                      A7   Customer Deposit       897     897
Mark Grosvenor                             P.O. Box 835                      Rancho Santa Fe, CA 92067                    A7   Customer Deposit   173,827   3,350
Mark Stocker Design                        406 9th Ave Ste 305               San Diego, CA 92101-7278                     A7   Customer Deposit     1,556   1,556
Mark Taheri                                11455 Thurston Cir                Los Angeles, CA 90049-2425                   A7   Customer Deposit       760     760
Marrokal Design & Remodeling - Ashley
Johnson & Greg Scanlon                     3387 Gregory St                   San Diego, CA 92104-4751                     A7   Customer Deposit     7,994   3,350
Marrokal Design & Remodeling - Elsa
Cateriano                                  9474 Kearny Villa Rd Ste 205      San Diego, CA 92126-4597                     A7   Customer Deposit    27,282   3,350

Marrokal Design & Remodeling - Fei Bao     373 Coast Blvd South #4           La Jolla, CA 92037                           A7   Customer Deposit    55,022   3,350
Marrokal Design & Remodeling - Ivan &
Shannon Stracener                          9474 Kearny Villa Rd Ste 205      San Diego, CA 92126-4597                     A7   Customer Deposit    13,065   3,350

Marrokal Design & Remodeling - Song Yang   17836 Avendia Amatista            Rancho Santa Fe, CA 92067                    A7   Customer Deposit    36,304   3,350
Martha Garza                               6505 Caminito Blythefield         La Jolla, CA 92037-5806              x   x   A7   Customer Deposit    10,064   3,350
Martin Adamczyk                            5017 Viewridge Way                Oceanside, CA 92056-5413                     A7   Customer Deposit       372     372
Marybeth Waniek                            16 Boardwalk                      Newport Beach, CA 92660-9102         x   x   A7   Customer Deposit    10,807   3,350
Mass Beverly                               8936 Beverly Blvd                 West Hollywood, CA 90048-2421        x   x   A7   Customer Deposit       496     496
Matilda Zoltowski                          6647 Lindenhurst Ave              Los Angeles, CA 90048-4611           x   x   A7   Customer Deposit    11,919   3,350
Matt Garbee                                1137 Santa Madera Ct              Solana Beach, CA 92075-1620                  A7   Customer Deposit     1,470   1,470
Matt Miller                                16 Reflection Ln                  Coto de Caza, CA 92679-5100                  A7   Customer Deposit     6,347   3,350
MATTERS OF SPACE                           5005 York Blvd                    Los Angeles, CA 90042-1713                   A7   Customer Deposit     2,529   2,529
Matthew Gerritsen                          2358 Geode Ln                     Carlsbad, CA 92009-1736              x   x   A7   Customer Deposit     2,015   2,015
Mazen Chmaytelli                           5949 La Jolla Corona dr           La Jolla, CA 92037                           A7   Customer Deposit       572     572
Megan Sullivan                             2612 Mesa Dr                      Newport Beach, CA 92660-0752                 A7   Customer Deposit     6,557   3,350
Melissa Pinto Interiors                    3860 Hollypark Pl                 Los Angeles, CA 90039-1620                   A7   Customer Deposit     2,706   2,706
Melissa Riley                              28355 Via Alfonse                 Laguna Niguel, CA 92677-7060                 A7   Customer Deposit     2,000   2,000
Melissa Swanson                            6334 Paseo Delicias               Rancho Santa Fe, CA 92067                    A7   Customer Deposit       707     707
Mia Stone                                  PO Box 2747                       Rancho Santa Fe, CA 92067-2747               A7   Customer Deposit       379     379
Michael & Elizabeth Rabbitt                12516 Del Vino Ct                 San Diego, CA 92130-6835             x   x   A7   Customer Deposit    26,907   3,350
Michael and Stephanie Orlowicz             1005 Olive Ave                    Coronado, CA 92118-2727                      A7   Customer Deposit        62      62
Michael Feren                              3703 Albatross St                 San Diego, CA 92103-3924             x   x   A7   Customer Deposit     1,063   1,063
MICHAEL LAMBERT                            5201 SHORE DR.                    CARLSBAD, CA 92008                           A7   Customer Deposit       152     152
Michael Luevano                            3822 Fenley Dr                    Los Alamitos, CA 90720-2214                  A7   Customer Deposit     8,348   3,350
Michael Matsumura                          4231 Stewart Ave                  Los Angeles, CA 90066-5715                   A7   Customer Deposit    11,759   3,350
Michael McFadin                            801 E 15th St                     Newport Beach, CA 92663-5807                 A7   Customer Deposit    37,762   3,350
Michele Pepin                              471 Riviera Dr                    Lake Arrowhead, CA 92352             x   x   A7   Customer Deposit    43,855   3,350
Michelle & Andy Serwin                     6612 Mower Place                  San Diego, CA 92130                          A7   Customer Deposit    35,208   3,350
Mickey Rockafeller                         1301 E San Jacinto Way            Palm Springs, CA 92262-5854                  A7   Customer Deposit     2,090   2,090
Middleton Group                            2820 Camino del Rio S #314        San Diego, CA 92108                  x   x   A7   Customer Deposit    20,701   3,350
Mike Nakleh                                20181 Northridge Dr               Chadsworth, CA 91311                         A7   Customer Deposit     1,495   1,495
Mike Vanderby                              7041 Leeward St                   carlsbad, CA 92011                           A7   Customer Deposit    45,000   3,350
Mike Vargas                                4 Sugarcane Ln                    Ladera Ranch, CA 92694-1328                  A7   Customer Deposit     1,775   1,775
Milena Sorradio                            813 Caminito Francisco Unit 2     Chula Vista, CA 91913-3714                   A7   Customer Deposit     1,173   1,173
Millcreek Residential                      6220 Selma Avenue                 Los Angeles, CA 90028                        A7   Customer Deposit    30,127   3,350
Mimi Tran                                  18402 Churchill Ln                Villa Park, CA 92861-2742                    A7   Customer Deposit    43,563   3,350
Min Cong                                   2476 Indian Creek Rd              Diamond Bar, CA 91765-3351                   A7   Customer Deposit     7,117   3,350
Mind Pachimsawat                           11409 Ridgegate Dr                Whittier, CA 90601-1757                      A7   Customer Deposit    12,858   3,350
MINDY GAYER DESIGN COMPANY                 4000 Westerly Pl Ste 260          Newport Beach, CA 92660                      A7   Customer Deposit       798     798
Missy McNally                              6114 Vista de la Mesa             La Jolla, CA 92037-6546                      A7   Customer Deposit    11,760   3,350
Mitch Farmer                               1433 Puterbaugh St.               San Diego, CA 92103                  x   x   A7   Customer Deposit    51,700   3,350
Mitch Menzer                               7131 Macapa Dr                    Los Angeles, CA 90068-2003                   A7   Customer Deposit     8,727   3,350
Modern Elements                            1068 N Palm Canyon Dr             Palm Springs, CA 92262-4420                  A7   Customer Deposit     2,949   2,949
Modern Home Design                         611 S Palm Canyon Dr Ste 2        Palm Springs, CA 92264-7453                  A7   Customer Deposit     9,566   3,350
Monica Nelis                               31511 Paseo Christina             San Juan Capistrano, CA 92675-5520   x   x   A7   Customer Deposit    45,759   3,350
Mullen Design Co - Janelle Pyle            2968 Stable Pl                    Escondido, CA 92029                          A7   Customer Deposit       150     150
MUNDO DESIGN CORP                          220 W 25th St                     National City, CA 91950-6678                 A7   Customer Deposit     3,489   3,350
Murtaza Alibai                             12120 Nikita Ct                   San Diego, CA 92131-3826                     A7   Customer Deposit    16,270   3,350
Nancie Pham                                17 Spinnaker                      Newport Coast, CA 92657-1911         x   x   A7   Customer Deposit       232     232
Nancy Shields                              14079 CREST WAY                   DEL MAR, CA 92014                            A7   Customer Deposit       565     565
Natasha Allos                              8333 Calle del Cielo              La Jolla, CA 92037-3033                      A7   Customer Deposit     1,439   1,439
Natasha Hawker                             17 Fox Hole Rd                    Ladera Ranch, CA 92694-1503                  A7   Customer Deposit     1,532   1,532
Nathan & Renee Linder                      465 Panorama Dr                   Laguna Beach, CA 92651-1225                  A7   Customer Deposit     4,272   3,350
Nelson Construction                        13 Via Buen Corazon               SAN CLEMMENTE, CA 92672                      A7   Customer Deposit     1,183   1,183
Nena Aziz Interiors                        5261 Mount Alifan Drive           San Diego, CA 92111                          A7   Customer Deposit       130     130
New Vision Building & Design               1950, Brookhurst Drive            El Cajon ca, CA 92019                        A7   Customer Deposit     3,210   3,210
Nicole Weiss                               4233 Ashton Street                San Diego, CA 92110                          A7   Customer Deposit    27,085   3,350
Nina Williams Design                       201 N Sierra Ave                  Solana Beach, CA 92075-1151                  A7   Customer Deposit       408     408
NSY Capital                                55 Ritz Cove Dr                   Dana Point, CA 92629-4228                    A7   Customer Deposit     2,623   2,623
Omar Hassan Abudawood                      4545 La Jolla Village Dr Ste E1   San Diego, CA 92122-1672             x   x   A7   Customer Deposit    36,000   3,350
Onsight Builders Inc.                      PO Box 2761                       Telluride, CO 81435-2761                     A7   Customer Deposit       861     861
Pam Sorensen                               320 San Carlos Ave                Piedmont, CA 94611-4119              x   x   A7   Customer Deposit    20,517   3,350
Pascal Hoenig                              145 Desert Lakes Dr               Palm Springs, CA 92264-5526          x   x   A7   Customer Deposit     3,191   3,191
Pastor Alvarado                            3285 Larga Ave                    Los Angeles, CA 90039-2246           x   x   A7   Customer Deposit     2,452   2,452
Pat Hosey                                  8831 Nottingham Pl                La Jolla, CA 92037-2131                      A7   Customer Deposit     2,569   2,569
Pat Soldano                                367 S Royal Ridge                 Anaheim Hills, CA 92807              x   x   A7   Customer Deposit     3,234   3,234
Patricia Horn                              53804 Via Palacio                 La Quinta, CA 92253-7850                     A7   Customer Deposit     4,346   3,350
PATRICIA MARTINEZ                          4946 E Crescent Dr                Anaheim, CA 92807-3630                       A7   Customer Deposit       240     240
Patricia Pratto                            3822 Seascape Dr                  Huntington Beach, CA 92649-2524      x   x   A7   Customer Deposit     6,340   3,350
Patti Hoffman                              4775 Rancho Verde Trl             San Diego, CA 92130-5237                     A7   Customer Deposit     1,622   1,622
Patti Jones                                P.O. Box 9834                     Rancho Santa Fe, CA 92067            x   x   A7   Customer Deposit     9,630   3,350
Patty Birchall                             2914 Lone Jack Rd                 Encinitas, CA 92024-7005                     A7   Customer Deposit         0       0

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                     Case 24-01376-CL7
                          24-01376-CL7 Filed   Filed 06/17/24
                                                     05/03/24 Entered
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PAUL ALLEN DESIGN             1954 PLUM STREET                 SAN DIEGO, CA 92106                 A7   Customer Deposit       214                                          214
PAUL HAN                      40 Lowland                              162
                                                                      101
                                                               Irvine, CA 92602-0837        x  x   A7   Customer Deposit     1,385                                        1,385
Paul Ouimet                                    79025 Via San Clara                        La Quinta, CA 92253-6245                       A7   Customer Deposit    1,617   1,617
Paul Rodman                                    5460 La Jolla Blvd Seahaus Condiminiums    La Jolla, CA 92037-7672                        A7   Customer Deposit    1,791   1,791
Peter and Marjie Smoot                         1760 Avenida del mundo #209                Coronado, CA 92118                             A7   Customer Deposit      578     578
Peter Chuang                                   34031 Mazo Dr                              Dana Point, CA 92629-2637              x   x   A7   Customer Deposit   11,449   3,350
Peter Zemljic                                  8887 Caminito Primavera                    La Jolla, CA 92037-1603                        A7   Customer Deposit      200     200
Peykoff Peykoff Res                            1931 Port Nelson Pl                        Newport Beach, Ca 92660                        A7   Customer Deposit    4,763   3,350
Phil Harris                                    59 Via Armilla                             San Clemente, CA 92673                 x   x   A7   Customer Deposit    4,557   3,350
Phillip & Mary DeFreitas                       624 Sea Breeze Dr                          Seal Beach, CA 90740-5747                      A7   Customer Deposit   20,000   3,350
Phung Lam                                      10909 Lotus Dr                             Garden Grove, CA 92843-4989                    A7   Customer Deposit   33,053   3,350
Pizzetti Design                                3100 Airway Ave. Ste 130                   Costa Mesa, CA 92626                           A7   Customer Deposit    1,513   1,513
Pony Chiu                                      18363 Calle La Serra                       Rancho Santa Fe, CA 92091-0125                 A7   Customer Deposit   22,336   3,350
ProPacific Builders Inc. - Katie and Craig
Brown                                          7995 Paseo Esmerado                        Carlsbad, CA 92009                             A7   Customer Deposit     638     638
ProPacific Builders Inc. - Lindsey and Jesse
Lyon                                           5964 Black Rail Rd                         Carlsbad, CA 92011-2645                        A7   Customer Deposit   45,092   3,350

ProPacific Builders Inc. - Mason Magruder      7611 Cortina Ct                            Carlsbad, CA 92009-8206                        A7   Customer Deposit    5,210   3,350
ProPacific Builders Inc. - Shelly Sibert       1403 Neptune Ave                           Encinitas, CA 92024-1434                       A7   Customer Deposit   88,313   3,350
Rachel Maurais                                 4224 Camino Sandoval                       San Diego, CA 92130-2194                       A7   Customer Deposit    3,954   3,350
Radia Amari                                    33232 Elisa Drive                          Dana Point, CA 92629                           A7   Customer Deposit    1,029   1,029
RAMOLA DASWANI                                 15 Trafalgar                               Newport Beach, CA 92660-6831           x   x   A7   Customer Deposit   40,775   3,350
Rani Shin                                      1140 Caesar Ave                            Pasadina, CA 91107                             A7   Customer Deposit    8,827   3,350
RAUL TORRES                                    18552 VALLEY DR                            VILLA PARK, CA 92861                           A7   Customer Deposit      285     285
Ray Magana                                     33972 Granada Drive                        Dana Point, CA 92629                   x   x   A7   Customer Deposit    2,616   2,616
Raymond Yu                                     3 Peacock Ln                               Rolling Hills Estates, CA 90274-4224           A7   Customer Deposit   26,526   3,350
REBECCA TWOMEY                                 9340 DOWDY DR.                             SAN DIEGO, CA 92124                            A7   Customer Deposit    7,333   3,350
Regarding Design/Kelly Caruso                  3328 Ambassador Dr                         Palm Springs, CA 92262-0464            x   x   A7   Customer Deposit   19,680   3,350
Reinalyn Cates                                 Webtrans Logistics 2760 E El Presideo St   Carson, CA 90810                               A7   Customer Deposit       59      59
Rever Design Co                                27126 Paseo Espada #1621                   San Juan Capistrano, Ca 92675                  A7   Customer Deposit    3,173   3,173
Richard Dixon                                  78585 Descanso Ln                          La Quinta, CA 92253-2287                       A7   Customer Deposit    5,842   3,350
Richard Truong                                 6612 Blue Heron Dr.                        Huntington Beach, CA 92648                     A7   Customer Deposit   10,066   3,350
Rick Beebe                                     1021 Andreas Palms Dr                      Palm Springs, CA 92264-0240                    A7   Customer Deposit   11,362   3,350
Rick Kwok                                      18925 Brittany Pl                          Rowland Heights, CA 91748-4961                 A7   Customer Deposit   55,960   3,350
Rick Van Zee                                   10036 Park St                              Bellflower, CA 90706-6016                      A7   Customer Deposit   29,543   3,350
Ricky Horriat                                  4 Tattersall                               Laguna Niguel, CA 92677-5301                   A7   Customer Deposit   49,965   3,350
Rishi Gupta                                    154 Terrapin                               Irvine, CA 92618-0854                          A7   Customer Deposit    1,944   1,944
Rob & Rachel Platter                           15 Regatta Way                             Dana Point, CA 92629-4530              x   x   A7   Customer Deposit   47,126   3,350
Robert and Ros Case                            4701 Sunburst Road                         Carlsbad, CA 92008                     x   x   A7   Customer Deposit   35,280   3,350
Robert Bechtloff                               58825 Marbella                             La Quinta, CA 92253                    x   x   A7   Customer Deposit   98,145   3,350
Robert Cowdell                                 13338 Susses Place North                   Tustin, CA 92705                               A7   Customer Deposit   12,685   3,350
Robert Laughlin                                24232 Spartan St                           Mission Viejo, CA 92691-3919                   A7   Customer Deposit    6,823   3,350

Robert Pendleton and Debbie McCLUSKEY          3263 Camino Coronado                       Carlsbad, CA 92009                             A7   Customer Deposit   38,816   3,350
Roberto Pirron                                 PO Box 1236                                Chula Vista, CA 91912-1236                     A7   Customer Deposit    7,722   3,350
Rod Lemaire                                    249 E Twin Palms Dr                        Palm Springs, CA 92264-9034            x   x   A7   Customer Deposit   14,681   3,350
RON & TALI DARMON                              22838 Erwin St                             woodland hills, CA 91367                       A7   Customer Deposit   76,898   3,350
Ron Granger                                    154 Monarch Bay Dr                         Dana Point, CA 92629-3433                      A7   Customer Deposit   52,650   3,350
Ronald Blehm                                   63 La Cerra Dr                             Rancho Mirage, CA 92270-3812                   A7   Customer Deposit    3,430   3,350
Ronda Korzon                                   2525 Anza                                  Palm Springs, CA 92264                 x   x   A7   Customer Deposit   20,000   3,350
Rose Lake Design - West Residence              13960 Rancho Solana Trl                    San Diego, CA 92130-5231               x   x   A7   Customer Deposit   31,164   3,350
Rosemarie Buntrock                             74195 Desert Rose Ln                       Indian Wells, CA 92210-7341                    A7   Customer Deposit   12,164   3,350
Roy Shuman                                     5177 Vista Miguel Dr                       La Canada, CA 91011                            A7   Customer Deposit      296     296
Rozi Lozano                                    7369 Turnford Dr                           San Diego, CA 92119-1431                       A7   Customer Deposit       46      46
RT ABBOTT                                      543 COUNTRY CLUB DR. #205                  SIMI VALLEY, CA 93065                          A7   Customer Deposit   27,315   3,350
Russ and Grace Petrie                          37 Blue Heron                              Irvine, CA 92603-0306                          A7   Customer Deposit   20,392   3,350
RUTHIE &ANDY CHURCHILL                         1079 Devonshire Dr                         San Diego, CA 92107-4039               x   x   A7   Customer Deposit    9,084   3,350
Ryan Newman                                    27102 Calle del Cid                        Mission Viejo, CA 92691-6205           x   x   A7   Customer Deposit    8,340   3,350
Ryan White Designs                             834 9th St Apt C                           Santa Monica, CA 90403-1581                    A7   Customer Deposit    1,712   1,712
Sam Mirejovsky                                 1111 Bayside Drive, Suite 175              Corona del Mar,, CA 92625                      A7   Customer Deposit    1,734   1,734
SAM PRZYWITOWSKI                               1804 CAPISTRANO ST                         SAN DIEGO, CA 92106                    x   x   A7   Customer Deposit   10,499   3,350
Sanford Builders Inc - Main Account            PO Box 2265                                Carlsbad, CA 92018-2265                        A7   Customer Deposit    1,722   1,722
Sara Kishner                                   26431 Dapple Gray Dr                       Laguna Hills, CA 92653                         A7   Customer Deposit      775     775
Save More Inc                                  1805 E Dyer Rd Ste 111                     Santa Ana, CA 92705-5701                       A7   Customer Deposit   21,490   3,350
Scott and Mariella Tenney                      1085 Bluebird Canyon Dr                    Laguna Beach, CA 92651-3001                    A7   Customer Deposit    4,881   3,350
Scott Kelly                                    6973 Corte Lusso                           Rancho Santa Fe, CA 92091-0201         x   x   A7   Customer Deposit    3,847   3,350
SCOTT WOODLAND CONSTRUCTION                    1112 SAGA ST                               GLENDORA, CA 91741                             A7   Customer Deposit      123     123
Sean & Amy Fallmer                             PO Box 1855                                Rancho Santa Fe, CA 92067-1855                 A7   Customer Deposit   55,345   3,350
Sean Booth                                     55845 Encino Road                          Idlewyld, Ca 92549                     x   x   A7   Customer Deposit    7,370   3,350
Sean O'Keefe                                   3104 Montana Del Sol                       San Clemente, CA 92673                         A7   Customer Deposit    3,944   3,350
Seapointe Construction                         576 Wald Street                            Irvine, CA 92618                               A7   Customer Deposit    6,101   3,350
Seely Carolyn                                  5851 Midway Dr                             Huntington Beach, CA 92648-1023                A7   Customer Deposit    1,148   1,148

Sehwani International Distributors, Inc.       1456 E Valencia Dr                         Fullerton, CA 92831-4733                       A7   Customer Deposit   13,249   3,350
Seven Seas Construction Services Inc.          6900 Canby Ave #102                        Reseda, CA 91335                               A7   Customer Deposit      188     188
Shanen Foye                                    6321 Dogwood Dr                            Huntington Beach, CA 92648-6706        x   x   A7   Customer Deposit      851     851
Shannon Hamblin                                71922 Desert Dr.                           Rancho Mirage, CA 92270                        A7   Customer Deposit    2,342   2,342
Sharon Dubovoy                                 6623 Caminito Lindrick                     San Diego, CA 92037                            A7   Customer Deposit    1,648   1,648
Sharon Fujihara                                28091 Tefir                                Mission Viejo, CA 92692-1324                   A7   Customer Deposit      292     292
Shaun Michael                                  68 Sierra Madre Way                        Rancho Mirage, CA 92270-3933                   A7   Customer Deposit    4,591   3,350
Shawn Anton                                    24501 Jenny Ln                             Murrieta, CA 92562-9406                        A7   Customer Deposit    3,687   3,350
Shayan Payind Paloma Ruiz                      4801 AZUCENA RD                            Woodland Hills, CA 91364               x   x   A7   Customer Deposit    5,310   3,350
SHELLI COTRISS                                 6110 Omega St                              Riverside, CA 92506-4748                       A7   Customer Deposit    4,072   3,350
Shelly Blauer                                  48320 Via Solana                           La Quinta, CA 92253-2281                       A7   Customer Deposit    1,405   1,405
Sheri Myricks                                  22 Sierra Vis                              Laguna Niguel, CA 92677-7952                   A7   Customer Deposit      200     200
Sheri Sargenti                                 17117 San Antonio Rose Ct                  San Diego, ca 92127                            A7   Customer Deposit    2,244   2,244
Shirley and John Kharsa                        3139 San Souci drive                       Escondido, CA 92029                    x   x   A7   Customer Deposit   18,678   3,350
Shirley Bruner                                 81445 Carboneras                           La Quinta, CA 92253-8218                       A7   Customer Deposit      179     179
Shruti Patel                                   201 Frame                                  Irvine, CA 92618-1374                  x   x   A7   Customer Deposit   10,828   3,350
Shutong Yang                                   8248 Rose Quartz Circle                    San Diego, Ca 92126                            A7   Customer Deposit    1,326   1,326
Silver Sparrow Development - Wickham
Residence                                      PO Box 620267                              San Diego, CA 92162                    x   x   A7   Customer Deposit   90,397   3,350
Squarefoot Interior Design                     654 W 18th St                              Costa Mesa, CA 92627-5074                      A7   Customer Deposit    4,609   3,350
STACEY McKAY                                   4803 Snowden Ave                           Lakewood, CA 90713-2407                        A7   Customer Deposit    2,315   2,315
Staci Tankersley                               4316 Sierra Vis                            San Diego, CA 92103-1253                       A7   Customer Deposit   69,472   3,350

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                    Case 24-01376-CL7
                         24-01376-CL7 Filed
                                      Filed 06/17/24
                                            05/03/24 Entered
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Stacy Carmody                             14 Terrastar Ln
                                                      Ladera Ranch, CA 92694-0729         A7   Customer Deposit       776                                   776
STEPHANIE BALL                            15544 Belcanto Dr 162
                                                            101
                                                      Los Angeles, CA 90077-1834          A7   Customer Deposit    20,816                                 3,350
Stephanie Plotnik                         5312 Ruette de Mer                San Diego, CA 92130-2870                     A7   Customer Deposit   11,313   3,350
Steve Broadhead                           3 Redondo                         Laguna Niguel, CA 92677                      A7   Customer Deposit      956     956
Steve Fusco                               225 W Stevens Rd                  Palm Springs, CA 92262-4219                  A7   Customer Deposit    5,795   3,350
Steve Hunt                                106 Via Malaga                    San Clemente, CA 92673-6704                  A7   Customer Deposit      112     112
Steve Ram                                 2972 Jacaranda Ave                Costa Mesa, CA 92626-3740            x   x   A7   Customer Deposit   46,815   3,350
Steve Tesler                              2354 S Caliente Dr                Palm Springs, CA 92264-9458                  A7   Customer Deposit    8,019   3,350
Steve Williams                            26651 Buckingham Dr               San Juan Capistrano, CA 92675-1421           A7   Customer Deposit      408     408
Steven Lombardi                           456 Desert Falls Drive N          Palm Desert, CA 92211                x   x   A7   Customer Deposit    1,048   1,048
STEVEN MOSER CONSTRUCTION                 2426 Jefferson St                 Carlsbad, CA 92008-1410                      A7   Customer Deposit    2,632   2,632
STUNNINGLY STAGED HOMES                   25751 Hood Way                    Stevenson Ranch, CA 91381-1400       x   x   A7   Customer Deposit   15,195   3,350
Sujit Nair                                12579 Salmon River Rd             San Diego, CA 92129                          A7   Customer Deposit    4,024   3,350
Susan Lam                                 5319 Foxhound Way                 San Diego, CA 92130-6939                     A7   Customer Deposit      500     500
Susan Sharpe                              828 Cordova St                    San Diego, CA 92107-4222                     A7   Customer Deposit   28,413   3,350
Susie Campise                             210 E Ave                         Coronado, CA 92118-1323                      A7   Customer Deposit   52,487   3,350
SUZANNE WOODS                             106 CORAL AVE                     BALBOA ISLAND, CA 92662                      A7   Customer Deposit    1,280   1,280
Tammi & Kurt Belcher                      1957 Port Dunleigh Cir            Newport Beach, CA 92660-6631                 A7   Customer Deposit   25,099   3,350
Tammy Poundris                            6236 E Cliffway Dr                Orange, CA 92869                             A7   Customer Deposit    5,333   3,350
Tank G Enterprises, LLC                   43 Ambroise                       Newport Coast, CA 92657-0120                 A7   Customer Deposit      850     850
Taylored Interiors                        80295 Via Valerosa                La Quinta, CA 92253-9004             x   x   A7   Customer Deposit      324     324
Tech Center Equities 1, LLC               16787 Beach Blvd #308             Huntington Beach, CA 92647                   A7   Customer Deposit   22,277   3,350
Teri Nance                                19291 Split Rock Rd               Ramona, CA 92065-7402                        A7   Customer Deposit      147     147
Terra Firma building and remodeling       2350 Territorial Rd               Saint Paul, MN 55114-1602                    A7   Customer Deposit   15,433   3,350
Terri Brien Interiors                     1911 S El Camino Real Ste B       San Clemente, CA 92672-3281          x   x   A7   Customer Deposit   48,305   3,350
Terry & Suzanne McCardle                  30671 HUNT CLUB DR                San Juan Capistrano, CA 92675                A7   Customer Deposit    2,304   2,304
The Gordon and Dona Crawford Trust UDT 8-
23-77 as amended                          520 Georgian Rd                   La Canada, CA 91011-3546                     A7   Customer Deposit    6,695   3,350
The Ladera Group                          24910 Las Brisas Rd Ste 112       Murrieta, CA 92562                           A7   Customer Deposit      470     470
Thomas osborne                            16220 daza dr                     Romona, CA 92065                             A7   Customer Deposit      681     681
Tiffany Linney                            4545 La Jolla Village Dr Ste E1   San Diego, CA 92122-1672                     A7   Customer Deposit   20,652   3,350
Tiffany Mahoney                           PO Box 5000 PMB 329               Rancho Santa Fe, CA 92067-5000               A7   Customer Deposit    1,021   1,021
Tiger Veil, LLC                           2315 Presidio Dr                  San Diego, CA 92103                  x   x   A7   Customer Deposit      194     194
TIM CLARKE DESIGN                         2630 PICO BLVD                    SANTA MONICA, CA 90405                       A7   Customer Deposit    4,817   3,350
Tim Lynch                                 6548 Ashbury Cir                  Huntington Beach, CA 92648-6635              A7   Customer Deposit    3,264   3,264
Tobi Coate                                7017 Via Mariposa Sur             Bonsall, CA 92003-5622                       A7   Customer Deposit    2,567   2,567
Tom & Phil Inc                            615 S Willowspring Dr             Encinitas, CA 92024-4136             x   x   A7   Customer Deposit      522     522
Tom Flynn                                 1205 Tamarisk West St             Rancho Mirage, CA 92270-2534         x   x   A7   Customer Deposit   14,702   3,350
Tom Gravalos                              1017 Clipper Ct                   Del Mar, CA 92014-3924                       A7   Customer Deposit   13,574   3,350
tom kelly                                 381 N. Willowspring Drive         Enci, CA 92024                       x   x   A7   Customer Deposit    1,744   1,744
Tony & Diana Berbiglia                    19011 Stonehurst Ln               Huntington Beach, CA 92648-6123              A7   Customer Deposit    7,903   3,350
Tony Vinciguerra                          145 W Escalones                   San Clemente, CA 92672-4607                  A7   Customer Deposit       77      77
TRACY BERMAN INTERIORS                    7464 Altiva Pl                    Carlsbad, CA 92009-6413                      A7   Customer Deposit    1,008   1,008
Trevor Walker                             1116 Berkeley Dr                  Marina Del Rey, CA 90292                     A7   Customer Deposit       82      82
Trina Gilding                             1236 Stratford Ct                 Del Mar, CA 92014-2326                       A7   Customer Deposit      215     215
Trish Crowe                               3255 Circa de Tierra              Encinitas, CA 92024-6908                     A7   Customer Deposit   18,616   3,350
Tru.Studio                                2 Villeneuve                      Newport Coast, CA 92657                      A7   Customer Deposit      379     379
Tsangse Lhamo                             5807 Lago Lindo                   Rancho Santa Fe, Ca 92067                    A7   Customer Deposit    5,370   3,350
TUBA UGURLU                               48 Morning Glory                  Lake Forest, CA 92630                x   x   A7   Customer Deposit   62,934   3,350
Tyann Rawlings                            52940 Del Gato Dr                 La Quinta, Ca 92253                          A7   Customer Deposit    1,519   1,519
Vazrik Hariapian                          12331 Foothill Blvd               Sylmar, CA 91342-6003                        A7   Customer Deposit    2,355   2,355
Vivid Interior Design                     49 San Marino                     Rancho Mirage, CA 92270              x   x   A7   Customer Deposit    4,459   3,350
Vollgraff                                 4592 Rancho del Mar Trl           San Diego, CA 92130-5207                     A7   Customer Deposit    3,733   3,350
Waldo's Designs                           620 N Almont Dr                   Los Angeles, CA 90069-5608                   A7   Customer Deposit   57,598   3,350
Walter Quinteros                          44600 Indian Wells Ln             Indian Wells, CA 92210-8707                  A7   Customer Deposit    9,671   3,350
Wayne Prim                                1555 Pinecone Cir                 Incline Village, NV 89451-9345               A7   Customer Deposit      365     365
Wendy Song                                67 Via Armilla                    San Clemente, CA 92673-7204                  A7   Customer Deposit   11,816   3,350
West Coast General Building Contractors
Inc                                       3781 La Cresta Dr                 San Diego, CA 92107-2717                     A7   Customer Deposit       50      50
WHIT.                                     4512 GEORGIA ST #5                SAN DIEGO, CA 92116                          A7   Customer Deposit    1,276   1,276
Will & Cara Stephenson                    7698 Lake Adlon Drive             San Diego, CA 92119                          A7   Customer Deposit    6,442   3,350
Will & Fotsch Architects                  1298 Prospect St                  La Jolla, CA 92037-3632              x   x   A7   Customer Deposit   30,195   3,350
Will Cenci                                9960 Indiana Ave Ste 5            Riverside, CA 92503-5457                     A7   Customer Deposit    2,756   2,756
Willhoit Builder                          16392 Gothard St Ste I Suite I    Huntington Beach, CA 92647-3646              A7   Customer Deposit    2,120   2,120
william buh                               3484 north mountain view drive    san diego, CA 92116                          A7   Customer Deposit      872     872
William Pugh                              31851 Via Oso                     Coto De Caza, CA 92679                       A7   Customer Deposit    3,386   3,350
YAF DEVELOPMENT                           3415 Wonder View Dr               Los Angeles, CA 90068-1535                   A7   Customer Deposit   39,178   3,350
Yan Miao                                  5 Vista Cielo                     Dana Point, CA 92629-4087                    A7   Customer Deposit    3,328   3,328
Ye Zheng                                  11357 Fairwind Ct                 San Diego, CA 92130-8640                     A7   Customer Deposit    3,124   3,124
Yezabel & Carlos Labrada                  2674 Geiger Creek Ct              Chula Vista, CA 91915-1609           x   x   A7   Customer Deposit    3,397   3,350
Young SIl Kang                            470 Starlight Crest Dr            La Canada, CA 91011-2853                     A7   Customer Deposit      179     179
Youngren Construction                     220 Ohearn Road                   Fallbrook, CA 92028                          A7   Customer Deposit   15,111   3,350
Yvonne Design Studio                      2335 Mesa Drive                   Newport Beach, CA 92660                      A7   Customer Deposit    1,701   1,701
Zhu, Michelle                             12 Whitesand Drive                Newport Coast, CA 92657                      A7   Customer Deposit       61      61
Zoe Glover                                895 Pearl Dr                      San Marcos, CA 92078-2841                    A7   Customer Deposit    1,579   1,579
Zoe Prosky                                30 GONDOLIERS BLUFF               NEWPORT COAST, CA 92657              x   x   A7   Customer Deposit   25,000   3,350
Alfredo Designs LLC                       5716 Over Downs Dr                Dallas, TX 75230                             A7   Customer Deposit        7       7
An Strelow                                70 Hillcrest Ln                   Newport Beach, CA 92660                      A7   Customer Deposit       36      36
Angela Ashmore                            607 River Rd                      Austin, TX 78734                             A7   Customer Deposit      181     181
Aparna Sule                               1635 Carla Rdg                    Beverly Hills, CA 90210                      A7   Customer Deposit      208     208
Bernard Buchanan                          1475 Riviera Dr                   Pasadena, CA 91107                           A7   Customer Deposit      193     193
Britannia Interiors                       70170 LaPaz Rd                    Rancho Mirage, CA 92270                      A7   Customer Deposit       68      68
Carol Ginsburg                            10891 Custer Trail                Frisco, TX 75035                             A7   Customer Deposit       65      65
Carol Hagan                               4241 Park Lane                    Dallas, TX 75220                             A7   Customer Deposit      154     154
CHARLES GUIDRY                            25019 Red Oak St                  Decker Prairie, TX 77355-8615                A7   Customer Deposit       25      25
Cindy Shughrue                            8220 Walnut Hill Ln Ste 516       Dallas, TX 75231-4433                        A7   Customer Deposit      321     321
David and Rebecca Brusilow                34 Abbey Creek Way                Dallas, TX 75248-7908                        A7   Customer Deposit       60      60
David Weiner                              5 Laureston Pl                    Dallas, TX 75225-1830                        A7   Customer Deposit      477     477
Deirdre Doherty Interiors                 225 N Beachwood Dr                Burbank, CA 91506-2134               x   x   A7   Customer Deposit       56      56
Devon Coleman                             1949 Harmony Way                  Vista, CA 92081-7035                         A7   Customer Deposit       27      27
Diego Gutierrez                           1980 Post Oak Blvd Ste 1500       Houston, TX 77056-3845                       A7   Customer Deposit      961     961
Dinorah Santos                            62 Westcourt Ln                   San Antonio, TX 78257-1372                   A7   Customer Deposit      435     435
DOROTHEE CLAUDE INTERIORS                 1720 Aspenglow Dr                 Encinitas, CA 92024-1951             x   x   A7   Customer Deposit    2,046   2,046
Drew Girton                               121 Santa Maria St                Georgetown, TX 78628-7081                    A7   Customer Deposit      375     375
Eduardo Longoria                          1508 Norris Dr                    Austin, TX 78704-2021                        A7   Customer Deposit       32      32
Eduardo Murra                             300 Revere St Ste C               El Paso, TX 79905-1602                       A7   Customer Deposit       22      22

                                                                                                                                  Exhibit 2, Page 107
                    Case
                    Case 24-01376-CL7
                         24-01376-CL7 Filed   Filed 06/17/24
                                                    05/03/24 Entered
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Ernie Tarut                  621 San Elijo St                 San Diego, CA 92106-3413           A7   Customer Deposit     1,190                                    1,190
Eucharia Okereke             5130 Magnolia Ln                       162
                                                                    101
                                                              Sachse, TX 75048-4729              A7   Customer Deposit        80                                       80
Fields Custom Homes                      11613 Mansfield Dr                           Frisco, TX 75035-6442                   A7   Customer Deposit          2          2
Frank Santos                             2 Links Grn                                  San Antonio, TX 78257-2601              A7   Customer Deposit        997        997
George Dennis                            302 11th street                              Manhattan Beach, CA 90266               A7   Customer Deposit        108        108
Gertrude Eljindi                         7106 Dye Dr                                  Dallas, TX 75248-1507                   A7   Customer Deposit        944        944
Holly Duncan                             4003 Glenridge Rd                            Dallas, TX 75220-6307                   A7   Customer Deposit      1,971      1,971
Jack & Carroll Maxon                     4820 Olmos St                                El Paso, TX 79922-1730                  A7   Customer Deposit        427        427
Jay Stern                                1301 Olde North Pl                           Edmond, OK 73034-4943                   A7   Customer Deposit         29         29
Joe & Monica & Monica Quintana           805 Rosinante Rd                             El Paso, TX 79922-2915                  A7   Customer Deposit        218        218
John Brodersen                           31881 Circle Dr                              Laguna Beach, CA 92651                  A7   Customer Deposit         18         18
JONN MAXWELL                             77 Santa Barbara Dr                          Aliso Viejo, CA 92656-1622              A7   Customer Deposit         10         10
Kathleen Dipaolo                         2516 Vista Dr                                Newport Beach, CA 92663-5632            A7   Customer Deposit        227        227
Kim and Chris Bordano                    6148 Prestondell Pl                          Dallas, TX 75240-3406                   A7   Customer Deposit         26         26
Kristan Snell                            800 Sam Davis Rd                             Argyle, TX 76226-4701                   A7   Customer Deposit        344        344
Lara Smith                               3628 Shenandoah St                           Dallas, TX 75205-2119                   A7   Customer Deposit      4,752      3,350
Lisa and David Wehrly                    6014 Swiss Ave                               Dallas, TX 75214-4322                   A7   Customer Deposit      3,327      3,327
Mandy, Maister                           34 Montgomery                                Newport Beach, CA 92660-9109            A7   Customer Deposit         32         32
Molly & Mark Caudle                      227 E Franklin St                            Hillsboro, TX 76645-2109                A7   Customer Deposit          5          5
Nixon Custom Homes                       5930 Royal Ln Ste E202                       Dallas, TX 75230                        A7   Customer Deposit          3          3
Paul & Teresa Spiegelman                 630 Diamond St                               Laguna Beach, CA 92651-3406             A7   Customer Deposit        479        479
Peter Oppold                             8620 Crosswind Dr                            Fort Worth, TX 76179-3011               A7   Customer Deposit         31         31
Pickard Design Studio                    3309 Elm Street Studio 3E1                   DALLAS, TX 75226                        A7   Customer Deposit         30         30
PIRINO INTERIORS                         5531 Porter Creek Rd                         SAN DIEGO, CA 92130                     A7   Customer Deposit        457        457
Poppy Designs - Prani Suri               4208 Mark Twain Blvd                         Flower Mound, TX 75022                  A7   Customer Deposit         52         52
Rene Sweeney                             1920 Glendon Ave #3                          Los Angeles, CA 90025                   A7   Customer Deposit         51         51
Robert Davignon                          1153 N Canterbury Ct                         Dallas, TX 75208-2741                   A7   Customer Deposit        148        148
Robin & Lisa Interiors                   3430 Via Lido Suite 150                      Newport Beach, CA 92663                 A7   Customer Deposit        324        324
Stacey & Gerry Ridgely                   5575 N 40 Pl                                 Dallas, TX 75252-4909                   A7   Customer Deposit          7          7
STRANDEMO & ASSOCIATES                   2568 State St                                Carlsbad, CA 92008-1623                 A7   Customer Deposit         50         50
Stuart Schwartz                          1025 Singing Hills                           El Paso, TX 79912                       A7   Customer Deposit         27         27
Tiffany Heon                             3030 State St                                San Diego, CA 92103-6030                A7   Customer Deposit         52         52
Todd Smith                               2012 Cueva de Oro Cv                         Austin, TX 78746-7728                   A7   Customer Deposit         28         28
Travis Brown                             760 Livingston Dr                            Allen, TX 75002-5254                    A7   Customer Deposit         17         17
Vikram Birring                           515 Tristar Dr                               Webster, TX 77598-1538                  A7   Customer Deposit         82         82
Villani, Inc.                            220 Newport Center Dr., #11-578              Newport Beach, CA 92660                 A7   Customer Deposit         35         35
Von Der Ahe Interiors Inc.               1720 Fairmount Ave                           La Canada, CA 91011-1631                A7   Customer Deposit         67         67
Zachary Custom Homes                     1697 Deer Path                               Flower Mound, TX 75022                  A7   Customer Deposit        423        423
Carlos Aceves                            48170 Hjorth St. #28                         Indio, CA 92201                         A7   Customer Deposit      2,011      2,011
Jantz Construction                       4425 Cass Street, Suite I                    San Diego, CA 92109                     A7   Customer Deposit        239        239
Kevin & Julie Lynch                      1001 Avenida Amantea                         LA JOLLA, CA 92037-7702                 A7   Customer Deposit      1,082      1,082
Clune Construction                       750 B Street 29th Floor                      San Diego, CA 92101                     A7   Customer Deposit         31         31
Danny Alsaffar                           20400 Ruston Rd                              Woodland Hills, CA 91364                A7   Customer Deposit      1,500      1,500
Brianna Bieber                           1950 Wilton Place                            Los Angeles, CA 90068                   A7   Customer Deposit        626        626
Theresa & Rich Mchugh                    4809 Seashore Dr                             Newport Beach, CA 92663-2423            A7   Customer Deposit      5,531      3,350
Shelley Murphy                           514 E Chalynn Cir.                           Orange, CA 92866-2726                   A7   Customer Deposit      2,984      2,984
Reflections Interiors and Design         35 Orange Blossom Cir.                       Ladera Ranch, CA 92694                  A7   Customer Deposit        400        400
DCARSON CONSTRUCTION INC                 7915 Silverton ave #305                      San Diego, CA 92126                     A7   Customer Deposit      7,768      3,350
EXPRESS TRADING INTERNATIONAL            17722 CALLE MAYOR                            RANCHO SANTA FE, CA 92067       x   x   A7   Customer Deposit    126,843      3,350
Elba Mendoza                             2195 Britannia Blvd Ste 105                  SAN DIEGO, CA 92154                     A7   Customer Deposit        295        295
Taylor Cai                               121 Starcrest                                Irvine, CA 92603                        A7   Customer Deposit      4,201      3,350
JENNIFER MALARET                         2410 Westridge Rd                            Los Angeles, CA 90049-1231              A7   Customer Deposit     72,270      3,350
David Taylor Development                 2371 Buena Vista Cir                         Carlsbad, CA 92008              x   x   A7   Customer Deposit     46,130      3,350
Karen Cohen                              37 Via Bella                                 Rancho Mirage, CA 92270                 A7   Customer Deposit       67.03        67
Sage Home Design                         PO Box 8996                                  Rancho Santa Fe, CA 92067               A7   Customer Deposit    22288.31     3,350
Matt Bao                             10443 Mapledale St                               Bellflower, CA 90706                    A7   Customer Deposit    64814.56     3,350
Jodi Visser                          22901 Via Orvieto                                Dana Point, CA 92629                    A7   Customer Deposit      2300.8     2,301
Rimmer Construction                  2611 S. Coast Highway, suite 101                 Cardiff, CA 92007                       A7   Customer Deposit     7329.68     3,350
Raul Pantoja                         1500 Shawowridge Dr. #183                        Vista, CA 92081                         A4   Payroll              1238.37     1,238
Elizabeth Greenberg                  715 Williams Dr., Unit C                         Huntington Beach, CA 92648              A4   Payroll              2268.22     2,268
Natalie Thornton                     1830 Broadway St.                                Oceanside, CA 92054                     A4   Payroll               916.37       916
Araceli Ortega                       28188 Moulton Parkway, Apt. 2813                 Laguna Niguel, CA 92677                 A4   Payroll              1081.43     1,081
Jennifer Salazer                     222 Greenbrier Dr                                Oceanside, CA 92054                     A4   Payroll               829.56       830
Jillian Rosten                       21551 Brookhurst St, 131                         Huntington Beach, CA 92646              A4   Payroll               291.88       292
Xochilt Rodriguez                    31261 Calle San Juan                             San Juan Capistrano, CA 92675           A4   Payroll              1105.42     1,105
Anna-Laura Collison                  3562 W Stonepine Ln. F                           Anaheim, CA 92804                       A4   Payroll                75.98        76
Emily E. Svidal                      1560 Olive Hills Ave                             El Cajon, CA 92021                      A4   Payroll              1395.16     1,395
Racquel E. Fox                       4135 Baycliff Way                                Oceanside, CA 92056                     A4   Payroll               922.94       923
Gabriela Rozsa                       4149 1/2 Brunswick Ave.                          Los Angeles, CA 90039                   A4   Payroll               735.18       735
John Haggerty                        21622 Marguerite Parkway                         Mission Viejo, CA 92692                 A4   Payroll               779.21       779
Ferdinand Dietvorst                  2205 Leon Dietvorst                              San Diego, CA 92154                     A4   Payroll               449.57       450
Brittany Y. Murray                   865 Pepper Dr                                    El Cajon, CA 92021                      A4   Payroll               618.08       618
Alejandro Coronel                    1630 Adams Ave, Unit 83                          El Centro, CA 92243                     A4   Payroll               584.77       585
Carlos A. Avila                      2530 Bear Valley Pkwy, Apt. 10, Apt 108          Escondido, CA 92025                     A4   Payroll              1005.67     1,006
Daniel Jaime Sr.                     4176 Terry St.                                   Oceanside, CA 92056                     A4   Payroll               698.67       699
Amalia R. Sustaita                   1241 N East Street, Apt #69                      Anaheim, CA 92805                       A4   Payroll              1930.22     1,930
Aurelio Castro                       800 E Bobier Dr., Apt P 8                        Vista, CA 92084                         A4   Payroll                27.36        27
Christian Ortiz                      13251 Nelson St. Apt 5                           Garden Grove, CA 92843                  A4   Payroll                19.29        19
Gregory R. Sanchez                   524 Northpark Blvd                               San Bernardino, CA 92407                A4   Payroll              3510.74     3,511
Rogelio D. Hernandez                 545 kleaveland pl                                Vista, CA 92084                         A4   Payroll               355.79       356
Cristian Coria                       921 Merlin Ct.                                   San Marcos, CA 92069                    A4   Payroll                65.97        66
Blue Cross of California             PO BOX 511300                                    LOS ANGELES, CA 90051-7855              A5   Benefits            244,844    244,844
Sun Life Financial                   811 Main St. 7th floor, KC WLBS, PO box 807009   Kansas City, MO 64105                   A5   Benefits             23,554     23,554
CALIFORNIA DEPARTMENT OF TAX AND FEE
ADMINISTRATION                       15015 AVE OF SCIENCE, STE 200                    SAN DIEGO, CA 92128                     A8   Sales tax          1,620,241

State of Nevada Department of Taxation   700 E. Warm Springs Rd. 2nd Floor            Las Vegas, NV 89119                     A8   Sales tax            152,359   152,359
Utah State Tax Commission                210 North 1950 West                          Salt Lake City, UT 84134                A8   Sales tax             50,548
Florida Department of Revenue            5050 W Tennessee St                          Tallahassee, FL 32399-0100              A8   Sales tax          20,226.21




                                                                                                                                       Exhibit 2, Page 108
Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 06/17/24
                        05/03/24 Entered
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                                         05/03/24 18:14:54
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                                                           Doc 273
                                                               48-1 Pg.
                                                                     Pg.109
                                                                         90 of
                                                                            of
                                    162
                                    101




                 ATTACHMENT F

                                                                Exhibit 2, Page 109
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                                                   Case 24-01376-CL7
                                                        24-01376-CL7 Filed
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                                                                                                                                Pg.110
                                                                                                                                    91 of
                                                                                                                                       of
                                                                                    Schedule E/F Part 2
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Priority creditor's Name                                       Address line 1                               Address line 2                   C   U       D     Basis       Total Claim
American Express Travel Related Services Company, Inc.         200 Vesey Stree                              New York, NY 10285-3106          x   x       x     CC Processor 30,000,000
Worldpay, LLC                                                  8500 Governors Hill Dr                       Symmes Twp, OH 45249-1384        x   x       x     CC Processor 5,536,021
TOTO USA, INC.                                                 1155 Southern Road                           Morrow, GA 30260                                   Trade Vendor      753,696
VALLEY FAIR UTC LLC                                            2049 Centry Park East 41st FL                LOS ANGELES, CA 90067                              Opex vendor       747,324
GGP/HOMART II LLC                                              Glendale 1 Mall Asscociates                  Minneapolis, MN 55486                              Opex vendor       667,250
Decorative Plumbing Distributors                               41841 Albrae Street                          Freemont, CA 94538                                 Trade Vendor      630,777
California Faucets Inc                                         5271 Argosy Avenue                           Huntington Beach, CA 92649                         Trade Vendor      606,416
Kohler Co                                                      91283 Collections Center Dr                  Chicago, IL 60693-0912                             Trade Vendor      567,345
MIDDLEBY RESIDENTIAL                                           4960 Golden PKWY, BLDG 3A                    Buford, GA 30518                 x   x             Trade Vendor      534,172
Miele                                                          9 Independence Way                           Princenton, NJ 08540                               Trade Vendor      529,833
VetaTek LLC                                                    1533 Martingale Ct                           Carlsbad, CA 92011                                 Opex vendor       486,943
HARTE HANKS INC                                                PO Box 679164                                Dallas, TX 75267-9164                              Opex vendor       369,216
General Electric Company                                       PO Box 743574                                Los Angeles, CA 90074-3574                         Trade Vendor      344,853
Penske Truck Leasing Co, LP                                    2675 MORGANTOWN RD, PO Box 1321              READING, PA 19603                                  Opex vendor       340,891
EASTGROUP PROPERTIES IINC                                      400 W PARKWAY PL STE 100                     RIDGELAND, MS 39157-6005                           Opex vendor       284,289
The Galley, LLC                                                12626 S. Memorial Dr                         Bixby , OK 74008                                   Opex vendor       264,294
CenterPoint Properties Trust                                   1808 Swift Drive                             OakBrook, IL 60523                                 Opex vendor       261,235
Blue Hat LLC                                                   6965 El Camino Real #105-621                 Carlsbad, Ca 92009-4100                            Opex vendor       259,874
Kalamazoo Outdoor Gourmet LLC                                  810 W Washington Blvd                        Chicago, IL 60607-2302                             Trade Vendor      252,213
Phylrich                                                       1261 Logan Ave                               Costa Mesa, CA 92626-4004                          Trade Vendor      226,841
Hydro Systems Inc                                              29132 Avenue Paine                           Valencia, CA 91355-5402                            Trade Vendor      226,136
Gessi North America Inc                                        704 North Valley St Ste E                    Anaheim, CA 92801-3826                             Trade Vendor      225,079
CRC SOCO COINVEST LLC                                          1427 Clarkview Road, Suite 500               Baltimore, MD 21209                                Opex vendor       224,390
Zephyr                                                         9324 Paysphere Circle                        Chicago, IL 60674                                  Trade Vendor      205,604
Rohl LLC                                                       PO BOX 746939                                CHICAGO, IL 60677-6939                             Trade Vendor      198,351
Brasstech, Inc.                                                2001 E. Carnegie Ave                         Santa Ana, CA 92705                                Trade Vendor      196,341
CSHV Santa Fe Corporate Center LLC                             515 South Flower St #3100                    Los Angeles, CA 90071-2233                         Opex vendor       179,764
Waterworks                                                     60 Backus Ave                                Danbury, CT 06810-7329                             Trade Vendor      176,367
BUILDGREEN CA INC                                              268 S SUTTER AVE                             SAN BERNARDINO, CA 92410                           Opex vendor       173,500
HORWITZ & HORWITZ, LLC                                         10523 ASHTON AVE #302                        LOS ANGELES, CA 90024                              Opex vendor       173,050
Soto & Washington Industrial Development                       13191 CROSSROADS PARKWAY NORTH 6TH FLOOR     CITY OF INDUSTRY, CA 91746                         Opex vendor       172,257
BTPROP1 LLC                                                    1100 Newport Center Drive Ste 200            Newport Beach, CA 92660                            Opex vendor       187,961
Samuel Heath & Son                                             139 East 35th St #2J                         New York, NY 10016-4104                            Trade Vendor      143,777
Water Inc                                                      704 Kingshill Pl                             Carson, CA 90746-1219                              Trade Vendor      137,740
Evo Inc                                                        20560 SW 115th Ave                           Tualatin, OR 97062-0000                            Trade Vendor      130,435
LAGUNA DESIGN DUNHILL INVESTORS LLC                            3100 Monticello Ave Ste 300                  Dallas, TX 75205                                   Opex vendor       128,377
Bain Ultra                                                     956 Chemin Olivier                           Levis, Quebec, Canada G7A 2N1                      Trade Vendor      122,910
Watermark Designs                                              350 Dewitt Ave                               Brooklyn, NY 11207-6618                            Trade Vendor      119,689
FIRST INDUSTRIAL, LP                                           PO BOX 31001-1927                            PASADENA, CA 91110-1927                            Opex vendor       118,533
Total Warehouse Inc                                            2895 E Miraloma Ave                          Anaheim, CA 92806                                  Opex vendor       118,061
TRUE MANUFACTURING CO INC                                      DEPARTMENT 547214 PO BOX 790100              ST. LOUIS, MO 63179-0100                           Trade Vendor      117,146
Kallista                                                       Po Box 99020                                 Chicago, IL 60693-9020                             Trade Vendor      116,222
Mountain Plumbing Products                                     Po Box 63008                                 Irving, TX 75063-3008                              Trade Vendor      112,141
HANSGROHE, INC.                                                1490 BLUEGRASS LAKES PKWY                    ALPHARETTA, GA 30004-7710                          Trade Vendor      111,565
R&B Wholesale Distributors Inc                                 2350 S Milliken Ave                          Ontario, CA 91761-2332                             Trade Vendor      110,525
ARAN WORLD USA, LLC                                            6765 Mallee Street                           Carlsbad, CA 92011                                 Opex vendor       108,719
Julien Inc                                                     955 Rue Lachance St                          Quebec G1P 2H3, Canada                             Trade Vendor      108,259
Modern-Aire Ventilation                                        7319 Lankershim Blvd                         North Hollywood, CA 91605-3847                     Trade Vendor      103,525
Packaging Solutions FTI, Inc.                                  550 Fesler St                                El Cajon, CA 92020                                 Opex vendor       102,210
Delta Faucet Co                                                DEPT 78702 PO BOX 78000                      DETROIT, MI 48278-0702                             Trade Vendor      102,163
CARLOS ORTEGA                                                  1015 S HARLAN AVE                            COMPTON, CA 90220-4215                             Opex vendor        94,284
ORCONES TRUCKING INC.                                          7342 DISNDALE ST                             DOWNEY, CA 90240-3602                              Opex vendor        92,000
Arbon Equipment Corp                                           25464 NETWORK PL                             CHICAGO, IL 60673-1254                             Opex vendor        81,652
Hirsch Pipe & Supply                                           Po Box 749441                                Los Angeles, CA 90074-9441                         Trade Vendor       80,687
DORNBRACHT AMERICA                                             PO BOX 1041                                  New York, NY 10268-1041                            Trade Vendor       80,612
Architectural Systems, Inc.                                    5256 S. Mission Road, Suite 201              Bonsall, CA 92003                                  Opex vendor        79,209
The Travelers Indemnity Company of Connecticut                 385 Washington Street                        Saint Paul , MN 55102                              Opex vendor        76,157
Infinity Drain                                                 145 Dixon Ave                                Amityville, NY 11701-2860                          Trade Vendor       73,800
WHIRLPOOL                                                      Po Box 88129                                 Chicago, IL 60695-1129                             Trade Vendor       73,766

                                                                                                                                                     Exhibit 2, Page 110
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                                                 Case 24-01376-CL7
                                                      24-01376-CL7 Filed    Filed 06/17/24
                                                                                  05/03/24 Entered
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                                                                                                                                   48-1 Pg.
                                                                                                                                         Pg.111
                                                                                                                                             92 of
                                                                                                                                                of
P&D Ventures Inc. dba JanPro                                 PO BOX 12433                                     Pleasanton, CA 94588                                                              Opex vendor    73,752
RingCentral, Inc                                             20 Davis Drive
                                                                                              162
                                                                                              101             Belmont, CA 94002                                                                 Opex vendor    71,634
KITCHEN INTERIOR DESIGN LLC                                    950 W TRENTON AVE #13 KitchenInteriorDesignLLCd/b/aSieMaticMöbelwerkeUSA 0   MORRISVILLE, PA 19067                               Opex vendor    67,613
Blanco America Inc                                             PO BOX 536047                                                                Pittsburgh, PA 15253-5902                           Trade Vendor   67,596
Euro-Stile Inc                                                 34624 Campus Way                                                             Yucaipa, CA 92399                                   Opex vendor    67,000
Forward Air Inc                                                1915 Snapps Ferry Road Bldg N                                                Greeneville, TN 37743                               Opex vendor    65,949
Crown Castle                                                   1220 Augusta Drive, Suite 600                                                Houston, TX 77057                                   Opex vendor    65,628
FRANKE                                                         3050 Campus Dr Suite 500                                                     Hatfield, PA 19440                                  Trade Vendor   63,924
Emtek                                                          15250 E Stafford St                                                          City of Industry, CA 91744-4418                     Trade Vendor   63,825
ARMAC MARTIN                                                   160 DOLLMAN ST                                                               DUDDESTON, BIRMINGHAM B7 4RS                        Trade Vendor   63,339
JACKSON LEWIS PC                                               PO BOX 416019                                                                BOSTON, MA 02241                                    Opex vendor    61,968
Latham & Watkins LLP                                           PO BOX 894256                                                                LOS ANGELES, CA 90189-4256                          Opex vendor    61,454
Duravit                                                        Po Box 240                                                                   Hornberg, Germany 78128                             Trade Vendor   60,547
Native Trails Inc                                              34 Zaca Lane                                                                 San Luis Obispo, CA 93401                           Trade Vendor   60,384
IGNITE VISIBILITY LLC                                          3770 TANSY ST STE 100                                                        SAN DIEGO, CA 92121-1550                            Opex vendor    59,435
Travelers Property Casualty Company of America                 385 Washington Street                                                        Saint Paul , MN 55102                               Opex vendor    56,956
Icera LLC                                                      P.O. Box 4238                                                                Westminister, CA 92684                              Opex vendor    56,078
PLEINA GROUP LLC DBA URBAN BONFIRE LLC                         810 W. Washington Blvd. Suite 200                                            Chicago, IL 60607                                   Opex vendor    54,771
Barclay Products Ltd                                           4000 Porett Dr                                                               Gurnee, IL 60031-1209                               Trade Vendor   54,486
ULINE INC                                                      ATTN: ACCOUNTS RECEIVABLE PO BOX 88741                                       CHICAGO, IL 60680-1741                              Opex vendor    53,251
MTI Whirlpools, Inc.                                           670 North Price Rd                                                           Sugar Hill, GA 30518                                Trade Vendor   52,312
FANTINI USA, INC.                                              150 EAST 58TH ST 8TH FL                                                      NEW YORK, NY 10155-0002                             Trade Vendor   52,037
BENTWOOD CHICAGO LLC                                           PO BOX 0308                                                                  LANCASTER, TX 75146                                 Opex vendor    50,076
Stack Adapt                                                    210 King St East Ste. 200                                                    Toronto, ON M5A 1J7                                 Opex vendor    49,362
PACIFIC SPECIALTY BRANDS LP                                    PO BOX 94062                                                                 SEATTLE, WA 98124                                   Trade Vendor   49,093
Waterstone LLC                                                 41180 RAINTREE CT                                                            MURRIETA, CA 92562-7020                             Trade Vendor   48,961
TFORCE WORLDWIDE INC.                                          PO BOX 932721                                                                CLEVELAND, OH 44193-0015                            Opex vendor    48,433
Blue Star                                                      318 June Ave                                                                 Blandon, PA 19510                                   Trade Vendor   47,679
BEKO US INC.                                                   333 Gibraltar Dr                                                             BOLINGBROOK, IL 60440                               Trade Vendor   47,508
Atmos Project llc. MR Steam                                    43-20 34th St                                                                Long Island City, NY 11101-2321                     Trade Vendor   46,845
Zip Water                                                      9399 W. Higgins Road, Suite 1100                                             Rosemont, IL 60018                                  Trade Vendor   46,527
WILLIS INSURANCE SERVICES OF CALIFORNIA, INC.                  PO BOX 101162                                                                PASADENA, CA 91189-1162                             Opex vendor    46,459
GULF CALIFORNIA BROADCAST CO                                   PO BOX 873808                                                                KANSAS CITY, MO 64187                               Opex vendor    45,990
M.R. Walls Romano Studio, LLC                                  2314 Michigan Ave                                                            Santa Monica, CA 90404                              Opex vendor    45,667
Furniture Guild                                                PO BOX 1647                                                                  CANTON, GA 30169-1647                               Trade Vendor   43,611
Elbi of America Inc                                            1210 North Red Gum Street                                                    Anaheim, CA 92806                                   Opex vendor    43,432
TRIMARK RW SMITH                                               PO Box 51847                                                                 Los Angeles, CA 90051-6147            x             Trade Vendor   43,177
Electric Mirror LLC                                            6101 Associated Blvd #101                                                    Everett, WA 98203-7166                              Trade Vendor   42,379
Monterey Shore Holdings, LLC                                   P.O. Box 1183                                                                Rancho Mirage, CA 92270                             Opex vendor    40,567
CHARNWOOD INC                                                  20179 CHARLANNE DR                                                           REDDING, CA 96002                                   Trade Vendor   40,220
Caliber Range Corporation                                      17812 Metzler Ln                                                             Huntington Beach, CA 92647-6255   x   x             Trade Vendor   40,063
ONE SHIELD SECURITY SERV                                       825 COLLEGE BLVD SUITE 102 PMB 328                                           OCEANSIDE, CA 92057                                 Opex vendor    37,958
Westover Inc                                                   4011 S 60th Street                                                           Omaha, NE 68117                                     Trade Vendor   37,329
THINK AI CONSULTING CORPORATION                                530 Technology Dr Suite 100                                                  Irvine, CA 92618                                    Opex vendor    35,635
KARTNERS                                                       1146 15 ST WEST                                                              NORTH VANCOUVER, BC V7P 1M9                         Trade Vendor   35,481
ASHLEY NORTON INC                                              210 W PARKWAY STE 1                                                          POMPTON PLAINS, NJ 07444-1000                       Trade Vendor   34,718
MADELI USA LLC                                                 9710 NW 110TH AVE UNIT 1                                                     MIAMI, FL 33178-2549                                Opex vendor    34,706
LIGHTHOUSE SIGN CO.                                            9630 BLACK MOUNTAIN RD STE G                                                 SAN DIEGO, CA 92126-4521                            Opex vendor    34,070
Stone Forest                                                   213 South St Francis Dr                                                      Santa Fe, NM 87501-2481                             Trade Vendor   33,734
HUDSON PRINTING                                                2780 LOKER AVE W                                                             CARLSBAD, CA 92010-6611                             Opex vendor    33,391
DOMETIC CORPORATION                                            DEPT CH 17511                                                                PALATINE, IL 60055-7511                             Trade Vendor   31,471
Chicago Faucet Company                                         2100 S Clearwater Dr                                                         Des Plaines, IL 60018-1918                          Trade Vendor   31,006
THG USA LLC                                                    6601 Lyons Rd STE C- 10                                                      Coconut Creek , FL 33073                            Opex vendor    30,741
DKMR Partners, LLC                                             2600 Elmhurst Rd                                                             Elk Grove Village, IL 60007                         Trade Vendor   30,193
NEVE DISTRIBUTING                                              4945 E HUNTER AVE                                                            ANAHEIM, CA 92807-2058                              Trade Vendor   29,652
ENGINE VISION FUND I LLC                                       644 SOUTH FIGUEROA ST                                                        LOS ANGELES, CA 90017                               Opex vendor    28,995
AMERICH CORPORATION                                            13222 Saticoy Street                                                         North Hollywood, CA 91605                           Trade Vendor   28,401
Travell Sawyer                                                 20003 ENSLOW DR                                                              CARSON, CA 90746                                    Opex vendor    28,215
Sinnott Investigations LLC                                     10755 Scripps Poway Pkwy, Ste F-526                                          San Diego, CA 92131                                 Opex vendor    28,028
Robern                                                         PO BOX 744955                                                                ATLANTA, GA 30374-4955                              Trade Vendor   27,469
Lacava LLC                                                     6630 W Wrightwood Ave                                                        Chicago, IL 60707-2228                              Trade Vendor   26,443
AD Waters                                                      2255 W Desert Cove Ave Ste D                                                 Phoenix, AZ 85029-4907                              Trade Vendor   25,424
WATER STREET BRASS                                             4515 GLEASON RD                                                              LAKEWOOD, NY 14750-9748                             Trade Vendor   25,391

                                                                                                                                                                                      Exhibit 2, Page 111
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                                             Case 24-01376-CL7
                                                  24-01376-CL7 Filed      Filed 06/17/24
                                                                                05/03/24 Entered
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                                                                                                                                 48-1 Pg.
                                                                                                                                       Pg.112
                                                                                                                                           93 of
                                                                                                                                              of
SHERLE WAGNER INTERNATIONAL LLC                          300 E. 62ND STREET                                 New York , NY 10065                               Opex vendor     24,194
BLU BATHWORKS INC.                                       7388 HEDLEY AVE
                                                                                            162
                                                                                            101             BURNABY, BC V5E 2P9                               Trade Vendor    23,377
JAN PRO OF RIVERSIDE                                       3200 E INLAND EMPIRE BLVD STE 250                   ONTARIO, CA 91764                              Opex vendor     22,830
Climatec, LLC                                              P.O. Box 743024                                     Los Angeles, CA 90074-3024                     Opex vendor     22,778
AF Distributors                                            3423 E. Atlanta Ave.                                Phoenix, AZ 85040                              Trade Vendor    21,417
The Pape Group Inc.                                        PO BOX 35144 #5077                                  SEATTLE, WA 98124-5144                         Opex vendor     20,792
AFCO Credit Corporation                                    5600 North River Road, Suite 400                    Rosemont, IL 60018                             Opex vendor     20,721
Alno Inc                                                   13984 Balboa Blvd                                   Sylmar, CA 91342-1086                          Trade Vendor    20,254
FrontApp Inc.                                              1455 Market Street Floor 19                         San Francisco, CA 94103                        Opex vendor     20,233
Seena Stone LLC dba Nantucket Sinks                        342 Compass Circle #C1                              North Kingstown, RI 2852                       Opex vendor     20,071
Amba Products LLC                                          790 Pickens Industrial Drive                        Marietta, GA 06155                             Opex vendor     19,744
LUXE MEDIA GROUP LLC                                       PO BOX 844651                                       BOSTON, MA 02284-4651                          Opex vendor     19,300
TURNSTYLE DESIGNS                                          267 THAMES ST BOX 4                                 BRISTOL, RI 02809-1862                         Trade Vendor    18,995
Wet Style                                                  1295 Rue Rene-Descartes                             St-Bruno QC, Canada J3V 0B7                    Trade Vendor    18,216
Pinterest Inc.                                             PO BOX 74008066                                     Chicago, IL 60674-8066                         Opex vendor     18,180
Buster and Punch, Inc                                      2 Westchester Park Drive Suite 200                  White Plains, NY 10604                         Trade Vendor    18,072
KDO CAPITAL, INC. dba JAN-PRO SAN DIEGO                    4125 SORRENTO VALLEY BLVD STE E                     SAN DIEGO, CA 92121-1423                       Opex vendor     17,773
VANDELAY INVESTMENT                                        3580 Wilshire Blvd STE 760                          Los Angeles, CA 90010                          Opex vendor     16,978
Cornerstone West Inc                                       12480 Escala Ln                                     San Diego, CA 92128                            Opex vendor     15,615
GOAT CREATIVE, LLC. / RICKY CAMPOS                         65 GREENHOUSE                                       IRVINE, CA 92603-0159                          Opex vendor     15,600
StarTex Software LLC dba EHS Insight                       800 Town and Country Blvd, Suite 500                HOUSTON, TX 77024                              Opex vendor     15,425
Creative Construction 360 Inc.                             1260 Logan Avenue Unit A-1                          Costa Mesa, CA 92626                           Opex vendor     14,990
TOP KNOBS USA, INC.                                        3 MILLENIUM WAY                                     BRANCHBURG, NJ 08876-3876                      Trade Vendor    14,457
Keter Environmental Services Inc                           4 HIGH RIDGE PARK # 202                             STAMFORD, CT 06905-1325                        Opex vendor     14,416
NextLevel Internet Inc                                     10967 VIA FRONTERA                                  SAN DIEGO, CA 92127-1703                       Opex vendor     13,793
Procopio, Cory, Hargreaves, & Savitch, LLP                 525 B St #2200                                      San Diego, CA 92101-4474                       Opex vendor     13,625
Seaside Custom Construction Inc                            66 Maple Ash                                        Irvine, CA 92620                               Opex vendor     13,242
Iron Mountain                                              PO BOX 601002                                       PASADENA, CA 91189-1002                        Opex vendor     13,093
Trinity Woodworks Inc                                      2620 Temple Heights Drive                           Oceanside, CA 92056                            Opex vendor     13,065
IQ Total Source LLC                                        4500 S Lakeshore Dr Ste 440                         Tempe, AZ 85282                                Opex vendor     13,052
Durst Corp                                                 129 Dermody St                                      Cranford, NJ 07016-3217                        Trade Vendor    12,646
DISPATCH TRACK LLC                                         300 Orchard City Drive                              Campbell, CA 95008                             Opex vendor     12,520
PERFECT WELLNESS GROUP INC                                 225 BROADWAY FL 44                                  NEW YORK, NY 10007-3019                        Trade Vendor    12,168
Carly Blalock                                              320 S Cedros Ave                                    Solana Beach, CA 92075                         Opex vendor     12,100
EMSER TILE, LLC                                            PO BOX 840049                                       DALLAS, TX 75284-0049                          Opex vendor     12,089
KITCHEN LOGISTICS LLC                                      2007 N Lancaster Hutchins Rd , Suite 109            Lancaster, TX 75134                            Opex vendor     12,044
Team International Services Inc                            1145 Townpark Avenue Suite 2201                     Lake Mary, FL 32746                            Opex vendor     11,808
PITT COOKING AMERICA, LLC                                  133 Amity Street                                    Brooklyn, NY 11201                             Opex vendor     11,639
Outdoor Shower Co. LLC                                     274 Cadillac Pkwy Ste 100                           Dallas, GA 30157                               Trade Vendor    11,628
California Countertop, Inc.                                7811 ALVARADO ROAD                                  LA MESA, CA 91942                              Opex vendor     11,238
KORBER SUPPLY CHAIN US, INC.                               5600 W. 83rd Street, Suite 600                      Bloomington, MN 55437                          Opex vendor     10,533
BALDWIN HARDWARE                                           3001 DEMING WAY                                     MIDDLETON, WI 53562-1431         X             Trade Vendor    30,832
Dexon Computer, Inc.                                       9201 E. Bloomington FWY                             Minneapolis, MN 55420                          Opex vendor     10,015
American Faucets & Coating Corp                            3280 CORPORATE VIEW                                 VISTA, CA 92081                                Trade Vendor     9,951
Advanced Feedback, Inc.                                    7950 Silverton Ave Suite 205                        San Diego, CA 92126                            Opex vendor      9,512
CARPE DIEM HARDWARE & HOME ACCESSORIES                     PO BOX 100179                                       CRANSTON, RI 02910-0062                        Trade Vendor     9,231
INK PUBLIC RELATIONS GROUP LLC                             3825 MOUND VIEW AVE                                 LOS ANGELES, CA 91604                          Opex vendor      9,000
Blackstone Granite & Marble, Inc                           921 Poinsettia Ave. Suite 7                         Vista, CA 92081                                Opex vendor      8,654
Essential Water Treatment                                  24371 Cimarron Court                                Laguna Niguel, CA 92677                        Opex vendor      8,305
STOLL FIREPLACE EQUIPMENT                                  153 HIGHWAY 201                                     ABBEVILLE, SC 29620                            Trade Vendor     8,105
EDCO WASTE & RECYCLING SERVICES INC.                       224 S LAS POSAS RD                                  SAN MARCOS, CA 92078-2421                      Opex vendor$ 10,063.06
City of Glendale Water & Power                             141 North Glendale Ave Level 2                      Glendale, CA 91206-4975                        Opex vendor      7,820
Willis Supply Corporation                                  DEPT LA 23368                                       PASADENA, CA 91185-3368                        Opex vendor      7,780
FIRST IMPRESSIONS INTERNATIONAL LLC                        692 S MILITARY TRAIL STE B                          DEERFIELD BEACH, FL 33442-3004                 Trade Vendor     7,760
HAMMERTON INC                                              217 N WRIGHT BROTHERS DRIVE                         SALT LAKE CITY, UT 84116                       Trade Vendor     7,586
The Local DISH Magazine                                    905 Calle Negocio #73473                            San Clement, CA 92673                          Opex vendor      7,500
Accurate Lock And Hardware CO. LLC                         1 Annie Place                                       Stamford, CT 6902                              Opex vendor      7,484
Bella Stones Inc                                           1201 E Ball Rd Unit T                               Anaheim, CA 92805                              Opex vendor      7,417
UCON Design and Build                                      10543 Avenida Olinda UNIT 5                         San Diego, CA 92127                            Opex vendor      7,370
Kirk Gotrie Industries LLC                                 2235 E Rose Garden Loop                             Phoenix, AZ 85024                              Trade Vendor     7,255
Vitraform                                                  4201 E 48th AVE                                     DENVER, CO 80216-328                           Trade Vendor     7,069
Vesta Food Service                                         13527 Orden Dr                                      Sante Fe Springs, CA 90670                     Opex vendor      7,058
Hugo Landa Photograph                                      2000 Parsons St #49                                 Costa Mesa, CA 92627                           Opex vendor      7,058

                                                                                                                                                    Exhibit 2, Page 112
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                                           Case 24-01376-CL7
                                                24-01376-CL7 Filed      Filed 06/17/24
                                                                              05/03/24 Entered
                                                                                       Entered 06/17/24
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                                                                                                                                 48-1 Pg.
                                                                                                                                       Pg.113
                                                                                                                                           94 of
                                                                                                                                              of
CHEVIOT PRODUCTS INC                                   1120-819 SEABORNE AVE                              PORT COQUITLAM, BC V3B 0N9                         Trade Vendor   7,050
Aegean Stoneworks Inc.                                 880 N Eckhoff St
                                                                                          162
                                                                                          101             Orange, CA 92868                                   Opex vendor    6,795
Laufen/ US Ceramic Tile                                        UniCredit Bank AG 150 E 42nd St                New York, NY 10014                             Trade Vendor   6,776
AZTEC LEASING, INC                                             Dept 321                                       San Diego, Ca 92150-9015                       Opex vendor    6,758
FANTINI USA, INC. - DISPLAYS                                   150 EAST 58TH ST 8TH FL                        NEW YORK, NY 10155-0002                        Trade Vendor   6,611
STUDIO M                                                       253 N VINELAND AVE                             CITY OF INDUSTRY, CA 91746                     Trade Vendor   6,474
Schindler Elevator Corporation                                 Po Box 93050                                   Chicago, IL 60673-3050                         Opex vendor    6,461
Barber Wilsons, Sterlingham, DLINE                             PO Box 1236                                    Riverhead, NY 11901                            Trade Vendor   6,187
SPECBOOKS                                                      174 Watercolor Way, Ste 103, #213              SANTA ROSA BEACH, FL 32459                     Opex vendor    6,000
INTERNATIONAL BATH & TILE OF SAN DIEGO INC                     7177 CONVOY CT., STE A                         SAN DIEGO, CA 92111                            Trade Vendor   5,867
ICO TRADING GROUP INC.                                         300 PORTICO DR                                 PILOT BUTTE, SASKATCHEWAN S0G 3Z0              Trade Vendor   5,634
Net 3 Technology Inc.                                          107 W Antrim Dr.                               Greenville, SC 29607                           Opex vendor    5,602
Iconic Life                                                    8145 E Evans Road Suite 7                      Scottsdale, AZ 85260                           Opex vendor    5,500
OAKVILLE STAMPING AND BENDING LIMITED                          2200 SPEERS RD., STE C                         OAKVILLE, ONTARIO L6L2X8                       Trade Vendor   5,397
WILSON TURNER KOSMO LLP                                        402 WEST BROADWAY STE 1600                     SAN DIEGO, CA 92101                            Opex vendor    5,250
BEKO US INC. - DISPLAY                                         333 Gibraltar Dr                               BOLINGBROOK, IL 60440                          Trade Vendor   5,248
Terry Knutson                                                  10457 CHEVIOT CT                               SAN DIEGO, CA 92126-3062                       Opex vendor    5,205
CECO                                                           1310 E BORCHARD AVE                            SANTA ANA, CA 92705-4413                       Trade Vendor   5,172
Sonoma Forge                                                   133 Copeland St. STE A                         Petaluma, CA 94952                             Trade Vendor   5,100
AEI Corporation                                                2641 Du Bridge Ave                             Irvine, CA 92606-5001                          Trade Vendor   4,999
Huntington Brass                                               11100 Dana Cir                                 Cypress, CA 906305132                          Trade Vendor   4,997
LAZ KARP ASSOCIATES LLC                                        757 UNION ST                                   SAN DIEGO, CA 92101-6008                       Opex vendor    4,956
Moen Inc                                                       PO BOX 776856                                  CHICAGO, IL 60677-6856                         Trade Vendor   4,950
Sustainable Solutions International                            8395 Riverbend Ct                              Burnaby BC, Canada V3N 5E7                     Trade Vendor   4,827
Slayton Mech Cont Inc                                          9824 VINE ST                                   LAKESIDE, CA 92040-3119                        Opex vendor    4,803
Classic Brass Inc.                                             220 Fluvanna Ave Suite 800                     Jamestown, NY 14701                            Trade Vendor   4,561
MOTIVE ENERGY, INC.                                            125 EAST COMMERCIAL ST BLDG B                  ANAHEIM, CA 92801-1217                         Opex vendor    4,248
JONES ENTERPRISES                                              9346 GALENA ST STE F                           JURUPA VALLEY, CA 92509-3094                   Opex vendor    4,150
MSA INDUSTRIES LLC                                             218 MAIN ST SUITE 737                          KIRKLAND, WA 98033                             Opex vendor    4,100
City Rent-A-Bin DBA Serv-Wel & A-Rent-A-Bin                    901 S MAPLE AVE                                MONTEBELLO, CA 90640-5411                      Opex vendor    4,059
Environmental Water Systems                                    5542 S Ft Apache Rd #110                       Las Vegas, NV 89148-7691                       Trade Vendor   4,010
Align HCM Inc                                                  1211 1st Ave. N Suite 210                      St.. Petersburg, Florida 33705                 Opex vendor    3,960
SCP DISTRIBUTORS                                               566 N TULIPS ST                                ESCONDIDO, CA 92025                            Trade Vendor   3,713
Air Control Systems, Inc.                                      PO BOX 80451                                   CITY OF INDUSTRY, CA 91716-8451                Opex vendor    3,711
SIR OWLVERICK'S                                                230 N CRESCENT WAY UNIT D                      ANAHEIM, CA 92801-6707                         Opex vendor    3,681
MOYA LIVING LLC                                                17430 MOUNT CLIFFWOOD CIR                      FOUNTAIN VALLEY, CA 92708-4101                 Opex vendor    3,673
DESERT PUBLICATIONS, INC.                                      PO BOX 2724                                    PALM SPRINGS, CA 92263                         Opex vendor    3,380
KAST CONCRETE BASINS LIMITED                                   2-4 MEDEN COURT                                BOUGHTON, NOTTINGHAMSHIRE, NG229YU             Trade Vendor   3,372
WORKSMITH, INC.                                                3005 S Lamar Blvd Suite D109 #406              AUSTIN, TX 78704                               Opex vendor    3,265
TEN FATHOMS, LLC                                               PO Box 129 177 County Route 7A, Suite 2        Copake, NY 12516                               Trade Vendor   3,193
Whirlpool/Kitchen Aid                                          Po Box 88129                                   Chicago, IL 60695-1128                         Trade Vendor   3,125
Rancho Mirage Chamber of Commerce                              71905 HIGHWAY 111 STE H                        RANCHO MIRAGE, CA 92270-4825                   Opex vendor    3,000
Smash the Trash                                                11956 Bernardo Plaza Drive STE 542             San Diego, CA 92128                            Opex vendor    2,890
ANNE ARTIST COLLECTIVE LLC DBA EDGAR BEREBI CABINET HARDWARE   57 ROLFE SQUARE UNIT 100266                    CRANSTON, RI 02910                             Trade Vendor   2,764
ALL COUNTY FIRE, INC.                                          3163 ADAMS AVE                                 SAN DIEGO, CA 92116-1639                       Opex vendor    2,740
ACCESS VG, LLC                                                 1012 W BEARDSLEY PL                            SOUTH SALT LAKE, UT 84119-1522                 Opex vendor    2,700
STOLL FIREPLACE EQUIPMENT-DISPLAY                              153 HIGHWAY 201                                ABBEVILLE, SC 29620                            Trade Vendor   2,660
RANCH & COAST MAGAZINE                                         PO BOX 676130                                  RANCHO SANTA FE, CALIFORINA 92067              Opex vendor    2,650
Alsco Inc - LSAN006671                                         705 W GRAPE ST PO BOX 122671                   SAN DIEGO, CA 92112-2671                       Opex vendor    2,569
INPLACE STUDIO INC                                             7739 Fay Avenue                                La Jolla, CA 92037                             Opex vendor    2,500
Cambium Business Group Inc dba Fairmont                        6950 NORITSU AVE                               BUENA PARK, CA 90620-1311                      Trade Vendor   2,346
Simonswerk North America Inc                                   1171 Universal Blvd                            Whitewater, WI 53190                           Trade Vendor   2,305
Federal Express Corp                                           PO BOX 7221                                    PASADENA, CA 91109-7321                        Opex vendor    2,004
Superior Heat & Air Conditioning                               77-711 Flora Road Suite 110                    Palm Desert, CA 92211                          Opex vendor    1,912
OCCUPATIONAL HEALTH CENTERS OF CALIFORNIA                      PO Box 3700                                    Rancho Cucamonga, CA 91729-3700                Opex vendor    1,903
Windster Hoods Inc                                             17955 Ajax Cir                                 City of Industry, CA 91748                     Trade Vendor   1,896
Alsco - LANA240105                                             1750 S Zeyn St                                 ANAHEIM, CA 92802-2904                         Opex vendor    1,869
MAXIM LIGHTING INTERNATIONAL                                   253 N. Vineland Ave.                           City of Industry, CA 91746                     Trade Vendor   1,842
Bubbles & Beos LLC                                             600 W Broadway Ste 400                         San Diego, CA 92101-3352                       Opex vendor    1,770
Mobile Mini inc                                                PO BOX 650882 Dallas, TX 75262-0882            Phoenix, AZ 85008-6927                         Opex vendor    1,714
SC Commercial, LLC                                             1800 W Katella Ave, ste 400                    Orange, CA 92867                               Opex vendor    1,676
TRL Systems, Inc                                               9531 Milliken Ave                              Rancho Cucamonga, CA 91730                     Opex vendor    1,639
Weber's World                                                  26381 Via De Anza                              San Juan Capistrano, CA 92675                  Opex vendor    1,625

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                                        Case 24-01376-CL7
                                             24-01376-CL7 Filed    Filed 06/17/24
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ALSCO - LANA278100                                  1750 S Zeyn St                                   ANAHEIM, CA 92802-2904                                Opex vendor    1,408
Imperial Irrigation Division                        Po Box 937
                                                                                     162
                                                                                     101             Imperial, CA 92251-0937                               Opex vendor    1,397
ALSCO INC-LSAN006707                                   705 W GRAPE ST PO BOX 122671                        SAN DIEGO, CA 92112-2671                        Opex vendor    1,319
Vortex Industries, Inc.                                FILE 1095 1801 W OLYMPIC BLVD                       PASADENA, CA 91199-1095                         Opex vendor    1,295
City of Glendale - Alarm                               PO BOX 10147                                        GLENDALE, CA 91209                              Opex vendor    1,279
TPX Communcations                                      PO BOX 36430                                        Las Vegas, NV 89133-6430                        Opex vendor    1,245
Alsco Inc - LLOS cust 011035                           900 N HIGHLAND AVE                                  LOS ANGELES, CA 90038-2413                      Opex vendor    1,203
Orkin Pest Control                                     Po Box 7161                                         Pasadena, CA 91109-7161                         Opex vendor    1,179
FSB USA INC                                            24 NEW PARK DR                                      BERLIN, CT 06037                                Trade Vendor   1,167
ALSCO INC- ACCT 479700                                 1750 S Zeyn St                                      ANAHEIM, CALIFORNIA 92802-2904                  Opex vendor    1,163
Home Resolutions Center                                1976 S. La Cienega Blvd. #494                       Los Angeles, CA 90034                           Trade Vendor   1,087
APTATIONS INC                                          6368 CLARK AVE                                      DUBLIN, CA 94568                                Trade Vendor   1,084
Cintas Fire Protection                                 PO Box 636525                                       Cincinnati, OH 45263                            Opex vendor    1,039
Alcoa Signage                                          8535 Ajons Dr Suite E                               San Diego, CA 92126                             Opex vendor    1,035
Sparkletts                                             PO BOX 660579                                       Dallas, TX 75266-0579                           Opex vendor    1,013
Restoration Artechs                                    2382 Camino Vida Roble Ste.E                        Carlsbad, CA 92011                              Opex vendor    1,000
Claybrook Interiors                                    3400 N Central Expy Suite 110-271                   Richardson, TX 75080              x             Trade Vendor     995
ALLSTAR COFFEE SERVICE, INC.                           7431 IRWINGROVE DR                                  DOWNEY, CA 90241-2162                           Opex vendor      971
Devon & Devon USA Inc                                  Attn AR 222 Merchandise Mart Plaza, Suite 1448      Chicago, IL 60654                               Trade Vendor     953
Cloud Cover Media Inc                                  1221 Avenue of the Americas                         New York, NY 10020                              Opex vendor      925
FRASER PLUMBING INC                                    5482 COMPLEX ST STE 108                             SAN DIEGO, CA 92123                             Opex vendor      870
Anthony's Plumbing and Drain Cleaning                  16787 Beach Blvd #641                               Huntington Beach, CA 92647                      Opex vendor      860
Decorative Plumbing & Hardware Association             7508 Wisconsin Avenue 4th Floor                     Bethesda, MD 20814                              Opex vendor      850
VERSA-TECH PEST MANAGEMENT, INC.                       981 W ARROW HWY #297                                SAN DIMAS, CA 91773-2410                        Opex vendor      840
OLYMPIC WIRE & EQUIPMENT CO., INC.                     PO BOX 3227                                         NEWPORT BEACH, CA 92659-0859                    Opex vendor      828
Solana Beach Chamber of Commerce                       210 West Plaza Street                               Solana Beach, CA 92075                          Opex vendor      824
ACCENT ON DESIGN, INC.                                 7565 CALOMA CIRCLE                                  CARLSBAD, CA 92009-8492                         Opex vendor      792
CG LANDSCAPE INC                                       524 E JULIANNA ST UNIT 1                            ANAHEIM, CA 92801                               Opex vendor      643
Rubio Electric Company                                 3619 E 1st Street, Apt 8 Apt 8 0                    Long Beach, CA 90803                            Opex vendor      600
Business Communications Solutions                      9910 Irvine Center Drive                            Irvine, CA 92618                                Opex vendor      600
AT&T Mobility                                          Po Box 6463                                         Carol Stream, IL 60197-6463                     Opex vendor      596
HAMILTON BEACH BRANDS, INC.                            4421 WATERFRONT DR                                  GLEN ALLEN, VA 23060-3375                       Trade Vendor     487
StrasserWoodenworks, Inc                               14237 NE 200th Street                               Woodinville, WA 98072                           Trade Vendor     482
Andersen Commercial Plumbing                           1608 Yeager Avenue                                  La Verne, CA 91750                              Opex vendor      460
Beach West Plumbing                                    PO BOX 5132                                         HUNTINGTON BEACH, CA 92615-5132                 Opex vendor      450
A J Kirkwood & Associates Inc                          4300 N. Harbor Blvd.                                Fullerton, CA 92835                             Opex vendor      420
NEELNOX INTERNATIONAL LLC                              10752 DEERWOOD PARK BLVD STE 100                    JACKSONVILLE, FL 32256                          Trade Vendor     378
Corkys Pest Control Inc                                909 Rancheros Drive                                 San Marcos, CA 92069                            Opex vendor      360
DIRECTV - ACCT 052462125                               PO Box 5006                                         Carol Stream, IL 60197-5006                     Opex vendor      328
MINUTEMAN PRESS COSTA MESA                             2930 COLLEGE AVE STE C                              COSTA MESA, CA 92626-3940                       Opex vendor      323
FISH WINDOW CLEANING                                   1541 Parkway Loop SUITE H                           Tustin, CA 92780                                Opex vendor      320
DIRECTV - ACCT 080797150                               PO Box 5006                                         Carol Stream, IL 60197-5006                     Opex vendor      320
Coast Appliance Parts Company                          10680 Mulberry Ave                                  Fontana, CA 92337-7025                          Trade Vendor     310
Solutions Espresso Services                            7895 Convoy Ct. Ste.20                              San Diego, CA 92111                             Opex vendor      296
KARCHER DESIGN NA, LLC                                 1042 Industry Drive                                 Tukwila, WA 98188                               Opex vendor      289
Highland Plumbing Services Inc.                        2039 N Las Palmas Ave Apt 108                       Los Angeles, CA 90068                           Opex vendor      275
Stericycle, Inc.                                       Po Box 101007                                       Pasadena, CA 91189-1007                         Opex vendor      270
BLU BATHWORKS INC. - DISPLAYS                          7388 HEDLEY AVE                                     BURNABY, BC V5E 2P9                             Trade Vendor     270
Alsco Inc - LYUM                                       3231 S FLORENCE LN                                  YUMA, AZ 85365-6388                             Opex vendor      262
SCOTT A. ROBUCK                                        4531 OPERETTA DR                                    HUNTINGTON BEACH, CA 92649-6206                 Opex vendor      225
SHI International Corp.                                290 Davidson Avenue                                 Somerset, NJ 08873                              Opex vendor      165
NELSON MANUFACTURING GROUP DBA PALMER INDUSTRIES       71 CYPRESS STREET                                   WARWICK, RI 02888                               Trade Vendor     164
Accurate Background Holdings, LLC                      PO BOX 7410110                                      CHICAGO, IL 60674-0110                          Opex vendor      156
Fish Window Cleaning - Miramar                         6906 Miramar Rd., Ste. C 324                        San Diego, CA 92121                             Opex vendor      138
PRO PACIFIC PEST CONTROL INC                           150 VALLECITOS DE ORO                               SAN MARCOS, CA 92069                            Opex vendor      120
American Industrial Brands, LLC                        597 Old Mt Holly Rd, Suite 201                      Goose Creek, SC 29445                           Opex vendor      119
Rudy's Termite & Pest Control Inc                      43-639 N JACKSON ST                                 INDIO, CA 92201-2537                            Opex vendor      114
Department of Motor Vehicles                           EPN PROGRAM PO BOX 944231                           SACRAMENTO, CA 94244-2310                       Opex vendor       64
ASHLEY NORTON INC - DISPLAY                            210 W PARKWAY STE 1                                 POMPTON PLAINS, NJ 07444-1000                   Trade Vendor      63
FORKLIFT ACADEMY, INC.                                 5737 KANAN RD # 508                                 AGOURA HILLS, CA 91301-1601                     Opex vendor       50
Chefs Toys LLC                                         PO BOX 515641                                       Los Angeles, CA 90051-4559                      Opex vendor       41
Schaub & Company                                       4740 Talon Ct SE #4                                 Grand Rapids, MI 49512                          Trade Vendor      30
SAN DIEGO POLICE DEPARTMENT                            POLICE PERMITS AND LICENSING-MS 735 PO BOX 121431   SAN DIEGO, CA 92112-1431                        Opex vendor       20

                                                                                                                                                 Exhibit 2, Page 114
                       Case
                       Case 24-01376-CL7
                            24-01376-CL7 Filed      Filed 06/17/24
                                                             05/03/24 Entered
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Amazon.com                         410 Terry Ave. N                                      Seattle, WA 98109                                   Opex vendor      14,845
DVM Insurance Agency               1025 OLD COUNTRY RD STE 310
                                                                         162
                                                                         101             WESTBURY, NY 11590-5645                             Opex vendor   $2,670.84




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          Case 24-01376-CL7
               24-01376-CL7 Filed
                            Filed 06/17/24
                                  05/03/24 Entered
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               PIRCH, Inc.
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Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
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       ✔ <HV)LOOLQDOORIWKHLQIRUPDWLRQEHORZHYHQLIWKHFRQWUDFWVRUOHDVHVDUHOLVWHGRQSchedule A/B: Assets - Real and Personal Property 2IILFLDO
       
       )RUP$% 
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or       See Attachment G
                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
 2.1     lease is for and the nature
         of the debtor’s interest        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
t---                                                                                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         State the term remaining        ____________________________________
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         List the contract number of
         any government contract        ____________________________________            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


         State what the contract or      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
 2.2     lease is for and the nature
         of the debtor’s interest        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         State the term remaining        ____________________________________
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         any government contract        ____________________________________            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


         State what the contract or      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
 2.3     lease is for and the nature
         of the debtor’s interest        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         State the term remaining        ____________________________________
                                                                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         List the contract number of
         any government contract        ____________________________________            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


         State what the contract or      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
 2.4
         lease is for and the nature
         of the debtor’s interest        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         State the term remaining        ____________________________________
                                                                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         List the contract number of
         any government contract        ____________________________________            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


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 2.5     lease is for and the nature
         of the debtor’s interest        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
t---                                                                                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         State the term remaining        ____________________________________
                                                                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         List the contract number of
         any government contract        ____________________________________            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




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                                                               48-1 Pg.
                                                                     Pg.117
                                                                         98 of
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                 ATTACHMENT G

                                                                Exhibit 2, Page 117
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                                          Case 24-01376-CL7
                                               24-01376-CL7 Filed
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           State what the contract or lease is for and the nature of the
Number     debtor's interest                                             State the remaining Term    Entity/Person                             Line 2                                     Line 3
           4545 La Jolla Village Drive, Suite E-1
           San Diego, CA 92122 Lease - Showroom space with displays
       2.1 and buildouts                                                                   1/31/2029 VALLEY FAIR UTC LLC                       2049 Centry Park East 41st FL              LOS ANGELES, CA 90067
           101 S. Brand Blvd.
           Glendale, CA 91210 Lease - Showroom space with displays and
       2.2 buildouts                                                                       9/30/2028 GGP/HOMART II LLC                         Glendale 1 Mall Asscociates                Minneapolis, MN 55486
       2.3 Trucks for Install and Delivery                               Various                     Penske Truck Leasing Co, LP               2675 MORGANTOWN RD, PO Box 1321            READING, PA 19603

           1322 Rocky Point Drive, Unit A
       2.4 Oceanside, CA Lease - Warehouse with inventory and racking                     7/31/2027 EASTGROUP PROPERTIES IINC                  400 W PARKWAY PL STE 100                   RIDGELAND, MS 39157-6005
           3303 Hyland Avenue, Suite D
           Costa Mesa, CA Lease - Showroom space with displays and
       2.5 buildouts                                                                      5/31/2031 CenterPoint Properties Trust               1808 Swift Drive                           OakBrook, IL 60523
           2701 S. Harbor Blvd, Santa Ana, CA 92704 Sublease - warehouse
       2.6 with no inventory or racking                                                   9/30/2026 CRC SOCO COINVEST LLC                      1427 Clarkview Road, Suite 500             Baltimore, MD 21209
           12740 E. Florence Ave.
           Santa Fe Springs, CA 90670 Lease - Warehouse with inventory
       2.7 and racking                                                                    3/31/2027 CSHV Santa Fe Corporate Center LLC         515 South Flower St #3100                  Los Angeles, CA 90071-2233
           2520 Santa Monica Blvd., Santa Monica, CA 90404 - Showroom
       2.8 space with displays and buildouts                                             12/31/2032 HORWITZ & HORWITZ, LLC                     10523 ASHTON AVE #302                      LOS ANGELES, CA 90024
           1625 Perrino Place, Los Angelese, CA 90023 Lease - Warehouse
       2.9 without inventory                                                              6/30/2027 Soto & Washington Industrial Development   13191 CROSSROADS PARKWAY NORTH 6TH FLOOR   CITY OF INDUSTRY, CA 91746
           28341 Marguerite Parkway
           Mission Viejo, CA Lease - Showroom space with displays and
2.10       buildouts                                                                      5/31/2031 BTPROP1 LLC                                1100 Newport Center Drive Ste 200          Newport Beach, CA 92660
           23811 Aliso Creek Road, Suite 155 and Suite 159, Laguna
           Niguel, CA 92677 Lease - Showroom space with displays and
2.11       buildouts                                                                     12/31/2026 LAGUNA DESIGN DUNHILL INVESTORS LLC        3100 Monticello Ave Ste 300                Dallas, TX 75205
           1445 Engineer St Vista, CA 92081 Lease - Warehouse with
2.12       inventory and racking                                                         12/31/2027 FIRST INDUSTRIAL, LP                       PO BOX 31001-1927                          PASADENA, CA 91110-1927
2.13       Rental of Forklifts or other warehouse machinery              Various                    Total Warehouse Inc                        2895 E Miraloma Ave                        Anaheim, CA 92806
           71905 Highway 111, Suites B & C
           Rancho Mirage, CA 92270 Lease - Showroom space with
2.14       displays and buildouts                                                         8/31/2026 Monterey Shore Holdings, LLC               P.O. Box 1183                              Rancho Mirage, CA 92270
2.15       Rental of Forklifts or other warehouse machinery              Various                    JA MITSUI LEASING FFCSI, INC.              750 The City Drive S.                      Orange, CA 92868
2.16       Rental of Copiers                                             Various                    U.S. BANK NATIONAL ASSOCIATION             1310 MADRID ST STE 100                     MARSHALL, MN 56258-4001
2.17       Rental of Forklifts or other warehouse machinery              Various                    BFG CORPORATION                            2801 Lakeside Dr Ste 212                   Bannockburn, IL 60015
2.18       Rental of Forklifts or other warehouse machinery              Various                    The Pape Group Inc.                        PO BOX 35144 #5077                         SEATTLE, WA 98124-5144
2.19       Rental of Forklifts or other warehouse machinery              Various                    BMO Bank N.A.                              PO BOX 7167                                Pasadena, CA 91109-7167
2.20       Rental of Schred Boxes                                        Various                    Iron Mountain                              PO BOX 601002                              PASADENA, CA 91189-1002
           320 South Cedros Avenue, Suite 100
           Solana Beach, CA 92075 Lease inside Designer property
2.21       Displays                                                                       6/30/2024 Carly Blalock                              320 S Cedros Ave                           Solana Beach, CA 92075
2.22       Rental of Forklifts or other warehouse machinery              Various                    De Lage Landen Financial Services INC      PO BOX 825736                              PHILADELPHIA, PA 19182-5736
2.23       Rental of Copiers                                             Various                    AZTEC LEASING, INC                         Dept 321                                   San Diego, Ca 92150-9015




                                                                                                                                                                                      Exhibit 2, Page 118
                                       Case
                                        Case24-01376-CL7
                                             24-01376-CL7 Filed
                                                           Filed06/17/24
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                                                                                                                Pg.119
                                                                                                                    100of
                                                                            of162
                                                                               101

       202 N. Cedros Ave.
       Solana Beach, CA 92075 Lease - Showroom space with displays
2.24   and buildouts                                                     6/30/2025 JOHN CAVANAUGH                  200 N CEDROS AVE                   Solana Beach, CA 92075
       2714 Loker Ave W, Suite 200, Carlsbad, CA 92010 Lease - Office
2.25   space                                                            11/30/2026 Blue Hat LLC                    6965 El Camino Real #105-621       Carlsbad, Ca 92009-4100
       118 South Cedros Avenue, Suite A
       Solana Beach, CA 92075 Lease - Showroom space with
2.26   buildouts                                                        10/31/2024 ARAN WORLD USA, LLC             6765 Mallee Street                 Carlsbad, CA 92011
       2450 Business Park Drive, Vista, CA 92081 Lease - Warehouse
2.27   with under $200K of inventory                                    10/31/2025 Packaging Solutions FTI, Inc.   550 Fesler St                      El Cajon, CA 92020




                                                                                                                                                  Exhibit 2, Page 119
              Case
               Case24-01376-CL7
                    24-01376-CL7 Filed
                                  Filed06/17/24
                                        05/03/24 Entered
                                                  Entered06/17/24
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                                                                   17:57:58 Doc
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                                                                                 48-1 Pg.
                                                                                       Pg.120
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                                                   of162
                                                      101
    Fill in this information to identify the case:

                  PIRCH, Inc.
    'HEWRUQDPH BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                            Southern
    8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKHBBBBBBBBBBBBBBBBBBBBBBB              CA
                                                                   'LVWULFWRIBBBBBBBB
                                                                                     6WDWH 
                             24í01376íCL7
    &DVHQXPEHU ,INQRZQ  BBBBBBBBBBBBBBBBBBBBBBBBB




                                                                                                                                              &KHFNLIWKLVLVDQ
                                                                                                                                                  DPHQGHGILOLQJ
2IILFLDO)RUP+
Schedule H: Codebtors                                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


    1. Does the debtor have any codebtors?
           ✔  1R&KHFNWKLVER[DQGVXEPLWWKLVIRUPWRWKHFRXUWZLWKWKHGHEWRU VRWKHUVFKHGXOHV1RWKLQJHOVHQHHGVWREHUHSRUWHGRQWKLVIRUP
           
            <HV
     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
           creditors, Schedules D-G.,QFOXGHDOOJXDUDQWRUVDQGFRREOLJRUV,Q&ROXPQLGHQWLI\WKHFUHGLWRUWRZKRPWKHGHEWLVRZHGDQGHDFK
           VFKHGXOHRQZKLFKWKHFUHGLWRULVOLVWHG,IWKHFRGHEWRULVOLDEOHRQDGHEWWRPRUHWKDQRQHFUHGLWRUOLVWHDFKFUHGLWRUVHSDUDWHO\LQ&ROXPQ

           I Column 1: Codebtor                                                                             I[ Column 2: Creditor                                      I
                                                                                                                                                 Check all schedules
                Name                      Mailing address                                                     Name
                                                                                                                                                 that apply:


         BBBBBBBBBBBBBBBBBBBBB       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB            BBBBBBBBBBBBBBBBBBBBB              '                  
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                                          6WUHHW                                                                                                () 
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                                          6WUHHW                                                                                                () 
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                                          6WUHHW                                                                                                () 
                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                * 

                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                          &LW\                       6WDWH              =,3&RGH
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                                          6WUHHW                                                                                                () 
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                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                          &LW\                       6WDWH              =,3&RGH
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                                          6WUHHW                                                                                                () 
                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                * 

                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                          &LW\                       6WDWH              =,3&RGH




2IILFLDO)RUP+                                                  Schedule H: Codebtors                                         Exhibit 2, Page    120
                                                                                                                                               SDJHRIBBB
        Case
         Case24-01376-CL7
              24-01376-CL7 Filed
                            Filed06/17/24
                                  05/03/24 Entered
                                            Entered06/17/24
                                                    05/03/2418:14:54
                                                             17:57:58 Doc
                                                                       Doc273
                                                                           48-2 Pg.
                                                                                 Pg.121
                                                                                     1 ofof
                                              162
                                               36

Fill in this information to identify the case:

             3,5&+,QF       
Debtor name __________________________________________________________________
                                         6RXWKHUQ
United States Bankruptcy Court for the: ______________________              &$
                                                               District of _________
                                                                              (State)
Case number (If known):    íí&/
                          _________________________



                                                                                                                                     Check if this is an
                                                                                                                                       amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


   Part 1:        Income



   1. Gross revenue from business

       None
              Identify the beginning and ending dates of the debtor’s fiscal year, which       Sources of revenue                  Gross revenue
              may be a calendar year                                                           Check all that apply                (before deductions and
                                                                                                                                   exclusions)

             From the beginning of the                                                         [[
                                                                                                Operating a business
             fiscal year to filing date:            to
                                             From ___________                Filing date         Other _______________________     $__
                                                                                                                                                 _
                                                    MM / DD / YYYY


             For prior year:                        to
                                             From ___________                
                                                                             ___________       [[
                                                                                                Operating a business                  
                                                                                                                                    $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                 Other _______________________
             For the year before that:             to
                                             From ___________                
                                                                             ___________       [[
                                                                                                 Operating a business
                                                                                                                                       
                                                                                                                                    $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                 Other _______________________


   2. Non-business revenue
      Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
      from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.
     [[
       None

                                                                                               Description of sources of revenue   Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

             From the beginning of the
                                                                                               ___________________________         $________________
             fiscal year to filing date: From ___________             to     Filing date
                                                    MM / DD / YYYY



             For prior year:                 From ___________         to     ___________
                                                    MM / DD / YYYY            MM / DD / YYYY   ___________________________         $________________




             For the year before that:       From ___________         to     ___________
                                                    MM / DD / YYYY            MM / DD / YYYY   ___________________________         $________________




 Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 1


                                                                                                                            Exhibit 2, Page 121
           Case
            Case24-01376-CL7
                 24-01376-CL7 Filed
                               Filed06/17/24
                                     05/03/24 Entered
                                               Entered06/17/24
                                                       05/03/2418:14:54
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                                                                              48-2 Pg.
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                                                                                        2 ofof
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                                                  36

Debtor             3,5&+,QF    
                  _______________________________________________________                                                  íí&/
                                                                                                   Case number (if known)_____________________________________
                  Name




   Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

   3. Certain payments or transfers to creditors within 90 days before filing this case
         List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
         days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
         adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None
                Creditor’s name and address                         Dates          Total amount or value         Reasons for payment or transfer
                                                                                                                 Check all that apply
         3.1.
                 6HH$WWDFKPHQW
                __________________________________________         ________        $_________________                 Secured debt
                Creditor’s name
                                                                                                                      Unsecured loan repayments
                __________________________________________
                Street                                             ________                                           Suppliers or vendors
                __________________________________________                                                            Services
                __________________________________________
                City                          State    ZIP Code
                                                                   ________                                           Other _______________________________
                  
         3.2.

                __________________________________________         ________        $_________________                 Secured debt
                Creditor’s name
                                                                                                                      Unsecured loan repayments
                __________________________________________
                Street                                             ________                                           Suppliers or vendors
                __________________________________________                                                            Services
                __________________________________________
                City                          State    ZIP Code
                                                                   ________                                           Other _______________________________


   4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
         List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
         guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
         $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
         Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
         general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
         the debtor. 11 U.S.C. § 101(31).

          None
                Insider’s name and address                          Dates          Total amount or value        Reasons for payment or transfer
         4.1.
                 6HH$WWDFKPHQW
                __________________________________________        _________       $__________________          ___________________________________________
                Insider’s name
                __________________________________________        _________                                    ___________________________________________
                Street
                __________________________________________        _________                                    ___________________________________________
                __________________________________________
                City                          State    ZIP Code


                Relationship to debtor
                __________________________________________


         4.2.

                __________________________________________        _________       $__________________          ___________________________________________
                Insider’s name
                __________________________________________        _________                                    ___________________________________________
                Street
                __________________________________________        _________                                    ___________________________________________
                __________________________________________
                City                          State    ZIP Code



                Relationship to debtor

                __________________________________________



Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 2


                                                                                                                                  Exhibit 2, Page 122
           Case
            Case24-01376-CL7
                 24-01376-CL7 Filed
                               Filed06/17/24
                                     05/03/24 Entered
                                               Entered06/17/24
                                                       05/03/2418:14:54
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                                                                              48-2 Pg.
                                                                                    Pg.123
                                                                                        3 ofof
                                                 162
                                                  36

Debtor
                         3,5&+,QF
                   _______________________________________________________                                                        íí&/
                                                                                                          Case number (if known)_____________________________________
                   Name




   5. Repossessions, foreclosures, and returns
         List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
         sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     [[
       None
                Creditor’s name and address                          Description of the property                                   Date                Value of property
         5.1.

                __________________________________________           ___________________________________________                   ______________      $___________
                Creditor’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________           ___________________________________________
                __________________________________________
                City                          State     ZIP Code

         5.2.

                __________________________________________           ___________________________________________                   _______________       $___________
                Creditor’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________           ___________________________________________
                __________________________________________
                City                          State     ZIP Code


   6. Setoffs
         List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
         the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
          None
                 Creditor’s name and address                            Description of the action creditor took                    Date action was        Amount
                                                                                                                                   taken

                 86%DQN
                 __________________________________________           /HWWHURIFUHGLWZLWKGUDZD            O
                                                                      ___________________________________________                 
                                                                                                                                 _______________         
                                                                                                                                                       $___________
                 Creditor’s name
                  0DGULG6WUHHW6WH
                 __________________________________________           ___________________________________________
                 Street
                 __________________________________________
                 0DUVKDOO01                                                                      
                                                                      Last 4 digits of account number: XXXX– __ __ __ __
                 __________________________________________
                 City                          State     ZIP Code


    Part 3:            Legal Actions or Assignments

   7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
         List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
         was involved in any capacity—within 1 year before filing this case.

          None
                 Case title                                 Nature of case                          Court or agency’s name and address                  Status of case

         7.1.
                  6HH$WWDFKPHQW
                 _________________________________          ______________________________         __________________________________________            Pending
                                                                                                   Name
                                                                                                                                                         On appeal
                                                                                                   __________________________________________
                 Case number                                                                       Street                                                Concluded
                                                                                                   __________________________________________
                 _________________________________                                                 __________________________________________
                                                                                                   City                  State              ZIP Code
                  

                 Case title                                                                          Court or agency’s name and address
                                                                                                                                                         Pending
         7.2.
                 _________________________________          ______________________________         __________________________________________            On appeal
                                                                                                   Name
                                                                                                   __________________________________________
                                                                                                                                                         Concluded
                 Case number
                                                                                                   Street
                                                                                                   __________________________________________
                 _________________________________
                                                                                                   __________________________________________
                                                                                                   City                          State      ZIP Code


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3


                                                                                                                                         Exhibit 2, Page 123
           Case
            Case24-01376-CL7
                 24-01376-CL7 Filed
                               Filed06/17/24
                                     05/03/24 Entered
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                                                       05/03/2418:14:54
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                                                                              48-2 Pg.
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                                                                                        4 ofof
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                                                  36

Debtor               3,5&+,QF
                   _______________________________________________________
                                                                                                                               íí&/
                                                                                                      Case number (if known)_____________________________________
                   Name




   8. Assignments and receivership
         List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
         hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
         [[
          None
                  Custodian’s name and address                       Description of the property                        Value

                 __________________________________________          ______________________________________             $_____________
                 Custodian’s name
                                                                      Case title                                        Court name and address
                 __________________________________________
                 Street
                                                                     ______________________________________           __________________________________________
                 __________________________________________                                                           Name
                 __________________________________________           Case number                                     __________________________________________
                 City                          State     ZIP Code                                                     Street
                                                                     ______________________________________           __________________________________________
                                                                      Date of order or assignment                     __________________________________________
                                                                                                                      City                 State               ZIP Code

                                                                     ______________________________________

   Part 4:             Certain Gifts and Charitable Contributions

   9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
         of the gifts to that recipient is less than $1,000
          None
                 Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value

                 6HH$WWDFKPHQW
                __________________________________________           ___________________________________________                 _________________   $__________
         9.1.
                Recipient’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State     ZIP Code


                  Recipient’s relationship to debtor
                  __________________________________________


                __________________________________________           ___________________________________________                 _________________   $__________
         9.2. Recipient’s name

                __________________________________________           ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State     ZIP Code

                  Recipient’s relationship to debtor
                  __________________________________________


   Part 5:             Certain Losses

   10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None
                 Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
                 occurred                                            If you have received payments to cover the loss, for                            lost
                                                                     example, from insurance, government compensation, or
                                                                     tort liability, list the total received.
                                                                     List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                     Assets – Real and Personal Property).

                  6HH$WWDFKPHQW
                 ___________________________________________         ___________________________________________                 _________________   $__________
                 ___________________________________________


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 4


                                                                                                                                   Exhibit 2, Page 124
          Case
           Case24-01376-CL7
                24-01376-CL7 Filed
                              Filed06/17/24
                                    05/03/24 Entered
                                              Entered06/17/24
                                                      05/03/2418:14:54
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Debtor            3,5&+,QF
                _______________________________________________________                                                 íí&/
                                                                                                 Case number (if known)_____________________________________
                Name




   Part 6:       Certain Payments or Transfers

   11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
         the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
         seeking bankruptcy relief, or filing a bankruptcy case.

          None
              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value

               6HH$WWDFKPHQW
              __________________________________________
     11.1.                                                        ___________________________________________
                                                                                                                           ______________       $_________
              Address
                                                                  ___________________________________________
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                        State      ZIP Code


              Email or website address
              _________________________________

              Who made the payment, if not debtor?


              __________________________________________


              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value


     11.2.    __________________________________________          ___________________________________________
                                                                                                                           ______________       $_________
              Address                                             ___________________________________________
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                        State      ZIP Code

              Email or website address
              __________________________________________

              Who made the payment, if not debtor?

              __________________________________________


   12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
         a self-settled trust or similar device.
         Do not include transfers already listed on this statement.

      [[
        None
              Name of trust or device                             Describe any property transferred                         Dates transfers     Total amount or
                                                                                                                            were made           value


              __________________________________________          ___________________________________________               ______________       $_________

              Trustee                                             ___________________________________________
              __________________________________________




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 5


                                                                                                                              Exhibit 2, Page 125
           Case
            Case24-01376-CL7
                 24-01376-CL7 Filed
                               Filed06/17/24
                                     05/03/24 Entered
                                               Entered06/17/24
                                                       05/03/2418:14:54
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                                                                              48-2 Pg.
                                                                                    Pg.126
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                                                  36

Debtor           3,5&+,QF
                _______________________________________________________                                                     íí&/
                                                                                                    Case number (if known)_____________________________________
                Name




   13. Transfers not already listed on this statement
         List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
         within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
         Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     [[
       None

              Who received transfer?                                 Description of property transferred or payments received   Date transfer      Total amount or
                                                                     or debts paid in exchange                                  was made           value



     13.1.    __________________________________________             ___________________________________________                ________________    $_________

                                                                     ___________________________________________
              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________




              Who received transfer?
                                                                     ___________________________________________                ________________    $_________

     13.2.    __________________________________________             ___________________________________________

              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________



   Part 7:       Previous Locations

   14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

     [[
       Does not apply
              Address                                                                                                Dates of occupancy


     14.1.     _______________________________________________________________________                               From       ____________       To   ____________
              Street
              _______________________________________________________________________
              _______________________________________________________________________
              City                                               State         ZIP Code


     14.2.     _______________________________________________________________________                               From       ____________       To   ____________
              Street
              _______________________________________________________________________
              _______________________________________________________________________
              City                                               State         ZIP Code


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 6


                                                                                                                                 Exhibit 2, Page 126
           Case
            Case24-01376-CL7
                 24-01376-CL7 Filed
                               Filed06/17/24
                                     05/03/24 Entered
                                               Entered06/17/24
                                                       05/03/2418:14:54
                                                                17:57:58 Doc
                                                                          Doc273
                                                                              48-2 Pg.
                                                                                    Pg.127
                                                                                        7 ofof
                                                 162
                                                  36

Debtor            3,5&+,QF
                 _______________________________________________________
                                                                                                                             íí&/
                                                                                                      Case number (if known)_____________________________________
                 Name




   Part 8:            Health Care Bankruptcies

   15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          diagnosing or treating injury, deformity, or disease, or
          providing any surgical, psychiatric, drug treatment, or obstetric care?

     [[
       No. Go to Part 9.
          Yes. Fill in the information below.
               Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

     15.1.     ________________________________________           ___________________________________________________________                 ____________________
               Facility name
                                                                  ____________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                   State        ZIP Code       ____________________________________________________________
                                                                                                                                               Electronically
                                                                                                                                              Paper

               Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

     15.2.     ________________________________________           ___________________________________________________________                 ____________________
               Facility name
                                                                  ___________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                   State        ZIP Code       ____________________________________________________________
                                                                                                                                               Electronically
                                                                                                                                              Paper

   Part 9:            Personally Identifiable Information

   16. Does the debtor collect and retain personally identifiable information of customers?

          No.
     [[                                                                    &XVWRPHULQIRUPDWLRQIRUVDOHV
       Yes. State the nature of the information collected and retained. ___________________________________________________________________
                      Does the debtor have a privacy policy about that information?
                [[
                 
                  No
                  Yes
   17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
         pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
         T Yes. Does the debtor serve as plan administrator?
                 No. Go to Part 10.
               [[
                 Yes. Fill in below:
                           Name of plan                                                                             Employer identification number of the plan
                             3,5&+
                           _______________________________________________________________________                        
                                                                                                                    EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                         Has the plan been terminated?
                         [[
                          No
                          Yes

Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7


                                                                                                                                      Exhibit 2, Page 127
           Case
            Case24-01376-CL7
                 24-01376-CL7 Filed
                               Filed06/17/24
                                     05/03/24 Entered
                                               Entered06/17/24
                                                       05/03/2418:14:54
                                                                17:57:58 Doc
                                                                          Doc273
                                                                              48-2 Pg.
                                                                                    Pg.128
                                                                                        8 ofof
                                                 162
                                                  36

Debtor             3,5&+,QF
                 _______________________________________________________                                                     íí&/
                                                                                                     Case number (if known)_____________________________________
                 Name




   Part 10:           Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

   18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
         moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
         brokerage houses, cooperatives, associations, and other financial institutions.

     [[
       None
               Financial institution name and address           Last 4 digits of account        Type of account             Date account was        Last balance
                                                                number                                                      closed, sold, moved,    before closing or
                                                                                                                            or transferred          transfer

     18.1.     ______________________________________           XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
               Name
                                                                                                 Savings
               ______________________________________
               Street                                                                            Money market
               ______________________________________
                                                                                                 Brokerage
               ______________________________________
               City                  State        ZIP Code                                       Other______________

     18.2.     ______________________________________           XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
               Name
                                                                                                 Savings
               ______________________________________
               Street                                                                            Money market
               ______________________________________
                                                                                                 Brokerage
               ______________________________________
               City                  State        ZIP Code                                       Other______________

   19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

         [[
          None
                 Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                          still have it?

               ______________________________________          __________________________________          __________________________________              No
               Name
                                                               __________________________________          __________________________________
                                                                                                                                                           Yes
               ______________________________________
               Street                                          __________________________________          __________________________________             
               ______________________________________
               ______________________________________           Address                                                                                   
               City                  State        ZIP Code
                                                               ____________________________________
                                                               ____________________________________

  20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
         which the debtor does business.

    [[
      None
                 Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                          still have it?
                                                                                                                                                            No
               ______________________________________          __________________________________          __________________________________
               Name
                                                                                                                                                            Yes
               ______________________________________
                                                               __________________________________          __________________________________              
               Street                                          __________________________________          __________________________________
               ______________________________________
               ______________________________________            Address                                                                                   
               City                  State        ZIP Code
                                                                ________________________________
                                                                _________________________________



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8


                                                                                                                                  Exhibit 2, Page 128
          Case
           Case24-01376-CL7
                24-01376-CL7 Filed
                              Filed06/17/24
                                    05/03/24 Entered
                                              Entered06/17/24
                                                      05/03/2418:14:54
                                                               17:57:58 Doc
                                                                         Doc273
                                                                             48-2 Pg.
                                                                                   Pg.129
                                                                                       9 ofof
                                                162
                                                 36

Debtor           3,5&+,QF
                _______________________________________________________                                                      íí&/
                                                                                                      Case number (if known)_____________________________________
                Name




   Part 11:          Property the Debtor Holds or Controls That the Debtor Does Not Own

   21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

          None
              Owner’s name and address                              Location of the property                Description of the property                 Value

                                                                                                                                                        $_______
              ______________________________________                __________________________________      __________________________________
              Name
                                                                    __________________________________      __________________________________
              ______________________________________
              Street                                                __________________________________
                                                                                        __________________________________
                                                   6HH6FKHGXOH'7KHIROORZLQJHQWLWLHVOLVWHGLQ6FKHGXOH'PLJKWDVVHUW
              ______________________________________
                                                   RZQHUVKLSRIDVVHWVLQ'HEWRU VSRVVHVVLRQ*UDII6XE]HUR:RRGVWRQHDQG
              ______________________________________
              City                 State          ZIP Code
                                                             7ULVWDWH'LVWULEXWRUV&XVWRPHUVPLJKWDOVRFODLPRZQHUVKLSRISURGXFWV
                                                             KRZHYHU'HEWRUEHOLHYHVWLWOHWRSURGXFWVKDVQRWSDVVHGWRFXVWRPHUV
   Part 12:          Details About Environmental Information

   For the purpose of Part 12, the following definitions apply:
    Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
         regardless of the medium affected (air, land, water, or any other medium).
    Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
         formerly owned, operated, or utilized.
    Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
         or a similarly harmful substance.

   Report all notices, releases, and proceedings known, regardless of when they occurred.


   22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     [[
       No
          Yes. Provide details below.
              Case title                                     Court or agency name and address              Nature of the case                       Status of case

              _________________________________
                                                             _____________________________________         __________________________________        Pending
              Case number                                    Name
                                                                                                           __________________________________
                                                                                                                                                     On appeal
              _________________________________
                                                             _____________________________________
                                                             Street
                                                                                                                                                     Concluded
                                                                                                           __________________________________
                                                             _____________________________________                                                  
                                                             _____________________________________
                                                             City                    State     ZIP Code




   23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
         environmental law?

     [[
       No
          Yes. Provide details below.
             Site name and address                           Governmental unit name and address            Environmental law, if known             Date of notice


              __________________________________             _____________________________________         __________________________________       __________
              Name                                           Name
                                                                                                           __________________________________
              __________________________________             _____________________________________
              Street                                         Street                                        __________________________________
              __________________________________             _____________________________________
              __________________________________             _____________________________________
              City                 State     ZIP Code        City                   State      ZIP Code




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 9


                                                                                                                                   Exhibit 2, Page 129
          Case
          Case 24-01376-CL7
               24-01376-CL7 Filed
                            Filed 06/17/24
                                  05/03/24 Entered
                                           Entered 06/17/24
                                                   05/03/24 18:14:54
                                                            17:57:58 Doc
                                                                     Doc 273
                                                                         48-2 Pg.
                                                                               Pg.130
                                                                                   10 of
                                                                                      of
                                              162
                                               36

Debtor           3,5&+,QF
                _______________________________________________________
                                                                                                                     íí&/
                                                                                                 Case number (if known)_____________________________________
                Name




   24. Has the debtor notified any governmental unit of any release of hazardous material?
     [[
       No
          Yes. Provide details below.
             Site name and address                       Governmental unit name and address           Environmental law, if known                Date of notice


              __________________________________        ______________________________________        __________________________________           __________
              Name                                      Name
                                                                                                      __________________________________
              __________________________________        ______________________________________
              Street                                    Street                                        __________________________________
              __________________________________        ______________________________________
              __________________________________        ______________________________________
              City                 State    ZIP Code    City                 State        ZIP Code




   Part 13:            Details About the Debtor’s Business or Connections to Any Business


   25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
         Include this information even if already listed in the Schedules.
      [[
        None

              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
     25.1.    __________________________________         _____________________________________________
              Name                                                                                             Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State    ZIP Code




              Business name and address                  Describe the nature of the business                   Employer Identification number
     25.2.                                                                                                     Do not include Social Security number or ITIN.

              __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                                                                               Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State    ZIP Code



              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

     25.3.    __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                         _____________________________________________         Dates business existed
              __________________________________
              Street                                     _____________________________________________
              __________________________________
              __________________________________                                                               From _______         To _______
              City                 State    ZIP Code




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 10


                                                                                                                             Exhibit 2, Page 130
           Case
           Case 24-01376-CL7
                24-01376-CL7 Filed
                             Filed 06/17/24
                                   05/03/24 Entered
                                            Entered 06/17/24
                                                    05/03/24 18:14:54
                                                             17:57:58 Doc
                                                                      Doc 273
                                                                          48-2 Pg.
                                                                                Pg.131
                                                                                    11 of
                                                                                       of
                                               162
                                                36

Debtor                3,5&+,QF
                     _______________________________________________________                                                 íí&/
                                                                                                      Case number (if known)_____________________________________
                     Name




   26. Books, records, and financial statements
         26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                  None
                     Name and address                                                                               Dates of service


                      6HH$WWDFKPHQWD                                                                         From _______       To _______
     26a.1.          __________________________________________________________________________________
                     Name
                     __________________________________________________________________________________
                     Street
                     __________________________________________________________________________________
                     __________________________________________________________________________________
                     City                                                State             ZIP Code


                     Name and address                                                                               Dates of service

                                                                                                                    From _______       To _______
     26a.2.          __________________________________________________________________________________
                     Name
                     __________________________________________________________________________________
                     Street
                     __________________________________________________________________________________
                     __________________________________________________________________________________
                     City                                                State             ZIP Code



         26b.    List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
                 statement within 2 years before filing this case.
                  None
                            Name and address                                                                        Dates of service

                                                                                                                          
                                                                                                                    From _______          
                                                                                                                                       To _______
           26b.1.            &RKQ5H]QLFN//3
                            ______________________________________________________________________________
                            Name
                            ______________________________________________________________________________
                            Street
                             (/&$0,125($/67(
                            ______________________________________________________________________________
                             6DQ'LHJR&$
                            ______________________________________________________________________________
                            City                                             State             ZIP Code


                            Name and address                                                                        Dates of service

                                                                                                                         
                                                                                                                    From _______           
                                                                                                                                       To _______
           26b.2.            -*' $VVRFLDWHV//3
                            ______________________________________________________________________________
                            Name
                            ______________________________________________________________________________
                            Street

                             7RZQH&HQWUH'ULYH6WH       
                            ______________________________________________________________________________
                             6DQ'LHJR&$
                            ______________________________________________________________________________
                            City                                             State             ZIP Code



         26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                
                      None
                            Name and address                                                                        If any books of account and records are
                                                                                                                    unavailable, explain why


            26c.1.           3,5&+,QF
                            ______________________________________________________________________________          _________________________________________
                            Name
                                                                                                                    _________________________________________
                            ______________________________________________________________________________
                            Street                                                                                  _________________________________________
                            ______________________________________________________________________________
                            ______________________________________________________________________________
                            City                                             State             ZIP Code



Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 11


                                                                                                                                 Exhibit 2, Page 131
          Case
          Case 24-01376-CL7
               24-01376-CL7 Filed
                            Filed 06/17/24
                                  05/03/24 Entered
                                           Entered 06/17/24
                                                   05/03/24 18:14:54
                                                            17:57:58 Doc
                                                                     Doc 273
                                                                         48-2 Pg.
                                                                               Pg.132
                                                                                   12 of
                                                                                      of
                                              162
                                               36

Debtor                 3,5&+,QF
                      _______________________________________________________                                              íí&/
                                                                                                    Case number (if known)_____________________________________
                      Name




                         Name and address                                                                         If any books of account and records are
                                                                                                                  unavailable, explain why


             26c.2.      ______________________________________________________________________________           _________________________________________
                         Name
                                                                                                                  _________________________________________
                         ______________________________________________________________________________
                         Street                                                                                   _________________________________________
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code



         26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
              within 2 years before filing this case.

                 None
                         Name and address


             26d.1.       6HH$WWDFKPHQWG
                         ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code


                         Name and address


             26d.2.      ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code




   27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     No
    [[ Yes. Give the details about the two most recent inventories.
   


                 Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                      inventory    other basis) of each inventory

                      5LFK+DUULV
                ______________________________________________________________________               
                                                                                                     _______
                                                                                                                 H[WHQGHGFXUUHQWFRVW
                                                                                                               $___________________

                 Name and address of the person who has possession of inventory records


     27.1.        3,5&+&RKQ5H]QLFN//3 VHHEDERYH
                 ______________________________________________________________________
                Name
                ______________________________________________________________________
                Street
                ______________________________________________________________________
                ______________________________________________________________________
                City                                                     State        ZIP Code




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 12


                                                                                                                               Exhibit 2, Page 132
          Case
          Case 24-01376-CL7
               24-01376-CL7 Filed
                            Filed 06/17/24
                                  05/03/24 Entered
                                           Entered 06/17/24
                                                   05/03/24 18:14:54
                                                            17:57:58 Doc
                                                                     Doc 273
                                                                         48-2 Pg.
                                                                               Pg.133
                                                                                   13 of
                                                                                      of
                                              162
                                               36

Debtor           3,5&+,QF
                _______________________________________________________
                                                                                                                         íí&/
                                                                                                 Case number (if known)_____________________________________
                Name




              Name of the person who supervised the taking of the inventory                       Date of           The dollar amount and basis (cost, market, or
                                                                                                  inventory         other basis) of each inventory
                Rich Harris
              ______________________________________________________________________             12/28/2022
                                                                                                  _______     79M; extended current cost
                                                                                                            $___________________

              Name and address of the person who has possession of inventory records


     27.2.      PIRCH; CohnReznick LLP (see # 26b.1 above)
              ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State          ZIP Code


   28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
         people in control of the debtor at the time of the filing of this case.

              Name                                 Address                                               Position and nature of any             % of interest, if any
                                                                                                         interest
               6WHYH6PLWK             (QFLQLWDV%OYG30%(QFLQLWDV&$
              ____________________________      _____________________________________________  &(2%G0HPEHU
                                                                                              ____________________________                              
                                                                                                                                                 _______________

               :LOO'LOODUG
              ____________________________       $FDFLD/Q)DOOEURRN&$
                                                  _____________________________________________           &22%G0HPEHU
                                                                                                         ____________________________                   
                                                                                                                                                 _______________

               -DQ6DQJO
              ____________________________      'HO+DEUD:D\&DUPLFKDHO&$
                                                  _____________________________________________  &+52%G0HPEHU
                                                                                                ____________________________                             
                                                                                                                                                 _______________

                0HNDOO.DOWHQEDFK
              ____________________________       -DQDO:D\6DQ'LHJR&$
                                                  _____________________________________________            &)2%G0HPEHU
                                                                                                         ____________________________                    
                                                                                                                                                 _______________

               1RWH2ZQHUVKLSSHUFHQWDJHVDVVXPHZDUUDQWVDUHQRWH[HUFLVHG
              ____________________________ _____________________________________________                 ____________________________            _______________

   29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
         of the debtor, or shareholders in control of the debtor who no longer hold these positions?
     [[
       No
    Yes. Identify below.
              Name                                 Address                                                Position and nature of          Period during which
                                                                                                          any interest                    position or interest was
                                                                                                                                          held
              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

   30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
    [[ Yes. Identify below.
   
              Name and address of recipient                                              Amount of money or                   Dates              Reason for
                                                                                         description and value of                                providing the value
                                                                                         property


     30.1.
                6HH$WWDFKPHQW
              ______________________________________________________________              _________________________           _____________       ____________
              Name
              ______________________________________________________________
              Street                                                                                                         _____________
              ______________________________________________________________
              ______________________________________________________________                                                 _____________
              City                                     State           ZIP Code

              Relationship to debtor                                                                                         _____________

              ______________________________________________________________                                                 _____________

Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13


                                                                                                                                Exhibit 2, Page 133
         Case
         Case 24-01376-CL7
              24-01376-CL7 Filed
                           Filed 06/17/24
                                 05/03/24 Entered
                                          Entered 06/17/24
                                                  05/03/24 18:14:54
                                                           17:57:58 Doc
                                                                    Doc 273
                                                                        48-2 Pg.
                                                                              Pg.134
                                                                                  14 of
                                                                                     of
                                             162
                                              36

                  PIRCH, Inc.                                                                     Case number c;fknown)   24-0 1376-CL?
Debtor
                 Name




              Name and address of recipient


     30.2
              Name


              Street




              City                                           State        ZIP Code


              Relationship to debtor




   31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         x» No
         0 Yes. Identify below.
              Name of the parent corporation                                                               Employer Identification number of the parent
                                                                                                           corporation

                                                                                                          EIN: _ _ _ _ _ _ _ _ _



   32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         x» No
         0 Yes. Identify below.

              Name of the pension fund                                                                     Employer Identification number of the pension fund
                                                                                                          EIN: _ _ _ _ _ _ _ _ _




                        Signature and Declaration


              WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
              connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
              18 U.S.C. §§ 152, 1341, 1519, and 3571.

              I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
              is true and correct.

              I declare under penalty of perjury that the foregoing is true and correct.

              Executed on
                                0510312024
                                MM / DD /YYYY



            X Isl Mekall Kaltenbach ~ ~                                                    Printed name _ M
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                                                                                                                            _b_a_c_h_________              _
              Signature of individual signing on behalf of the debtor

              Position or relationship to debtor   _C
                                                    F
                                                    .c__O__:_
                                                       ___    _____
                                                               _____


          Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
          0    No
          ~ Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14




                                                                                                                                 Exhibit 2, Page 134
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Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 06/17/24
                        05/03/24 Entered
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                                         05/03/24 18:14:54
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                                                           Doc 273
                                                               48-2 Pg.
                                                                     Pg.135
                                                                         15 of
                                                                            of
                                    162
                                     36




                ATTACHMENT 2.3

                                                                Exhibit 2, Page 135
                                              Case
                                              Case 24-01376-CL7
                                                   24-01376-CL7 Filed
                                                                Filed 06/17/24
                                                                      05/03/24 Entered
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                                                                                                                48-2 Pg.
                                                                                                                      Pg.136
                                                                                                                          16 of
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                                                                                  162
                                                                                   36 2.3
                                                                                                                                                                            Reason for Payment or Transfer
Creditor's Name                                         Address line 1                      Address line 3                    Dates         Total Amount Type
                                                                                                                                                         or Value SD       ULR       SV         Services Other
AFCO Credit Corporation                                 5600 North River Road, Suite 400    Rosemont, IL 60018                    2/12/2024      20,721 Opex vendor                                        Insurance
ARAN WORLD USA, LLC                                     6765 Mallee Street                  Carlsbad, CA 92011                    1/26/2024      16,732 Opex vendor                                        Rent
ARAN WORLD USA, LLC                                     6765 Mallee Street                  Carlsbad, CA 92011                    2/21/2024      16,732 Opex vendor                                        Rent
ASHLEY NORTON INC                                       210 W PARKWAY STE 1                 POMPTON PLAINS, NJ 07444-1000         1/26/2024      20,272 Trade Vendor                 x
ASHLEY NORTON INC                                       210 W PARKWAY STE 1                 POMPTON PLAINS, NJ 07444-1000         2/27/2024      11,264 Trade Vendor                 x
Atmos Project llc. MR Steam                             43-20 34th St                       Long Island City, NY 11101-2321       2/14/2024      53,528 Trade Vendor                 x
Bain Ultra                                              956 Chemin Olivier                  Levis, Quebec, Canada G7A 2N1         1/24/2024      20,626 Trade Vendor                 x
BALDWIN HARDWARE                                        3001 DEMING WAY                     MIDDLETON, WI 53562-1431              1/22/2024      20,379 Trade Vendor                 x
BALDWIN HARDWARE                                        3001 DEMING WAY                     MIDDLETON, WI 53562-1431              2/22/2024      13,911 Trade Vendor                 x
Barclay Products Ltd                                    4000 Porett Dr                      Gurnee, IL 60031-1209                 1/24/2024       8,187 Trade Vendor                 x
Blackstone Granite & Marble, Inc                        921 Poinsettia Ave. Suite 7         Vista, CA 92081                       1/29/2024      10,444 Opex vendor                  x
Blue Cross of California                                PO BOX 511300                       LOS ANGELES, CA 90051-7855            1/26/2024       9,468 Payroll                                            Insurance
Blue Cross of California                                PO BOX 511300                       LOS ANGELES, CA 90051-7855             2/5/2024    284,415 Payroll                                             Insurance
Blue Cross of California                                PO BOX 511300                       LOS ANGELES, CA 90051-7855             3/4/2024    286,654 Payroll                                             Insurance
Blue Star                                               318 June Ave                        Blandon, PA 19510                      2/8/2024      25,051 Trade Vendor                 x
Blue Star                                               318 June Ave                        Blandon, PA 19510                     2/28/2024      35,559 Trade Vendor                 x
Blue Star                                               318 June Ave                        Blandon, PA 19510                      3/8/2024      34,991 Trade Vendor                 x
Brasstech, Inc.                                         2001 E. Carnegie Ave                Santa Ana, CA 92705                   2/14/2024      40,905 Trade Vendor                 x
Brasstech, Inc.                                         2001 E. Carnegie Ave                Santa Ana, CA 92705                   2/23/2024       6,932 Trade Vendor                 x
Brasstech, Inc.                                         2001 E. Carnegie Ave                Santa Ana, CA 92705                   2/26/2024       8,976 Trade Vendor                 x
Brasstech, Inc.                                         2001 E. Carnegie Ave                Santa Ana, CA 92705                   2/28/2024       7,395 Trade Vendor                 x
Brasstech, Inc.                                         2001 E. Carnegie Ave                Santa Ana, CA 92705                    3/7/2024      10,734 Trade Vendor                 x
BSH Home Appliances                                     1901 Main Street, Suite 600         Irvine, CA 92614                      1/24/2024    100,636 Trade Vendor
                                                                                                                                                                  x                  x
BSH Home Appliances                                     1901 Main Street, Suite 600         Irvine, CA 92614                      1/25/2024    119,511 Trade Vendor
                                                                                                                                                                  x                  x
BSH Home Appliances                                     1901 Main Street, Suite 600         Irvine, CA 92614                      2/22/2024    149,455 Trade Vendor
                                                                                                                                                                  x                  x
BSH Home Appliances                                     1901 Main Street, Suite 600         Irvine, CA 92614                       3/5/2024      50,000 Trade Vendor
                                                                                                                                                                  x                  x
BTPROP1 LLC                                             1100 Newport Center Drive Ste 200   Newport Beach, CA 92660               2/16/2024      59,670 Opex vendor                                        Rent
California Faucets Inc                                  5271 Argosy Avenue                  Huntington Beach, CA 92649            1/24/2024      50,585 Trade Vendor                 x
California Faucets Inc                                  5271 Argosy Avenue                  Huntington Beach, CA 92649            1/29/2024      30,700 Trade Vendor                 x
California Faucets Inc                                  5271 Argosy Avenue                  Huntington Beach, CA 92649            2/22/2024      40,948 Trade Vendor                 x
California Faucets Inc                                  5271 Argosy Avenue                  Huntington Beach, CA 92649             3/5/2024      50,127 Trade Vendor                 x
Carly Blalock                                           320 S Cedros Ave                    Solana Beach, CA 92075                1/22/2024      11,000 Opex vendor                                        Rent
Carly Blalock                                           320 S Cedros Ave                    Solana Beach, CA 92075                2/28/2024       5,500 Opex vendor                                        Rent
CenterPoint Properties Trust                            1808 Swift Drive                    OakBrook, IL 60523                    1/26/2024      80,748 Opex vendor                                        Rent
City Rent-A-Bin DBA Serv-Wel & A-Rent-A-Bin             901 S MAPLE AVE                     MONTEBELLO, CA 90640-5411             2/23/2024      35,881 Opex vendor                             x
Claybrook Interiors                                     3400 N Central Expy Suite 110-271   Richardson, TX 75080                  1/24/2024      22,294 Trade Vendor                 x
Claybrook Interiors                                     3400 N Central Expy Suite 110-271   Richardson, TX 75080                   2/6/2024       3,050 Trade Vendor                 x
Coastal Dwelling Design Co                              1110 1st Street                     Coronado, CA 92118-1407                2/6/2024       3,056 customer deposit                                   Refund
Coastal Dwelling Design Co                              1110 1st Street                     Coronado, CA 92118-1407                2/7/2024         544 customer deposit                                   Refund
Coastal Dwelling Design Co                              1110 1st Street                     Coronado, CA 92118-1407               2/20/2024       7,077 customer deposit                                   Refund
Concur Technologies, Inc.                               601 108 Avenue NE                   Bellevue, WA 98004                    1/19/2024       9,516 Opex vendor                             x
Court Whisman Interior Design                           284 Desert Lakes Drive              Palm Springs, CA 92264                 3/4/2024      20,814 customer deposit                                   Refund
CRC SOCO COINVEST LLC                                   1427 Clarkview Road, Suite 500      Baltimore, MD 21209                   1/26/2024      70,356 Opex vendor                                        Rent
CRC SOCO COINVEST LLC                                   1427 Clarkview Road, Suite 500      Baltimore, MD 21209                   2/23/2024      77,420 Opex vendor                                        Rent
Creative Building Specialties                           PO Box 1940                         Oceanside, CA 92051-1940              1/23/2024      40,682 customer deposit                                   Refund
CSHV Santa Fe Corporate Center LLC                      515 South Flower St #3100           Los Angeles, CA 90071-2233            2/28/2024      39,024 Opex vendor                                        Rent
David Hiebsch                                           3 Ritz Cove Dr                      Dana Point, CA 92629-4225              2/7/2024       8,661 customer deposit                                   Refund
David Jacobsen Building Company                         80753 Via Pessaro                   La Quinta, CA 92253-7587              2/28/2024      18,844 customer deposit                                   Refund
DBP 1-3 LLC                                             77-885 Las Montanas Rd Ste A        Palm Desert, CA 92627                 2/13/2024      14,960 Opex vendor                                        Landlord
DCARSON CONSTRUCTION INC                                7915 Silverton ave #305             San Diego, CA 92126                   2/22/2024       7,768 customer deposit                                   Refund
Decorative Plumbing Distributors                        41841 Albrae Street                 Freemont, CA 94538                    1/26/2024      70,776 Trade Vendor                 x
Decorative Plumbing Distributors                        41841 Albrae Street                 Freemont, CA 94538                     2/8/2024      50,010 Trade Vendor                 x

                                                                                                                                                                              Exhibit 2, Page 136
                                   Case
                                   Case 24-01376-CL7
                                        24-01376-CL7 Filed       Filed 06/17/24
                                                                       05/03/24 Entered
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                                                                                                                              48-2 Pg.  Pg.13717 of
                                                                                                                                                 of
Decorative Plumbing Distributors             41841 Albrae Street               Freemont, CA
                                                                                         162
                                                                                          3694538              2/26/2024  59,559 Trade Vendor                x
Dee Dee Love                                     2693 Larkin Pl                 San Diego, CA 92123            3/18/2024     33,667   customer deposit                   Refund
Delta Faucet Co                                  DEPT 78702 PO BOX 78000        DETROIT, MI 48278-0702         1/26/2024     91,155   Trade Vendor           x
Delta Faucet Co                                  DEPT 78702 PO BOX 78000        DETROIT, MI 48278-0702         2/28/2024     41,008   Trade Vendor           x
Delta Faucet Co                                  DEPT 78702 PO BOX 78000        DETROIT, MI 48278-0702          3/7/2024     26,468   Trade Vendor           x
Diana Fraser                                     3415 Newport Blvd              Newport Beach, CA 92663-3817   2/15/2024      7,725   customer deposit                   Refund
DISPATCH TRACK LLC                               300 Orchard City Drive         Campbell, CA 95008             1/19/2024      6,260   Opex vendor                  x
DISPATCH TRACK LLC                               300 Orchard City Drive         Campbell, CA 95008             1/26/2024      6,260   Opex vendor                  x
DORNBRACHT AMERICA                               PO BOX 1041                    New York, NY 10268-1041        1/29/2024     60,125   Trade Vendor           x
DORNBRACHT AMERICA                               PO BOX 1041                    New York, NY 10268-1041         3/4/2024     64,153   Trade Vendor           x
DOROTHEE CLAUDE INTERIORS                        1720 Aspenglow Dr              Encinitas, CA 92024-1951       1/19/2024        539   customer deposit                   Refund
DOROTHEE CLAUDE INTERIORS                        1720 Aspenglow Dr              Encinitas, CA 92024-1951        2/1/2024     10,466   customer deposit                   Refund
DVM Insurance Agency                             1025 OLD COUNTRY RD STE 310    WESTBURY, NY 11590-5645        2/23/2024      6,317   Payroll                      x
DVM Insurance Agency                             1025 OLD COUNTRY RD STE 310    WESTBURY, NY 11590-5645        3/20/2024      8,407   Payroll                      x
EASTGROUP PROPERTIES IINC                        400 W PARKWAY PL STE 100       RIDGELAND, MS 39157-6005       1/26/2024     98,308   Opex vendor                        Rent
EASTGROUP PROPERTIES IINC                        400 W PARKWAY PL STE 100       RIDGELAND, MS 39157-6005        2/5/2024      4,341   Opex vendor                        Rent
Elbi of America Inc                              1210 North Red Gum Street      Anaheim, CA 92806              1/22/2024     35,568   Opex vendor            x
Electric Mirror LLC                              6101 Associated Blvd #101      Everett, WA 98203-7166         1/29/2024      2,333   Trade Vendor           x
Electric Mirror LLC                              6101 Associated Blvd #101      Everett, WA 98203-7166          3/7/2024     32,423   Trade Vendor           x
Electrolux                                       Po Box 2638                    Carol Stream, IL 60132         1/22/2024     46,000   Trade Vendor
                                                                                                                                                x
Eugene Brown                                     297 Ridge Rd                   Palm Springs, CA 92264-8979    1/31/2024     14,491   customer deposit                   Refund
Euro-Stile Inc                                   34624 Campus Way               Yucaipa, CA 92399              1/19/2024     13,000   Opex vendor            x
Euro-Stile Inc                                   34624 Campus Way               Yucaipa, CA 92399              3/18/2024     20,000   Opex vendor            x
FANTINI USA, INC.                                150 EAST 58TH ST 8TH FL        NEW YORK, NY 10155-0002        1/25/2024      3,892   Trade Vendor           x
FANTINI USA, INC.                                150 EAST 58TH ST 8TH FL        NEW YORK, NY 10155-0002        2/23/2024     19,233   Trade Vendor           x
Federal Express Corp                             PO BOX 7221                    PASADENA, CA 91109-7321        1/22/2024      3,102   Opex vendor                  x
Federal Express Corp                             PO BOX 7221                    PASADENA, CA 91109-7321        1/26/2024      3,296   Opex vendor                  x
Federal Express Corp                             PO BOX 7221                    PASADENA, CA 91109-7321        1/29/2024      1,638   Opex vendor                  x
Federal Express Corp                             PO BOX 7221                    PASADENA, CA 91109-7321         2/2/2024      3,527   Opex vendor                  x
Federal Express Corp                             PO BOX 7221                    PASADENA, CA 91109-7321         2/9/2024      3,976   Opex vendor                  x
Federal Express Corp                             PO BOX 7221                    PASADENA, CA 91109-7321        2/16/2024      4,528   Opex vendor                  x
Federal Express Corp                             PO BOX 7221                    PASADENA, CA 91109-7321        2/23/2024      3,167   Opex vendor                  x
Federal Express Corp                             PO BOX 7221                    PASADENA, CA 91109-7321         3/1/2024      3,466   Opex vendor                  x
Federal Express Corp                             PO BOX 7221                    PASADENA, CA 91109-7321         3/8/2024      2,874   Opex vendor                  x
FIRST INDUSTRIAL, LP                             PO BOX 31001-1927              PASADENA, CA 91110-1927         2/7/2024    126,072   Opex vendor                        Rent
FIRST INDUSTRIAL, LP                             PO BOX 31001-1927              PASADENA, CA 91110-1927         3/4/2024    174,987   Opex vendor                        Rent
Fisher & Paykel Appliances Inc                   695 Town CTR Dr #180           Costa Mesa, CA 92626           1/19/2024     30,171   Trade Vendor
                                                                                                                                                x            x
Fisher & Paykel Appliances Inc                   695 Town CTR Dr #180           Costa Mesa, CA 92626            2/6/2024     51,238   Trade Vendor
                                                                                                                                                x            x
Fisher & Paykel Appliances Inc                   695 Town CTR Dr #180           Costa Mesa, CA 92626           2/14/2024     67,000   Trade Vendor
                                                                                                                                                x            x
FrontApp Inc.                                    1455 Market Street Floor 19    San Francisco, CA 94103        1/24/2024     10,000   Opex vendor                  x
FrontApp Inc.                                    1455 Market Street Floor 19    San Francisco, CA 94103         2/6/2024     10,303   Opex vendor                  x
Furniture Guild                                  PO BOX 1647                    CANTON, GA 30169-1647           2/7/2024     16,567   Trade Vendor           x
GGP/HOMART II LLC                                Glendale 1 Mall Asscociates    Minneapolis, MN 55486           2/8/2024    104,245   Opex vendor                        Rent
Graff Faucets Co                                 3701 W Burnham St Ste B        Milwaukee, WI 53215-2056        2/7/2024     92,640   Trade Vendor
                                                                                                                                                x            x
Graff Faucets Co                                 3701 W Burnham St Ste B        Milwaukee, WI 53215-2056       2/22/2024     20,063   Trade Vendor
                                                                                                                                                x            x
Graff Faucets Co                                 3701 W Burnham St Ste B        Milwaukee, WI 53215-2056       2/27/2024     22,174   Trade Vendor
                                                                                                                                                x            x
Heritge West                                     238 N Cedros Ave, #201         Solana Beach, CA 92075-1333     3/6/2024      7,808   customer deposit                   Refund
Hirsch Pipe & Supply                             Po Box 749441                  Los Angeles, CA 90074-9441     1/26/2024    100,596   Trade Vendor           x
Hirsch Pipe & Supply                             Po Box 749441                  Los Angeles, CA 90074-9441      2/8/2024     30,522   Trade Vendor           x
HORWITZ & HORWITZ, LLC                           10523 ASHTON AVE #302          LOS ANGELES, CA 90024          1/22/2024     27,923   Opex vendor                        Rent
Hugo Landa Photograph                            2000 Parsons St #49            Costa Mesa, CA 92627           1/19/2024      9,428   Opex vendor                  x
Huntington Hardware Co.                          340 W. HOLT AVE                POMONA, Ca 91768               2/22/2024   9,126.36   Trade Vendor           x
Hydro Systems Inc                                29132 Avenue Paine             Valencia, CA 91355-5402        1/22/2024     20,620   Trade Vendor           x
Hydro Systems Inc                                29132 Avenue Paine             Valencia, CA 91355-5402         2/5/2024     50,522   Trade Vendor           x
Icera LLC                                        P.O. Box 4238                  Westminister, CA 92684          2/6/2024      9,997   Opex vendor            x

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                                      Case
                                      Case 24-01376-CL7
                                           24-01376-CL7 Filed Filed 06/17/24
                                                                    05/03/24 Entered
                                                                                Entered 06/17/24
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                                                                                                                           48-2 Pg.  Pg.138
                                                                                                                                          18 of
                                                                                                                                             of
Icera LLC                                       P.O. Box 4238               Westminister,
                                                                                      162
                                                                                       36 CA 92684          2/15/2024  11,368 Opex vendor                               x
Infinity Drain                                     145 Dixon Ave                           Amityville, NY 11701-2860      1/29/2024      30,517 Trade Vendor            x
Infinity Drain                                     145 Dixon Ave                           Amityville, NY 11701-2860      2/12/2024      31,281 Trade Vendor            x
Infinity Drain                                     145 Dixon Ave                           Amityville, NY 11701-2860       3/7/2024      21,459 Trade Vendor            x
IQ Total Source LLC                                4500 S Lakeshore Dr Ste 440             Tempe, AZ 85282                1/25/2024      11,207 Opex vendor             x
Jodi Visser                                        22901 Via Orvieto                       Dana Point, CA 92629            2/2/2024    9,172.04 customer deposit                    Refund
Joe Donati                                         840 East West Dr                        Murphys, CA 95247              2/28/2024      20,701 customer deposit                    Refund
JOHN CAVANAUGH                                     200 N CEDROS AVE                        Solana Beach, CA 92075         2/23/2024      11,076 Opex vendor                         Landlord
Kalamazoo Outdoor Gourmet LLC                      810 W Washington Blvd                   Chicago, IL 60607-2302         1/22/2024      69,078 Trade Vendor            x
Kalamazoo Outdoor Gourmet LLC                      810 W Washington Blvd                   Chicago, IL 60607-2302          2/8/2024      47,867 Trade Vendor            x
Kallista                                           Po Box 99020                            Chicago, IL 60693-9020         1/26/2024      10,087 Trade Vendor            x
Kallista                                           Po Box 99020                            Chicago, IL 60693-9020         2/26/2024       1,006 Trade Vendor            x
Kallista                                           Po Box 99020                            Chicago, IL 60693-9020         2/29/2024      17,484 Trade Vendor            x
KDO CAPITAL, INC. dba JAN-PRO SAN DIEGO            4125 SORRENTO VALLEY BLVD STE E         SAN DIEGO, CA 92121-1423       2/12/2024      19,545 Opex vendor                   x
KDO CAPITAL, INC. dba JAN-PRO SAN DIEGO            4125 SORRENTO VALLEY BLVD STE E         SAN DIEGO, CA 92121-1423       2/22/2024      19,545 Opex vendor                   x
Kohler Co                                          91283 Collections Center Dr             Chicago, IL 60693-0912         1/26/2024      77,151 Trade Vendor            x
Kohler Co                                          91283 Collections Center Dr             Chicago, IL 60693-0912         2/15/2024    16248.85 Trade Vendor            x
Kohler Co                                          91283 Collections Center Dr             Chicago, IL 60693-0912         2/26/2024    99214.54 Trade Vendor            x
Kohler Co                                          91283 Collections Center Dr             Chicago, IL 60693-0912         2/29/2024    63408.62 Trade Vendor            x
MIDDLEBY RESIDENTIAL                               4960 Golden PKWY, BLDG 3A               Buford, GA 30518               1/22/2024      110536 Trade Vendor            x
MIDDLEBY RESIDENTIAL                               4960 Golden PKWY, BLDG 3A               Buford, GA 30518               1/26/2024        45644 Trade Vendor           x
MIDDLEBY RESIDENTIAL                               4960 Golden PKWY, BLDG 3A               Buford, GA 30518                2/8/2024    108905.1 Trade Vendor            x
MIDDLEBY RESIDENTIAL                               4960 Golden PKWY, BLDG 3A               Buford, GA 30518               2/23/2024   138745.64 Trade Vendor            x
MIDDLEBY RESIDENTIAL                               4960 Golden PKWY, BLDG 3A               Buford, GA 30518               2/28/2024         7836 Trade Vendor           x
Miele                                              9 Independence Way                      Princenton, NJ 08540           1/19/2024   126599.01 Trade Vendor            x
Miele                                              9 Independence Way                      Princenton, NJ 08540           1/22/2024   100046.19 Trade Vendor            x
Miele                                              9 Independence Way                      Princenton, NJ 08540           1/26/2024     55915.1 Trade Vendor            x
Miele                                              9 Independence Way                      Princenton, NJ 08540           2/14/2024   100071.94 Trade Vendor            x
Milestone Distributors                             2615 East Belt Line                     Carrollton, TX 75006           2/28/2024     23764.4 Trade Vendor
                                                                                                                                                           x            x
Mode Distributing LLC                              4945 E Hunter Ave                       Anaheim, CA 92807-2058         1/24/2024    65388.07 Trade Vendor
                                                                                                                                                           x            x
Mode Distributing LLC                              4945 E Hunter Ave                       Anaheim, CA 92807-2058          2/8/2024    56249.64 Trade Vendor
                                                                                                                                                           x            x
Mode Distributing LLC                              4945 E Hunter Ave                       Anaheim, CA 92807-2058         2/27/2024    26680.14 Trade Vendor
                                                                                                                                                           x            x
Mode Distributing LLC                              4945 E Hunter Ave                       Anaheim, CA 92807-2058          3/7/2024    50599.85 Trade Vendor
                                                                                                                                                           x            x
Monterey Shore Holdings, LLC                       P.O. Box 1183                           Rancho Mirage, CA 92270        1/22/2024     48680.3 Opex vendor                         Rent
Monterey Shore Holdings, LLC                       P.O. Box 1183                           Rancho Mirage, CA 92270        2/20/2024     44634.5 Opex vendor                         Rent
Mountain Plumbing Products                         Po Box 63008                            Irving, TX 75063-3008          2/27/2024    10082.49 Trade Vendor            x
MTI Whirlpools, Inc.                               670 North Price Rd                      Sugar Hill, GA 30518           2/12/2024    16463.63 Trade Vendor            x
NextLevel Internet Inc                             10967 VIA FRONTERA                      SAN DIEGO, CA 92127-1703       1/22/2024    13793.31 Opex vendor                   x
NextLevel Internet Inc                             10967 VIA FRONTERA                      SAN DIEGO, CA 92127-1703       2/23/2024    13793.31 Opex vendor                   x
Onsight Builders Inc.                              PO Box 2761                             Telluride, CO 81435-2761       2/20/2024    16197.94 customer deposit                    Refund
Packaging Solutions FTI, Inc.                      550 Fesler St                           El Cajon, CA 92020             1/23/2024        34420 Opex vendor                        Rent
Patterson Custom Homes                             15 Corporate Plaza Dr Ste 150           Newport Beach, CA 92660-7940   1/31/2024     35191.6 customer deposit                    Refund
Penske Truck Leasing Co, LP                        2675 MORGANTOWN RD, PO Box 1321         READING, PA 19603              1/26/2024    50064.35 Opex vendor                         Truck Lease
Penske Truck Leasing Co, LP                        2675 MORGANTOWN RD, PO Box 1321         READING, PA 19603              2/12/2024    48830.54 Opex vendor                         Truck Lease
Penske Truck Leasing Co, LP                        2675 MORGANTOWN RD, PO Box 1321         READING, PA 19603               3/1/2024    50788.03 Opex vendor                         Truck Lease
Penske Truck Leasing Co, LP                        2675 MORGANTOWN RD, PO Box 1321         READING, PA 19603              3/11/2024    50683.58 Opex vendor                         Truck Lease
Penske Truck Leasing Co, LP                        2675 MORGANTOWN RD, PO Box 1321         READING, PA 19603              3/22/2024    50489.38 Opex vendor                         Truck Lease
Phylrich                                           1261 Logan Ave                          Costa Mesa, CA 92626-4004      1/19/2024    40184.31 Trade Vendor            x
Phylrich                                           1261 Logan Ave                          Costa Mesa, CA 92626-4004      2/28/2024    65216.85 Trade Vendor            x
Phylrich                                           1261 Logan Ave                          Costa Mesa, CA 92626-4004       3/7/2024    12594.07 Trade Vendor            x
PLEINA GROUP LLC DBA URBAN BONFIRE LLC             810 W. Washington Blvd. Suite 200       Chicago, IL 60607               2/7/2024        33077 Opex vendor            x
PLEINA GROUP LLC DBA URBAN BONFIRE LLC             810 W. Washington Blvd. Suite 200       Chicago, IL 60607              2/28/2024    18132.75 Opex vendor             x
PLEINA GROUP LLC DBA URBAN BONFIRE LLC             810 W. Washington Blvd. Suite 200       Chicago, IL 60607               3/4/2024     14146.5 Opex vendor             x
Primrose Designs                                   2240 Encinitas Boulevard Suite D #522   Encinitas, CA 92024            1/26/2024    21133.96 customer deposit                    Refund
Primrose Designs                                   2240 Encinitas Boulevard Suite D #522   Encinitas, CA 92024            1/31/2024       185.97 customer deposit                   Refund

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                                          Case 24-01376-CL7
                                               24-01376-CL7 Filed      Filed 06/17/24
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Rimmer Construction                                 2611 S. Coast Highway, suite 101     Cardiff, CA 92007
                                                                                                     162
                                                                                                      36                1/25/2024 42,953.89 customer deposit                      Refund
RingCentral, Inc                                        20 Davis Drive                   Belmont, CA 94002               1/26/2024   35813.41 Opex vendor                   x
Robern                                                  PO BOX 744955                    ATLANTA, GA 30374-4955          1/26/2024   13122.64 Trade Vendor            x
Robern                                                  PO BOX 744955                    ATLANTA, GA 30374-4955          2/15/2024    1868.29 Trade Vendor            x
Robern                                                  PO BOX 744955                    ATLANTA, GA 30374-4955          2/29/2024   19162.59 Trade Vendor            x
Rohl LLC                                                PO BOX 746939                    CHICAGO, IL 60677-6939           2/6/2024   50645.75 Trade Vendor            x
Samsung Electronics Inc                                 File 50547                       Los Angeles, CA 90074-0547      1/22/2024       50789 Trade Vendor
                                                                                                                                                         x            x
Samsung Electronics Inc                                 File 50547                       Los Angeles, CA 90074-0547      2/15/2024    17788.9 Trade Vendor
                                                                                                                                                         x            x
Samuel Heath & Son                                      139 East 35th St #2J             New York, NY 10016-4104         1/19/2024    55854.3 Trade Vendor            x
Samuel Heath & Son                                      139 East 35th St #2J             New York, NY 10016-4104          2/2/2024      1652.4 Trade Vendor           x
Samuel Heath & Son                                      139 East 35th St #2J             New York, NY 10016-4104          3/7/2024       30357 Trade Vendor           x
SDGE                                                    PO BOX 25111                     SANTA ANA, CA 92799             1/29/2024   6,861.05 Opex vendor                   x
SDGE                                                    PO BOX 25111                     SANTA ANA, CA 92799             2/23/2024 16,405.52 Opex vendor                    x
SDGE                                                    PO BOX 25111                     SANTA ANA, CA 92799             2/29/2024   6,018.86 Opex vendor                   x
SDGE                                                    PO BOX 25111                     SANTA ANA, CA 92799             3/19/2024 20,202.05 Opex vendor                    x
Seaside Custom Construction Inc                         66 Maple Ash                     Irvine, CA 92620                1/19/2024        7000 Opex vendor            x
Seaside Custom Construction Inc                         66 Maple Ash                     Irvine, CA 92620                 2/7/2024    6216.81 Opex vendor             x
Seena Stone LLC dba Nantucket Sinks                     342 Compass Circle #C1           North Kingstown, RI 2852         2/6/2024   12485.27 Opex vendor             x
Seena Stone LLC dba Nantucket Sinks                     342 Compass Circle #C1           North Kingstown, RI 2852        2/27/2024   10862.66 Opex vendor             x
SOUTHERN CALIFORNIA EDISON                              PO BOX 300                       ROSEMEAD, CA 91772              1/29/2024 13,385.01 Opex vendor                    x
SOUTHERN CALIFORNIA EDISON                              PO BOX 300                       ROSEMEAD, CA 91772              2/13/2024      76.36 Opex vendor                   x
SOUTHERN CALIFORNIA EDISON                              PO BOX 300                       ROSEMEAD, CA 91772              2/29/2024 14,075.54 Opex vendor                    x
SOUTHERN CALIFORNIA EDISON                              PO BOX 300                       ROSEMEAD, CA 91772              3/19/2024   4,002.37 Opex vendor                   x
Sub-Zero Wolf- West Inc                                 15570 N. 83rd Way                Scottsdale, AZ 85260            1/19/2024 597433.95 Trade Vendorx            x
Sub-Zero Wolf- West Inc                                 15570 N. 83rd Way                Scottsdale, AZ 85260            1/26/2024 599258.82 Trade Vendorx            x
Sub-Zero Wolf- West Inc                                 15570 N. 83rd Way                Scottsdale, AZ 85260             2/5/2024 598982.63 Trade Vendorx            x
Sub-Zero Wolf- West Inc                                 15570 N. 83rd Way                Scottsdale, AZ 85260             2/9/2024 501401.72 Trade Vendorx            x
Sub-Zero Wolf- West Inc                                 15570 N. 83rd Way                Scottsdale, AZ 85260            2/20/2024 1002756.38 Trade Vendor
                                                                                                                                                         x            x
Sub-Zero Wolf- West Inc                                 15570 N. 83rd Way                Scottsdale, AZ 85260            2/29/2024 501230.78 Trade Vendorx            x
Sub-Zero Wolf- West Inc                                 15570 N. 83rd Way                Scottsdale, AZ 85260            3/11/2024 502197.81 Trade Vendorx            x
TFORCE WORLDWIDE INC.                                   PO BOX 932721                    CLEVELAND, OH 44193-0015        1/23/2024   22945.91 Opex vendor                   x
TFORCE WORLDWIDE INC.                                   PO BOX 932721                    CLEVELAND, OH 44193-0015        2/15/2024   34480.09 Opex vendor                   x
The Galley, LLC                                         12626 S. Memorial Dr             Bixby , OK 74008                1/26/2024    40183.5 Opex vendor             x
The Galley, LLC                                         12626 S. Memorial Dr             Bixby , OK 74008                2/15/2024    30352.6 Opex vendor             x
The Restore Agency                                      1205 Coast Blvd                  La Jolla, CA 92037               2/6/2024   12919.85 customer deposit                    Refund
The Travelers Indemnity Company of Connecticut          385 Washington Street            Saint Paul , MN 55102           1/26/2024    76156.5 Opex vendor                         Insurance
The Travelers Indemnity Company of Connecticut          385 Washington Street            Saint Paul , MN 55102            2/9/2024    76156.5 Opex vendor                         Insurance
TOTO USA, INC.                                          1155 Southern Road               Morrow, GA 30260                2/21/2024   56696.83 Trade Vendor            x
Travelers Property Casualty Company of America          385 Washington Street            Saint Paul , MN 55102           1/26/2024    56956.3 Opex vendor                         Insurance
Travelers Property Casualty Company of America          385 Washington Street            Saint Paul , MN 55102            2/9/2024    56956.3 Opex vendor                         Insurance
UKG Inc.                                                1485 North Park Drive            Weston, FL 33326                2/29/2024 45,743.74 Opex vendor                    x
UKG Inc.                                                1485 North Park Drive            Weston, FL 33326                 4/2/2024 41,680.48 Opex vendor                    x
VALLEY FAIR UTC LLC                                     2049 Centry Park East 41st FL    LOS ANGELES, CA 90067           1/22/2024   94600.93 Opex vendor                         Rent
VALLEY FAIR UTC LLC                                     2049 Centry Park East 41st FL    LOS ANGELES, CA 90067            3/1/2024   94600.93 Opex vendor                         Rent
VERIZON                                                 PO BOX 489                       NEWARK, NJ 070101               2/15/2024 17,510.95 Opex vendor                    x
VetaTek LLC                                             1533 Martingale Ct               Carlsbad, CA 92011              1/19/2024   26598.14 Opex vendor                   x
VetaTek LLC                                             1533 Martingale Ct               Carlsbad, CA 92011              1/26/2024    30877.2 Opex vendor                   x
VetaTek LLC                                             1533 Martingale Ct               Carlsbad, CA 92011               2/9/2024   29666.56 Opex vendor                   x
VetaTek LLC                                             1533 Martingale Ct               Carlsbad, CA 92011              2/12/2024       10000 Opex vendor                  x
VetaTek LLC                                             1533 Martingale Ct               Carlsbad, CA 92011              2/16/2024       40000 Opex vendor                  x
VetaTek LLC                                             1533 Martingale Ct               Carlsbad, CA 92011              2/23/2024   41697.05 Opex vendor                   x
VetaTek LLC                                             1533 Martingale Ct               Carlsbad, CA 92011               3/1/2024   39527.22 Opex vendor                   x
VetaTek LLC                                             1533 Martingale Ct               Carlsbad, CA 92011              4/15/2024      4735.8 Opex vendor                  x
Watermark Designs                                       350 Dewitt Ave                   Brooklyn, NY 11207-6618         1/29/2024   28325.26 Trade Vendor            x
Waterstone LLC                                          41180 RAINTREE CT                MURRIETA, CA 92562-7020         1/19/2024      413.55 Trade Vendor           x

                                                                                                                                                                  Exhibit 2, Page 139
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                                           Case 24-01376-CL7
                                                24-01376-CL7 Filed     Filed 06/17/24
                                                                             05/03/24 Entered
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Waterstone LLC                                       41180 RAINTREE CT               MURRIETA, 162
                                                                                               CA
                                                                                                3692562-7020        1/26/2024  30700.13 Trade Vendor             x
Waterstone LLC                                           41180 RAINTREE CT              MURRIETA, CA 92562-7020         2/2/2024     50136.01 Trade Vendor       x
Waterstone LLC                                           41180 RAINTREE CT              MURRIETA, CA 92562-7020         2/5/2024      3239.11 Trade Vendor       x
Waterstone LLC                                           41180 RAINTREE CT              MURRIETA, CA 92562-7020        2/12/2024     54637.04 Trade Vendor       x
Waterstone LLC                                           41180 RAINTREE CT              MURRIETA, CA 92562-7020        2/23/2024      34149.1 Trade Vendor       x
Waterstone LLC                                           41180 RAINTREE CT              MURRIETA, CA 92562-7020         3/4/2024      41528.2 Trade Vendor       x
Waterworks                                               60 Backus Ave                  Danbury, CT 06810-7329         1/22/2024     68203.62 Trade Vendor       x
Waterworks                                               60 Backus Ave                  Danbury, CT 06810-7329         2/15/2024     20030.21 Trade Vendor       x
Westover Inc                                             4011 S 60th Street             Omaha, NE 68117                1/29/2024     30107.73 Trade Vendor       x
WHIRLPOOL                                                Po Box 88129                   Chicago, IL 60695-1129         1/26/2024     64608.29 Trade Vendor       x
WHIRLPOOL                                                Po Box 88129                   Chicago, IL 60695-1129         2/11/2024     65875.81 Trade Vendor       x
WILLIS INSURANCE SERVICES OF CALIFORNIA, INC.            PO BOX 101162                  PASADENA, CA 91189-1162        1/26/2024      28829.6 Opex vendor                    Insurance
Zephyr                                                   9324 Paysphere Circle          Chicago, IL 60674              1/29/2024     70377.97 Trade Vendor       x
Zephyr                                                   9324 Paysphere Circle          Chicago, IL 60674              2/22/2024     40359.68 Trade Vendor       x
American Express Travel Related Services Company, Inc.   200 Vesey Stree                New York, NY 10285-3106     02/29/2024      10,000.00 CC Processor                   Credit Card Payme
American Express Travel Related Services Company, Inc.   200 Vesey Stree                New York, NY 10285-3106     03/04/2024      20,000.00 CC Processor                   Credit Card Payme
American Express Travel Related Services Company, Inc.   200 Vesey Stree                New York, NY 10285-3106     03/06/2024      20,000.00 CC Processor                   Credit Card Payme
American Express Travel Related Services Company, Inc.   200 Vesey Stree                New York, NY 10285-3106     03/07/2024      20,000.00 CC Processor                   Credit Card Payme
American Express Travel Related Services Company, Inc.   200 Vesey Stree                New York, NY 10285-3106     03/12/2024      15,000.00 CC Processor                   Credit Card Payme
American Express Travel Related Services Company, Inc.   200 Vesey Stree                New York, NY 10285-3106     03/14/2024      30,000.00 CC Processor                   Credit Card Payme
American Express Travel Related Services Company, Inc.   200 Vesey Stree                New York, NY 10285-3106     03/15/2024      20,000.00 CC Processor                   Credit Card Payme
American Express Travel Related Services Company, Inc.   200 Vesey Stree                New York, NY 10285-3106     03/18/2024      25,000.00 CC Processor                   Credit Card Payme
American Express Travel Related Services Company, Inc.   200 Vesey Stree                New York, NY 10285-3106     03/21/2024      27,000.00 CC Processor                   Credit Card Payme
American Express Travel Related Services Company, Inc.   200 Vesey Stree                New York, NY 10285-3106     03/21/2024          40000 CC Processor                   Credit Card Payme
American Express Travel Related Services Company, Inc.   200 Vesey Stree                New York, NY 10285-3106     03/21/2024          15000 CC Processor                   Credit Card Payme
American Express Travel Related Services Company, Inc.   200 Vesey Stree                New York, NY 10285-3106     03/21/2024          15000 CC Processor                   Credit Card Payme
U.S. BANK NATIONAL ASSOCIATION                           1310 MADRID ST STE 100         MARSHALL, MN 56258              3/7/2024   $20,000.00                                Credit Card Payme
U.S. BANK NATIONAL ASSOCIATION                           1310 MADRID ST STE 100         MARSHALL, MN 56258             3/12/2024   $20,000.00                                Credit Card Payme
U.S. BANK NATIONAL ASSOCIATION                           1310 MADRID ST STE 100         MARSHALL, MN 56258             3/18/2024   $15,000.00                                Credit Card Payme
U.S. BANK NATIONAL ASSOCIATION                           1310 MADRID ST STE 100         MARSHALL, MN 56258             2/12/2024   $25,000.00                                Credit Card Payme
U.S. BANK NATIONAL ASSOCIATION                           1310 MADRID ST STE 100         MARSHALL, MN 56258             2/15/2024   $15,210.22                                Credit Card Payme
U.S. BANK NATIONAL ASSOCIATION                           1310 MADRID ST STE 100         MARSHALL, MN 56258             2/15/2024   $25,000.00                                Credit Card Payme
U.S. BANK NATIONAL ASSOCIATION                           1310 MADRID ST STE 100         MARSHALL, MN 56258             2/22/2024   $15,000.00                                Credit Card Payme
U.S. BANK NATIONAL ASSOCIATION                           1310 MADRID ST STE 100         MARSHALL, MN 56258             2/27/2024   $15,000.00                                Credit Card Payme
U.S. BANK NATIONAL ASSOCIATION                           1310 MADRID ST STE 100         MARSHALL, MN 56258             2/28/2024   $16,000.00                                Credit Card Payme
U.S. BANK NATIONAL ASSOCIATION                           1310 MADRID ST STE 100         MARSHALL, MN 56258             1/25/2024   $11,700.36                                Credit Card Payme
U.S. BANK NATIONAL ASSOCIATION                           1310 MADRID ST STE 100         MARSHALL, MN 56258             1/26/2024   $35,000.00                                Credit Card Payme




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Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 06/17/24
                        05/03/24 Entered
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                                                               48-2 Pg.
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                                                                            of
                                    162
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                ATTACHMENT 2.4

                                                                Exhibit 2, Page 141
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                                   Case 24-01376-CL7
                                        24-01376-CL7 Filed
                                                     Filed 06/17/24
                                                           05/03/24 Entered
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Insider's Name      Address line 1                Address line 2         Dates                 Total Amount or Value     Reasons for payment or transfer       Relationship to Debtor
Will Dillard        1857 Acacia Lane              Fallbrook, CA 92028    4/20/2023-4/19/2024                    224,977 Salary Compensation                    COO and Board Member
Will Dillard        1857 Acacia Lane              Fallbrook, CA 92028    4/20/2023-4/19/2024                      18,791 Standard Company Benefits             COO and Board Member
Will Dillard        1857 Acacia Lane              Fallbrook, CA 92028    4/20/2023-4/19/2024                    133,855 Expense Reimbursement                  COO and Board Member
Will Dillard        1857 Acacia Lane              Fallbrook, CA 92028                11/8/2024                      7699 Product raffled during Charity tournament
                                                                                                                                                               COO and Board Member
Mekall Kaltenbach   14482 Janal Way               San Diego, CA 92129    4/20/2023-4/19/2024                    214,247 Salary Compensation                    CFO and Board Member
Mekall Kaltenbach   14482 Janal Way               San Diego, CA 92129    4/20/2023-4/19/2024                      20,838 Standard Company Benefits             CFO and Board Member
Jan Sangl           4773 Del Habra Way            Carmichael, CA 95608   4/20/2023-4/19/2024                    198,259 Salary Compensation                    CHRO and Board Member
Jan Sangl           4773 Del Habra Way            Carmichael, CA 95608   4/20/2023-4/19/2024                       5,439 Standard Company Benefits             CHRO and Board Member
Jan Sangl           4773 Del Habra Way            Carmichael, CA 95608   4/20/2023-4/19/2024                         704 Expense Reimbursement                 CHRO and Board Member
David Smith         1345 Encinitas Blvd PMB 101   Encinitas, CA 92024    4/20/2023-4/19/2024                      68,565 Salary Compensation                   Son of CEO and Board Member
David Smith         1345 Encinitas Blvd PMB 101   Encinitas, CA 92024    4/20/2023-4/19/2024                       7,733 Standard Company Benefits             Son of CEO and Board Member
Steve Smith         1345 Encinitas Blvd PMB 101   Encinitas, CA 92024    4/20/2023-4/19/2024                    361,369 Salary Compensation                    CEO and Board Member
Steve Smith         1345 Encinitas Blvd PMB 101   Encinitas, CA 92024    4/20/2023-4/19/2024                      20,819 Standard Company Benefits             CEO and Board Member
Steve Smith         1345 Encinitas Blvd PMB 101   Encinitas, CA 92024    4/20/2023-4/19/2024                       7,379 Expense Reimbursement                 CEO and Board Member




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Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 06/17/24
                        05/03/24 Entered
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                                                               48-2 Pg.
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                                                                            of
                                    162
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                ATTACHMENT 3.7

                                                                Exhibit 2, Page 143
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                                              Case 24-01376-CL7
                                                   24-01376-CL7 Filed
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Case Title                                            Case Number                  Nature of Case      Court or agency's name   Court or agency's address line 1   Court or agency's address line 2   P   OA   C

923 1st Street MB, LLC vs. Pirch Inc                  37-2024-00019440-CU-BC-CTL   Breach of Contract San Diego, Central        330 W Broadway                     San Diego, CA 92101                x
Sub-Zero Group, Inc. v. Pirch, Inc., et al.           37-2024-00013949-CU-BC-CTL   TRO                San Diego, Central        330 W Broadway                     San Diego, CA 92101                         x

Gray Vs. Pirch, Inc.                                  30-2024-01389454-CU-BC-WJC   Breach of Contract West Justice Center       8141 13th Street                   Westminster, CA 92683              x

Giles vs Pirch, Inc.                                  CVPS2402311                  Breach of Contract Palm Springs Courthouse   3255 E. Tahquitz Canyon Way        Palm Springs, CA 92262             x

                                                                                   Complaint for
                                                                                   damages and
American Express Travel Related Services Company,                                  emergency
Inc., v. Pirch, Inc.                              24CV0672-TWR-MMP                 injunctive relief   San Diego, Central     330 W Broadway                       San Diego, CA 92101                x
                                                                                   APPLICATION FOR     SUPERIOR COURT OF
                                                                                   WRIT OF             CALIFORNIA , COUNTY OF
ROBERT P. GOE; ERIKA GOE v. Pirch Inc.                30-2024-01389606-CU-BC-WJ    POSSESSION          ORANGE                 700 Civic Center Drive West          Santa Ana, CA 92701                x
Mark A. Ostoich, Elizabeth A. Ostoich, Redux LLC v.
Pirch, Inc.                                           37-2024-00016881-CU-BC-CTL   Breach of Contract San Diego, Central     330 W Broadway                        San Diego, CA 92101                x
                                                                                                      SUPERIOR COURT OF
                                                                                                      CALIFORNIA , COUNTY OF
Guerrero et at. v. Pirch, Inc.                        24STCV09256                  Breach of Contract LOS ANGELES            111 N. Hill Street                    Los Angeles, CA 90012              x
                                                                                                      SUPERIOR COURT OF
                                                                                                      CALIFORNIA , COUNTY OF
Pure Salt Interiors, Inc. v. Pirch, Inc.              30-2024-01391939-CU-BC-CJC   Breach of Contract ORANGE                 700 Civic Center Drive West           Santa Ana, CA 92701                x

Alice Park, LLC vs. Pirch, Inc.                       30-2024-01392451-CU-BC-NJC   Breach of Contract North Justice Center      1275 North Berkeley Ave            Fullerton, CA 92832                x
STEVE REGALBUTO; SHERRI LYNNE REGALBUTO v.
Pirch, Inc. and Cassi Gipson                          30-2024-01391310-CU-CO-WJC   Breach of Contract West Justice Center       8141 13th Street                   Westminster, CA 92683              x

MONTEREY SHORE HOLDINGS, LLC v. Pirch, Inc.           UDPS2400367                  Unlawful Detainer Palm Springs Courthouse 3255 E. Tahquitz Canyon Way           Palm Springs, CA 92262             x
                                                                                                      SUPERIOR COURT OF
                                                                                                      CALIFORNIA , COUNTY OF
TIMOTHY C. SMITH; AMBER SMITH v. Pirch, Inc.          30-2024-01390522-CU-CO-CJC   Breach of Contract ORANGE                 700 Civic Center Drive West           Santa Ana, CA 92701                x

                                                                                   Complaint for
                                                                                   damages and
                                                                                   emergency           Court Of Common Pleas Of
Worldpay, LLC v. Pirch, Inc.                          A2401595                     injunctive relief   Hamilton County, Ohio    1000 Main St Ste 329               Cincinnati, OH 45202               x

David Youssefi and Debra Youssefi v. Pirch, Inc.      37-2024-00015947-CU-BC-CTL   Breach of Contract San Diego, Central     330 W Broadway                        San Diego, CA 92101                x
                                                                                                      SUPERIOR COURT OF
                                                                                                      CALIFORNIA , COUNTY OF
Arklow Holdings, LLC, v. Pirch, Inc.                  30-2024-01393604-CU-CO-CJC   Breach of Contract ORANGE                 700 Civic Center Drive West           Santa Ana, CA 92701                x
Anastacia Stompoly v. Pirch, Inc.                     37-2024-00015074-CU-BC-CTL   Complaint          San Diego, Central     330 W Broadway                        San Diego, CA 92101                x

Marshall Krupp v. Pirch, Inc; L Catterton             30-2024-01390269-CU-BC-NJC   Breach of Contract North Justice Center      1275 North Berkeley Ave            Fullerton, CA 92832                x

Stacey Ashley v. Pirch Inc.                           37-2024-00015016-CU-BC-CTL   Breach of Contract San Diego, Central        330 W Broadway                     San Diego, CA 92101                x


                                                                                                                                                                                   Exhibit 2, Page 144
                                              Case
                                              Case 24-01376-CL7
                                                   24-01376-CL7 Filed
                                                                Filed 06/17/24
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                                                                                                                      Pg.145
                                                                                                                          25 of
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                                                                                 Specific
Andrea Parsek v. Pirch, Inc.                        30-2024-01390699-CU-BC-NJC   Performance         North Justice Center     1275 North Berkeley Ave            Fullerton, CA 92832           x

Blue Hat LLC, v. Pirch Inc.                         37-2024-00015700-CU-UD-CTL   Unlawful Detainer San Diego, Central         330 W Broadway                     San Diego, CA 92101                     x

John Cavanaugh v. Pirch Inc.                        37-2024-00014740-CU-UD-CTL   Unlawful Detainer San Diego, Central         330 W Broadway                     San Diego, CA 92101           x
Peter Sun v. Pirch Inc.                             37-2024-00013853-CU-BC-CTL   Conversion        San Diego, Central         330 W Broadway                     San Diego, CA 92101           x

Vicken Touzjian v. Pirch, Inc.                      24NNCV00674                  Breach of Contract Glendale Courthouse 600 East Broadway                        Glendale, CA 91206            x
John L. Gray v. Pirch, Inc.                         30-2024-01389454-CU-BC-WJC   Conversion         West Justice Center 8141 13th Street                         Westminster, CA 92683         x
                                                                                                    SUPERIOR COURT OF
                                                                                 COMPLAINT FOR CALIFORNIA , COUNTY OF
CENTERPOINT 2701 HARBOR LLC v. Pirch, Inc.          30-2024-01388239-CU-BC-CJC   DAMAGES            ORANGE              700 Civic Center Drive West              Santa Ana, CA 92701           x

UTC Venture LLC v. Pirch, Inc.                      37-2024-00009902-CU-UD-CTL   Summons Eviction San Diego, Central          330 W Broadway                     San Diego, CA 92101           x
                                                                                 SMALL CLAIMS
ETTA OSBORN ETTA'S INTERIORS v. Pirch, Inc.         24SC01347C                   COURT             SMALL CLAIMS COURT         330 W Broadway                     San Diego, CA 92101           x
                                                                                                   SUPERIOR COURT OF
                                                                                 complaint for     CALIFORNIA , COUNTY OF
CRC SOCO, LLC v. Pirch, Inc.                        30-2024-01386580-CU-BC-CJC   breach of lease   ORANGE                     700 Civic Center Drive West        Santa Ana, CA 92701           x
                                                                                                   SUPERIOR COURT OF
                                                                                                   CALIFORNIA , COUNTY OF
CRC SOCO, LLC v. Pirch, Inc.                        30-2024-01383502-CU-UD-CJC   Summons Eviction ORANGE                      700 Civic Center Drive West        Santa Ana, CA 92701           x
                                                                                                   SUPERIOR COURT OF
LAGUNA DESIGN DUNHILL LLC, LAGUNA DESIGN                                                           CALIFORNIA , COUNTY OF
BORROWER LLC v. Pirch, Inc.                         30-2024-01382995-CU-UD-CJC   Unlawful Detainer ORANGE                     700 Civic Center Drive West        Santa Ana, CA 92701           x
                                                                                 Summons First     SUPERIOR COURT OF
Solo Washington Industrial Development a California                              Amended           CALIFORNIA , COUNTY OF
general partnership v. Pirch, Inc.                  23STCV30703                  Complaint         LOS ANGELES                111 N. Hill Street                 Los Angeles, CA 90012         x
Gerardo Tovar v. Pirch, Inc.; Alex Machuca          23NWCV02216                  Labor             Norwalk Courthouse         12720 Norwalk Blvd                 Modesto, CA 90650             x

Lauren Stone and Derek Stone v. Pirch Inc.          238MCV01423                  Negligence          Santa Monica Courthouse 1725 Main Street                    Santa Monica, CA 90401
Mars Motor Works LLC et.al. vs. Pirch, Inc.         37-2022-00015812-CU-BC-CTL   Claim               San Diego, Central      330 W Broadway                      San Diego, CA 92101           x
                                                                                 TORTIOUS
PIRCH v. Mullins/Aldaco                                               5240001389 INTERFERENCE        JAMS                                                                                      x
                                                                                 TORTIOUS            North County San Diego
Pirch, Inc. vs. Faucets N' Fixtures Inc.            37-2024-00005558-CU-BT-NC    INTERFERENCE        Court                  325 South Melrose Drive              Vista, CA 92081               x
                                                                                                     SUPERIOR COURT OF
                                                                                 complaint for       CALIFORNIA , COUNTY OF
Pirch, Inc. vs. BTPROP1, LLC              30-2024-01394032-CU-BC-WJC             breach of lease     ORANGE                 700 Civic Center Drive West          Santa Ana, CA 92701           x
LIBERTY INSURANCE CORPORATION VS SUB-ZERO
GROUP INC                                 37-2022-00020874-CU-PO-CTL             Named in suite      San Diego, Central       330 W Broadway                     San Diego, CA 92101           x
                                                                                                     Labor & Workforce
Parra                                               37-2023-00009227-CU-WT-CTL   PAGA                Development Agency       800 Capitol Mall, Suite 5000 (MIC-55) Sacramento, CA 95814       x
CALIFORNIA DEPARTMENT OF TAX AND FEE
ADMINISTRATION Audit                                                             Sales and Use Tax                                                                                                       x

                                                                                 wage/hour;
Tovar                                               56NWCV02216                  discriimination     LA Superior Court        501 W 1st St                       Los Angeles, CA 90012                   x

                                                                                                                                                                                   Exhibit 2, Page 145
           Case
           Case 24-01376-CL7
                24-01376-CL7 Filed
                             Filed 06/17/24
                                   05/03/24 Entered
                                            Entered 06/17/24
                                                     05/03/24 18:14:54
                                                                17:57:58 Doc
                                                                         Doc 273
                                                                             48-2 Pg.
                                                                                   Pg.146
                                                                                       26 of
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                                   wrongful  Workers
                                                36 Comp Appeals
                                               162
Donahue          ADJ16124737        termination      Board                      7575 Metropolitan Dr # 202    San Diego, CA 92108        x

Esterley         202311-22768327    discrimination   State Civil Rights Board   2218 Kausen Drive Suite 100   Elk Grove, CA 95758        x
Douheret                            wage/hour                                                                                                      x
                                    Workers comp
Ascencio                            claim                                                                                                x
                                    Workers comp
Taff                                claim                                                                                                x




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Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 06/17/24
                        05/03/24 Entered
                                 Entered 06/17/24
                                         05/03/24 18:14:54
                                                  17:57:58 Doc
                                                           Doc 273
                                                               48-2 Pg.
                                                                     Pg.147
                                                                         27 of
                                                                            of
                                    162
                                     36




               ATTACHMENT 4.9

                                                                Exhibit 2, Page 147
                                         Case
                                         Case 24-01376-CL7
                                              24-01376-CL7 Filed
                                                           Filed 06/17/24
                                                                 05/03/24 Entered
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                                                                                                    Doc 273
                                                                                                        48-2 Pg.
                                                                                                              Pg.148
                                                                                                                  28 of
                                                                                                                     of
                                                                             162
                                                                              36

                                                                                            Part 4.9
Recipient's Name                            Address line 1                       Address line 2                 Description                                 Dates Given Value
Feeding San Diego                           9477 Waples St, Ste 100              San Diego, CA 92121            Product                                       2/22/2024       8,083
Act for MS                                  73710 Fred Waring Drive, Suite 118   Palm Desert, CA 92260          Payment                                      12/27/2022       1,000
Habitat for Humanity                        8128 Mercury Court                   San Diego, CA 92111            Product                                             2022    194,044
Habitat for Humanity                        8128 Mercury Court                   San Diego, CA 92111            Product                                             2024      5,602
Jennifer Dillard                            1857 Acacia Lane                     Fallbrook, CA 92028            Product raffled during Charity tournament     11/8/2024       7,699
Kristi Jacob                                317 Anade Ave                        Newport Beach, CA 92661        Product raffled during Charity tournament     11/3/2023       9,177
Caleb McKinley                              2130 Redwood Crst                    Vista, CA 92081                Product raffled during Charity tournament    10/20/2023       2,799
John Hayes                                  2132 Edinburg Ave                    Cardiff, CA 92007              Product raffled during Charity tournament     9/25/2023       1,500
Brandon Caringer                            2036 Redwood Crst                    Vista, CA 92081                Product raffled during Charity tournament     9/22/2023         999
Sarjit Shah                                 8861 Western Rd                      San Diego, CA 92071            Product raffled during Charity tournament     9/29/2023       6,828
Paul Raab                                   3575 Ridgeview Cir                   Palm Springs, CA 92264         Product raffled during Charity tournament     9/25/2023       3,499
Akilah Templeton                            12571 Carmel Canyon Rd               San Diego, CA 92130            Product raffled during Charity tournament     9/22/2023       1,999
Unconditional, Inc                          PO Box 483                           Laguna Beach, CA 92652-0483    Payment                                      10/22/2023      10,000
Savvy Giving by Design                      971 Lomas Santa Fe Drive Ste C       Solan Beach, CA 92075          Payment                                       7/22/2022      15,000
Veterans Village of San Diego               4141 Pacific Highway                 San Diego, CA 92110            Payment                                       9/25/2023      14,080
Savvy Giving by Design                      971 Lomas Santa Fe Drive Ste C       Solan Beach, CA 92075          Payment                                      11/22/2022      12,000
Savvy Giving by Design                      971 Lomas Santa Fe Drive Ste C       Solan Beach, CA 92075          Payment                                       9/25/2023      67,920
Food In Need of Distribution, Inc. dba      PO Box 10080                         Indio, CA 92202                Donation Match                                8/10/2022       1,553
                                                                                                                Design Awards Contributor
AIA San Diego                               PO Box 7601                          San Diego, CA 92167 US         Sponsor 2022                                  4/27/2022       2,500
American Society of Interior Designers      8687 Melrose Ave. B-245              West Hollywood, CA 90069       Sponsorship                                   4/13/2022       7,500
American Society of Interior Designers      8687 Melrose Ave. B-245              West Hollywood, CA 90069       Sponsorship                                   4/17/2023       7,500
CORONA DEL MAR HIGH SCHOOL PTA              2101 EASTBLUFF DR                    NEWPORT BEACH, CA 92660        Sponsorship                                   2/24/2023       7,500
Lajolla Art + Wine Festival                 PO BOX 2369                          La Jolla CA 92038              Donation                                      9/22/2022       1,000
Palm Springs Modern Committee               P.O. Box 4738                        Palm Springs, CA 92263         Sponsorship                                   8/25/2023       5,000
WestEdge Design Fair LLC                    1014 BROADWAY, #942                  SANTA MONICA, , CA USA 90401   Sponsorship                                  11/10/2023      25,000
WestEdge Design Fair LLC                    1014 BROADWAY, #942                  SANTA MONICA, , CA USA 90401   Sponsorship                                    8/4/2023      25,000




                                                                                                                                                               Exhibit 2, Page 148
Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 06/17/24
                        05/03/24 Entered
                                 Entered 06/17/24
                                         05/03/24 18:14:54
                                                  17:57:58 Doc
                                                           Doc 273
                                                               48-2 Pg.
                                                                     Pg.149
                                                                         29 of
                                                                            of
                                    162
                                     36




              ATTACHMENT 5.10

                                                                Exhibit 2, Page 149
   Case
   Case 24-01376-CL7
        24-01376-CL7 Filed
                     Filed 06/17/24
                           05/03/24 Entered
                                    Entered 06/17/24
                                            05/03/24 18:14:54
                                                     17:57:58 Doc
                                                              Doc 273
                                                                  48-2 Pg.
                                                                        Pg.150
                                                                            30 of
                                                                               of
                                       162
                                        36


                                 Part 5.10
Property lost              Amount received   Date of loss Value of property
Hartford-Deductible paid                         9/1/2023               5000
Hartford-Deductible paid                      10/27/2023                3300




                                                                               Exhibit 2, Page 150
Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 06/17/24
                        05/03/24 Entered
                                 Entered 06/17/24
                                         05/03/24 18:14:54
                                                  17:57:58 Doc
                                                           Doc 273
                                                               48-2 Pg.
                                                                     Pg.151
                                                                         31 of
                                                                            of
                                    162
                                     36




              ATTACHMENT 6.11

                                                                Exhibit 2, Page 151
                                         Case
                                         Case 24-01376-CL7
                                              24-01376-CL7 Filed
                                                           Filed 06/17/24
                                                                 05/03/24 Entered
                                                                          Entered 06/17/24
                                                                                     05/03/24 18:14:54
                                                                                              17:57:58 Doc
                                                                                                       Doc 273
                                                                                                           48-2 Pg.
                                                                                                                 Pg.152
                                                                                                                     32 of
                                                                                                                        of
                                                                           Part
                                                                             162
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                                                 If not money,             Total amount or                                                                                                  Who made the
Who was paid?                                    describe        Dates     value            Address line 1                        Address line 2                 Email                      payment
Berkeley Research Group LLC                      N/A             3/21/2024           50,000 99 High Street, 27th Floor            Boston, MA 02110               bcashman@thinkbrg.com      Pirch
Berkeley Research Group LLC                      N/A             3/29/2024           27,087 99 High Street, 27th Floor            Boston, MA 02110               bcashman@thinkbrg.com      Pirch
Curry Advisors, A Professional Law Corporation   N/A              4/9/2024           20,338 185 West F Street, Ste. 100           San Diego, CA 92101            tcurry@currylegal.com      Pirch
Sheppard Mullin Richter & Hampton LLP            N/A             3/21/2024           25,000 Four Embarcadero Center, 17th Floor   San Francisco, CA 94111-4109   OKatz@sheppardmullin.com   Pirch
Sheppard Mullin Richter & Hampton LLP            N/A             3/28/2024           25,000 Four Embarcadero Center, 17th Floor   San Francisco, CA 94111-4109   OKatz@sheppardmullin.com   Pirch
Sheppard Mullin Richter & Hampton LLP            N/A             3/29/2024           25,000 Four Embarcadero Center, 17th Floor   San Francisco, CA 94111-4109   OKatz@sheppardmullin.com   Pirch
Sheppard Mullin Richter & Hampton LLP            N/A              4/9/2024           35,000 Four Embarcadero Center, 17th Floor   San Francisco, CA 94111-4109   OKatz@sheppardmullin.com   Pirch
Sheppard Mullin Richter & Hampton LLP            N/A             4/12/2024          105,000 Four Embarcadero Center, 17th Floor   San Francisco, CA 94111-4109   OKatz@sheppardmullin.com   Pirch
Sheppard Mullin Richter & Hampton LLP            N/A             4/15/2024           75,000 Four Embarcadero Center, 17th Floor   San Francisco, CA 94111-4109   OKatz@sheppardmullin.com   Pirch




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Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 06/17/24
                        05/03/24 Entered
                                 Entered 06/17/24
                                         05/03/24 18:14:54
                                                  17:57:58 Doc
                                                           Doc 273
                                                               48-2 Pg.
                                                                     Pg.153
                                                                         33 of
                                                                            of
                                    162
                                     36




            ATTACHMENT 13.26a

                                                                Exhibit 2, Page 153
  Case
  Case 24-01376-CL7
       24-01376-CL7 Filed
                    Filed 06/17/24
                          05/03/24 Entered
                                   Entered 06/17/24
                                           05/03/24 18:14:54
                                                    17:57:58 Doc
                                                             Doc 273
                                                                 48-2 Pg.
                                                                       Pg.154
                                                                           34 of
                                                                              of
                                      162
                                       36


                                         Part 13.26a
Name              Address line 1                Address line 2        From        To
Tiffany Chacon    7966 Calle Madrid             Carlsbad, CA 92009      9/20/2021 3/20/2024
Enrico Quintong   4421 Mission Ave Apt F202     Oceanside, CA 92057    11/15/2021 4/16/2023
Carolina Barba    21618 Saddle Bred Ln          Escondido, CA 92029    11/15/2021 4/17/2023
Diane Creadick    31317 Pahuta St.              Temecula, CA 92592       7/5/2022 4/17/2023
Emma Aspacio      13287 Deron Ave.              San Diego, CA 92129     11/8/2021 6/22/2022
Richard Harris    312 Fonda street              La Habra, CA 90631      8/23/2021 4/4/2024




                                                                                   Exhibit 2, Page 154
Case
Case 24-01376-CL7
     24-01376-CL7 Filed
                  Filed 06/17/24
                        05/03/24 Entered
                                 Entered 06/17/24
                                         05/03/24 18:14:54
                                                  17:57:58 Doc
                                                           Doc 273
                                                               48-2 Pg.
                                                                     Pg.155
                                                                         35 of
                                                                            of
                                    162
                                     36




           ATTACHMENT 13.26d

                                                                Exhibit 2, Page 155
   Case
   Case 24-01376-CL7
        24-01376-CL7 Filed
                     Filed 06/17/24
                           05/03/24 Entered
                                    Entered 06/17/24
                                            05/03/24 18:14:54
                                                     17:57:58 Doc
                                                              Doc 273
                                                                  48-2 Pg.
                                                                        Pg.156
                                                                            36 of
                                                                               of
                                       162
                                        36

                                            Part 13.26d
Name                       Address line 1                      Address line 2
Worldpay, LLC              8500 Governors Hill Dr              Symmes Twp, OH 45249-1384
VAI Inc.                   120 Comac Street                    Ronkonkoma, NY 11779
L Catterton                599 West Putnam Avenue              Greenwich, CT 06830
PaymentCloud               16501 Ventura Blvd. #300            Encino, CA 91436
National Processing        898 N 1200 W                        Orem, UT 84057
Ferguson                   751 Lakefront Commons                Newport News VA 23606 USA
Gravity Payments           5601 22nd Ave NW, Suite 200         Seattle, WA 98107
Jackson Lewis              PO BOX 416019                       BOSTON, MA 02241
The Home Depot             2455 Paces Ferry Rd                 Atlanta, GA 30339
BSH                        1901 Main Street, Suite 600         Irvine, CA 92614
Toto                       1155 Southern Road                  Morrow, GA 30260




                                                                     Exhibit 2, Page 156
Case 24-01376-CL7   Filed 06/17/24   Entered 06/17/24 18:14:54   Doc 273   Pg. 157 of
                                        162




                         EXHIBIT 3

                                                                     Exhibit 3, Page 157
                       Case
                       Case 24-01376-CL7
                            24-01376-CL7 Filed
                                         Filed 06/17/24
                                               06/07/24 Entered
                                                        Entered 06/17/24
                                                                06/07/24 18:14:54
                                                                         15:08:36 Doc
                                                                                  Doc 273
                                                                                      191 Pg.
                                                                                          Pg. 158
                                                                                              1 of of
                                                                                                   5
                                                           162


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                            dfield@buchalter.com
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                         425 Market Streeet, Suite 2900
               7         San Francisco, California 94105
                         Telephone: (415) 227-0900
               8         Facsimile: (415) 227-0770

               9         Attorneys for secured creditor
                         SUB-ZERO GROUP, INC.
            10

            11
                                                UNITED STATES BANKRUPTCY COURT
            12
                                                SOUTHERN DISTRICT OF CALIFORNIA
            13

            14           In re                                   Case No. 24-01376-CL7
            15           PIRCH, INC.,                            Chapter 7
            16                                        Debtor.    NOTICE OF NON-CONSENT TO USE OF
                                                                 CASH COLLATERAL BY SECURED
            17                                                   CREDITOR SUB ZERO GROUP, INC.
            18                                                   [Concurrently filed with Opposition to Trustee’s
                                                                 Motion to Sell Personal Property Free and Clear
            19                                                   and supporting Declaration of Mark Zavras]
            20                                                   Hearing on Related Sale Motion:
                                                                 Date:      June 28, 2024
            21                                                   Time:      10:30 a.m. PDT
                                                                 Place:     U.S. Bankruptcy Court
            22                                                              Department 1
                                                                            325 West F Street
            23                                                              San Diego, California 92101
                                                                 Judge:     Hon. Christopher B. Latham
            24

            25

            26

            27

            28
      BUCHALTER          BN 83012190v2
A PROFES SION AL CORPORAT ION
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        LOS ANG ELES




                                                                                                Exhibit 3, Page 158
                       Case
                       Case 24-01376-CL7
                            24-01376-CL7 Filed
                                         Filed 06/17/24
                                               06/07/24 Entered
                                                        Entered 06/17/24
                                                                06/07/24 18:14:54
                                                                         15:08:36 Doc
                                                                                  Doc 273
                                                                                      191 Pg.
                                                                                          Pg. 159
                                                                                              2 of of
                                                                                                   5
                                                           162


               1                    TO THE HONORABLE CHRISTOPHER B. LATHAM, UNITED STATES

               2       BANKRUPTCY JUDGE, THE DEBTOR, THE CHAPTER 7 TRUSTEE, HER COUNSEL

               3       AND ALL PARTIES IN INTEREST:

               4                    Sub-Zero Group, Inc., a Wisconsin corporation, as successor by merger to Sub-Zero Group

               5       West, Inc., a California corporation, doing business as Sub-Zero Group West (“Sub-Zero”),

               6       secured creditor of Pirch, Inc., the debtor in the above-captioned chapter 7 bankruptcy case (the

               7       “Debtor”), respectfully submits this Notice of Non-Consent to Use of Cash Collateral in

               8       connection with (i) its concurrently filed opposition [Docket No. 181] (the “Opposition”) to the

               9       Trustee’s Motion to (1) Approve Auction Procedures; and (2) Sell Personal Property Pursuant to

            10         11 U.S.C. § 363, Free and Clear of Liens, Claims, and Interests [Docket No. 90] (the “Sale

            11         Motion”) and (ii) its forthcoming opposition to the Trustee’s Motion to (1) Approve Auction

            12         Procedures; and (2) Sell Leasehold Interests and Related Personal Property Pursuant to 11 U.S.C.

            13         § 363, Free and Clear of Liens, Claims, and Interests [Docket No. 128] (the “Lease Motion”) both

            14         filed by Leslie T. Gladstone, the chapter 7 trustee appointed in Pirch’s bankruptcy case (the

            15         “Trustee”).

            16                      Sub-Zero manufactures and sells high-end consumer appliances, which consist of ranges,

            17         ovens, grills, dishwashers, built-in refrigerators and wine refrigerators, among other appliances,

            18         under its three brands: Sub-Zero, Wolf and Cove. See Declaration of Mark Zavros in support of

            19         Sub-Zero’s Opposition to the Sale Motion [Docket No. 182] (the “Zavras Decl.”) concurrently

            20         filed, ¶ 6. At the time it ceased doing business as a retailer, Pirch sold high-end kitchen appliances,

            21         including Sub-Zero’s product, at six retail showrooms in La Jolla, Rancho Mirage, Mission Viejo,

            22         Costa Mesa, Glendale, and Solana Beach, California. Zavras Decl., ¶ 7. Sub-Zero provided

            23         display units to these retail showrooms in order to market and exhibit their high end products. Id.

            24                      On January 29, 2019, Sub-Zero and Pirch entered into a written Credit Application and

            25         Agreement (the “Credit Agreement”), under which Sub-Zero agreed to sell its inventory to Pirch

            26         on credit and Pirch agreed to make payments as required therein. Zavros Decl., ¶ 9 and Exh. 1.

            27         To secure the prompt performance and payment in full of Pirch’s obligations to Sub-Zero arising

            28 under the Credit Agreement (the “Obligations”), Pirch and Sub-Zero entered into a Purchase
      BUCHALTER BN 83012190v2
A PROFES SION AL CORPORAT ION
                                                             2
        LOS ANG ELES
                                NOTICE OF NON-CONSENT TO USE OF CASH COLLATERAL BY SECURED CREDITOR SUB-ZERO GROUP WEST, INC.

                                                                                                             Exhibit 3, Page 159
                       Case
                       Case 24-01376-CL7
                            24-01376-CL7 Filed
                                         Filed 06/17/24
                                               06/07/24 Entered
                                                        Entered 06/17/24
                                                                06/07/24 18:14:54
                                                                         15:08:36 Doc
                                                                                  Doc 273
                                                                                      191 Pg.
                                                                                          Pg. 160
                                                                                              3 of of
                                                                                                   5
                                                           162


               1       Money Security Interest Agreement dated January 29, 2019 (the “Security Agreement”). Zavras

               2       Decl., ¶ 10 and Exh. 2. Under the Security Agreement, Pirch granted Sub-Zero a purchase money

               3       security interest in all of Pirch’s right, title and interest in and to the collateral as defined in the

               4       Security Agreement. Id. The Security Agreement defined “collateral” as:

               5                    (a) all Inventory purchased by Debtor from Secured Party on or after the date
                                    hereof consisting of Sub-Zero Wolf, Cove, and Asko; (b) all accounts, accounts
               6                    receivable, payment intangibles, general intangibles, documents, instruments and
                                    chattel paper related thereto, (c) all accessions thereto, (d) all substitutions,
               7
                                    replacements or modifications thereof, and (e) all proceeds (including cash
               8                    proceeds and insurance proceeds) and products thereof, whether now owned or
                                    existing or at any time hereafter arising or acquired.
               9
                       (collectively, the “Inventory Collateral”). Zavras Decl., Exh. 2 at p. 16 of 130.
            10
                                    On February 21, 2019, Sub-Zero perfected its security interest in the Inventory Collateral
            11
                       by filing a UCC-1 Financing Statement designated as Document No. 19-7698422533 with the
            12
                       California Secretary of State’s Office. Zavras Decl., ¶ 11 and Exh. 3. On December 28, 2023,
            13
                       Sub-Zero filed another UCC-3 Financing Statement Amendment designated as Document No. 23-
            14
                       009105622 noting a change affecting the name and address of Pirch. Zavras Decl., ¶ 12 and
            15
                       Exh. 4. Finally, on December 29, 2023, Sub-Zero filed its UCC-3 Continuation Statement
            16
                       designated as Document No. 23-0091349534 thereby continuing its security interest in the
            17
                       Inventory Collateral under the initial 2019 UCC-1 Financing Statement. Zavras Decl., ¶ 13 and
            18
                       Exh. 5.
            19
                                    In addition to the Inventory Collateral held by Pirch, Sub-Zero either owns outright most
            20
                       of the Sub-Zero display units located in each of Pirch’s retail showrooms (the “Display Units”) or,
            21
                       at least, holds a security interest in those Display Units. On January 29, 2019, Pirch and Sub-Zero
            22
                       entered into a Display Unit Bailment and Resale Agreement (the “Display Unit Agreement”) in
            23
                       which Sub-Zero provided to Pirch to display at its showrooms various Sub-Zero kitchen
            24
                       appliances. Zavras Decl., ¶ 14 and Exh. 6. Under Section 1(b) of the Display Unit Agreement,
            25
                       the “Display Units” (as defined in the Display Unit Agreement), “will remain the sole and
            26
                       exclusive property of Sub-Zero, and Sub-Zero will hold all right, title and interest therein and
            27

            28
      BUCHALTER          BN 83012190v2
A PROFES SION AL CORPORAT ION
                                                                              3
        LOS ANG ELES
                                NOTICE OF NON-CONSENT TO USE OF CASH COLLATERAL BY SECURED CREDITOR SUB-ZERO GROUP WEST, INC.

                                                                                                              Exhibit 3, Page 160
                       Case
                       Case 24-01376-CL7
                            24-01376-CL7 Filed
                                         Filed 06/17/24
                                               06/07/24 Entered
                                                        Entered 06/17/24
                                                                06/07/24 18:14:54
                                                                         15:08:36 Doc
                                                                                  Doc 273
                                                                                      191 Pg.
                                                                                          Pg. 161
                                                                                              4 of of
                                                                                                   5
                                                           162


               1       thereto, unless ownership of such Display Unit is transferred pursuant to Section 2 or 7(c) of this

               2       Agreement.” Zavras Decl., Exh. 6, ¶ 1(b) at p. 31 of 130.

               3                    The Debtor has not complied with the purchase requirements set forth in Section 2 of the

               4       Display Unit Agreement for a substantial number of the Display Units. Zavras Decl., ¶ 15. Also,

               5       the Display Unit Agreement provides Sub-Zero with a “continuing security interest in all

               6       Appliance Dealer’s deposit accounts and all property of Appliance Dealer now or hereafter in the

               7       possession of Sub-Zero (including goods purchased from Sub-Zero but not delivered, whether or

               8       not paid for by Appliance dealer), together with all Appliance Dealer’s Sub-Zero, Wolf and Best

               9       inventory.” Zavras Decl., Exh. 6, ¶ 4(a) at p. 33 of 130. The Display Unit Agreement authorized

            10         Sub-Zero to file a UCC-1 financing statement for the Display Units. Zavras Decl., Exh. 6, ¶ 1(b)

            11         at p. 31.

            12                      On February 21, 2019, Sub-Zero perfected its security interest in the Display Units by filing

            13         a UCC-1 Financing Statement designated as Document No. 19-197698418578 with the California

            14         Secretary of State’s Office. Zavras Decl., ¶ 16 and Exh. 7. On December 21, 2023, Sub-Zero filed

            15         a UCC-1 Financing Statement designated as Document No. 230089736229 noting a change

            16         affecting the name and address of Pirch. Zavras Decl., ¶ 17 and Exh. 8. On December 22, 2023,

            17         Sub-Zero filed a UCC-1 Continuation Statement designated as Document No. 230089945232

            18         thereby continuing its security interest in the Display Units under the initial 2019 UCC-1 Financing

            19         Statement. Zavras Decl., ¶ 18 and Exh. 9.

            20                      PLEASE TAKE NOTICE THAT cash collateral is defined in section 363(a) of

            21         Bankruptcy Code as “cash . . . or cash equivalents . . . whenever acquired in which the estate and

            22         an entity other than the estate have an interest and includes the proceeds . . . of property subject to

            23         a security interest as provided in section 552(b) . . . .” 11 U.S.C. § 363(a). Under the foregoing

            24         credit agreements, all proceeds from the Inventory Collateral and Display Units, collected pre-

            25         petition (the “Pre-Petition Proceeds”) constitute Sub-Zero’s cash collateral under section 363(a)

            26         of the Bankruptcy Code. Under section 363(c)(4) of the Bankruptcy Code, Sub-Zero requests that

            27         Pirch and the Trustee, as applicable, segregate and account to Sub-Zero for the cash collateral in

            28         their possession, custody or control.
      BUCHALTER          BN 83012190v2
A PROFES SION AL CORPORAT ION
                                                                               4
        LOS ANG ELES
                                NOTICE OF NON-CONSENT TO USE OF CASH COLLATERAL BY SECURED CREDITOR SUB-ZERO GROUP WEST, INC.

                                                                                                                Exhibit 3, Page 161
                       Case
                       Case 24-01376-CL7
                            24-01376-CL7 Filed
                                         Filed 06/17/24
                                               06/07/24 Entered
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                                                                                  Doc 273
                                                                                      191 Pg.
                                                                                          Pg. 162
                                                                                              5 of of
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               1                    PLEASE TAKE FURTHER NOTICE THAT, if the Trustee obtains authorization to sell

               2       Sub-Zero’s Inventory Collateral and Display Units in connection with the Sale Motion and the

               3       Lease Motion over the opposition of Sub-Zero or other interested parties, those proceeds collected

               4       post-petition (the “Post-Petition Proceeds” and together with the Pre-Petition Proceeds, the

               5       “Proceeds”) shall constitute Sub-Zero’s cash collateral under section 363(a) of the Bankruptcy

               6       Code. Under section 363(c)(2) of the Bankruptcy Code, Pirch and the Trustee are prohibited from

               7       using any of the Inventory Collateral, Display Units or Proceeds without Sub-Zero’s consent or an

               8       order of this Court authorizing such use.

               9                    PLEASE TAKE FINAL NOTICE THAT under section 363(c)(2) of the Bankruptcy

            10         Code, Pirch and the Trustee are prohibited from using any of the Inventory Collateral, Display

            11         Units or Proceeds without Sub-Zero’s consent (which Sub-Zero has not given) or an order of this

            12         Court authorizing such use. Since Sub-Zero does not consent to Pirch’s or the Trustee’s use of its

            13         cash collateral, section 363(e) of Bankruptcy Code provides that in such circumstance, Pirch or

            14         the Trustee can use such cash collateral only if they can provide “adequate protection” of Sub-

            15         Zero’s interest in the cash collateral. See 11 U.S.C. § 363(c). “Adequate protection” is intended

            16         to safeguard Sub-Zero’s constitutional right to have the value of its secured claim, as it existed on

            17         the petition date, preserved. See United Sav. Ass’n v. Timbers of Inwood Forest Assocs., 484 U.S.

            18         365, 370 (1988). If adequate protection cannot be provided, use of the cash collateral must be

            19         prohibited absent consent. Sub-Zero reserves all of its rights and remedies available under the

            20         foregoing credit agreements and under applicable law.

            21           Dated: June 7, 2024                               BUCHALTER, A Professional Corporation

            22
                                                                           By:      /s/ Anthony J. Napolitano
            23                                                                      ANTHONY J. NAPOLITANO
                                                                                 Attorneys for Secured Creditor
            24                                                                   SUB-ZERO GROUP, INC.

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      BUCHALTER          BN 83012190v2
A PROFES SION AL CORPORAT ION
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                                NOTICE OF NON-CONSENT TO USE OF CASH COLLATERAL BY SECURED CREDITOR SUB-ZERO GROUP WEST, INC.

                                                                                                             Exhibit 3, Page 162
